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                           IN THE UNITED STATES DISTRICT COURT
                                                                                  Ir _5
                                                                                  C

                              NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

GO MEDICAL INDUSTRIES, PTY
LTD. and ALEXANDER G.B.                      CIVIL ACTION FILE
O'NEIL,
                                             NO. 101-CV-0313-TWT
          Plaintiffs,

                      v.
                                                         FILED IN OqpP' Cn :iRT
INMED CORP., d/b/a RLJSCH, and
ALPINE MEDICAL, INC. (formerly
                                                          ""FEB     ? . .; .
known as Medical Marketing
Group, Inc.),                                            LIJP~~_f        sic
                                                         or.     jdC,&1V

          Defendants .




                     APPENDIX OF AUTHORITY SUPPORTING
                  PLAINTIFFS' REQUESTED JURY INSTRUCTIONS




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      EXHIBIT / ATTACHMENT


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             210 " Patent, Trademark, and Copyright Laws, 2001 Edition


             transfer in the United States of such registration shall be governed by
             the provisions of this Act.

             (g) Trade or commercial navies offoreign nationals protected without regisba-
             tion.-Trade nacres or commercial names of persons described in sub-
             section (b) of this section shall be protected without the obligation of
             filing or registration whether or not they forth parts of marks .
             (h) Protection offoreign nationals against unfair competition . -Any person
             designated in subsection (b) of this section as entitled to the benefits and
             subject to the provisions of this Act shall be entitled to effective protec-
             tion against unfair competition, and the remedies provided herein for
             infringement of marks shall be available so fu as they may be appro-
             priate in repressing acts of unfair competition .
             (i) Citizens of residents of United States entitled to benefits of section
                                                                                .-
             Citizens or residents of the United States shall have the same benefits as
             are granted by this section to persons described in subsection (b) of this
             section
             Quly 5,1946, ch. 590, title I(, §44,60 Scat. 441; Oct. 3,1961, Pub. L. 87-333, §2, 75
             Scat. 748; Oct. 9, 1962, Pub. L. 87-772, §20, 76 Scat. 774; Nov. 16, 1988, Pub. L.
             100-Gfi7, §133,102 Scat. 3946; Oct. 30,1998, Pub . L. 105-330, §108,112 Scat . 3068 .)

             § 1127     Construction and definitions ; intent of chapter [Section 451
             In the construction of this Act, unless the contrary is plainly apparent
             from the context-
             The United States includes and embraces all territory which is under its
             jurisdiction and control .
             The word `commerce means all commerce which may lawfully be
             regulated by Congress.
             The term "principal register" refers to the register provided for by sec-
             tions 1 through 22 hereof [§§1051-1072], and the term "supplemental
             register" refers to the register provided for by sections 23 through 28
             thereof [§§1091-1096] .
             The term "person" and any other word or term used to designate the
             applicant or other entitled to a benefit or privilege or rendered liable
             unties the provisions of this Act includes a juristic person as well as a
             natural person . The term "juristic person" includes a firm, corporation,

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                            Case 1:01-cv-00313-TWT Document 233 Filed 02/02/04 Page 8 of 363




2001 Edition                                                                                         Trademarks " 211


                                             union, association, or other organization capable of suing and being
hall be governed by
                                             sued in a mart of law.
                                             The term "person" also includes the United States, any agency or in-
meted without registra-                      stxumecttality thereof, or any individual, firm, or corporation acting for
ns descnbed in sub-
                                             the United States and with the authorization and consent of the United
gut the obligation of
                                             States. The Unified States, any agency or instrumentality thereof, and
°E~~'                                        any individual, firm, or corporation acting for the United States and
etition :-Any person                         with the authorization and consent of the United States, shall be subject
d to the benefits and                        to the provisions of this Act in the same manner and to the same extent
3 to effective probes-                       as any nongovernmadal entity .
 provided herein for                         'It,e tam "person" also includes any State, any instrumentality of a State,
they may be ePPr°'                           and any officer or employee of a State or instrumentality of a State act-
                                             ing in his or tier official capacity. My state, and any such instrumentali ty,
berg of section- _                 ;         offices, or employee, shall be subject to the provisions of this Act in the
the same benefits as                         same manner and to the same extent as any nongovemmental entity .
ubsecti°° (b) °f this                        The term -applicant- an$ "registrant' embrace the legal representa-
                                             tives, predecessors, successors and assigns of such applicant or regis-
  , Pub. L SI-333, 5z. 75
  ,4ov.16,1988, Pub. L.
-. 5108, 112 Stat.3068.)                     The term "Director" means the Under Secretary of Commerce for Intel-
                                             lectual Property and Director of the United States Patent and Trade
          (Section 45]             j         mark Office.
 apt
                                   ~         The term "related company" means any person whose use of a mark is
 is plainly apparent
                                             controlled by the owner of the mark with respect to the nature .end
                                             quality of the goods of services on or in connection with which the
 r which is under its              ~         mark is used.
                                             The terms "trade name and "commercial name" mean any name used
       may lawfully be                       by a person to identify his or ha business or vocation
                                             The tam -trademark" includes any word, name, symbol, or device, or
 ?ratided for by sec-              C         any combination thereof -
       "SuPPlemental                            (1) used by a person, or
  .ons ?3 through 28
                                                (2) which a -person has a bona fide intention to use in commerce and
                                                applies to register on the principal register established by this Act,
  d to designate the
                                             to identify and distinguish his or hat goods, including a unique prod-
  -or rendered liable
                                             act, from those manufactured or sold by other and to indicate the
  n~son as well as -a
                                             source of the goods, even if that source is unknown .
   ~ firm, corporation,

   .                                                                                                   15 u.s.e,§ 1127
Case 1:01-cv-00313-TWT Document 233 Filed 02/02/04 Page 9 of 363



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              The term "service mark" means any word, name, symbol, or device, or
         I    any combination thereof -
         li      (1) used by a person or
                 (2) which a person has a bona fide intention to use in commerce and
                 applies to register on the principal register established by this Ad,
              to identify and distinguish the services of one person, including a
              unique service, from the services of others and to indicate the source of
              the services, even if that source is unknown. Titles, character names,
              and other distinctive features of radio or television programs may be
              registered as service marks notwithstanding that they, or the programs,
              may advertise the goods of the sponsor.
              The term "certification mark" means any word, name, symbol, or de-
              vice, or any combination thereof -
                 (1) used by a person other than its owner, or
                 (2) which its owner has a bona fide intention to permit a person
                 other than the owner to use in commence and files an application to
                 register on the principal register established by this Ad,
              to certify regional or other origin, material, mode of manufacture, qual-
              ity, accuracy, or other characteristics of such person's goods or services
              or that the work or labor on the goods or services was performed by
              members of a union or other organisation
     I        The term "collective mark" means a trademark or service mark-
                 (1) used by the members of a cooperative, an association, or other
                 collective group or organization, or
                 (2) which such cooperative, association, or other collective group or
                 organization has a bona fide intention to use in commerce and ap-
                 plies to register on the principal register established by this Act,
              and includes marks indicating membership in a union, an association,
              or other organization.
              The term "mark" includes any trademark, service cook, collective
              mark, or certification mark
              The term "use in commeire" means the bona fide use of a mark in the
              ordinary course of trade, and not made merely to reserve a right in a



              15 U.S.C. § 1127
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                                                                       Trademarks " 213

              mark . For Pins of this Act, a
                                             mark shall be deemed to be in
              commerce                                                     use in
                 .0) OR:Boods when=
                     (A) it-is'plaaed'in any manner on
                                                        the goods or their containers m
                    the displays assOdaled them-with or ore the hags or labels
                    dhec+e6a, or if the nature o[ the                            affixed
                                                      goods makes .such placement im-
                    practicable,-that on documents associated
                                                                   wilt, the goods Or
                    !Heir sale. and ;.
                      (B) the goods -fee sold or transported u, commerce,
                                                                             and
                 (Z) on servipes
                                 when it is .usedor displayed in the sale or advising
                 of services and the services
                                                  are rendered in commeroe, or the ser-
                 vices_are rendered in more than one State
                                                                or in the United States and
                a Eoreign .couc,trY: acid the
                                               person rendenng the smyices is engaged
                in commence in connection
                                               with the services,                  ~8
            A mark shall be deemed to be
                                                "abandoned . when either of the follow-
            ing ooc=:
                (1) When its use has-been
                                               discontinued with intent not to resume
                such use. Intent not to resume
                                                   may be ;erred from arcumstances.
               Nonuse Mr 3 ~COnWutive yeas
                                                      shall be prima faci^ evidence of
               abandonment 'Use" af a mark meant-the bona
                                                                     fide use of that mark
               made 'hk the °rdinarY come of .
                                                    bade, and not made merely to re-
               se've a right ao;armark, `_
               (~ 'VNh6i any ctioise~of conduct of
                                                      the owner, including acts of omis
              sion as well as couvnission; causes
                                                        Nie' mark to become the generic
              name for the goods or services on
                                                       or iri'connectioh with which it is
              used or otherwise to lose its significance
                                                              as a muk Purchaser moti-
              vation shall not be a test for determining-abandonment
              paragraph                                                        ands this

           The term  dilution" means the lessening
                                                    of the capacity of a famous
           mark to identity and digpng,ysh goods
                                                   or services, regardless of the
           Pmsence :or.abseo~eo~-

                 c`mPet1hOn between the owner of the famous mark and
             parties, or                                             other

             (2) likelihood of con5ysion, mistake, or
                                                        deception



                                                                    15 U.S.C. § 1327
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     r~EXHIBI I ATTACHMENT
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             Quly 19, ]952, ch. 950, §l, 66 SWt. 810; Dec. 8, 1994, Pub. L. 103-465,9533, 108
             Stat .4988.)

                            CHAPTER 27- GOVERNMENT IN7ERE5I5 IN PATENTS
             SEC-
              266.      [uepeWed.)
              267 .     Time for taking action in Government applications .


             § 266       Repealed] (July 24,1965, Pub . L. 89.83, § 8,79 Stat. 261.)

             § 267      Time for taking action in Government applications
             Notwithstanding the provisions of sections 133 and 151 of this title, the
             Director may extend the time for taking any action to three years, when
             an application has become the property of the United States and the
             head of the appropriate department or agency of the Government has
             certified to the Director that the invention disclosed therein is important
             to the armament or defense of the United States .
             (july 19,1952, ch . 950, §i, 66 Slat. 81l.)

                                  CHAPTER ZS- WFRIIJGEMENT OF PA7'EN15
             Sec.
              271.      Infringement of patent.
              272.      Temporary presence in the United States .
              273.      Defense to infringement based on earlier inventor .


             § 271      Infringement of patent*
             (a) Except as otherwise provided in this title, whoever without author-
             ity makes, uses, offers to sell or sells any patented invention, within the
             United Stalls or imports into the United States any patented invention
             during the term of the patent therefor, infringes the patent.

             (b) Whoever actively induces infringement of a patent shall be liable as
             an infringes .

             (c) Whoever offers to sell or sells within the United States or imports
             into the United States a component of a patented machine, manufac-

                 " Ed. Note : Pub. L 103-CGS, §533(x), which expanded the definition of inh'ingement to include W-
             (ers m sell patented inventions and importation inm the US., became effective as of /art. 1, 1991; .


             35 U.S.C. § 266
                               Case 1:01-cv-00313-TWT Document 233 Filed 02/02/04 Page 13 of 363




vs, 2001 Edition
                                                                                                            Patents " 111

'u6. L. 103-QGS, §533, l(t,~
                                              lure, combination or composition, or a material or apparatus for use in
                                              practicing a patented process, constituting a material part of the inven-
IN PATENTS                                    lion, knowing the same to be especially made or especially adapted for
                                              use in an infringement of such patent, and not a staple article or com-
                                              modity of commerce suitable for substantial noninfringing use, shall be
                                              liable as a contributory infringer.

8. 79 Stat. 2(1,)                             (d) No patent owner otherwise entitled to relief for infringement or con-
                                              tributory infringement of a patent shall be denied relief or deemed
                                              gusty of misuse or illegal extension of the patent right by reason of his
plicatians
                                              having done one or more of the following : (1) derived revenue from acts
I 151 of this
              title, the                      which if performed by another without his consent would constitute
to throe years, when                          contributory infringement of the patent; (2) licensed or authorized an-
uted States and the                           other to perform acts which if performed without his consent would
he Government has                             constitute contributory infringement of the patent; (3) sought to enforce
therein is important                          his patent rights against infringement or contributory infringement; (4)
                                              refused to license or use any rights to the patent; or (5) conditioned the
                                              license of any rights to the patent or the sale of the patented product on
                                              the acquisition of a license to rights in another patent or purchase of a
                                              separate product, unless, in view of the circumstances, the patent owner
                                              has market power in the relevant market for the patent or patented
                                              product on which the license or sale is conditioned .

                                              (e) (1) It shall not be an act of infringement to make, use, offer to sell, or
                                     j            sell within the United States or import into the United States a pat-
                                                  ented invention (other than a new animal drug or veterinary biologi-
                                                  cal product (as those terms are used in the Federal Food, Drug, and
 without author-
                                                  Cosmetic Act and the Act of March 4, 1913) which is primarily
nbon, within the
                                                  manufactured using recombinant DNA, recombinant RNA, hybri-
  -'nted invention
                                                  doma technology, or other processes involving site specific genetic
 .t.
                                                  manipulation techniques) solely for uses reasonably relater{ to the
  all be liable as                                development and submission of information under a Federal law
                                                  which regulates the manufacture, use, or sale of drugs or veterinary
                                                  biological products.
  tes or imports
                                                 (2) It shall be an act of infringement to submit-
   tie, manufac-
                                                     (A) an application under section 505(j} of the Federal Food, Drug,
  Palo ;,luaed~                                     and Cosmetic Act or described in section 505(6)(2) of such Act
   lan. 7, 19x6 .


                                                                                                          35 U.S.C. § 271
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                 for a drug claimed in a patent or the use of which is claimed in a
                 patent, or
                 (B) an application under section 512 of such Act or under the Act
                 of March 4,1913 (21 U.S.C. 151-158) for a drug or veterinary bio-
                 logical product which is not primarily manufactured using re-
                 combinant DNA, recombinant RNA, hybridoma technology, or
                 other processes involving site specific genetic manipulation
                 techniques and which is claimed in a patent or the use of which
                 is claimed in a patent,
             if the purpose of such submission is to obtain approval under such
             Ad to engage in the commercial manufacture, use, or sale of a drug
             or veterinary biological product claimed in a patent or the use of          `=a
             which is claimed in a patent before the expiration of such patent.
             (3) In any action for patent infringement brought under this section,
             no injunctive or other relief may be granted which would prohibit
             the making, using, offering to sell, or selling within the United States
             or importing into the United States of a patented invention under
             paragraph (1)~
             (4) For an act of infringement described in paragraph (2)-
                 (A) the court shall order the effective date of any approval of the
                 drug or veterinary biological product involved in the infringe-
                 ment to be a date which is not earlier than the date of the expira-
                 tion of the patent which has been infringed,
                 (B) injunctive relief may be granted against an infringer to pre-
                 vent the commercial manufacture, use, offer to sell, or sale within
                 the United States or importation into the United States of an ap-
                 proved drug or veterinary biological product, and
                 (C) damages or other monetary relief may be awarded against an
                 uifringer only if there has been commercial manufacture, use, of-
                 fer to sell, or sale within the United States or importation into the
                 United States of an approved drug or veterinary biological
                 product .
             The remedies prescribed by subparagraphs (A), (B), and (C) are the
             only remedies which may be granted by a court for an an of in-



           35 U.S.C. § 271
                       Case 1:01-cv-00313-TWT Document 233 Filed 02/02/04 Page 15 of 363

l01 Edition                                                                                     Patents " 113


                                      fringement described in paragraph (2), except that a court may
                                      award attorney fees under section 285.
 or under the Act                  (f) (1) Whoever without authority supplies or causes to be supplied in
or veterinary, bio-                    or from the United States all or a substantial portion of the compo-
  tured using re-                      nenls of a patented invention, where such components are uncom-
..,technology, or                      tined in whole or in part, in such manner as to actively induce the
Yc manipulation                        combination of such components outside of the United States in a
 le use of which                       manner that would infringe the patent if such combination occurred
                                       within the United States, shall be liable as an infringer.
oval ands such                        (2) Whoever without authority supplies or causes to be supplied in
     sale of a drug                   or from the United States any component of a patented invention
"t Or the use of                      that is especially made or especially adapted for use in the invention
;uch patent .                         and not a staple article or commodity of commerce suitable for sub-
  ..er
       this section,                  stantial noninfringing use, where such component is uncombined in
 would prohibit                       whole or in part, knowing that such component is so made or
ie United States                      adapted and intending that such component will be combined out-
   vaition under                      side of the United States in a manner that would infringe the patent
                                      if such combination occurred within the United Slates, shall be liable
                                      as an inh-inger.
                                   (g) Whoever without authority imports into the United States or offers
                                   to sell, sells, or uses within the United States a product which is made
                                   by a process patented in the United States shall be liable as an infringes,
                                   if the importation, offer to sell, sale, or use of the product occurs during
                                   the term of such process patent. In an action for infringement of a proc-
                                   ess patent, no remedy may be granted for infringement on account of
                                   the noncommercial use or retail sale of a product unless there is no ade-
                                   quate remedy under this title for infringement on account of the impor-
                                   tation or other use, offer to sell, or sale of that product . A product which
                                   is made by a patented process will, for purposes of this tide, not be con-
                                   sidered to be so made after-

                                      (1) it is materially changed by subsequent processes; or
                                      (2) it becomes a trivial and nonessential component of another prod-
                                      uct.
                                   (h) As used in this section, the term "whoever" includes any State, any
                                   instrumentality of a State, and any officer or employee of a State or in-


                                                                                              35 U.S.C. § 271
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           strumentality of a State acting in his official capacity. My State, and any
           such instrumentality, officer, or employee, shall be subject to the provi-
           sions of this tide in the same manner and to the same extent as any non-
           governmental entity.

           (i) As used in this section, an "offer for sale" or an "offer to sell" by a
           person other than the patentee, or any designee of the patentee, is that
           in which the sale will occur before the expiration of the term of the pat-
           ent.
           Quly 19,1952, ch. 950, §l, 66 Scat. 811; Sept. 24, 7984, Pub . L. 96-417, §202, 98 Scat
           1603; Nov. 8, 1984, Pub. L. 98-622, §101, 98 Stale 3383; Aug. 23,1988, Pub. L.100     .
           418, §9003,102 Star 1563-64; Nov.16,1988, Pub. L 100-670, §201,102 Stat. 3988-
           3989; Nov. 19, 1988, Pub. L. 100  .703, §201,102 Scat. 9676; Oct. 28, 1992, Pub. L
           102-560, §2106 Scat . 4730 ; Dec. 8,1994, Pub. L.103-465, §533,108 Scat. 4988.)

           § 272     Temporary presence in the United States
           The use of any invention in any vessel, aircraft or vehicle of any country
           which affords similar privileges to vessels, aircraft or vehicles of the
           United States, entering the United States temporarily or accidentally,
           shall not constitute infringement of any patent, if the invention is used
           exclusively for the needs of the vessel, aircraft or vehicle and is not of-
           fered for sale or sold in or used for the manufacture of anything to be
           sold in or exported from the United States .
           Quly 19, 1952, ch . 950, §l, 66 Scat . 812; Dec . 8, 1994, Pub. L. 103-965, §533, 108
           Scat. 4989 .)

           §273      Defense to infringement based on earlier inventor
           (a) Definitions . - For purposes of this section -

               (1) the terms "commercially used" and "commercial use" mean use
               of a method in the United States, so long as such use is in connection
               with an internal commercial use or an actual arm's-length sale or
               other arm'slength commercial transfer of a useful end result,
               whether or not the subject matter at issue is accessible to or other-
               wise known to the public, except that the subject matter for which
               commercial marketing or use is subject to a premarkebng regulatory
               review period during which the safety or efficacy of the subject mat-
               ter is established, including any period specified in section 156(8),


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           13-3-I                                   CONTR .4C IS                                     13-3-1

                                                  CHAPTER 3
                        ELEMENTS AND FORMATION GENERALLY

                              Article 1                      Sec .
                        Genenl Provisions                    I :i- :i-24 . Insane, mentally ill,    mentally
                                                                           retarded,      or        mentally
           Sec .                                                           incompetent persons .
           13-3-I .   Essentials of cun(raas generally .     13-3-25 . Intoxicated persons .
           13-9-2 .   Contract     incomplete     without
                      assent of parties to terms thereof ;                      Article 3
                      withdrawal of bid or proposition                       Considention
                      by party .
                                                              13-3-40 . Necessity for consideration ; pre-
           IS-3-3 .   When written acceptance of offer
                                                                          sumption of consideration .
                      made by letter takes effect ; accep-
                                                              13-3-41 . Types of consideration .
                      tance of offer containing alterna-
                                                              13-3-42 . Acts          which         constitute
                      tive propositions .
                                                                          consideration ;       effect      of
           13-3-4 .   Effect of conditions precedent or
                                                                          consideration given or received by
                      subsequent upon rights of parties
                                                                          persons other than promisor or
                      under contracts .
                                                                          promisee .
           13-3-5 .   Effect of impossible, immoral,
                                                              13-3-43 . Effect of satisfying requirement
                      and illegal conditions .
                                                                          of consideration .
                              Article 2                       19-9-44 . Effect of promise which is
                                                                          reasonably expected to induce
                        ('apathy of Parties
                                                                          action, etc, by promisee or third
           13-3-20 . Minors-Contracts for property                        person ; requirement as to proof
                     or     valuable     consideration ;                  of reliance in cases of charitable
                     contracts for necessaries .                          subscriptions      or      marriage
           13-3-21 . Same - Contracts relating to                         settlements .
                     practice of profession, trade, or        13-9-45 . Effect of partially valid con-
                     business .                                          sideration ; effect of illegal con-
           13-3-22 . Same - Marriage contracts and                       sideration .
                     settlements .                            13-3-46 . Effect of inadequacy of con-
           13-3-23 . Same - Contracts, promissory                        sideration .
                     notes, etc, for loans from trust        1 ;S-3-47 . Effect of impossible and possible
                     funds for educational purposes .                    but improbable consideration .




            Cross references . - As to formation and
          construction   of sales     contracts,   see
          §§ 11 2-201 et seq . and 11 -2-901 et seq .


                                                   ARTICLE I
                                          GENERAL PROVISIONS

           13-3-1 . Essentials of contracts generally .

            To constitute a valid contract, there must be parties able to contract, a
          consideration moving to the contract, the assent of the parties to the
          terms of the contract, and a subject matter upon which the contract can
                                              92
      Case 1:01-cv-00313-TWT Document 233 Filed 02/02/04 Page 19 of 363




            13-3-1                 ELEAtENIS AND FORMATION GENERAI .L\'                                   13-3-1

            operate . (Orig . Code 1863, § 26 82 ; Code 180,8, § 26721 ; Code 1873,
            § 2720 ; Code 1882, § 2720; Civil Code 1895, § 3637 ; Cic1 Code 1910,
            § 4222 ; Code 1933, § 20-107 .)

              Cross references . - As to Fonuaiion of                Law reviews. - For crude discussing
            contracts under Uniform Commercial                    interpretation in Georgia of insurance
            Curie, see § 11 -2-204 . As to ac<eptnnce of          policies containing evidcnuarv conditions .
            offer under Uniform Commercial Code,                  see I? (:a . L . Nee- . 783 (1978) .
            see 44 11-2-206, 1 1-2-207 . As w correla-               For comment on Georgia Power Co . c .
            tion of capacity to contract with cfp :idt7to         Roper, 73 Ga . App . 826, 38 S .E .2d 91
            make will, see § 53-2-21 .                            (19411), see 9 Ga . R .J . 89 (14q6) .


                                                 JUDICIAL DECISIONS

                               ANALYSIS


            GENEIUL CONSIDERATION
            CONSIDERATION
            ASSENT T(1 TERMS
            REQUISITE CERTAINTY
            SUBJECT MATTER



                       General Consideration                         There can be no recovery upon incom-
                                                                  plete contract of insurance . Thurmond v .
               Binding contrail may consist of several
                                                                  Sovereign Camp, W .O .N' ., 171 Ca . 446,
            consistent writings. - It is not essential
                                                                   155 S . E . 760 (1930) .
            that contract be contained in single clocu-
                                                                     Generally, intention of parties must
            ment . Binding contracts may consist of sev-
                                                                  relate to something of monetary value in
            eral writings - provided there is no
                                         various       parts .    eyes of law . - To constitute a valid
            conflict       between
                                                                  contract, intention of parties must refer to
            Cassville-White Assocs . v . Barrow Assocs .,
                                                                  legal relations, so that courts may take cog-
             150 Ga . App . 561, 258 S .E .2d 175 (1979) .
                                                                  nizance of it, and it is generally said that the
               To be enforceable a contract must be
                                                                  test of this quality of the contract is that
            euffieiently definite as to subject matter
                                                                  intention of parties must relate to
            and time . King v . State Faun brut . Auto .          something which is of monetary value in
            Ins . Co ., 117 Ga . App . 192, 160 S .F .Yd 230
                                                                  eyes of the lay. . Huckebq r . Smith, 42 Ga .
            (1968) .
                                                                  App . 719, 157 S . E . 234 (1931) .
              Consideration and subject matter are                   Contracts of agency must, like other
            separate essentials of contract . - Among             agreements, involve assumption of legal
            essentials of a contract consideration is one         rights and duties, as opposed to engage-
            thing, while subject matter is another and            ments of mere civic or social character, or
            different thing . McCann v . Glynn Lumber             of such other nature as to exclude
            Co ., 19C Ga . 669, 34 S .E2d 839 (1945) .            monetary values . Huckeby v . Smith, 42 Ca .
                                                                  App . 719, 157 S .E . 234 (1931) .
              Requirement of capacity to contract
                                                                    One seeking enforcement bears burden
            refers not to voidable contracts, but to
Vim                                                               of proof as to essentials of contract. -
            valid binding contracts . Georgia Power
-a                                                                Burden to show that there had been
            Co . v . Roper, 201 Ca . 760, 41 S .E2d ?26
                                                                  contract between itself and defendants as
.w          (1947) .
                                                                  basis of indebtedness is upon plaintiff, and
                Novation or accord and satisfaction is            to carry this burden, it is necessary for
            itself a contract and must have all essen-            plaintiff to show, by preponderance o! eai-
            dal elemenLS of a de novo contract . Mayer            drnce, every necessary essential of a valid        f
            v . Turner, 142 Ca . App . 63 .234 S .E .2d 853       contact, whisk, includes acceptance of
            (1977) .                                              policies of insurance by defendants after
                                                             93
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            51-1211                                       i'Okl :S                                   51-12-4

              Measure of damage, for wrunglul removal          [at systems, 14 ,41 .R41h 5 :39 .
            of cat di, sand, or gravel from land, I AI.K:id        Ewccssurness oa' ndeyuacV of damages
            RfIL                                               awarded lot iujwiea to back, neik, or spine .
              Absolute liabilin for blasting operations as      Ifi ALR,fih'.SW .
            extending to injury or damage nut directly             Excessiveness ur adequacy of damages
            caused by debris or concussion front explu-        aH:udcd for injuries to, ttt urnditions in-
            lion, 56 ALR3d 1017 .                              duced in, rrspu atorysystem, IS AL.R4di 519 .
               Excessiveness or adequacy of damages                Validity of verdkt awarding medical ex-
            awarded for injures to, or conditions in-          penses W personal injury plaintiff. but fail-
            duccd in, sexual organs and processes, 13          ing to award damages !or pain and suffering,
            A1 .R-0th 183.
                                                               55 AL.RArh ISG .
               Excessiveness or adequacy of damages
                                                                   Recovery of anticipated lust profits u( new
            awarded !or injuries to legs and feel, 13
                                                               business : pou-1955 cases, 55 ALR4lh 507 .
            ALR4th 21? .
               Excessiveness of adequacy o! damages                Excessiveness or adequacy of damages
            awarded (or injuries to head or brain, or for      awarded for injuries m bend or bruin, 50
            mental or nervous disorders, 11 ALR4eh 828 .       ALR5th I .
               Excessiveness inadequacy of damages                 Excessiveness or adequacy of damages
            awarded for injuries to, or conditions in-         awarded for injuries to nerves or nervous
            duced in, circulatory, digestive, and glanAu-      systertr, 51 AI .R5th 467.


            51-124 . Damages given as compensation for injury; measure of damages
                     generally; nominal damages.

               Damages are given as compensation for injury ; generally, such compen-
            sation is the measure of damages where an injury is of a character capable
            of being estimated in money . If an injury is small or the mitigating
            circumstances are strong, nominal damages only are given . (Orig . Code
            1863, § 29971 ; Code 1868, § 3010; Code 1873, g 3065; Code 1882, § 3065;
            Civil Code 1895, § 3905; Civil Code 1910, § 4502; Code 1933, q 105-2001 .)

                Law reviews . - For article, "The Tcn ok       St- U . L . Rev . 431 (1497 .
            Tort Recovery lot Abusive Litigation," see             Fur comment on Bumetc v. Western &
            23 Ca . SL B .f . 84 (f987) . For article,         A .R .R ., 79 Ga . App . 530, 54 S .E .2d 857
            "Pry-Impact Pain and Suffering," see 25 Ca .       (1949), see 1? Ga . 8,J . 211 (1949) . For
            St . B) . 60 (1989) . For article, "The Discount   comment on Padgru v. Williams, 82 Ga .
            Rite in Georgia Personal Injury and Wrong-         App. 509, 61 S .E .2d 676 (1(J50), sec 13 Ga .
            Ful Death Damage Calculations," see [3 Ga .        8 .J .939 (195)) .

                                                JUDICIAL. DECISIONS

                              ANALYSIS

            GENERAL CONSI[IEIU'f10N
            MEASURE OF DAMAGt:S APPLICAHLE TO SPECIFIC CASES
            CULLAT'EIUL SOURCE RULE
            PROFIT5
            EVIDENCE
            JURY INSTRUCTIONS


                        General Consideration                  262, Y) 1 S .E .2d 135, modified, 234 Ga-
                                                               216 S .E .2d 776 (1974) .
              This section and §§ 51-1Y-5 and 51-126              Rule stated in this section applies It,
    I       must be construed in pari materta .                Lions in contract equally u those III t°v
            Rlnnchurd v. Westview (:em ., 133 Ga . App .       In every case of breach of contract th" d

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        EXHIBIT I ATTACHMENT

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  51-12-5 .1                                1) :1 ALACLS                                51-12-5 .1

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  aw.udcd lot iujwics lo . in 1audiGuus Ill-        ~nfiruGrs ,,, issue ,I pl unine damages in
                                                                                                      1
  duiivl in . ,c\u :J uig:uic and Ixuirsscs . I'S   imrt actiuu . 54 ALR4t6 !14$,
  .41 .R4th 183 .                                     Puniiivc   damages   as mdun    (overage   n1
      rzcossiceness or ads°qu .uv of d.uuanes       uuni>iui°d oI   undCriusull°d   muinn5l iu .uf-
  awarded lot iniurits to) Irk, and feel, 13        :mcc, 54 AI,R4di 1 186 .
  ALR4th 214.                                                     : pnwrr u1 cyuiiy (null
                                                       Punitive damages                               r
     LiaIdGil' insurance co,ciage as extending      b award, 58 ALR4th 841 .
  to li :ihili1~ lur punitive Or csemplary d,un-      Siand:vd of proof as to L Omducl uudcrh-
  iFrs, Iti ALR4th 11 .                             pug punitive damage aw>uds - model it sta
     Effect of plaintiff's comparative ncgh         In,, 58 ALR4th 878 .
  gence in ieduiing pwum'e damages ii-cm               Plaiuiili's lights to puiuucc or multiple
  viable, 27 ALR4th :SIR.                           damages when cause of a<uon renders both
     Claim for punitive damages in tin t action     available, 2 ALR5di 449 .
  as surviving death of tortreasur or person           Right to prejudgment interest tin punitive
  wronged, 30 ALR4th 707 .                          or multiple damages awards, !1 pI .R5di 63 .
     Necessity of determination or showing of          Ez(rssiveness or inadeyuac) of punitive
  liability fur punitive damages before dismv-      damages awarded in personal injury ur
  cry or reception of evidence of defendant's       death cases, 12 ALRSdi 195 .
  wealth, 32 ALR4th 482 .                              Intoxication of automobile driver as basis
     Excessiveness or inadequacy of punitive        for awarding punitive damages, 3 ;i ALRS(h
  damages awarded in personal injury or             303 .
  death cases, 35 ALR41Fi 441 .                       Allowance of punitive damages in medical
     Evidence of defendant's rehabilitation or      malpractice action, 35 ALR5th 14 .5 .
  reformation as relevant on issue of punitive         Damages for wrongful termination of
  damages, 39 ALR4th 11?2 .                         franchise other [Iran automobile dealership
     Sufficiency of showing of actual damages       conuacts, 40 ALR5th 57 .
  to support award of punitive damages -               Produces liability: cement and concrete,
  modern cues, 40 A1 .R1th 11 .                     60 A1,R5th 413 .

  51-12-5 .L Punitive damages.

    (a) As used in this Code section, the term "punitive damages" is
  synonymous with the terms "vindictive damages," "exemplary damages,"
  and other descriptions of additional damages awarded because of aggravat-
  ing circums4inces in order to penalize, punish, or deter a defendant .

     (h) Punitive damages may be awarded only in such tort actions in which
  it is proven by dear and convincing evidence that the defendant's actions
  showed willful misconduct, malice, fraud, wantonness, oppression, or that
  entire want of care which would raise the presumption of conscious
  indifference to consequences.

    (c) Punitive damages shall be awarded not as compensation to a plaintiff
  but solely to punish, penalize, or deter a defendant .

     (d) (1) M award of punitive damages must be specifically prayed for in
     a complaint . In any case in which punitive damages am claimed, the u-ier
     of fact shall first resolve front the evidence produced at uial whether an
     award of punitive damages shall he made. This finding shall be made                              'F
     specially through an appropriate form of verdict, along with the other                             C
     required findings.

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      51-12-5 .1                          TORTS                             51-12-5 .1

           (2) if it is found that punitive damages are to be awarded, the vial
        shall immediately be recommenced in order to receive suite e%idence as
        is relevant to a decision regarding what amount of damages will be
        Sufficient to deter, penalize, or punish the defendant in light of the
        di'cums(Ances Of the case . It shall then be the duty of die trice of fact to
        set the amount to be awarded according to subsection (e), (F), or (g) of
        this Code section, as applicable .

        (e) (I) In a tort case in which the cause of action arises from product
        liability, there shall be no limitation regarding the amount which may be
        awarded as punitive damages. Only one award of punitive damages may
        be recovered in a court in this state from a defendant for any act or
        omission if the cause of action arises from product liability, regardless of
        the number of causes of action which may arise from such act or
        omission .
           (2) Seventy-five percent of any amounts awarded under this subsection
        as punitive damages, less a proportionate part of the costs of litigation,
        inducting reasonable attorney's fees, all as determined by the trial judge,
        shall be paid into the treasury of the state through the Office of Treasury
        and Fiscal Services . Upon issuance of judgment in such a case, the state
        shall have all rights due a judgment creditor until such judgment is
        satisfied and shall stand on equal footing with the plaintiff of the original
        case in securing a recovery after payment to the plaintiff of damages
        awarded other than as punitive damages . Ajudgment debtor may remit
        the state's proportional share of punitive damages to die clerk of the
        court in which the judgment was rendered . [t shall be the duty of the
        clerk to pay over such amounts to the Office of Treasury and Fiscal
        Services within 60 days of receipt from the judgment debtor. This
        paragraph shall not be construed as making the stare a party at interest
        and the sole right of the state is to the proceeds as provided in this
        paragraph .
          (f) In a tort case in which die cause of action does not arise from product
      liability, if it is found that the defendant acted, or failed to act, with die
      specific intent to cause harm, or dial the defendant acted or failed to act
      while under the influence of alcohol, drugs oilier than lawfully prescribed
      drugs administered in accordance with prescription, or any intentionally
      consumed glue, aerosol, or other toxic vapor to that degree drat his or her
      judgment is substantially impaired, there shall be no limitation regarding
       the amount which may be awarded as punitive damages against an active
       tort-feasor but such damages shall not be the liability of any defendant other
       than an active torbfeasor.
         (g) For any tort action not pro%rided for by subsection (e) or (f) of this
      Code section in which the uier of fact has determined that punitive
      damages are to be awarded, the amount which may he awarded in the case
      shall be limited to a maximum of $250,000.00 .

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51-12-5 .1                                 DAMAGES                                         51-12-5 .1

  (Ii) "this Code section shall apply only to causes of action arising on or
aRer April 14, 1997. (Code 1981, § 51-12-5 .1, enacted by Ga . I.. 1957, p . 915 .
§ 5; Ga . L. 1993, p . 140°_, § lti; Ga . L. 1997, p . 837, a l .)

   Code Commission notes . - Pursuant to           (0971 ) . F'or annual sue'veV' article ~n~ iuri law,
Code $rcdon 28-9 5, in 1997, in subrcuun           sec SU Mercer L . Rev. 335 ( 144$) . Fou anuudl
(f )  "wet-fcaaor"     was   substituted   for     survey article di>uussing hurt ho, sec 51
"wrt(easor" in ova places and "judgment"           Mercer L . Reu 461 (1999) .
was substituted fur "judgement" near the               For note, "Mack Tucks, Inc . c. Cookie .
middle and "April 14, 1997" was substituted        The Georgia Suprcmc Court Tell, ihc Lcg-
for -(he effective date of this subsection" at     islaturc to Keep On Truckin' N9icn Appru-
the end of subsection (h) .                        priaung Punitive Damage Award, to dhr
   Law reviews . - For article, "Products          Sate Treasury," sec 45 Mcrcrr L. Rev. 1439
Liability Law in Georgia Including Recent          (1994) .
Developments ." see 43 Mercer L . Rev. 27              For comment, "Arc Excessive Punitive
(1991) . For article, "The Case for Allowing       Damages Unconstitutional in Oeoigiai : This
Punitive Damages in Georgia Wrongful               Quesuon and More in Colonial Pipeline ( .
Death Actions: The Need to Remove an               v . Brown," see 6 Ga . St . U .L . Rev. 85 (1984))'u .
Unjust Anomaly in Georgia law," see 45             Fur comment, "St .i[utory Punitive Damage
Mercer L . Rev . I (1993) . For article com-
                                                   Caps and die Profit Motive : An Economic
menang on the 1997 amendment of th is
                                                   PerspecUVC," see 30 Emory L .f . 303 (19y1) .
section, see 14 Georgia St . U . L. Rev. 63

                                     JUDICIAL . DECISIONS

                   ANALYSIS

GENERAL CONSIDERATION
PURPOSE
EVIDENTIARY Sl'ANDARD
PRODUf.T LfABILT'
OTHER CASES
PROCEDURE


             General Consideration                 United States Constitution and Ga . Cunst .
                                                   1983, ArL 1, Sec . 1, Par. 'VII, and the double
   Constitutionality. - The one-award Provi-       jeopardy provision of she fifth amendment
sion dealing, with product liability puni4ve       to the United States Constitution . McBride v .
damages asset Forth in the second sentence
                                                   GMC, 737 F. Supp . 1563 (M .0    . Ga . 199U) .
of paragraph (e)(I) is unconstitutional, null
                                                      Paragraph (e)(2), requiring that 7s prr-
and void, in that it violates the equal protec-
                                                   cent of punitive damages awarded in a prod-
tion and due process clauses of die Georgia
and federal constitutions . McBride v. GMC,        uct liability action he paid into the state
737 E Supp . 1553 (M .0   . Ga . 1990) .           treasury, does nut violate tile equal pruier
   Paragraph (e)(2) violates the 1983 Geor-        lion clausesoFdie United States and Geoigia
gia constitutional provisions contained in         Constitutions. Slate v. Moseley, 263 Ga . 680,
Art. 111, Sec . V, Par. III, because it contains   436 S .E .2d 632 (1993), tort. denied,      U .S .
matter different From that expressed in the              l18 S. Ct . 2101, t?8 L . Ed . 2d E53
title of the Tort Reform Act and contains          (1992) ; Mack Trucks, Inc . v. Con kle, 263 ( :a .
subject matter different from other subject        539, 436 S .E .2d 635 (1993) .
matter in the body of [hr act . McBride v.            Paragraph (e)(2), requiring than 75 pcr-
GMC, 737 F. Supp . 1563 (M .D . Ga 1990) .         cent of punitive damages awarded in :, plod
   Paragraph (e)(2) violates the due process       tact liability action be paid into dug smote
and equal protection clauses of the Georgia        treasury, does not constitute a "taking" uu-
                                                                                                            l
and federal constitutions, the excessive fines     der die fifth and (ourteenUi amendments to
 provisions of the eighth amendment to the         the United States Constitution . Slate v .


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N                                                                 protection from dilution . Lanham Trade-Mark Act, § 43(c),
                                                                   IiG .S .C .4 .Il_5(c) .
Briefs end Other Related Docurnews

              United States Court of Appeals,                     131 Trade Regulation X366
                       Fifth Circuit .                            3S=k3(G Most Chid Cases

  ADVANTAGE RENT-A-CAR, INC., Plaintiff-Counter                   Neither Texas nor Louisiana anti-dilution statutes require
             Defendant-Appel lee,                                 mark to be famous in order to be protected; mark need only
                        v.                                        be distinctive . V ."i.C .4 .. Bus . R C § 16 .29 ; LS,4R.S .
  ENTERPRISE RENT-A-CAR, CO ., Defendant-Counter                    1223 .1 .
               Plaintiff-Appellant .                              *378 William u . R .unan (argued), Amber Lee Hatfield,
                                                                  Thompson & Knight, Austin, TX, John Craig Cain, Arnold,
                       No . 99-51145 .                            White & Durkee, Houston, TX, for Advantage Rent-A-Car,
                                                                  Inc .
                      Jan.22,2001 .
             Rehearing Denied March 7, 2001 .                     Rudolph A . Telscher, Jr . (argued), St . Louis, MO, Dana
                                                                  Livingston Cobb, Cook, Roach & Lawless, Austin, TX, for
Competing car rental companies sued each other under state        Enterprise Rent-A-Car, Co .
and federal law for trademark dilution . The United States
District Court for the Western District of Texas, Sam             Appeal from the United        States   District Court   for the
Sparks, J ., denied relief for either party, and appeal was       Western District of Texas .
taken . The Court of Appeals, Goodwin, Circuit Judge,
sitting by designation, held that : (I) company's "We'll Pick     Before GO(1DWIK         [PNI],   6ARWOOD and JONES,
You Up" slogan was not sufficiently famous in car rental          Circuit Judges .
market to warrant protection from dilution under Lanham
                                                                           FN I . Circuit Judge of the Ninth Circuit, sitting by
Act, and (2) Texas and Louisiana anti-dilution statutes
                                                                           designation .
required only distinctiveness, not fame, in order for mark to
be protected .
                                                                  GOOD14'Iti, Circuit Judge:
Affirmed in pan; vacated and remanded in pan .
                                                                 Enterprise Rent-A-Car Company (Enterprise) appeals the
                      West Headnotes
                                                                 judgment and order denying Enterprise's post-judgment
                                                                 motion, which disposed of all claims between Enterprise
ICI Trade Regulation C~m366                                      and Advantage Rent-A-Car, Inc . (Advantage) under [he
3R-k36G Most Cited Cats
                                                                 Federal Trademark Dilution Act (FTDA) and the Texas,
                                                                 Louisiana, Arkansas, and New Mexico anti-dilution statutes
To prevail on federal trademark dilution claim, mark owner
                                                                 over use of the slogan "We'll Pick You Up ."
must prove that its mark a famous and distinctive ; that
defendant adopted its mark after it had become famous and
                                                                     "379 FACTUAL & PROCEDURAL BACKGROUND
distinctive ; that defendant caused dilution of owner's mark :
and actual economic harm . Lanham Trade-Mark Act, §               Both Enterprise and Advantage are rental car companies .
43(c), 15 U .S .C .A . F I 125(c) .                               The rental car market is divided into two segments : one that
                                                                  caters primarily to business and leisure travelers and one
121 Trade Regulation X366
                                                                  that provides replacement cars to drivers whose cars are in
382k366 Most Cited Cases
                                                                  the shop for repair . Both companies are active in both
                                                                  segments .
Mark is famous, for purpose of dilution claim, i( it is
famous within owner's industry, even if it is nut famous in
                                                                  In 1990, Advantage produced a television commercial that
broader market . Lanham Trade-Mark Act, § 43(c), 1 5
                                                                  depicted an actor holding a steering wheel . A voice-over
U .S .C .A .j 1135Ici .
                                                                  discussed the various reasons the actor might need a rental
                                                                  car . At the end of the commercial, a taller actor entered and
/31 Trade Regulation X366
                                                                  lifted the first actor off the ground and into his arms, while
382k3G6 ',lost Cited Cases
                                                                  the voice- over staled : "We'll even pick you up ." The
                                                                  commercial aired on the Spurs Network at least 24 times in
Car renal company's "We'll Pick You Up" slogan was nod
sufficiently famous in car renal market to warrant                 1992, at least 12 times in 1993, a[ least 17 times in 1994,




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and at least 49 times by the end of the professional             dilution statutes remained .
basketball season in May 1995 . From August 1997 to April
1998, the commercial aired 289 times on Fox Sport                After trial, the district court entered a judgment that denied
Southwest . The commercial is the only advertising piece in      Enterprise relief on any of its dilution claims . Having found
which Advantage employed the phrase "We'll Even Pick             that Enterprise did not demonstrate that its mark was
You Up ." Although Advantage has received several federal        sufficiently famous or distinctive, the district court did not
registrations for various slogans, it did not file an            reach the *380 questions whether : (I) Enterprise's claim
application to register the phrase "We'll Even Pick You Up"      under the FTDA must fail because of Advantage's prior use
until May 3 . 1999 .                                             of its slogan ; (2) Enterprise's claim under the FTDA must
                                                                 fail because [he FTDA does not apply retroactively ; (3)
Meanwhile, Enterprise began using the phrases "Pick the          Enterprise met its burden of proof on dilution and/or
Company that Picks You Up" and "Pick Enterprise, We'll           likelihood of dilution ; or (4) Enterprise met its burden of
Pick You Up" from 1994-1995 . It first used the slogan           proof by clear and convincing evidence that Advantage
"We'll Pick You Up" in 1994 and obtained federal service         abandoned its rights in its slogan . The district court
mark registrations for "Pick Enterprise . We'll Pick You Up"     dismissed Advantage's pending motions for summary
on January 16, 1996 and "We'll Pick You Up" on August 5,         judgment as moot .
1997 . Enterprise estimates that it has spent more than $130
million on advertising containing the slogan, "We'll Pick        Enterprise then filed a motion under FRCP 52 and 59, in
You Up ." It has used the slogan in all of the media forms in    which it requested that the district coup : (I) amend its
which it advertises, including print ads, yellow pages, radio    conclusions of law and reach new conclusions by applying
ads, and commercials shown on prime time national                the statutory factors on fame under the FTDA and (2) enter
television on major broadcast networks and cable stations .      judgment in favor of Enterprise on the "fame" requirements
Approximately 75 percent of Enterprise's advertising             of the FTDA and the Arkansas and New Mexico
includes the phrase "We'll Pick You Up ." Enterprise has         anti-dilution    statutes, and   on   the   less  stringent
won marketing awards for its advertising campaign                "distinctiveness" standard of [he Texas and Louisiana
involving the "We'll Pick You Up" slogan .                       anti-dilution statutes .

Both Enterprise and Advantage became aware that                  The district court denied Enterprise's post-judgment motion,
variations of the slogan "We'll Pick You Up" were                and Enterprise appealed .
appearing in advertisements, and after some correspondence
back and forth, Advantage filed suit against Enterprise .                                DISCUSSION
Enterprise answered that it did not infringe on Advantage's
                                                                 [ I ] To prevail on its federal dilution claim, Enterprise must
right in the phrase, and counterclaimed against Advantage .
                                                                 prove that its slogan is "famous and distinctive ;" that
Enterprise    asserted    that  Advantage      had   infringed
Enterprise's federally registered "We'll Pick You Up" slogan     Advantage adopted its mark after Enterprise's had become
and was diluting Enterprise's rights in the slogan .             "famous and distinctive ;" and that Advantage caused
                                                                 dilution of Enterprise's mark . [Yenchesier :Llediu r. PRL
Advantage     moved for summary judgment               against   USA Hn(din ;;Y. Inc ., 214 F .3d 658 . 670 (5th Cir2000) .
Enterprise's FTDA dilution claim on the ground that the          Enterprise must prove actual economic harm . See id. The
FTDA expressly provides relief only if the accused use           New Mexico and Arkansas anti-dilution statutes also require
"begins after the mark has become famous ;" 19 U .S .C . y       that the mark be famous . See AR ST § d-"1-213 and NM ST
 1125(c)(I), and that the FTDA could not be applied              Y i7-3f3-I5 .
retroactively against Advantage's use of its slogan . Whether
or not Enterprise had attained fame with its slogan became       The district court disposed of the federal dilution claim on
                                                                 the ground that Enterprise's slogan was insufficiently
the principal issue in the case .
                                                                 famous for the states' or the FTDA's anti-dilution
After months of discovery, the parties narrowed the issues       protections to attach . It conducted an impressive review of
by entering into a partial consent judgement on May 24,          dilution law and noted that the FTDA provides a
1999 . They agreed that due, a[ least in part, to the presence   nonexclusive list of factors that courts may consider in
of their respective company names in conjunction with the        deciding whether a mark is distinctive and famous for
phrases, consumers were not confused by the competing            dilution purposes . [F\?]
advertisements that used the slogans . As a result of the
partial consent judgment, Advantage's claims against                      Fti2 . The FTDA provides :
Enterprise dropped out of the case, and only Enterprises                  In determining whether a mark is distinctive and
claims for dilution under the FTDA and under the four state               famous, a court may consider factors such as, but
                                                                          not limited to--




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         (A)    [he   degree    of    inherent or  acquired        I~ .3d 10'0, IOKI n . 14 (5th CirJ99?) (slating that "[i]t is
         distinctiveness of the mark ;                             clear that anti-dilution statutes .. . are designed to protect
         (B) the duration and extent of use of the mark in         only strong, well-recognized marks").
         connection with the goods or services with which
         the nark is used ;                                        The Texas anti-dilution statute explicitly requires only
         (C) the duration and extent of advertising and            distinctiveness, not fame . Courts applying the statute have
         publicity of the mark ;                                   not required fame for a party to prevail on a dilution claim .
         (D) the geographical extent of the trading area in        Under Texas law, to determine whether a mark is distinctive
         which the mark is used ;                                  enough for dilution, the court considers factors much like
         (E) the channels of trade for the goods or services       those used in the FTDA fame analysis : whether the mark is
         with which the mark is used ;                             arbitrary, the length of time the user has employed the mark,
         (F) the degree of recognition of the mark in the          the scope of the user's advertising and promotions, the
         trading areas and channels of trade used by the           nature and extent of the first user's business, and the scope
         marks' owner and the person against whom the              of the first user's reputation . See Pebble Beach CU. v. Tour
         injunction is sought, (G) the nature and extent of        l8 l. Lid., 942 1' .Supp . 1513 .1565 (S .D .Tzx .l9)G) affd . as
         use of the same or similar marks by third parties ;       modified, I» f .3J 526 . rehearing denied . The court added
         and                                                       that "a somewhat stricter standard is to be applied in
         (H) whether the mark was registered under the Act         determining 'strength' in dilution analysis than in likelihood
         of March 3, 1881, or the Act of February 20 . 1905,       of confusion analysis ." lei.
         or on the principal register .
         15 U .S .C . ; 112i(c)(1) . The language of the           Like the Texas statute, the Louisiana statute requires
         Arkansas and New Mexico statutes is identical. See        distinctiveness, not fame . Louisiana coups have provided
         AK ST l 4-71 -213 and N\t ST § S7-3D-1 ; .                little guidance on the meaning of distinctiveness for dilution
                                                                   purposes . In Prudhnnvnie v . Praefer & Gamble Co . . 800
(2] To the extent that the district court's opinion can be read    P .Supp . 390, 395 (ED .La .1992), the court noted that the
to suggest that Enterprise needed to prove fame beyond its         anti-dilution statute protects a mark based upon its strength
market, we disagree . Rather, we agree with the Seventh            and that "such strength can be demonstrated by showing a
Circuit, which has rejected this reading of the statute . See      mark to either be distinctive or to have acquired a secondary
Svndirnle .Sales lne. r . llainp.~hire Paper Carp ., 19'_ Fad      meaning ." /d.
633 . (40 17th Cir .1999) . See nlso Restuac "ineni (7/rirdt O/'
Unfair Competition ; 25 tint . z (1995) (staling that "[a]         Louisiana coups have not addressed the issue whether the
mark that is highly distinctive only to a select class or group    distinctiveness required for dilution purposes is different
of purchasers may be protected from diluting uses directed         from the distinctiveness required for trademark infringement
at that particular class or group") . Enterprise needed only to    purposes . The Supreme Court of Louisiana has followed
show that its "We'll Pick You Up" mark is famous within            federal Supreme Court precedent in interpreting the stake's
the car rental industry, not in a broader market .                 distinctiveness requirement to mean that the mark must
                                                                   either    be inherently distinctive         or have acquired
`38I [aJ Enterprise did not prove that its slogan was              distinctiveness through secondary meaning in the context of
sufficiently "famous," even within the car rental market . As      trademark infringement, but it has not made clear whether
the district court explained, dilution is an extraordinary         these requirements extend to dilution cases . See Guli- Cnus(
remedy, and Enterprise failed to prove that such convnon,          Bank c. Gad/Coast Bank & Tnrsr Co_ 652 Sold 1306
descriptive words as "we'll pick you up" should be given           (La . 199>l (discussing Two Pesos, Ine. o. Two Cabana, hoc . .
monopoly protection in favor of an early user any more than        505 U .S . 7h; . 112 S .Ct . 2753, 120 L .Fd .2d 615 (1492)) .
such words as "we deliver" or "we pay the postage."
                                                                   There appears to be no basis for the district court's holding
[3J However, the district court's holding that the Texas and       that the Louisiana and Texas statutes require fame .
Louisiana anti-dilution statutes require a mark to be famous       Although there seems to be no established difference
is unsupported by state law . The coup's only explanation for      between fame under the FTDA and distinctiveness under the
its conclusion that fame was necessary under Texas and             Texas and Louisiana statutes, principally because both are
Louisiana appeared in parenthetical citations to J. Thomas         such nebulous standards, the substantive difference, if any,
. Trademarla and Unfair Cornpelilion (4th ed .
McCarthy                                                           i, one of degree.
 1999) § 2 :108 (noting that "[w]ithout such a requirement, an
anti-dilution statute becomes a rogue law that rums every          Accordingly, we AFFIRM the district court's holding that
trademark, no matter how weak, into an anti-competitive            "We'll Pick You Up" is insufficiently famous for the FTDA
weapon") and E.s.cun Corp. i . Os.%/urJ Clulhe.ti . Inc . . 109    and the New Mexico and Arkansas anti- dilution statutes,
                                                                   but VACATE and REMAND for a determination whether it




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is sufficiently distinctive under Texas or Louisiana law.

'382 Neither party to recover costs on appeal .

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" =000 "'L 33993296 (Appellate Brief) Reply Brief of
Appellant (Jun . 21 . 2000)

" 200(1 WL ; ;993295 (Appellaic Brief Brief of Appellee
(Jun . 05, 2000)

" 2000 NL 33993-94 (Appellate Brief) Brief of Appellant
(star. 27 . 2000

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                                          ACHMENT

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generally
                                         1.03 Inducing Breach of Contract : Elements of Liability
ort of interference balances
                                         t.03[1] Generally
ness relationships with the
ier parties coexisting in the              For the plaintiff to recover on his claim against the defendant,
 common law demonstrates                 the plaintiff must prove, by a preponderance of the evidence,
ie boundaries within which               each of five [six] things :
 so as not to interfere with                1 . That at the time of the acts of the defendant,
                                         [name], which are complained of, the plaintiff,
ducing a breach of contract              [name], was a party to a valid contract with                  [name
contract, induces its breach             of breaching party] to                 [state purpose of contract] ;
in the legitimate exercise of               2. That the defendant either knew of the existence, or under
I party's cause of action ex-            the circumstances, should have known of the existence, of that
s in an actual breach of the             contract ;
cults in substantial interfer-              3 . That the acts of the defendant in inducing
nution of the value of the               [name of breaching party] to breach his contract with the plain-
 368 (1953) ; 8 PO.F2d 267,              tiff were intentional within the meaning of the word intent,
he right to perform a con-               which I will provide you with later in my instructions ;
ig therefrom, and also the                  4 . [optional-depending upon law of jurisdiction] That the
qty, are property rights enti-           conduct of the defendant was improper under the factors I will
.2d 1227, 17.40-41 (1952) ; 8            instruct you to consider ;
ir. 2d Interference §§ I, 39                5 . That, as a proximate result of the acts of the defendant,
                                                        [name of breaching party was induced to breach his
                                         contract with the plaintiff; and
                                            6 . That as a direct and proximate result of the defendant's con-
                                         duct, the plaintiff suffered damage.
                                            If you find from your consideration of all of the evidence that
                                         the plaintiff has proved each of these elements by a preponder-
                                         ance of the evidence, then you will consider the question of the
                                         amount of money damages under instructions I will give you .
                                            If you find, however, from your consideration of all of the evi-
                                         dence that the plaintiff has not proved any one or more of these
                                         elements by a preponderance of the evidence, then the defendant
                                         is not liable, and your verdict should be against the plaintiff and
                                         for the defendant.


                                         Comment:

                                           This charge reflects the traditional standard for establishing liability,
                                         and includes the optional element of improper conduct on the part of
                                         the defendant . This element, now included in the Restatement (Sec-
                                         ond) of Torts, is being used by an increasing number of jurisdictions.

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                                          L03[41Ic/ Proof of Intent

use or aim or, state of                    Intent may be proved by indirect or circumstantial evidence .
  Ordinarily, it is rea-                Indeed, it can rarely be established by any other means. While
iatural and probable                    witnesses may see and hear, and may be able to give direct evi-
                                        dence of what a person does or fails to do, they do not likewise
                                        see and hear what a person intends to do or to refrain from doing.


                                        Comment:
)n of intent. See, e.g .,
962), cert. denied, 372                   Cf. Piedmont Cotton Mills, Inc. v. H. W. Ivey Construction Co.,
pn Mills, Inc. v H. W.                  109 Ga. App. 876, 137 S.E.2d 528 (1964) ; Annot., 26 A.L .R .2d 1247,
S.E .2d 528 (1964) .                    1277 (1952) .




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Gce" [Optional]                                  1.03[4J[e] Summary of Requirement of Intent
us[ find that the defendant                       Thus, in making your determination as to whether the defen-
d in this sense, sometimes                     dant intentionally interfered with the contract between the plain-
ly to the intentional doing of                 tiff and              [name of breaching party], you may look at
 or excuse-that is, the will-                  the defendant's conduct and, in the absence of evidence to the
 not necessary for the plain-                  contrary, draw an inference in order to make your finding con-
 sense of hatred, ill will, or                 cerning the defendant's intent . That inference is that the defen-
                                               dant intended by his conduct, or lack of conduct, those natural
                                               and probable consequences that one standing in like circum-
                                               stances, and possessing like knowledge, should reasonably have
                                               expected to result from the same act knowingly done, or know-
                                               ingly omitted, by him . If you thereby find that the defendant's
malice" be shown, this charge                  conduct was in willful violation of a known right of the plaintiff,
dictions where intent need only                then the requisite intent was present.
a, This charge includes the tra-
alice and legal malice. See, e.g.,
69); Mid-Continent Telephone
                                               Comment :
 Supp. 1176 (N.D. Miss . 1970);
Therm Insulation Systems, Inc.,
                                                 This charge is recommended to collect and reinforce for the jury the
                                               various elements of the requirement that intent be proved as an ele-
the use of the word malice, Pro-
                                               ment of the tort .
.erm. Prosser, supra at 983-84 .
simplified by replacing this sec-
included in the definition of in-

stabGshed in order to prove the
-nse of spite, hostility, or ill will
  nses: (1) Proof of legal malice
:. 45 Am. Jur. 2d Interference §
dly be proved in order to obtain
   1.07[2], infra .
 .,h the concept of actual malice
 II will) from the constitutional
   by the United States Supreme
   pan, 376 U.S. 254 (1964), and




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ilawful, you may find the                        Breach of contract means the failure of a party to a contract,
ire.                                          in the absence of legal excuse or impossibility of performance, to
                                              perform any promise which forms the whole or part of the con-
                                              tract . A breach may occur with regard to either an express or im-
                                              plied provision of the contract . An express provision is one
                                              which is specifically agreed to by the parties either orally or in
c[ complained of may have
                                              writing . An implied provision is one that is recognized by the
 charge, which incorporates
 presumed to intend the con-                  parties to exist and bind them in their actions despite the fact
iont Cotton Mills, Inc. v. H.                 that it was not specifically spelled out or agreed to by the parties
76, 137 S.E .2d 528 (1964) ; 45               to the contract . An implied provision often arises out of terms
                                              which were expressly set forth in the contract and agreed to by
                                              the parties, and an implied promise constitutes a valid part of the
                                              contract .


                                              Comment:

                                                 This charge is based upon the traditional definition of breach of
                                              contract set forth in Black's Law Dictionary 171 (5th ed . 1979) . Gen-
                                              eral contract law, including an analysis of what constitutes breach of
                                              contract and the related concepts of materiality and substantial per-
                                              formance, is beyond the scope of these instructions. The definitions
                                              herein are included only because a requisite element of this tort is some
                                              form of breach of or interference with a contract .
                                                 For a detailed analysis of what constitutes breach of contract, coun-
                                              sel should consult one of the standard texts or treatises in the area of
                                              contract law. E.g., J. Calamari & J. Perillo, Law of Contracts §§ 174-
                                              8S (3d ed . 1987) ; E. Allen Farnsworth, Contracts (1982) .




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                     1.03[5][b] Breach Required
                      For the plaintiff to prevail on his claim against the defendant,
                   you must find that the contract in question has been breached .
                   This means that you must find that                        [name of
                   breaching party]   failed to perform as he agreed to do under the
                   contract, either by virtue of the express provisions of the con-
                   tract or as may be implied from the express provisions, in accor-
                   dance with the definitions of express and implied contractual
                   provisions for which I have already instructed you .


                    Comment:

                      For the definitions of breach, express condition, and implied condi-
                   tion, see 1 .03[5][a] and the comment thereto, supra.
                      It is axiomatic that breach is a requisite element of the tort of induc-
                   ing breach of contract . See, e.g., George A . Fuller Co. v Chicago Col-
                   lege of Osteopathic Medicine, 719 F2d 1326 (7th Cir. 1983) ; National
                   Educational Advertising Service, Inc. v Cuss Student Advertising Inc.,
                   454 F Supp. 71 (N.D. Ill . 1977) . For a discussion of the requirement
                   that the contract in question be valid and enforceable (which this in-
                   struction implicitly assumes), see 1.03[2] and comment thereto, supra.




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                                          1.03(5][c] Causal Relationship : Generally
                                          You, the jury, must determine whether the defendant was re-
 against the defendant,
                                        sponsible for the refusal of              [name of breaching
on has been breached .
                                        party] to go forward with the contract with the plaintiff. This
               [name of
                                        means that before you can decide in favor of the plaintiff, you
agreed to do under the
                                        must find, by a preponderance of the evidence, that but for the
 provisions of the con-
                                        actions of the defendant, the contract which would otherwise
:ss provisions, in accor-               have been performed was not performed.
ad implied contractual
ucted you .
                                        Comment :

                                           This general causation charge, containing the traditional "but for"
                                        test, finds wide support among the courts . See, e.g., Freed v. Manches-
titiort, and implied condi-             ter Service, Inc., 165 Cal . App . 2d 186, 331 P2d 689 (1958) ; Smith v.
                                        Citizens and Southern National Bank, 241 S.C . 285, 128 S.E .2d 112
+ment of the tort of induc-             (1g62) ; Special Event Entertainment v. Rockefeller Center, Inc., 458 F
 Qu!!er Co. v Chicago Co!-              Supp. 72 (S.D.NY 1978) ; Martin v. Texaco, Inc., 304 F Supp. 498 (S.D.
  (7th Cir . 1983); National            Miss. 1969); State Enterprises, Inc. v. Southridge Cooperative Section
s Student Advertising Inc.,             One, Inc., 18 A .D.2d 226, 238 NY.S.2d 724 (N.Y. App . Div. 1963). See
 assion of the requirement              aLso 45 Am . Jur. 2d Interference § 5 (1969) (`9t must be shown that by
 n fo~eable (which this in-             reason of defendant's act, a contract which would otherwise have been
d comment thereto, supra .              performed was abandoned") .




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                   1.03(51[d] Proximate Cause
                   if you find that the plaintiff did suffer the losses he claims,
                 you must then determine whether the defendant's conduct was
                 the proximate cause of the plaintiff's loss or damage.
                    In this regard, the defendant's conduct will be considered to be
                 the proximate cause of the plaintiff's loss or damage if you find
                 that it was a substantial factor in causing that loss or damage. It
                 need not be the only cause. The conduct will be a substantial fac-
                 tor in causing the loss or damage if it had such an effect in pro-
                 ducing the loss that reasonable men and women would regard it
                 as a cause of the loss or damage, considering the number of
                 other contributing factors, whether defendant's conduct created
                 a condition or chain of events which was continuous and active
                 up to the time of the damage to the plaintiff, and the lapse of
                 time between the defendant's conduct and the damage to the
                 plaintiff.


                 Comment:

                    This charge is based upon Acme Cigarette Service, Inc. v Ga!legos,
                 91 N.M . 577, 577 P.2d 885 (N.M . Ct . App. 1978), and reflects the tradi-
                 tional definition of proximate cause. See Restatement (Second) of
                 Torts § 433 (1965) . The requirement of causal effect may be stated in
                 somewhat different terms depending upon the jurisdiction . See gener-
                 ally Prosser, supra at 989 .
                    Although there is some overlap between this instruction and the
                 charge set forth in 1 .03[5][b], instructing the jury with both charges
                 will not lead to inconsistent verdicts . The rationale behind two sepa-
                 rate causation instructions is that the first charge is designed to inform
                 the jury that the plaintiff has the burden of proving that except for the
                 defendant's actions, the plaintiff would have more likely than not re-
                 ceived the benefits of its contract with the third party. Instructing the
                 jury with the instant charge will make it clear to the jury that the de-
                 fendant's conduct must have been more than merely a contributing
                 cause, it must be a substantial factor in inducing the breach . If this lat-
                 ter instruction is not accepted in a certain jurisdiction, the charge set
                 forth in I.03[5][b] may be given alone with no adverse impact .
                 Note: In Eltolad Music, Inc . v. April Music, Inc., 139 Cal . App. 3d
                 697, 188 Cal . Rptr. 858 (1983), the Court of Appeals of California
                 granted the defendant/appellant a new trial based upon the trial
                 court's instruction to the jury that proximate cause constituted "a"
                 moving cause of the breach. The California court held that the correct
                 instruction, as requested by the defendant, was that proximate cause is

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                                           "the" moving cause of the breach . Such an interpretation does not ap-
                                           pear [o be the majority view.
 suffer the losses he claims,                 Compare Eltolad with Lanning v. Poulsbo Rural Telephone Associ-
he defendant's conduct was                 ation, 8 Wash . App. 402, 507 P2d 1218 (1973).
 s loss or damage .
duct will be considered to be
  loss or damage if you find
ising that loss or damage. It
.uct will be a substantial fac-
it had such an effect in pro-
 and women would regard it
 considering the number of
defendant's conduct created
1 was continuous and active
   plaintiff, and the lapse of
uct and the damage to the




rretle Services, Inc. v Gallegos,
pp. 1978), and reflects the tradi-
 See Restatement (Second) of
  causal effect may be stated in
pon the jurisdiction . See gener-

 ween this instruction and the
ing the jury with both charges
Che rationale behind two sepa-
 st charge is designed to inform
a of proving that except for the
d have more likely than not re-
 che third party. Instructing the
 t clear to the jury that the de-
)re than merely a contributing
inducing the breach. If this lat-
 3in jurisdiction, the charge set
 with no adverse impact .
 Music, Inc., 139 Cal . App . 3d
 curt of Appeals of California
cw trial based upon the trial
'oximate cause constituted "a"
 -nia court held that the correct
 n[, was that proximate cause is
                                                                            21
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                  1 .05(2] Proper or Improper Interference Defined
                   The determination of whether the defendant's conduct was or
                 was not improper depends upon your consideration of all the
                 facts and circumstances of the case, and a balancing of the fol-
                 lowing factors :
                    l . The nature of the defendant's conduct ;
                   2. The defendant's motive ;
                   3 . The interests of the plaintiff with which the defendant's
                 conduct interfered ;
                   4. The interests sought to be advanced by the defendant ;
                   5 . The social interests in protecting the freedom of action of
                 the defendant and the contractual interests of the plaintiff ;
                   6. The proximity or remoteness of the defendant's conduct to
                 the interference claimed by the plaintiff; and
                   7 . The relationship among the plaintiff,             [name of
                 breaching party], and the defendant .


                 Comment:

                     This charge is generally based upon Restatement (Second) of Torts §
                  767 (1977) . The comments to this Restatement section explain the sig-
                  nificance of the various factors in depth and should be readily con-
                  sulted by counsel . By and large, a growing number of jurisdictions are
                  approaching the issue of whether a defendant's interference is proper
                  or improper through an analysis of the seven specific factors set forth
                  by the Restatement . See, e.g., Heheman v E. W. Scripps Co., 661 E 2d
                  1115, 1127-28 (6th Cir . 1981), cer1. denied, 456 U.S. 991 (1982) ; Cross v.
                  Lowder Really, Inc., 494 So. 2d 590, 593-600 (Ala . 1986) ; Berrdix
                  Corp. v. Adams, 610 P2d 24, 30 (Alaska 1980) ; Dawson v Radewicz,
                  63 N.C . App . 731, 306 S.E .2d 171, 173 (1983). See also 45 Am . Jur. 2d
                  Interference § 27 (1969) ; Annot ., 26 A .L .R .2d 1227, 1267 (1952) .
                     The lack of improper interference on the part of the defendant, i .e.,
                  justification for the defendant's conduct (see § 1 .05[1], supra), is by far
                  the most popular defense advanced by defendants in actions for induc-
                  ing breach of contract. See 45 Am . Jur. 2d Interference § 27 (1969) and
                  cases cited therein .
                     With respect to the means employed by the defendant in inducing
                  the breach of contract, see 1.04[2] and the comment thereto, supra.
                     With regard to the defendant's motive in inducing the breach, see
                  1.04[3] and the comment thereto, supra.
                     Although improper interference is a question of fact for the jury to
                  determine in accordance with the several factors set forth in this in-


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e Defined                                  struction, the existence and exercise of a superior or an absolute right
                                           on the part of the defendant is a question of law for the court. For a
 defendant's conduct was or                discussion on the distinction between absolute and ordinary rights, see
cur consideration of all the               1 .04[3] and the comment and note thereto, supra .
 and a balancing of the fol-


:onduct ;

with which the defendant's

inced by the defendant ;
ig the freedom of action of
-iterests of the plaintiff;
  the defendant's conduct to
ntiff; and
intiff,                 [name of




2estatement (Second) of Torts §
 temenl section explain the sig-
 th and should be readily con-
ing number of jurisdictions are
Pendant's interference is proper
  seven specific factors set forth
n v E. W. Scripps Co., 661 F.2d
ed, 456 U.S. 991 (1982) ; Gross v.
   593-600 (Ala. 1986) ; Bendix
 .a 1980); Dawson v Radewicz,
(1983). See also 45 Am . Jur. 2d
  .L .R.2d 1227, 1267 (1952) .
   the part of the defendant, i.e.,
:t (see § 1,05[l], supra), is by far
defendants in actions for induc-
  2d Interference § 27 (1969) and

d by the defendant in inducing
 the comment thereto, supra.
 ve in inducing the breach, see

question of fact for the jury to
ral factors set forth in this in-

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                                           1.06 Compensatory Damages
 iproper if you find that he               1.06[1] Generally
:lfare. To find that the de-
                                              Should you find that the defendant is liable for procuring or
 blic welfare, you must find
  established public policy                causing a breach of the plaintiff's contract, and that his actions
;nsuring the stability of the              were neither justified nor privileged, then you may award such
ample of such a situation                  damages as will reasonably compensate the plaintiff for the
.i have injured the public                 losses he has sustained from that breach of his contract .


                                           Comment:

                                             In cases of inducing breach of contract, courts apply the broad tort
                                           principle that damages are limited to compensation for the actual loss
 .`endant's conduct was proper             incurred . 45 Am . Juc 2d Interference § 57 (1969) ; Annot . 26 A .L.R .2d
furtherance of the public wel-             1272 (1952) . See Restatement (Second) of Torts § 774A (1977).
nterest served against the pri-
                                             See 1.06[3] for recoverable elements of compensatory damages.
 . 2d interference § 29 (1969) ;
 v. Mohammed, 586 F-2d 530
:4 (1979); Edwards v. Travelers
 system Operations, Inc . v. Sci-
 ~. Supp. 130 (D.N.J. 1977) ; Ru-
ra, Inc ., 91 Misc . 2d 264, 397
   Products & Excavating Corp.
7.J. 507, 181 A .2d 774 (1962);
.349, 354 S.W.2d 823 (1962) .




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                    1 .06/2) Damages: Impossibility of Precise Calculation No Bar to
                    Recovery
                       If you find that the plaintiff has in fact suffered damage to his
                    business or property, the fact that the precise amount of damage
                    may be difficult to ascertain does not impair his right to recover
                    damages. Although you may not render a verdict based upon
                    mere speculation or guesswork, the plaintiff is allowed some rea-
                    sonable leeway in his method and proof of damage.
                       While the law places a burden upon the plaintiff to prove such
                    facts as will enable you, the jury, to arrive at the amount of dam-
                    ages with reasonable certainty, it is not necessary that the plain-
                    tiff prove the amount of those damages with mathematical
                    precision . It is only required that the plaintiff present such evi-
                    dence as might reasonably be expected to be available under the
                    circumstances.
                       You are permitted to determine the amount of damage by esti-
                    mation or approximation, so long as a reasonable basis for such
                    estimate or approximation is shown with reasonable certainty.
                    You may use any formula or theory for determining damages
                    which is based upon the evidence in the case and which you be-
                    lieve to be reasonable ; you are not bound to reject a formula or
                    theory simply because it does not measure damages to the exact
                    dollar and cent .


                    Comment:

                       This instruction reflects the established rule that absolute precision
                    is not required for an award of damages, even though total speculation
                    may not be used. Estimation is permitted so long as its method is justi-
                    fied by the record admitted into evidence. 45 Am . Jur. 2d Interference
                    § 57 ; ABC-Paramount Records; Inc. v Topps Record Distributing
                    Co., 374 F2d 455 (5th Cir. 1967); Daly v. Nau, 167 lnd. App. 541, 339
                    N.E.2d 71, 78-79 (1975); Selby v. Pe!letier, 1 Conn . App. 320, 472 A.2d
                    1285, 1288 (1984) ; Sleitz v. GiJford, 280 N.Y 15, 19 N.E.2d 661 (1939) .
                    See Restatement (Second) of Torts § 912 (1977) . For rule applied to
                    other torts, see, e.g., Monolronics Corp. v Baylor, 107 Ill . App . 3d 14,
                    436 N.E.2d 1062, 1065 (1982); Vendo Co. v. Stoner, 58 111. 2d 289, 321
                    N.E.2d 1, 13 (1974), cert. denied 420 U.S. 975 (1975) ; Daniels Towing
                    Services, Inc. v. Nat Harrison Associates, Inc., 432 F2d 103 (5th Cir.
                    1970); Washington Stale Bowling Proprietors Association v. Pacific
                    Lanes, Inc., 356 F2d 371, 37B-79 (9th Cir. 1966) .



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e Calculation No Bar to
                                           1.06[3] Recoverable Elements of Damages
                                              In determining the amount of compensatory damages, you
'act suffered damage to his
                                           may consider whether the plaintiff suffered any measurable loss
precise amount of damage
                                           of profits by reason of the defendant's conduct . You should be
impair his right to recover
                                           guided by the rule that the plaintiff is entitled to any profits
ider a verdict based upon
                                           which he would, with reasonable certainty, have enjoyed, were it
untiff is allowed some rea-
                                           not for the breach of his contract. In arriving at the amount of
 .of of damage.
                                           profits lost by the plaintiff, you are entitled to consider the plain-
 the plaintiff to prove such
                                           tiff's past earnings in his business and, in particular, those past
-ive at the amount of dam-
                                           earnings resulting from contracts of the nature of the contract in
 t necessary that the plain-
                                           this case. You should also consider all of the other evidence con-
nages with mathematical
                                           cerning general economic and competitive conditions that you
 plaintiff present such evi-
                                           may find to have a bearing on the issue of lost profits.
  to be available under the
                                              In addition to lost profits, the plaintiff is emitted to recover
                                           any reasonable costs he incurred in an effort to mitigate or re-
unount of damage by esti-
                                           dace his damages and to recover business he lost due to the de-
  reasonable basis for such                fendant's wrongful conduct. As a result, you may consider the
with reasonable certainty.
                                           plaintiffs expenses in determining the amount of compensatory
 for determining damages
                                           damages..
   case and which you be-
,.nd to reject a formula or
 sure damages to the exact
                                           Comment:

                                              Concerning lost profits, see, e.g., 45 Am . Jur. 2d Interference
                                           §§ 57, 58 (1969) ; Central Telecommunications, Inc . v 7Cl Cablevi-
                                           sion, Inc., 800 F2d 711 (8th Cir. 1986) ; Selby v Pelletier, 1 Conn. App .
                                           320, 472 A .2d 1285, 1288 (1984) ; Franklin Music Co. v. American
 rule that absolute precision              Broadcasting Co., 616 R2d 528 (3d Cir. 1980); Hutchins v. Bethe/ Meth-
--en though total speculation              odist Home, 370 R Supp. 954, 964 (S.D.NY 1974) (benefit-of-bargain
 ) long as its method is justi-            measure of damages); Dillon v Magner, 29 A.D.2d 759, 760, 287
45 Am . Jur. 2d Interference               NYS.2d 519, 521 (NY App . Div. 1968); Coonis v. Rogers, 429 S.W.2d
 Topps Record Distributing                 709 (Mo. 1968).
  lau, 167 Ind. App . 541, 339                Concerning recovery of costs of mitigation or recoupment, see An-
   Conn . App . 320, 472 A. 2d             not ., 26 A .L .R.2d 1227, 1272 (1952) .
Y 15, 19 IY.E.2d 661 (1939).                  While the measure of damages recoverable in an action for inducing
 =1977). For rule applied to               a breach of contract varies among jurisdictions, it is generally said that
  Say/or, 107 Ill. App . 3d 14,            the defendant should be held responsible for all of the quantifiable
v. Stones, 58 Ill. 2d 289, 321             consequences of his tortious conduct . E.g., 45 Am. Jur. 2d Interjer-
 975 (1975) ; Daniels Towing               ence (1969) ; Restatement (Second) of Torts § 774A (1977); Daly v Nau,
  Inc., 432 F2d 103 (5th Cir.              167 Ind. App . 541, 339 N.E.2d 71, 78-79 (1975). Counsel should exam-
..ors Association v. Pacific       ~       ine the case law in each jurisdiction to determine the extent of damages
        )~                                 to which the plaintiff may be entitled .



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                   1.OG(4J Plaintiff's Burden of Proof
                      The law distinguishes between the measure of proof necessary
                   to establish the fact that the plaintiff sustained an injury, and
                   that which is required to enable you to fiat the amount of that
                   damage. As I have instructed you, the fact of injury by reason of
                   the alleged violation must be established by a preponderance of
                   the evidence. This is a higher or more strict degree of proof than
                   is required in proving the amount of damages. In proving the
                   amount of damages, the law requires only that the plaintiff prove
                   such facts as will enable you to arrive at the amount of damages
                   with reasonable certainty. Moreover, the plaintiff is not required
                   to prove the exact amount of damages, but only to have pre-
                   sented such evidence as might reasonably be expected to be avail-
                   able under the circumstances.


                   Comment:

                      This instruction represents the general rule imposing a lesser burden
                   of proof on the plaintiff with respect to the amount of damage than
                   for the fact of some damage or for establishing the defendant's liabil-
                   ity. E.g ., ABC-Paramount Records; Inc. v. Topps Record Distributing
                   Co., 374 F 2d 455, 460-61 (5th Cir. 1967); Franklin Music Co. v Ameri-
                   can Broadcasting Co., 616 F.2d 528, 545-46 (3d Cir. 1980).




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29 Fed.R .Serv.2d 1528, 205 U .S .P .Q . 969
(Cite as : 615 F1d 252)



                                                                  Practice of allowing counsel for prevailing party to write
                                                                  trial judge's opinion should be discouraged .
               United States Court of Appeals,
                        Fifth Circuit.                            (31 Federal Courts X550 .1
                                                                  170Dk2i50.1 lust Cited Cages
      AMSTAR CORPORATION, Plaintiff-Appellee,                      (Formerly 170Bk850)
                     v.
   DOMINO'S PIZZA, INC. and Atlanta Pizza, Inc., Pizza            131 Federal Courts &852
                 Enterprises, Inc. and Pizza                      17013k852 Most Cited Cases
      Services, Inc., Hanna Creative Enterprises, Inc .,
                   Defendants-Appellants .                        "Clearly erroneous" standard of review applies to a trial
                                                                  judge's findings of fact whether judge prepared them or they
                         No . 79-3650 .                           were developed by one of the parties and mechanically
                                                                  adopted by the judge, but Court of Appeals can take into
                      April 8, 1980 .                             account the district court's lack of personal attention to the
   Rehearing and Rehearing En Banc Denied May 2, 1980 .           factual findings in applying the "clearly erroneous" rule .
                                                                  1=ed .Rules Civ .Prot. Rule 52(a), 28 U.S .C .A .
Suit was brought alleging trademark infringement, unfair
competition, and dilution . The United States District Court      141 Federal Courts C=~853
for the Nonhem District of Georgia, at Atlanta, Richard C.        17ppkF353 Most Cited Cases
Freeman, 1., entered judgment in favor of plaintiff, and          finding of fact is "clearly erroneous" when, though there is
defendants appealed. The Court of Appeals, Ainsworth,             evidence to support it, reviewing coup on the entire
Circuit Judge, held that : (I) test of likelihood of confusion    evidence is left with the definite and firm conviction that a
applicable in trademark infringement case is also applicable      mistake has been committed. Pcd .Rules Crv .Proc. Rule
to deceptive trade practices claim, common-law unfair             52(a), 28 U.S .C .A .
competition, and claim of false designation of origin or false
description ; (2) use of trademark "Domino's Pizza" in            151 Trade Regulation C.:w407
connection with sale of fast-food delivered hot pizza pies        392k407 Most Cited Cases
 did not create likelihood of confusion in connection with
 plaintiffs use of trademark "Domino" for sugar, sold in          151 Trade Regulation X870(2)
 grocery stores, and individual packets of condiment items,       3R2kR70(2) Most Cited Cases
 often used in restaurants, in absence of solid evidence of        (Formerly 382k870. I )
 actual confusion, and in light of limited strength of
                                                                  Test of likelihood of confusion applicable in trademark
 plaintiffs mark outside its line, dissimilarities in trademark
 design, products, retail outlets, purchasers and advertising,    infringement case is also applicable to deceptive trade
                                                                  practices claim, common-law unfair competition, and claim
 and existence of third-party registrations ; and (3) there was
 no violation of Georgia antidiluuon statute since the marks      of false designation of origin or false description . Lanham
                                                                  Trade-Mark Act, §§ 32(I), 43, 15 U.S .C .A . y§ 1114(U,
 themselves were not confusing and plaintiffs mark, outside
                                                                   I I 25 ; Code Ga . § 106-701 et seq.
 plaintiff's line of sugars and portion-controlled items, had
 already become a weak mark .
                                                                   161 Trade Regulation F~;P33I
                                                                   3R2k331 Most Cited Cases
 Reversed .
                                                                   Strength and distinctiveness of plaintiffs trademark is a vital
                        West Headnotes                             consideration in determining the scope of protection it
                                                                   should be accorded .
  I lI Trade Regulation f=726
  382026 Most Cited Cases                                          17/ Trade Regulation &L334 .1
                                                                   382034 .1 Most Cited Cases
  Likelihood of confusion in a trademark case is a question of     (Formerly 382k334)
  fact on which the district court's findings can be set aside
  only if clearly erroneous . Fed.Rules Civ.Proc . Rule i?(a).     For purposes of trademark protection, the greater the
  28 U.S .C .A .                                                   number of identical or similar trademarks already in use on
                                                                   different kinds of goods, the less is the likelihood of
  121 Courts E~I06                                                 confusion .
  106k 106 Must Cited Cases
                                                                   18/ Trade Regulation X363 .1




                                     Copr . 0 West 2004 No Claim to Orig . U.S . Govt . Works
               Case 1:01-cv-00313-TWT Document 233 Filed 02/02/04 Page 56 of 363
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182k16±.1 'Oust Cited Cases                                      and m light of limited strength of plaintiffs mark outside its
(Formerly 382k363)                                               line, dissimilarities in trademark design, product:, retail
                                                                 outlets, purchasers and advertising, and existence of third-
Existence of some 72 third-party uses and registrations of       party registrations . Lanham Trade-Mark Act, §§ I et seq .,
mark limited the protection to be accorded plaintiff's mark       12(a), 32(I), 43, 43(a), 15 U .S .C .A . §~ 10 5 1 et seq .,
outside the uses to which plaintiff had already put its mark .    10631ab III4(I), 11?S, 112 ;( ;1) ; Code Ga ., § 106-701 et
                                                                 sey .
191 Trade Regulation E.:.487
382kd83 Most Cited Case,                                         1151 Trade Regulation X366
                                                                 3R?k3GG Most Curd Casts
Where mark was the surname of a good number of people
and was a common English noun, although its application to       "Dilution" of trademark occurs where use of trademark by
plaintiffs product might be arbitrary, it was not to be          subsequent user will lessen the uniqueness of the prior user's
accorded the same degree of protection as given to coined        mark with the possible future result that a strong mark may
and fanciful terms .                                             become a weak mark . Code Ga . § 106- 115.

1101 Trade Regulation s~ .,.474                                  1161 Trade Regulation C=J66
382kd7d Most Cited Case,                                         3R2k3(6 Most Curd Casts

If defendant's mark had been adopted with [he intent of          Where the marks themselves were not confusing and
deriving benefit from reputation in plaintiffs mark, that fact   plaintiffs mark "Domino" had already become a weak mark
alone might be sufficient to justify inference that there was    outside plaintiffs line of sugars and portion- controlled
confusing similarity .                                           items, defendant's use of mark "Domino's Pizza" in
                                                                 connection with sale of fast-food delivered hot pizza pies
1111 Trade Regulation C~;a335                                    did not violate Georgia's antidiluuon statute. Code Ga . §
382035 Most Cited Case,                                          106-1 15 .

Evidence of actual confusion is not necessary to finding of      [171 Trade Regulation &x+257.1
likelihood of confusion in trademark infringement case, but      382k257.1 Most Cited Cases
it is the best evidence of likelihood of confusion.               (Formerly 382k257)

/121 Trade Regulation C~;P335                                    Right granted owner of registered trademark is a monopoly
36-k335 Most Cited Cases                                         and should not be extended unless the owner is clearly
                                                                 entitled thereto .
In undertaking to demonstrate likelihood of confusion in a       " 254 Newton, Hopkins & Ortnsby, Todd Deveau, William
trademark infringement case by use of survey evidence,           H . Needle, Atlanta, Ga ., Beaman & Beaman, Jackson,
appropriate "survey universe" should include a fair sampling     Mich ., George M . Hopkins, Atlanta, Ga ., Miles 1 .
of those purchasers most likely to partake of the alleged        Alexander, Jerre B . Swarm, Virginia S . Taylor, Atlanta, Ga .,
infringer's goods or services .                                  for defendants- appellants .

1131 Trade Regulation X596                                       Browne, Beveridge, DeGrandi, KGne & Lunsford, Julius R.
3R?k596 Most Cited Case,                                         Lunsford, Jr ., J. Rodgers Lunsford, III, Atlanta, Ga .,
                                                                 Cooper, Dunham, Clark, Griffin & Moran, Gerald W .
Survey based on a "word association" test did not present        Griffin, Norman H. Zivin, New York City, for
any meaningful evidence of likelihood of confusion in            plainti tT-appellee .
trademark infringement case .
                                                                 Appeal from the United Stakes District Court for the
1141 Trade Regulation F~354                                      Northern District of Georgia.
382k354 lost Cited Cases
                                                                 Before AINSWORTH and HENDERSON, Circuit Judges,
Use of trademark "Domino's Pizza" in connection with sale        and !-IUN"fER,[FN°J District Judge .
of fast-food delivered hot pica pies did not create
likelihood of confusion in connection with plaintiffs use of              F\'" District Judge of the Western District of
trademark "Domino" for sugar, sold in grocery stores, and                 Louisiana, sitting by designation .
individual packets of condiment items, often used in
restaurants, in absence of solid evidence of actual confusion,




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ARJSWORTH, Circuit Judge:                                                 be used in commerce upon or in connection with
                                                                          the sale, offering for sale, distribution, or
Amstar Corporation brought this suit asserting trademark                  advertising of goods or services on or in
infringement and unfair competition against Domino's                      connection with which such use is likely to cause
Pizza, Inc. (DPI) and several of its franchisees [FNIJ to                 confusion, or to cause mistake, or to deceive.
enjoin their use of Amstar's federal registration of the                  shall be liable in a civil action by die registrant for
"Domino" trademark. The complaint is based on allegations                 the    remedies     hereinafter    provided .   Under
that defendants' use of the mark "Domino's Pizza" in                      subsection (b) of this section, the registrant shall
connection with the sale of fast-food delivered hot pizza                 not be entitled to recover profits or damages unless
pies constitutes trademark infringement and a false                       the acts have been committed with knowledge that
designation of origin or representation in violation of the               such imitation is intended to be used to cause
Trademark Act of 1946, IS U .S .C . s 1051 et seq.; [FN2]                 confusion, or to cause mistake, or to deceive .
also that said use constitutes unfair competition in violation            15 U .S .C . s I 114(l) .
of the '255 Georgia Uniform Deceptive Trade Practices                     Any person who shall affix, apply, or annex, or use
Act, Ga .Code Ann. s 106-70I et seq., and dilutes the                     in connection with any goods or services, or any
distinctive quality of plaintiff's mark "Domino" in violation             container or containers for goods, a false
of the Georgia anti-dilution statute, Ga .Code Mn . s                     designation of origin, or any false description or
 106-I I5 .[FN3] Defendants denied that plaintiff was entitled            representation, including words or other symbols
to any equitable relief, asserted trademark misuse by                     tending falsely to describe or represent the same,
plaintiff, and counterclaimed for cancellation of plaintiti's             and shall cause such goods or services to enter into
registration of the "Domino" mark for salt .[FN4] The                     commerce, and any person who shall with
district court ruled in favor of plaintiff, dismissed                     knowledge of the falsity of such designation of
defendants' counterclaim, and permanently enjoined                        origin or description or representation cause or
defendants' use of the names "Domino" or "Domino's                        procure the same to be transported or used in
 Pizza." Defendants then filed this appeal . We reverse                   commerce or deliver the same to any carrier to be
because we find that [he district court's decision was                    transported or used, shall be liable to a civil action
 fundamentally erroneous since it was predicated on a                     by any person doing business in the locality falsely
 holding that there was a likelihood of confusion between the             indicated as that of origin or in the region in which
use of "Domino's Pizza" by defendants in connection with                  said locality is situated, or by any person who
 pizza store services and the use of "Domino" by plaintiff in             believes [hat he is or is likely to be damaged by the
 connection with the sale of sugar and individual packets of              use of any such false description or representation .
 condiment items.                                                          IS U .S .C . s I 12i(a) .

         FN I . Atlanta Pizza, Inc.; Pizza Enterprises, Inc.;             FN3 . The Georgia Uniform Deceptive Trade
         Pizza Services, Inc.; and Hanna Creative                         Practices Act provides in part :
         Enterprises, Inc. As found by the district court, all            (a) A person engages in a deceptive trade practice
         the foregoing corporations with the exception of                 when, m the course of his business, vocation, or
         Hanna Creative Enterprises, Inc., are now defunct.               occupation, he :
         Findings of Fact Nos. 6, 7.                                      ( I ) Passes off goods or services as those of another;
                                                                          (2) Causes likelihood of confusion or of
         FN .. Provisions of the Trademark Act pertinent to               misunderstanding as to the source, sponsorship,
         this litigation provide:                                         approval, or certification of goods or services ;
         Any person who shall, without the consent of the                 (3) Causes likelihood of confusion or of
         registrant                                                       misunderstanding as to affiliation, connection, or
         (a) use in commerce any reproduction, counterfeit,               association with, or certification by, another;
         copy, or colorable imitation of a registered mark in             (4) Uses deceptive representations or designations
         connection with the sale, offering for sale,                     of geographic origin in connection with goods or
         distribution, or advertising of any goods or services            services ;
         on or in connection with which such use is likely to             (5) Represents that goods or services have
         cause confusion, or to cause mistake, or to deceive;             sponsorship, approval, characteristics, ingredients,
         or (b) reproduce, counterfeit, copy, or colorably                uses, benefits, or quantities that they do not have or
         imitate a registered mark and apply such                         that a person has a sponsorship, approval, status,
         reproduction, counterfeit, copy, or colorable                    affiliation, or connection that he dues not have ;
         imitation to labels, signs, prints, packages,                    (6) Represents that goods are original or new if
         wrappers, receptacles or advertisements intended to              they are deteriorated, altered, reconditioned,




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         reclaimed, used, or secondhand ;                                  this registration because it is the only "Domino"
         (7) Represents that goods or services are of a                    registration for non- sugar products which purports
         particular standard, quality, or grade, or that goods             to show a first use date prior to that of the first use
         are of a particular style or model, if they are of                date of the mark "Domino's Pizza" by DPI on
         another,                                                          February 12, 1965 .
         (8) Disparages the goods, services, or business of
         another by false or misleading representation of                           L Background of Dispute
         fact ;
         (9) Advertises goods or services with intent not to       Amstar Corporation holds several federal registrations for
         sell them as advertised ;                                the widely known "Domino" *256 trademark,[PNS] and the
         (10) Advertises goods or services with intent not to      mark has been used since the turn of the century on
         supply reasonably expectable public demand,               plaintiffs various sugar products . Since 1965, plaintiff has
         unless the advertisement discloses a limitation of'      also packaged single-serving (portion-control) envelopes of
         quantity ;                                                salt, pepper, sugar, mustard, ketchup, mayonnaise, jams and
         (I1) Makes false or misleading statements of face        jellies, salad dressings, taco sauce, honey, cranberry sauce,
         concerning the reasons for, existence of, or             tartar sauce and table syrup under the "Domino" mark .
         amounts of price reductions ; or                          Plaintiff has spent more than $54 million since 1947 in
         (12) Engages in any other conduct which similarly        advertising and promoting its "Domino" products, and as a
         creates a likelihood of confusion or of                   result there is wide public recognition of the mark as a
         misunderstanding .                                       source of sugar products . Amstar's non-sugar, single-serving
         (h) In order to prevail in an action under this          condiment packages introduced in 1965 have become the
         Chapter, a complainant need not prove competition        nation's largest line of portion-control items, with sales
         between the parties or actual confusion or               currently running at a rate of about $14 million per year .
         misunderstanding .
         (c) This section does not affect unfair trade                     F'\5 Plaintiff is the owner of the following
                                                                           .
         practices otherwise actionable at common law or                   trademark registrations issued by the U .S . Patent
         under other statutes of this State. (Acts 1968, pp.               and Trademark Office :
         337, 338.)
         Ga .Code Ann . s 106-702.
                                                                  Trademark                     Reg . No .
         The Georgia anti-dilution statute provides :
                                                                  Registration Date            Goods
         Every person, association, or union of working
         men adopting and using a trade-mark, trade name,              --------
                                                                  --   ----   ---------
         label or form of advertisement may proceed by suit
         and all courts having jurisdiction thereof shall grant
                                                                  DOMINO                 37,082                       9/17/01
         injunctions, to enjoin subsequent use by another of
                                                                  (renewed    Hard sugar
         the same or any similar trade-mark, trade name,
                                                                  design                                              1931,
         label or form of advertisement if there exists a
                                                                  1951, 1971)
         likelihood of injury to business reputation or of
         dilution of the distinctive quality of the trade-mark,
                                                                  DOMINO                            37,177            10/8/01
         trade name, label, or forth of advertisement of the
                                                                  (renewed         Hard sugar
         prior user, notwithstanding the absence of
                                                                                                                      1931,
         competition between the parties or of confusion as
                                                                  1951, 1971)
         to the source of goods or services ; except that the
                                                                  DOMINO                 73,099                       3/16/09
         provisions of this section shall not deprive any
                                                                  (renewed    Hard sugar
         party of any vested lawful rights acquired prior to
         the effective date of this section (Acts 1955, pp .                                                          1929,
                                                                  1949,    1969)
         453, 454.)
         Ga .Code Mn . s 106-115.
                                                                  DOMINO                           812,656            8/9/66
         FNA . Defendants' counterclaim for cancellation of       Portion-control
         the "Domino" mark for salt is based on its               mustard
         contention that the registration was obtained
         through false representations concerning the date        DOMINO                          812,657            8/9/66
                                                                  Portion-control
         of first use in commerce of "Domino" salt on June
         4, 1964 . Defendants contend they are damaged by         ketchup




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                                                                    In early 1971 plaintiffs counsel wrote to DPI's predecessor,
DOMINO                           813,101             8/16/66        Domino's Inc ., requesting that the "Domino's Pizza" mark
Salt                                                                be changed . Domino's Inc . did not respond to the letter, and
                                                                    plaintiff took no further action at that time . Plaintiff did,
DOMINO                           813,113             8/16/66        however, order credit reports on UPI for the next three years
Portion-control                                                     which were used in monitoring DPI's business .
pepper
                                                                    In 1972 and 1974 DPI again sought to register the trademark
DOMINO                           920,834             9/21/71        "Domino's Pizza" with the U. S. Patent Office . The mark
Jams and jellies                                                    was pried for publication in the Official Gazette of the
                                                                    Patent Office on each occasion, signifying that an examiner
DOMINO                           927,856             1/25/72        of the office had concluded that the mark was entitled to
Salad dressing,                                                     registration, 15 U.S .C . s IOfi2(a) . Plaintiff filed notices of
mayonnaise,                                                         opposition to each of the foregoing applications, and
cucumber relish                                                     defendant withdrew each application . Plaintiff ultimately
                                                                    filed this suit against DP[ in September 1975 .
DOMINO                        1,108,831
12/12/78                      Non-dairy powdered                    In a lengthy memorandum of Findings of Fact and
cream substitute                                                    Conclusions of Law, the district court held that the
                                                                    defendants were guilty of trademark infringement (IS
Findings of        Fact Nos .      12,   50 .                       l: .S.C . s ! 114() )j, false designation of origin (I5 U .S .C . s
                                                                     11251a1), and dilution, unfair competition and deceptive
                                                                    trade practices under Georgia law . The court detailed at
                                                                    length the plaintiffs use of the "Domino" trademark in
Defendant DPI is the nation's largest chain of fast-food            connection       with     sugar,   and   more    recently    with
delivered pizza pie outlets, with 287 stores in 30 states and       portion-control items . It found that "(c)onsumers are highly
current sales exceeding $43 million annually . The chain has        likely to associate any food products sold or available for
used the name "Domino's Pizza" since early in 1965 . Prior          sale in supermarkets, groceries or other food stores under
to that date, the pizzeria from which the chain grew was            the DOMINO mark with the DOMINO food products sold
known us "Dominick's ;" named after its founder, Dominick           by plaintiff." Finding of Fact No . 31 . It further concluded
Devarti. Devarti sold his pizzeria located in Ypsilanti,            that "(a)s a result of plaintifTs widespread use, advertising
Michigan to Thomas Monaghan in December of 1960 . In                and promotion of the DOMINO trademark on a great variety
1963 Devarti withdrew his permission co use the name                of food products, the consuming public is very likely to
"Dominick's," and for an interim period Monaghan called             believe that DOMfNO's Pizza, sold in a separate food store
the store "Ypsilanti Dominick's ." During this period               outside of the supermarket, is in some way or manner
Monaghan searched for a suitable new name (or his                   sponsored by or affiliated with, or connected with, or
pizzeria . In 1965 an employee suggested the name                   emanates from plaintiff." Finding of Fact No . 61 . The court
"Domino's Pizza," and Monaghan adopted the name                     found that the mark "Domino's Pizza" is "so similar to
immediately . At foal, Monaghan stated that he selected the         plaintiffs famous mark DOMINO in sound and appearance
name because it sounded Italian, it resembled "Dominick's,"         that the public cannot always perceive any differences
and he was unaware of any other pizzerias using the name.           between them ." Finding of Fact No . 63 . The court
The company initially prospered, and in 1967 the first              concluded that, as a matter of law, "(u)se of virtually
"Domino's Pizza" franchise was sold . By the end of 1969,           identical marks for food products distributed to and in food
there were 42 "Domino's Pizza" stores in operation in three         stores to the consuming public is likely to result in
states .                                                            confusion, mistake or deception ." Conclusion of Law No .
                                                                    10 .
The plaintiff first became aware of DPI on Tune 24, 1970
when defendants' "Domino's" and "Domino's plus design"              On appeal, defendants contend the district court erred in
marks were published in the Official Gazette of the Patent          concluding that use of virtually identical marks for food
Office, pending registration of the marks by the U . S . Patent     products is likely to result in contusion or deception, and
Office . Pursuant to 15 U .S .C . s 1063, plaintiff filed notices   defendants also contend that the court erred "by misapplying
of opposition to registration of the marks . DPI at the time        or failing to apply the critical factors to be weighed in
was in serious '257 financial difficulty, and the oppositions       assessing likelihood of confusion." Brief for Appellants at
were not answered . Registration of the marks was therefore          10 . Plaintiff Amstar contends that the court's finding of
refused by the Patent Office-                                       likelihood of confusion or mistake is not clearly erroneous,




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and must therefore be sustained by this court. Plaintiff                Wilson < . Thompson, 593 F .?d 1371, 1364 11 .16 (5th Cir .
contends that This finding is substantiated by many factors,            1979) . See also James v . Stockhain Valves & Fitting; Ca .
including the notoriety and strength of the "Domino" mark,              559 F 2d 310 . 31d nJ (5th Gr . 1977) ; Volkswagen of
the confusing similarity of the marks "Domino's Pizza" and              America, Ins . v . Jahre . 47' F .2d 5>", ~ ;9 (5th Cir . 1973) .
"Domino;" the related nature of defendants' goods and                   As was stated in James
services to those of plaintiff, the fact that customers for both          "(T)he appellate coup can feel slightly more confident in
plaiNitTs and defendants' goods are the general consuming                 concluding that important evidence has been overlooked
public, the existence of some actual confusion, and the                   or inadequately considered" when factual findings were
results of two surveys which tend to confirm the likelihood               nut the product of personal analysis and determination by
of confusion.                                                             the trial judge. 559 F.2d at 314 n .1, quoting Louis Drey"fus
                                                                          & Ge . v. Panama Canal CU ., -98 F.-d 733, 738 (5th Cir.
Based on the record before us, we are convinced that the                  19(,2) .
trial court erred in enjoining defendants' use of the mark
"Domino's Pizza ." We therefore reverse the decision of the             [4] A finding of fact is clearly erroneous "when although
                                                                        there is evidence to support it, the reviewing court on the
district court, and vacate the injunction entered against
defendants .                                                            entire evidence is left with the definite and firm conviction
                                                                        that a mistake has been committed ." United States v . United
                     II . Standard of Review                            States Gypsum Cu . . 333 U .S . 304- 395, 68 S .CL 525, 542,
                                                                        92 L .Ed . 746 (1948) . "In other words, we reverse when the
 [l] Initially, we must determine the appropriate standard of           result in a particular case does not reflect the truth and the
 review applicable to the district court's finding of likelihood        right of the case ." Armstrong Cork Co . v . World Carpets,
 of confusion . The determination as to whether confusion is            Inc . ; 597 F .2d 496, 501 (Sih Cir . 1979) . Such is the case
 likely has been held to present a question of law,                     here . Having reviewed all the evidence in this case in light
 *258FIeischman Distilling Coin . v . Mainr f3rcwine Co . . 314         of established legal precedent, we are left with the definite
 F .2d 149, I i2 19th Cir . 19631, cert . denied, 374 U .S . 930 . 83   and firm conviction that the district court was mistaken in
 S .Ct. 1970, 10 L .Ed?d IUS (1963) ; a mixed question of               concluding that defendants' use of the mark "Domino's
 law and fact, d . H . I3unn Co . v . AAA Replacement Part,              Pizza" is likely to cause confusion, mistake or deception .
 Co . . 451 F .2d 1254, 1161 (5th Cir . 1971), and a question of
 fact, T .G .L Fridays v . International Restaurant Group, Inc . .                         111 . Likelihood of Confusion
  569 F .2d 895, 899 k>th Cir . 19'S) . This circuit has held that
  likelihood of confusion is a question of fact which can only           [5] Infringement of a registered mark is governed by the
                                                                         provisions of IS U .S .C . , 11 14(l), which imposes liability
  be set aside if clearly erroneous . T .G .1 . Fridays, supra ;
                                                                         against "use . . . likely to cause confusion, or to cause
  Fed .R .Civ .P . i3ka1 . "The record in the present case indicates
                                                                         mistake, or to deceive ." The same test is applicable to the
  that the district coup's finding of likelihood of confusion is
  clearly erroneous .                                                    deceptive trade practices claim, Ga .Stat .Mn . s 106-701 et
                                                                         stq . ; Hiker Realty Ca c . Biker. _'2d Ga . 766 . 16'7 S .E .2d
 [2][3] The court's 54-page memorandum of Findings of Fact               850, 852 ( 1972), and common law unfair competition,
 and Conclusions of Law was copied almost verbatim from                  Holiday Inns, Inc . v . Holiday Out in America . 481 F .2d 445~
 proposed Findings of Fact and Conclusions of Law                        449 (5th ( ir . 1973) ; B . H . Runn Co . v . AAA Replacement
 submitted by plaintiffs counsel . While the practice of                 Part, Cu ., -151 Fad 1254, I?6? (5th Cir . 1971) . Likewise,
 allowing counsel for the prevailing party to write the trial            defendants' use of the mark "Domino's Pizza" can represent
 judge's opinion has not been proscribed by this circuit, it             a false designation of origin or false description, proscribed
 should nevertheless be discouraged . Even though the coup,              by 15 I : .S .C . s 1125, only if defendants' use of the mark is
 in adopting plaintiffs findings and conclusions, stated that it          likely to be confused with plaintiffs "Domino" mark .
 had "individually considered" them and adopted them                      Boson Professional Hockey Ass'n . Inc v . Dallas Cal) and
 because it "believed them to be factually and legally                    Emblem Nifq ., Inc ., X10 F .2d IOOJ . IOII (5th Cir .), cert .
 correct," a cursory reading of the district coup's                       denied, 4_'3 U .S . Fi68 . 96 S .Ci . 132 . dG L .Fd .2d 98 (197i) .
 memorandum leaves one with the impression that it was                    Plaintiffs claims against defendants, except the dilution
  indeed written by the prevailing party to a bitter dispute .            claim, therefore, *259 turn on the determination of whether
  While the "clearly erroneous" rule of 1'ed .R .Cie .P . 52(a)           defendants' use of the mark "Domino's Pizza" is likely to
  applies to a trial judge's findings of fact whether he prepared         cause confusion, mistake, or deception .
  them or they were developed by one of the parties and                      In this circuit likelihood of confusion is determined by
  mechanically adopted by the judge, "we can take into                       evaluating a variety of factors including the type of
  account the District Court's lack of personal attention to                 trademark at issue ; similarity of design ; similarity of
  factual findings in applying the clearly erroneous rule ."                 product ; identity of retail outlets and purchasers ; identity




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    of advertising media utilized ; defendant's intent ; and             Domino's" mark, a small chain of supermarkets in the
    actual confusion .                                                   Bronx . New York, with sales of $3,900,000 in 1976, and a
ftoto-Roofer Cbrporauon t . ()'NeaL 513 F .2d 44, 4> oth                 "Domino Donut Mix" distributed by General Mills to
                                                                         commercial bakers since 19 5 9 . The district court dismissed
( :it . 197j), citing Continental Motors Corp . v . Continental
Aviation Corp . . J7 ; F2d N~7 (5th ('i(- 1967) ; American               these and other third-party uses as either long abandoned ;
Foods . Inc . v . Golden Flake . Inc . . lR F .2d 619 (5th C'ir.         remote as to goods or geography ; small, obscure and
 1963) ; Sears, Roebuck S Co . v. All States Life Insurance              localized ; or used only in shipments to the trade . We do not
Co . . 2-0ti F .2d IGI I5ih ("it .), cert . denied, 355 U .S . 894, 78   believe that such extensive third-party use and registration
S .Ct . ?68 . 2 L .Gd2d 192 (1917) . See also Restatement of             of "Domino" can be so readily dismissed . The impact of
Torts s 729 (1938) .[1 N61                                               such evidence is not dispelled merely because "Domino"
                                                                         cigarettes and matches are not leading brands, or because
          FNti . The Restatement of Torts lists the following            some uses of the mark "Domino" by third parties have not
          as important factors in determining confusing                  been related to food products . As was stated by one
          similarity :                                                   commentator, "If the ovmer of KODAK should permit its
          (a) the degree of similarity between the designation           use by others on washing powders, shoes, candy bars, or
          and the trade-mark or trade name in                            cosmetics, or if The Coca-Cola Company should permit
          (i) appearance ; (ii) pronunciation of the words               COCA-COLA or COKE to be used for rain coats, cigarette
          used ;                                                          lighters, golf balls, or jewelry not of its manufacture, it
          (ii) verbal translation of the pictures or designs              would not take long for even these giants in the trademark
          involved ;                                                      world to be reduced to pigmy size ." Lunsford, supra at
          (v) suggestion ;                                                878-79 . As stated in comment g to the Restatement of Torts
           (b) the intent of the actor in adopting the                    s 729 (1938), "The greater the number of identical or more
           designation ;                                                  or less similar trade-marks already in use on *260 different
           (c) the relation in use and manner of marketing                kinds of goods, the less is the likelihood of confusion . . . ."
           between the goods or services marketed by the                  The extensive third-party uses documented in this case were
           actor and those marketed by the other ;                        entitled to much greater weight than were accorded them by
           (d) the degree of care likely to be exercised by               the district court . See Armstrong Cork Co . v . World
           purchasers .                                                   Carpets . Inc ., 5`l7 P .2d 496, 505 (5th Cir. 1979) (multiple
           Restatement of Torts s 729 (1938) .                            uses of mark "World" discussed in denying injunctive
                                                                          relied ; American Heritage Life Ins . Co . v . Heritage Life Ins .
 An evaluation of these factors leads us to conclude that                 Co ., 494 Pfd ± . 13 15th Cir . 19'4) (multiple uses of
 defendants' use of the trademark "Domino's Pizza" presents               "Heritage" discussed in denying injunctive relied ; Holiday
 no likelihood of confusion, mistake, or deception.                        Inns, Inc . v . Holiday Out in America, dRl F .2d 445, 443
                                                                           (5th (:it . 19771 (multiple uses of "Holiday" discussed in
  I . Type of trademark                                                   denying injunctive relied .

 [6J We consider, first, whether "Domino" is a "strong" or a              [8] Defendants do not contend, nor does this court hold, that
 "weak" mark since the strength and distinctiveness of                    plaintiffs mark is not a distinctive, well-known mark for its
 plaintiffs mark is a vital consideration in determining the              sugar and related products . The third-party uses and
 scope of protection it should be accorded . "Strong marks are            registrations discussed above merely limit the protection to
 widely protected, as contrasted to weak marks ." Lunsford,               be accorded plaintiffs mark outside the uses to which
 Julius R . . Jr ., "Trademark Basics," 59 Trademark Rep . 873,           plaintiff has already put its mark . American Sugar Co . v.
 878(1969) .                                                              Texas Farm Products Co ., 159 U.S .P .Q . 679. 681
                                                                          (T .T .A .8 .1968) ; [FN7] Scott Paper Co . v. Scott's Liquid
  ('] At trial, defendants introduced into evidence or tendered           Gold, Inc., 598 F.2d 1225 (3rd Cir. 1978) (plaintiffs
  into coup some 72 third-party registrations of the mark                 ownership of the mark "Scott" as applied to paper products
  "Domino" in the U . S . Patent Office . Brief for Appellant at          does not preclude defendant's use of "Scott" on furniture
   18-24 . These registrations were for such products as canned           polish) .
  fruits, citrus, cigarettes, cheese, wheat flours, chrome-
  tanned leather, canned sardines, animal feed, envelopes,                          FN7 . In American Sugar Co . v. Texas Farm
  pencils, fishing line, candy punts, whiskey, ladies' hosiery                      Products       Cu ..  159    U.S .P .Q .  579,   681
  and haircream . In addition, defendants presented extensive                       (T .T .A .f3.19GK), American Sugar (predecessor in
  evidence of IS third-party uses of the "Domino" mark from                         interest to Amstar) opposed registration by Texas
   1885 until the present . These uses included "Domino"                            Fami Products of the mark "Domino" for use on its
   cigarettes and matches, which are currently sold in grocery                      cattle feed . The evidence established that American
   stores, two restaurants currently operating under the




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                                                                   one point went so far as to state the "consuming public
                                                                   considers sugar to be a related food product to pizza."
                                                                   Fording of Fact No . 84 . However, we fail to see any great
                                                                   similarity between the respective parties' wares. "About the
                                                                   only things they have in common are that they are edible ."
                                                                   California Fruit Grower Exchange v. Sunkist Baking Co ..
                                                                    166 F .2J 971, 973 (7th Cir. 1947).

                                                                   *262 4 . Identity of retail outlets and purchasers

                                                                   Dissimilarities between the retail outlets for and the
                                                                   predominant consumers of plaintiffs and defendants' goods
                                                                   lessen the possibility of confusion, mistake, or deception.
                                                                   The dissimilarities here are substantial .

                                                                   Plaintiffs "Domino" sugar products are distributed to the
                                                                   public primarily through grocery stores; defendants' picas
                                                                   and soft drinks are distributed exclusively through fast-food
We must also consider the commercial impression created
                                                                   outlets specializing in home delivery or customer pickup,
by the mark as a whole . Seabrook Ponds . Inc . % . Bar-Well       but offering no facilities for sit-down service. Plaintiff
Foods, Ltd . . 568 F .2d 114-, 1396 (CusL & PaLApp .l977) ;
                                                                   attempts to narrow the gap between itself and defendants by
Colgate-Palmolive Co . v . CartervW'allace . Inc . . 432 F2d
                                                                   arguing that its single-serving sugar packets, and more
 1400 . 1402, 56 CCP .4 973 X1470) . "9t is the overall
                                                                   recently its line of single-serving condiments, are widely
impression that counts ." Armstrong Cork Co . v . World
                                                                   used in fast-food outlets and restaurants . Thus, it argues, the
Carpets, Inc ., 597 F .2d 396 ; 502 (5th Cir . 1979) . "Domino,"
                                                                   public has come to associate the mark "Domino" with
in possessive form, next to the word "pizza," produces a
                                                                   restaurants and fast-food establishments . While the
commercial impression quite different from the same mark
                                                                   argument carries some weight, it is insufficient to overcome
placed next to "sugar ." "Domino" is derived from Latin, is
                                                                   basic differences between plaintiffs and defendants' modes
an Italian surname, and in combination with "pizza" creates
                                                                   of distributing their products .
an Italian connotation . "The seating in which a designation is
used affects its appearance and colors the impression              Although "Domino" sugar and individual condiment
conveyed by it ." Restatement of Tons s 729, comment b
                                                                   packages are distributed to the public through restaurants
(1938) . The impression conveyed by defendants' use of             and fast-food chains, they are not sold to the public by
"Domino's Pizza" is substantially different from that created      plaintiff but are generally distributed to customers by the
by plaintiffs use of "Domino Sugar."                               restaurant owners . Amstar is not engaged in the direct sale
                                                                   of condiment packages to the public . In contrast, "Domino's
Additionally, the U . 5. Patent Office has made, on three
                                                                   Pizza" products are sold directly to the public through
separate occasions, an initial determination that DPI is
                                                                   "Domino's Pizza" outlets. While the public may decide to
entitled to register the mark "Domino's Pizza ." DPI applied
                                                                   purchase a pica based on its perception of "Domino's
to register "Domino's" or "Domino's Pizza" plus
                                                                   Pica" quality, it is unlikely anyone would choose to
corresponding designs three different times . Each time, a
                                                                   frequent or avoid a restaurant because of the brand of
trademark examiner in the office determined that DPI was
                                                                   condiment packages carried by the restaurant . Thus, while
entitled to have the mark registered . See IS U.S .C . s
                                                                   Amstar might broadly be classified as "in the restaurant
 106-(al. The trademark examiner on one of these occasions
                                                                   business," it is in that business at a different level than
wrote that "(a) search of the Office records fails to show that
                                                                   defendants .
the mark, when applied to applicant's services, is
confusingly similar to any registered mark ." Record on            There     are   substantial   dissimilarities  between     the
Appeal at 2815 . At the time this search was made, plaintiff       predominant purchasers of plaintiffs and defendants'
had registered "Domino" for sugar, mustard, ketchup, salt          products . According to surveys presented at trial, "Domino's
and pepper . Id .                                                  Pizza" patrons are primarily young (85 .6'%a under 35 years
                                                                   of age), single (61%) males (633%) . This coincides with
3 . Similarity of products
                                                                   the fact that 75% of the "Domino's Pizza" stores throughout
                                                                   the country are situated in college campus towns or around
The district coon stated in some detail its view of the
                                                                   military bases where the advertising for "Domino's Pizza" is
similarities between defendants' pizza and plaintiffs sugar,
                                                                   directed to the IS- to 34-year-old single male . In contrast,
salt, mustard, ketchup and other condiments . The court at
                                                                   "Domino" sugar purchasers are predominantly middle-aged




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housewives .                                                       of any other pizzerias by chat name . There is no evidence
                                                                   the name was adopted with any intent to confuse, mislead,
5. Identity of advertising media utilized                          or deceive the public .[Fn9]

The district court made extensive findings of fact regarding                F\'4 . Counsel for plaintiff conceded at trial that
plaintiff's advertising of its "Domino" mark . The court                    defendants did not adopt "Domino's Pizza" with an
found Amstar advertised extensively in nationally circulated                intent to deceive, although the mark was adopted
magazines, newspapers and trade journals, and spent                         with knowledge of plaintiffs use of "Domino." Tr .
substantial sums of money on radio and television                           1547 .
commercials. It stated "DOMINO is the only sugar on
network television every week ." Finding of Fact No . 23 . In      7. Actual confusion
contrast to plaintiffs broadly based national advertising,
defendants' advertising has a completely different focus.          [I I] Although evidence of actual confusion is not necessary
Because over 80% of defendants' pizza sales involve free           to a finding of likelihood of confusion, it is nevertheless the
delivery, defendants' advertising is of two principal types:       best evidence of likelihood of confusion . Ruto-Roofer Corp .
(i) store signs, flyers, delivery car signs and other like         v . O'Neal, 513 F .2d 44 . 46 (5th Cir. 197j) . The evidence of
materials designed for maximum impact in the I .5-mile             actual confusion in this case is minimal . Plaintiffs evidence
delivery area of a "Domino's Pizza" outlet, and (ii) "Yellow       of actual confusion amounted to two verbal inquiries as to
Page" ads. Unlike the national audience sought by Amstar,          whether "Domino's Pizza" was related W "Domino" sugar,
defendants' advertising is targeted at young, male college         and one misaddressed lenec[F\ 101 In view of the fact that
students .                                                         both plaintiffs and defendants' sales currently run into the
                                                                   millions of dollars each year, these isolated instances of
The substantial dissimilarities between plaintiffs and             actual confusion are insufficient to sustain a finding of
defendants' advertising campaigns tend to negate any               likelihood of confusion . Armstrong Cork Co . v . World
inference of unfair competition or trademark infringement .        Carpets, Inc ., 597 F .2d 496, 906 (51h Cic 1979) ; Scott Paper
Defendants' advertising program is geared to seek out and          Cu . v . Scott's Liquid Gold, Inc ., 589 F2d 122 . 1231 (3rd
exploit a highly localized and rather specialized class of         Cir . 1978) . Indeed, the fact that only three instances of
consumers. Defendants have not sought to mine the good             actual confusion were found after nearly IS years of
will established by plaintiff. In short, hardly anyone would       extensive concurrent sales under the parties' respective
confuse a "Domino" sugar ad with a "Domino's Pizza" sales          marks- raises a presumption against likelihood of confusion
pitch, nor would they likely believe the two advertisements        in the future . FS Services, Inc . v . Custom Farm Services .
emanated from the same source, considering the significant         Inc ., 325 F .Supp . 153, 162 (N .4111 .1970), affd, 471 F .2d
differences between the advertisements in message content          671 (7th Cir . 1972) .
and presentation .
                                                                            F\ 10 . The two verbal inquiries were made to
*263 6. Defendants' intent                                                  employees of DPI who were asked i( DPI was
                                                                            related to Amstar. The misaddressed letter was
[In] The intent of defendants in adopting the "Domino's                     received by a DPI employee from a doctor who had
Pizza" mark is a critical factor, since if the mark was                     treated him. The doctor's bill was addressed to
adopted with the intent of deriving benefit from the                        "Domino Sugar ." Record on Appeal at 2819 .
reputation of "Domino" that fact alone "may be sufficient to
justify the inference that there is confusing similarity ."        At trial, both parties introduced survey evidence on the issue
Restatement of Tons s 729, comment f (1938) . Bad faith in         of likelihood of confusion . The trial court characterized the
the adoption and use of a trademark normally involves the          defendants' survey as "about as contrived a survey as I have
imitation of packaging material, use of identical code             ever run across," [FNI1] but found plaintiffs survey
numbers, adopting of similar distribution methods or other         "properly conducted and fair." Finding of Fact No . 90 . Our
efforts by a party to "pass off' its product as that of another.   own examination of the survey evidence convinces us that
Kentucky" Fried Chicken Corp . v. Diversified Packaging            both surveys are substantially defective.
Corp .. 549 F.2d 368 . 382-KJ (5th (ir. 1977). There is no
evidence that defendants have ever attempted to "pass off'                  FNl l . The judge's comment was made during a
their goods as those of plaintiff. Evidence introduced at trial             hearing held November 2, 1979 on a motion by
established that the name "Domino's Pizza" was adopted                      defendants to stay the district court's injunction
because Mr . Monaghan had been told he could no longer                      pending this appeal Hearing Tr. 63 .
use the name "Dominick's," the new name sounded Italian,
and it was quite close to the old name . Although Monaghan         Plaintiffs survey was made by Dr. Russ Haley, Professor of
was aware of "Domino" sugar at the time, he was unaware            Marketing at the University of New Hampshire . It was




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conducted in ten cities among female heads of households                     American Footwear Corp . v. General Footwear
primarily responsible for making food purchases . Each                       Company. Ltd.. 601) F21 6» . tifi0-VI n.-0 (2d Cir.
participant was shown, in her own home, a "Domino's                          1979) : Charles Revlon, Inc. v. Max Factor & Co .,
Pizza" box and was asked if she believed the company that                    76 Civ . 5215, Findings of Fact Nos. 101-08
made the pizza made any other product. If she answered                       (S .D .N .Y .1977) ; Phillip Morris . Inc. v. R. J .
yes, she was asked, "What products other than pizza do you                   Reynolds Tobacco CU . . 188 L' .S .P .Q . ?89, 293-94
think are made by the company that makes Domino's                            ( S . D.N .Y".1975) .
 Pizza?" Finding of Fact No . 90(d) . Seventy-one percent of
                                                                     The trial court discounted defendants' survey for largely the
those asked the second question answered "sugar."
                                                                     sane reasons just discussed it was conducted on the
*264 [12] While the possible confusion level shown by the            premises of "Domino's Pizza" outlets and therefore did not
Haley study is high, there are several defects in the survey         examine a proper survey universe, and the questioning
which significantly reduce its probative value . First, one of       procedures used were improper. Thus, defendants' survey is
the most important factors in assessing the validity of an           likewise not probative of the presence or absence of
opinion poll is the adequacy of the "survey universe ;" that         confusion . (FN 13 ]
is, the persons interviewed must adequately represent the
                                                                              F\ 13 . The actual results of defendants' survey are
opinions which are relevant to the litigation . American
                                                                              disputed. Plaintiff argues the survey shows a 6.8%
 Basketball Assn v . AA1P Voit, Inc ., 358 F .Supp . 981, 996
                                                                              confusion level, and the court in copying plaintiffs
iS .D .N .Y .), affd, 487 P .2d I_93 (2d Cic 1973), cert .
                                                                              proposed Findings of Fact adopted that argument .
denied, 416 U .S . 986 . 94 S .Ct . 2339, 40 L .Ed2d 763
                                                                              Defendants argue the survey showed an actual
 (1974) ; Hawicy Products Co . v. United States Trunk Co . .
                                                                              confusion level of only 0.4%. They contend the
 259 F .2d fig, 77 (1st Cir. 195) . The appropriate universe
                                                                              6.8% figure can be derived only by eliminating all
 should include a fair sampling of those purchasers most
                                                                              respondents to the survey who were either not
 likely to partake of the alleged infringer's goods or services .
                                                                              familiar with "Domino" sugar or who responded
 American Basketball, supra ; Hawley Products, supra . Of
                                                                              "don't know" when asked if the same entity made
 the ten cities in which the Haley survey was conducted,
                                                                              both "Domino" sugar and "Domino's Pizza." They
 eight had no "Domino's Pizza" outlets, and the outlets in the
                                                                              argue that such a procedure is as unwarranted as
 remaining two had been open for less than three months .
                                                                              excluding the percentage of "undecided" voters in a
 Additionally, the persons interviewed consisted entirely of
                                                                              political poll . While we note the conflict between
 women found at home during six daylight hours who
                                                                              plaintiff and defendants on this issue, our holding
  identified themselves as the member of the household
                                                                              discounting the survey evidence in this case makes
  primarily responsible for grocery buying. As plaintiffs
                                                                              it unnecessary for us to resolve it .
  sugar is sold primarily in grocery stores, participants in the
  Haley survey would have been repeatedly exposed to
                                                                      [IdJ Accordingly, we conclude that the trial court was
  plaintiffs mark, but would have had little, if any, exposure        clearly in error when it held defendants' use of the
  to defendants' mark . Furthermore, the survey neglected
                                                                      trademark "Domino's Pizza" was likely to cause confusion,
  completely defendants' primary customers young, single,
                                                                      mistake, or deception. In the absence of any solid evidence
  male college students . Thus, we do not believe that the
                                                                      of actual confusion, the limited strength of the "Domino"
  proper universe was examined, and the results of the survey
                                                                      mark outside plaintiffs line of sugars and portion-control
  must therefore be discounted . Handbook of Recommended
                                                                      condiments compels the opposite conclusion, especially in
   Procedures for the Trial of Protracted Cases, 25 F .R .D . 351,
                                                                      light of the marked dissimilarities between plaintiff and
  429 (1960) .
                                                                      defendants in trademark design, products, retail outlets,
                                                                      '265 purchasers and advertising. We also note [hat plaintiff
  [I ;] Of additional concern, plaintiffs survey was a "word
                                                                      has not been vigilant in protecting its rights in the "Domino"
  association" test . Participants in the survey were confronted
  with the "Domino's Pizza" mark, and more or less asked if it        mark . Since it first began using the mark, it has failed to
  brought anything else to mind . We have previously held that        object to 72 third-party registrations of "Domino." When
                                                                      infringing third-party uses of the mark have become known,
  such a procedure degenerates "into a mere word-association
                                                                      as in General Mills' use of "Domino" on a widely distributed
  test entitled to little weight ." Holiday Inn,, Inc . v. Holiday
                                                                      doughnut mix, plaintiff has written letters requesting
  Out in America, dRl F.2d 345. 443 (5th Cit. 1973). We do
                                                                      discontinuance of the mark, but has never brought suit
  nod believe the Haley survey presents any meaningful
                                                                       against any such infringement until now. As noted by the
  evidence of likelihood of confusion[Fr 12]
                                                                       district judge in the course of the trial, plaintiff "has not
            FNI . . Other courts have rejected surveys                 maintained, has not policed its mark ." Tr . 1664 . Plaintiff
            performed by Dr. Haley as slanted or biased .              brought this suit after nearly ten years of simultaneous use




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of the mark "Domino" by Amstar and DPI . A trademark                 Gi (1959) . Since defendants' use of the mark "Domino's
owner that strongly believed its customers were being                Pizza" is nut likely to confuse, mislead, or deceive the
deceived would hardly have remained idle for such an                 public, the district coup's order and injunction to the
extended period of time .                                            contrary are set aside, and the judgment is

Our conclusion that there is no likelihood of confusion in           REVERSED .
this case is fatal to most of plaintiffs claims . With no
                                                                     615 F.2d 252, 29 Fed .R .Serv.2d 1528, 205 U.S .P .Q . 969
likelihood of confusion, there can be no trademark
infringement, IS U.S .C . s III4(I). Since there is no
                                                                     END OF DOCUMENT
 likelihood of confusing defendants' goods with those of
plaintiffs, the false designation of origin claim also falls. 15
 U.S .C . s 1125 ; Boston Professional Hockey Assn, Inc. v .
 Dallas Cap and Emblem Mfu . Co . . Inc., 510 Pfd 1004 (5th
 Cir.), cert . denied, 4?3 U.S . 868, 96 S.Ct. 132, 46 L .Ed.2d
 98 (1975) . Common law unfair competition toms primarily
 on likelihood of customer confusion, and therefore
 defendants must prevail herein on that issue. Holiday Inns,
 Inc . v. Holiday Out in America, 481 F .2d 4.15 (5th Cir.
  1973); D. H. Bonn Ca v . AAA Replacement Parts Co ., 451
 F.2d 125 (5th Cir. 1971 ) . Finally, the crux of a complaint
 based on the Georgia Uniform Deceptive Trade Practices
 Act is the likelihood of confusion between goods. Baker
  Realty Co . v. Baker, 228 Ga . 766, 187 S.E .2d 850 (1972) .
 This claim also is without merit .

                          N. Dilution

 [I5][16] Georgia's anti-dilution statute protects against
 "dilution of the distinctive quality of the trade-mark . . .
 notwithstanding the absence of competition between the
 parties or of confusion as to the source of goods or services .
 . . ." Ga .Code Mn . s 106-115. Dilution, as we have
 previously noted, occurs "where the use of the trademark by
 the subsequent user will lessen the uniqueness of the prior
 user's mark with the possible future result that a strong mark
  may become a weak mark ." Holiday Inns . Inc. v. Holiday
  Out in America, 491 F .2d 445, 450 (5th Cir. 1973). The
  concept is not applicable in this situation, however, because
  "it has been determined that the marks themselves are not
  confusing," id ., and as discussed at length previously,
  "Domino;" outside plaintiffs line of sugars and
  portion-control items, has already become a weak mark .
  Plaintiffs claim against defendants under the Georgia
  statute is therefore invalid.

                          V . Conclusion

  [17] In reversing the district court and vacating the
  injunction entered against defendants, we do not intimate
  that the mark "Domino," as applied to plaintiffs sugars and
  portion-control items, is not a widely known mark deserving
  substantial protection . However, "(t)he right granted to the
  owner of a registered trademark is a monopoly and should
  not be extended unless the owner is clearly entitled thereto."
   S . C. Johnson & Sun, Inc . v. Johnson, 266 F.2d 139. 136
  (6th Cir.), cert . denied, 3(,I U.S . H=O. R0 S.Ct. 65, 4 L.Ed2d




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                                                                   /51 .lodgment f=~18!(24)
\r
                 Supreme Court of Georgia .                        1181k 18 1(24) MoNt Cited Cases

        BLACKSTONE INDUSTRIES, INC ., et al                        In action by tenants seeking an injunction and damages for a
                      v.                                           civil conspiracy b force them from leased premises where
               Carolyn Annette ANDRE et al .                       they operated a beauty shop, material issues of fact
                                                                   precluded the granting of summary judgment in favor of the
                            No . 28932.                            landlord who alleged the building was untenantable .

                        Sept 6, 1974 .                             161 Judgment C~a185(5)
                                                                   =-Sk 185(5) Most Cited Cases
Tenants sued landlord and others seeking an injunction and
damages allegedly resulting from a civil conspiracy to force       Opinion evidence will not authorize the grant of a summary
them from leased premises where they operated a beauty             judgment .
shop . The Superior Court, Chatham County . Frank S.               **815 *717 Falligant, Doremus, Karsman. Kent & Toporek,
Cheatham, Jr ., J., dismissed some of the defendants and           Stanley Karsman, Smith & Postman, Savannah, for
overruled motions for summary judgment filed by other              appellants .
defendants . The other defendants appealed . The Supreme
Court, Nichols, P.l ., held that material issues of fact           John J. Sullivan, Joseph B. Bergen, Savannah, for appellees .
precluded the granting of summary judgment in favor of
                                                                                  Syllabus Opinion by the Court
defendants and that opinion evidence offered in support of
defendants' contention that the building was untenantable
                                                                   *715 NICHOLS, Presiding Justice.
did not authorize a summary judgment .
                                                                   Carotyn Annette Andre and Christine Lee Green filed the
Affirmed .
                                                                   present action seeking an injunction and damages allegedly
                                                                   resulting from a civil conspiracy to force them from *'816
                    West Headnotes
                                                                   leased premises where they operated a beauty shop . Some of
~1 / Judgment C~r186
                                                                   the defendants were dismissed by the vial coon and no
228k186 Most Oiled Cases
                                                                   appeal taken . Motions to dismiss, treated as motions for
Whether trial court permits introduction of oral evidence on       summary judgment, of other defendants were overruled and
hearing of a motion for summary judgment is a matter               after a certificate of immediate review was granted, the
within the sound discretion of the trial judge.                    present appeal was filed.

                                                                   The sole enumeration of error complains that the trial court
121 Conspiracy OD7=19
91 k 1 9 Most Cited Case,                                          erred in overruling the appellants' motions for summary
                                                                   judgment on the ground that the 'documentary evidence
To show conspiracy, it is not necessary to prove an express        submitted by appellants established that all appellants'
compact or agreement of conspirators .                             motions for summary judgment should have been sustained
                                                                   as a matter of law and that there is no issue of fact to be
131 Conspiracy X19                                                 tried before a jury .'
91 kl9 Most Cited Casts
                                                                   The judgments of the trial court showed that the court
To show a conspiracy, it is sufficient to prove that two or        'considered the pleadings, depositions, affidavits, and all
more persons in any manner either positively or tacitly            evidence submitted in support and in opposition to the
come to a mutual understanding that they will accomplish           motion .'
the unlawful design .
                                                                  [I] Whether or not the trial court permits the introduction of
141 Conspiracy f=13                                               oral evidence on the hearing of a motion for summary
91k13 Most Cited Cases                                            judgment is a matter within the sound discretion of the trial
                                                                  judge. See Price v . Spar Service & Petroleum Corp ., 119
Anyone who knows of the existence of a conspiracy and its         Ga .App . 171, 178, 166 S .E2d 593. Here the trial court did
purposes, and joins therein, becomes as much a party              permit the introduction of oral evidence and there was no
thereto as if he had been an original member of the               objection by the appellants . The denial of the summary
conspiracy .                                                      judgments was based in pan upon the oral evidence .




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'"[.][i][4] To show conspiracy . it is not necessary to prove
an express compact or agreement to the parties thereto. The
essential element of the charge is the common design ; but it
need not appear that the parties met together either formally
or informally, or entered into any explicit or formal
agreement; nor is it essential that it should appear that either
by words or by writings they formulated their unlawful
objects. It is sufficient that two "716 or more persons in any
manner either positively or tacitly come to a mutual
understanding that they will accomplish the unlawful
design . And anyone, after a conspiracy is formed, who
knows of its existence and purposes and joins therein,
becomes as much a party thereto as if he had been an
original member .' I Eddy on Comb . s 368 .' Woodruf( v.
Hughes, . Ga .App . 361 . 365, Sg S .E . »I . SS ; Huckaby v.
Griffin Hosiery Mills. 205 Ga . 88, 91, i= S.E .2d 585 ;
florlon v. Johnson, 192 Ga . 33F, 346. IS S.E .2d GOB.' Cook
v. Robinson, 216 Ga . 328(i), 116 S .E .2d 742.

[5] The evidence, including the oral evidence adduced upon
the hearing for summary judgment, did not demand the
finding, as contended by the appellants that their motions
for summary judgment should have been granted.

[6] The evidence to support the contention that the building
was untenantable was opinion evidence . Opinion evidence
would not authorize the grant of a summary judgment. See
Giun v. Morgan, 225 Ga . 192, 16' S.E .3d 393; Harrison v.
Tuggle, 225 Ga. 211, 213, 167 S.E .2d 395 .

If indeed the building was in need of repair, could it be done
without the plaintiffs moving out? If so, it was the
responsibility of the landlord to make such repairs under the
terms of [he lease. There was evidence that such repair was
not feasible end that the building was beyond economical
repair. Whether the repair was economically feasible for the
landlord was not the question, rather, his responsibility
under the lease.

The statements made by the president of the owner of the
building in the presence of the plaintiffs' customers, the
action of procuring a demolition permit, the statements
made by the employee when the permit was posted, all
create a jury question as to whether a conspiracy existed to
unlawfully evict the plaintiffs from the leased premises prior
to the termination of the lease . The trial court did not err in
overruling the appellants' motions for summary judgment .

Judgment affirmed .

All the Justices concur .

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                                                                     Where hockey league and member teams had acquired
                                                                     property right in artistic symbols used to designate
               United States Court oFAppeals,                        individual teams which extended to reproduction and sale of
                        fifth Circuit.                               those marks as embroidered patches for wearing apparel .
                                                                     emblem manufacturers' usurpation of right to manufacture
 BOSTON PROFESSIONAL HOCKEY ASSOCIATION.                             and sell marks caused economic injury to business interests
         INC ., et al ., Plaintiffs-Appel lees                       of hockey league and teams, which were deprived of
                 Cross-Appellants,                                   economic benefits they normally would have received by
                                                                     licensing use of their marks in connection with sale of cloth
 DALLAS CAP & EMBLEM MANUFACTURING, INC.,                            patches, that rendered manufacturer liable under [he
        Defendant-Appellant Cross-Appellee .                         Lanham Act . Lanham Trade-Mark Act, § 35, I S U .S .CA .§
                                                                      1117 .
                          Nn . 77-1280.
                                                                     I;I Trade Regulation X726
                          June 18, 1979 .                            3R2k7=C+ Most Cited Caws

Action was brought by hockey league and member teams to              Amount of damages trial court found to have been suffered
enjoin emblem manufacturer from making and selling                   by hockey league and member teams as result of emblem
embroidered cloth emblems embodying teams' registered                manufacturers violation of the Lanham Act was question of
trademarks and service marks . The United States District            fact and subject to clearly erroneous standard of review .
Court fur the Northern District of Texas, 360 F .Supp . d~9,         Lanham Trade-Mark Act, § 35, I S U.ti .C .A . § 1 1 17 .
granted injunctive relief in part and denied prayer for
damages, and league and teams appealed . The Court of                141 Trade Regulation X680 .1
Appeals, 510 F .2d 1004, affirmed in part and reversed in            382090 .1 Most Cited Cases
part and remanded . On remand, the District Court, Sarah             (Formerly 382k680)
Tilghman Hughes, 1 ., awarded damages of $137,200, and
manufacturer appealed . The Court of Appeals, Gee, Circuit           Where hockey league and member teams could not have
Judge, held that : (I) manufacturer, which usurped right to          made emblem manufacturer the sole authorized
manufacture and sell marks as embroidered emblems                    manufacturer of emblems since another company was an
through retail outlets, caused economic injury to league and         authorized manufacturer of embroidered emblems depicting
teams' business interest ; (2) although district coup correctly      team symbols, damages award for emblem manufacturer's
found that manufacturer usurped right to manufacture and             usurpation of right to manufacture and distribute three-inch
distribute emblems, finding that right was an exclusive one          emblems should not have been based on amount
was clearly erroneous and thus awards based on this finding          manufacturer had offered to be named sole authorized
were also clearly erroneous ; (3) based upon amounts offered         manufacturer but should have been based on amount it
 for three-year nonexclusive license to manufacture and sell         offered for three-year nonexclusive license to manufacture
emblems through retail outlets, manufacturer's infringement          and sell emblems through retail outlets, thus rendering it
resulted in actual damages of $40,000 [v league and teams,           liable for $20,000 actual damages under the Lanfiam Act .
and (4) increased damages under the Lanham Act could not             Lanham Trade-Mark Act, § 31, I S U .S .C .A . $ I I 17 .
 be upheld on basis of findings made .
                                                                     1i/ Trade Regulation "80.1
Armed in pan, vacated in pan, and remanded .                         .i32k6R0 .1 Most Cited Casts
                                                                      (Formerly 382k680)
                       West Headnotes
                                                                     Usurpation by emblem manufacturer, which had offered
ICI Trade Regulation x(71 .1                                         $15,000 for three-year nonexclusive license to manufacture
3R2k(,'I .I N1osi Cited Ca+e,                                        and sell three-inch emblems, of right to manufacture and
 (Formerly 3R2k671)                                                  retail emblems larger than three inches caused additional
                                                                     injury to hockey league and teams, and thus since value of
A trademark owner may recover for all elements of an                 right to make and sell large emblems was at least as
injury to its business proximately resulting from infnnger's         valuable as right to market small ones, usurpation of right,
wrongful acts .                                                      which was a nonexclusive one because of another
                                                                     company's license, rendered manufacturer liable for $20,000
(21 Trade Regulation `356                                            for its four-year infringement of right to manufacture and
382056 %1ost Cite(] Caws                                             sell emblems larger than three inches to league and teams
                                                                     under the Lanham Act . Lanham Trade-Mark Act, § 35, I>




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                     71 )
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                                                                                                                                          art appeal
                                                                                                          League   (NHL) .([-N I 1 After
                                                                              the National
                                                                                              Hockey                          defendant's- conduct
                                                                                                   issues,   we hzid that
                                                                              of the   liability                                     it constituted
                 1117 .                                                                                      Act [FK2} in that                   and
 L .S .C .\~                                                                  violated the Lanham under I S U .S .C . s 1114 11 T'}1
                                                                                           infringement                              description    by
             Regulation 0~~83                                                  Trademark                             goods or false
 (6/ Trade                                                                           designation     of origin of
           Mob, Cited Cases                                                    false                               l~ C .S .G ` 11=~~~F~n~~for a
 182ktih3                                                                      means of symbols under                  `74 distn~~ court
                                                       on emblem                                            to   the
                               damages, based                                   remanded the case                              appeal is from
                                                                                                                                                   that
  Award     of    increased                            Act through                                    damages, and this                        are set
                    violation    of the Lanham                                                    of                       this  controversy
                                                emblems that were
                                                                                determination                suaounding
  manufacturers                                                                                                                                   shall
                       of  embroidered cloth                                    proceeding . The facts                          . [FN9] and we
  unauthorized   sales                             used to designate                                       our earlier opinion
                             of artistic symbols                                       some    detail  in
                                                                                out in                                            .
  substantial  duplications                     upheld    on basis °f                                 necessary w this appeal
                                could not be                                     repeat only those
   individual league teams,                           inSlY doubled                                                                                the
                       trial court.
                                       which    Seem
                                                                   and                                                        litigation in 1972,
   findings of the                        violated injunction                              f~1.~ . By the outset of the                   had  secured
   damages because
                         manufacturer
                                                 to answer
                                                               pretrial                                           of its member ~z~^G
                                                                                           NHL and twelve                          symbols as service
                         with its obligation have been justified                                                    of their team
    fated to comply                       might                                            federal  registration                       services .
                             but which      manufacturer's alleged                                     ice hockey enteAalnmeN
    discovery complecelY "      based on                                                    marks for
    ;n increasing
                     damages                            sales records .
                   or  misrepresenting available                                            F1~ . ~ 5 1) .5 .C . ss
                                                                                                                    10S1_1 127.
    withholding                                    .4~ § 1117
                            Act. § 35, 1 5 U .S .C
     Lanham Trade-Mark                                                                                                                 in pertinent pan:
                                                                                            1, .~3 . 1 ~ ~ ; .S .C' . s 1114 provides
                                                                                                                                   without  the consent of
                Regulation &:'683                                                           ()) Any person who
                                                                                                                            shall,
     /71 Trade                 Case,
     3R_kGF3 Most Cited                                       additional                     the registrant                any   reproduction, counterfeit,
                                the  Lanhsm   Act to impose                                  (a) use in commerce                     of a registered
                                                                                                                                                        mark in
      Discretion given     by                        infringement case                       copy, or colorable
                                                                                                                       imitation
                                                                                                                                                      for   sale,
                    circumstances      of trademark                 court                                                the sale, offnn~E
      damages    if                          exercised by the trial infer                     connection with                               goods   or  services
               additional    relief is to be               were  to                                                advertising of any
      warrant             Court of Appeals even      if it                                    distribution, or                                       is likely to
                                                   Lanham Trade-Mark                                       Connection     with which such use
       and not by the         increased damages .                                             on   or   in                                       or  to deceive ;
                                                                                                                          to cause mistake,
       findings justifying                                                                     cause confusion, or
                               ..~~ C 1117 .
       Act, § 35 . 1S Li .S .C                                                                 or                                        copy, or colornbly
                                                                                                       reproduce, counterfeit,                               such
                                                                                                                                   mark and apply
        iRi Trade Regulation C=Aa2                                                              imitate a registered                              C. cotmable
                           Cases                                                                                                     .
        382k6K1 Muss Cited                                                                      reproduction, counterfeit COPY,                         Packages .
                                                teams were nut
                                                                     entitled to                                to   labels, signs, Prints, intended to
                                      member                                                    imitation
         Hickey league       and
                                              unauthorized manufacture
                                                                             and                                               or advehisements
                             suit alleging                            substantial                wrappers, receptacles upon or m connection with
                   fees  in                           which were                                                 commerce
         attorney                   cloth emblems,                     individual                be used in                      for sale,
                                                                                                                                               distribution, or
         sale of embroidered symbols used to designate                            .              the sale, offering                       services on or In
                        of  artistic                                  applicable                                   of goods or
          duplications                               Ad as then                                                                                 likely to cause
                  teams,    under the Lanham5              .A . fit I f' .                       advertising with
                                                                                                                           W'hich us is z
          league                      Act, § 35- I U .S .C                                        connection                                      deceive
           Lanham Trade-Mark                                           J. Manuel                                       cause mistake, o< «
                                 Harris,    Charles   S. Lo~r~P~a,                                confusion, or to                              the  registrant for
           +73 William      D.                             defendant-appellant                                liable  in  a  civil action by                 Under
                                           Tex ., for                                             shall    be
                                                                                                                            hereinafter provided .
           1{oppenstein, Dallas,                                                                  the       remedies                               registrant   shall
           crossappellee .                                                                                                         section, the
                                                                                                   subsection (b) of this                         damages      unless
                                                                   Fletchec, New                                           recover profits    or
                                J, ., Dallas, Tex ., Anthony L.                                    not be entitled to                              knowledge that
            Emest E. Figari,                         Cross-appellants .                                              been     wn~ntted with
                             plaintiffs-appellces                                                  the acts have                                                cause
            York City, fog                                                                                                    intended to be used to
                                                                           for the                  such imitation is              mistake,  or  to deceive   .
                                                       District Court
                                    United
                                              States                                                confusion, or to cause
               Appeals from die
                                 of Texas .                                                                                                    in pertinent part :
               Northern District                                                                     . 15 US .C . s 1125 provides
                                                                                                     1-N4                                                   annex, °r
                                           and GEE . Circuit
                                                                Judges .                                                          shall affix. apply, Or
                             CLARK,                                                                  ( ;,) Any person who                            or  services,   or
               Before JONES,                                                                                                    with any goods
                                                                                                     use in connection containers for goods, a false
                                                                                                      any container or                   any false description
                                                                                                                                                                      or
                                                                                                      designation of onS...1 ~r words or other symbols
                GFE, Circuit Judge
                                                          litigation concerning                        representation, including                            the same,
                                again is this important                                                                     to describe or represent
                Before w once                     Sale  of  embroidered cloth                          tending   falsely
                                                                                                                                    goods or services to enter
                                                                                                                                                                    into
                              manufacture and          dupiicauons of artistic                         and shall cause such
                unauthorized
                           which were substantial             member teams of
                emblems,                     the individual
                               to designate
                symbols used


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         commerce, and any (such) person who shall with              also awarded $5,?n0 as defendant's profits attributable to the
         knowledge of the falsity of such designation of             infringement . Thus, the plaintiffs' total recovery was
         origin or description or representation cause or            $137,200 ; Dallas Cap appeals only the award of x,132,000
         procure the same to be transposed or used in                as damages .
         commerce or deliver the same to any carrier to be
         transported or used, shall be liable to a civil action      [I][3] Recovery for trademark infringement under the
                                                                     Lanham Act may include defendant's profits, any damages
         by any parson doing business in the locality falsely
          indicated as that of origin or in the region in which      sustained by the plaintiff, and costs of the action .[PM71 " 75
                                                                     Dallas Cap does not challenge the award of $5,200 profits in
         said locality is situated, or by any person who
                                                                     this case but argues vigorously that no damages were
         believes that he is or is likely to be damaged by the
          use of any such false description or representation .      proved . We disagree . Plaintiffs offered evidence tending to
                                                                     show that defendants unauthorized sales of the emblems
         FNS . Boston Professional Flockcy A,sucia(ion v .           diverted sales from plaintiffs and that the poor quality of
         Dallas Cap R Emblem Mfg ., Inc . . 510 F2d IOOd             defendant's reproductions harmed plaintiffs' business
         ISih Cir .), Cert . denied, 423~U .S . 368, 96 S .CL 132,   reputations . They did not, however, attempt to quantify
         46 L .Fd .2d 98 (1975) .                                    these traditional elements of damages for trademark
                                                                     infringement . But plaintiffs did prove another element of
Defendant Dallas Cap 3. Emblem Manufacturing, Inc .                  damages . A trademark owner may recover for "all elements
(Dallas Cap) is in the business of making and selling                of injury w the business of the trademark owner
embroidered cloth emblems . In 1968, and again in June of            proximately resulting from the infiingers wrongful acts . .
1971, Dallas Cap sought authority from National Hockey                . ." Obear\e ;ter Glass Co . v . United Drug Co ., 149 F .2d
League Services, Inc . (NHLS), the exclusive licensing agent         671 (8th Cir .l, Cert . denied, 326 U .S . 761, 66 S .Ct . 141, 90
of plaintiffs, to manufacture and distribute embroidered              L .[d . 458 (1945) . We recognized, in our earlier decision in
emblems representing the insignia of [he various NHL                 this litigation, that through extensive use these plaintiffs
teams . Although its attempts to obtain a license from NHLS           "acquired a property right in their marks which extends to
were unsuccessful, defendant in 1972 began to manufacture            the reproduction and sale of those marks as embroidered
and to sell the emblems through retail outlets without                patches for wearing apparel ." Boston Professional Hockey
authority to do so . An action by plaintiffs NHL and thirteen         Association v . Dallas Cap & Emblem Manufacturing, Inc . .
of its member teams resulted in denial of all relief sought           510 F2d at 1014 . This property right is protected against
 under the above-mentioned provisions of the Lanham Act,               infringement by the Lanham Act . Id . Thus, when Dallas Cap
 but the court granted limited injunctive relief for                  usurped the right to manufacture and sell plaintiffs' marks as
 common-law unfair competition, prohibiting the defendant             embroidered emblems through retail outlets, it caused
 from selling the emblems without including a statement                economic injury to plaintiffs' business interests . For the
 disclaiming that the emblems were authorized by the                   period defendant was infringing, plaintiffs were deprived of
 plaintiffs . This court reversed the denial of Lanham Act             the economic benefits they normally would have received
 relief and remanded the case .[F\l,J                                  by licensing the use of their marks in connection with the
                                                                       sale of cloth patches . Simply stated, Dallas Cap
          FA4 . This court also affirmed the lower court's             misappropriated a valuable right belonging to plaintiffs and
          finding of unfair competition but held that the              did not pay for it . The remaining question is whether the
          disclaimer ordered by the tower court would nut               lower court properly calculated the damage caused by
          remedy the illegal confusion. 510 F.2d at 1013 .             defendant's usurpation .

 On remand the district court held a hearing to determine                      FN'. IS G.S .C . s 1117 . The version applicable to
 damages and found that Dallas Cap had usurped the right to                    this suit provided :
 manufacture and sell embroidered emblems depicting NHL                        When a violation of any right of the registrant of a
 team insignia . To determine the value of this right, the court               mark registered in the Patent Office shall have
 used a fetter written to NHLS by Dallas Cap and concluded                     been established in any civil action arising under
 that the latter offered $25,000 for a three-year exclusive                    this chapter, the plaintiff shall be entitled, subject
 license to manufacture and distribute three-inch emblems.                     to the provisions of sections I 11 I and I I 13 of this
 Defendant's infringement was for four years, and the court                    title, and subject to the principles of equity, to
 calculated the prorated worth of the right to be $33,000. A                   recover (I) defendant's profits, (2) any damages
  like sum was added as damages for defendant's four-year                      sustained by the plaintiff, and (3) the costs of the
 unauthorized manufacture of emblems larger than three                         action . The court shall assess such profits and
  inches, and the total damage amount of $66,000 was                           damages or cause the same to be assessed under its
 doubled because of bad faith by Dallas Cap. Plaintiffs were                   direction. In assessing profits the plaintiff shall be




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         required to prove defendants sales only ; defendant              guarantee payment of $15,000 for the full three
         must prove all elements of cost or deduction                     years of the contract . We would pay 10% Royalty
         claimed . In assessing damages the court may enter               against the guarantee on all emblems sold and
         judgment, according to the circumstances of the                  would pay the Royalty quarterly or whichever way
         case, for any sum above the amount found as actual               is satisfactory to National Hockey League . All
         damages, not exceeding three times such amount .                 sales would be recorded by computer for instant
         If the court shall find that the amount of the                   examination .
         recovery based on profits is either inadequate or               6. If we were authorized to be exclusive
         excessive the court may in its discretion enter                 manufacturer of all National Hockey League
         judgment for such sum as the court shall find to be             emblems sold for the period of three years, we
         just, according to the circumstances of the case .              would guarantee $25,000 and would pay 10%
         Such sum in either of the above circumstances                   Royalty against the guarantee on all emblems sold .
         shall constitute compensation and not a penalty.                This would make us the sole authorized
                                                                         manufacturer of National Hockey League emblems
[3] The calculation of damages below was based on a letter               and entitle us to the league's protection against any
[FNSJ dated June 17, 1971, in which Dallas Cap sought to                 other manufacturer who might infringe on these
obtain a license from N]HLS. The trial court found that                  rights .
defendant offered $25,000 for a three-year exclusive license             7. As we discussed, the license would run for three
and found that the value of the usurped right to sell the                years with an additional three, one-year renewable
emblems prorated for the four-year infringement period was               options.
$33,000. The amount of " 76 damages the trial court found                If you have any questions, please do not hesitate to
to have been suffered by plaintiffs is a question of fact and            call on me . Looking forward to hearing from you
is subject to the clearly erroneous standard of review . Neat            in the very near future .
v. United States . 562 F .2d 338 (5th Cir. 1977). Because we             P .S . As an indication, 1 called just one of our
hold that these calculations were based on a clearly                     Distributors and he told me that his starting order
erroneous finding of fact, the total award is also clearly               would be between 30,000 and 50,000 if we get the
erroneous and must be reduced.                                           license to make them .

         FhR. June 17, 1971                                     [d] Dallas Cap, in paragraph 6 of its letter to NHLS, sought
        National Hockey League                                  to he named sole authorized manufacturer of NHL emblems
        2 Pennsylvania Plaza                                    for three years, and for this authority $25,000 was offered.
        New York Cory, New York                                 But in relying on this paragraph to calculate the value of the
        Attn : Mr . Don Ruck :                                  usurped right, the court below found that Dallas Cap
        Dear Mr. Ruck :                                         misappropriated an exclusive right to manufacture and sell
        I appreciated the opportunity to speak with you by      the emblems. This is clearly erroneous . Plaintiff could not
        telephone today and the chance to discuss the           have made Dallas Cap sole authorized manufacturer of
        National Hockey League emblems . Outlined below         emblems because Lion Brothers Company was an
        is our proposal :                                       authorized manufacturer of embroidered emblems depicting
         I . Manufacture and distribute Hockey Emblems          plaintiffs' team symbols . No exclusive license could have
        nationally through our present Distributors,            been granted to Dallas Cap, and although the court was
        College Book Stores, Department Stores, Airports,       correct in its finding that Dallas Cap usurped a right to
        Spotting Goods Stores, Gift Shops, and Sports           manufacture and distribute the emblems, its finding that the
        Stadiums . 2 . We are ready to start manufacturing      right was an exclusive one is clearly erroneous. Therefore,
        and distributing the first week of July .               the award of $33,000 based on this finding is also clearly
        3 . We will sell the emblems both bulk packaged         erroneous .
        and individually packaged, as per the enclosed
        samples .                                               The court should have based its damage award on paragraph
        4 . All emblems sold in the Novelty Program would       5 of the June 1971 letter . In that paragraph defendant
        be 3 emblems- that would be guaranteed by the           offered to pay $15,000 for a three-year nonexclusive license
        American Institute of Laundering to be completely       to manufacture and sell the emblems through retail outlets .
        washable . At all times we would guarantee the          This was the right wrongfully taken by Dallas Cap, and the
        workmanship and quality of all emblems involved         value it placed on that right was a proper measure of
        in this program.                                        damages caused by the usurpation . Based upon a $15,000
        5. On the basis of a three year contract for            offer for a three-year contract, Dallas Cap's four-year
        distribution of these Hockey emblems we will            infringement of the right to manufacture and sell three-inch




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 emblems damaged plaintiffs m the amount of $20,000.              injunction against selling the emblems without an
                                                                  appropriate disclaimer,[f\'] 2] had failed to disclose in
 [fl The trial court correctly awarded additional damages for     discovery sales of large emblems, and also had failed to
 Dallas Cap's usurpation of the right to manufacture and sell     disclose in discovery complete sales records of the small
 larger emblems. The June 1971 letter plainly contemplated        emblems . Because we are unable to give meaningful review
that Dallas Cap would manufacture and distribute nationally       to this award of increased damages, we must remand for
three-inch emblems; paragraph 4 unambiguously stales that         further findings .
 "(a)11 emblems sold in the Novelty Program would be 3
emblems . . . ." The $15,000 offer in paragraph 5 was for                  P\ 11 . I i U.S .C . s I I 1' .
"distribution of these Hockey emblems," and defendant
concedes that the paragraph 5 offer was restricted to the                   PN12 . The first disclaimer Dallas Cap placed on
three-inch emblems.[FN9J Therefore, defendants usurpation                  the emblems stated that they were "not authorized
of the right to manufacture and retail emblems larger than                 by the NHL or its members." But "NHL" was
three inches caused additional harm to plaintiffs . The court              placed in the center of the circular disclaimer in
below properly, if perhaps somewhat conservatively,                        much larger letters than the other words . A later
[FN'10] found that the value of the right to make and sell                 disclaimer replaced "N}IL" with "National Hockey
large emblems was at least as valuable as the right to market              League" in letters of the same size as the rest of the
the small ones and included an equivalent sum in its                       inscription . All disclaimers, however, were affixed
calculation of damages. We agree with this reasoning, but                  to the back of the emblems . They could not be seen
because this calculation also was based upon the usurpation                unless the emblems were displayed face down an
of an exclusive license, we hold that the additional amount                unlikely possibility . Some of the three-inch
awarded is clearly erroneous . The right to manufacture and                emblems were sold in sealed packs ; their
sell large emblems was also a nonexclusive one because of                  disclaimers could be seen only if the packs were
Lion Brothers' license from plaintiffs, and the worth of this              opened and the emblems tamed over. The lower
right must be calculated on that basis. If it was at least as              court found that the size of the letters "NHL" and
valuable as the right to produce and market small emblems,                 the location of the disclaimer were examples of bad
this additional nonexclusive right would also be worth                     faith .
$15,000 for three years. Dallas Cap's four-year infringement
of the right to manufacture and sell emblems larger than          Damage awards in excess of actual damages found have
three inches damaged plaintiffs in the amount of $20,000.        been upheld in Lanham Act cases involving "deliberate and
Therefore, actual damages in the total amount of $40,000          fraudulent infringement," Deering . MiIGktn & Co . v .
were suffered by plaintiffs as a result of defendant's           Gilbcrt, 269 F?d 191 (2d Cir. 1959), or conduct described
infringement .                                                   as "fraudulent" and "wilful and calculated to trade upon the
                                                                 plaintiffs good will ." H . A . Friend R Co . v. Friend & Co .,
         FN9. We believe the lower coup necessarily              276 F .Supp . 707 (C .D .CaLl96?), Affd, 416 F .2d 526 (9th
         inferred that the reference to "all emblems sold" in    Cir . 19fi9), Cert . denied, 397 U .S . 913, 90 S .CL 916, 25
         paragraphs 5 and 6 meant only the emblems that          L .Ed .2d 94 (1970) . We note also that the statutory language,
         were the subject of the lever the three-inch            which allows discretion to increase actual damages found
         emblems. We think this inference to be the correct      "according to the circumstances of the case," appears
         one, although, in light of defendant's concession in    sufficiently broad to encompass other situations . See
         its brief that the $15,000 offer related only to the    Donsco . [tic . v . Caspzr Corp ., 587 F2d 602 (3d Cir . 1978) .
         small emblems, the point is not crucial to our          We decline, however, to speculate on the variety of possible
         decision .                                              circumstances that might justify increased damages in other
                                                                 cases . We hold only that increased damages cannot be
         FNIO . Defendants accountant testified that the         upheld on the basis of the findings made below.
         profit margin on the large emblems was fifteen
         times greater than that on the three-inch ones.         We do no[ question the accuracy of the findings made by
                                                                 the trial court; we are simply unable to determine from them
*77 [6] Section 35 of the Lanham Act (FN I I ] gives the trial   whether on the facts of this case increased damages should
judge discretion to award any amount in excess of actual         be considered an abuse of discretion, as defendant argues .
damages, not to exceed three times that amount, according        The trial court seemingly doubled damages because Dallas
to the circumstances of the case . The court below exercised     Cap violated an injunction imposed by the court and also
this discretion, doubling the actual damages because of          failed to comply with ids obligation to answer pretrial
defendant's "bad faith." As examples of this bad faith, the      discovery completely . These are examples of conduct for
coup found that Dallas Cap had violated the spirit of an         which other, appropriate sanctions were readily available.




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         to It. 15 LI' S(" and th              'on was c            CY fee,
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G                                                              131 Trial X178
                                                               3SKkl'F Most Cited Cole,
                Court of Appeals of Georgia .
                                                               Directed verdict or judgment n .o .v . is not proper unless
      BUDGET RENT-A-CAR OF ATLANTA, INC
                                                               there is no conflict in evidence as w any material issue and
                     v.
                                                               evidence introduced, with all reasonable deductions
                           WEB B.
                                                               therefrom, demands certain verdict .
                       No . A95A2496 .
                                                               151 Pleading a~36(3)
                       Feb. 20, 1996 .                         30-k36(3) Most Cited Cases

Automobile rental company brought action asserting claims      Admission by individual in answer to complaint brought by
                                                               automobile rental company seeking to recover for breach of
of breach of contract and negligence against motorist who
                                                               contract based on damage to rented automobile that he and
had rented automobile, which was damaged in accident
which occurred after motorist fell asleep while driving. The   automobile rental company had entered into agreement for
Richmond Civil Court, Allen, J., denied company's motion       rental of automobile constituted judicial admission which
for judgment n.o .v ., and company appealed . The Court of     individual was not permitted to deny . QC .G .A . ~ ?4-3-30.
Appeals, Blackburn, J., held that (I) admission by motorist
that he had entered into rental agreement under which          /fi/ Automobiles !X390
automobile was required to be returned in good condition,      4RAk39p Most Cited Cases
and undisputed fact that automobile was involved in
                                                               Judicial admission by individual that he had entered into
accident, were sufficient to establish breach, and (2)
                                                               agreement with automobile rental company. under which
motorist was negligent as matter of law.
                                                               automobile was required to be returned in good condition,
Reversed and remanded .                                        and undisputed fact that automobile was involved in
                                                               accident and was not returned in good condition were
                     West Headnotes                            sufficient to establish breach of contract on pan of
~l I Contracts E~324(1)                                        individual .
95k324(l) Most Cited Cases
                                                               171 Negligence X1693
Action at law lies for breach of contract, and damages are     272k1693 Most Cited Cases
gives as compensation for injuries sustained as result of       (Formerly 272k136(l4))
breach .
                                                               Questions of negligence are ordinarily matters for resolution
121 Contracts &326                                             by jury .
95k326 Host Cited Cases
                                                               IRI Automobiles .
                                                                               `& x242(1)
Elements of right to recover for breach of contract are        4RAk242(I) Must Cited Cases
breach and resultant damages to party who has right to
                                                               1R/ Automobiles X245(35)
complain about contract being broken .
                                                               3RAk245(3i) Must Cued Cases
III Appeal and Error X934(1)
                                                               While questions of negligence are ordinarily matters for
30k934(1) Most Cited Cases
                                                               resolution by jury, where evidence is undisputed that driver
                                                               has fallen asleep at wheel and wreck results therefrom,
In determining whether trial court erred by denying motion
                                                               driver bears burden of showing that he was not negligent,
for judgment n.o .v ., reviewing court must view and resolve
evidence and any doubt or ambiguity in favor of verdict.       and when driver fails to meet this burden, he is negligent as
                                                               matter of law .
141 Judgment X199(3 .2)
228k 199(3 .2) Most Cited Cases                                [91 Automobiles X157
                                                               4gAk 157 Most Cited Cases
131 Judgment e~199(3.11)
228k199(3 .11) Must Cited Cases                                /91 Automobiles &245(35)
                                                               43Ak235(3>) Most Cited Cases
1a1 Trial f=~141
388k141 Most Cited Casts                                       Motorist who had rented automobile and who had fallen




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                            .2d 7121:01-cv-00313-TWT Document 233                                                   Filed 02/02/04 Page 78 of 363
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                 asleep while
                                     driving automobile,
                negligent a s matter                                 resulting in wreck,
                                               of taw and tv as                          was                    had breached the
                automobile .                             liable for damage                                                                 rental agreement
                                                                           to                                   for such breach
                "`713 'Z8[ Fulcher,                                                                                                    .                           and was personally
                                        Ha gler, Reed,                                                                                                                                           liable
                   ~'~~~Y . Augusta, fora              Hanks ~ Ffarper,
                                          ppellant .                    Scow                               (i1[_) "A contract
                                                                                                                                              is
               Charles C. N~;,y~~~                                                                         parties for the doing an                                      between two or
                                     Augusta, for appepee,                                                                                      or not doing
                                                                                                           ~~<<'~'~ s~ 13-1 - I . "[q~~                            of some specified more
                                                                                                          contract and that                           ac4on at taw lies                         thing ."
                                                                                                                                        damage, are given                         for breach
                '278 QL .4C(<I)UItN,                                                                      injuries sustained .                                        as compensation of a
                                         Judge.
                                                                                                         breach of contract The elements of n right to                                         for the
                                                                                                                                                                                     recover for a
               Budget Rent -a-Car of                                                                     to the party who are the breach and the resultant
                                           Atlanta, Inc.                                                                               has the right to
               Underlying '279
                                     action against            (Budget) brought
                                                                                        the
                                                                                                        being broken . .,                                      complain about the damages
                                                                                                        ~-r,. , C                   (Citateuns omitted
              damages to its rental                      Lance Webb to
                                                                                  recover                               .GI'. llntdec                          .) (;,~ahanr Brat contFact
                                         vehicle caused by                                                                                       ~,~,ntrnciirre                            . C~nn,rr.
                                                                     Webb's negligent                                                                               Gz, ISq Ga ..qpp .
              Restrictions" of their                                                                   j~0~ ~4~~                        ~` ~~~~1) . It is unconeroverted                         Sql.
                                          rental agreement.                         "use
                                                                                                       record        that~5~~'~ Webb rented a                                                 in
                                                                     At the close                      from Budget                                        199p    "Zg0                            the
             verdict and the jury returned                                              of                                       pursuant to a                             Chrysler I .eBaron
                                                                                                      and thereafter                                    valid, written rental
                                                 a defendant's                                                                    wrecked it after                                    agreement
             court denied Bud gets                                   verdict The trim                 While driving                                          falling asleep
                                        motion for j                                                                              alone on Interstate                              at the wheel
            appeal followed                              udgment n .o.v ., and                        wreck, the car was                                         20. As a result
                                                                                     this                                              damaged and sold                                     of the
                                                                                                                                                                   for salvage.
            Webb traveled to                                                                         [;][q~       " 'In determining
                                 Georgia tin behalf
            systems, inc .                               u£his employer                             denying                                       whether the teal
                            (Lumber) . The credit                             Lumber                                (plaintiffs] . . .                                       court
           ~~ the transaction
                                was ;o the name
                                                         card which
                                                                          Webb used                 must       view                         motion       fur judgment n.p .v ., erred by
           the name "Lumber                           of "Lance N.                                                        and       resolve       the evidence ~d                     this court
                                  Systems Inc ."                         Weyb~~ with                ambiguity
                                                                                                            guiry in Iavor of the                                             any     doubt or
          "tee- (n defendant's                      immediately under                              judgment n.o - v . ) is                        verdict. "q directed
          that he and               amended answer                            Webb's                                                  not    proper                              verdict     (and
                          plaintiff had entered             however, he                            tile evidence as to any                               unless there is no
          agreement and that                            into the subject    admitted                                                                                                conflict in
                                  it provided th a~                                                                       wi th al!              material      issue and the
          used or operated                                                      rental            de,nQ~dr                                                                            evidence
                              by anyone ., . (~,~h~ the ' becapahicle will          be                             a certain verdictreasonable deductions therefrom
         driving the vehicle                                not                                   /fell,                                           ' "                                erefrom
                                  due ~o .. .           is             ble of safely                               19 ~. l~a
                                                                                                                           ~ .,
                                                                                                                                 .A PA~ 40, qp7 ,(Citations omitted.) P,,6            ;, i, .
         listed as the                         drowsiness      ."                                                                                        398    S.r, :d 308,19%) .
                        'Renter' on the                             Defendant was
        required that the                     agreement and the                                  ~5~~~,~
                              renter return the                          agreement                           ~yebb's admission
       operating                                    vehicle in the                               into the                                      that he and
                    condition.                                          same good                                   rental agreement,                            plaintiff had entered
                                                                                                constitutes a '"71q ~~d~~                              contained in hi
      On the night                                                                                                                             ;al admission                     s answer,
                          of the wreck ,                                                       Permitted to deny.                                                  . which he is
      around 6:00 or 7:00                    Webb got home                                                                                 .4 $ 3~S-3-i0 ;                                  not
                                  p                                    from work               ~°n~pkin . 222. (7~ _,~~'<,                                         rure
      have dinner . During .m . trip     and drove alone
                                                                   to                         ~h~     cuntracrual
                                                                                                                                      71 f >~ U--2,1 55'
                                                                                                                                                                   ~14(;~,),
                                                                                                                                                                               w~ Dept. n .
                                  this                                 Augusta to                                                                                              In view of
     mph, fell asleep
                               and wrec ked
                                              Webb, while driving
                                                                             at 65           vehicle in the requirement that Webb was to
     ultimately returned                          the vehicle                                                           same       good     condition and the                   return the
                                 to Budget in                         which was             Thai he did no[,
     Budget's expert                                 a damaged                                                                  it was error                             undisputed fact
                           testified that the                          condition .          Budgets motion                                            for the trial c
                                                                                                                              forJ                                         uurt to deny
    vehicle prior to
                           the wreck was
                                                  fair market value
                                                                           of               for damages arising ud                              Fit n .n.v . as to
    market value of                             $12,  ~(,3                      the                                               from    a  breach of the              Webb's     liability
                           the wrecked                       and that the                                                                                        rental agreement .
    second attempt,                         vehicle teas $z,ppp . p~ fair      ~e         2   .
                         they were able to sell                                                  Budget further contends
                                               sell                                                                                         that the trial coup
   pubGcauctionfor$2,pip,Defendant the wrecked vehicle at                                 t° grant its motion for
   plaintiff for damages                            hasnevercumpensated                                       n                           directed verdict uteri m failing
                               to the involved                                           judgment .o.v . based on                                                   and motion
                                                   vehicle .                             Webb negligently                                     the undisputed                              for
   W'ebb argues goes that his                                                                                               damaged         Budget's vehicle . evidence that
  any obligation                employer, Lumber,                                       L7J(HJ(9J Questions
                       and plainiit7's                     is a co-obligor
  party is fatal to                      failure ~o name                       of                                               of negligence
                         its claim . He                          Lumber as a            resolution            by a jury .                              are ordinarily
 actin B as the a                           further argues                                                                          Where        the                       matters for
                       gem for Lumber,                            that he was          however,             that   a driver has                         evidence is
                                               within                                  wreck                                              fallen                          undisputed
 employment at all times                                  the scope of                                results [here(rom,                             asleep at the
                                                                            his                                                                                          wheel and a
 Personally liable under relevant to this action and was                               showing that he                                   the driver bears
                                                                                                                                                                    the burden of
                                the agreement .                             not                                       was       not negligent
                                                                                       When he fails tv                                               in dams g ing
1.
    Budget contends that the trial                                                    a matter of law. rncet this burden, the driver                                     the vehicle .
                                            court                                                                                    Spcuia                         is negligent .
motion (or directed                                 erred by denying ;~5              5 % ~ (19jb), rev'd                                      . 93 Ua . .App                          as
                             verdict and its                                its                                         on other                                 .F<'3 . 9? S .F .?d
^-o ti' . in that the                             motion      for                    (U   .     r.   SP(iu-.i   .                       grounds,         So,ul,~rri
                        undis P uteri evidence                      judgment                 ,e,r ~,< 1, l/'/'rr'1  217 Ga . i:i', .                                   Rell Tel. ri
                                                     showed that                     Pull                                                     97 ti .F2d 6>4
                                                                        Webb         ~~ ~;ew (,f                                5-7 Ga .App, IdI .                      (19;61 ; Ca .
                                                                                                            the unrefined                                  194 S .f . . .lU3 ~ 19
                                                                                                                                      evidence that the                            .17) .
                                                                                                                                                                  wreck resulted

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from Webb falling asleep while driving, and his failure to
make any showing that he was not negligent, the trial court
erred in failing to grant Budget's motion for judgment n.o .v .
as to Webb's liability to Budget for damages to the rental
vehicle based upon his negligent conduct in causing the
wreck.

The question of the amount of damages to which Budget is
entitled must be resolved by a jury in view of the arguably
conflicting evidence on this issue. The judgment of the coon
is hereby reversed and the matter is remanded to the trial
court for further proceedings consistent with this opinion .

Judgment reversed and case remanded.

McMU2RAY, PJ ., and " 281 ANDtif'.WS, J ., concur .

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(Ci(e as : 139 F.3d 1396)




H                                                                 [21 Federal Civil Procedure X2492
                                                                  I?OAk_d9= \'lusr Cited Cs ;es
Briefs and ether Related Documents
                                                                  Matenal issue of fact as to whether franchisor violated
              United States Court of Appeals,                     implied duty of good faith and fair dealing, under
                     Eleventh Circuit .                           Massachusetts law, when it acquired and operated hotel in
                                                                  same vicinity as franchisee's inn precluded summary
    CAMP CREEK HOSPITALITY INNS, INC. d.b .a .                    judgment for franchisor on franchisee's breach of duty
           Sheraton Inn Atlanta Airport,                          claim .
              Plaintiff-Appellant,
                       v.                                         131 Contracts C~168
    SHERATON FRANCHISE CORPORATION, ITT                           95k 168 Most Chcd Cases
       Sheraton Reservations Corporation, Sheraton
                                                                  Massachusetts implies covenant of good faith and fair
   Savannah Corporation, and ITT Sheraton Corporation,
                                                                  dealing in all contracts .
                 Defendants-Appel lees .

                        No . 95-5960.                             ICI Contracts $168
                                                                  95k 168 Most Chid Casts
                       April 30, 1998 .
                                                                  Under Massachusetts law, implied covenant of good faith
Franchisee brought action against franchisor and related          and fair dealing requires parties to contracts to deal honestly
companies, alleging that establishment of competing               and in good faith in performance and enforcement of their
business in same airport market violated franchisor's duties      agreements, and to refrain from impairing other party's right
to franchisee . The United States District Court for the          to receive fruits of contract .
Northern District of Georgia, No . 1 :93-cv-1868-ODE,
Orinda D . Evans, J ., granted summary judgment for               151 Contracts f~z7168
defendants. Franchisee appealed . On petitions for rehearing,     95k 168 Most Cited Cases
                                                                  Under Massachusetts law, covenant of good faith may not
the Court of Appeals, Birch, Circuit Judge, held that : (I)
                                                                  be used to rewrite or override express terms of contract .
material issue of fact as to whether franchisor violated
implied duty of good faith and fair dealing in establishing
                                                                  (6/ Federal Civil Procedure $~2A92
competing business precluded summary judgment for
                                                                  170Ak2492 Most Cued Cases
defendants ; (2) material issue of fact as to whether
franchisee received full amount of credit to which it was
                                                                  Evidence that franchisee submitted to show damages was
entitled as result of error by franchisor's reservations          sufficient to defeat franchisor's summary judgment motion
operation precluded summary judgment on billing error
                                                                  on franchisee's claim for breach of implied duty of good
claim ; (3) franchisee could not recover for tonious-             faith and fair dealing ; evidence included affidavits of two
interference with contract and business relations ; (4)           experts and franchise's general manager which described
franchisor could not be held liable for violating
                                                                  trends present in applicable market both before and after
Massachusetts Unfair Trade Practices Act ; (5) material           franchisor began operating competing business in same
issues of fact precluded summary judgment on franchisee's
                                                                  vicinity, and which presented credible theories and
misappropriation of trade secret claim ; and (6) franchisee       measures of damages attributable to additional tetra-brand
was not entitled to recovery under Lanham Act and Georgia
                                                                  competition associated with new business' entry to market .
Deceptive Trade Practices Act .
                                                                  17/ Contracts C~x7312(1)
Affirmed in part, reversed in part, and remanded .
                                                                  95k3l2( 1) Most Cited Cases
Opinion, 130 F.ld 1009, vacated.
                                                                  Franchisor could not be held liable, under Massachusetts
                                                                  law, to inn franchisee for alleged violation of implied
                      West Headnotes
                                                                  covenant of good faith and fair conduct, based on its
                                                                  decision to require franchisee to drop airport designation
 1 I Federal Courts C`a766
                                                                  from its name, given franchisee's failure to link any
170Bk7GG Most Cited Cases
                                                                  damages it suffered as result of franchisors conduct
Review by Court of Appeals of district court's grant of           concerning name .
summary judgment is plenary, but Court applies same legal
standards that bound district court .                             ISI Contracts X275
                                                                  95k275 Most Cite) Cases




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                     1?9 FCase
                           .3d 13961:01-cv-00313-TWT Document 233                                                Filed 02/02/04 Page 82 of 363
                    45 U.S .p,(1~2d
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                    (Cite as: 139 F                   k,eekly" Fed C
                                    .3d 1 ~ 96) '                    l3R7
                                                                                                                                                                                Page 2


                   Under Massachusetts
                                            lain, Parts,
                   i's contractual discretion in         10 agreement may not use
                                                  bad Faith .                                                 (131 Contracts
                  191 Contracts                                                                               9i{; ;?_(3) ,\,licit e321(3)
                                   p31z~3)                                                                                         Cited (-'asec
                 95A32?(3) Nest C,,,,,                                                                                                       ,
                                                    Cases
                                                                                                                         Franchisee could
                     Franchisor could                                                                                                                not
                                             not be held                                                                 intem,plii,n Op it'.               recover from
                    good faith and                          liable for breach                                            presented evidence        reservations                    franchisor for
                                          fair dealing,                           of covenant op                                                                    services
                   on allegation that                  8. under Massachusetts                                                                     that it stopped ,naAIng when franchisor
                                                                                       ~a",,                                      purer softu"
                   favored fi'anchi,uNsits reservation agents                                                           indemnity clause are problem, parties'                   reservations du
                  franchisee's operation             new                                      nsystematicallyosed                              providing that                 contract containe
                                                              Operation o~~ r                                           liable   for system                                                    h`'
                                                  when fielding                       Competing                                                                   franchisor could not
                 franchisee's failure                                  customer                                        present                   interruptions, and                         be
                 connecting damages to provide any evidence calls given                                                           alternative.
                                                                                                                                                actionable theo ry         franchisee failed
                                                                                                                                                                                                 to
                                                 (o   claim,                          or  .~heoq~                                                                      for intem,ption
                demonstrappg that                               and franchisor's                                       (I4(Torts          ,16                                             .
                franchisee                     number      of reservations              evidence                      ; 7Ik 16 ,blurt
                                    increased in                                 obtained for                                            Cited C~a,e,
                operation opened .                       every year
                                                                          after franchisor's
                                                                                                                      Under Georgia
               ~10f Evidence Q                                                                                                            law, Operation
                                                                                                                     same vicinity as                        of corn e~
               157A150,Host Cited                                                                                    to franchisor         franchisee's businessp ~g business with
                                              C~,~,                                                                                    was                             by
                                                                                                                     was nut turtious subject to competitive Privilege      companies ,.elated
              /10/ Evidence                                                                                         law ; franchise         interferenceadc                           and thus
                                                                                                                                                            with con tract
              I57k317~Z~ M~~~ ~~~~ed                                                                                                     agreements made                       under Georgia
                                             '7(2)
                                                Cases                                                               franchisee      sere not                     clear   that fra nChisor
                                                                                                                   b usiness in                   engaged in                                 and
             Franchisee's 2,99                                                                                                     market at issue,                 partnership to
                                       test calls to                                                               drcumstances                        and no evidence                  pursue
            conducted to show                          franchisor's resen"                                                              indi cating that                      showed unique
            favored franchisor's that franchisor's agents                     ation systemem,                     confidential or fiduciary                  parties intended
                                                                                                                                                                                    to create
                                           compet ;g business, operating syst                                                                     relationship,
           against hearsay,                                           did not violate                             its) Torts p
                                        even though                                       rW~                                          1z
           anything approaching                              they did nod                                         37ykIi M,>st cited
           Ev~d .Rule 801(c)                      scientific                     cons4tute                                                 Cascs
                                     . (d)(?~(p).                  surve -       Fed .Rula,
                                                     2R U. S. .C.A .      y                                     Under Georgia
          111] Contracts                                                                                                                law , neither
                                                                                                               nafs[see nor
         95k3?1(2)A1ost(;te                                                                                                          parent comp aany  y uf              agreements with
                                         d Cases                                                                            in contracts                   of those
                                                                                                             thereunder,                       andP was bound Panics, which had
         (II J Evidence                                                                                                         could Iortiously                      by duties
                                  p                                                                                                                 interfere with                  implied
         157k571(if) ) C;~571(1(1)                                                                                                                                     those contracts
                               "03t Cited Case;                                                            ~161 Trade Regulation                                                        .
                                                                                                          . Y2k35., .1                         ~g62     .1
        Franchisor could                                                                                                      Ma,t Cited Cases
       theory of breach not be held liable to
                                   of irn P ~;ed                   franchisee under                      Franchisor was
      dealing, hared                             covenant                                               ~~ ,                           Ge~fli~ble ~o
                                   on claims that"'of of good p~~~~~ and fair                           competition Under n~[ gi ;,                           franchisee (or
      operations improperly                                                                            and                                         law, based o~                    unfair
     sensitive                            supplied confidential,            reservation                            exploitation                                       its alleged abuse
                          infonnatwn about                              ;Onopeddvely
                                                                        ,                             ofevidence of unique           of'conFdential    relationship, given
     hanchisor' s competing                           &anchi,er', Operations ~~                      ~a~ ~,~rties                          circumstances suppon,n6                absence
     show evidence                       but;ness, g; ven                                                                      intended to ere;~te
                                 of damages                   franchisee's failure                  relationship .                                                           Proposition
    expert's concluspry                          suffered as                           to                                                                confidential or
                                                                  result of breach ;                                                                                            fiduciary
    of                               statement that
           "formation                                    competing     nuy ;ness' use             (f7/            Torts
             ne~'maged
    insufficient           to                    franchisee's operation                           ;79k1p(3) OP-110(3)
                                        jury, to                                   was                                            Cited Cases
                                                    distinguish between losses
  17OA1Qincrease infra-brand                                                    losses          Evidence [ha[
                                       competition .                 due Simply ~o             ru meet or franchisor s
                                                                                                                             bead fianchisee
  1~1~ Federal                    pr                                                          resen,~a~;~~S at                                    :s rateshotel operation offered
                                                                                                                                              competing
                 in-19~ (~~i~tt Procedure
                                       Ca       p~z,~yZ                                                                        franchisee's facility           when guess
                                                                                                                                                                                   with
                                           s~t                                                                                                          mistakenly
                                                                                             interference with support franchisee's claim arrived of its
 Material issue of                                                                                                               its business                           for tortio,~s
                               fact as to whether                                                                                               relations
 amount Of credit                                       franchisee received                 HS) Torts                                                       wi th
                              to which it was                                    full
franchisor's                                     entitled as result                         ;79k I 0(l ) :\7ust
                         reservations operation                        of error by                                             Cited C .,r,
judgment for ft-                                          precluded
                           nnchisoron billing                            summa
                                                                         summary
                                                  error                                    To establish
                                                                                                                          claim
                                                                                           relations, Georgia for tort;uus interfere
                                                                                                                                  law requires                nee
                                                                                                                                                   plaintiff to with business
                                                                                                                                                                   Offer evidence


                                              C°Pr~ ((>' West 2004 No
                                                                               Claim to prig .
                                                                                                    U .S . GorL
                                                                                                                    Works
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that defendant acted improperly and that those acts induced             Massachusetts Unfair Trade Practices Ac[ applied only to
breach of contract or prompted third party to discontinue or            cases    involving    practices occurring   primarily and
fail to enter anticipated business relationship .                       substantially within Massachusetts, franchisor bore burden
                                                                        of establishing that its conduct fell outside Aces reach .
1191 Torts X10(3)                                                       M .G .LA . c . 93A, v 11 .
379k10(3) Most Cited Cases
                                                                        1241 Federal Civil Procedure X2515
Given absence of evidence that franchisee's guests cancelled            170 .Ak251 > Must Cited Cases
their reservations due to alleged wrongful activity of
franchisor and its related companies in support of                      Material issues of fact as to whether confidential
franchisor's competing business, including omission of                  information that franchisee disclosed to franchisor was trade
airport designation from franchisee's operation in national             secret and whether franchisor misappropriated              that
advertising and reservation system, bias in reservation                 information precluded summary judgment for franchisor on
system, and misuse of franchisee's confidential information,            franchisee's misappropriation of trade secret claim under
franchisee could not establish claim under Georgia law for              Georgia law . O .C .G .A . $$ 10-I-761(L 2, 4), 10-I-763 .
[ortious interference with its business relations with its
guests based on such activities .                                       1251 Torts X10(5)
                                                                        379k 10(5) Most Cited Cases
1201 Torts C" a15                                                       or
379k I S Most Cited Case ;
                                                                        To support claim for misappropriation of trade secrets under
Franchisee could not recover for tortious interference with             Georgia law, plaintiff must show that (I) it had trade secret
prospective business relations, under Georgia law, based on             and (2) opposing party misappropriated trade secret .
claim that hotel franchisor's improper conduct cost                     :1 » 10-1-761, 10-1-763 .
                                                                        QC-G
                                                                        .
franchisee guests who otherwise would have stayed at
franchisee's facility, given franchisee's failure [o identify           1261 Torts Ca28
causal connection between alleged tortious activity and                 379k2R Most Cited Cases
interruption of any particular business relationship by
presenting evidence to distinguish between guests who                   Whether particular type of information constitutes trade
chose not to slay at franchisee's facility due to franchisor's          secret under Georgia law is question of fact . QCG_A . §
misconduct and those who chose not to stay at franchisee's               10-1-761(4) .
facility for other reasons .
                                                                        /271 Torts e~10(5)
1211 Torts X12                                                          379k 10(i) Most Cited Case ;
379k12 Most Chid Cases
                                                                        Not all confidential information rises to level of trade secret
Under Georgia law, plaintiff claiming tortious interference             under Georgia law. O.CG.A . In-1-761(4) .
with prospective business relationships need not identify
particular disrupted contracts to recover .                             (281 Trade Regulation X862 .1
                                                                        382kRfi2 .1 Most Cited Case,
/221 Trade Regulation 5862.1                                            Franchisor's competing hotel was franchise property located
J8=kR6- .l Most Cited Cases                                             in vicinity of Atlanta airport, and therefore its use of
                                                                        franchise name and airport was literally accurate, precluding
Franchisor could not be held liable for violating                       franchisee's recovery, under Lanham Act and Georgia
Massachusetts Unfair Trade Practices Act, which applied                 Deceptive Trade Practices Act, on claims based on
only to cases in which challenged practices occurred                    competing hotel's use of such terms . Lanham Trade-Mark
primarily and substantially within Massachusetts, given that,           Act, §-03(a), 15 G .S .C . .A . j 11 2~(a); O.C .G .A . fi 10-I-372 .
although acts complained of might have been contemplated
at franchisor's Boston headquarters, acts occurred outside              1291 Trade Regulation X544
Massachusetts and complainant felt "sting" of any deception             332k54-1 Must Cited Cases
outside Massachusetts . P1 .G .L .A . c . 971 . ` I I .
                                                                        Licensee may        not    sue   its   licensor    for   trademark
1231 Trade Regulation C~864                                             infringement .
3S2kRG4 Most Cited Cases
                                                                        1301 Trade Regulation k~33t
As   party   seeking   to    rely   on     statute   providing   [hat   ;32k331 Most Cited Cases




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Lanham Act plaintiff must have rights in name a[ issue to         opinion entered December 11, 1997 and published at 130
seek protection . Lanham Trade-Mark Act, § 43(a), Ii              F .3d 1009 is vacated . The following opinion is entered in
U .S .CA . § 1125(x) .                                            lieu thereof: [FN 1 ]

1311 Trade Regulation X404                                                  F\ I . On petition for rehearing, appellant
382k404 Most Cited Cases                                                    Camp-Creek argues that our earlier opinion
Franchisee failed to establish claim that franchisors                       overlooked evidence in support of their claims for
competing hotel engaged in "reverse passing off," in                        tomous interference with contract . We agree, but
violation of Lanham Act, given absence of evidence                          note that our oversight does not affect the outcome
showing that competing hotel sold franchisee's product .                    of the case .
Lanham Trade-Mark Act, § 43(x), I i U .S .C .A . § 1 12i(a) .
                                                                                    *1400 INTRODUCTION
X32/ Implied and Constructive Contracts X55
?OSHk55 Most Cited Cases                                          Camp Creek Hospitality Inns, Inc . ("Camp Creek") appeals
                                                                  the district court's grant of summary judgment in favor of
Franchisee could not recover from franchisor on grounds           Sheraton Franchise Corporation, ITT Sheraton Reservations
that franchisor unjustly enriched itself by compering with        Corporation, Sheraton Savannah Corporation, and the ITC
franchisee in particular market ; existence of legal contract     Sheraton Corporation (collectively "Sheraton"), [Fti2]
precluded recovery for unjust enrichment .                        arguing that genuine issues of material fact remain with
                                                                  respect to each of it claims . Camp Creek also appeals the
1331 Implied and Constructive Contracts X55                       district court's decision to dismiss its motion to compel
-O5Hk>> Most Cited Cases                                          discovery as moot . We affirm in part and reverse in part .

Recovery on theory of unjust enrichment is only available                   FN? . Sheraton Franchise Corporation ("Sheraton
when, as a matter of fact, there is no legal contract .                     Franchise"),      ITT     Sheraton      Reservations
                                                                            Corporation     ("Sheraton     Reservations"),   and
1341 Federal Courts X914                                                    Sheraton     Savannah      Corporation    ("Sheraton
170Qk914 Most Cited Cases                                                   Savannah"), are affiliated with or wholly- owned
Reversal of grant of summary judgment on plaintiffs                         subsidiaries of the IT"C Sheraton Corporation ("ITT
request for permanent injunctive relief under Georgia law                   Sheraton") .
was required due to district court's erroneous application of
standard governing temporary injunctions . O.C .G . A.              I J Our review of the district court's grant of summary
9-5-I .                                                           judgment is plenary, but we apply the same legal standards
"1399 Robert A. Rardeit, Stefan E. Ritter, Hicks, Maloof &        That bound the district court . See Bnrlield v. IIriertori, 88?
Campbell, Atlanta, GA, for Plaintiff-Appellant .                  F2d 923, 9 ;3-±4 (11 ti Cir .1939) . The purpose of a motion
                                                                  for summary judgment is to "pierce the pleadings and to
Patricia B . Cunningham, John HoK" ard Fleeting, Sarah            assess [he proof in order to see whether [here is a genuine
Blakemore Estes, Sutherland, Asbill & Brennan, Atlanta,           need (or trial ." Mulsiuhilu Elet . lndue . Co . v . Zenith Rudio
GA, for Defendants-Appellees .                                    Curp ., 475 U .S . i7d, 587, 106 S .CL 1348, 1356, 89 L .Ed .2d
                                                                  S ;R (I9R1,1 . A dispute over an issue of material fact is
Appeal from the United States District Court for the              genuine if the evidence would permit a reasonable jury to
Northern District of Georgia.                                     return a verdict for the party against whom summary
                                                                  judgment is sought . See Anderson v. Lihcrm Lobbc . tic. .
Before BIRCH and CAR\FS, Circuit Judges,                   and    477 U .ti . 242, -48 . 106 S .Ct . 1_505 . 2510, 91 L .Ed.2d 202
MICHAFI, [FN*J, Senior District Judge.                            ( 1986) . In reviewing the district court's grant of summary
                                                                  judgment we must review the evidence and all reasonable
          P\'" Honorable James Michael, Senior U .S .
                                                                  factual inferences in the light most favorable to the party
          District Court Judge for the Western District of
                                                                  opposing the motion . See H''elch r . Cclolcx Corp ., 951 F2d
          Virginia, sitting by designation .                       1235, 1237 (I Idi CirJ993) . If, however, the evidence of a
                                                                  genuine issue of material fact is "merely colorable" or of
            ON PETITIONS FOR REHEARING
                                                                  insignificant probative value, summary judgment is
                                                                  appropriate . See Liberlr LoGbp. Inc ., 4?" U .S . at 249-J0,
QIRCI i . Circuit Judge:
                                                                   106 S .CL al 2511 .
 Defendant-appellee's petition for rehearing is denied .
                                                                                         BACKGROUND
 Plaintiff- Appellant's petition for rehearing is granted . Our
                                                                  In   September    1990, Camp Creek entered a          series of




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agreements with Sheraton that authorized Camp Creek to          recovered some credit for the billing error .
establish and operate a Sheraton Inn franchise (the "Irm")
approximately 3.5 miles west of the Atlanta airport. Camp       In March 1992, Sheraton began to consider acquiring a hotel
Creek entered into a License Agreement with Sheraton            property, then operating under the Hyan flag, in the vicinity
Franchise that permitted Camp Creek to operate its properly     of the Atlanta Airport . Sheratons interest was apparently
under the Sheraton name in exchange for the payment of          sparked by Hyatt's willingness to sell the property at a
various franchise royalties . The License Agreement required    substantial discount . Various members of ITT Sheraton's
Camp Creek to enter a separate contract with Sheraton           staff evaluated the proposal, both at their corporate
Reservations that permitted the Inn to participate in           headquarters in Boston, Massachusetts and in Atlanta,
Sheraton's nationwide reservations system (the "Reservatron     where they traveled to study competitive properties . The
system") for the payment of additional associated fees .        evidence, viewed in the light most favorable to Camp
Camp Creek's participation in this system allowed               Creek, shows that ITT Sheraton's representatives did not
Sheraton's agents to accept reservations on the Inn's behalf    visit the Inn to evaluate whether the new hotel would
using occupation and pricing data that Camp Creek supplied      compete against the Inn ; similarly, ITT Sheraton's internal
to Sheraton Reservations .                                      evaluations of the project did not seriously consider the
                                                                competitive harm that might befall the Inn if the property
Camp Creek was not the only Sheraton property in the            converted to the Sheraton flag. The appellees maintain that
vicinity of the Atlanta airport in 1990 ; the Sheraton Hotel    they never viewed the Hyatt property as a threat to the Inn
Atlanta Airport (the "SHAA"), another franchisee, already       because Sheraton expected the property's connection to the
served that market . Although Sheraton distinguishes            Georgia    International   Convention Center to attract
between inns (mid-price properties) and hotels (higher-end      predominately group business .
properties) within its own system, Sheraton's concerns about
potential customer confusion led to some disagreement over      The evidence also suggests that at least one of the ITT
the Inn's name . Camp Creek, which wanted to confirm its        Sheraton employees working on the Hyatt acquisition may
presence near the airport in the minds of potential guests,     have viewed the Inn and the SHAA as potential obstacles to
sought a name that would include an "Atlanta Airport"           the project's success . David Proch-Wilson, who was
designator . The License Agreement, however, gave               primarily responsible for the acquisition, prepared a series
Sheraton Franchise control over the name and, to avoid          of documents that indicated a desire, first, to eject both
confusion among Sheraton customers, the parties agreed          franchises from the Sheraton system, alternatively, to
upon the "Sheraton Inn Harlsfield-West, Atlanta Airport."       convert the SHAA to an Inn if it elected to remain a
Although there is evidence to support Sheraton's contention     Sheraton franchise, and finally, to require Camp Creek to
that Camp Creek initially was happy with this designation,      change     the  Inn's    name    back   to  "Sheraton    Inn
by early 1992 Camp Creek had begun to ask permission to         Hansfield-West ." Indeed, in February 1993, Sheraton
change its name to "Sheraton Inn Atlanta Airport," based on     Franchise informed Camp Creek that the Inn's name would
its contention       that  travelers   did    not   associate   be changed to "Sheraton Inn Hartsfield-West," citing
"Hartsfield-West" with the airport. Sheraton Franchise          customer confusion between the two Sheraton franchises
agreed to the change in the Inn's name with the express         already in the area . In the same month, Sheraton Franchise
reservation that the decision was subject to reconsideration    offered the SHAA the opportunity to reclassify itself as an
should the change create customer confusion .                   Inn in the Sheraton system .

In 1992, Camp Creek experienced two problems in                 Camp Creek immediately protested the change in its name .
connection with        its participation  in   the   Sheraton   In correspondence to Sheraton Franchise, Camp Creek
Reservation system . First, *140t Sheraton's representatives    demanded evidence of customer confusion and offered to
failed to book reservations for the Inn over a period of time   work with Sheraton to resolve any other factors giving rise
because an error led them to believe the Inn was fully          to confusion . Camp Creek maintained that guests did not
booked . Sheraton Reservations claimed that the problem         associate the "Hartsfield-West" designator with the Atlanta
was rooted in the computer software but refused to provide      Airport and that the change would threaten its business .
compensation or further explanation for the problem . At        Although the evidence on this point is in some dispute,
approximately the same time, Camp Creek received                Camp Creek apparently did not change the Inn's name on its
erroneous charges for reservations that, the parties layer      signs and shuttle vans and continued to answer the phone
discovered, were due to confusion in the American Airlines      using the Atlanta Airport designator . Nevertheless, the Inn's
SABRE reservations system . A stem warning from Sheraton        name did change in the Reservation system and in
Reservations prompted Camp Creek to pay the charges and         Sheraton's nationwide advertising . Sheraton Franchise never
pursue     a  refund .    After  encountering    delays   and   provided documentation of specific instances of customer
intransigence from Sheraton, Camp Creek eventually              confusion and in April 1994 agreed to permit the Inn's name




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                         revers to "Sheraton
                     to                                 Inn Atlanta
                                                                        Airport ."
                     Meanwhile, in
                    acquisition              April     1993, 177                                                     favored the
                    Sheraton              roJe~~l b Y purchasin       Sheraton consu                                                      Ga teway over
                                                                                                                                                               both the SFi .4A
                                        P                                                 mmated ~s                                                                                 and the' lnn
                    began                                                                                           Finally                                                                       .
                        e~ Operatingn~                                  °wner5h    a`                                                Sheraton's
                                                    un~ der these                      ~ hotel ert                 ecouon,~c                                       shows
                              Atlanta q ~                            name                             arid~                           Performance h                           that he
                   The record
                                     suggests on(~              °Ga~ewaY'~)                 Gateway                Gateway         Y opened. eviascconNn ued N improve              t1°^~s overall
                                                                                                                                                                                                 overall
                  pr°pertY in                      that the presence            on May I,                         suggested                                   Creeks                          since the
                                        the Atlanta                          of a third           1993y                                                                  experts, however
                  customer conf                                                                                   no-show and                                   exP                                 ave
                                        union and                        market            Sheraton                                       cancellation
                                                                                                                                            ncellapon
                  decrease in the                         that ~~a,
                                                                  3 rt              caused some                       the        rate                                                 norms ly
                                           growth                 amp                                                                                                that  the
                 higher-end                             uF its business   Creek suiTe
                                                                                         red some                reasonably dProjected, and rsthat it has                             has not
                                                                                                                                                                                                grown
                                  business     .                                                                                        esirable mix                           fa ~d ~~
                 the extend of                    Alth   ough the, patticularly in its                                 panty rates
                                                                                                                 occupancy                                  of  business , so ~~e                    a
                                     th e problem, ~,                 patties cannot                             been substan~               h ave     ~                          that even achieve
                that su                                                                  agree                                                          emained high                           though
                                                                                                     on                                 Tally                               [he ~°n
                fM a~ ~~'S~a number of g~~                          Creek nresented                             entered the                     more                                    would have
                                                                 who had                 evidence                                    market as a Profitable had the Gateway
                dower than t S~yed at the guests        Gatewa               reservations    at                                                       Sheraton
                                                                                                                                                          ~~a~°°   Property.                aY never
                                                                                                                                                                                               nev
                                 he Inn's                                                          th e
               Gatewa                        rates, +~qp2 a~dap gates equivetent to
                               "
                         Y" walk-in" rare .                           Often at rates               or
                                                                                       below the                                                    DISCUSSfON
              Although ITT                                                                                    As an initial
                                     Sheraton had                                                                                     matter'      we note that
              profitable                                                                                      complain' sets                                         CamP Creek's
                             almost                         expected the                                      Claims                    forth a
                                                                               Gakway N he                                                         mynad of s                              amended
                                                               soon became 1                                 on the corm 
             Manager             then(;amw~YplblamedProjection                          that                                             nucleus                        and abe~federal
             Gatew                                                                                                                                                                      law based
                                                                       t ns   Tome Faust,                    the complaint and eSsoffacts                        described
            Sheraton ~' A°~~ Perform                         on
                                                                          least
                                                                                 Part   of    the
                                                                                                            and   vo)q~, ;nous,                    record in this
                                                                                                                                                                       case are
                                                                                                                                                                                hog     Although
                            franchises,                                                                     basic proposition Camp Creek',
           proposed that                       particularly competition
                                                                   the SHE           f
                                                                                     rom     the                                                              allegations           complicated
                                                                                                                                          that
           evidence also Sheraton eliminate                                           and he                                   a competing the defenclarrts, by boll down to the
                                 shows that Faust,                 both hanchises                              crating violated one She raton hotel in theestablishin K and
                                                                                                           market,
           responsible for                                    who had                  . The
                                                                                                          contract,                            or
          Confidential ,             Sheraton                              previously been                                    tort, or both more of e dutiesAtlanta q,                   Airport
          Rese~iSNnfSYstem    competiU velY 2eservations, had                                            franchisee     .        We exam             that a                      (sounding in
                                                    sensitive info                access to                                                                      franchisor o
         used                           concerning the f                ration                           addressing
                                                                                                                  sing Camp C                        these broad                   k'~ to its
         (he fro nchise°fromi°n to                               ar hoses, andfrom
                                                                 ranc
                                                                                     that
                                                                                           the                                           reek's more
                                                                                                                                                           discrete
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                                                                                                                                                                                         before
        never adopted                 the S support his moment                             he           1. The !m
                                                                                                                                    Coy
                                                                                                                                                                     claims for
                                                                                                                                                                                    relief.
                              FausP.s ~. roPoa~~°         system   . S hereto                                                                      of Good
                                                                               n~howevng  er,          (Count' f, ~~~~ If -             A                  ood F
                                                                                                                                                                        and Fair
        The evidence,                                                                                                                                                                 Dealing
       the GatewaYto                                                                                  Camp       Creek
                             coulANe~i e
                             could                                  s                                                                            although
       in fo                                     made u~eek~oftFavor shows that                      A~reeave         contrad,cteda,~        the               Sheraton's
      analysis of r            cu                                                                       6      mend                                   xpress t erms           co ndur~ may
                                              against                                                                           or     k                                 of the
                               stews                                                                        inheless    v                ese~vatIons          Ag                     License
      two Prope rties
     market                  do c pete                 custUlrmanceh'M~  showes that the            deal % that ;~lared e cove                 covenant of reement,                Sheraton
                    8ments . Sheraton            fore                                                                                                             good
                                                       Customers in a                              Massachusetts                       Implicit                           faith and fair
     competitive                                  denies that                number of
                                                                                                   Sherat~n~s                     law. Firs, in every contest
     maintains that se        of   the   Inn  'y                     Faust   made any                               decisio                          Camp                         t under
                                      Y or ~ confidential info                                    the qHants                                                     Creek
    m'g~ h `time, it did                         ;atewaY did               rm ation and                                                                  nd~ohesafe the     argues
                             so on,                               o                              Sec ond, Camp       Airport market breac       1)
             return at highlthoer            attract first-timeff                 n
                                                                                  prices         law                   P 4eek ,
                                                                                                                                                                             Gatewayhn~
                                                                                                                                                                    implied covenant
                                    price, .                          customers who                      does nut                        submits that
   Camp                                                                                         the facts of p~hibit a franchisors even if Massachusetts.
              Creekk                                                                                               this case, ~F ;,7~                      encroachment
                                                                                                to                                            a
  ownSheraton has taken also Presented                                                                     erato~ "S
                                                                                                      Sheraton's                                    ember of acts             relat)ve lo
                              actions to                 elide         that                    inde   Pendent           co              n
                                                                                                                                  "Petition    with                    inndent '14 03
          Property, over  ver the fnn . favor the Gateway, suggests                            We address breaches of the implied                    h camp Creek
                                                                                                                                                                             constitute
  Thai its Resen~                             Althougt,                    Sheraton's                                     each claim i                     covenant ofgo~
                                                              Sheraton maintains                                                                                                   faith .
  Atlanta q;,pOna~~°~s S~m~are din
 agents have             marker       in a rondo YS         the  properties in Use                           F`3. dy e
                    no means by                             fashion and                                                         adopt the tee
                                         Which ~m                            that ~~s                        has evolved
               Ora3~~otels,       Camp                   Chsti^Kidsh                                                               in the cases "encroachment" only
 of malmost
        c~~                                 Creek has                    franchises                          discussing the
                                                                                                             discuss                                and                            as it
                            test calls                       presented                                      temp                       issues beforeacademic commentaryco
d~sP~oportionately                             that suggest                evidence                                is  not                                  as . Out
callers                    list the (
                                         ;ateway as the                the agent                            lack thereofintended ~,~ attribute       ~bute
          inquiring about                                                                                                          to e
presented evidence                resenatio , .                   first choice                                                                                impropriety (orr the
                                                                                                                                            etendants ~ actions
                                                                                  to       A.
                            that Sheraton's Camp Creek also                                    Sheraton'sEstablishmento                                               in thiss ease .
                                                     nationwide                 has
                                                                      advertising         (?J As the L;,e                                   ftheGatewayHotel (Count
                                                                                                                                                                                   1)
                                                                                         corn               rid doesenogreement contains
                                                                                                                                   grant the in,            no  c
                                                                                                                                                       an exclovenant not to
                                                                                                                                                                 usive territory,
                                             Cope. v
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                                                                                                    U.S . Coot
                                                                                                                    Works
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Camp Creek does not contend that Sheraton violated any                     (franchisor did not engage in bad faith by locating
express term of the License Agreement by establishing and                  another franchise outside the one mile "exclusive
operating the Gateway Hotel . Instead, Camp Creek relies- on               territory" granted to the franchisee in the contract) ;
the implied covenant of good faith and fair dealing and                    Pucne c. L1rDonald :~~ Corp., 9~7 F .Supp . 749,
argues that, by establishing the Gateway in such proximity                 754-60(D .MdJ947) (no bad faith when the license
to the Inn, Sheraton denied Camp Creek the fruits of the                   agreement clearly and unambiguously stated that
contract [PN4] Sheraton replies that it did not deny Camp                  franchisee can expect no exclusive territory)
Creek any benefit under the contract and argues that the                   (collecting similar cases) .
implied covenant, as applied by Massachusetts courts, may
not be employed to rewrite the express terms of a contract .               PtiG . The seminal case in this line is Scheek v .
                                                                           Burger King Corp . . in which the district court,
         FNa . Although Camp Creek only entered into the                   applying Florida law, held that language in the
         License Agreement with Sheraton Franchise, it is                  franchise agreement that specifically denied the
         clear from the contract and the nature of the                     franchisee "any area, market or territorial rights"
         relationship, that Sheraton and its affiliates are                did not "imply a wholly different right to Burger
         contemplated in the contract and incurred rights                  King-the right to open other proximate franchises
         and     liabilities under that  agreement .    See                at will regardless of their effect on the Plaintiffs
         e .g.,License Agreement 11 .                                      operations ." 756 F .Supp . 543, 549 (S .D .fla .1991)
                                                                           ("Scheck l ") . The district court found that whether
[ ;][a][9] We note that Massachusetts does imply a covenant                the franchisor had breached the implied covenant
of good faith and fair dealing in all contracts . See Fortune v.           by granting another franchise in close proximity to
National Cash Register Co ., 373 Mass . 9(, 364 N .E2d                     the plaintiffs restaurant was a question of fact for
 1251 . 1256 (1977) (recognizing good faith and fair dealing               the jury . See S'rheck v . Bwger King Carp ., 798
as "pervasive requirements" in Massachusetts law.) This                    F .Supp . 692, 696 (S .D .FIa .1992) ("SchecA l/ ") . As
covenant requires parties to contracts to deal honestly and in             Sheraton points out, the Scheck cases have been
good faith in the performance and enforcement of their                     criticized, ignored, and distinguished in a number
agreements, see Huu1horneS, Inc . v. lforrenmn Reallv,                     of subsequent opinions . See e .g ., Barnes v . Burger
Inc ., 414 Mass . ?00 . 606 N .G2d 903, 914 (1943), and to                 King      Corp.,    932    F .Supp .  1420,    1437-38
refrain from impairing the other party's right to receive the              (S .D .FIa .1996) (rejecting [he Scheck court's reading
fruits of the contract, see Larsnn v . Lat ,snn .             37           of the franchise agreement) . Bud see In re 1'vlcrse
 Mass .App .Ct . 10G . CJfi N .LL2d 1361 . 1i(,8 (1994) (quoting           Enterprises, Inc., 90 F .3d 1472, 1477 (9th
dnlhonr :c Pier four. Inc . L". f1IJC Assoc- 41 1 Mass . 451 .             Cir .1996) (applying the Scheck reasoning to a
 583 N .E1d ROG . S20 (1991)) . The covenant of good faith,                franchise contract silent on the issue of exclusive
however, may not be used to rewrite or override the express                territory) .
teems of a contract . See e.g ., 7.npolhu v. Dairy hart . Inc. .
 3S1 Mass . 294, 308 N .C2d 1370 (1980) (rejecting a               With these broad propositions in place, we turn to the
 franchisee's challenge to its termination pursuant to the         contract in this case . Although '1404 the License
express terms of the franchise agreement) .                        Agreement appears to provide some guidance with respect
                                                                   to the parties' intentions on this issue, the contract, as
Although the parties have brought a great deal of persuasive       executed, says nothing about whether or where Sheraton
authority to our attention, they have cited no Massachusetts       could establish a competing hotel . Paragraph four of the
case that applies the covenant of good faith to facts similar      License Agreement and Schedule B, reproduced below,
to those present here . The great weight of authority on           limit Sheraton Franchise's right to grant additional licenses,
applying the implied covenant of good faith and fair dealing       but only within the site of the Inn. [FN7] This language
to cases of encroachment converges around two fairly               makes it clear that Camp Creek had no contractual right to
simple propositions : (I) when the parties include contract        expect the Sheraton Franchise to refrain from licensing the
language on the issue of competing franchises the implied          Sheraton name to additional franchises beyond the site of
covenant will not defeat those terms ; [Fti5] and (2) when         [he Inn. Cf. Quality Bins 1nt7, Inc. v. Dollar Inns of Amer.,
there is no such language the franchisor may not capitalize        Inc., [ 1992-93 Trans£ Binder] Bus. Franchise Guide (CCH)
upon the franchisee's business in bad faith. [FN(] See             T 10,007 at 23,184 (finding that a non-exclusive franchise
Piuurers v. Pepperid.Kr Furm, lm~., 875 F.Supp. 929, 937-40        agreement implies the possibility of other franchises ). By
(D .-Mass . 1995) (describing the trends and collecting cases) .   the express terms of the contract, therefore, Sheraton could
                                                                   have authorized a competing franchise directly across the
          FK5 . See, e.g ., Cuuk v . Little Caesar Enterprises .   street from the Inn, and Camp Creek would have little
          Inu ., 972 F .Supp . 400, 409 (F .U .blich .l997)        recourse. See Piantes. 875 F.Supp. at 937-40 (relying on




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        express language in
                                  a contract to reject
        iniPlied covenant of good                           a claim based
        Shrnamrr! Buitk,                   faith under Massachusetts on the                         the Licensee .
                                       l~b.t "rrrax, 34 A4ass                  law) ;
        N.E2d 925, 929                                           .,4pp .CL 3U . 60G                             at had the parties
                               (1993) (rejecting a claim                                            meparagraph                    retained this provision
       implied covenant of                                                                                  r
                                     good Faith when the based on the                                               four of the Contract
                                                                                                   own argument, it,                      . by
       expressly waived
                              the  protections                       plaintiff had                                      too, would have been Sheraton's
      " lnrericrr'.s l-arorife                      at issue) ; see also                           the site of the !nn                          limited to
                                                                          Clark c .                                      as described in
      Cir .1997j (rejectingClrric6-eye Gb ., I10 f'. 3d 39i, 2y7_yg                                                                         Schedule H.
                                  a franchisee's claim                         (S1h
      Covenant of good faith                                    that the implied                   I'N9. Paragraph
                                                                                                                     nineteen of the License
     Permitting competition   prevents the franchisor                                              contains the following                    Agreement
                            expressly contemplated     from                                                                  merger clause : "There
     franchise agreement) .                                                                       no other agreements                                 are
                                                     in the                                                               or understandings,
                                                                                                  or in writing,                              either oral
                                                                                                                    between the parties
                                                                                                  Agreement . . .,"                       affecting this
                        The License
                provides :                Agreement, as executed
                                                                                        As a result, we
               This license is                                                                                 mast determine
                                  personal to the Licensee                              covenant of good                               whether the implied
               restricted to the operation                        and i s                                     faith and fair dealing,
                                            Of the Inn on the location                 Massachusetts courts,                                as interpreted by
               specified ..  and is to                                                own hotel in the           Permits the Sheraton to
              such activities as        be construed to                                                    same vicinity as the                   establish its
                                  would normally be Permit only                        situation present neither                       Inn. The facts of
                                                                                                                                                            this
              operation of a                            incident to the                alluded to in their            of  the   extremes that the
                                  Sheraton Inn . So                                                         briefs or at oral                          parties
              Agreement is in ef7`ect,                   long as this                 no doubt, for                               argument . There can
                                         the Licensor shaft                                           example, that had
              any other license
                                  authorizing the use
                                                              not gent                                                      Sheraton established its be
              "Sheraton" for hotels                       of the name                                           Tennessee, summary                        owe
                                      motels or inns                                  have been                                            judgment would
             the licensed area                         located within                              appropriate
                                                                                                    PPropriate because no
                                  described in Schedule                               could have found                            reasonable Crier of
             attached .                                      B hereto                                     that Sheraton had                               fact
                                                                                     good faith to Camp +(q05                    violated its obligation
             Schedule B to the                                                                                         Creek.                               of
                                      License Agreement                              face a                                      Conversely, We do not
             "LICENSED AREA[:]                                  states :                     circumstance in which Sheraton
                                       Site only.-                                   competing hotel directly                        chose to establish
                                                                                                                      across the street                    its
                                                                                     Creek's Inn .                                             from Camp
   Sheraton, however, did                                                                           Moreover, this case
                              not establish such                                    easy resolution                           does not
   case; instead it
                    purchased and operated
                                                  a franchise in this                                   under the Massachusehs lend itself ~~ an
   own behalf. Although                         the Gatex"ay on                     against plaintiff,                                    cases that hold
                             the standard forth                    its                                    who argue that the
   Sheraton used in ts                           license agn;ement                  requires the defendant                              implied covenant
                         negotiations with                                                                       to protect the
   language addressing                       Camp Creek contains                   beyond any measure                                 plaintiffs interests
                                                                                                              of commercial
  the franchisee, the Sheraton's ability to compete against                        ~~~h ~~~t=d nt 13'S                            reason . See 7.apQt/,.
                       parties                                                     on the implied          (reversing judgment
  contract . (FNg] Although deleted that language from their                                          covenant of                      for plaintiff based
  the deletion, the             the parties contest                                evidence that the                  gpOd faith when there was
                      fact remains that              the reason for                                      defendant "failed to                            no
  License Agreement                          the fully                            commercial standards                               observe reasonable
                        I F'~'9) is not ambiguous         inleg,ated                                         of fair dealing in
 silent on the issue                                 ; it is simply               This case presents                                the trade") . (pN;li)j
                       of whether or where                                                                 a different
 affiliates can establish                                                         reasonable people could                  situation, one in
                                                 Sheraton and its                                                  differ over whether              which
 Inn . Sheraton's           properties that compete                               conduct, given all the                                       Sheraton's
                  argument that the site-only           against the              duty ~f good faith          facts  and  circumstances, violated
outcome of this case,                            term dictates the                                     and fair dealing .                              the
accept either party's therefore, is unavailing . Nor will we                                                                I F'NI I ) See /R,-~.
                       invitation to imply                                                                      a result,
the contract to decide                        such language into                 inappropriate . [Ft~~IZ~As                  summary .judgment is
                        the issue.

          FNK . The deleted provision                                                                     lthqm Prof., Inc . v.
                                              of the License                                 ( 985-3ti ra
                                                                                                        ransf. Binder]          Nutri/System, Inc .,
          Agreement stated :                                                                                              Bus . Franchise
                                                                                            (CCH) 1 8479,                                    Guide
         The absolute and                                                                                      at 15,917 (D
                               unrestrited right                                            example, the franchisee              .Mass .1985), for
         reserved to Sheraton                       however is
                                or any' subsidiary                                          the implied duty          unsuccessfully argued
         of Sheraton to                              or affiliate                                                 of good faith                that
                          own, lease, manage,                                              franchisor to extend                      required the
         Otherwise be interested in any            operate,   or                                                       funds to replace
        any kind in said licensed        inn, motel or hotel                               contribution of a recrntly                          the
                                                              of                                                         defunct franchise to
        name "Sheraton"              area operated under                                  Joint-advertising fund so that                         a
                           or otherwise, either              the                                                           the other franchisees
                                                                                           would not have to
        for its own account                        exclusively                                                    increase their
                             or in
       The rights of Sheraton conjunction with others . .. .                              Similarly, in Cur~rccin
                                                                                                                    v, Lowel! Five contributions .
                                 or an afFliate to                                        R~mk, 41S Lass . I ii,                       cents Sat.
       the resvicted area
                              as above set forth operate in                               the court dismissed 612 N,6 .2d 650, 655 (1993),
       exercised regardless                           may be                                                     a claim that the
                              of any competitive                                         good faith, implied                        covenant of
                                                     effect on                                                in
                                                                                         a bank to refrain a mortgage contract, required
                                                                                                               from
                                                                                                                         granting the Plaintiffs


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         husband a second mortgage on property they               [7][h] The district court granted summary judgment on
         owned as tenants by the entirety . Ho reasonable         Camp Creek's claim that Sheraton's decision to require the
         Crier of fact could have found a violation of good       Inn to drop the "Atlanta Airport" designation from its name
         faith in either case .                                   violated the implied covenant of good faith and fair conduct .
                                                                  Paragraph five of the License Agreement expressly gave
         FN H . We note that the parties have presented a         Sheraton the right to approve or disapprove of the Inn's
         great deal of conflicting evidence on Sheraton's         name . Moreover, as Sheraton points out, when it initially
         intentions toward the Inn, which they argue              gave the Inn permission to change its name to the "Sheraton
         supports the presence or absence of bad faith .          " t406 Inn Atlanta Airport" in 1992, it reserved the right to
         Camp Creek's evidence concerning a number of             reconsider that change should any customer confusion arise .
         specific "bad acts" supports an inference of bad         As we noted above, however, a party to an agreement may
         faith that is sufficient m withstand Sheraton's          not use its contractual discretion in bad faith . See .tnthony's
         motion for summary judgment . See infra Part I(B) .      Pier Four. 583 N .E .?v at 820-21 (finding a violation of
                                                                  good faith when the defendant used its contractual
         PN12 . This is not to say, however, that Sheraton        discretion to exact financial concessions from the other
         can never avoid a trial on the issue of its good faith   Party)
         when it seeks to open a new hotel near any of its
         franchisees ; Sheraton need only include (or refrain     Nevertheless, we must affirm the district court's decision on
         from limiting and deleting) clear language               this particular claim because Camp Creek has failed to link
         reserving its right to compete against its               any damages to Sheraton's conduct regarding the fort's
         franchisees in its License Agreements .                  name. Although Camp Creek's experts have provided
                                                                  general allegations of lost business, they have not made any
t6J Sheraton further urges, that regardless of whether a          attempt to isolate the damages that Camp Creek suffered as
reasonable jury could find a violation of their duty to Camp      a result of the name change from the damages the Inn
Creek, summary judgment is nevertheless appropriate               sustained from additional competition in its market. Camp
because Camp Creek has failed to show damages. In support         Creek's evidence on this claim, therefore, while probative on
of this argument, Sheraton emphasizes that the Inn has been       the issue of Sheraton's intent and any bad faith, cannot
more profitable every year since the Gateway opened . Camp        sustain an independent claim for breach of the implied
Creek, however, has presented evidence of damages through         covenant . [FN 131
the affidavits of two experts and the Inn's General Manager.
These affidavits describe a number of trends present in [he                FN 13 . Camp Creek has presented evidence that
market for hotel rooms in the Atlanta area, both before and                shows that David Proch- Wilson, the Sheraton
after Sheraton began operating the Gateway, and present                    employee in charge of acquiring the Gateway
credible theories and measures of damages attributable to                  Hotel, first sought to eject both the Inn and the
the additional infra-brand competition associated with the                 Hotel from [he Sheraton system and then, on
Gateway's entry to the market . We hold that Camp Creek's                  December S, 1992, suggested that Sheraton could
evidence is sufficient to withstand Sheraton's motion for                  solve its concerns about the Inn by changing its
summary judgment on this claim.                                            name ; on January 26, 1993, Proch- Wilson
                                                                           requested the Inn be notified of such a change .
B. Sheraton's Specific "Bad Acts" and the Implied Covenant                 Although Sheraton claims its decision on February
of Good Faith (Count II)                                                   2, 1993, to require the Inn to drop "Atlanta
                                                                           Airport" from its name was motivated by customer
 In addition to the broad allegation that Sheraton breached its            confusion regarding the preexisting "Sheraton
 implied duty of good faith by competing against the Inn,                  Hotel Atlanta Airport" and has presented evidence
 Camp Creek makes specific additional claims based on                      that Proch-Wilson had no influence over the
 discrete incidents that occurred in connection with that                  decision, Camp Creek has raised issues of material
 competition . None of these claims standing alone, however,               fact regarding Sheraton's intentions.
 survive scrutiny because Camp Creek has failed to present
 evidence of damages connected to these bad acts . As we                               2 . Playing Favorites
 discuss below, although many of the acts in question may be
 probative on the issue of Sheraton's good or bad faith in        [9][10] Camp Creek maintains that Sheraton Reservations
 connection with Count I of the complaint, these acts, even       committed a number of breaches of both the express terms
 considered in tandem, do not give rise to a claim for breach     of the Reservation Agreement and the covenant of good
 of the implied duty of good faith.                               faith and fair dealing implied in that contract . Camp Creek
                                                                  argues that it has presented evidence to show that Sheraton
                      l . The Name Game




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Reservations agents systematically favored the Gateway             this evidence, between losses the Inn suffered because of the
Hotel over the Inn when fielding customer calls . Although         improper use of its confidential inFormafion and those due
no provision of the Reservations Agreement specifically            to the simple increase in infra-brand competition . See
addresses this issue, it is clear that the conduct Camp Creek      l,iher[p Labbv, lair . . 477 U .S . at 2-19-50, 106 S .Ci . at 2511
has alleged would deprive the Inn of the benefits of the           (summary judgment appropriate                when non-movant's
contract (i .e . reservations) and therefore breach the covenant   evidence is "merely colorable") . Accordingly, we affirm the
of good faith inherent in that agreement. Again, however,          district court's grant of summary judgment in favor of
we affirm the district court's decision to grant summary           Sheraton on this issue . [FN 15]
judgment on this claim because Camp Creek has failed to
provide any evidence or theory to'connect any damages to                    FN 15 . This is not to say that Camp Creek may not
this particular claim. Sheraton, on the other hand, has                     present its evidence on this issue at trial, as it is
presented evidence to demonstrate that the number of                        plainly probative on the issue of whether Sheraton
reservations the Inn received through the Reservatron                       acted in bad faith towards its franchisee .
system actually increased in every year after the Gateway
opened . As a result, Camp Creek's claim for a breach of the       C. Billing Disputes (Count X-A)
implied covenant must fail [FN 14]
                                                                   [12] Next, we consider Camp Creek's claim that Sheraton
         FN 14 . Once again, Camp Creek should be able to          Reservations breached the Reservations Agreement by
         use its evidence of favoritism on remand to anempt        over-billing the Inn in connection with reservations made by
         to demonstrate Sheraton's alleged bad faith.              American Airlines' SABRE reservations system . The parties
         Although Camp Creek's 289 test-calls do not               do not contest the error, nor do they dispute that Sheraton
         constitute anything approaching a scientific survey,      Reservations eventually corrected the problem once Camp
         we note that, contrary to the district court's opinion,   Creek brought the matter to its attention . What remains in
         it does not violate the rule against hearsay. See         dispute, however, is whether the Inn received the full
         Fed .R .Evid. SUI(c) (defining hearsay as testimony       amount of credit to which it was entitled . Camp Creek
         offered for the truth of the matter asserted);            presents deposition testimony of the Inn's general manager
         Ped.R .Evid. 301(d)(2)(D) (excluding statements           to the effect that Sheraton Reservations should have credited
         made by an authorized agent from the definition of        the Inn approximately $1,800 more than it received . See 1
         hearsay) .                                                Sunderji Dep . at 202-03 . As material facts appear to be in
                                                                   dispute on this issue, Camp Creek has presented evidence
            3. Misuse of Confidential Information                  sufficient to survive summary judgment .

[I I] Next, we consider Camp Creek's claim that Sheraton           t Il] No issue of material fact, however, remains on Camp
Reservations       improperly      supplied      confidential,     Creek's claim that its reservations service was interrupted
competitively sensitive information about the Inn's                for a period of time . Sheraton Reservations has presented
reservations and pricing structure to the Gateway. The             evidence that it stopped making reservations for the Inn due
evidence shows that Tom Faust, manager of the Gateway,             to a computer software problem. Although Camp Creek
had access to such confidential information regarding the          denies this explanation, it has presented no alternative,
Inn, in breach of Sheraton's own procedures . Although             actionable theory for the interruption . As the district court
Sheraton admits that Faust improperly used the information         correctly noted, paragraph seven of the Reservations
to propose the Inns elimination from the Atlanta Airport           Agreement contains an express indemnity provision stating
market, Sheraton contends that Faust's proposal fell on deaf       that neither Sheraton Reservations nor any of its parent or
ears and that, as a result, Camp Creek can show neither            affiliated companies may be held liable for "THE
prejudice nor damage from this breach of confidentiality . As      INTERRUPTION OR MALFUNCTIONING OF THE
Camp Creek has failed to contradict Sheraton with evidence         SYSTEM, WHETHER BASED ON CONTRACT, TORT
of damages it suffered in connection with Faust's proposal,        OR ANY OTHER LEGAL THEORY ." This provision
we affirm the district court's grant of summary judgment .         establishes that Camp Creek waived any and all claims to
Similarly, Camp Creek has failed to provide sufficient             recover damages for an interruption in the Sheraton
"1407 evidence of damages with respect to its allegation           Reservations system . As Camp Creek has not rebutted
that the Gateway used this misappropriated information to          Sheraton's argument with any evidence or theory that would
restructure its own rates to compete against the Inn.              permit recovery, we affirm the district court's grant of
Although Camp Creek points to a conclusory statement               summary judgment on this issue. See 1fulsrishiln, 475 U.S .
from one of its experts to the effect that the Gateway's use       at 587, 106 S.Ct. at 1356 (holding that once the movant
of the information damaged the Inn, see Berman Aff. at 1           makes a sufficient showing, the non-movant "must do more
 31, no reasonable jury could distinguish, on the sole basis of    than simply show that there is some metaphysical doubt as




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to the material facts.") .                                                   tortiously interfere with those contracts . See
                                                                             SuuiAmerica Pin . v . 160 Peat lit? ee St . 202 Ga . .4pp .
11 . Tortious Interference    with   Contract   and Business                 ?90 . 415 S .E2d 677, 684 (1992)(collecting cases) .
Relations (Count 111)                                                        Moreover, since we have already held That IT'C
                                                                             Sheraton was interested in these contracts and was
Camp Creek also claims that Sheraton tortiously interfered                   bound by duties implied thereunder, see supra note
with its contracts with guests and its business relations . The              4, we cannot now disassociate 11"I Sheraton from
parties agree that Georgia law governs Camp Creek's claims                   the agreements for purposes of the foregoing
for tortious interference . Camp Creek claims that the                       analysis . ITT Sheraton, therefore, is not a stranger
defendants interfered with (I) Camp Creek's License                          to the contracts, and Georgia law precludes a
Agreement and Reservations Agreement; (2) the Inn's                          finding of tortious interference with the License
contracts with its customers; and (3) the Inns prospective                   and Reservations Agreements . Id.
customer relationships .
                                                                    [ 16] At the outset, it is worth noting that simple competition
Camp Creek's allegations of tortious interference with              for guests between hotels ordinarily does not give rise to an
contract and business relationships state two independent           actionable ton claim . See I-/ayes, 541 P .Supp . at 330
but related claims . See Renden, /nc. v. Lihert~~ Real Esitae       (describing the competitive privilege). Camp Creek would
Lid. Partnership 111, 213 Ga .App . 3i±, 444 S .E .2J 31-0, 817     have no basis to complain, for example, if the Marrion
(1994) . The claims share the following key elements :              Corporation established a hotel in the Atlanta Airport area
  (1) improper action or wrongful conduct by the defendant          and began competing with the Inn for customers . Camp
  without privilege; (2) the defendant acted purposely and          Creek argues that its franchise relationship with Sheraton
  with malice with the intent to injure ; (3) the defendant         requires a different result in this case, citing Hnyer for the
   induced a breach of contractual obligations or caused a          proposition that once two entities have agreed to pursue
   party or third-parties to discontinue or fail to enter into an   business together they may not then tortiously interfere with
   anticipated "1408 business relationship with the plaintiff;      each others pursuit of that business . See also DeLnng
   and (4) the defendant's toRious conduct proximately               Equip . Co . v. Washington Mills .46ra.ciror Co., 887 P2d
   caused damage to the plaintiff.                                   1499,     1518-19    ( llth   Cir .19R9)     (privilege   defense
Disaster Services Inc r . ERC Partnership, 228 Ga .App .            unavailable where interference is achieved by violating a
739 . 492 S .E2d 526 (1997) ; see also Sireenev v. Aihrns           confidential relationship) . The Novae court did indeed reject
Rag7,blcd. Or., 709 P .Supp . 1563, 177-7R (D1 .D .Ga .1989)         the invocation of the competitive privilege in a case where
(staling the elements of tortious interference with contract) ;     one of the principals in a two-person partnership contacted
Haves r . Irwin, X41 F .Supp . 197, 429 (N .D .Gx .1982)             his partner's clients in an attempt to discredit him and
(stating the elements of tortious interference with business         deprive him of their business . See Hares. 541 F .Supp . at
relationships) .                                                     430-31 .     A    franchise     relationship,       however,    is
                                                                     distinguishable from the partnership at issue in the Hope ..
A . The License and Reservations Agreements                          case . See Cupitul Furrt Thick Sales . Inc . v. Ford h1olnr Co . .
                                                                     819 F .Supp . 1955, 179 (N .0    .Ga .1992) (collecting cases
[14][15] First, we address Camp Creek's claim that ITT               that find no fiduciary relationship between franchisor and
Sheraton and the Sheraton Savannah tortiously interfered             franchisee) . The agreements establishing the franchise
with the License Agreement and Reservations Agreement.               relationship in this case make it very clear that Camp Creek
A review of Camp Creek's allegations and the evidence                is only one of a vast number of hotels in the Sheraton
reveals that only Sheraton Savannah's role as the owner of           system and that Sheraton and Camp Creek are not engaged
the Gateway Hotel and its competition against the inn can            in a partnership [o pursue business in [he Atlanta Airport
support a claim for tortious interference with contract under        market . [FN17] Moreover, Camp Creek has failed to
Georgia law . [FN16] We must decide, therefore, whether              provide any evidence of unique circumstances that might
Sheraton Savannah's competition in the Atlanta Airport               support the proposition that the parties intended to create a
market constitutes a tort, independent of the parties'               confidential or fiduciary relationship . [FN13] See Allen v
contractual obligations .                                            Hiih Cup Heaven, Ine . . .2i Ga .App . 533, 484 S .E2dv9 .
                                                                     264 (1997) (standard franchise relationship does not present
           FNIG . Camp Creek's evidence of misuse of                 a fiduciary relationship) ; Kiene! r . Cattier . 190 GaApp . 201,
           confidential information, an improper change in the       378 S .F.2d 359, 361 (1989) (no fiduciary relationship where
           Inn's name, and favoritism in the Reservatron             parties' agreement provided for the pursuit of separate
           system implicates Sheraton Franchise, Sheraton            business objectives) . Although we have held that a
           Reservations, and ITT Sheraton .          Sheraton        reasonable jury could find *1409 that Sheraton's
           Franchise and Sheraton Reservations, as patties to        competition against Camp Creek violated the contractual
           the License and Reservation Agreements, cannot




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obligation, between the parties, we decline to convert such a    issue.
claim info an independent claim for ton. We hold that
Sheraton's choice to compete against the Inn was subject to               F\ 19 . It is by no means clear that the reservations
the competitive privilege and was not "improper" or                       at issue constitute a contract under Georgia law .
"wrongful" m the sense used in Georgia's cases on tortious                See Bru«m v. llillan Hotels Corp., 133 Ga .App .
interference with contract . We affirm the district coup's                _S6 . 1.11 5 .1 : .24 I_i . 127 (1974) (Permitting a
grant of summary judgment on this issue.                                  guest to sue for breach of contract when the hotel
                                                                          reused to honor a prepaid reservation) . We need
         FN17 . In fact, paragraph eight of the License                   not reach the question in this case .
         Agreement     expressly  disclaims  any   such
         partnership .                                                    P\20 . Camp Creek admits that it never actually
                                                                          changed the appearance of its vans to comply with
         F'N18 . This conclusion also disposes of Camp                    Sheraton's demand that it change the Inn' s name .
         Creek's claim for unfair competition under Georgia               As a result, the only way Sheraton could have
         common law (Count V), which depends on the                       confused these 300 customers at the airport was by
         argument that Sheraton abused and exploited a                    using its own name in connection with the
         confidential relationship between the parties.                   Gateway.

B . Customer Contracts and Relationships                         [2n][21] Camp Creek's remaining evidence of tortious
                                                                 interference supports only the general contention that
[17f Second, we consider Camp Creek's allegation that            Sheraton's improper conduct cost Camp Creek guests who
Sheraton interfered with the Inn's contracts and prospective     might have otherwise stayed at the Inn . Although a plaintiff
business relationships with its customers. In support of this    claiming tortious interference with prospective business
claim, Camp Creek offers testimony to the effect that almost     relationships need not identify particular disrupted contracts
300 guests with reservations at the Inn actually stayed at the   to recover, Camp Creek has presented no evidence to
Gateway. Camp Creek claims that these guests boarded the         distinguish between guess who chose not to stay at the Inn
wrong Sheraton shuttle van at the Atlanta Airport and, when      as a result of Sheraton's bad acts and chose who simply
they arrived at the wrong hotel, the Gateway knowingly           rejected the Inn because the Gateway presented a more
misappropriated a large percentage of these guests by            attractive (or simply an additional) choice. Camp Creek's
offering them rates below the Inn's reservation rates and        failure [o identify a causal connection between Sheraton's
below the Gateway's "walk in" rate .                             tortious activity and the interruption of any particular
                                                                 business relationship requires us to affirm the district court's
[IR][19] As noted above, Georgia law requires a plaintiff to     grant of summary judgment . See Hares . 541 F .Supp . at 429
offer evidence that the defendant acted improperly and that      ("plaintiff must demonstrate that absent the interference,
those acts induced a breach of contract or prompted a third      those relations were reasonably likely to develop in fact .") ;
party to discontinue or fail to enter an anticipated business    L1cDuniel, 275 S .E .2d at I?G- . i .
relationship. [FN 19] See A1cDnniel v. Green, 156 Ga .App .
549 . 27 ; S .E?d 114. 126-27 (1980) (requiring a causal         III. The Massachusetts Unfair Trade Practices Act (Count
connection between the improper act and the interrupted          IV)
relationship) . Although Camp Creek has presented evidence
that Sheraton engaged in a host of improper actions, none of     [22][23] Next, we address Camp Creek's claim that the
those actions relate to the misappropriation of these (or any    defendants violated the Massachusetts Unfair Trade
other) customers with reservations . Indeed, given that these    Practices Act . See Mass . Gen . Laws ch . 93A (the
customers initially made reservations at the Inn, the            "Massachusetts Act") . As the district court correctly
evidence suggests that any omission of the Atlanta Airport       observed, that statute applies only to cases in " 1410 which
designator from the Inn's name in Sheraton's national            "the actions and transactions constituting the alleged unfair
advertising and the Reservatron system, [FN20] any bias in       method of competition or the unfair or deceptive act or
the Reservatron system, and any misuse of the Inn's              practice occurred primarily and substantially within the
confidential information to restructure the Gateway's rates      commonwealth [of Massachusetts] ." Id . § 11 . Sheraton, as
had no impact whatsoever . The evidence, construed in            the party seeking to rely on this provision, bears the burden
Camp Creek's favor, merely shows that the Gateway offered        of establishing that      its conduct falls outside the
to meet or beat the Inn's rates when these guests arrived at     Massachusetts Act's reach . /d . "2 11
their door . As Camp Creek has presented no evidence that
suggests these guests canceled their reservations at the Inn              FN21 . Camp Creek's suggestion that Sheraton
because of the Gateway's alleged wrongful activity, we                    should not be heard to complain about the
affirm the district court's grant of summary judgment on this             application of the Massachusetts Act because it




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         requires its franchisees to sign agreements                          conflicts of law rules of the slake in which it sits) .
         governed        by     Massachusetts    law    is  also
         unpersuasive . See e.g ., PupkLn r . National Henelit       IV . Georgia Trade Secrets Act (Count X)
         Life     Ins .   CU .,   III    FSupp .   1194,   1200
         (S .D .N .l' .1939) (dismissing a contractual choice of     [24] Camp Creek also asserts that Sheraton misappropriated
         law argument as irrelevant to this inquiry) .               confidential information regarding the Inn in violation of the
                                                                     Georgia Trade Secrets Act ("GTSA") . See QCG .A . §
To determine whether the conduct in a particular case took            10-I-AGO et seq . The record shows that Tom Faust, the
place "primarily and substantially" within Massachusetts,            manager of the Gateway Hotel, improperly came into
the courts have examined : (1) where the defendant                   possession of information concerning the Inn's occupancy
committed the deceptive or unfair acts ; (2) where the               levels, average daily rates, discounting policies, rate levels,
plaintiff was deceived and acted upon the defendants unfair          long term contracts, marketing plans, .and operating
acts ; and (3) where the plaintiff suffered losses caused by         expenses . Camp Creek also presented evidence that Faust
the defendant's unfair acts . See Plav Time, Inc . v. LDDS           used this information to propose the Inns ejection from the
Afefrornedia Communications Inc . 123 Fad 23, ±l Ilst                Sheraton system and that he may have used it to compete
Cir .1997) . In the present case, the second and third prongs        against the Inn for customers .
of the test favor Sheraton, because Camp Creek felt the
"sung" of any deception in Atlanta, Georgia . See Clinton            [25][ .6] To support a claim fur misappropriation of trade
Hnsp . Ass'r7 vc Corron Group, Inc ., 907 F1d 1260, 1266 ( I st      secrets, Camp Creek must show that (I ) it had a trade secret
CirJ990) (applying Bushkin Assoc ., [tic. r . Raytheon Co .,         and (2) the opposing party misappropriated the trade secret .
393 Mass . 622,473 N .L2d 662 (1985)) .                              See generally, DeGiorgin v . :S><ga/ryle /ni'l, Inc ., '_6h Ga .
                                                                     539, 468 S .G2d 367 (1996) (applying O .C .G .A . §y
Camp Creek, therefore, relies on the first prong of the               10-I-7G1, 763) . Georgia defines trade secrets broadly to
analysis and argues that the             appellees acted      in     include non-technical and financial data that derives
Massachusetts because Sheraton made all the plans and                economic value from not being generally known and is the
decisions at issue at its corporate headquarters in Boston .         subject of reasonable efforts to maintain its secrecy . fit. §
Camp Creek's argument, however, overlooks the fact that,              10-I-7G1(A) . [FN24] Whether a particular type of
although Sheraton's contemplation of these acts may have             information *1411 constitutes a trade secret is a question of
taken place in Massachusetts, the acts themselves took place         fact . See Sul.cGun~ Lab . r. Afarieux Lab
                                                                                                            ., 908 F2d 706, 712
outside the Commonwealth . [FN2?] Moreover, the                      ( I Ith Cir.1990) (citing {t7/son r . Burton & Ludwig. 163
proposition that Camp Creek advances would require the               Ga .App . 721, _9fi S .E?d 74 . 78 (19K-1)) . Our review of the
application of the Massachusetts Act in every case involving         record reveals that Camp Creek has provided evidence upon
a Massachusetts defendant, a proposition the courts have             which a reasonable jury could find that the information in
rejected . See Clinton Hn.e/n . 907 F .2d at I?66 (rejecting         this case meets Georgia's statutory definition of a trade
bright line rates) ; Healthco 1nt'(, Inc. v . A-dec, /nc . . No .    secret .
87-0235-S (D .Mass. Apr . 17, 1989) (reading Buchkin to
reject the argument that the Massachusetts Act applies to                     Fti=d . The Georgia Trade Secrets Act provides in
every defendant resident in Massachusetts) . We therefore                     pertinent part :
affirm the district court's grant of summary judgment on this                 "Trade secret" means information, without regard
issue . [FN23]                                                                to form, including, but not limited to, technical or
                                                                              nontechnical data, a formula, a pattern, a
         FN22 . The acts Camp Creek cites include the name                    compilation, a program, a device, a method, a
         change (nationwide), misuse of confidential                          technique, a drawing, a process, financial data,
         information (Atlanta), misleading advertisements                     financial plans, product plans, or a list of actual or
         (nationwide), and preferential treatment in the                      potential customers or suppliers which is not
         Reservatron system (nationwide) .                                    commonly known by or available to the public and
                                                                              which information :
         FN23 . Our application of this express limitation                    (A) Derives economic value, actual or potential,
         found in the Act renders unnecessary any                             from not being generally known to, and not being
         determination of whether a Georgia court, applying                   readily ascertainable by proper means by, other
         Georgia principles of conflicts of law, would apply                  persons who can obtain economic value front its
         the Massachusetts Act at all. See Klayon Co . v.                     disclosure or use ; and
         Sfen(ar Elec . ;LtJg. Co., 313 U .S . 4871 496, 61 S .Ci.            (B) Is the subject of efforts that are reasonable
         1020, 1021, 85 L.Ed. 14?7 (1941) (holding that a                     under the circumstances to maintain its secrecy.
         federal court hearing a diversity case applies the                   O.CQ.A . § 10-i-7613) . We no(z that although the




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         Georgia State Legislature amended this provision                   who :
         in July 1996, the amended language plays no part
         in our decision . Compare .dmeriGas Propane L .P .                 (ii) At the time of disclosure or use, knew or had
         r . T-Bo Propane. Lrc ., 9'2 F .Supp . 685, h9'-y2c                reason to know that knowledge of the trade secret
         (S .D .Ga .1997) (discussing the amendment and its                 was :
         intended effect) .
                                                                            (11) Acquired under circumstances giving rise to a
First, Camp Creek has presented expert testimony                            duty to maintain its secrecy or limit its use; or
suggesting that this information is closely guarded in the                  (111) Derived from or through a person who owed a
hotel industry, that a competitor could not easily derive the               duty to the person seeking relief to maintain its
information though other means, and that a competitor                       secrecy or limit its use ; . . . .
could make use of such information to the detriment of the                  O.C .G .A . § 10-1 : 761(2) .
owner. See Berman Aff. 129. This evidence shows that the
information is valuable and not of the type any intelligent           "Improper           means"     includes   theft,    bribery,
competitor could have compiled by legitimate alternative              misrepresentation, breach or inducement of a breach of a
means.                                                                confidential relationship or other duty to maintain secrecy
                                                                      or limn use . . . .
[27] Second, although Camp Creek did provide the                   /d . ti 10-I-761(1) (emphasis added) . Although we have
information to Sheraton, it provided that information              already held that Camp Creek has failed to show that a
pursuant to the Reservation Agreement and on the                   confidential relationship existed between the parties, the
apparently mutual understanding that it would be kept              evidence shows that Camp Creek provided the data in
confidential . See Sunderji         At7. Exh . C (Sheraton         question to Sheraton Reservations '1412 with the
representative's letter noting that information would be           understanding that its use would be limned and [ha[ it would
"kept in strict confidentiality") . [FN2i] To the extent Camp      be kept confidential . Sheraton contends that it came into
Creek disclosed this type of information elsewhere, it did so      possession of the information by legitimate means, either
on the express condition that it would not be made public          compiling the data itself or receiving it pursuant to the
except as pan of aggregate industry statistics, untraceable to     Reservations Agreement . Although this may accurately
the individual Inn . Whether Camp Creek's efforts to keep          describe Sheraton Reservations' initial receipt of the
the information secret in this case were "reasonable under         information, Sheraton has all but admitted that the
the circumstances" presents a question for the Crier of fact .     Gateway's possession and use of the data, as one of Camp
Cf. .4rne(, Inc . v. N'"v/e Lab
                            . Inc, 263 Ga . GI ; . 437 S .E .2d    Creek's competitors, was improper and in violation of
 302, 303-04 (1993) (comparing and analyzing different             Sheraton's own policies . See e .g., 111 Johnson Dep . at 380
measures taken to           secure   secrecy of confidential       (discussing procedures) ; I Faust Dep . at 220-25 (discussing
 information) .                                                    the Gateway's acquisition and use of the Inn's confidential
                                                                   information) . As the GTSA includes the diversion of
          FN'?5 . We are cognizant of the fact that not all        information acquired under legitimate circumstances within
          confidential information rises to the level of a trade   its definition of misappropriation, see O .C .G .A . §
          secret . See TDS Nenllhcurr ,S;es . Corp v . Humana       10-I-761(1), 10-l-?61(_')(B)(i)(II) $ (I H), Camp Creek has
          Hosp .     Ill., 6« .,    SRO F .Supp . 1572,     1594   presented evidence which would allow a reasonable jury to
          (N .D .Cia .l995) .    Nevertheless,  Camp    Creek's    find in ids favor on this claim .
          evidence on this point is more than sufficient to
          survive Sheraton's motion for summary judgment .         Although Camp Creek has presented evidence that the
                                                                   defendants made some competitive use of the information,
Camp Creek's evidence would also support a finding that            Sheraton maintains that Camp Creek has failed to provide
Sheraton misappropriated the information from Camp                 evidence of damages on its trade secret claim . As we have
Creek. [FN26] A defendant misappropriates a trade secret           already noted, Camp Creek's generalized evidence on
by knowingly acquiring it through improper means. See              damages does not isolate losses directly attributable to any
O.C .G .A . § 10-I-761(2 . The GTSA provides that :                particular misuse of confidential information . See supra Part
                                                                   1(B)(3) . Nevertheless, the GTSA expressly provides for the
          FN2(,. The GTSA provides the following definition        award of a reasonable royalty in the event that the plaintiff
          of misappropriation in pertinent pan:                    cannot prove damages or unjust enrichment by a
          (A) Acquisition of a trade secret of another by a        preponderance of the evidence . See O .C .G .A .§ 10-1-763(a) .
          person who knows or has reason to know that the          Moreover, the district court may determine that injunctive
          trade secret was acquired by improper means ; or         relief is appropriate W the extent [hat the Gateway continues
          (B) Disclosure or use of a trade secret of another       to make use of Camp Creek's confidential information to
          without express or implied consent by a person




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                      that the                         '                   his'cases~~-S                                    ,r                                                        va ne(Yofduties
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                 previously discussed in the Atlanta                                                                           summary judgment                                        Court's    Order
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    The district                                                                                                                                                                          Appellees
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 Jury on its                                      evidence silly,        dererm   ;a~~~n
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 the district contract and GTSA claims                                         to present to ~
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            for reconsideration these prayers      of                                    vacate
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                                  CONCLUSION
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        EXHIBIT / ATTACHMENT

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  Lanham Trade,                                                          as                                                              ~~onf~
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                     "ark Act § 43(a)                                                                                                                     .870~2~
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      Trade                                                               S.C.,q . ~ti I I          de                          332  k87p               a,~5
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                ~Tost Cited                                                                                    Likelihood
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                                                            Copt. «~ u                                                                                                                                   dal
                                                                           est 20Uq No Claim
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confusion . Lanham Trade-Mark Act, § 43(a), I S C S.('.A .      Laches defense requires proof of three elements : delay in
                                                                asserting right or claims ; that delay was not excusable ; and
                                                                that delay caused defendant undue prejudice .
[71 Trade Regulation E=870(2)
J82k870(2) Most Cited Cases                                     11-11 Trade Regulation X385 .1
 (Formerly 382k870. I )                                         382085 .1 Most Cited Cases
                                                                 (Formerly 382k385)
Defendant adopted business name confusingly similar to
plaintiff's trademark, where most distinctive aspect of         Court determining whether doctrine of laches estops
defendant's business name was his surname, which was            plaintiff from asserting its rights to trademark must consider
identical to plaintiffs mark, and customers and people in       public's interest in trademark as definite designation of
seafood trade actually confused defendant's business with       single source of goods.
that of plaintiff. Lanham Trade-Mark Act, § 43(a), I S
U .S .CA. § 1 125(a) .                                           1]51 Trade Regulation X386
181 Trade Regulation C-,=73                                      3RIk3RG Most Grad Cases
382k73 Moss Cited Cases
                                                                Lathes defense was not available in trademark infringement
Acquiescence in use of trade name is analogous to implied       action based on son's use of family name in sale of
license to use name which generally can be revoked at will      processed shrimp, where father had established similar
of licensor.                                                    business, family name was trademark of fathers business,
                                                                and father did not become aware of son's direct competition
191 Equity C~G7                                                 in processed shrimp market until after lawsuit began.
150k67 Most Cited Cases                                         " 1510     Thomas    T.   Steele,     Tampa,      Fla.,  for
                                                                plaintiff-appellant.
191 Equity 0=84
1501<84 Most Cited Cases                                         Jeffrey L. Myers, Largo, Fla., for defendants-appellees .

Lathes is equitable doctrine committed to sound discretion       Appeal from the United States District Court for the Middle
of district court and it depends on careful balancing of         District of Florida.
several factors .
                                                                 Before HILL and ANDERSON, Circuit Judges, and
I 101 Trade Regulation X585                                      TUTTLE, Senior Circuit Judge .
3821685 Most Cited Cases

Defense of abandonment of trademark is one requiring strict      R. LANIER ANDERSON, III, Circuit Judge :
proof
                                                                 This case presents a somewhat unique issue regarding a
11]1 Trade Regulation &=73
                                                                 son's tight to use a family name in a business that is
3S2k73 Most Cited Cases
                                                                 unrelated, but similar to the business his father had
 Permitted infringement on mark holder's exclusive rights for    established . Conagra, Inc . appeals from the district court's
 some period of time does not constitute nonuse of marks         ruling on its claim to enjoin the defendants, Singleton
 sufficient to support abandonment of trademark.                 Shrimp Boats, Inc . and Robert C . Singleton, [FNI] from
                                                                 using the Singleton name in the shrimp trade . Conagra, as a
 1121 Trade Regulation X73                                       successor in interest to the trademark rights of Singleton
 38'!k73 Most Cited Cases                                        Packing Corporation, brought the instant action under §
                                                                 43(a) of the Lanham Act (15 U .S .C . § 1125), Florida's
 Where trademark holders predecessor in interest evidenced       common law of unfair competition, and FIaStat . ~. 495 .151,
 no intent to abandon mark, but rather, used mark                which prohibits unfair competition and dilution of an
 continuously and widely for 25 years preceding litigation,      established trade name . The district court granted Conagra
 trademark was not abandoned even though trademark was           partial relief and fashioned an injunction prohibiting the
 family name and predecessor in interest had allowed his         defendants from using labels that were copied from the
 son's use of family name in unrelated but similar business .    product labels- belonging to Singleton Packing . On this
                                                                 appeal, we consider whether the court's remedy was
 1131 Equity X72(1)                                              adequate protection for Conagra's trademark rights in light
 150k72(1 ) Most Cited Cases                                     of the evidence adduced at trial .




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                                     F_Zd 1508)
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                                   FN t~ We will hereinafter
                                   individual                   primarily, refer
                                                defendant,                       to
                                  discussing the actions Robert C. Singleton, the                                                 Robert C. Singleton
                                  collretivel                of or                  in                                            Henry C. Singleton defended primarily
                                              Y by both defendants Position' asserted                                            in hi, use                      and Singtei~n                 on the grounds
                                                                  .                                                                                of the Singleton                     Packing had                 that
                                                                                                                                 business . Hr argued                          name in                     acquiesced
                                                     1. FACTS                                                                                                    to the district            connection with
                                                                                                                                selling                                                 court                       his
                 Henry C. Singleton                                                                                             from a'rerailshrimP and                                          'hat he had b
                                                                  n                                                                                                                 products since 1972
                a8° in TamPa, Floridr. 6ega selling shrim over ~                                                               Ce           and later
                                                                                                                                                       outlet under
                                                                                                                                                                         shrthe name                            . first
                Singleton Pack               a The business was ,                                              years                                       through                           Singleton Seafood
                                                                                                                               fourth er proof of                           the defendant
                                                                                                                              that his father           acquiescence,                             corporation. As
               Althu8h'Singleton ~o Packrib h a~oP¬o`.rSe ~Yarse has                                                                                 Iu,ew of his               Robert C. Singleton
                                        ~                                                        sing                        and     rather than                          activities                          argued
               unlabeled pr                Packing sells
                                                                          some                            shri mp                                      objecting to his                 in the shrimp
                                                                                                                                                                                                           nus;ness
                             Products to a var                                            unprocessed                        had encoura                                         use   of the Singleton
              P~°d~~! line consists                           ;e ~l'                                             and                 encouraged the son's
              it markets                   of processedOf Gusto           Customers, its
                                                                                                         primary
                                                                                                                             Sing ~~~~n
                                                                                                                                             Shrimp Boats                 business b                          name,
                            either directly to I a~ge                   seafood            products,, which                 credit .                               under a steadily selling             shrimp to
             through independent                                      food serv                                                                                                              ~
                                                                                                                                                                                             increasing
                                          f                                               tee customers or                                                                                                  line of
             ~~s Preceding this food brokers                                          the world. In                        The district
                                        )iti  anon                                                              the                            co
                       sales ~   of o~« gI ~.~pl00leton                  ~                 c                               use the Singleton       ~rt held that t he ddefendant
                   .000 a year                                                                      a`hieved
                                                                                                    achieved                                tname                                      ant could
                                   on advenisin                               ands                g
                                                                                             Was spending                  found     that he name                in the shrim                        continue to
           the largest
                          Packer-pre, ssor                    8    and   promotion . It ranks                             consumers . q~terna             had    nut acquired ode. The court first
                                                                                                                                                                                    P
           States . With                              of                                                        as                                                                   secsnda ~S'
                                the exception shrimp ;n the " ~5~ ~                                                       Company had                   tivel ,           fundat                    meaning
           ~Processed shri                                                                             United                                    acquiesced       in  t                   Singleton
                                                                 of   its   sales                                        name      '                                   Robert                            Packing
          distributed wish MP, ail of Singleton                                               of fresh o~                          I" ~e shrimp trade-                            C
                                                                                                                                                                                withSingleton's use of the
                                                                        Packingls products                               whI`~h    Rob    z tt~                   Finall
          name.                  labels Prominently displaYng                                               are                                                             y"         inspect to the
                                                                                             the Singleton               packin g, the C Singleton admilted copying                                        labels
                                                                                                                                             district coon                                    from Singlet
                                                                                                                        !he copied                                found that the
         Conagra, through                                                                                                                 labels created                                 defendan t's Use Of-
                                   a subs                                                                               court enjoined                          a likelihood
         operating ~5~~5                           ry                                                                                           the                                 of
                                 and business corporation, acquired the                                                processed shrim defendant from using confusion and the
        Henry C. Singleton                                of Singleton                                                                           p products of                         those labels
        contract, Sleton On Janua ry 9, 198,                                           Packing from                                                                   Singleton Shrimp Boats                 the
                                   transferred                            Under            the                                                                                                         .
        and interesting                                  to Conagra                              Purchase                                            IL IN"TRODUCTfON
                        in and to                                               all r;ghts,
       wiwill associated with any hademarks, trade                                                     tide.          The
                                   Singleton                                  names, and                                     defendant has
                                                 Packing.                                             good            judgment tojoin ;~g not cross -appealed the
       Singleton.                                                                                                                                     use of the                           district court's
      in ~97g Shrimp goats is a Florida co                                                                              ns~der only                                         copied labels . Thus
                           us principal                                ~Po~atioq organized                           to enjoin the Conagra :s claim that the                                             ,
      County, Florida                        Place of                                                                                    deftndant's                             district court'
                            , across   the Bay                        business             "                         a~~equatet    Y protect               °S~'  of    she   Sin                   S refual
      head9~~ters
                        in Tampa . koy~n from Si
                                                                                                p~nellas                                                                         g leton name failed',
                                                                       Singleton~°packing's                          game in the yh,-,n Conagrs's ugh~ to exclusive                                          o
     defendant, is a                                            Singleton,                                          coon's findings--(~)          P  trade . Cunagra                           use of that
     of Singleton         Founder                                                            individual                                                                       argues
                   MY                                                                                                                                 that the                          that the distnot
     son of                                      ~ BoatsrRobert             Principal owner                                   d
                       C SI~P~                                  CeSi           thngletone                          had                        ~3'           B,  and      ~~~~ha~°      °a me had
    and Conagra~s               8 oq the founder                                            s also the              acquireacquiesced a
                          predecessor in interest of Singleton Packing                                             clearly erroneous In 'hr defendant's use Singleton packing
    Singleton Sh,i,nP                                                                                                                                                             of the name-
                              goals is                               in that corpo,ation,                                                                                                            .Were
    ~~~d marketing of                      engaged in the                                                         ~.ye
                               fresh and                                    wholesale                                     first evaluate
    Flo°~~ A~ the dime this                 processed shrimp productsand                                         detertn ;ne that                   the secondary
   Boats had annual                  Gtigatiun began,                                                 in                                 the district                         Meaning
                           sales in the                                                                          contrary      to the strung             court's finding                    Issue and
                                          area o(gz~U00Singleton Shrimp                                                                              evidence
                                                                                                                                                                                   on this issue
                                                                                     year.                      conclude        that                                 in    the record .               was
   Conagra Fled the                                                                                             greater P~~~e~~io~     C~nagra establ                                      We further
  failed to               instant   llawsuit  ~                                                                                                               Ished       facts
                 negotiate a                    n lone of                                                       name khan vas                 for its exclusive                   that entitled it to
                                                                       1981, after it had                                                                                   use of the Singleton
  continued use                  settlement regarding                                                                                  afforded by he
                      of the Singleton                                   tile                                                                                  district court's Older_
  the Singleton
                     name, although         name . Conagra defendant's                                         " 1512 We
 had acquired                        gh not registered                       claimed             that                              next      consider the
                      seconds rY                                        as a trademark,                       acquiescence.                                          aff,-,r,~~~~,e
 seafood prod ucts,                  meaning among                                                            findings               Because the                                         deten se of
                         and    thus was entitled                        consumers                                         relating                       district
 the trademark                                                    ~o                              of                                    to either of the r" court did not
                         laws . Because                               protec4on                              defendant,                                                 doctrines argued specify
subsequent users of
                             the                 th e defendants under                                      esto ppel, weabandonment or lathes                                                  b
the                                                                                           were                                look at those                           lead in B
    defendant's prominentname, Conag ra                                                                           'endan~ preserved                    doctrine,. L~~e                10 equitable
w~~ Singleton                      display of th                              to prohibit
                                                                                     Prohibit                                                     nsuf};~ ;e~~ e              Conclude that [he
                                                         e                                                  defburden op the
                    Shrimp Boats' business . name in connection                                                                                                          ~dence
                                                                                                           lathes de(znse abandonre~~ ;s sue. We also                              to carry the
                                                                                                           of the Singleton        cannot suppOFt                              conclude that the
                                                                                                                                                          she defendant's
                                                                                                          Processed sF,dmP name in connection                                      continued use
                                                                                                                                       . F{o~ ever,                         with
                                                                                                                                                            the defendant the sale of
                                                                                                                                                                                      may have

                                                  C°Pr~ U West 2004 No
                                                                                      Claim to prig .
                                                                                                              U.S . Cove .
                                                                                                                               Works
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established a lathes defense with regard to his use of the                       (discussing standards for recovery under § 32( l )(a)
Singleton name in connection with (he sales of fresh shrimp,                     of the Lanham Act, a provision closely analogous
and therefore we remand to the district court for further                        to § 43(a)) . For purposes of this opinion, we draw
proceedings on this aspect of the lathes defense .                               no distinction between the cases relying upon §
Accordingly, we leave it to the district court to fashion an                     43(a), which applies to unregistered but protectable
appropriate remedy, consistent with its finding on the lathes                    marks, and § 32(a), which applies to registered
issue, and affording greater protection to Conagra's                             marks . See Jellibeans . Inc. c . Skating Chehs of
trademark rights in the Singleton name than was granted in                       Georgia, Lit . 716 F2d at 339 n . 14 .
the court's previous order .
                                                                                 FN3 . Because of the similarity between Conagra's
                       III . DISCUSSION                                          claim under the Lanham Act and its state common
                                                                                 law and statutory claims, see Solewnp Stores . Inc .
A . Conagra Hay An Interest in (he Singleton Name (hay                           r. Safenrav Discount Drugs, Inc., 675 F .2d 1160 .
Entitles if to Protection Under [he Trademark Laws                               1167 (11 th Cir .1982) ; Amstar Corp . v . Domino's
                                                                                 Pizza, /sic . . 615 F .2d 252, 258 (5th Cir .), cerr .
[1] Our cases have established two elements that Conagra                         denied. 449 U .S . 394, 101 S .Ct . 268, 66 L .Pd .2d
had to prove to merit injunctive relief under § 43(a) of the                     I?9 (19R0), and because we find for Conagra on its
Lanham Act [F7v3] (I) that it has trademark rights in the                        Lanham Act claim, we do not address the state law
mark or name at issue--i.e.. Singleton, see, e.g. . Citibank.                    claims separately .
NA . v. CiNhunc Group. Inc ., 723 F.2d 1i-10, IS-35 (I Idi
Cir.19R4) ; and (2) that the defendant adopted a mark or                I . Conagra's Right to the Singleton Name
name that was the same, or confusingly similar to the
plaintiffs mark, such that there was a likelihood of                    [2][3] With respect to the first element, Conagra's right to
confusion for consumers as to the proper origin of the goods            the exclusive use of the Singleton name in the shrimp trade,
created by the defendant's use of the Singleton name in his             there is no dispute that Conagra purchased the full
trade. See, e.g., id. at 1547 ; Jellibeans, Inc. v. Georgia             trademark rights to the name that belonged to Henry C .
Skating Clubs, Inc., 716 F .2d at 839-06 ; John H. f/nrlorid            Singleton and Singleton Packing, whatever those rights
Co . r. ClnrAer Checks . /sic. . 711 F.2d 466, 981 (11th                might be . Although the Singleton name was not registered,
CirJ9R3) . [FN3]                                                        the use of another's unregistered, i.e., common law,
                                                                        trademark "can constitute a violation of [§ 43(a) ] where . . .
          FNZ . Section 43(a) provides in pertinent part : Any          'the alleged unregistered trademarks used by " 1513 the
          person who shall fix, apply, or annex, to any                 plaintiff are so associated with its goods that the use of the
          container or containers for goods, a false                    same or similar marks by another company constitutes a
          designation of origin, or any false description or            [false] representation that its goods came from the same
          representation, including words or other symbols              source .' " Raclunr Professional Hurl ev Aysn v. Dallas Cap
          intending to falsely describe or represent the same           & Frriblem L//g. . Inc ., 510 F2d IOOd . 1010 (5th Cir.1975)
          .. . shall be liable to a civil action by any person          [FN4J (quoting Joshua 61eier CU . v . .4lbnnr ;Vurel(v Mfg.
          doing business in the locality falsely indicated as           Cu ., 2±6 F2d 144, I-07 (2d Cir .I45(,)), cert . denied, 423
          that of origin . . . or by any person who believes that       U .S . 868, 96 SCt . 13= . 46 L .Ed?d 98 (1975) . Because
          he is or is likely to be damaged by the use of any            Singleton is a surname, the trademark laws protect
          such false description or representation .                    Singleton Packing's (and thus Conagra's) right to exclusive
          15 U .S .C . ; I 125ka1 . In essence, Conagra's claim in      use of the name only to the extent that the name has
          this litigation is that the defendant's use of the            acquired "secondary meaning ." See Chevron Chemical Co.
          Singleton name in the shrimp business is a false              v . Voluntary Purchasing Groups . 659 F .2d 695, 70? (5th
          designation of the origin of the defendant's goods            Cir .l98I ) (the trademark laws require proof of secondary
          because consumers would be led to believe either              meaning when the trademark is not sufficiently distinctive
          that the defendant's products were produced by                to identify the product as tied to a specific producer, as in
          Singleton Packing, or that Singleton Shrimp Boats             the case of a family surname ; in such cases the courts
          and Singleton Packing were somehow affiliated .               require a showing that the public identifies the name with
          As such, Conagra states a claim similar to those              the producer as the source of the product) . [FNS] The
          previously recognized as falling within the scope of          district coon's ruling, that the Singleton name had not
          § 43(a) . See, e.g . . Jrlliheans . liic . v. Skating Clubc   acquired secondary meaning, is a finding of fact that we
          oJ'Geurgin . Inc . . 716 P .2d 333 ( 11th Cir .l93 ;) ; cf.   evaluate under the clearly erroneous standard . See Brooks
                      .
                      .Stores
          Safini "av            Inc . a SaJcicar Discount Drugs.        Shoe V/T . . Inc. r . Suave Shoe Corp., 716 F .2d 854, 860
          Inc ., G7i F .?d 1160, 1163 (llth Cir .19F_)                  (I I th CirJ 9R3) ; Fed .R .Civ .P . 52 .




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                                        FI\ J . In L3u,0er
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                                      Fifth                                   , this
                                                    precedent all                      court adopted1206
                                                                      of'bane)t~~edecisions                  as                                       statement
                                                Circuit handed                                                                                                          not
                                                                                             of the rformer                                                                               as a b'^din8
                                      business                          down pn ~~
                                                                                        to                                                                  defendants,
                                                    onSeptember3                             the close
                                                                                             t
                                                                                 4. 1981 . 64.                                  of                         ., 6L5
                                                                                                                                                           Inc                    i ~     .~n~.srn~ Cn~p. .concession bY the
                                    F.1"5 . As                                                          at   1209    .                                                       F-d        2i   2 , ~ 63 n. 9            Oonuno's  '
                                                  noted inIn(>ngb~vl                                                                                       rather                                                IS                    Piiru,
                                    /nc. r.Tn                                                                                                                                                   that             1-111,
                                                  pLv i,                              .4PPnlr~rhinn                                                       Perceived        emPn
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              marketed     group of seafood                                                                        /"~~~ ~'_ .Skuiin
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              efforts at quality                 'in,    which                             Singleihthe                                                 would remand                        716 F,_,~ a[
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In the seafo~been Widely displayed devefopad by Sin le~~n                                                        issue was
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instant 6tiga~~on.baseness fur over ~~~ brokers and retailer,                                                   confusion would
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the similarity between the plaintiffs mark and the allegedly                      will be given some opportunity to use his own
infringing mark ; (3) the similarity between the products and                     name and establish a reputation for that name, even
services offered by the plaintiff and defendant; (4) the                          in the face of a prior user's trademark rights in the
similarity of the sales methods, i.e ., retail outlets or                         name, so long as the person using the name
customers; (5) the similarity of advertising methods; (6) the                     distinguishes his business and use of the name
defendant's intent, e.g ., does she defendant hope to gain                        from the business owning the trademark rights .
competitive advantage by associating his product with the                         See, e.g ., 7in "lor 141ne Co. r. BullV~ Hill Vineyards,
plaintiffs established mark ; and (7) the most persuasive                         Inc., 569 F2d 731, 735-36 (2v Cir.1978) . It
factor on likely confusion is proof of actual confusion . See,                    appears from the record that Robert C . Singleton
e.g., Je(Gbeans, Inc . v. Skating Cubs of Georgia, Inc., 716                      did make some attempt to disassociate Singleton
F2d at 739-46 . We find that the similarity between the                           Shrimp Boats from his father's business and
Singleton mark and the defendant's business name,                                 develop a reputation in the shrimp trade
Singleton Shrimp Boats, and, most persuasively, the proof                         independent       from Singleton       Packing . Thus,
that Conagra offered on actual contusion compelled a fact                         although some facts in the case point to an intent
finding of likely confusion . [FNR]                                               on the part of Singleton Shrimp Boats to ride on
                                                                                  the coattails of Singleton Packing, i.e., copying the
         . The remaining factors, although not as
         FNS                                                                      Singleton Packing labels, the evidence was not
         overwhelmingly established in the record, do not                         alone so strong that the district court would have
         undermine our conclusion that a finding of likely                        been compelled to find that the defendant intended
         confusion was compelled, and we do not address                           to infringe on the Singleton mark . Contrary to
         these factors separately .                                               Conagra's assertion on appeal, the evidence on
                                                                                  intent was not strong enough, by itself, to compel a
a . Similarity of the Marks                                                       finding of likely confusion . However, even without
                                                                                  proofuf intent, the evidence on the similarity of the
[7] The distinctive aspect of the defendant's business name,                      marks and the proof of actual confusion was strong
Singleton Shrimp Boats, is the name Singleton, which of                           enough to compel such a finding .
course is identical to the plaintiffs mark . See, e.g ., Su/cwnp
Scores . liic. r . Snjeica v Di.rromn Drugs . Inc, 675 F .'_d 1160,      b . Actual Confusion
1165-64 (11th Cir .19R2) (the business name "Safeway
Discount Center" or "Drugs" was found to infringe the trade               The most persuasive proof of likely confusion in the instant
name "Safeway ; " the words "Discount Center" or                         case was Cunagra s proof of actual confusion . See Safewqv
"Discount Drugs" were found to be merely descriptive) . The              .Storea, Inc . r. .Snlevvry Discount Dnig.c, Inc. . 675 F .2d at
Singleton name is set out, apart from the words "Shrimp                   1166-57 . In response to interrogatories propounded by
Boats," on all of the defendants trucks, signs, media                    Conagra, the defendant reported numerous instances where
advertising, and business cards . We have no trouble                     people, sometimes customers, assumed that defendant's
concluding that the defendant has adopted a business name                business was affiliated with, or actually was, Singleton
confusingly         similar    to  the   plaintiff's  mark .    Cf.       Packing . [Fk 10] In addition, Conagra introduced evidence
*1515Jelli6eans . Inc . v. Skrlirry Clubs u/Genrt;ia, /iec. . 7111       that it received inquiries from its distributors about
F .2d at 841-d2 (trade names "7ellibeans" and "Lollipops"                competing direct sales of Singleton products to restaurants
were found to be confusingly similar) ; John H . Hurlnnd Cu .            and retailers ; Singleton packing made no such direct sales,
c . Clarke Checks, Inc ., 711 F .2d 966, 975-'6 (11th                    but Singleton Shrimp Boats did . In short, Conagra
C:ir .19R3) (upholding lower court's finding that names                  established that customers and people in the seafood trade
"Memory Stub" and "Entry Stub" were found to be                          actually confused the defendant's business with that of the
confusingly similar) . [F\9J                                             plaintiff.

         Fh9 . With regard to the defendant's adoption of a                       Fti10. Singleton Shrimp Boats received calls from
         nondescriptive name, such as Singleton, we note                          customers complaining about shrimp purchased
         that the defendariCs action generally would support                      from a grocery chain that sold the products of
         a finding of intent to trade on the reputation of the                    Singleton Packing, not Singleton Shrimp Boats.
         plaintiffs business . See, e .g., Llorie((im v . Nina of                 Suppliers would often call Singleton Shrimp Boats
         Culilijrruu, Inc ., 335 F .Supp . 1233 (S .D.A' .ti' .19?2) .            attempting to sell them products under the
         In the instant case, however, Robert C . Singleton                       assumption that Singleton Shrimp Boats was in fact
         was using his own name in the shrimp trade . In                          Singleton Packing. Prospective employees had
         such a case, the coons are less likely to find                           contacted Singleton Shrimp Boats in response to
         intentional infringement . An individual generally                       "help wanted" ads placed by Singleton Packing




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           Corporation . Customers had made comments to the          name . Conagra further concedes that Singleton Packing was
           defendant that "Conagra had bought out" the               a significant supplier of fresh shrimp to Robert C.
           defendant's business, when in fact Conagra                Singletons various businesses . Conagra, however, argues
           purchased Singleton      Packing.  Finally, the           that these facts did not support a ruling that Singleton
           defendant had received invoices billing him for           Packing is now unable to prevent the defendant's continued
           purchases that had been made by Singleton                 use of the Singleton trademark .
           Packing.
                                                                      [8][9] A finding of acquiescense, as such, in the defendant's
 Conagra's proof of actual confusion resulting from the               use of the name, was not sufficient to foreclose Conagra's
 defendant's use of a confusingly similar mark was such
                                                                      rights to terminate that use. Acquiescence alone is
 strong evidence of likely confusion that the district coon          analogous to an implied license to use the name . Cf.
 could not have reasonably found otherwise . Conagra thus            ,blcnende= r. HoIG 128 U.S . 514, 52$, 9 S.Ct. 143, 145, 32
 established in the lower court that it had a trademark right to     L.Ed. 5_6 (littits) ( "where consent by the owner to use of
 the Singleton name, which preceded the defendant's use of           his trademark by another is to be inferred from his
 that name, and that the defendant's use of the name led to a
                                                                     knowledge and silence merely, 'it lasts no longer than (he
 likelihood of confusion . Absent any justification for the          silence from which it springs ; it is, in reality, no more than a
 defendant's infringing use by way of some affirmative               revocable license .' ") . An implied license is generally
 defense, Conagra was entitled to protection under § 43(a) of        terminable at the will of the licensor. /d. See also,
 the Lanham Act against the defendant's infringing use .
                                                                     Univercilp of rinsnia.gn v. Champion Products, Inc.. 636
 [F\'l l]                                                            F1d 10-10, IOdS (3d Cir.J, rer(, denied, -059 U.S . 1087, 103
                                                                     SCt. 571, 74 L.Ed2d 933 (1982) ; PC.4 c. Bankers' Life &
           FN 11 . This is not to say that Robert C Singleton       Casualro Co .. 514 F .2d 6(5, 670 (5th Cir.1975) (once
           must be totally foreclosed from use of his proper
                                                                    licensee's right to use the mark is terminated, any
           surname in the shrimp business . Thus far we have
                                                                    subsequent use constitutes infringement). To continue in its
           considered only the defendant's actual use of that       use of the Singleton name subsequent to the mark holders
           name, i.e ., the prominent display of the Singleton      desire to terminate that use, the defendant bore the burden of
           name accompanied only by the descriptive words
                                                                    establishing one of the affirmative defenses of either
           "Shrimp Boats ." We have found this use to be
                                                                    abandonment or lathes leading to equitable estoppel . See 3
           infringing . However, as we have noted, see supra
                                                                    R. Callman, The Law of Unfair Competition, Trademarks
          note 9, the courts have been reluctant to absolutely      and Monopolies § 79 .1 (1982) . We examine each of these
          prohibit an individual from using his proper name         doctrines seriatim . [FN IZJ
          in connection with a business . The important
          consideration in this context is whether the                       FN I . . As we have noted, the district court made no
          defendant can use the name in a fashion that will                  specific findings on either abandonment or lathes,
          not lead to likely confusion with the plaintiffs                   although it did grant relief on the defendant's
          business, for which the plaintiff has exclusive right              acquiescence claim . We assume arguendo that
          to use the Singleton trade name . We do not decide
                                                                             abandonment is a fact issue, and we analyze the
          whether the defendant's use of his- Cull name,
                                                                            record to determine whether a finding of
          Robert C . Singleton, or use of the Singleton name                abandonment would be clearly erroneous . Lathes
          with some disclaimer disavowing any affiliation                   is an equitable doctrine committed to the sound
          with Singleton Packing, would lead to likely
                                                                            discretion of the district court and it depends on the
          confusion . The district court is free to consider this           careful balancing of several factors. Environmcrnal
          issue on remand .                                                 Dcjence Fund. /nc. v . .4lecunder, 614 F?d 474 .
                                                                            477-79 (5th Cir .), cert . denied, 419 U .S . 919, I01
" 1516 B . Acquiescence
                                                                            S .Ct . 316, 66 L .Ed2d 146 (I980) . We thus
                                                                            consider the lathes defense by analyzing the
The defendant raises the affirmative defense of
                                                                            underlying factors under the clearly erroneous
acquiescence . The district court, as an alternative to its
                                                                            standard, and assuming arguendo that the lower
 finding of no secondary meaning, found that Conagra's
                                                                            court exercised its discretion in affording the
predecessors in interest to the name, Henry C. Singleton and
                                                                            defendant relief on this claim.
Singleton Packing, had authorized the defendant's use of the
name in the shrimp trade and that this authorization                1 .Abandanmeni
precluded Conagra from terminating that use. Conagra does
not deny that Henry C, Singleton was aware of and did not           [10][I t)jl_] The defense of abandonment is one for which
object to his sods shrimp businesses using the Singleton            we require strict proof. See CiGbaiek, h'. .4 . c.
                                                                                                                       Glibunc




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Group . In, . . '2-4 F .3d at 1545 . Under this doctrine :                    plaintiffs mark undermines the weight to be given
  Defendants muse show that the plaintiff actually                            [his factor . See Unirersirp ot Pittsburgh v.
  abandoned the use of the mark, and, also, that the plaintiff                Champion Products . ht, . . 686 F .2d II}}0, 1044 n .
  intended to abandon the mark .                                               14 (3d Cir .1932)-

/d. ; see also S'arlehner r. Eisner & :Sfende/son Co . . 179 U .S .           FN15 . In University of Pittsburgh v. Champion
19 . 31 . 21 S .Ct . ' . 11, 45 L .Gd . 00 (1400) . Permitted                 Products, Inc ., the court noted that the lathes
infringement on the mark holder's exclusive rights for some                   defense actually consists of two classes of cases :
period of time does not constitute nonuse of the mark                         one in which the plaintiffs delay has been so
sufficient to support an abandonment . See United Scores                      outrageous, unreasonable, or unexcusable as to
Javrees v. Philadelphia Juveees, 639 F .2d 13d, 139 (3d                       constitute virtual abandonment, and a second, more
Cir .1981) . Furthermore, the plaintiffs predecessor in the                   common class of cases, in which the delay is not so
instant case, Singleton Packing, evidenced no intent to                       unreasonable and the defendant must show the type
abandon the mark ; it used the mark continuously and widely                   of prejudice leading to estoppeL 686 F .2d at
over the 25 years preceding the litigation . The doctrine of                   1044-45 . The instant case falls into this second
abandonment " 1517 generally applies only when the                            class of cases and thus the list of factors set forth
plaintiff mark holder relinquishes his exclusive rights to the                above properly govern the analysis of this defense .
world, not merely to a single user, see Daicn Donor Co . c .
Plan's Food Stores . Inc., 267 F .2d 358, 363 (2d Cir .1959)          To properly consider the lathes defense in the instant case,
(abandonment occurs only when mark holder fails to use its            we must separate the two aspects of the defendant's
mark anywhere in the nation) [FN13] ; the laser case is               business . We conclude that lathes defense cannot support
more appropriately classified as a license . See ~Llcuandcz v.        the defendant's continued use of the Singleton name in
 Nnlr . 128 U .S . at 524 ; 9 S .Ct . at 135 . A finding that Henry   connection with the sale of processed shrimp . A contrary
C . Singleton and Singleton Packing, as Conagra's                     finding by the district court would have been an abuse of
 predecessors, abandoned the mark would have been clearly             discretion . The defendant's continued use of the name in
 erroneous in light of the evidence at trial .                        connection with the sale of fresh shrimp, however, requires
                                                                      a remand to the district court for more detailed
          FN13 . We discuss a narrow exception to this                consideration of the lathes defense.
          general rule infra at note 15, and find that
          exception inapplicable in the instant case .                    f151 With regard to the defendant's use of the Singleton
                                                                       mark in the sale of processed shrimp, there was complete
2 . Lathes Leading to Es(oppe!                                        justification for the delay; m effect, there was no
                                                                      acquiescence . The father did not become aware of the
L131[14] The question of laches, which can lead to estoppel           defendant's direct competition in the processed shrimp
of the plaintiffs exclusive claim to use the mark, creates a           market until after this lawsuit began. Thus, the evidence in
much closer issue on the facts of this case . The lathes               the case does not support a finding that Singleton Packing
defense requires proof of three elements : (I) a delay in              inexcusably delayed in asserting its exclusive right to the
asserting a right or claim ; (2) that the delay was not                Singleton mark as it related to the defendant's sale of
excusable ; and (3) that the delay caused the defendant undue          processed shrimp . See supra note 12 (facts underlying
prejudice .   [FN 14]      Environmental De/rieee Fund v .             lathes defense reviewed under clearly erroneous standard).
Alexander . 614 F2d 479, 478 (5th Cir.), cert. denied, 449             Because one of the requisite elements of the defense was not
U .S . 919, 101 S .Ct . ;16, 66 LEd2d 146 (1980) . The test for        met, a finding of lathes with respect to processed shrimp
lathes or estoppzl is flexible, requiring a careful                    would be an abuse of discretion .
examination of both the delay and the prejudice caused by
that delay . See Ci(ihunk, :V .A . v . Cidhnnr Grump . Inc ., 724     The defendants use of the Singleton name for his sales of
F2d at 1546 . [FNIS] In addition, a court determining                 fresh shrimp presents a more difficult question . The facts
whether the doctrine of lathes estops the plaintiff from              governing *1518 the lower court's discretion on this issue
asserting its rights also must consider the public's interest in      are not clearly apparent from the record and we are unable
the trademark as a definite designation of a single source of         to determine whether application of the lathes doctrine to
the goods . Thus, although a defendant suffers some                   this aspect of the defendants business would constitute an
prejudice, the public interest in avoiding confusion might            abuse of discretion .
outweigh that prejudice . See hmies 8urrough Ltd. v. Sign of
                . 572 F2d 574 . 579 (7th Cir .197R) .
din Brefeaier, lm                                                     The defendants father was aware of his son's use and
                                                                      prominent display of the Singleton name in various shrimp
          FN'ld . With regard to the prejudice factor, a              businesses for over 10 years. The corporate defendant,
          defendant's intent to wrongfully infringe on [he            Singleton Shrimp Boats, began operations in 1978 . Thus-, it




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     S .P .Q Sit                                                                                                                                   left to
4U                                                                                                                                    matmrs- best
          143 H'Zd X508)                                                                                                facts are
;ite as :                                                                                         based on the
                                                                        as'erting hls                   remand .
                                                                                                              on                                        CUNCLUSJON
                              tit the        father delaY2`~ ~°     'Chic           delay         ~`a'                                            1V .                                         ark right,.;
                                                    F'` 161                                     a  the
                 be said                name                                                   t                                                                       4°ssesses treAha acqu~ d
.;~n Prop                 to the                  in the form ~l ~~esline of                                                                              Conag~
                                                                                                                                                                           that                        tR
exclusive rights encourage                                   an established                                                    conclud ed
                   by                               on                                 rosia      Cake           We   have
                                                                                                                                      "Sin~Se~on          ." because              The district ,,°n
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       m   anied                       Packing                                                                                                                   consumers
                     Sing~et°n                                Co . v . ;Smb le> of raw                                      nan°meanin ¬ iamong
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 defendant b)'                             Cl~e .'.oia~e               '7)                                       i°                                           w~ cteady              evidence of
                          dmt~ru ;in                    Gc                               defen~n~                 see(),                       con    vary                  en  the
                                               19~h                              (,tile
  csedil. See. e. .g .: ~~ x,93 . b9~mark holder to                                                  use           finding ~~ he                   based
                                                                                                                                                             primarity
                                                                                                                                                                                the Sing
                                                                                                                                                                                            leton game ~°
   (~aker7', IGS Fthe   .- plaintiff
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                                                   The       court                 onnection                                                  semas+d                      balancing
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                       intent in                        note      14 .                                                showed
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Case 1:01-cv-00313-TWT Document 233 Filed 02/02/04 Page 106 of 363




        EXHIBIT / ATTACHMENT


                    (To be scanned in place of tab)
              Case 1:01-cv-00313-TWT Document 233 Filed 02/02/04 Page 107 of 363
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10 U.S .P .Q .2d 1108
(Cite as : 691 F.Supp. 134



                                                                   3h2k95 Most       Cited Casei
                 Unified States District Court,
                                                                   In order for licensor to take advantage of licensee's use of
                          S .D . Florida.
                                                                   trademark, for purposes of establishing expanded marked,
                                                                   Gcensor must take reasonable measures to detect and
  COTTON GINNY. LIMITED, a Canadian corporation,
                                                                   prevent misleading uses of the trademark ; licensor must
                  Plaintiff,
                        v.                                         police and inspect licensee's operation to guarantee quality
                                                                   of product introduced [o public .
      COTTON GM, INC . and Cotton Gin Kids, Inc .,
                  Defendants .
                                                                   151 "trade Regulation X584 .1
                     No . 86-2399-CIV.                             1R=k5Sd.l Most Cited Cases
                                                                    (Formerly 382k584)
                        Jan.28,1988 .
                                                                   Evidence that licensor sold licensee goods manufactured by
Canadian manufacturer brought action against competitor            licensor under their quality control procedures and that
alleging    trademark     infringement        and   competitor     representatives of licensor visited licensee's store and
counterclaimed asserting trademark infringement . The              inspected operations was sufficient to establish that
District Court . Marcus, J ., held that : (I) genuine issues of    licensee's use of trademark "Cotton Ginny" inured to benefit
material fact as to whether conduct of manufacturer                of licensor and established their use of mark in county in
established county as part of his own natural expansion or         which licensee did business for purpose of determining
area of market penetration precluded summary judgment ;            ownership of trademark.
(2) genuine issue of material fact as to whether mark
"Cotton Ginny" acquired secondary meaning precluded                Ifil Trade Regulation "5
                                                                   382k95 Most Cited Cases
summary judgment ; and (3) competitor failed to establish
that manufacturer abandoned mark .
                                                                   Marketing activity of licensee may expand territory in
                                                                   which trademark is used beyond that identified in written
Ordered accordingly .
                                                                   agreement .
                      West Headnotes
I 1 I Trade Regulation X63                                         ICI Trade Regulation X112
                                                                   3R2k1 12 Most Cited Cases
3R=k63 Most Cited Cases
                                                                   While use by licensee may inure to benefit of owner of
ICI Trade Regulation &=I51
                                                                   trademark for purpose of establishing trademark, licensee,
392k 151 Moss Cited Cases
                                                                   itself, retains no independent fight m trademark .
Trademark is acquired through appropriation and use and
                                                                   18/ Trade Regulation "5
need not be registered under Lanham Trade-Mark Act in
                                                                   332k95 Mom Cited Cases
order to be protected against infringement ; appropriation
and use of mark itself establishes one's exclusive right to ids
                                                                   Conduct     of licensee      is  effective   in   establishing
utilization . Lanham Trade-Mark Ac[, § I el seq ., I i
                                                                   appropriation and use of trademark because effectively
U .S .C . .4 . ; 1051 et seq .
                                                                   supervised licensee may establish perception by customers
                                                                   in relationship between quality of product and its identifying
121 Trade Regulation C~a258
                                                                   mark, and therefore, so long as relationship between parties
3S2k_5S Most Cited Cases
                                                                   fully maintains quality of product, then logical extension of
                                                                   that theory is [hat a licenser, through sales, advertising, or
Fact that plaintiff eventually registered its trademark does
                                                                   other marketing activity may expand, geographically, the
not extend its rights and entitle it to exclusive use if did not
                                                                   recognition of the licensoi s trademark .
establish priority of use. Lanham Trade-Mark Act, § I et
seq., 1 : U.S .C A. S 1051 et seq.
                                                                   191 Trade Regulation pL95
131 Trade Regulation aLr95                                         332k95 Most Cited Cases
3R2k95 Must Chid Cases
                                                                   As licensee has no proprietary interest in trademark, its
Trademark is acquired only within those markets where
                                                                   success in marketing product cannot create ownership
mark has been used and its meaning becomes known.
                                                                   interest in mark, in favor of licensee, outside of licensing
                                                                   territory .
141 Trade Regulation X95




                                    Copr. 0 Nest 2(N14 No Clams to Orig . U.S . Govt Works
             Case 1:01-cv-00313-TWT Document 233 Filed 02/02/04 Page 108 of 363
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1101 Trade Regulation X95                                       szq ., I ~ U .S .C . .4 . $ 1051 et seq .
1821,95 Most Cited Case                                         1161 Trade Regulation "9 .1
                                                                )fi1kG9 .1 Most Cited Cases
Expanded influence of trademark created by efforts of            (Formerly 382k69)
licensee inure to benefit of licensor .
                                                                1161 Trade Regulation X71
I l l I Trade Regulation X722                                   39=k71 Muse Chid Cases
38207) Most Cited Cases
Genuine issues of material fact as to whether conduct of        X16/ Trade Regulation X585
manufacturer established that county in which licensee          3R-k5R~ Most Cited Cases
distributed manufacturer's product was part of zone of
natural expansion or area of market . penetration for           In order to utilize abandonment defense, defendant must
manufacturer's "Cotton Ginny"        trademark precluded        demonstrate both nonuse of trademark and intent to abandon
summary judgment in action brought by manufacturer              it ; abandonment being in nature of forfeiture must be strictly
contending that competitor's unauthorized use of mark           proved . Lanham Trade-Mark Act, § 45(a), I S U.S .C ..4 .
"Cotton Gin" and imitation of tradedress violated trademark      I 137(a) .
laws . Lanham Trade-Mark Act, § I et seq ., 15 U .S .C .A . §
1051 et seq .                                                   1171 Trade Regulation X585
                                                                382k5F5 Most Cited Cures
1121 Trade Regulation X722
382011 Most Cited Cases                                         Competitor's mere assertion [hat manufacturer's mark
                                                                "Cotton Ginny" was not used in Florida during a two and
Genuine issue of material fact as to whether counties           one-half-year period could not establish "non- use" prong of
comprised one sales market for purpose of establishing          abandonment test and thus competitor failed to make out
manufacturer's claim of prior use of trademark "Cotton          prima facie case of abandorunent and claim of abandonment
Ginny" in market precluded summary judgment for                 could not form basis for competitor's right to use mark
manufacturer in action brought against competitor for           "Cotton Gm ." .
unauthorized use of mark and imitation of tradedress in
violation of trademark laws . Lanham Trade-Mark Act, § I et     Trade Regulation 0;P736
sect ., lU .S .C .A . ~, 1051 et seq .                          3R2k736 Most Cited Cases

1131 Trade Regulation X13                                       Cotton Gin.
3&=k13 Most Cited Cases
                                                                Trade Regulation X736
Where product name chosen emphasizes qualities of
                                                                3R2k7 ;fi Mull Cited Cases
article--descriptive mark-- such names must acquire
secondary meaning in order to be registered or otherwise
                                                                Cotton Ginny .
protected under conimon law.
                                                                " 1349 Harley S . Tropin, Miami, Fla ., for plaintiff.
1141 Trade Regulation X25
                                                                Allen P . Reed, P .A ., Miami, Fla ., for defendants .
3R-k25 \lost Cited Cases

Term "Cotton Ginny" used by manufacturer of cotton                                              ORDER
sportswear was descriptive term, rather than suggestive
                                                                MARCUS, District Judge.
term, under Lanham Trade-Mark Act and thus mark was
protectable trade name only if it acquired secondary            THIS CAUSE has come before the Court pursuant to
meaning . Lanham Trade-Mark Act, § I et seq., I i U .S .C A.
                                                                cross-motions for summary judgment brought by the
  IU~I et seq .                                                 Plaintiff, Cotton Ginny, Ltd . ("Cotton Ginny") and the
                                                                Defendants, Cotton Gin, Inc ., and Cotton Gin Kids, Inc .
1151 Trade Regulation 6722
                                                                (collectively "Cotton Gin") . Plaintiff contends that the
3R2k'22 Must Cited Caws
                                                                Defendants' unauthorized use of the mark "Cotton Gin" and
                                                                imitation of Cotton Ginny trade dress constitute violations
Genuine issues of material fact as to whether mark "Cotton
                                                                of sections 32(l) and 43(a) of the Lanham Act, I S U .S .C . §§
Ginny" acquired secondary meaning so as to be entitled to
                                                                 Illa(l)lal . 113iw (l982), as well as y 495 .151 of ihz
trademark protection precluded summary judgement in
                                                                Florida Siaimzand common law rights . Defendants have
action brought by manufacturer against competitor for
                                                                countzrclaimed asserting that Plaintiff has infringed their
trademark infringement . Lanham Trade-Mark Act, § 1 et




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                                         Case 1:01-cv-00313-TWT Document 233 Filed 02/02/04 Page
                                                                                               3 109 of 363                                                                     page




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               ;n the~ s matter,                                                                           case
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  of issues                                                                                        this                    at   ~  51~                                                                            Miami,
                enied     .                                                 r~ date ~n Broward,                                                °R                                                     store in
   must be                                                    is inapP ~'                 thst                             Beach store                                          opened        their Rswear . Cotton
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        sum.                          has failed                                    a                       used .                June    ~f 19~ Florida, selling                              on
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                   a(ia .                             Cotton                              finny                           ~-°tt°°               admis,~ons                   is  no
                      WNFREASh~5 SP°n                                    Cotton                  which name it for                                         that. there                           ;s entitled
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                                                   GinnY ~°`~ to lV innYl-                                              the                                                                        niovant              factua
                               Co~ton.                        by Burton
                                                                                        consideration ~t                         parties                 lained .                whether the                  and all *1351` the p~Y
                                 Supplied co d .t~ORF in                                                 contained, the                               In     assessing                     the  evidence                                         at
                                                    THERF                       mots heroin                                                                                      View
                                                                                                                                                  L%~Courts should the lig t~~o`~Fa~9R U`~toti~5?'h~ 651`1 1d
                              hUw                           vc]  and cove                                                        retailer
                                    premises (                                  :                                S ive the
                                                                                                           to retail       ions in the                  therefrom in motiun .                                                 ~ r., .        y
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                                      hzr em                  LGinnYl hereby to oPLtate                                                                  oPP~sing       tn,irnrnninlu{ B";}zn'e            doubts ab~
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                                       1 . Cotton
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                                                                                           Cotton                            an4
                                       exclusive right she same of                                              retailer
                                                                                    , . t~ sell to the                      present~5' °i                  t98:~1 ~~ ))1
                                        ~grtit0l} unJes                                                merchandise
                                         z. cotton [GjnnY~ territory any
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  be resolved in favor of the non-movanL Cusar                          coup "must view the evidence presented through the prism
  F,nreiprrves r. .d m . Hapdwwrr Mutual Ins . Cc) . . 655 F .2d        of the substantive evidentiary burden" applicable to the
  598, 602 (5th Cir .1931) . If the record presents factual             particular cause of action before it . /d . at -i13 . If [he non-
  issues, the court must not decide them ; it must deny the             movant in a summary judgment action fails to adduce
  motion and proceed to trial . :Hursh . ti?I E .?J at 991 ;            evidence which would be sufficient, when viewed in alight
  Lighting Fivure & Elcc . .Supply Co . v. Continental Ins .            most favorable to the non-movant, to support a jury finding
  Co . . 4-0 P .2J 1211, 1213 (5th Cic196Y) . Summary                   for the non-movant, summary judgment may be granted . Id .
  judgment may be inappropriate even where the parties
  agree on the basic facts, but disagree about the inferences           In another recent case, the Supreme Court has declared that
  that should be drawn from these facts . Lighting Fixture &            a non-moving parry's failure to prove an essential element of
  Elec. Supply Co . . 420 P .?d at 1213 . [f reasonable minds           a claim renders all factual disputes as to that claim
  might differ on the inferences arising from undisputed                immaterial and requires the granting of summary judgment :
  facts, then the court should deny summary judgment .                     In our view, the plain language of Rule 56(c) mandates
  /mposeihle Electronics [Techniques, Inc. v. WnckenhulJ,                 the entry of summary judgment . . . against a patty who
  669 F .2d [1026] at 1031 : Crolei' 1, Malson Navigation                  fails to make a showing sufficient to establish the
  Co. . 434 F .2d 73, T (5th Cir.197U) .                                  existence of an element essential to that party's case, and
  Moreover, the party opposing a motion for summary                       on which that party will bear the burden of proof at trial.
  judgment need not respond to it with any affidavits or                   In such a situation, there can be "no genuine issue as to
  other evidence unless and until the movant has properly                  any material fact," since a complete failure of proof
   supported the motion with sufficient evidence . AJiekcs v .             concerning an essential element of the nonmoving party's
   S.F/. tires & Co ., 19Y U .S . at 160, 90 S .CL at 1609-10 ;            case necessarily renders all other facts immaterial . The
   ,S1arsli . 651 P .-d at 991 . The moving party must                     moving party is "entitled to judgment as a matter of
   demonstrate that the facts underlying all the relevant legal            *1352 law" because the nonmoving party has failed to
   questions raised by the pleadings or otherwise are not in               make a sufficient showing on an essential element of her
   dispute, or else summary judgment will be denied                        case with respect to which she has the burden of proof.
   notwithstanding that the non-moving party has introduced
   no evidence whatsoever. Bru~~swick Corp . v . Vbieberg,              Celorex Corp . r. Cutrevc 477 U .S . 317. 106 S.Ct. 2548,
   370 F .2d 605, 611-12 (9th Cir .1967) . See Dnlke r. Lj)johw         2552 .53, 91 L.Ed.-d 265 (1956 (emphasis added).
   Co . . 555 F?d 245, 243--19 (91h Cir .1977) .                        Considering the present motions under this standard, we
                                                                        must conclude that summary judgment in favor of either
Clentoac r. DnugHcrh~ CouuiA . Gu ., 633 F.-1d 1365 . 13GR-F9           party is inappropriate .
(I Ith Cir.1432) ; ice ulsu ,IineV' . /fit . V. Gulf Ahstrocl &
Title, Inc., 758 F.=d I4ti6, I~O? (llih CirJ9R5), cerl.                 tIJt2J It is axiomatic that a trademark [F11] is acquired
                                                                        through appropriation and use . .Sec . ice ., United Drug Co . v.
denied, 475 U .S . 1107, IOh SCt. 113 . 34 L.Ed2d 412
(1956) .                                                                Thcodnrc Heclnnus Co_ 248 U .S . 90, 39 S .CL 48, 63 L .Ed .
                                                                        1-0I (191 K) ; Hartnrer Slur ;t1illing Co. v. ;tlctca(l; 240 U .S .
The United States Supreme Court has recently provided                   40 ;, 36 S .CI . 357, 60 LFd . 713 (1916) ; S6e(ids Shine
significant additional guidance as to the evidentiary                   Product,, Inc . r . 5'le .rlia Shine . Inc . 486 F?d 114, 12 (5th
standard which trial courts should apply in ruling on a                 Or 1973) ; Selchaw cl Righter Ca . c. Golden Corp ., 612
motion for summary judgment :                                           F .Supp . 19 . 24 (S . D .FIa .1935) ; 3 Callman, The Law of
   [The summary judgment] standard minors the standard                  Unfair Competition, Trademarks and Monopolies, § 19 .01
   for a directed verdict under Federal Rule of Civil                   (4th ed . 1983) . The mark need not be registered under the
   Procedure SOIa), which is that the trial judge must direct a         Lanham Act, 15 U .S .C              1051, et seq ., in order to be
   verdict if, under the governing law, there can be but one            protected against infringement . The appropriation and use of
   reasonable conclusion as to the verdict . Brattv v . Southern        the mark itself establishes one's exclusive right to its
   R . Co . . 320 U .S . 176, 379-80 . 64 S .Ct . 231234 . 33 L .Fd .   utilization . See Pedi-Cure, At . v. Prrli-A-Care Nursing,
   239(19A)) .                                                          /nt ., GAG F .Supp . 449 (D .NJ .1987) . However, the "rights to
                                                                        a mark . . . accrue from prior use . . . to the one who first uses
 Anderson r. LiGerm /.ohhr . /roc ., 477 U .S . 242, 106 S .Ct .        the marks in connection with a particular line of business ."
 2505, 2511, 91 L .Fd .2d N2 (19K6) . The Court in Anderson             l'olkswagemcerk AAtiengccellscGylt r . Wheeler, 814 F .2d
 further stated that "[t]he mere existence of a scintilla of            312, 819 (1st Cir .1937) (citations omitted) . The fact that
 evidence in support of the position will be insufficient ; there       Cotton Ginny eventually registered its mark does not
 must be evidence on which the jury could reasonably find               expand its rights and entitle it to exclusive use if it did not
 for the [non-movantl ." /d. 106 S .Ci . at 2512 . In determining       establish priority of use . See Tenv v International Dairy
 whether this evidentiary threshold has been met, the trial             Oucen, Inc. . >>d F .Supp . 1053, 109(, (N .p,Ind .1983)




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                 crlint frtriarii
                                     c. .Slurnc'r.
                                                     1 30 F.2d 132 (l
                                                                    ;' lYt Or .
                                                                     1956)).
                                        termorr,,de~r                                                        nsee's use
                                                    °~ark' includes an                                    ce
                                                                                                     of' reasonable                !he    ark , the
                            thereof adopted                             Y word,                                       measurea to detect               licensor must
                                             and wzdeb~r any combination                                    Qhe] trade
                                                                                                                       mark .. . . "Jrrdan ~d Prevent misleading
                                                                                                                                                                             take
                            merchant to                                                              39, (citations Omitted).               A'. !land,                      uses
                                         identify and y a Manufacturer o~
                           including a                 distinguish his                              the licensee',                   The lie, nsor     1"16r~~ ''' f~ .Su ~ i, .
                                                                         goods,                                                        10           must p'l ;ce and i F ~i
                           manufachired ur                       fro m those                        product introduced                    guarantee the                ins ref
                                            sold by o~Prrda~~                                       ~~.SA                          ~n the Publ ic             qual ity
                                          theUgS                                                           . .    :~[ 5i                           .                   Or the
                          unknow ~ t          goo ds .                                                                                                    Pneutek,a'~
                                                                   if that                         '~~~'eri~         B, naJ.cn~/ino c The ~~~ulMna! l.anypuanR                .21
                          i9Fd 1e                            11?n: 1I93~ ~no~urce the                                                    [y,~i                            Lie     .!
                                                                          & SuPPIf                          U .S . N .(~. (13ti'A1 .,a        F'anirst         i71. FS
                                                                                                   1 ,43 . 182 I . : .S                   . 26  (S                     APP   7i3,
              "An essential                                                                                               .P .Q. ~(3 ;~'            .D.N .Y.) . aJfd
                                  element of a                                                    We aL,~ Geuera!                        .4) G (?d Cir                4 9 7 F2d
                 a likelihood                       clai
                                    of confusion m of trademark                                   Corp f .,    36 1' .2d 105
                                                                                                                              :19nrnrs    G"rp.
                                                                                                                                                        .l97J1 (Per
                                                                                                                                                  v. Gihsnn           curiam)) ;
             of plaintiffs                            among prospectiveinfringement                                              12d   C;ir .l48fij;           (hrmirol
             of plaintiffs products and                                         purchasers                                                             k'entucln.~ Fried c£ Oil
                                                 services caused by defendanCs
                                 marks ." 1i.7,c,/F,~.,                                             Cie1~9n's   )
            emitted) . Inch e                             Kla F~ ._,~ ";~t               use                      o,Here,~the adey acy~ fnP.. 549 F.2d Chicken
                                   present case the                                                 Miler                                                                368
            similarity ;n                                parties have agreed816   (citation                        Aeration ia                           ainrifl's control <Sth
                                  names is                                         that the         S°°ds                                                  ~, ;           °~ over
           prospective customers
                                             .
                                                   confusing to
                                                                       customers                   control manufactured'          byPF~e°u-      Cotton
                                                                                                                                       the Plaintiff              Y~sold Mikron
           AccordinB~Y, we                       [Status     Report,                   and                      Procedures   . Moreover                   Under heir
                                    are lek, on                                                                                                                           quality
           kh ether there                            these motions, Section IA] .                                     the Pompan
                                exists an issue                        only to resolve                                                    B   ach
           Pam first acquired the                     of material
                                                                     fact as to                   which ionsir~f          loots hav eStore                 nand
                                                                                                                                             of submitted Inspected the
                                           trademark Ihrou                          which                   controverts the
                                                                h
                                                              8 its use.                         Cr~lorer Coip .,               satisfactory nacre                any evidence
          (3j The basic                                                                                                IOF S,Ct, at 2552_                 of this control
          began using        facts   p(th(s case are                                             use   by tiq;~on                                 i~ . Under                 Sir
                            it,                          undisputed . Cotton                                         of the                                                  the
         use predates            "lark in Canada in                               Ginny                has" ing inured mark "Cotton Ginny, " 1 these faces
                           the use by                       1979. Obviously,                    established their           to    the                         must   be
                                                                                                                                        brne~t of the                   viewed
                          only with Defendants . However, a                         their
                                                                                                Ias98t .               use of the mark                           Plaintiff and
         been
         been used and its me                                                hademark                                                         in   Broward
                g Cn ., 2d0 II aninbecome     g           e~ u"h ere the mark has                                                                               County during
                                    .S . at q               known . Hannv,~~-
        .Spvrl1rn food                                                             Sru,         f'1
                                                                                               1 "'h"51       when   Cotto ^ Gin
                                               15-16 . ?G S.C~. at 361 ;                       Dad, Coun ry, in                        began be an
        ~=8~-k~             5~"~~e`"~`~ /"''- ~'. f1F :S' (~,                 .ree nlc~.                             June 1982                      8 their operation
                 ~ ('~~I~ C:ir. 1987) . Since                      813    1~.~d               the   mark                                                                    in
       not sold in                                the  Cotton G .                1279,                       in  Brow         o     ' C°n°n       "tiny   had ahead
                       Florida                                 Ginny goods w      were       D
            P laintiff had                          I there can be         °°ds                        tents    dispute   the claim
                              established a                                                  protec ta6fe                                                         sled injrq,
       Flo                                      protectable           n° claim that                            trademark at              that "Cotton
                                                                                                                                                            Giru,y   ^
                         81,Gcensing agrcemrnt                                                       red                        that  "me because th
      operative                                            with M                           Questions                 rl' meaning
                                                                    krubecame                               extol asdto the                      the relevant had         not
      Plaintiffs claim                                                                                                         e xtent~ ofinthe                        W~ a
                                                                                                                                                                     market,
                                prior use in                                               Hanoner                            the C',non sales Market in which
       n its licensingto                        South Florida ~5                                      n Sror,Mil/ine~    g Co.,                   GinnY mark .
     owner may expendagreement                           based sole)                     supra, "common                  supra                         Under
                                           Milvon . "A                                                      law [trademark] . and United Drug
     exclusive use       the to    ry ,n which             trademar                                                                                       Co . .
                                                                                          locality where the mark             rigFrts   are restricted
                   of
    operations o~ hehis   trademark, either by hr has the right N                        expansion ."               is used and
                                                                                                                                 to   tfre             to the
                       may,                     expanding his ow                        Application Spmvun Fond Scsrenu . /~~c            area of
    demand for his          introduce his
                                           trademark and                                              of this rule                   . . S)3 F .2d probable
                    variety                                                                                        here                            at 12R, .
                            o~~goods
    s46je~t~,u(his~q\nf'~ol ."                              create a
                                      in new terrrtory,, by licenses                            whether given            presents a threefo
                                                                                        th     ese motions      the                                 Old Problem .
                                 Drnisni~ rNiu(i~esa                                                         for summaryevidence
                                                                                                                             judgment   submitted
                            d          x03.                                                 of material                       ~dgent                 pursuant
    Omitted). Se. uCtn                           109 (5t8 Cir. 196Z)                                     fact as to the                    there exists
   _'2d . ?29 (511)          7ui~ ;~-r ,_.                                  (Citation,      Coqon Ginr,                  parameters op                   an issue
                                                                                                                                                                h
                       Cir.l, cer~.          11.1111  Pal~lirhi,11. (~ .                                  Y used the                      'he ~o~aGty in
   `~4.     1q,                        dnnie<(       :,yq                    330  F .2J     expansion  ; second,          mark     and   its               which
                .Ed._d G01                                  U. S.                                                  whether a                  area op
                               (196?) .Ioi~dan                    1006, SR S .Ct.          territory in                                                 probable
   Bros . .   ln~ . .  53 7 F .Supp                     d'. load. l                                      which a trademark licensee may expand
                                                                         .                 third,                                 is
   '1353Pneru~6 . Let: o.                  .     ~~-/      ;93
                                                                            v . Luzqll            whether  a licensee, whose         used   and protected the
                                                                  (D.Id
                                                                      . P .R                                                                                 and
  «T~~3.1981 ). Pl S2herr. _I I C~S.P .(1. (13NA) J982)~                                  terms of the licensing                  operation under
  and else ere              aintffFm aintains                              S-24,833       tetritory, may              agreement is confined the specific
                          of °Cutton                   that its use in                   trademark           expand the use                       to a specific
  ownership of the                              G,nny'                       Canada                   Outside that territo ry,       and
 conj tothuncGooew ;th   trademark,      and that the        established        their    marketing    activity of a ~           dye        Protection   of the
                        r hr ,~~e of                        use of the                                                               conclude that
 inure d                                                                    terra        which the                    ;censee may                     while the
                 benefit of Cottonpro,~ucts 6y Mi~on in                            in                mark is used beyond
                                                                                        agreement, the
                                                                                                                                      expand the
                                                                                                                              that identified      territory in
                                           Ginny,                           Florida                        evidence                             in [he u"ntten
                                                                                        °~~ne                         extant   ;5
t4]l5J In order for
                            the licensor                                                Which Present    motions to determ ;nsuff~. ;ent fur
                                                to take                                         the Cohort                    ;ne the size           purposes
                                                            advantage of the                                Ginny mark                       afthe market
                                                                                                                           was actually                     in
                                                                                                                                           used .


                                         Cope .
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The determination of whether Broward and Dade counties               way, the licensee's ability to establish prior use of the mark
represent a single market or distinct markets is of                  in Dade County, the site of the Cotton Gin store, now
fundamental importance to the disposition of this case . The         becomes the focus of our inquiry . At this step in the
Fourth Circuit Court of Appeals has recently considered the          analysis, we consider whether the Plaintiff, pursuant to the
criteria relevant to the measurement of the geographic               licensing agreement maintained sufficient control over
market in which the mark is protected . It/ at 1282-84 .             Mikron outside of Palm Beach County so as to insure the
There, the court noted that the area of probable expansion           quality of the product, and whether the agreement actually
may be measured by examining either the owner of the                 relinquished their exclusive rights to "Cotton Grotty" outside
trademark's "zone of natural expansion," id. at 125± (citing         of that county. See Conngrn, laic. v . Singleton, 743 F2d
 Weiner King Inc. v . If ienrr /ping Corp . . 61 ~ F .=d 5 12, 523    1508 . 1517 (11 th Cir.l9k4) (when mark holder relinquishes
(C .CP .A .I930)), or the mark's potential for "market               exclusive rights to a single user, that is appropriately
penetration ." Id. (tiling Natural Fuohreor Lid. v. Horl .           classified as a license) . The Plaintiffs uncontroverted
SchaJjner & Mary. ;GO F2d 1387, 1398-99 (3v Cir .), cerr.            evidence established the sufficiency of the quality control
denied, 474 U .S . 920, 106 S .Ct . 249, SS LEd .=J .i7              over Mikron . The facts that must be considered in
(1985)) . In applying these tests to the present case, we must       determining whether Cotton Grotty relinquished its
determine whether the conduct of both the Plaintiff and the          exclusive rights to the mark outside of Palm Beach County
 licensee may be considered . " 1354 Of course, the activities       dovetail with those that must be considered in the context of
of the Plaintiff, as owner of the mark, are of vital                 the geographic boundaries of the ownership rights--that is,
 importance in establishing the relevant geographic market .         whether the relationship between Cotton Grotty and Mikron
 However, the question remains as to whether the licensee            actually created a licensing arrangement for a geographic
 may expand, as well as establish, the area in which a mark is       area which is larger than Palm Beach County .
 protected .
                                                                     The facts relevant to this inquiry are these : First, Pompano
[7][8][9][!0] Initially, we note that while the use by a             Beach is located in Broward, not Palm Beach County .
licensee may inure to the benefit of the owner for purposes          Second, Mikron advertised its product in Dade County, and
of establishing the mark, the licensee, itself, retains no           customers from that area did travel to Pompano Beach to
independent right in the mark . Jordan K . land. Ltd . . 537         buy the Plaintiffs product. By establishing a store, outside
F .Supp . at 593 ; Kappa .Siginn Fraleivum r . Kappa Sigma           the territory explicitly established in the licensing
Gamnm Fruirrnilr . 654 F .Supp . 109, I IOU (D .N .H 19R7) .         agreement, Plaintiffs acquiesced in the use of their mark by
The conduct of a licensee is effective in establishing the           Mikron in an area larger than that specifically identified in
appropriation and use of a mark because an effectively               the licensing agreement. Accordingly, the effect of the
supervised licensee may establish the perception by                  licensee's conduct may not be limited to merely establishing
consumers in the relationship between the quality of the             use of the trademark in Broward or Palm Beach counties .
product and its identifying mark . Therefore, so long as the         Mikron's activities must be be considered in conjunction
relationship between the patties fully maintains the quality         with the conduct of the Plaintiff in determining whether
of the product, then the logical extension of that theory is         Dade County was in the Plaintiffs area of probable
that a licensee, through sales, advertising, or other                expansion during 1981-1984.
 marketing activity may expand, geographically, the
 recognition of the licensor's mark . The success of this            [I I] The Fourth Circuit in Spartan Food Systems, Inc.,
 relationship could expand the reputation of the product             supra, outlined the " 1355 standards that have been applied
 beyond that originally contemplated by the parties to the           in determining the scope of geographic expansion .
 licensing agreement . Since the licensee has no proprietary            Courts that follow the "zone of natural expansion" theory
 interest in the mark, its success in marketing the product             have applied the following five-part lest: "we party's (I)
 obviously cannot create an ownership interest in the mark,             previous business activity ; (2) previous expansion or lack
 in favor of the licensee, outside of the "licensing territory ."       thereof; (3) dominance of contiguous areas ; (4)
 Further, the recognition and association of the trademark              presently-planned expansion ; and, where applicable (5)
 with the product in a wide geographic area cannot be                   possible market penetration by means of products brought
 without any effect on the mark . Accordingly, the expanded             in from other areas ."
 influence of a trademark crewed by the efforts of the
 licensee must inure to the benefit of the licensor.                 hl . at 1233 (citations omitted) . Under the            "market
                                                                     penetration" theory, courts have considered :
 This conclusion does not resolve the question before us,              "(I) the volume of sales of the trademarked product ; (2)
 however. The Agreement between Plaintiff and Mikron                   the growth trends . . . in the area ; (3) the number of persons
 gave Mikron the "exclusive right to operate stores in Palm            actually purchasing the product in relation to the potential
 Beach County ." Whether that restriction limited in any               number of customers ; and (4) [he amount of product




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                                                                                                                                                                     that suni
                                                                                                                      additional reason suggests             Defendants         conttnd [hut
                                                                                                                                                                                           that ~e the
                                                                                 "6U   F3i1   ~i        [1 ~l An inappsopdate here .                                                     secondary
                                                                     II-car,                            would be                                            failed to establish of use in
                             thz area ." ?'~~t+°~~t                                                                               of the mask
     advertising ~m                                                                                      plaintiffs Use
                                                                                                                                therefore did           not       create n Priority
                                                                                                                                                                                      name chosen
      t 3L)9-99                                                                                          meaning         and                        Where the product
                                                                       there     arc  issues of                                       Gi^ny~                                  descriptive     mark
                                                  we find that                                            favor of Cotton                                           cle' - a
                                                                                                                                                    of as aRiunregistrabll,
                       thethese stall                               of Cotton      Ginny and                                   the  qualities                                          trademarks
                                                                                                          "zmphasizzs
  Id . Applying                  whether the conduct                              the "zone °F                                                 invalid and                        Trademarks and
  ma[enal fact as to                     Aade       County is part of                         the         [tJhcse          ~e initially                   i r Competition,
                                   that                                                  for                                 The   Law     oJU"f°                                     must acquire
   Mikron established or area of "market Penetration"                                                      3 Callman s, 9 19-21 at "1R . Such names                                         `i356 or
   natural          Pansioo"                                                                                                                      in veer to
                                                                                                                                                                        be registered                 .-ex
                  ~,r,s, Y "  trademark      .                                                                                 meaning"                                              law.   .4me "ii~un
    -,cotton                                                                   only     business           "secondary                            under         the common                   .dmencan
                                                                       the                                  otherwise protected
                           the     evidence submitted,                      County p~~~r w                                                 Cnmrnunicnfions Co~P~' 1546, 1549
     Based upon                            o~    ~~~°°         ~°   Dude                activities          Television and                                            lne., S10 f.'s
                  bY the PlaintiYS                           other     marketing                            Conmu~nirntiais              and Iclerivon,
     activity                                          and
                              the advertising                               camiot establish                                                                                             the plaintiff
     lone 19 82 was                      "[Advertising atone                       ~S'rist-lincket          (11~h 1ir.19L~7) . establish secondary meaning                                                 the
      by Mnoon .
                         }Iowever,
                                                           12R3 (tiling                                         "ln ( order to                                                     of the term in
                      law      rights ." Id . at                         Co   .,  576 F .2d 721,                                   that    the    primary significance product but the
      common                                               A~c'h~ry
                                Co . v. Sounders Mikron expz~enced no
                                                                                                                must show                                   public 1s nod the
       b1anufadoring                             Also,                                           that            minds of she consumer Center V. Optkks. /nc, 59h                                     e~2~
                                                                                                                                                                                                 N°°nna!
                (8th ~.;c 19 ~ 8))- affuiavi~ oS Gianacce indicates had                                          producer" [T!<<, 1''isinn                                  Kel(ugS    C°~   ~~~
        expansion, although
                                        the                               Ginny~ itself,                                                 Cir .19791 ]. yt~~>ring 59 S .Ct . 109 . 113, A?
                                   contemplated          . Cotton                                     .           l l l, l18 (ith                           111, 118,
                          was                               in Canada at that                  time                             Co . . 3~~ LISP                                         denotes to the
        expanse
                              expansion           only                                   the  period              Biscuit                             the       corpo rat e name                   from a
         exper looted                                     suggest that        dung                                L.Ed . 93 119-~~~~~                               single thing       coming
                                record    does     not                                       exerted                                                             a                secondary meaning-
         Nioreo ver, the                                            Cotton GinnY                                  consumer or purchaser
                                            Mlkron or                                     and   Dade                                                   i~    has    acquired                                Lifea
         of ~Poration
                                 either                        area of Broward dues not                            single source,"
                                                                                                                                               then                              Coo. v- Herira;e
                            over the contiguous                                Plaintiff                                             flrrimge         Life /ricurance               .i974)  .'Che    answer
          dominance                                                 by the
                                  evidence submitted                                    was within                  American
                                                                                                                                               ~`3~ f ~~1
                                                                                                                                                                 3, lZ (5th ~~ir          its use; (2) the
          Counties . Thedemonstrace that Dade County                                        fact,   the             insurance                            length       and manner of
          define[ive~Y                                               expansion      .  In                           depends Upon             (1)   the                                     and sales; (3)
                                      Zone       of natural                       that   during     the
                                                                                                                                        extent     of   advertising, promotion connection in
           Cotton      GinnY~s                                     indicate                                          nature and                           o                   conscious
                                      nod nerasaniY                                           beyond                                                    t Promote s
           evtdonce does                          Ginny        intended expansion                                    the   plaintiffs effoAS                           the   name     and the plaintiffs
                 vans     P enod        Orion                                                                                public's      mind between                              to which the public
           role                       Pompano each-                                                                   the                             ; and (4) the extent                        product Or
               ' one     store    in                                                                                  product      or   business                              the p~a~n~~~'S
            this                                                                                                                                     the name with
                                                                      also     does not support                                     identifies                                           F 2d    I ~OS. 1513
                     mark ed penetration theory                          had     become     aswciated                  actuary
                                                                                                                                                 r°'  ~",`
                                                                                                                                                                 ''Singlero~~ . ~~3
            The                                that its product                            established                 venture . Ce~ma
             Plaintiff s conrention County Plaintiff has not                                     product                (1 1 th Cir.19R4 ).
                          mark ~n Dade                                     the amoun t of
              with its                                     trends,     or                                 of
                                     sales, gro~`'th                           submit that 7~°'°
              the volume of                aria    .  Plaintiff does                                    this        Id .                                                                                            is
              advertising in          the
                                                                  Dade County F{o`^'ever, for                                                                     secondary      meaning 1n this case
                                               were     from                        requirements                                                           of                                      descriptive
              N(ikrort s customers does not meet the                                                                 (14] The acquisition        "Cotton Gamy is
                                                                                                                                                                                considered a
                                                                                                                                                                                                                      r
               assertion,       by    itself,                                                                        relevant      only      if                          identifies    a ctiaractzrisNc o
                                              .                                                                                                                                                      become a
                 market penetration                                                              Broward              tzrm~ °A descriptive «~                           service, and may secondary
                                                                                 DaAe and                             quality       of     a n article or                              acquires
                         gvidence         which demonstrates may tend to                         establish
                                                                                                                                            trade      name Only ~f ~~                               determined
                 1y                                               market                                               protectablz                                               GinnY°    Were
                               compose          tine sales                    Plaintiff    establish this                                 Id .  at  1548       . If "Cotton                         rather        than
                counties                                  use   . Should                            may     be         "lean          °                                  which     "suggests,
                                          of     p~~~~                    pompano         Beach                                                                 term                                 requires an
                 P laindffs claim the sales outlet in                                              mark      in         to be a suggestive                             of  the goods ._ . and order to be
                                     Then                                      Cotton     Ginny                                               characteristic
                 Proposition,                          she use of the                                                   describes, a                                             consumer in
                                                                                                conclusive                      t               imagination by the                                         secondary
                 viewed as e't~b~~shingmarket . However, such considering                                                effor of the descnpdve,° ld, at 1549, then                                                to he
                  ~,t DadeJBroward                                           Therefore,                                                       as                                           for   the  mark
                                                 been      submitted .                             markets,              understood                            established      in order
                                         nut                            constitute      distinct                                                  not   be                                         tettn      '~Cotcon
                  evidence has                    may in fact                                 finding that,              meaning need                                    wnclude that the                                a
                  that these counties                   insufficient       to sustain a                         s         Proteaed       . Here, we "lust                                1~Conon ~ describes
                                     evidence       is                                     Cotton    GinnY                                                                                                     out      of
                   the record                                                    p~ of                                    GumY ~ i s a descnpgoods--that   li ~'e tee' Ce~~n~y'
                                                                                                                                                                             is, they are
                                                                                                                                                                                                   made
                          Matter      of law. bade Cow~q' was              to    the  Defendants Use of                                  of     the                                    a  generic     tens . [~'tiz1
                   as  a                         expansion         Prior                         the mark in              quality                                alone would       be
                                 probable                                              use   of                                                 standing                                         suggestive         . The
                    area of                       County     .   If Defendants'                 market      then           cotton--and
                                                                                                                                                              Ginny,°      itself, is merely                        term,
                    the Mark in Dade                         prior use in a
                                                                                      remote
                                                                                                         Cotton            On the other
                                                                                                                                                 hand, ~~
                                                                                                                                                                 must
                                                                                                                                                                                             a
                                                                                                                                                                         be considered descriptive
                                          represents                                      mark    by                                            together                                           product       .
                       ado County                         registration of the                            use the           words used                                  characteristic of the
                     even the subsequent                    Cotton          ill   of the right to                at         as  they    readily identify a
                                          not divest                                                     F .1d
                     Ginny could                                                  Kin& lm:.. 615
                                     Dade   County        . SAE' ~"einer
                     mark in
                      52=.


                                                                                                                                                  Govt . Works
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                FN? . "A generic name
                                             suggests the basic nature of
                the article or service .                                           Cotton Gin has asserted that
                                              Most courts hold that a                                           Plaintiff did not use the mark in
                generic term is incapable                                          Florida during a two and
                                                of achieving trade name                                        one-half year period . However,
               protection . . . . An arbitrary or                                  "[c]onsistent and proper use of
                                                  fanciful name beers no                                           those marks elsewhere in the
               relationship to the product                                        United States defeat, any
                                                   or service and is ,                                        claim of non-use." Id. (citations
               protectable without proof of                                       omitted). While the record
                                                    secondary meaning .-                                       evidence does not establish
               American Iclerision and                                            nature in which the mark                                    the
                                                Communications    Corp .                                      was used during that period,
               810 F .2d at ISdg, 1549                                           mere assertion that it was                                   the
                                            (citation omitted) .                                               not used in Florida during
                                                                                 period canna establish the                                  that
      [l .i] Defendants maintain                                                                                     "no-use" prong of the
                                    that since Plaintiff's bade                  abandonment defense . Therefore,
      had not established secondary                              name                                                      upon this record.
                                                                                 Defendants have not made
                                         meaning when utilized prior                                             out a Prima facie claim
      to June 1982, then its use                                                 abandonment .                                                of
                                       cannot be viewed as prior to
      Defendants so as to oust their
                                         common law rights in Dade
     County, Sec A .J Cnn/ielrl Co.                                              Further, Defendants have
                                          c Co~rcard Bev~~rQ~e Co.,                                                  submitted no evidence which
     G29 1'Supp . 200, 210 (C .D                                                           tendThto proveerethat the
                                    .PaJ985) ("Secondary meaning                                                       Plaintiff intended to abandon
     cannot exist in a market that                                               wtheouldmark .   e m      fact that
                                      Plaintiff    not penetrated, by                                                  Cotton tinny had no outlet
     the time the defendant                                                       Florida for a period of                                                 in
                                  begins its use of the mark                                                approximately two and one-half
    question ."), nffd .rub nom . .9 .J.                            ;n            does not indicate an intent                                        years
                                         Canfeld Co . v. //oniekmnn,                                               to abandon . '7Fthe proponent
    hOR F.2d 291 ( ;d Cir.19R6),                                                  mark stops using it but                                               of a
                                     The "Cotton CUinny" mark may                                              demonstrates an intent to keep the
    have acquired secondary                                                       mark alive for use in resumed
                                    meaning by the time of                                                                business, the mark retains
    reintroduction into Florida .                                  its           'residual' goodwill and thus
                                     However, "[t]he existence                                                         continues to enjoy trademark
   secondary meaning is a question                                 of            protection, as long as it
                                                of fact," .qrner;(w,r                                                retains its significance
    Television and Communications                                                indication of the origin of the                                    as an
                                           Corp., 310 F .2d at 1549                                                        goods or services ." Pte 
   (citations omitted), and this                                                American lCorld .4irtr¢i",c, Inc. v.
                                  record contains no evidence                                                                P¢iiai»ericun School f'
     Cotton tinny" acquired                                      that            7'run:"l, Inc., 64$ F .Supp .
                                 secondary meaning while being                                                     1026, 1031 (S .D .N .Y .)
   used by Mikron,                                                              omitted), aJJd, R 10 F.2d                                       (citation
                                                                                                              1 160 (2d Cir .1986) ; see also
                                                                                Brewing Co. n. Oland's                                             Miler
                                                                                                               Brn+~eries (IY71J Lid . 548 F
   1161 Finally, the Defendants                                                 349, 351-52 (c .c .r . .a                                              .2d
                                      assert that they are entitled                                       .1976) ("abandonment does
   summary judgment because                                           to       from a mere temporary                                          not result
                                        they
   arguendo the Plaintiff established claim that, assuming                                                  withdrawal from the market
                                                                               by outside causes .")                                             caused
                                              the trade mark "Cotton                                         (citing Saxlehner v . E;sner
   tinny" in South Florida during                                              :bfrndc/son Co., 179 U .S . 19,
                                         the period of 1931 through                                                 31 . 21 S .Ct . 7, 11, 45 L .[
   January 1984, ;t abandoned                                                     9G0)) ; ~Y.', Exrnir Corp,                                       :d 60
                                   any rights it may have acquired                                              v . Humble Etplnrurion
   because it did not reintroduce the                                         F .2d 95, 101-02 (S1h CJr .1983) .                              ('n_ 695
                                           mark into the market until                                                     For the purposes of
  two and one-half years later                                                instant summary judgment                                                the
                                   . By the time of reintroduction,
  Defendants had been using the                                                                                         motions,      the claim of
                                        name "Cotton Gin" for over            abandonment cannot forth the
  four years . In support of this                                                                                     basis for Defendants' right
                                                                              use the mark "Cotton Gin ."                                              to
                                    contention, Cotton Gin cites 15
  li .S .C . fi 1127(a) j1 9g2 g Supp,
                                         11 1y,Q.yj which states, inter
  olio,                                                                       Because we have found that
                                                                                                            there
   A mark shall be deemed to
                                 be "abandoned"--                             fact necessary for the resolution exist questions of material
                                                                                                                of this matter, it is
   *1357 (a) When its use has been
                                       discontinued with intent               ORDERED AND ADJUDGED
   not to resume . Intent not to
                                  resume may be inferred from                                                    that Plaintiffs Motion fur
   circumstances . Nonuse for two                                             Summary Judgment is hereby
                                     consecutive years shall be                                              UFNIED . It is further
   prima facie abandonment .
                                                                             ORDERED AND ADJ[Jp(;gp
                                                                                                          that Defendants' Motion for
  In order to utilize the abandonment                                        Summary Judgment is hereby
                                            defense, Defendants                                         DENIED.
 must demonstrate both non-use
                                       of the trademark and an
 intent to abandon it, L;,rited                                              691 F .Supp, 1347, 10 U.S .P .Q2d
                                  Stares Jorcecr ~ . Philride(phia                                                    1108
,lnvce" sa" , 639 F .2d 139, 138-39
                                       13d Cir .1931) (tired with            END OF DOCIIMENT
approval in Citibank, ;1'. .d, v.
                                  Qribuiie Group, Inc . . 724 F .2d
 1540, 154 Illth Cir .l98d))
                                    . Moreover, "abandonment,
being in the nature of a forfeiture
                                        mush be strictly proved ."
/d, at 139 (citation
                      omitted)-

f 17) In the present case, Defendants
                                      have failed to establish
either of the prerequisites for a
                                   defense of abandonment .




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A. Definition

       A contract is an agreement between two or more parries for the doing or not doing

of some specified thing.

.-GA 413.1.1
O




B. ESS¢flti815

       To constitute a lawful contract there must be parties able to contract, a consideration

for the contract, the agreement of the parties to the terms of the contract, and a lawful

subject matter,

O.C.GA. §13-3-1

       1 . Consideration

       A consideration is valid if any person who promised is entitled to a benefit, or any

harm is done to one who receives the promise .

       (Considerations are distinguished into good and valuable . A good consideration is

such as is founded on natural duty and affection, or on a strong moral obligation .         A

valuable consideration is founded on money, or something convemble into money, or having

a value in money. Marriage is also a valuable consideration.)

O.C.GA 013-3-41,13-3-42

       (Note : See O.GGA. 513-3.4A, Promissory Estoppel.)




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        17 . Apportionment of Damages

        Where a case is filed against more than one person for injury to person or property and

the plaintiff is, to some degree, responsible for the injury or damages claimed, the jury, in its

determination of the total amount of damages to be awarded, if any, may apportion its award

of damages among the persons who ate liable and whose degree of fault is greater than that

of the injured party. If apportioned by the jury as provided is this charge, damages shall be

the responsibility of the person, or persons against whom they are awarded, only, and shall not

be a joint liability among the persons liable, and shall not be subject to any right of

contribution from another defendant.

O.C.G .A.§51-12-33

        (Note : This code section does not affect venue provisions regarding joint actions and applies only w
causes of action arising on or after July 1, 1987.)



B . Contracts

        1 . Damages; Generally; Agreement; Nominal Damages

                a) Generally

        Damages are given as compensation for injury sustained .

        Damages recoverable far a breach of contact are such as arise naturally and according

to the usual course of things from the breach, and such as the parties contemplated when the

contract was made, as the probable result of the breach.

O.C.G.A. §§13-6-I ; 13-6-2; 13-6-7




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                  b) Agreement

         If the parties agree, in their contract, on the damages for a breach, they are said to

be liquidated, and unless the agreement violates some principle of law, the parties are

bound by it .

O .C .GA . §1"i-6-7

                  c) Nominal Damages

         In every case of breach of contract, the parry not breaching it has a right to damages .

But, if there has been no actual damage, the plaintiff can recover nominal damages which

will carry the costs.

O.C.GA, §413-6.6; 13-6-12

         2. Attorney's Fees (Expenses of Litigation) ; Generally;
            Notes, Provisions in; Exemplary Damages

                  a) Generally

         The expenses of litigation are not generally allowed as a part of the damages. But,

if the defendant hat acted in bad faith or has been stubbornly litigious, or has caused the

plaintiff unnecessary trouble and expense, you may allow them . You should determine from

the evidence the attorney's fees (or other expense) if any, as will he allowed .

O.C.GA . §13-C,-11

                  b) Notes, Provisions in

         (Note : The stature on this is O.C.GA . 413-1-11 . .4,s the liability or non-liability will usually be a matter
of law, the same u omitted as a jury charge .)

                      c) Exemplary Damages

         Unless otherwise provided by law, exemplary damages can never be allowed in cases

arising on contracts .

O.C.GA . §I3-G-10



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        3. Remote or Consequential Damages in Contract Actions

        Remote or consequential damages are not allowed whenever they cannot be traced

solely to the breach of the contras, or unless they are capable of exact computation, such

as the profits which are the immediate fruit of the contract and are independent of any

collateral enterprises entered into in contemplation of the contract .

O.C.GA . 51348

        4. Interest

        The amount of damages at the date of breach of contract may be increased by the

addition of legal interest from that time until the time of recovery.

        All liquidated demands, where by agreement or otherwise the sum to be paid is fixed

and certain, bear interest from the time the party shall become liable and bound to pay

them; if payable on demand, they bear interest from the time of the demand . In case of

promissory notes payable on demand, the law presumes a demand instantly and gives

interest from date.

O.C.GA §5U-Cr13 ; 7-4-15

        5. Warranty, Breach of; Land; Personally

                a) Land

        Upon a breach of covenant of warranty of title to land, the damages should be the

purchase money with interest from the time of sale, unless the jury should think, under the

circumstances of the case, that the use of the premises was equal to the interest on the

money, and that an equitable setoff should be allowed. If valuable improvements have been

made, the interest should be allowed .

O .C.GA . §44-5-66




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50 Ed . Law Rep . 234
(Cite as : 258 Ga . 720, 373 S.E1d 749)




P                                                                   Webb, Oarlock, Copeland, Semlar S Stair, Atlanta, for
                                                                    Patricia H . Yerby, et a[ .
                  Supreme Court of Georgia .

  CRAWFORD W. LONG MEMORIAL HOSPITAL OF                             *720 MARSHALL, Chief Justice.
           EMORY UNIVERSITY
                             v.                                     During a five-year period preceding July, 1986, Bennett, an
                         YERBY et al .                              attorney, defended Crawford Long Hospital in eighteen
                                                                    malpractice complaints, for which he was compensated by
                          No . 45682.                               the hospital's insurer. Seventeen of these cases involved
                                                                    personal injuries alleged to be the result of negligent
                        Nov. 30, 1988 .                             medical care, and at least six involved allegations of
                                                                    negligence regarding improper surgical procedures and
University hospital named as defendant in medical                   postoperative care.
malpractice case moved to disqualify plaintiffs attorney on
ground of conflict of interest. The Fulton State Court, John        In 1984, while Bennett was representing the hospital in
Bruner, J ., denied motion . The Court of Appeals, Benham,          defense *72l of malpractice claims, Yerby underwent back
J ., 186 Ga .App . 40", 3(i7 S .E2d ?45, affirmed . On certiorari   surgery at the hospital, and he died on the same day. In
review, the Supreme Court, Marshall, C .1 ., held that              1986, Bennett ceased representing the hospital, and later
attorney was disqualified from representing client who              that year filed a complaint against the hospital on behalf of
charged hospital with negligent medical care where conduct          Yerby's widow. The complaint charged that the hospital and
complained of occurred during time attorney represented             one of its employees "failed to exercise the requisite degree
hospital in defending against other negligent care claims .         of care and skill required ."

Reversed .                                                          The hospital filed a motion to disqualify Bennett from
                                                                    representing Yerby . The motion was denied in the trial court
Clarke, P.J ., concurred and filed opinion in which Smith, J.,      and the denial was affirmed in the Court of Appeals .
joined .                                                            Crutc/ord K'. Lortg Lleinni7ad llo.cpRn! of Emor1~ Universili;
                                                                    v . 1'crhi, ISG Ga .apF, . 407, 367 S .L2d 245 (1988) . We
                       West Headnotes                               granted certiorari .
~ 1 1 Attorney and Client C~21
45k21 Most Cited Case,                                              [1] I . Both parties rely upon the long-standing rule that a
                                                                    lawyer is disqualified from representing a party against a
Lawyer is disqualified from representing party against              former client in a matter that is "substantially related" to the
former client in matter that is "substantially related" to          lawyers prior representation . Tiller v . King . 140 Ga . 421 . 9
lawyer's prior representation .                                     S .f .=d 670 (I940)
                                                                                  . See also Summoiiin ie .Johnson, 176
                                                                    Ga .App . 336 .33 ; ti .F .3d V'9 (19 ;t5) . [FNI
IZI Attorney and Client E~21 .5(1)
45k=L9(11 Most Cited Cases                                                   F\'I . The rule applied in these cases has been
                                                                             altered to some degree .
Attorney was disqualified from representing client who
                                                                             A lawyer shall not represent a client whose
charged hospital with negligent medical care where conduct
                                                                             interests are adverse to the interests of a former
complained of occurred during time attorney represented
                                                                             client of the lawyer in any matter substantially
hospital in defending against other negligent cart claims ;
                                                                             related to the matter in which the lawyer
regardless of whether client's claim was "substantially
                                                                             represented the former client unless he has
related" to any claims attorney had defended on behalf of
                                                                             obtained written consent of the former client after
hospital, representation of client created impermissible
                                                                             full disclosure . A violation of this standard may be
appearance of impropriety . Code of Prof.Resp., Canon 9.
                                                                             punished by disbarment . [Standard 69, Rules and
**750 *722 Lokey & Bowden, Gerald F. Handley, Scott
                                                                             Regulations of the State Bar of Georgia.]
Graham, Long, Weinberg, Ansley & Wheeler, J.M . Hudgins
                                                                             Of course, a lawyer may not disclose confidences
IV, Atlanta, Sidney F. Wheeler for Crawford W . Long
                                                                             or secrets of the former client, nor use them
Memorial Hosp . of Emory University .
                                                                             adversely to that client .
Michael T. Bennett, Bennen, Williams & Henry, H.A .
                                                                    [2] 2 . The circumstances of this case create a separate,
Stephen, Jr ., Chambers, Marbry, McClelland & Brooks,
                                                                    though related, problem . Bennett has undertaken to
Hunter S. Allen, Jr., Allen & Ballard, Wade K. Copeland,
                                                                    represent a client who charged the hospital with negligent




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medical care. The conduct complained of occurred during           party in matters involving the same general subject when
the time that Bennett was providing continuing legal              the events giving rise to [he case in question occurred .
representation to the hospital in defending against several
claims that charged the hospital with negligent medical care .    1 am authorized to state that Justice SMITH joins me in this
                                                                  concurrence .
Lawyers in similar circumstances (i .e ., an ongoing
relationship     with     the     hospital   in    defending      END OF DOCUMENT
medical-malpractice claims) of necessity would acquire a
wide range of knowledge concerning the nature of medical
care provided by the hospital . That would include
knowledge (imparted to the lawyer by the client) of
practices, policies, procedures, reporting requirements, and
of ongoing or recurring problems--all as they pertained
during this very period of time .

**751 3 . Bennett had acquired similar knowledge of (and
from) his client as a result of representation that was
ongoing at the time of Yerby's death. That representation, of
course, relayed to claims charging the hospital with
negligent medical care . In this case, we need not determine
whether the medical-malpractice claim that Bennett has
brought against the hospital is "substantially related" to any
of the eighteen medical-malpractice claims that he had
defended ors behalf *722 of the hospital . The circumstance
of representing a client against a former client in an action
that is of the same general subject matter, and grows out of
an event that occurred during !he rime of such
representation, creates an impermissible appearance of
impropriety . It is therefore prohibited by the Canons of
Ethics . [NN] For this reason, the motion to disqualify
should have been granted.

         FN2 . "A lawyer should avoid even the appearance
         of professional impropriety ." Code of Professional
         Responsibility . Canon 9 .
         The holding of this case is limited to representation
         involving the same genera/ subject matter. A
         lawyer in circumstances similar to those of this
         case ordinarily would have acquired no special
         knowledge in malpractice cases that would work
         disqualification in cases of a different general
         subject mater,        e .g ., adverse   representation
         involving    contractual      disputes,  real-property
         matters, and unrelated tort claims would not
         contravene the rule .

JUDGMENT REVERSED .

All the Justices concur.


CLARKS, Presiding Justice, concurring .

I concur in the judgment, and in doing so I emphasize that
the opinion limits the mandate of disqualification to those
cases in which the lawyer was actively representing the




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(Cite as : 304 F.3d 1167)




H                                                                 name on promotional materials, business cards and sign at
                                                                  its broadcasting station . Lanham Trade- Mark Act, §§ 43(a),
Briefs and Other Related Documents
                                                                  45, as amended, Ii U .S .C . A . §F 11I15(a), 1127 .
                United States Court of Appeals,
                       Eleventh Circuit .                         141 Trade Regulation F~;P71
                                                                  38201 Most Cited Cases
     CUMULUS MEDIA, INC., PlaintifT Appellee,
                       v.                                         If trademark holder slops using mark with intent not to
    CLEAR CHANNEL COMMUNICATIONS, INC .,                          resume its use, mark is deemed "abandoned" and it falls into
              Defendant-Appellant .                               public domain, where it is free for all to use . Lanham
                                                                  Trade-Mark Act, § 45, as amended, I > U .S .C .A . ~. 1127 .
                  Nos. O1-16189, O1-16647.
                                                                  I5l Trade Regulation Ca585
                        Sept . 6, 2002 .                          36=k5R5 Must Cited Cases

                                                                  Trademark infringement defendant asserting abandonment
Radio station sued competitor for trademark infringement .
The United States District Court for the Northern District of     defense faces "stringent," "heavy," or "strict" burden of
Florida, No . 01-00441-CV-4-SPM, Stephan P. Mickle, J .,          proof. Lanham Trade-Mark Act, § 45, as amended, 15
held for plaintiff, and defendant appealed . The Court of         U .S .C . .4 . § 1127 .
Appeals, Marcus, Circuit Judge, held that : (1) finding that      161 Evidence fzP584(1)
plaintiff had not abandoned mark was not clearly erroneous;       157k584(i) Most Cited Cases
(2) defendant was not entitled to second evidentiary hearing
prior to entry of preliminary injunction ; and (3) preliminary    "Prima facie showing" simply means evidence of such
                                                                  nature as is sufficient to establish fact and which, if
injunction was not overly broad.
                                                                  unrebutted, remains sufficient for that purpose.
Affirmed .
                                                                  ICI Trade Regulation C=~574
                       West Headnotes                             382k57A Most Cited Cases

I 1 J Federal Courts X862                                         /71 Trade Regulation X576
 170Bk862 Most Cited Cases                                        3R2k576 Most Cited Cases

Dishier court's factual findings on motion for preliminary       Once trademark infringement defendant establishes puma
injunction will not be disturbed on appeal unless clearly         facie case of abandonment, harden qJ'producrion then shifts
erroneous.                                                       to mark holder to demonsrrnie that circumstances do not
                                                                 justify inference of intent not to resume use ; ultimate burden
121 Federal Courts X776                                          of persuasion, however, always remains with defendant.
170Bk776 Most Cited Cases                                        Lanham Trade-Mark Act, § 45, as amended, I S U .S .C .A .
                                                                  1127 ; Fed .Rules Evid .Rulc 301, 28 U.S .C . A .
121 Federal Courts ISIS
170Bk815 Most Cited Cases                                         181 Trade Regulation f~;P585
                                                                  3R2k585 Most Cited Cases
Generally, grant or denial of preliminary injunction is
reviewed for abuse of discretion ; de noun review applies,        Public announcement of trade name change does not alone
however, if district court has erred in its apprehension or       serve to make prima facie showing of abandonment;
application of law.                                               infringement defendant must also introduce evidence of
                                                                  nonuse . Lanham Trade-Mark Act, § 4_5, as amended, 15
(3J Trade Regulation X70                                          U.S .C . .4 . § 1127 .
38200 Most Cited Cases
                                                                  191 Injunction X152
Finding that radio station did not abandon "The Breeze" as        212k152 Most Cited Cases
protectable trade name when it changed its name to "Star
98," and thus that local competitor's identification of itself    Evidentiary hearing is required for entry of preliminary
as "The Breeze" thirteen months later, in effort to trade off     injunction only where facts are bitterly contested and
of preexisting public awareness of name, was infringing,          credibility determinations must be made to decide whether
was not clearly erroneous ; station continued to actively use     injunctive relief should issue.




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304 Fad 1 167                                                                                                 Page 2
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1101 Injunction X152                                            Breeze" to identify its radio station . After thorough review,
212k 15? lost Cited Cases                                       we can find no error in die entry of the preliminary
                                                                injunction and accordingly affirm .
Necessity of holding evidentiary hearing before entry of
preliminary injunction lies within sound discretion of
district court where there is no disagreement as to raw facts
but parties dispute inferences to be drawn from those facts;    The facts relevant to this appeal are straightforward . The
court must strike balance between goals of speed and            parties own and operate competing radio stations in the
practicality on the one hand, and accuracy and fairness on      Tallahassee, Florida market : CMI operates WBZE-FM at
the other.                                                      98 .9 on the FM dial and Clear Channel operates WTLY-FM
                                                                at 107 .1 .
(111 Trade Regulation X624
382k624 Most Cited Cases                                        In January 1994, CMI began using the name "The Breeze,"
                                                                along with a distinctive logo and trading style incorporating
Failure to grant trademark infringement defendant second        the name, to identify WBZE . Between 1994 and September
evidentiary hearing before entry of preliminary injunction      2000, CMI used "The Breeze" in many forms of advertising
was not abuse of discretion ; there was no showing that new     and promotion for WBZE radio broadcasts, including radio
evidence had not been available during pendency of motion .     and television advertising, outdoor signage, business cards,
                                                                cups, mugs, license plates, t-shirts, post-it notes, and
/121 Trade Regulation X628                                      sockets . From 1998 to 2000 alone, CMI spent more than a
3732k62R Most Cited Cases                                       million dollars in the advertising and promotion of "The
                                                                Breeze ."
Preliminary injunction against trademark infrioger was not
overly broad merely because it deprived infringer of            In September 2000, CMI began identifying WBZE on the
opportunity to take curative steps.                             air as "Star 98" instead of "The Breeze" and announced the
" 1168 Svlvia H . Walbolt, Canton, Fields, Ward, Emmanuel,      change through on-air advertisements . At the same time,
Smith & Cutler, P.A ., Saint Petersburg, FL, W. Douglas         CMI altered its music programming from "mainstream adult
Hall, Cadton, Fields, Ward, Emmanuel, Smith & Curler,           contemporary," which targets listeners twenty-four to
P .A ., Frederick Townsend Hawkes, Cadton Fields,               fifty-four years old, to "hot contemporary," which targets a
Tallahassee, FL, for Defendant-Appellant .                      slightly younger demographic of eighteen to forty-nine year
                                                                olds . Other aspects of WBZE's programming, such as its
James W. Dahney, Yennie & Edmonds, New York City,               call- in shows, remained unchanged .
Claudz R. Walker, Tallahassee, FL, for PlaintifT Appellee .
                                                                After the change, "The Breeze" name continued to appear
Appeals from the United States District Court for the           on some WBZE materials, including, infer alia, a large
Northern District of Florida .                                  outdoor sign al WBZE's headquarters, where listeners come
                                                                to collect promotional awards, business cards used by
Before BIRCH and MARCUS, Circuit Judges,                 and    WBZE management and sales representatives, and
FIJLLAM [EN'], District Judge.                                  promotional materials such as cups and license plate
                                                                holders . Third parties also apparently maintained a
         FN* Honorable John P. Fullam, U.S . District Judge     continuing association of "The Breeze" with WBZE . As
         for the Eastern District of Pennsylvania, sitting by   recently as September 2001, a full year after WBZE's name
         designation .                                          change and a mere month before this suit commenced, the
                                                                Arbitron rating agency, which measures radio audience
                                                                market share, continued to credit WBZE i( a listener
.MARCUS, Circuit Judge:
                                                                reported listening to "The Breeze" in Tallahassee .

Clear Channel Communications, Inc. ("Clear Channel")
                                                                On October 8, 2001, approximately thirteen months after
appeals from the district court's entry of a preliminary
                                                                CMI's name change, Clear Channel changed WTLY's on-air
injunction in this trademark infringement suit . At issue is
                                                                name from "The Mix" to "The Breeze" and adopted a logo
whether Clear Channel has infringed the rights of Cumulus
                                                                nearly identical to WBZE's "The Breeze" logo . Clear
Media, Inc . ("CMI") by identifying its Tallahassee, Florida
                                                                Channel, which spent more than $25,000 to promote WTLY
radio station by the name "The Breeze ." While Clear
                                                                as "The Breeze," announced the name change with on-air
Channel asserts *1169 that CMI has abandoned its rights in
                                                                advertisements making statements such as "It's back . . . and
the name, the district court found otherwise and
                                                                it's now at 107 .1 FM--The Breeze" and "The Breeze has
preliminarily enjoined Clear Channel from using "The
                                                                blown up the dial ." One advertisement announced that




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                                        116'n                               Weekly Fed . C                                        935                                                           Page 3


                    W'I'LY has
                                       completed the
                    research stud y in                              most comprehensive
                                           the history of                                                    radio
                   us you want                                                                                              radio listeners .
                                    The Breeze back . , . Tallahassee . .. an d you told                                                              Based 0 she
                   waned . . ., The                                  s~ ~,e did                                                                                                S~ Findin K s , the                  '
                                        [3~eeze is back                            exactly what y~~                        Concluded that CMS                                                          district court
                  WTLY uses a                                      and on the air                                           infringement                               would          likely
                                                                                              a~ to 7 . 1 pM .".                                 and unfair                                      succeed on
                  apparently similarmainstream adult contempora                                                            concluding that                            competi~ ;on claims .
                                            ~o the one                                            ry     format,                                       the     bal   ance of hardship'                 qn er further
                  format change .                                  used by Wg7g                                            interest 4pped in
                                        The district                                                before      its                                      CMPs                                       and   the Public
                  W~ZE appeal to substantially court found that WT~y                                                       preliminary injunction                     favor, the
                                                                                                                                                                                        district court entered
                 WBZE's format c                                 the  tame listeners                         and            The Breeze" to                      ",trainin        g                                   a
                 the same advertisers               and seek to                                    even after             and                         idennfy WT~, y Clear Channel from using
                                            in the same                   generate               (revenue from                  from using or                                       or any ~,yTLY
                                                                  geographic market.                                      style of                         displaying any                                broadcasts
                                                                                                                                      WgZE',s        "The                             imitation of the
                CM! quickly                                                                                                                                    greeze."                                      trading
                                     learned of Clear
                Breeze ." On                                         Channel's                                           immediately
                                   October i2 four                                   Use
               began identifyin8                                   days after Clear of "The                              injunction order,    at"' the district court
                                                                                                                                                                                       Issued its
                                        .1170                                                       Channel                                          Clear Channel
               a complaint
                                 in the district
                                                 WTLY as "The
                                                                             ~rreze, " CMI filed                        which      is the basis of q~,Pea~                         filed a notice preliminary
                                                       coin against                                                    district coon for                                Ho .                            of appeal,
                              infrin gement and unfair competition           Clear Chantrdemk              for                                    a stay                         01- 161 89, and
                  $ 43(a) of the                                                                                       district Court denied               y  Pending       appeal . On                moved    th
              11 .S .C . ~ If25(a) TrSdemark Act of 1946                                      ;n violation                                              the stay motion .                      November z, the
                                      : the                                  (Lanham Act),
             Practices Act,                  Florida  da Deceptive                                         15         On November
                                    Fla . Staff. ~ gp~ .~pq                  and Unfair Trade                                                     6,
             Florida co,~on                                                                                           modification of the' Clear Channel filed a
                                     law. On the same day,(~~FDUTPq^~-      ~~ti~~                       arid        because it prevented                                argue                       mo~io n for
                          copy
            courtesy
               cease and desist  Of the c~mpcomplaint to Clear                       forwarded a                     "The                              Clear Channel
                                                                          Channel                   g with                   Breeze,, name,                                        tom making any
                                     demand .                                         along                          confusion such                   even "curative                                       use of
                                                                                                                                                 as                               uses" deli ned
           Six                                                                                                       107 .1" or ~l                      identifying WTLy as B                           to dispel
                  daysnla'^,unctO~t~p                                                                                                 T'he New Breeze ."
                                                      ~8' LMI Fled a motion for a                                   a second hearing                                  (Tear Channel "The Breeze
                                               n~ October                                                                                    S   to submit                                    also moved
           conducted a hearing                                        24, the district                                                                               testimony and other                      for
          evidence from both            on the  motion, during which                                coon                                                °t been prodded                               evidence,
                                                                                     it received                    Prepare     for    the                                               sufficient time to
          at showing                   parties. CMI                                                                20, the                   hearing held
                              its continuing                   submitted evidence                                                district coon                      on October 24 .
                                                      use                                        aimed                                                                                        On
         evidence included
                                    cup,, license
                                                                of "The
                                                                              Breeze." This                        Charnel filed a
                                                                                                                                            second notice
                                                                                                                                                            denied        these motions November
         other advertising                                  plates, bumper                                        which is [he basis                                  of appeal from               and Clear
                                   items feat                                    stickers and                                                  of                                              the.se
         business cards of WgZf,                                 The Breeze" name                                 consolidated Clear Appeal No . " 1~7~ ~~,~~64~, denials,
                                             managers                                              ; the                                       Charu,e~~y          t~,o  appeals_                    We have
        10 90 ; and                                               showing "The
        office depictingPicture,, of the large billboard                                      Breeze"
                                 "The Breeze"                           outside the W(3
        audio recording                               logo , CMI also                                2r                                                         !I .
                                of an on- air                                  submitted an
       zZ, 2001, betty                         conversation , recorded                                                                                          A.
                              een the WAZE                                            October                   Clam Channel's
       anon
       anonymous         caller who                    operations
      of "The Breeze                     evinced confusion manager and an                                       CMI is not
                                                                                                                                          sole argument
                                                                                                                                                                    in the district
                             ." Clear Channel                           over W'rLy'z use                                            entitled to a                                  5<<~ct court was that
      largely in the                                                                                           has   a                                     preliminary
                             forty, of affidavit,submitted evidence as well,                                         abandoned "The
                                                                                                                                                  Breeze"                       injunction
                  their belief                               trot it, own                                     (F,V  I] The district                             as a protectable because i~
                                                                                                                                                                                              trade name .
     from "The Breeze" that CMf had changed                         gad WBlg~s
                                                                                employees                     abandonment            argument, finding
                                                                                                                                                      coon rejected
                                                                                                                                                                                      Clear Ch annel's
                                  to "Star 98 . "                                              name           make "continuing                                       that CMI had
    On November [,                                                                                           after the                      com,nercial use" of                            continued to
                               the district court                                                                            Sepirmber 2ppp                                       ^T'he Breeze"
    that CMI had                                           issued     its order.                             contends       on appeal that                   name       change . Clear                 even
                           made
    Breeze" tether than continuous, corrunercial                                   It found                  law because                           the district c
                                                                                                                                                                         ourt     erred as a
                                                                                                                                                                                                 Channel
                                  abandoning it, and                        use of "7he                     'y~~~.~               It continued to                                               matter of
   rights in the                                                  thus had continuing                                   burden of proof'                     impose upon
                         name antler both                                                                                                              after L~~~                    Clear Channel a
   Act. It also found                       Channel
                                                 FDUTPA and the                                             what it be~ ;e,res                                               ChaMe) es
                               that Clear                                                                                               to 6e a prima
  name toll "The
                         Breeze" to divert                     had changed Lanham                          Leaving this
                                                                                                                                    b urden
                                                                                                                                                                facie car of                    tablished
                                                                                                                                                                                       aban dorvneRL
                                               audience market                   WTI_Y's                   contends,        con,                  on       its
                to W7'LY                                                     share                                                 ravenes our                  shoulders, Clear
                                   d to trade oft'
                                   Breeze                      of Preexisting from                         Cn  ~~.,~ r.
                                                                                                                               S'huH    "-Ri~~_c
                                                                                                                                                        holding in f.                           Channel
                                                                                                                                                                                    Xrnm ,Lfatten R.
 ChR'B7_E_Eannels use                            <       thus                       Public                ( I I th fir.! yg,~ .                   lnl'l bn~~oi~lst
                          of "anTh e                               found that Clear                                                  Aftercare ful revie                    /u c' .. 7 ;~, ['2d IS?9
 mislead substantial                    Breeze" had been                                                  in the district                                            w, we find
                                numbers     of                           calculated             to                             coon's      analysis     .                              no  legal    error
 into believing
                            that WTLY~S Tallahassee radio listeners
continuation of (or                                 "The Breeze'                                                        FN'I  . Uuring
Breeze." The                  somenamehow                                       was a                                                            the October
                         district court         factaffiliated with) WgZJ,~                                            Channel 's                                           zq hearin
Channel's use of the                          Further found                      s"The
                                                                                                                       were stil till    counsel conceded that ~~;f theg, Clear
                                        hadain                             that    Clear                                       sUsing The                                                  Y [C~.11]
                                                             confused Tallahassee                                     Wouldn't be up here Breeze , the ycould stop us
                                                                                                                     Channel's Position                arguing        to   the contra
                                                                                                                                                         ,~S that ,                       ry .' Clear
                                                                                                                     abandoned "'('he                            .        because <, Mf
                                                                                                                                                Breeze,- ~t cannot                                  has
                                                                                                                                                                                   succeed on the

                                                  C°Dr 0 West 2004
                                                                                 No Claim to Grig . U.S . Govt
                                                                                                                                Works
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                merits of its infringement claim .
                                                         Clear Channel
                raised no argument in the district                                probabilities of ultimate success . . . with
                                                        court regarding                                                            the consequences of
                the other three prongs of the                                     immediate      irreparable
                                                 familiar preliminary                                            injury . . . .     Weighing
                                                                                  considerations is the responsibility of                            these
                injunction standard and does not
                Z                                                                                                               the districtjudge . . . . "j,
                                                          challenge the
               district court's findings under them
                                                         on appeal . See          Ordinarily, a district coup's legal
               C'D.S Rroad., Me . v. E,hoSlar                                                                           conclusions alone are
                                                       Cummtmicn(inns             subject to our de no,, review .
               Corp ., 265 F . 31d 1193, 1200                                                                     See C63' Broud., 3C265 F .3
                                                 (11111 Cic21101 1 (to             ~00: E.  k,rnr} .4fa+rin, 75<thenF' .2dthisai              dathsI
               moot preliminary injunctive                                                                                        152ycoon("[Ilfmus(the trialreviewcou
                                                relief, movant must                    misapplied the law,
               show that (1) it has substantial
                                                          likelihood of           correct the error without                                                        andR
               success on the merits ; (2) ;t                                                                            deference to that court's
                                               ,ill  suffer irreparable           determination regarding the legal
               injury unless injunction issues                                                                                   issue."). Only if we find
                                                    ; (3) threatened              that the district court has
              injury to movant outweighs                                                                              erted in its apprehension or
                                                      possible injury            application of the law will we subject
              injunction may cause opposing                                                                                                 the entirety of a
                                                       party ; and (4)           preliminary injunction order to plenary
              injunction would not disserve                                                                                            review . See E. Remy
                                                      public interest)           Martin . ?S0 F .2d at 1529 ("If the lower
              (citingSieoe/ r. LVPore . _3d F3d 1163,                                                                                  court has misapplied
              Cir.2000) (en banc)) .                         1176 (I lih         the law, its conclusions are subject
                                                                                                                                to our broad review ."),
    [1j We begin our review by noting                                            [±] The district court found that
                                                  how deferential it is .                                                  CMI is likely to prevail on
    Preliminary injunctions are, by their                                       its claims because it has protectable
                                                 nature, products of an                                                           tights in the name "The
   expedited process often based upon an                                        Breeze" and Clear Channel has
                                                   underdeveloped and                                                    used the name in a deceptive
    incomplete evidentiary record . See Reverie                                 manner likely to mislead Tallahassee
                                                         r. /if? .4,cs'n oJ'                                                        radio listeners . [FN2J
   Bridge, SlMcreiral cf- OrnurnelVnl                                           We agree. CMf has clearly made
                                              Iron librke,-.s. 740 F'1d                                                         use of "The Breeze" in
   992, 893 (11th C5r .19841 (per curiam)                                       commerce, (f-[v'31 the name itself
                                                       (°[T]he grant or                                                      is at least suggestive (and
   denial oFa preliminary injunction is                                         perhaps arbitrary or fanciful)
                                               almost always based on                                                 and thus proteclable under §
  an abbreviated set of facts . . . .")                                        43(a) without a showing of secondary
                                           (quoting Grav line hfolnr           we find no fault in the district                      meaning, [PN4] and
   7 .0urs, /nr . r . Cirv                                                                                             court's conclusion that Clear
                           Of .HEr)v Orleans, 498 F2d 293 . 296 (5th
  Cir.1974)) . As is usually the                                               Channel's use of that name is
                                       case, the trial court is in a far                                                 likely to cause confasion--
  better position than this Court to evaluate                                  indeed, has already caused
                                                     that evidence, and                                            confusion--among Tallahassee
  we will not disturb its Factual                                              radio listeners . [FNi]
                                            Fndings unless they are
  clearly erroneous . See CBS l3rnod., 2fi5
                                                      I'.3d at 1200 ; £.                    Pti2 . We focus only on federal
  Remp Marlin . 756 F .-d at 15 .9 ("Factual                                                                                    law, because our
                                                    findings . . . will be                 analysis of CMI's Lanham
  reversed only if clearly erroneous") .                                                                                     Act claim renders
                                                                                           unnecessary any consideration of
                                                                                                                                 CMPs FUUTPA
   [2] The expedited nature of                                                             claims at this stage of the case . See
                                          preliminary injunction                           Crnuiter, Inc ., 257 F .3d 124,
                                                                                                                                   Lucn .c . ". fi',Ii-:
   proceedings often creates not only limits
                                                    on the evidence                                                                   1256 (llth
   available but also pressure to                                                         ~~~~Z00 1) (°[W]e may affirm [the district
                                       make ditTicult judgments                                                                             court's]
   without the luxury of abundant time                                                    judgment 'on any ground that finds
                                              for reflection . Those                      record .' ") (quoting JuJJka r.
                                                                                                                                   support in the
  judgments, about the viability of a plaintiffs                                                                            Dmn6um, 752 U .S .
  balancing of equities and the public               claims and the                       280, 281, 77 S .Ct . 30,
                                          interest, are the district                                                     308, 1 L .Ed2d 3(4
                                                                                         f 1957)) ; see also AmBrlt,
  court's to make and we will not set them aside unless the                                                            812 F .2d at 1535 n . 6
  district court has abused its discretion                                               ("(B]ecause of our disposition
                                              in making them . See                       claims, we need not review
                                                                                                                                 of the federal
 AmBrir, Inc. c. KnaJr. Inc., 812 F.2d                                                                                      the district court's
                                                 1531, 1577 (11th
  Cir .19R7) ("We review the district                                                    handling of the state law
                                        court's order only for an                                                         claims .") . The two
 abuse of discretion ; '[tjhe trial judge's                                             elements CMI must prove under §
                                            ability to formulate a                      has rights in "The Breeze"
                                                                                                                                43(a) are that it
 decree tailored to deal with the violations                                                                             name and that those
 case is normally superior to that of              existent in each                     rights have been violated by a
                                        any reviewing court, due                        use of the name by Clear
                                                                                                                           confusingly similar
 to his familiarity with [the] testimony                                                                              Channel . See Cnnag,",
                                                 and exhibits .' ")                     hug . r . Singleton, .43 F .2d
 (alterations in original) (quoting "                                                                                       1508, LS 1 2 f i fth
                                          1172C'nited States v
L,oew's, Inc ., 371 GS . 38, 5=, $;                                                     Cir .19R4) .
                                            S .Ct. 97, 105-pG, 9
 LEd1d I I (1962)) ; Rereue . 740 E=d
                                             at 1193 ("The district                     F\3 . While it appears that
court's decision will not be reversed                                                                               CMI has not registered
                                          unless there is a clear                       "The Breeze" and
abuse of discretion . This Court will not                                                                  thus cannot proceed under § 32
                                              review the intrinsic                     of the Lanham Act, I S
merits of the case .") (citations and                                                                                 l' .S .C . § 1114, it
                                            quotations omitted) ;                      nonetheless may proceed under §
Grav Line, 498 F2d at 295 (poling [hat                                                                                       43(a), IS U .SC .
                                               whether to grant a                      s 1125, if it has made use
preliminary injunction "requir[es] a delicate                                                                              of the mark in
                                                  balancing of the                     commerce . See :lfo~u~unicr~- i- "
                                                                                                                            :Volta, 16$ F .7d




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53                                                                                                                                                                            its ratings
                F.3d 1161)                                                                                                                                 Style to increase of Defendants
(Cite as : 304                                                                                                                        Plaintiff's trading public 'association         sarvices
                                                                                                                                                    false                with the
                                                                                                             settled                  profit from              services           be en a
                                                                                                                                                                                          ctual
                                                        CirJ94~1              ("~~. is well action                                             broaScasung
                                                                                                                                                                These has also              the
                               n . i .l ( I     ld~                                              to an                                 radio                                            to
                                                                  V«reyuisde                                           c.                            Plaintiff
                                                                                                                                       offered by~. p~ the evidence
                                                                                                                                                                           presented
                            ' fn".' ( is' not a
                    lreg;straaon                                           Ticu            P,~(,~ . Inc .                                                                              bearing,
                                                                                                                                                                                                               in)unction
              that                                                                                                                                   confusion .
                                        431a1~~ feting                    7G3.           763 , II_                                                               court       at   the preliminary erroneous .
           Under section
           u                                  . ;0; 1J 5 .                                              Ylunetnrp                                    district                               nor clearly
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          FK6 . The definition of abandonment given in                  The district coup rejected Clear Channel's abandonment
           I I?? reads in full :                                        defense, specifically finding that
          A mark shall be deemed to be "abandoned" if                     [c]onsiderable good will accrued to Plaintiff as a result of
          either of the following occurs :                                Plaintiffs promotion of "The Breeze ." Plaintiff has kept
          (I) When ids use has been discontinued with intent              up this association with "The Breeze" and the good will
          not to resume such use. Intent not to resume may                by using "The Breeze" logo on business cards and the
          be inferred from circumstances . Nonuse for 3                   sign at its broadcasting studio . Plaintiffs continuing
          consecutive years shall be prima facie evidence of              commercial use of "The Breeze" goes beyond mere token
          abandonment. "Use" of a mark means the bona fide                use, thus going against a finding of abandonment.
          use of such mark made in the ordinary course of              On the basis of these factual findings, and noting that
          trade, and not made merely to reserve a right in a           "Defendant bears a strict burden of proof," the district court
          mark .                                                       concluded that Clear Channel was "not likely to succeed on
          (2) When any course of conduct of the owner,                 the    merits    of    its  abandonment      defense ."     [FN9]
          including acts of omission as well as commission,            Abandonment is a finding of fact we review only for clear
          causes the mark to become the generic name for               error, see nn-Line Caroline. Inc. v . America Online. Inc. .
          the goods or services on or in connection with               .29 fad 1080, 1087 (Fed .Cir2000) ( "Abandonment is a
          which it is used or otherwise to lose its significance       question of fact ."); +1175 Ricnrd v . Linville . 133 F .3d 1446,
          as a mark . Purchaser motivation shall not be a test          1449 (Fed .Cir .1998) (same), and we cannot say the district
          for determining abandonment under this paragraph.            court's finding is clearly erroneous on the preliminary record
          I S U.S .C . § 1127 .                                        before us . [FN 10]

          PN7. "Use" as contemplated by the definition of                        FK9 . The district court also rejected Clear
          abandonment in IS U.S .C . § 1127 requires more                        Channel's abandonment         defense to CMI's
          than mere token use: " 'Use' of a mark means the                       FDUTPA claims : "Defendant's affirmative defense
          bona fide use of such mark made in the ordinary                        of 'abandonment' gives it no license to mislead
          course of trade, and not made merely to reserve a                      consumers in the State of Florida in violation of the
          right in a mark ."                                                     FDUTPA ."

Because proving the subjective intent of a trademark holder                     Fti 10 . Admittedly, evidence of CMI's use of "The
may prove burdensome for a defendant, see S'amu~ga l4chp                        Breeze" after WBZE's September 2000 name
Spring Co. v. /.ehnran . 625 F .=d 1037, 1044 (?d CirJ980)                      change was limited, consisting largely of a logo on
("intent is always a subjective matter of inference"), the                      a billboard, some business cards, and a few
Lanham Act provides two aids for demonstrating intent .                         promotional materials, but it was sufficient to
First, it provides that "[i]moot not to resume may be inferred                  enable the trial court to reject Clear Channel's
from circumstances ." IS U .S .C, ; I 12- ; see also V9tuline                   abandonment defense . This does not foreclose the
Corp, v . Gc "rt . Milk, Inc . . 891 F .=d 273 . 27? (FedCir .l9ti9)            possibility that, on a full record, the court may find
("Although abandonment requires both non-use and intent                         that these items are simply vestigial holdovers from
not to resume use of the mark, the element of intent can be                     CMPs "Breeze" regime, evincing merely a
established inferentially by the same facts that establish                      haphazard transition to use of the "Star 98" name
non-use .") . Second, it allows a showing of three years of                     rather than an intent to continue using "The
consecutive nonuse to create a rebuttable presumption of                        Breeze ." But for our purposes today, the district
intent not to resume use : "[n]onuse for 3 consecutive years                    court, after reviewing the evidence determined that
shall be prima facie evidence of abandonment ." I S U .S .G                     these items were not merely vestigial and were
1] .Z [FNR]                                                                     instead pan of CMI's active use of "The Breeze ."
                                                                                The district court did not commit clear error in
         FN8. Prior to January I, 1996, nonuse for two                          making this finding of fact .
         consecutive years was prima facie evidence of an
         intent not to resume use . Pursuant to the Uruguay            Thus, were the district court's factfinding regarding
         Round Agreements Act, § 45 of the Lanham Act,                 abandonment the only concern pressed by Clear Channel,
         IS U.S .C . § I 12?, was amended, effective January           we could quickly put the issue to rest . But it is not . Hoping
         I, 1996, to require evidence of nonuse for three              to circumvent the deferential standard of review afforded
         consecutive years to establish a prima facie case of          factual findings, Clear Charnel assess that the district court
         abandonment. See Uruguay Round Agreements                     committed legal error in its allocation of the burden of proof
         Act, Pub.L . \"u . 103-d(,5 . § 52I, IOK Stat . 4809,         on its abandonment defense . Clear Channel contends that
         4981-82(1994) .                                               rather than placing on it "a strict burden of proof," the




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                                                                  the .~e the burden °.~.i burden of a               proof                                               for
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          F\ 13 . It was unnecessary to resolve this question                  at 1015 n . -7 (citing Trade-marks : Hearings on H.R .
          on [he specific facts of E. Renn Martin, because                     82 Before the House Comm. on Patents, 78th
          we found that the mark holder could not meet even                    Cong . 24 (1944) ("The bill provides that
          a burden of production, let alone a burden of                        discontinuance of use for 2 consecutive years shall
          persuasion . See 756 F .2d at 1532-33 .                              be prima facie abandonment . It would shift the
                                                                               burden to the registrant .") (testimony of Daphne
         FK15 . In Banner v. City ofYrichnrd, GGI F.2d                         Robert, Esq .)) .
         1=0G . 1209 (11 th Cir.1981) (en bane), this Court
         adopted as binding precedent all of the decisions of         We agree with the Federal Circuit, see Cenrcerio
         the former Fifth Circuit handed down prior to the            Ce"»ironnnericnnn . 392 F .2d at 10=6, that, given the lack of
         close of business on September 30, 1981 .                    evidence of Congress's clear intent to the contrary, this
                                                                      approach better comports with Rule 301 of the Federal
The legislative history of the Lanham Act is similarly                Rules of Evidence, which provides that
equivocal about what burden shifts to a mark holder once a              In all civil actions and proceedings no( otherwise
prima facie showing of abandonment has been made .                      provided jar by Act of Congress or by these rules, a
[FN'161 Every federal court that has considered the question,           presumption imposes on the party against whom it is
however, has determined that a prima facie case of                      directed the burden of going forward with evidence or to
abandonment shifts only the burden of production, while                 rebut or meek the presumption, but does no( shift to such
leaving the ultimate burden of persuasion always with the               party (he burden of proof in the sense of the risk of
defendant . See, e.g., On-Line Cnreline . 229 F .3d at 1087             nonpersuasion, which remains throughout the trial upon
("Establishing a prima facie case eliminates `(177 the                  the party upon whom it was originally cast .
challenger's burden to establish the intent element of                Fed R. Evid . 301 (emphases added) . Accordingly, we hold
abandonment as an initial part of [his] case, creating a              that the ultimate burden of persuasion on the issue of
rebunable presumption that the trademark owner has                    abandonment remains with the defendant, and we can
abandoned the mark without intent to resume use . The                 discern nothing to the contrary in E. Remy~54ur7in .
burden then shifts to the trademark owner to produce
evidence that he either used the mark during the statutory            [8] In short, the district court was correct to leave the
period or intended to resume use . The burden ojpersuasion,           ultimate burden of proof--and a "strict" one at that--with
however, always remains with the petitioner to prove                  Clear Channel. See Conugru. 743 F.2d at 1516 ; Citibank.
abandonment by a preponderance of the evidence .")                    724 F.2d at 1545 . On this preliminary record, wen, the very
(alteration in original) (citations and quotations omitted and        most Clear Channel can say is that it met its burden of
emphasis added) ; E)nergencr One . 228 Fad at 5 ;6 ("Proof            production on abandonment, and thereby shifted the burden
of three consecutive years of non-use thus creates a                  of going forward to CMI. Even if the burden of production
presumption--a mandatory inference of intent not to resume            did shift, however, CMI plainly met it by introducing
use . Once the presumption is triggered, the legal owner of           evidence of its continued use of "The Breeze"-the business
the mark has [he burden of producing evidence of either               cards, the billboard, and the promotional materials.
actual use during the relevant period or intent to resume use .       Weighing all of the evidence submitted by both sides, the
The ultimate burden of proof (by a preponderance of the               district court made the critical factual finding that CMI had
evidence) remains alwavs on the challenger.") (citations              not abandoned "The Breeze ." We can find no legal error in
omitted and emphasis added) ; Rivurd. 133 Pad at 1449 ;               the district court's analysis, nor can we say that its
Rnulo c. Ku.ra' Berrie 8: Cu ., 886 F .2d 931, 938 (7th               factfinding *1178 was clearly erroneous. [FT 17]
Cir .19N9) ( "However, in contradiction to defendants
contention that the plaintiff must also bear the burden of                     F\ 17 . Clear Channel also argues that CMPs public
persuasion on this affirmative defense, the owner of the                      announcement of its name change alone establishes
trademark need only produce evidence to rebut the                             a prima facie case of abandonment. While such an
presumption while the ultimate burden ofpersuasion rests                      announcement is the type of circumstance from
on the defendant.") (emphasis added) ;                Snrictc de              which intent not to resume use may be inferred, see
Derelopmeuls ei D'lnnovoliuna' des Marches Auncoles et                        McCarthy, supra, § 1'7 :1I ("An intent not to
dliman~uires-Sodima-Liuu~i de Conpero(ires .9gricolcs v.                      resume use might be explicitly stated in
/n('! Yogurt Co . . 662 F .Supp . 8391 845 (D .Or .1987) ; see also           advertising, as where a company advertises that
-16du6Juhbar . 8i F3d at 41I n . d ("[I]n . . . the Ninth,                    'We Are Changing Our Name from ALPHA to
Second and Seventh [circuits], prima facie abandonment                        ZETA . Don't Call Us ALPHA any more.' ");
creates only a rebwtable presumption of abandonment .") .                     Hi(mid Potato Chip Co. v. Culbro Snack Foods,
                                                                              Inc., 585 F.Supp. 17, 22 (S .DJowa 1982);
         FN 10 . See Cerveci " ria Cenlrnuiriericartu. 892 F .2d              Emergene,r One. 223 F.3d at 540, it does not alone




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         serve to make a prima facie showing of                       preliminary injunction must be "narrowly tailored to fit
         abandonment . A defendant must also introduce               specific legal violations, because the district court should
         evidence of nonuse .                                        not impose unnecessary burdens on lawful activity," Starlet
                                                                      Corp . v . Converse, lnc. . 170 F .3d 286, ?99 (2J Cir .i999)
                               B.                                    (citations and punctuation omitted), the district *1179 court
                                                                     was under no obligation to permit Clear Channel to use
[9][10] Clear Channel's second argument on appeal is that            "The Breeze" as it seeks to do and we cannot say it erred in
the district court abused its discretion by failing to hold a        failing [o do so . Curative steps are sometimes required when
second hearing after issuing the preliminary injunction so           a new user wants to use a mark that has been abandoned but
that it could introduce additional evidence . An evidentiary         is still associated by the public with its former holder .
hearing is required for entry of a preliminary injunction only       [FNl8] In such a case, the preventive measures are a
"where facts are bitterly contested and credibility                  condition on the use of the mark by the new user . A court
determinations must be made to decide whether injunctive             need not permit curative steps to an injringer treading upon
relief should issue ." McDonnld's Corp . r. Robertson . 147          the protectable rights of a current user . Even if the uses of
Fad 130L 1312 (I Ith Cir .1998) (citing d/! Care Nursing             "The      Breeze"     for   which     Clear   Channel     seeks
Sere. . Inc . v . UetqesdU Memorial Hosp. . Inc., 387 F .2d          permission--such as identifying WTLY as "The Breeze
 1535, 1538 (1 Ith Cir .1939)) (other citations omitted) . In this    107 .1" or "The New Breeze"--would not infringe CMI's
case, there is "little dispute as to raw facts ;" id. at 1313        rights in the name, the district court was well within the
(quoting Jackcon ~~ . Fair, 846 F1d SI I, 819 (1st Cir .1988)) ;     bounds of its discretion to deny Clear Channel those uses .
that is, both parties agree that the billboard outside of CMI's      "An injunction can be therapeutic as well as protective . In
offices, CMI's business cards, and some of CMCs                      fashioning relief against a party who has transgressed [he
promotional materials continue to bear "The Breeze" name             governing legal standards, a court of equity is free to
and logo after WBZE's name change . There is, however,               proscribe activities that, standing alone, would have been
"much [dispute] as to the inferences" to be drawn from these         unassailable ." ,dmBrir . 812 F .?d at 1548 (quoting Kentucbv
raw facts . ld. (quoting Jackson, 846 F?d at 819) . In such a        Fried Chicken Corp. v. Diversitlied Packaging Corp ., 549
situation, we have adopted an "approach to determine                 F .2d 368 . 390 !5th Cir .1977)) ; see also Indianapolis Colts .
whether an evidentiary hearing is necessary that 'leave[s] the       34 fad at 416 (finding argument analogous to Clear
balancing between speed and practicality versus accuracy             Channel's "bath[ing]"); Chevron Client . Co . v. l'nlunrarv
and fairness to the sound discretion of the district court .' "      Purchasing Groups. Inc., 659 F' .2d 695, 705 (5th Cir. Unit
/d. (alteration in original) (quoting Jackson, 846 F .2d at          .A Oct .23, 1931) ("[A] competitive business, once convicted
819) .                                                               of unfair competition in a given particular, should thereafter
                                                                     be required to keep a safe distance away from the margin
[l I] Here, the district court held an evidentiary hearing and       line--even if that requirement involves a handicap as
allowed the parties the opportunity to submit supplemental           compared      with    those   who have       not   disqualified
evidence after the hearing before issuing the injunction .           themselves .") (emphasis added) (quoting BrudericA 8
Nevertheless, Clear Channel contends that, because it was            l3a .rcnm Rope Co . v. 6/nnaJf, 41 F2d 353, 354 (6th
unable to find and prepare witnesses in time for the first           Cir .1930)) . The district court was thus well within the
hearing, the district coup should be compelled to give it            bounds of its discretion in shaping the contours of the
another bite at the apple. But "where a party attempts to            injunction and we will not second guess its judgment .
introduce previously unsubmitted evidence on a motion to
reconsider, the court should not grant the motion absent                      FLAIR. See Restatement (Third) of Unfair
some showing that the evidence was not available during                       Competition § 30 cmt. a (1990) ("A designation
the pendency of the motion ." Mmes r. US. Postal Serr ., 122                  that has been abandoned ... may for a time retain its
Fad 4±, 46 (11th Cir.1997) . Clear Channel has made no                        significance as an indication of association with the
such showing. Accordingly, we cannot say that the district                    former user . During the period of residual
coup abused its discretion by denying Clear Channel a                         significance, use of the designation by another is
second hearing.                                                               likely to be perceived by prospective purchasers as
                                                                              an indication of association with the former user .
                               C.                                             Unless      the    subsequent     user    adequately
                                                                              distinguishes its use of the designation from the use
[ 12] Clear Channel's third and final argument on appeal is
                                                                              by the original owner, the subsequent use is likely
that the district court's injunction is overbroad because it
                                                                              to deceive prospective purchasers with respect to
prohibits Clear Channel from making any use of "The
                                                                              the source or sponsorship of the goods or
Breeze," even what it dubs "curative uses" designed to
                                                                              services ."); McCarthy, supra, § 172 ("(H]ecause
dispel confusion Clear Channel may create by its on-air
                                                                              their subsequent use of the abandoned mark may
identification of WTLY as "The Breeze ." While a




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        well evoke a continuing association with the prior
        user, those who make subsequent use may be
        required to take reasonable precautions to prevent
        confusion.") .

AFFIRMED .

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IS Fla. L. Weekly Fed. C 986

Briefs and Other Related Documents (Hack to top)

" =002 WL 32102005 (Appellate Brief) Initial Brief of
Appellant, Clear Channel Communications, Inc. (Apr. OS,
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" 2002 \VL 3:102006 (Appellate Brief) Reply Brief of
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2002)

" 2002 1k'L 32102004 (Appellate Brief Brief of
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H                                                                141 Trade Regulation X133 .1
                                                                 3H1k]33 .1 Most Cited Cases
                United Stakes District Court,
                      S .D . New York .
                                                                 Amendment of statute governing determinations of
      EMMPRESA CUBANA DEL TABACO, d .b .a .                      trademark abandonment, increasing period of nonuse
              Cubatabaco, Plaintiff,                             sufficient to constitute prima facie case of abandonment
                    v.                                           from two years to three years, was not retroactively
 CULBRO CORPORATION and General Cigar Co ., Inc . .              applicable . Lanham Trade-Mark Act, § 45, IS U.S C.A . y
                Defendants .                                     11=7 .

                 No . 97 C[V. 8399(R W'S).                       15) Trade Regulation !X70
                                                                 3S2k70 Most Cited Cases
                       June 26, 2002 .
                                                                 Elements of claim for trademark abandonment are: (I)
Cuban      cigar     manufacturer    challenged     American     non-use and (2) intent not to resume use. Lanham
manufacturer's rights in "COHIBA" trademark. On cross            Trade-Mark Act, § 45, IS U.S .C .A . § 1127 .
motions for summary judgment, the District Court, Sweet,
J., held that : (I) defendant abandoned mark for period of       161 Trade Regulation C~75
time; (2) fact issue existed as to whether defendant             38205 Most Cited Cases
intentionally infringed upon plaintiffs mark ; (3) plaintiffs
                                                                 Where presumption of trademark abandonment has been
suit was not bared by acquiescence, estoppel or lathes ; (4)
                                                                 established by nonuse for statutory period, trademark owner
plaintiffcould not assert infringement claims under General
                                                                  has burden of demonstrating that circumstances do not
INer-American Convention for Trade Mark and
                                                                 justify inference of intent not to resume use. Lanham
Commercial Protection QAC) or International Convention
                                                                 Trade-Mark Act, § 45, I S U .S .C .A . § 1127 .
for the Protection of Industrial Property (Paris Convention) ;
and (5) fact issue existed as to whether plaintiffs mark was
                                                                 171 Trade Regulation X75
well-known in United States at time defendant registered it .    3R2k75 Most Cited Cases
Motions granted in part and denied in part .
                                                                 Bare assertion of possible future use of trademark is not
                                                                 enough to prove intent to resume use, for purpose of
                      West Headnotes
                                                                 rebutting presumption of abandonment arising from nonuse
                                                                 for statutory period ; mark owner must come forward with
I I J Trade Regulation $375 .1
3S2k375.1 Most Cited Cases                                       objective, hard evidence of actual concrete plans to resume
                                                                 use in reasonably foreseeable future when conditions
Party in coon proceeding cannot assert equitable defenses,       requiring suspension abate. Lanham Trade- Mark Act, § 45,
such as acquiescence, estoppel or lathes, against                IS C .S .C .A .§ 1127 .
cancellation claim asserted on ground trademark had been
abandoned or was improperly obtained .              Lanham       18/ Trade Regulation X71
Trade-Mark Act, § 14(3), 15 U.S .C .A . y 1064(3) .              3820) Mutt Cited Cases

121 Trade Regulation pfia74                                      Cigar manufacturer's nonuse of trademark for five year
3R2k74 Most Cited Cases                                          period constituted abandonment, absent evidence to support
                                                                 manufacturer's claim that mark was withdrawn in order to
Determination that trademark has been abandoned defeats          plan for its future introduction on new product; resumption
alleged owners claim of priority .                               of mark's use was merely as new label for existing product.
                                                                 Lanham TradeMaric Act, § 45 . 1 5 U.S .C .A . § 1127 .
/31 Trade Regulation 4575
3R2k75 -Most Cited Cases                                         191 Trade Regulation st71
                                                                 38201 Most Cited Cases
Because it constitutes forfeiture of property right,
abandonment of trademark must be proven by clear and             Cigar manufacturers mere intent not to abandon trademark
convincing evidence, and statutory aid to such proof must        during five-year period of non-use was insufficient to rebut
be narrowly construed . Lanham Trade-Mark Act, § 45, IS          statutory presumption of abandonment manufacturer had to
U.S .C .A .$ 1127 .                                              show concrete plans to resume use in reasonably foreseeable
                                                                 future . Lanham Trade-Mark Act, § 45, IS U.S .C .A . $ 1127 .




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1101 Trade Regulation C=70                                        manufacturer's infringement claim was baited by lathes .
18200 Moss Cited Cases
                                                                  1171 Trade Regulation E~76
Trademark "warehousing," which is impermissible, occurs           38-k76 Most Cited Cases
when one hoards mark for future use without concrete intent
to use it in future . Lanham Trade-Mark Act, § 45, 1              Cuban cigar manufacturer's three or four year delay in filing
U.S .C .A . y 1 127.                                              trademark infringement suit was not sufficiently significant
                                                                  or purposeful to preclude it from asserting that defendant's
1111 Trade Regulation &x+71                                       unclean hands precluded it from asserting lathes defense;
38?k71 Most Cited Cages                                           there was no evidence that suit was delayed in order to take
                                                                  advantage of defendant's marketing efforts.
Neither trademark owner's consideration of bade dress
issues, nor its sending of cease and desist letter to potential   1181 Trade Regulation t~+76
infiinger, were sufficient to rebuff presumption of               3F?k76 Most Cited Cases
abandonment arising from nonuse of mark for statutory
period ; actions were minor activities that fail to establish     Where trademark infringement plaintiff presents strong
any intent to resume use of mark in reasonably foreseeable        showing of likelihood of confusion, equitable defenses, such
future . Lanham Trade-Mark Act, § 45, 15 U .S .C ..4 . § 1227.    as lathes or acquiescence, will not bar its claims for
                                                                  injunctive relief, although they may preclude recovery of
1121 Trade Regulation l:=75                                       damages.
38?k75 Most Cited Cases
                                                                  1191 Trade Regulation `E.~334.1
To refute allegation of trademark abandonment, contesting         382034 .1 Most Cited Cases
party must proffer more than conclusory testimony or
affidavits .                                                      Although existence of direct competition between brands is
                                                                  factor to be considered in determining whether there is
1131 Equity X65(1)                                                likelihood of confusion, trademark infringement can be
150k65(1) Most Cited Cases                                        found even if plaintiffs mark is not registered in United
                                                                  Slates and its product is not sold in United States . Lanham
Under doctrine of "unclean hands," court may decline to           Trade-Mark Act, § 43(a), 1i U.S .C .A . § I 125(a) .
exercise its equitable powers in favor of party whose
unconscionable act has immediate and necessary relation to        [201 Trade Regulation BX333
matter he seeks in respect of matter in litigation .              3R2k333 Must Cited Cases

1141 Trade Regulation X76                                         1201 Trade Regulation E~334 .1
3S=k76 Most Cited Cases                                           3R2k334.1 Most Cited Cases

Although doctrine of "unclean hands" will prevent                 120) Trade Regulation E~340.1
application of equitable defenses in trademark infringement       382040 .1 Most Cited Case,
case, any purposeful delay on part of plaintiff in order to
take advantage of alleged infringes s use of mark will vitiate    /201 Trade Regulation &363 .1
this rule .                                                       3R2k3ti3J Most Cited Cases

1151 Trade Regulation b76                                         Factors court considers when determining likelihood of
38206 Most Cited Case,                                            confusion, and hence trademark infringement, are : (I)
                                                                  strength of plaintiffs mark ; (2) similarity of plaintiffs and
Intentional infringement acts as bar to assertion of lathes       defendant's marks; (3) competitive proximity of services ;
defense against infringement suit seeking injunctive relief.      (4) likelihood that plaintiff will bridge gap and offer service
                                                                  like defendant's ; (5) actual confusion; (6) good faith on
/161 Trade Regulation X76                                         defendant's pan; (7) quality of defendant's service; and (8)
3R2k7611ost Cited Cases                                           sophistication of buyers . Lanham Trade-Mark Act, § 43(a),
                                                                  15 U.S .C .A .§ 1125(a).
Issue of material fact as to whether American cigar
manufacturer   intentionally  infringed upon    Cuban             (211 Trade Regulation X722
manufacturers trademark precluded summary judgment on             332k722 Most Cited Cases
American     manufacturers    assertion  that   Cuban




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Issue of material fact as to whether American cigar            Presumption of lathes arises in trademark action when
manufacturer's trademark was likely to cause consumer          plaintiff dues no[ bring suit within suture of limitations
confusion with Cuban manufacturer's mark precluded             period applicable to state-law fraud claims .
summary judgment on American manufacturer's assertion
that Cuban manufacturer's infringement claim was barred by     1281 Trade Regulation X387
lathes .                                                       3S-k3R7 Most Cited Caws

IZZI Trade Regulation X76                                      Cuban cigar manufacturer's delay of up to three years in
39206 Moss Cited Cases                                         bringing infringement claim against American manufacturer
                                                               was excusable, and thus did not constitute lathes ; during
Affirmative defense of acquiescence is available to            period of delay, defendant was not advertising accused
trademark infringement defendant only when trademark           product and was only selling insignificant numbers of it
owner, by affirmative word or deed, had previously             through two retailers.
conveyed its consent.
                                                               [291 Trade Regulation F=137
1231 Trade Regulation b389                                     3R-k 137 Most Cited Cases
38?k389 Most Cited Cases
                                                               Cuban cigar manufacturer's unfair competition claim under
To assert equitable estoppel, trademark infringement           General Inter- American Convention for Trade Mark and
defendant must show that : (I) plaintiffs misleading           Commercial Protection QAC) had to be pursued through
communication, with plaintiffs knowledge of true facts,        suit under Lanham Act provision governing implementation
prompted defendant to infer that plaintiff would not enforce   of trademark treaties . Lanham Trade-Mark Act, § 44(b, h),
its rights against defendant; (2) defendant relied on that      15 U.S .C .A . § 1126(b, h).
conduct; and (3) defendant would be prejudiced if plaintiff
were allowed to bring suit .                                   [301 Trade Regulation X137
                                                               3R2k 137 Most Cited Cases
1241 Trade Regulation C~76
382k76 Most Cited Cases                                        Lanham Act's incorporation of unfair competition
                                                               provisions of General Inter- American Convention for Trade
1241 Trade Regulation &389                                     Mark and Commercial Protection (IAC) did not include IAC
382k3ft9 Must Cited Cases                                      provisions permitting refusal or cancellation of registrations
                                                               of marks that are similar to well-known marks registered in
Cuban cigar manufacturer's trademark infringement claim        other member countries. Lanham Trade-Mark Act, § 44(b,
against American manufacturer was not barred by                h), IS U.S .C .A . § 11 2G(b, h) .
acquiescence or estoppel ; Cuban manufacturer's alleged
failure to contest American manufacturer's ownership           [311 Trade Regulation X540 .1
claims occurred prior to its teaming that American             3R2k540.1 Most Cited Cast,
manufacturer intended to make significant commercial use
of mark .                                                      Cuban cigar manufacturers unfair competition claim under
                                                               International Convention for the Protection of Industrial
 1251 Estoppel X95                                             Property (Pans Convention) had to be pursued through suit
 156k95 Most Cited Cases                                       under Lanham Act provision governing implementation of
                                                               trademark treaties . Lanham Trade-Mark Act, § 44(b, h), IS
 Silence may constitute cause for equitable esroppel if duty   us .c .A . a i 1-F(n, n) .
 to speak exists .
                                                               [321 Trade Regulation C=137
 1261 Trade Regulation f.=385.1                                332k137 Most Cited Cases
 382085 .1 Most Cited Cases
                                                               Lanham Act's incorporation of unfair competition
 To assert equitable defense of lathes, trademark              provisions of International Convention for the Protection of
 infringement defendant must show that plaintiff had           Industrial Property (Paris Convention) did nod include Paris
 knowledge of defendants use of its marks and that plaintiff   Convention provision permitting refusal or cancellation of
 inexcusably delayed in taking action with respect thereto.    registrations of marks that are similar to well-known marks
                                                               registered in other member countries. Lanham Trade-Mark
 1271 Trade Regulation X385 .1                                 Act, § 44(b, h), I S l.' .S .C .A . § 11 2fi(b, h) .
 3821385.1 Most Cited Cases




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1331 Trade Regulation X464 .1                                    Defendants .
;R2k463 .1 Must Cited Cases
                                                                                          OPINION
1331 Trade Regulation b`469
38?kdG9 Most Cited Crises                                        SWEET, District Judge.

New York common law unfair competition claim requires            Defendants General Cigar Holdings, Inc . (the legal
showing of: (1) likelihood of confusion and (2) bad faith.       successor in interest to named defendant             Culbro
                                                                 Corporation) and General Cigar Co . Inc . (collectively
1341 Federal Civil Procedure X2493                               "General Cigar") have moved pursuant to Rule SG of the
170Ak=493 Most Cited Cases                                       Federal Rules of Civil Procedure for summary judgment to
                                                                 dismiss the complain[ of plaintiff Emmpresa Cabana del
Issue of material fact as to whether cigar manufacturer's        Tabaco d .b .a . Cubatabaco ("Cubatabaco") on the basis of
Cuban trademark was well-known in United States at time          estoppel, acquiescence, and laches due to Cubatabaco's
competitor registered it precluded summary judgment on           alleged long delay in challenging General Cigars use and
manufacturer's New York common law unfair competition            registrations of the COHIBA trademark . Cubatabaco has
claim.                                                           moved (I) to strike General Cigar's affirmative defenses of
                                                                 estoppel, acquiescence, and lathes; and (2) for partial
1351 Trade Regulation $366                                       summary judgment on its claims of abandonment and under
382k366 Most Cited Cases                                         Articles 7 and 8 of the General Inter-American Convention
                                                                 for Trademark and Commercial Protection ("IAC" or
Elements of trademark dilution claim are: (1) senior mark        "Inter-American Convention"), Article 66is of the Paris
must be famous ; (2) it must be distinctive ; (3) junior use     Convention for the Protection of Industrial Property ("Pans
must be commercial use in commerce ; (4) it must begin           Convention"), New York common law, and the Trademark
after senior mark has become famous ; and (5) it must cause      Dilution Act .
dilution of distinctive quality of senior mark . Lanham
Trade-Mark Act, § 43(c), IS U .S .C . .4 . § I125(c).            For the following reasons, these motions are denied in part
                                                                 and granted in part .
1361 Trade Regulation f~366
38?k366 Most Cited Cases                                         Parties

Federal registration is no defense to charge of dilution under   Cubatabaco is a company organized under the laws of Cuba
federal Anti- Dilution Act. Lanham Trade-Mark Act, §             with its principal place of business in Havana, Cuba .
43(c), IS U .S .CA. § 1125(c).                                   Directly, and through its licensee, Habanos, S .A . .
                                                                 Cubatabaco exports tobacco products from Cuba throughout
 1371 Trade Regulation C=722                                     the world, excluding the United Slates because of the
 38?k722 Most Cited Cases                                        current trade embargo . It was established by the Cuban
                                                                 government as an independent entity with its own assets and
 Issue of material fact as to whether Cuban cigar                administration and is subject to the jurisdiction of a Cuban
 manufacturers trademark was well-known, and thus                ministry .
 "owned" by it in United States at time mark was registered
 by American manufacturer precluded summary judgment on          Culbro has been merged into and is survived by General
 Cuban manufacturer's dilution claim. Lanham Trade-Mark          Cigar Holdings, Inc . General Cigar Holdings is a Delaware
 Act, § 43(c), 15 U .S .C'.A . § 11 25(c).                       corporation with its principal place of business in the county
                                                                 of New York and functions as a holding company for
 Trade Regulation F=736                                          General Cigar Co . Inc .
 382k'36 Most Cited Cases
                                                                 "252 General Cigar Co . is a Delaware corporation with its
 COHBA .                                                         principal place of business in Bloomfield, Connecticut .
 "251 Rabinowitz, Boudin, Standard, Krinsky & Lieberman          General Cigar Co . is in she business of manufacturing,
 by Michael Kriaiky . David B. Goldstein, New York City,         marketing, advertising and distributing tobacco.
 Winston & Strawn by I:e%" in Walsh, Steve Young, New
 York City, for Plaintiff.                                       General Cigar and its predecessors in interest have been
                                                                 major U .S . manufacturers and distributors of cigars for more
 Latham & Watkins by John l. Kirby. Jr ., Marcellus              than a century .
 Williamson, Elena C . Norman, New York City, for




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Prior Proceedings                                                         Cigars Rule 56 .1 statement . The statements have
                                                                          been compiled due to the similarities in facts
Cubatabaco filed its complaint on November 12, 1997,                      alleged and the interrelationship of the three
alleging that Cubatabaco possessed a COHIBA mark for its                  motions to which they relate .
cigars that was "well-known" in the United Stales at the
relevant dime, and that General Cigar's efforts to exploit and    I. The Cuban COH/BA
trade upon Cubatabaco's COHIBA mark in order to generate
profits on the sale of its own cigars entitled Cubatabaco to      In 1969, Cubatabaco filed an application to register the
relief under the Paris Convention, Arts . 6bis and (Obis; the     "COHIBA" mark m Cuba . By 1970, cigars branded with
Inter-American Convention, Arts . 7, 8, 20 and 21 ; section       Cubatabaco's COHIBA trademark were being produced at
43(a) of the Lanham Act, IS U.S .C . §~ 1125(c)(1) and            the El Laguito factory in Havana . The " 253 cigar box and
 1125(a); and New York State law.                                 band bore a distinctive design developed for the COHIBA
                                                                  cigar as well as the COHIBA trademark. The registration
On December 1 1, 1997, the parties in settlement discussions      issued on May 31, 1972 .
entered into a written agreement that, inter olio, (I) the
actions of both parties in this coup and in the U.S . Patent      Throughout the 1970's, Cuban COHIBA cigars were
                                                                  commercially available and sold in Cuba at Havana's main
and Trademark Office ("PTO") are "stopped" ; (2) "the time
spent during the negotiation will not be used by any of the       hotels, upscale restaurants and two retail outlets. From 1970
parties [o the detriment of the other, in case there is no        to 1975, Cubatabaco claims that annual sales at the two
[settlement] agreement;" and (3) "use of General Cigar's          retail outlets in Havana averaged approximately 100,000
COHIBA trademark as from the signing of this Contract             cigars and increased to approximately 180,000 cigars per
will not be used in detriment of Cubatabaco if agreement is       year by 1975 . In addition, since at least 1970, COHIBA
not reached." The parties reported this agreement to the          cigars had been sold to the Cuban Council of State, which
Court on December 16, 1997, and, at their request, all            includes the office of the Cuban President and to another
proceedings were stayed, including discovery, until               Cuban state enterprise which in turn sold the cigars to
litigation was renewed in February 2000 .                         Cuban Ministries and other government institutions . [FN2]
                                                                  Cubatabaco claims that the total volume of sales grew from
By order dated December 5, 2000, Counts V (Article 22 of          approximately 350,000 to 375,000 per year from 1970 to
TRIPS), VI (Article 10 of the Paris Convention), VIII (false       1975 to approximately 550,000 to 600,000 per year from
representation of origin in violation of Section 43(a) of the      1975 to 1980 . There are no records of these sales, however,
Lanham Act) and IX (deceptive advertising in violation of         as Cubaiabaco has a policy of destroying its sales and
Section 43(a) of the Lanham Act) were dismissed with              production records after five years .
prejudice in light of the decision in Havana Club Holding
5..4 . r. Galleon 5. .4 . . 203 F.3d 116, 124 (2d Cir?000) .               FX2. General Cigar contests the characterization
                                                                           that cigars obtained and given away by Fidel
General Cigar filed the instant motion for summary                         Castro, other governmental officials and entities
judgment on the basis of its equitable defenses on                         were sales by Cubatabaco .
November 29, 2001 . On January 29, 2002, Cubatabaco filed
ids motions for summary judgment to dismiss General               On November 15, 1977, Forties magazine published an
Cigar's equitable defenses and for summary judgment on its        article on the impact of Cuban cigars on the U.S . industry
claims under Articles 7 and 8 of the IAC; Article 6bis of the     that noted that Cubatabaco was developing a Cohiba cigar.
Pans Convention; the Federal Trademark Dilution Act; and          General Cigar's principal executives read this article.
New York common law. The motions were heard on March
 13, 2002, and were considered fully submitted at that time .     By January 1978, Cubatabaco had made application to
                                                                  register COHIBA in 17 countries, including most of the
 Facts                                                            Western European countries. [FN3] The applied-for
                                                                  registrations issued in due course . Cubatabaco did not,
 The following facts are taken from the ponies' Rule 56 .1        however, sell COHIBA cigars outside of Cuba until 1982 .
 statements (FN I] and, as required, are construed in the light
 most favorable to the non-movant, as applicable . They do                 F\3 . The countries were : Great Britain, Ireland,
                                                                           Belgium, the Netherlands, Luxembourg, Spain,
 not constitute findings of fact by the Court.
                                                                           France, Denmark, Portugal, Australia, Egypt,
          FNI . General Cigar submitted one Rule 56 .1                     South Africa, Argentina, Mexico, Switzerland,
          Statement and responses to Cubatabaco's two Rule                 Venezuela, Colombia, and Italy . Cubatabaco has
          56 .1 Statements ; Cubatabaco submitted two Rule                 by now registered the mark in more than III
          56 .1 Statements and one response to General                     countries total .




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      General Cigar first learned
                                    of the name "COHIAA" in
     late 1970', . General Cigar                                the          On July 25, 1978, the U.S .
                                  executives had read the Forties                                            Patent and
     article discussed above .
                                 In                                          ("PTO") asked General Cigar "whether Trademark Office
     internal memorandum refers addition, a December 1977                    has any meaning or                           the term COHIBA
                                        to                                                           significance in the relevant
     Cuba brand in Cuba" and "Castros COHIBA as "sold in                     industry ." General Cigar answered                      trade or
                                           brand cigars." JFN>]                                                   in the negative .
                    . The words came from                                   On March 20, 1979, the
                                                                                                          PTO, in another Office Action,
               on an internal memoranda, handwritten notations              noted, "Cohiba is a
                                                                                                  geographical tobacco growing
                                               and the handwriting                                                                  region of
               was never identified . General                              Cuba," and stated that the
                                               Cigar claims that this                                     COHIBA application would be
               wnhng cannot establish                                      refused       as   either geographically
                                               that it knew that                                                            descriptive
              Cubatabaco was using the                                     niisdescriptive, depending on
                                                COHIBA mark or                                              whether the goods were from
              selling COHIBA cigars                                        Cohiba . In a September 14,
                                          prior to General Cigars                                           1979 response, General
              first use or application to                                 asserted that COHIBA was                                     Cigar
                                             register the COH18A          and arbitrary," which           "wholly arbitrary" and "fanciful
              mark .                                                                                  Cubatabaco claims General
                                                                          clearly knew to be false.                                    Cigar
    In February 1978, General
                               Cigar employee Oscar
    ("8oruchin") discussed the                       Boruchin             On November 4,
                                 COHIBA brand with Edgar                                          19&0, General Cigar's
    Cullman Jr . ("Cullman"),                                             application was published in                      COHIBA
                               chairman of                                                                the " 256 Trademark Office
   purportedly had learned of COHIBA Cul6ro . Anruchin                   Official Gazette for
   visited Cuba on behalf of               from a friend who                                         opposition purposes . Neither
                              the State Department during                Cubatabaco nor any other entity
   Carter Administration and                              the            COHIBA application . General        opposed General Cigar's
                               was given COHfBA cigars                                                   Cigar obtained United States
   Cuba by "the highest echelons                           in            registration for the COHIHA
                                 of government .,'                                                      mark, Registration 1,147,309,
                                                                         on February 17 . 1981 . [Fh7J
   On March 13, 1978, General
                                   Cigar filed an application
   register "Cohiba," with a claimed                           to                 FN7. Whether the trademark
                                        first use dale of on or                                                       was legitimately
   before February 13, 1978 .                                                     obtained is a matter of dispute
                                 Before or after pursuing this                                                    . Cubatabaco claims
  application, General Cigar                                                      that General Cigar's
                                  did not request counsel                                                 incomplete, misleading and
  conduct a trademark search in                                to                 false responses to the
                                      Cuba or internationally,                                           PTO's queries were certain [o
  which would have disclosed the                                                  mislead the PTO from a
                                     Cuban registrations . There                                                     full and proper
  is evidence to suggest that                                                    consideration of the matter,
                                such a search would not                                                            including that [he
  been industry practice in these                           have                 Cuban brand was protected
                                  circumstances . [FN6J                                                        from registration or use
                                                                                 in the United States
            Fh'6 . While other U .S .                                                                      under the Inter-American
                                      law firms could and did                    Convention .
           conduct international trademark
                                                searches at the         III . The Growth of
           time, General Cigar cites the
                                           testimony of a U.S .                             Parallel Brands as a Resu(t
           trademark lawyer retained by                                 Cuban Revolution and Cuba,, Embargo             of the
                                               Cubatabaco who
           stated that he hat never
                                        conduced a trademark
          search in Cuba for a party                                   General Cigar alleges that
                                         who did not intend to         example of a "parallel         COHIAA represents another
          use or register the mark                                                             brand" that resulted
                                       in Cuba . Moreover, he                                                       from the Cuban
          stated that he generally dons                                Revolution and the subsequent
                                              not conduct any                                          embargo .
          foreign trademark searches for
                                           clients who want to         On January I, 1959, Fidel
          use the mark in the United                                                                 Castro seized control of
                                      States only .                    Cuban government, the                                     the
                                                                                                       new government
 It is a disputed issue as                                            privately-owned cigar                                  seized
                          to whether the CpHIBA name                                           manufacturers on September
                                                           was         1960 . Some of the ousted                                 15,
  well-known at this time . Boruchin testified                                                   Cuban cigar owners reestablished
 Cullman that "[n]obody knew                      that he told        their businesses abroad using
                                the brand," and it was "not                                          the trademarks their
 the market," "didn't mean                                  on        had owned before the                                 families
                             anything to anybody," and was                                  government seizure.
 'just given to visitors, diplomats
                                       ." Cubatabaco states,
 however, COHIBA cigars were                                          In 1963, the U .S . government
                                   well-known in the United                                           imposed an embargo on trade
States cigar industry and among                                      with Cuba prohibiting
                                    the public because of the                                  anyone subject to the
two magazine articles                                                the U .S . from transporting,                     jurisdiction of
                           mentioning COHIBA . Further,                                            importing or otherwise dealing
numerous United States journalise,                                   in or engaging in any
                                     business executives, and                                       transaction with respect to
others knew of the brand from                                        merchandise "of Cuban origin ."
                                  seeing it on sale in retail                                            31 C .F .R . ~~ $5 .101
owlets and hotel, in Havana,                                         seq. (1999) (the                                               el
                                from receiving it as gigs in                          "Embargo") .
Cuba and at receptions in the
                              United States, and by word of
mouth .                                                             Although the embargo prevented
                                                                    Cubalabacn from selling            Cuban entities such as
                                                                                            cigars and other Cuban products
                                                                                                                            in


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[he United States, it did not prevent them from registering or           the tilenrrrdez litigation, as the COHIBA brand was not
protecting trademarks, trade dress and other intellectual                originally a privately owned company prior to the
property in the United States . In fact, Cubatabaco has                  Revolution and embargo, nor was it sold in the United
aggressively protected its intellectual property in the United           States prior to that time . COHIBA therefore did not involve
States . [FtiS1                                                          an expropriated owner seeking to use its U .S . trademark
                                                                         while the Cuban government continued to use the Cuban
          I ~K8. Cubatabaco employed lawyers in the United               and other trademarks . It is true, however, that the Cuban
          States, filed U.S . trademark applications and                 COHIBA is sold around the world and in Cuba, while cigars
          arranged for specific investigations into filings in           under the same apparent mark are sold in the United States
          the U.S . Patent and Trademark Office . 1t also                by a different, unrelated entity .
          protected its trademarks around the world. In the
           1990's, it had 8.000 registrations worldwide. It has          IV . Sales of General Cigar's COHIBA-Branded Cigars
          registered COHIBA in approximately                115          From 1978 to /997
          countries.
                                                                         From 1978 to 1997, General Cigar sold three different
In a series of cases in the 1960's and early 1970's (the                 pre-existing cigars--the White Owl, the Canario D'Oro, and
"Afenende= litigation"), U .S . coons upheld rights of the               the Temple Hall--as a "COHIBA cigar" by placing a
former owners of Cuban cigar trademarks in the United                    COHIBA label on the cigars .
Slates against claims of the Cuban government and
governmental entities . The courts determined that the                   A. 1978-1982: COH/BA-Branded "White Owl" Cigars
owners of the expropriated Cuban cigar companies retained
ownership of the pre-expropriation common law trademark                  Beginning in 1978, General Cigar shipped 1,000 or fewer
rights obtained by their pre-expropriation sale of cigars in             COHIBA-branded cigars per year . [F\9] The cigars were
the United States under those trademarks and the                         White Owl "stock" machine-made cigars that were shipped
appurtenant good will . The coons so puled on the ground                 along with other White Owl cigars (or other "seconds")
[hat the United States would not give extraterritorial effect            labeled with as many as 32 other different brands as part of
to takings without compensation and hence would not give                 a "trademark maintenance program ."
legal effect to the Cuban expropriations of the cigar
                                                                                   FN9 . This figure is based on the invoices still in
companies as applied to trademark registrations and
                                                                                   existence twenty years after the periodic shipments
common law rights existing in the United States at that time .
                                                                                   were made . General Cigar claims that more
 F. Pnlicio p Cnniparuo, .5.,4 . v. Brush & Blnch, '_iG F' .Supp .
                                                                                   shipments were likely made, but the records
481 (SD .N .Y' .19CC>), affil ?'i P .2d 1011 (2d Cir .1967) ;
                                                                                   thereof have not been located. General Cigar has
 ,llenende: v . Fnher . Cue & Gregg. 345 F .Supp . X27
                                                                                   not posited estimates of what it believes constitute
(S .D .N .Y .197?), afJ'd in par( and rev'd in part sub nom .
                                                                                   the actual figures .
 ~Lfenende- v . Sa4 .e cl Co . . dRi F .?d 1355 (?d Cir .l97?), ceri .
granted as (o certain questions, 416 U .S . 931, 94 S .Ct .
                                                                         The cigars were irregularly and sporadically shipped to two
 _3F_, 40 L .Ed2d 759 (May I? . 19'4) ; reargued Jan . 19,
                                                                         retailers who, by pre-arrangement, were given a full credit
 1975 ; rev'd in part and cerr . conuroverred in pan sub . nom .
                                                                         back on the nominal payment they made to General Cigar.
 Alfred Dunhill n/ Lrmdon r . Republic of Cuba . 425 U .S .
                                                                         Two boxes of 50 cigars of each of the 33 brands were
 682 .965 .Ct . 1854, 48 L .Fd .2d 301 X1976) .
                                                                         simultaneously shipped in identical cardboard boxes, with
                                                                         stick-on labels affixed to two boxes for each of the 33
Over time, U.S . cigar manufacturers, including General
Cigar, purchased some of *257 the U.S . trademark                        different brands . These shipments were not sent out when
                                                                         "seconds" were not available.
registrations and rights from the families who fled Cuba . As
a result of the upholding of the ousted Cuban owners' U .S .
                                                                         The cardboard boxes with the different labels, including
trademark rights, "parallel brands" developed, i.e.. the
                                                                         "COHIBA," were sold in the same cartons they were in with
Cuban government sells a Cuban cigar in Cuba and other
                                                                         a sign stating the price per box . If the two boxes with the
pans of the world under the same apparent trademark as an
                                                                         COHIBA label were at the bottom of the box, they would
unrelated company that sells a non-Cuban cigar in the U .S .
                                                                         not have been visible to the consumer .
It is not the same trademark, however, as the U.S . cigars are
sold under trademarks which the owners had registered and                General  Cigar sold the     following amounts               of
used in the United States for the sale of their cigars prior to          COHIBA-branded White Owl cigars during this period :
the expropriation of the Cuban cigar companies .
                                                                          1978 :    650
 COHIBA's situation is different from those of the brands in




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1979 :    600                                                     C. Period of No Sales from 1987 to 1991

1980 :    1,000                                                   General Cigar itself [FNIII made no sales under the
                                                                  COHIBA name for at least five years, from sometime in
1981 :    700                                                     1987 until November 20, 1992 .

1982 :    200    (single shipment on April 15,                            FN I I . General Cigar claims that COHIBA cigars
1982)                                                                     nonetheless stayed on store shelves and were sold
                                                                          during that time due to the shelf-life of cigars and
                                                                          the depressed cigar market of the late 1980's and
B. /982-1987: COHlBA-Branded "Canario D'Oro" Cigar                        early 1990's .

Beginning in November 1982, General Cigar placed the              It is disputed whether during this time period General Cigar
COHIBA brand on its *258 pre-existing Canario D'Oro               abandoned its earlier registration of COHIBA or merely
premium cigar. The COHfBA-branded Canario D'Oro was               stopped selling a lower-quality version in order to make
packaged in a clear plastic canister with a price between that    plans for a higher priced, "super-premium" [FN 12] version.
of a high-end premium cigar and a "bundled" cigar. General
Cigar's sole promotion of the brand consisted of in-store                 FN 12 . "Super-premium" is a pricing range.
advertising materials.
                                                                  General Cigar claims that it decided to convert COHIBA
On June 23, 1986, General Cigar filed a sworn "Declaration        from a "bundled" cigar into a premium cigar that would be
Under Sections 8 and I S of the Trademark Act of 1946" for        sold in wooden bones and used as one of General Cigar's
its COHIBA registration, in which it attached a "specimen         principal brands, and that it stopped shipping the
showing the mark as currently used" (the packaging in             nun-premium cigars from 1986 to 1992 to develop the
which the Canario D'Oro was sold as of November 1982) .           premium brand of COHBA . Cubatabaco alleges, however,
As part of the requirement to establish incontestability under    that General Cigar did not begin working with an outside
Section 15, General Cigar declared that "the mark shown           consultant to develop the premium COHIBA until
therein has been in continuous use in interstate commerce         September 1992, six years later.
for five consecutive years from February 17, 1981 to the
present ."                                                        It is undisputed that the following events occurred during
                                                                  this time period .
On November 3, 1986, the PTO granted "incontestability
status" to General Cigar's COHIBA mark .                         In April 1989, General Cigar sought to use the word mark
                                                                 "COHIBA" in conjunction with the identical copying of the
Sales of the COHIBA-branded Canario D'Oro ceased                 Cuban COHIBA trade dress. Counsel advised in July 1989
sometime in 1987 .                                               that the trade dress was already registered, and based on this
                                                                 legal advice, General Cigar determined nod to use the
General  Cigar  sold   the   following    amounts     of         identical trade dress .
COHIBA-branded Canariu D'Oro cigars during this period :
                                                                  On November 9, 1990, General Cigar sent a cease and desist
1982 :     90,000     (NOV .   and Dec .    only)                 letter, asserting that the use of the name "COHOBA" for
                                                                  cigars infringed on General Cigar's "considerable rights in
1983 :     323,000                                                [its- 1981 COHIBA) registration ."

1984 :     118,000                                               *259 In December 1991, General Cigar again considered
                                                                 using an element of the Cuban COHIBA trade dress, the
1985 :     70,000                                                so-called "Indian Head" design . Outside counsel advised
                                                                 against it, and in-house counsel informed the marketing
1986 :     5,000                                                 department that "We are out of luck on the use of the Indian
                                                                 Head design." The outside counsel in April 1989 and
1987 :     3,000    [FN10]                                       December 1991, advised General Cigar that either non-use
                                                                 or mere token use of a made was insufficient to sustain
                                                                 rights and would constitute abandonment .

         FNIO . Cubatabaco disputes that figure but accepts      D . 1991-1997:    The C011/BA-Branded "Temple Ha!!"
         it for purposes of the summary judgment motion .        Cigar




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On September I, 1992, the premiere issue of Cigar                 from Cigar,4ficionado ." Milstein Dep . at 284 .
Aficionado was published, with a distribution of 115,000
                                                                           f\16 . Cubatabaco claims, however, that General
copies [FN13] and display at 453 cigar outlets . The premier
                                                                           Cigar utilized the same typeface as it and placed
issue was introduced to the trade on August 27, 1992, at a
breakfast held by Cigar Aficionado at the annual convention                the mark in the same location on the cigar box (the
                                                                           lower right hand comer), beginning in November
of the Retailer Tobacco Dealers of America ("RTDA"), the
                                                                           1992 . It claims that General Cigar did this in order
principal retailers' association . Complimentary copies of the
premier issue were distributed to the 300 to 400 attendees .               to better exploit the Cuban COHIBA's name and to
                                                                           suggest strongly that the product was a variety of,
         FN 13 . That number is equal to 25% of all premium                and affiliated with, the Cuban COHIBA .
         cigar smokers. The magazine was the first to be
         aimed at premium cigar smokers .                         *260 In the first week of November 1992, Ron Milstein,
                                                                  General      Cigar's then      Assistant General      Counsel
                                                                                   and  Alfons  Mayer,   General   Cigar's Vice
The issue featured the Cuban COHIBA in a six-page cover           ("Milsteid'),
story about "Cuba's Best Cigar," entitled "The legend of          President for Tobacco ("Mayer"), traveled to Havana, Cuba,
Cohiba : Cigar Lovers Everywhere Dream of Cuba's Finest           at the invitation of Cubatabaco to attend an international
Cigar." [FN 14] On September 21, 1992, Newsweek ran an            conference in Havana for the 500th anniversary of the
article on Cigar Aficionado's launch, noting that COHIBA          European discovery of tobacco, which included the launch
was the initial winner of the magazine's first "blind tzstings"   of a new line of COHIBA cigars, "Siglo (Century) 1492 ." In
 feature, and that the first issue had featured ads for premium   a private meeting, Mayer informed Padron of General
products such as Glenlivet single-malt scotch, Louis Vuitton      Cigars interest in entering into a broad and exclusive
 luggage "and, of course, COHIBA cigars ." [PN15]                 partnership with Cubatabaco for the United States territory
 Cubatabaco claims that General Cigar decided in the fall of      upon the embargo's end, which would replicate the 51/49
 1992 to sell a new product under the COHIBA name "to              partnership for distribution of Cuban cigars that Cubatabaco
 somehow capitalize on the success of the Cuban brand and          had created in the rest of the world . COHIBA was not
 especially at this point in time the good ratings that it got,    mentioned during the meeting. Milstein wrote of the
 the notoriety that it got from Cigar Aficionado ." General        meeting:
 Cigar states that it had always intended to resume use of the       We met with Mr . Padron for I hour over breakfast. The
 COHiBA mark .                                                       talk was of the Consolidated sale rumor. We got no more
                                                                     information . Mr . Padron made it very clear that
          Fn l4 . The article called the Cuban COHIBA,               trademarks are not important . He said Havana will sell
          "perhaps the world's (nest smoke," and "legendary          cigars no matter what name they have. Any companies
          to most cigar aficionados ." In its rating of cigars,      that have marks (this was directed to G.C .) would have to
          the magazine gave COHIBA Robusto and                       sell (give) the marks back to Cubatabaco and get
          Esplendido scores of 96 and 98 out of a possible           distributorship rights only, or else Cubatabaco will sell
           100. The premier issue made other positive                 the cigars under a new name .
          references to the Cuban COHIBA .
                                                                   While at the conference, Milstein was introduced to
          FNIi . Prior to 1992, COHIBA was referenced 46           Adargelio Garrido, a Cubatabaco attorney ("Garrido") .
          times in articles dating from as early as 1977 and       Milstein did not speak Spanish and Garrido, a native
          stretching over the fifteen-year period .                Spanish speaker, had not studied English at the time .
                                                                   General Cigar claims that a conversation took place between
 In September 1992, defendants began to work with an               the two men. The evidence of this meeting is a
 outside graphic designer, Cliff Bachner ("Bachner") on the        memorandum Milstein wrote two weeks after the meeting.
 trade dress of the new COHIBA . John Rano, General                [FN I%] Milstein wrote that Gamdo "acknowledged that we
 Cigar's head of marketing, instructed Bachner to make             owned the name in the U.S . and that we would be free to
 "exactly same" copies of the Cuban COHIBA trade dress .           sell a cigar under that name there." Milstein's memorandum
 Bachner did as instructed, but General Cigar states that it       also indicated that Garrido stated that Cubatabaco would
 never used those prototypes in commerce . [FNIG] Milstein,        object to any use General Cigar made of the trade dress
 who was Assistant General Counsel for General Cigar at            associated with Cubatabaco's COHIBA cigars . Cubatabaco
 that time, testified in deposition that General Cigar wanted      raises several objections to this evidence . [FNI81
 to use a label as near as possible to the Cuban COHIBA "for
 the same reason they wanted to use it in '89 and again in                  FN-17 . Milstein and Mayer both also testified in
 '91," that is "they wanted to somehow capitalize on the                    depositions as to the meeting and that Garrido
  success of the Cuban brand, and especially at this point in               indicated that General Cigar owned the COMBA
  time the good ratings that it got, the notoriety that it got




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        word mark in the United States .                          Cubatabacds product before obtaining that confirmation . It
                                                                  also advised General Cigar to file a new U .S . trademark
        FK18 . First, it claims [hat the memorandum is            application coinciding with the new launch of the COHIBA
        inadmissible hearsay because Milstein has nn              product . This new registration "would not be vulnerable to
        independent recollection of the event and did nut         any claims of earlier abandonment [F1]9] which may be
        write the memorandum until two weeks after the            asserted against the existing registration ."
        alleged conversation took place . It also disputes
        that the conversation could have even or ever did                 F119 . General Cigar states that counsel who
        take place . Garrido, a native Spanish speaker,                   prepared this opinion was unaware that General
        testified that he "did not have a conversation, it was            Cigar had sold hundreds of thousands of COHIBAs
        just an introduction ." Further, Mayer testified that             during the 1980's .
        Milstein met with a Cubatabaco lawyer while
        walking down a corridor at the conference center,         On December 30. 1992, General Cigar filed an application
        while Milstein testified that he thought he met           w register COHIBA, purportedly to protect the appearance
        Garrido at the Cohiba Siglo launch party . Finally,       of the mark in bold, capital letters . Cubatabaco claims that
        Cubatabaco also states than Gartido had not, and          General Cigar filed the application because it had
        could not be reasonably viewed as having, the             abandoned its 1981 registration .
        authority or apparent authority to make the
         statements attributable to him .                         In a January 13, 1993 memo to the top executives of
                                                                  General Cigar, the assistant general counsel Milstein laid
In November 1992, General Cigar began to sell a COHIBA            out General Cigar's strategy "to exploit the popularity,
cigar again by relabeling its pre-existing "Temple Hall"          familiarity, brand recognition and overall success of the
cigar. This COHIBA was a medium- priced cigar. General            Cuban Cohiba ." Milstein also stated General Cigars desire
Cigar made no reference to its earlier "COHIBA" product,          to use "the familiar trade dress of the Cuban Cohiba ."
and the trade dress was completely different. The cigars
were sold only at Alfred Dunhill of London, an upscale            In the spring of 1993, General Cigar's advertising agency
                                                                  developed a campaign for the new, premium COHIBA .
retailer ("Dunhill"), and Mike's Cigars, a Florida retailer,
wholesaler, and mail-order distributor. In 1992, General          They first phase of the "strategy" was to "[e]xploit the
Cigar sold through Dunhill only . General Cigar engaged in        Cohiba name, with its reputation as one of the world's finest
                                                                  cigars amongst cigar smokers, to build a brand image for the
no advertising or promotion of the COHIBA-branded
Temple Hall cigar from 1992 to 1997 .                             U.S . Product." [PN?0] In mid-1993, General Cigar
                                                                  instructed the advertising agency to stop working on the
Prior to this time, General Cigar knew of the Cuban               COHIBA campaign, and no more work was done until
COHIBA's sale, use, registration and employment in Cuba .         March 1997 .

In the fall of 1992, General Cigar requested that its outside              FN20 . General Cigar contests this to the extent it
counsel provide a " 261 legal opinion regarding its rights to              suggests that General Cigar sought to exploit the
the COHIBA name and use of the Cuban COHIBA trade                          fame of the COHIBA mark .
dress . On December 2, 1992, Morgan & Finnegan advised
General Cigar that Cubatabaco's registrations of the trade        Also in the spring of 1993, General Cigars graphic designer
                                                                  developed trade dress designs similar, but not identical, to
dress would probably not support an action by Cubatabaco
against General Cigar for use of its trade dress . Instead, it    the Cuban trade dress, based on instructions for "further
                                                                  exploration," "in terms of color, typography and graphics,"
warned that use of the Cubatabaco trade dress could
 increase the potential for Cubatabaco's being able to show       of the "original [Fall 1992] comps" which "came from the
 likelihood of confusion regarding the COHIBA mark based          Cuban Cohiba ." These plans, too, were put on hold from
                                                                  mid-1993 until March 1997 . During the time period from
upon its "prior existing reputation for the Cuban COHIBA
                                                                  mid-1993 to March 1997, General Cigar claims that it was
 mark ." Further, use of the trade dress "would lend support to
 an argument that General Cigar was acting in bad faith, i .e .   in the process of developing the blend to use in the
 with an intention to mislead the public into confusing           "super-premium" COHIBA . Cubatabaco contests this,
 General Cigars product with Cubatabaco's" and could              stating that General Cigar's practice was to develop blends
 expose General Cigar to liability . Morgan & Finnegan            and then name them . [FN 21 ]
 advised General Cigar to obtain Cubatabaco's written
                                                                           F?v21 . It claims that the product given the
 confirmation of General Cigars right to use the COHIBA
                                                                           COHIBA name was developed as part of a process
 word mark and that it would be prudent not to launch the
                                                                           of simultaneously developing and naming several
 product even without the trade dress elements of
                                                                           different blends, and that General Cigar was




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         always m the process of developing new and better           On June 2, 1994, Cubatabaco first teamed of General
         cigars . General Cigar claims that it also selected         Cigars application to register COHIBA in block-letter
         brand names and then developed blends for use               format after the time to file an opposition had expired .
         with the brand names-, and that COHIBA is an                Sometime     after   that,  Cubatabaco    engaged    and
         example of where it did that .                              communicated with its United States attorneys (plaintiffs
                                                                     counsel Rabinowitz, Boudin, Standard, Krinsky &
*262 In a December 1993 interview with Padron, which                 Liebertnan ("Rabinowitz, Boudin")) with respect to
appeared in the Spring 1994 edition of Cigar Aficionado,             contesting General Cigar's rights to the COHIBA mark .
the following exchange purportedly took place:
   CA : If the embargo ended tomorrow or two to five years
   from now, have you thought through how it would happen                     1=\23. Cubatabaco claims that it dropped the
   and what the scenario would be? You have problems with                     matter after the interview with Culiman, discussed
   certain brands as far as trademark issues, and with other                  below, was published.
   brands you do not have a problem. Have you thought how
   you would introduce your brands to the American                   The Autumn 1994 issue of Cigar Aficionado quoted
   market?                                                           Cullman as stating that General Cigar (I) was "sitting on"
   Pedron : First there is going to be a fight. We have not          its COHIBA rights with "no big plans at the moment ;"
   been able to have the brand name in the United States             despite, in the interviewer's words, the fact that COHIBA "is
   because of the embargo. It was forced by [the United              widely regarded as the No . I brand produced in Cuba"; and
   States]. It was not decided on our side . . .. But we are not     (2) would "like to work something out with" Cuba regarding
   going to fight in order to get our cigars into the United         COHTBA when the embargo was lifted .
   States . As we always say, a Habano [cigar] is a Habano
   [cigar]. With a name of Marvin or Padron or Meyer or              In 1995, the PTO granted General Cigar's application to
   whatever goes on the cigar, it is a Habano . So, we are           register the COHBA mark .
   going to let everybody know that we are here, and this is a
                                                                     '263 In the September 1996 issue of Cigar Aficionado,
    Habano . We are not going to fight with somebody else
                                                                     Cullman announced that General Cigar "had a plan to come
   because he owns the brand name of Cohiba or
                                                                     out with Cohiba" "within the next two years."
    Montecristo in America. We have been living without that
    for a long dime .
                                                                     Cubatabaco had decided in the summer of 1996 to
 Cubatabaco objects to this statement for the same reasons it
                                                                     commence proceedings against General Cigar and on
 objects to Padron's earlier interview excerpts .                    November 19, 1996, Garrido instructed Rabinowitz, Boudin
                                                                     to do so .
In January 1994, Cubatabaco received a box of General
Cigar's COHIBA- branded Temple Hall cigars . Along with              General Cigar sold the following amounts of the
the box, Cubatabaco received a note stating that the box was
                                                                     COHIBA-branded Temple Hall cigars, constituting less than
not sold as a "regular item" and that it was being produced
                                                                     0.05% of General Cigars annual premium cigar sales, from
by General Cigar only for purposes of its trademark                  1992 to 1996
registration . [FT22] At the time Cubatabaco believed that
General Cigar was not making stable or continuous use of
                                                                     1992 :     5,600    (November and December
the COHIBA trademark in the United States . Cubatabaco's
                                                                     only)
counsel did not team of the box until some time later.
                                                                     1993 :     50,000
          FN2= . The note read in full : "This Box of Cohiba
          is produced by General Cigar for trademark
                                                                     1994 :     49,000
          registration purposes in the U.S .A . only . This is not
          to be sold as a regular item . That is why you only
                                                                     1995 :     101,000
          see the name Cohiba . The cigar is - Tom ." The
          back of the box bore a stamp, "Dunhill by Alfred
                                                                     1996 :     96,000
          Dunhill of London, Inc. Handmade in Santiago
          Republics Dominicans 42K Beverly Hills ."
                                                                     Y. Cubambaco Submits Cancellation Petition
 On April 12, 1994, General Cigar's application to register
 COHIBA in a block letter format was published for
                                                                     On January 15, 1997, Cubatabaco applied to register the
 opposition . No entity challenged General Cigar's application       COHIBA mark and filed a Petition for Cancellation with the
 to register COHIBA in block letter formal at that time .
                                                                     PTO. On May 28, 1997, Cullman contacted Francisco




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Linares, president of Habanos, S A., a marketing arm of              " John McLoughlin, a Sales Administrator at General
Cubatabaco, to propose a settlement meeting. As noted                Cigars corporate offices, is hospitalized and cannot testify
earlier, the instant lawsuit was filed on November 12, 1998 .        in this action ;
                                                                     " Gregory Atkinson, an attorney at Morgan & Finnegan
General Cigar claims that it has been prejudiced because             who worked on the COHIBA matter for General Cigar,
Cubatabaco waited until 1997 to file this petition .                 has died ;
                                                                     " James Siegel, the attorney who filed the U.S . BEHIQUE
First, it claims it had taken a number of actions to protect its     registration on behalf of Cubatabaco, has died ;
rights in the COHIBA mark . Cubatabaco alleges that the              " Henry Whitehall, Vice President and Secretary of
bulk occurred after Cubatabaw filed its cancellation petition        Culbro Corporation from 1946 until 1987, who signed the
in January 1997 . General Cigar:                                     1978 registration and the Section 8 and IS declaration,
  " filed two lawsuits for infringement of General Cigar's           has died ;
  COHIBA trademark, both of which resulted favorably for             " Robert Lilienfield, a former Vice President of General
  General Cigar . General Cigar Co . v . QP . L1. hoc. . 988         Cigar until 1998 and who was in charge of premium
  F .Supp . 6 .17 (S .D .N .Y .1997) ; Case No . 98 Civ . 8174       cigars, is ill and cannot testify in this action ;
  (S .D .N . Y .) . %N24%N                                           " Nicholas Freeman, a go-between between General Cigar
                                                                     and Cubatabaco with regard to their respective trade
         FN24 . The lawsuits were filed after January 1997           rights in the COHIBA trade dress, has died ;
                                                                     " Amy Lineberger, Manager of Marketing Research at
  " assisted the Customs service to prevent importation of           General Cigar from November 1996 until June 1998, has
  counterfeit COHIBAs ; [FN251 communicated with                     died .
  importers of detained or seized goods.
                                                                   According to Cubatabaco, General Cigar has not been
         PN2i . General Cigar presents as evidence five            prejudiced by the unavailability of these witnesses because
         letters; four are dated after January 1997 .              General Cigar failed to identify the materiality of their
                                                                   testimony and failed to specify in many instances that the
  " participated in one action before the PTO to prevent the       witnesses were unable for deposition after Cubalabaco filed
  registration of a mark, "CAOBA ;" similar to its COHIBA          the cancellation petition . Further, General Cigar has
  registration . [FN2fi]
                                                                   deposed more than 35 other persons, and Cubatabaco
                                                                   contends that they are more central to this matter than those
         PN26 . The action took place in 1997 .
                                                                   witnesses identified by General Cigar. [FN28]
  " obtained or supported actions by criminal law
                                                                            F\28 . General Cigar has deposed twenty-nine of
  enforcement authorities against sellers of unauthorized
                                                                            its own present and former employees, including
  COHIBA cigars and related products .
                                                                            CEOs, Presidents, heads of marketing and sales,
  " hired private investigators to investigate infringers and
                                                                            the trademark custodian, two in-house and four
  their activities, to submit related affidavits in support of
                                                                            outside attorneys, numerous personnel directly
  search and seizure warrants and to review seized
                                                                            involved in the 1982, 1992, and 1997 launches, and
  merchandise and related records bearing the COHIBA
                                                                            the graphic designer.
  mark, all at General Cigar's expense.
  " sent at least two [FN=7] "cease and desist" letters to         In addition, General Cigar claims that it has been prejudiced
  infringing users of the COHIBA trademark.
                                                                   as many witnesses do not recall the events in question
                                                                   because they took place so many years ago. Cubatabaco
         Fn=7 . It claims to have sent "numerous" of such
                                                                   argues, however, that General Cigar has failed to identify
         letters, but the evidence presented reveals only two
                                                                   any material factual question affected by loss of memory .
         such letters. One was dated after Cubatabaco filed
         the cancellation petition .                               General Cigar also notes that all files related to Cubatabaco
                                                                   maintained by Lackenbach Siegel were destroyed in a flood
  " spent $I .5 million in enforcement activities.
                                                                   caused by Hurricane Floyd in 1999 .
General Cigar also alleges that it has been prejudiced by
Cubatabaco's delay in bringing this suit because witnesses         VI. Genera! Cigar Introduces Super-Premium COHIBA
have died or are elderly and ill and unable to testify . These     In August      1997, General       Cigar introduced the
witnesses are:
                                                                   super-premium COHIBA cigar at the RTDA Convention .
  *264 " Frank Fina, Sr ., a General Cigar employee for 45         No sales were made to the public at this time .
  yeah and Vice President of Manufacturing, has died;




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In September 1997, General Cigar launched its new product        1986 :                              5,000
with an "unprecedented" advertising and promotional
campaign costing more than $2 million. The product was           1987 :                 3,000 [FLI291
promoted nationwide through broad channels of premium            FN29 . As discussed earlier, Cubatabaco
retail trade. Cubatabaco claims that the product launched in     disputes the figure .
September 1997 intentionally adopted a trade dress "as near
as possible" to the Cuban COHIBA and that if is                  1988 :                              0
confusingly similar.
                                                                 1989 :                              0
Cigar Aficionado and its affiliated publication, Cigar
Insider, rate cigars . They typically give ratings of 90 or      1990 :                              0
better to a few select brands in each category of cigars . The
super-premium General Cigar COHIBA has received a 90             1991 :                              0
rating or better, but has not received it consistently .
                                                                 Temple Hall
The following sales of the super-premium COHIBA
occurred :                                                       1992 :                              5,600     (NOV .   and
                                                                 Dec . only)
1997 :    509,000      (August to December only)
                                                                 1993 :                              50,000
1998 :    858,000
                                                                 1994 :                              49,000
1999 :    985,000
                                                                 1995 :                              101,000

"265 The following summarizes the approximate annual             1996 :                              96,000
sales of the various versions of the COHIBA-branded
cigars :                                                         Original COHIBA blend

         FN29 . As discussed earlier, Cubatabaco disputes        1997 :                              509,000      (Aug .   to
         the figure .                                            Dec . only)

White Owl                                                        1998 :                              858,000

1978 :                           650                             1999 :                             985,000

1979 :                           600
                                                                 DISCUSSION
1980 :                           1,000
                                                                 1. Jurisdiction
1981 :                           700
                                                                 This Court has subject maser jurisdiction under 28 U.S .C .
1982 :                           200 (single                          1331, 13
                                                                            ;8(a), and 15 U .S .C . § 1121(x) for claims
shipment      on April     15,   1982)                           arising out of alleged violations of Sections 38, 43(x) and
                                                                 (c), and 44(b) and (h) of the Lanham Act, 15 U.S .C . §$
Canario D'Oro                                                    1120,1125(a)and(c)and 1126(b)and(h).

1982 :                           90,000                          lI . Venue

1983 :                           323,000                         Venue is appropriate in this district under 28 U .S .C . $ 1391 .

1984 :                           118,000                         III . Standard for Summary Judgment


1985 :                           70,000                          Rule 56(e) of the Federal Rules of Civil Procedure provides
                                                                 that a court shall grant a motion for summary judgment "if
                                                                 the pleadings, depositions, answers to interrogatories, and




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admissions on file, together with affidavits . . . show that             trademark registration may be filed "at any time" if, inter
there is no genuine issue as to material fact and that the               alia, the registered mark has been abandoned . Ii U .S .C . §
moving party is entitled to a judgment as a matter of law."              106413) [F?J31) . Based on the "at any time" language,
Fed .R .Civ .P . 56(z) ; Cclnlr.c ('otp . r . Cutrert, 477 U .S . 317,   [FN3-] the PTO's Trademark Trial and Appeal Board has
106 S .Ct . 2548, 91 L .Ld2d 265 (1936) ; .5'ilcev r. Cin" LSuv .,       ruled in cancellation hearings that equitable defenses are not
947 F .2d 1021, 1022 (2v Cir .l9'JI ) . "The party seeking               available against claims of abandonment in cancellation of
summary judgment bears the burden of establishing that no                trademark registration cases . DrodNe~ll's Drfers Inc       . v.
genuine issue of material fact exists and that the undisputed            Linrslrak. 1990 WL 359600, 13 C .S .P .Q2tl 1318, 1320
facts establish her right to judgment as a matter of law ."              (Trademark Tr . & App . Bd .1990j ("[E]quitable defenses are
Rodrigrez v . Cin' qT New York, 72 F . ±A IOiI . IOGO-61 (?d             not available against the claims of abandonment . . . because
Cir .1995) . In determining whether a genuine issue of                   it is in the public " 267 interest to remove abandoned
material fact exists, a court must resolve all ambiguities and           registrations from the register . . . .") ; Bausch & Lomb . Inc . v.
draw all reasonable inferences against the moving party .                Leupold & Stevens Inc., 1986 R'L 83320, I C .S .P .Q .2d
`266,Valsushila E/ec Indus. Co . r. Zenith Radio Corp. . 475             1497, 1399 (Trademark Tr . & App . E3d .198G) (citing cases);
U .S . 574, 587, 106 S .Ct . 1348, 89 L .Ed .2d 538 (1986) ;             Soudmire Co . v . Kaiser Aluminum & Chern . Cmin ., 1977
Gibbs-Aljana v. Morton, 231 P .3d 12, 18 (2d Cic2002) .                  WL 2=i97, 196 U .S .P .Q . 566, 573 (Trademark 'ir . K App .
                                                                         Bd .1977) ; see also McCarthy, Trademarks and Unfair
N. Abandonment                                                           Competition, § 20 :11, 1045 (2d ed. 1984) ["McCarthy"] .

As pan of its Count XI, Cubatabaco seeks the cancellation                         1:4'31 . That provision states, in pertinent part :
of General Cigars 1981 COHIBA registration because of                             A petition to cancel a registration or a mark, stating
alleged abandonment. Cubatabaco has moved for summary                             the grounds relied upon, may, upon payment of the
judgment on this claim based on General Cigar's inaction                          prescribed fee, be filed as follows by any person
from 1987 to 1992 .                                                               who believes that he is or will be damaged .. . :
                                                                                  (3)
It is necessary to determine whether abandonment has                              At any time if the registered mark becomes the
occurred al the outset as this determination may affect the                       generic name for the goods or services, or a portion
analysis of whether General Cigar's equitable defenses                            therefore, . .. or has been abandoned, or its
apply. Whether acquiescence, estoppel, and lathes result                          registration was obtained fraudulently or contrary
from the period between 1984 and 1997 presents a much                             to the provisions of section 4 [15 U S.C . $ 1054] or
different question than whether they apply to the period                          of subsection (a), (b), or (c) or section 2 [ I S IJ .S .C .
between 1992 and 1997 .                                                           § 1052] .. . or contrary to similar prohibitory
                                                                                  provisions of such prior Acts .. . or if the registered
A. Equitable Defenses Do Not Apply to                    Claims of                mark is being used by or with the permission of the
Abandonment                                                                       registrant so as to misrepresent the source of the
                                                                                  goods or services on or in connection with which
[I] As an initial matter, General Cigar's equitable defenses                      the mark is used .
do not apply to Cubatabaco's claims that the 1981                                  is U.S.C. § io6a .
registration was abandoned . [FN'301
                                                                                  Fti3= . Two other subsections provide a narrow
          FN30 . For the same reasons discussed herein, nor                       five-year window for filing a cancellation petition .
          can they apply to Cubatabaco's claims that the                          a 10(r7(1) and (Z). The "at any time" language is
          1981 registration and 1986 incontestability                             therefore a significant difference and suggests the
          declaration were obtained fraudulently . These                          legislative intent to provide a limitless opportunity
          fraud claims are not addressed because of the                           to challenge registrations based on the provisions
          determination, infra, that the mark was abandoned                       of j 1061(3).
          between 1987 and 1992 .                                                 Further, the fact chat § 1059 permits the application
                                                                                  of the equitable principles of lathes, estoppel and
There is no question that in actions before the PTO,                              acquiescence in inter pnrtes proceedings does not
equitable defenses such as the ones General Cigar asserts
                                                                                  alter this conclusion, as that section states that such
here are unavailing against cancellation claims based on
                                                                                  principles may be considered and applied "where
abandonment. The only question is whether that rule also                          applicable ." The principles are not applicable
applies when the cancellation proceeding is brought before a
                                                                                  where the Lanham Act specifically carves out an
court.
                                                                                  exception to them .
The   Lanham Act provides that a petition to cancel a




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The Fourth Circuit has held that the limits placed on PTO            [2][3] A determination that a mark has been abandoned
cancellation proceedings also apply to court proceedings .           defeats the alleged owner's claim of priority :
Shakespeare Cn. v . Sila'(ar Cupp . of dmcricu, /ac., 9 F .3d          Once abandoned, the mark reverts back to the public
1091 . 1098 (4ih Cir .l99 ;) (citing Siegmn D . Kane,                  domain whereupon it may be appropriated by anyone who
Trademark Law 281 (2d ed .1991)) . That means that the                 adopts the mark for his or her own use. Hence a party that
language in Section 10(4 and its express license to file for            is found to have abandoned its mark is deprived of any
cancellation on particular grounds "at any time" is                    claim to priority in the mark before the date of
applicable here . Therefore, parties in a court proceeding              abandonment and may regain rights in the mark only
cannot assert equitable defenses against cancellation claims            through subsequent use after the dime of an abandonment .
asserted on the basis of abandonment or other enumerated             *268 General Cigar Co . v. GD. til., Inc.. 988 F.Supp. (r37 .
grounds in $ 1067 that allow filing "at any time." Ilnniel r.        656 (S .D .N .ti' .19y7) ( QU. :If.") (citing Dial-A-:Llaure.c.e
Guild. 2000 1VL 1349254, at *5 (ND .lll . Sept . 19 . 2000) .        Operating Capp . v. .1fn(tre+:c Madness, 841 F.Supp. 1339 .
As the Bnniel court recognized, the policy reasons that [he           13» (L .U .\ .1' .1994) (citing Manhattan Indus. Me. v.
PTO     bars   equitable    defenses   against   cancellation        Sweater Bee bi, BanJf Lid., 627 I' .2d 629, (3U 12d
proceedings involving abandoned marks apply equally                  Cir.1930)) .) Because it constitutes a forfeiture of a property
whether the case is before that body or a federal court . 2000       right, abandonment of a mark must be proven by clear and
W'L 1349214, at *5 .                                                 convincing evidence, and statutory aid to such proof must
                                                                     be narrowly construed. Surare ;;d 67chv Spring Cu . v.
General Cigar posits that this rule contravenes the rationale        Lehnnnn, 6'_> F2d 1037, 1044 (2d Cit. 1980); see also
behind equitable defenses, i.e . that parties should not sleep       G.D .A4., 988 F.Supp. at 658.
on their rights while a competitor develops good will in a
disputed mark . Congress, in drafting the Lanham Act,                [4] The determination of abandonment is governed by
clearly showed its preference between these two conflicting          Section 1117 of the Lanham act, which slates, in pertinent
policies : keeping the registry clear of abandoned marks is          part :
more important than preventing entities from sleeping on               A mark shall be deemed to be "abandoned"
their rights .                                                         (I) when its use has been discontinued with intent not to
                                                                       resume . Intent not to resume may be inferred from
General Cigar cites a number of case that do not involve               circumstances . Nonuse for two consecutive years shall be
cancellation proceedings and Section 1064's statutory                  prima facie abandonment.
language permitting filing "at any time" and thus are not            15 liS .C . y 1 127 (1993) . [Fti351
applicable . [FN33] General Cigar presents only two
seemingly contradictory cases that involve a cancellation                      P\35 . The statutory period of nonuse sufficient to
proceeding . In both Oreck Corp . r. Thuntsun Consumer                         constitute a prima facie case of abandonment was
Elecs. Inc., 796 F.Supp. 115= . Ilfil (S .D .Ind .1992)                        increased from two years to three years by the
(dismissing trademark cancellation claim on the basis of                       Uruguay Round Agreements Act, Pub . L . Nn .
 fraudulent procurement [FT"34] due to laches) and Joint                        103-465, § 5-1 . 108 Slat . 4809, 4981-82 (1994) .
Snick Socb v. UDG' .N. America Inc., 53 F.Supp?d 692.                          The amendment          was    effective   January    1,
 721-22 (D .Del .1999) (granting defendant's motion for                         1996--after the conduct at issue occurred--and the
 summary judgment dismissing, infer olio, a trademark                          amendment does not expressly call for retroactive
 cancellation claim on the buffs of lathes), however, the                      application . Therefore, the statute as it was in
 courts either ignored or refused to apply the language of                     effect from 1987 to 1992 controls . Lnndgrn/'v . US'/
 Section 1064 . Because it is held that this Court is bound by                 Film Products
                                                                                     . 5 1 1 U .S . .44 . -R0 (199J) ; Buicen v .
 the language of that section, these cases are inapposite .                    Ceurgefmw biriv. Hasp ., 494 U .S . .04, 109 S .Ct .
                                                                               468, I0 .? L .Gd3d 4'13 (1988) ("RetroacNvity is not
          FK33 . E.g. . Odeticc Inc. r. .Storage Tech . Corp ., 14             favored by law . Thus, congressional enactments
          F.Suppld 800 (E .D .Va .1998) (Patent) ; Hut If'iu,                  and administrative rules will not be construed to
          In( . r. Turtle War, Inc . 191 Fad 813 (7th                          have retroactive effect unless their language
          Cic 1999) (false advertising and false promotion) ;                  requires the result .") ; Kaiser Alundnurn & Cheni .
          N7 & T Chens. /n< . v. lB :i1 Corp., 403 F.Supp .                     Corp . r. Burijurnn . 494 U .S . 827, 317 . 110 S .Ct .
          1145, I U0(S .D .N .Y .1975) (Patent) .                               1570, IOF L .}-d .2d 342 (1990) ("[W]here the
                                                                               congressional intent is clear, it governs .") .
          FN34 . Section 1064 also includes registrations
          obtained by fraud in its umbrella .                        [5] The Second Circuit has found two elements necessary to
                                                                     find abandonment ( I) nun-use and (2) intent not to resume
 B. Genera! Cigar Abandoned (he COHlBA Mark Between                  use. Stetson v. Hu~card n. K"ol/cC Assoc
                                                                                                        ., 955 F.2d 3$?, 850
 l987and1992




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(3d CirJ99-) (citing .S'ilrrrnrun r. CBS. Inc., 870 F.2d III,       COHIBA cigars . The reslaging consisted of the switch
45 (2d Cir1989)).                                                   from the plastic cylindrical package to wooden box, the
                                                                    second registration of the trademark, and commencement
[G] The party claiming abandonment bears the burden of              of the tobacconist partnership with Dunhill and Mike's
proof as to both elements . However, where the statutory            Cigars .
presumption of abandonment has been established by                   Even if General Cigar had not come forward with
nonuse for more than two consecutive years, the trademark           evidence of an intent to resume use during the 1988
owner must demonstrate that circumstances do not justify            through 1991 hiatus, General Cigar established rights to
the inference of an intent not to resume use . ET-con Corp . v.     the mark by filing the second trademark registration in
Humble Etplorarion Cn . . 695 F .2d 96, 99 (5th Cir.1983) .          1992, and conducting sales from 1992 to the present .
This presumption "eliminates the challengers burden to            C .D . :47., 448 F .Supp . at 659 (granting preliminary injunction
establish the intent element of abandonment as an initial         as General Cigar was likely to prevail on it claim of
part of its case ." Imperial Tobacco Ltd . v. Philip Atoms .      trademark infringement) . Cubatabaco states that this holding
Inc., 899 F .2d 1575, 1579 (Fed .Cir .19901 ; see Emergency       is not determinative because the "restaging" cited is not
One, Inc. v . American FireEny(c . Ltd . . 228 Fad 531, 536       supported by the record in this case . In any case, the issue
(4th Cir?000) ("Once the presumption is triggered, the legal      facing the Court in G .D.61 . was not whether General Cigar
owner of the mark has the burden of producing evidence of         had proved that it had not abandoned its rights to the
either actual use during the relevant period or intent to         COHiBA mark, but whether it was likely to prevail on its
resume use .") . [PN3G]                                           claim of trademark infringement . This case is at a different
                                                                  procedural posture and more discovery has taken place . In
         FN3G . The presumption "is no more than a                addition, in G.D . :11.,        the determination of whether
         rebuttable presumption ." S'nrntoga G9cJir Spring.       abandonment had occurred did not affect the ultimate
         6?5 F.2d at 1044 . The presumption shins the             resolution because of General Cigar's second registration .
         burden of production, but the ultimate burden of
         proof remains with the challenger. On-Lint               [A] It is undisputed for the purposes of this motion that
         Cnrcline, Inc. v. America Online. Inc., 229 Fad          General Cigar did not have any commercial use of the
          1080, 1087 (Fed .Cic2000).                              COHIBA mark from sometime in 1987 to November 20,
                                                                  1992--a period of five years. This establishes a presumption
[7] Defendants must come forward with objective, hard             of abandonment that General Cigar may rebut by showing
evidence of actual "concrete plans to resume use" in the          valid reasons for nonuse and by proving intent to resume
"reasonably foreseeable         future when the conditions        use. The ultimate burden remains with Cuba(abaco,
requiring suspension abate ." Silvermnn, 870 F .2d at 46 ; see    however.
also Rirard v . Linville, 133 Fad 1446, 1449 (Fzd .Cir.199F)
("To prove excusable nonuse, the registrant must produce          General Cigar places primary emphasis on its argument that
evidence showing that, under his particular circumstances,        it withdrew the mark from 1987 to 1992 because of the
his activities are those that a reasonable *269 businessman,      slump in the cigar market and used the time to plan for a
who had a bona fide intent to use the mark in United States       new COHIBA cigar. These constitute reasonable business
commerce, would have taken .") . "A bare assertion of             explanations . E .g . . Star-Kist Fuodr, [tic . v . P.J. Rhodes R
possible future use is not enough" to prove an intent to          ("n ., 769 F .2d 1393 (9th (:1r .193?) (no abandonment where
resume use . Silrernwn . 870 F .2d 2t 47 ; see also Imperial      temporary cessation of use caused by changing or depressed
 Tnbncen, 899 F .2d at 1581 ('9n every contested                  market conditions) ; Keebler Co. v . Nabisco Brands, Inc .
abandonment case, the respondent denies an intention to           (N .D .III . May 19, 1992) (no abandonment where introduced
abandon its mark . . . . [O]ne must, however, proffer more than   evidence of tests, plans, and investments of funds in
conclusory testimony or affidavits .") ; Rirnrd, 133 F .3d at     development of new products) . However, the claims of
 1449 ("A registrant's proclamations of his intent to resume      "restaging" are belied by the fact that the "new" COHIBA
 or commence use in United States commerce during the             cigar introduced in 1992 was nothing more than an existing
 period of nonuse are awarded little, if any weight .") .         General Cigar, the Temple Hall, with a COHBA label on it .
                                                                  Even the new label was created in the fall of 1992, after the
 This is not the first lime that [his Court has addressed the     launch of Cigar Aficionado with its cover story on the
 issue of whether General Cigar abandoned its rights to the       Cuban COHIBA . If General Cigar truly spent five years
 COHIBA mark . The issue was discussed at some length in a        engaged '270 in ruminating over complex marketing
 different case brought by General Cigar:                         strategies, it apparently did not implement the results . E.g . .
   General Cigar does not dispute that no sales of COHIBA         Imperial Tobuc<u, 399 F 2d at I>42 (development of
   cigars took place from 1988 through 1991 . Instead, it         "marketing strategy" for five years did not excuse non-use
   explains this hiatus resulted from the "restaging" of its      because "when Imperial finally made sales of [its]




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                                                                                  plans for use of the mark beyond an abstract desire
cigarettes, there was no implementation of a complex
                                                                                  to resume use at some indefinite time in the future,
marketing strategy to introduce them") .
                                                                                  strongly suggested abandonment) ; Procrur &
                                                                                  Gamble Co . o . Johnson & Jnknso?i, Inc ., 495
[9][10] In addition, a reasonable business explanation for
                                                                                  1= .Supp . 118O, 1-04-0K (S .D .N .I' .1474) (Leval, 1 .)
stopping selling the cigar is insufficient in the absence of a                                                       "minor       brands"
showing of an intention to resume use in the "reasonably                          (condemning        voluntary
                                                                                                          .
foreseeable future ." Si(vc+nian, 370 F .2d at 47 . [PN371 To
                                                                                  warehousing program)

demonstrate its intent to resume use, General Cigar points to
                                                                         [l l] The only other actions that General Cigar undertook
the fact that during the period of nonuse--which coincided
                                                                         with respect to the COHIBA mark from 1987 to 1992 can
with a slump in the cigar market--it prepared a list of 29
                                                             was         only be described as minor activities that fail to establish
marks that it intended to abandon, and that COHIBA
                                        General   Cigar  did  not        any intent to resume use of ahe mark in the reasonably
not on the list . The mere fact that
                      the brand  is insufficient as a  matter  of        foreseeable furore . Silrennnn . 870 F .2d at 4'.% (intent to
 intend to abandon
                                                                         resume use could not be proven by "minor activities" such
 law . Sikernian, 870 F .2d at 46 (intent not to resume use is
                                                                         as "challenging infringing uses brought to ifs attention") ;
 intent not to resume use in foreseeable future, rather than
                               .9>> F .2d at 350 ("The                   Rirard, Ill Fad at Is-19 (finding no intent to resume use
 never to resume use at all) ; Stetson
                                                                         where between 1986 and 1991, Rivard "made sporadic nips
 'intent to abandon' language [used by the district court]
                                                             that         to the United States, cursory investigations of potential sites
 directly contradicts Silvennnn's specific rejection" of
             General   Cigar must   have   intended to  do  more          for salons, and half- hearted attempts to initiate the business
 standard).
                                                                          relationships necessary to open a salon") . A minor activity is
 than merely "warehouse" the mark until it was useful again.
                                                                          one that "do[es] not sufficiently rekindle the public's
  [FN381 It does not in its memorandum produce any other
                                                                          identification of the mark with the proprietor, which is the
  "concrete plans" to resume use.
                                                                          essential condition for trademark protection ." .Silrernma .
          FN37 . General Cigar's cases do not m any way                   970 F .2d at 48 . In mid- 1989 and the *271 end of 1991,
          suggest that a reasonable business explanation--in              General Cigar discussed the use of trade dress similar or
          the absence of an intend to resume use--is alone                identical to the Cuban COHIBA trade dress . General Cigar
                                                                          decided not to follow through with this plan based on advice
          sufficient. For instance, in Miller Brewing Co. v.
          Olaud's Bre-ireries Ltd., SdA F2d 3,49, 352 (Cult .              of counsel . These two activities are insufficient . E .g .,
                                                                           Imperial Tohaeco. 899 Pfd at 159-1- 83 (plaintiffs desire to
          & Pat .App .197G), the coup found the five years of
          non-use did not constitute abandonment where the                 use the "trade dress similar to that of [defendant]" and its
          plaintiff used the time to modernize equipment and               concerns over possible litigation that would arise did not
                                                                           overcome presumption of abandonment) . On November 9,
          address increased demands outside the United
          States . During that five-year period, however.                   1990, General Cigar wrote a cease and desist letter.
                                                                           asserting that the name "COH013A" for cigars "infringed on
          Miller revealed its intention to resume use by
          continuing to advertise beer in the United States                General Cigar's considerable rights in its registration ." This
           and by renewing its license in the United States .              single letter too is insufficient to raise a material issue of
                                                                           fact as to intent to resume use . .Sillermdn . 370 F .2d at 47
           Similarly, in Kurdes Sl'+ . . Dar . r. Sr .cflrmcu 1'. P: .
           593 F .Supp . 803 . 914- 1S kD .%1e .19R41, it was held         (intent to resume use could not be .proven by "minor
           that abandonment had not occurred despite more                  activities" such as "challenging infringing uses brought to
           than three years' non-use, because the plaintiff                 its attention") .
           produced the product on demand, rather than for
                                                                          [12] Finally, the testimony of Cullman and others that
            inventory, continued to provide service for the
                                                                          General Cigar intended to resume use of the COHIBA mark
           units already sold, and carried an inventory of parts
                                                                          is insufficient in light of the lack of any supporting
            required for repair purposes . The continuing
                                                                          evidence . To refute an allegation of abandonment, the
            actions of the parties in these two cases evidence
                                                                          contesting party must "proffer more than conclusory
            their intents to resume use .
                                                                          testimony or affidavits ." Imperial Tobacco, 899 F .2d n[
            FN3F . Warehousing, which is impermissible,                    1531 ; see also Cerreceriu Ceruroamericanu, .S.A . r .
                                                                           Cemrcerria India lne ., 892 F .2d 1021, (ftd .Cir .1939)
            occurs when one hoards a mark for future use
                                                                            "vague" testimony regarding intent [o resume given "little
            without concrete intent to use it in the future .
            Ezcon Corp. r . Humble Ezpluraliou Co ., 592                   to no weight") .
            F .Supp . 1226 (D .C .Tex .19R-A) ; I .N.T. Coop . r.
                                                                          For these reasons, Cubatabaco's motion for summary
            SaJfir Pub . Corp. . 444 F .Supp .         18S,   13`1
                                                                          judgment on the ground of abandonment is granted .
            (S .U .T .Y .197k) (twelve years of non-use coupled
                                                                          Therefore, the 1981 registration and 1986 incontestability
            with no contemplated revival of the paper or future




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declaration are cancelled due to abandonment . All claims                    .iris-/.cutmnrr (7loie) . 792 F .Supp at 972 (internal
relating to the 1981 registration and 1986 incontestability                  citations omitted) .
declaration are dismissed. The only outstanding claims are
those addressing the 1992 new use and 1995 registration .          Cubatabaco alleges that General Cigar made fraudulent
                                                                   statements to the PTO in its 1978 registration and in its
V. Genera! Cigar's Equitable Defenses                              1986 incontestability declaration . Both of these occurred
                                                                   prior to General Cigar's new use in 1992, and therefore this
General Cigar has moved for summary judgment on the                claim is no longer applicable due to the determination that
basis of its equitable defenses of acquiescence, estoppel and      General Cigar abandoned its claims until that new use in
lathes . Cubatabaco has moved separately to dismiss these          1992 .
equitable defenses .
                                                                   2 . Intentional Infringement
A . Whether General Cigar is Barred From Raising Its
Equitable Defenses                                                 [IS] The Second Circuit has held that intentional
                                                                   infringement acts as a bar to the assertion of a lathes
As an initial matter, Cubatabaco alleges that General Cigar        defense against an infringement suit seeking injunctive
is baited from raising equitable affirmative defenses on a         relief. Herines /nt'! v. Lrderer de Paris Fifth Ave. . Inc., 219
number of different grounds and moves to dismiss them on           fad 104, 107 (-d Cir?000) ("Intentional infringement is a
these grounds. [FN39] It claims that General Cigar may not         dispositive, threshold inquiry that ban further consideration
take advantage of equitable defenses because it engaged in         of we lathes defense, not a mere factor to be weighed in the
fraud in filings with the PTO and intentionally infringed          balancing of the equities . . . .") ; see also Harlequin Eiat ., Lid.
upon the trademark. Further, it claims that equitable              v. Gull cl Western Cmp., (i9-A F . Id 946, 950 (2d Cic1981)
defenses may not apply because the potential for likelihood        (lathes does not bar injunctive relief if intentional
of confusion is great.                                             infringement) ; Groirimi . Helfrerirh . SchuL-, 1'h . Siaimvrg
                                                                   Vuchf. r . Steinway & So~cv, $21 F .2d 1331, 1344 (2v
         F'R39. As discussed above in Part lV.A ., General         Cir.i9i5) (same) ; but see Odetwv Inc . i~ Storage
         Cigar may not use the equitable defenses against          Technology Corp .,       14 F .Supp .2d 800 (G .D .Va .199S)
         Cubatabaco's cancellation claims based on                 (concluding that in(ringer of patent could raise a lathes
         abandonment and fraud.                                    claim even though it was found to have willfully infringed
                                                                   patent in question) .
1 . False and Fraudulent Filings
                                                                   "While an infrunger claiming lathes need not be in total
X13][!4] Other courts in this district have applied the            ignorance of another's mark, it must be able to demonstrate
doctrine of "unclean hands" [rrranj to prevent the                 the absence of any intent to confuse and deceive the public ."
application of equitable defenses in trademark infringement        Cuban Cigar Brands V. {'. r . Lj,nrunn haeru . . 457 P .Supp .
cases . Nat'! Baseball Hall of Fume and :Lluseuin, Inc . v . A(/    10<)0, 1098-99 (S .D .N .Y .1918) . McCarthy has identified
Sports Prurootinnc . /n< . . 58 U .S .P .Q2A 1114, 2001 WL         two reasons underlying this rule : "(I) Such intent proves a
 1967», at °I I (S .D .N .1'20p1) (evidence of unclean hands       clear case of infringement . In such a clear cast, the right of
precluded summary judgment on acquiescence defense in              customers not to be confused prevails over plaintiffs
"272 trademark infringement case) ; Axis-lvewjnrr Gloves .         slowness in suing . (2) .A deliberate infringer cannot
Inc. v . Berkshire Fashions, Inc  . '92 FSupp . 969 . 972          establish the traditional elements of estoppel : that is, good
(S .D .N .Y .1992) (unclean hands of defendant in trademark        faith reliance on the plaintiffs failure to file suit promptly ."
dispute prevented application of defense of lathes) ; see also     McCarthy, supra, § 31 :9, at 31-27 .
accuStnn Inc v . Xerra Corp . . 1999 lVL 60991 . at `i n . 9
(S .D .N .Y" .1998) (disputed issues of material fact precluded    [14] Cubatabaco alleges that General Cigar intentionally
summary judgment on the defense of lathes in patent                infringed upon its trademark . At the time of the 1995
infringement case). As discussed below, however, any               registration (begun in 1992), Cubatabaco itself had not
purposeful delay on the part of the plaintiff in order m take      registered the COHIBA trademark in the United States .
advantage of the alleged infringer's use of the mark will          However, Cubatabaco might have had a right to the mark if
vitiate this rule .                                                COHIBA was a well-known mark in the United States prior
                                                                   to General Cigar's first new use of the mark in 1992- As
         FNAO . Under the doctrine of "unclean hands ;" a          discussed, infra, this question presents an issue of material
         court "may decline to exercise its equitable powers       fact.
         in favor of a party whose unconscionable act . . . has
         immediate and necessary relation to the matter he         Even if General Cigar knew that Cubatabaco planned
         seeks in respect of the matter in litigation ."           someday to use and register the CONGA mark in the




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United States, that is insufficient to support a finding of              defenses in summary judgment, because it may not be
intentional infringement if Cubatabaco did not already have              permitted to raise them at all .
a fight to the COHIBA mark . 7a-it Designs c . L'Oreal, .S .,1 .,
979 F2d 499 . 504 (7th Cir .1992) (party may register mark it            3 . Likelihood of Confusion
knows another entity intends to use because "intent to use a
mark creates no rights a competitor is bound to respect") ;              (13] Where a plaintiff presents a strong showing of
2eJluiigc Inc . v . R-Con MO. 1990 WL 354565 . 17                        likelihood of confusion, equitable defenses will not bar its
U .S .P .Q2d II?5, 1130-±I (Trademark Tr . & App .                       claims . McCarthy, supra, § 31 .10, at 31-332 (2001) ("A
Dd .1990) ("the law pertaining to registration of trademarks             court will tolerate delay if plaintiff proves a strong case that
does not regulate all aspects of business morality, and                  customers are likely to be confused ."); id . at § 31 :41, at
adopting " 273 of a mark with knowledge of another's intent              31-86 ("[A] strong showing of likelihood of confusion can
to use does not give rise to cognizable equities") .                     trump even a proven case of acquiescence . .. .").

                                                                         Unlike most other kinds of litigation between private
[17] A few courts have held that equitable defenses may,
nonetheless, bar a plaintiffs suit for intentional infringement          parries, trademark litigation is profoundly affected by
                                                                         considerations of public interest . Thus, when the likelihood
where there is significant and purposeful delay . E .g. ./pint
Stock 5'ocieh, 53 F .Supp .=d al 721-22 (citing cases) . These           of confusion is not "reasonably in doubt," [aches and
                                                                         acquiescence are not available to bar relief American Auto .
cases stand for the proposition that where the infringee
                                                                         ds:ck n. ,4AA Ins . Agencc /ire, GIiS F.Supp . 787
makes an unconscionable transgression--purposefully sitting
                                                                         (U .CTes .l939), In such cases, even a lengthy delay in
by to take advantage of the infringer's work--it cannot seek
                                                                         bringing suit will not bar injunctive relief to protect the
the court's protection . [FNdIJ The question is not merely
                                                                         public from confusion, although it may bar recovery of
whether the infringee knew of the infringing mark, but
                                                                         damages . Id. (citing hlrLean r. Fleeting, Q6 U .S . 245, 253, fi
whether it purposefully did not act in order to enjoy the
                                                                         Duo 245 . 23 L .Ed . 82h 11877) ; :lfesendez v. Hnlr . 128 U .S .
fruits of the infringee's labor . First, the delay at issue here,
                                                                          514, i23-2-3, 9 S .Ct . 143, ,2 L .Ed . 526 (1888)) .
as a result of General Cigars abandonment, is a handful of
years--hardly a significant delay . There is no evidence that
                                                                         [19] General Cigar challenges the application of this
Cubatabaco delayed bringing suit in order to somehow take
                                                                         doctrine where, as here, it is the senior user of the mark in
advantage of General Cigar's efforts . Cubatabaco has
                                                                         the United States, and Cubatabaco is not even permitted to
consistently been selling and promoting its COHIBA cigars
                                                                         sell its COHIBA cigars in the United States . However, it is
around the world since 1982, and in Cuba since the 1970's .
                                                                         not necessary that Cubatabaco's mark be registered *274 in
Further, until the fall of 1997, months after the cancellation
                                                                         the United States nor that its product be able to be sold in
petition was filed, sales of General Cigar's COHIBA never
                                                                         the United States for the doctrine of likelihood of confusion
 rose above 0 .05% of its annual sales and was not even in the
                                                                         to apply . E .g. The Spot is .4ulhnrity Inc . c. Prime Hospilnlilv
 same "super-premium" category as the Cuban COHIBA .
                                                                         Civp ., 3O F .3d 955, 963 (2d Cir .l991;) ("direct competition
                                                                         between the products is not a prerequisite to relief')
          FNdI . As Judge Learned Hand wrote:
                                                                         (quotations       omitted) ;  :14uiann   Pnudcr      v.   Prunicr',
          Even in 1930 when for the first time it really began
                                                                         Rcsinurant A Cal' Inc . . 1S9 Misc . 5i1, 233 N .ti' .S . 129 .
          to be injured, [plaintiff] did nothing : not a word of
                                                                          5J2-?3 (1936) ("actual competition"               not essential) ;
          protest, or a gesture of complaint, escaped it for six
                                                                          l"uudabla r . 1lniuomrtre /tic ., 20 \7isc .?d 757, 193
          years more ; and sell the milk business [of
          defendant] kept increasing . What equity it can have            N .Y .ti .2d 332, 335 (N .Y' .Sup .Ctl9>9) (no sales in United
                                                                          States) ; Frund of Funds (_id. v . Fir, American Fund of
          the hardihood now to assent how can it expect us
                                                                          Fund, In, ., 274 F .Supp . 517, 5 .4 (S . D .N .1' .1967) (mutual
          to stifle a competition which with complete
                                 and       even       with      active    funds could not legally be sold in Unified States or to
          complaisance,
                              it has   allowed    for  years to  grow     American citizens) . Whether direct competition exists
          encouragement,
                                                                          between the two brands is, however, a factor to be
          like the mustard tree ; why we should destroy a
                                                                          considered m determining whether there is a likelihood of
          huge business built up with its connivance and
                                                                          confusion, as discussed, infra .
          consent ; this we find it impossible to understand .
          Dtirinell-GV"rigfi1 Co . v . 117u/c, Hoirce" Milk Cu ., 132
                                                                         [?01 To determine the likelihood of confusion posed by a
          F .2d is-= (2d Cir .19a 1) .
                                                                         challenged use, coups in this Circuit are guided by the eight
                                                                         fagots articulated by the Honorable Henry 1 . Friendly in
 Therefore, because a material issue of fact exists as to
                                                                         Polaroid Curu . r. Pnlrtrad Electronics Corp_ 2S7 P2d 492 .
 whether intentional infringement occurred, and because
                                                                         49i (3d Cir .l9fil ) . These factors are : (I ) the strength of the
 Cubatabaco did not unconscionably and purposefully use
                                                                         plaintiffs mark ; (2) the similarity of the plaintiffs and
 the delay, General Cigar may not prevail on its equitable
                                                                         defendant's marks ; (3) the competitive proximity of the




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services ; (4) the likelihood that plaintiff will "bridge the        COHIBA has received several high evaluations from Cigar
gap" and offer a service like defendant's ; (5) actual               Aficionado, those rankings are not consistently as high as
confusion ; (6) good faith on the defendant's part ; (7) the         those of the Cuban COHIBA . The Cuban COHIBA has the
quality of defendant's service ; and (8) the sophistication of       reputation as the best cigar in Cuba and, perhaps, the
buyers . Id . : see also l:stee Louder Inc. v . 7he Gap In( ., 108   world--a reputation that General Cigar's COHIBA has not
P .3d 15U;, 510 (2d Cir .1997) ; 7Yie Spuric .4udinri(~y. 69         surpassed according the evidence presented here .
1= .3d at 960 . I'
                                                                     The likelihood of Cubatabaco "bridging the gap" and
Cubatabaco primarily points to two of the factors, the               entering the U .S . cigar market is dependent upon whether
similarity of the marks and actual consumer confusion . The          the political tide will shift to bring an end to the Cuban
two marks at issue are identical ("COH[BA") and are used             embargo . However, the end of the embargo appears more
for the same product, cigars . Consumer confusion in such a          likely now than in the past, [FN42] and in such event, as the
situation is "inevitable ." Pnppnn Eau . Inc r . Harel. :e's Feud    interviews with Padron reveal, Cubatabaco will almost
Sis . Inc ., 143 F .3d 800 . 3(N 13d Cir .l99R1 ("where the          definitely bridge the gap. Further, although at this time
identical mark is used concurrently by unrelated entities, the       Cubatabaco may not itself sell its cigars in we United
likelihood of confusion is inevitable") ; dletrn TraJfir             States,    the      embargo      does    not    prevent     a
Control Inc . v . Shadow Network Inc, IOd F .=d 336, 339             Cubatabaco-sponsored cigar from being sold in the United
(Fed .Cir .l99') ("confusion was 'so likely that it is virtually     States under certain circumstances . [FN43]
inevitable because the parties are using the identical marks
for the identical services' " (citation omitted)) ; Parse's                   PNJ- . The political tides appear to be turning,
Brand. Inc. v . [OR . Renlh- Inc . . 58 U .S .P .Q .2d 1048, 2001             most recently with Former President Jimmy
N'L 170672, at " 1Z (SD .N .Y .2001) ("the use of the same                    Cartels visit to Cuba . E .g., Mike Williams et al .,
                                                                              Carter trip's effect won't be overnight, Atlanta
name and very similar labels on the same product must
                                                                              Journal-Const ., at AI4, 2002 WL 3723090 (May
 invariably cause consumer confusion') ; Cullman Ventures
 Inc. v . Cnhmihian .-In Workr Inc ., 717 F .Supp . 96, 127                   19, 2002) ("Cartels visit could boost the growing
(SD .N .Y .19R9) ("the products are more than confusingly                     movement in Congress to end the Cuban
 similar--(hey are virtually identical--and thus consumer                     embargo . . . .") ; Rafael Lorente, Calls for Free Trade
 confusion is inevitable") (tiling Mushroom Ifakers Inc . v.                  with Cuba Get Louder, Orlando Sentinel, at AI
                                                                              (May 5, 2002) ("Momentum is building to end the
 R .G. l3arrv Corp ., 580 f2d 44 . 47-43 (2d Cir .197R)) .
                                                                              United Slates' embargo against Cuba . . . .") . See also
Cubatabaco cites several market research studies showing                      Mark D . Nielsen, Cohiba : Not Just Another Name .
such confusion . In addition, Cubatabaco points out that                      Not Just Another titoouie : Does General Cigar
General Cigar has launched the "Cohiba Extra Vigoroso"                        Own a Valid Trademark for the name "Cohiba" in
with a trade dress that eliminates what Cullman had claimed                   the United States^ . _I Loy .L .A . InYI & Comp .L .J .
was one of the principal methods adopted by General Cigar                     633, 61 7 (Aueust 099) (discussing why "the
to guard against consumer confusion--"clearly marking" the                    United States may soon reconsider the continued
box and cigar to show that the cigar was made in the                          enforcement of the Cuban embargo") .
Dominican Republic .
                                                                              F\43 . Cubatabaco points out that a Dominican
 The other factors raise material issues of fact . Whether                    Republic company with 24% Cubatabaco
 General Cigar acted in good faith in adopting the mark is a                  ownership and with Cubatabaco providing quality
 genuine issue of material fact . Documents pre-dating the                    control and technical advice could sell a "Cohiba"
 1995 registration suggest that General Cigar did in fact                     cigar made with non-Cuban ingredients in the
 intend to capitalize on the Cuban COHIBA's reputation . The                  United States . 31 C.F .R . §§ 915?04, 5153p2-
 timing of the new use and second registration of the                         303 .
 COHIBA mark--shortly after the premier issue of Cigar
 Aficionado *275 and its laudatory treatment of the Cuban             Finally, it is contruvened as to whether purchasers of
 COHIBA-also support this interpretation . Yet, General               COHfBA cigars are sophisticated . While purchasers of fine
 Cigar first applied to register the mark in 1978, prior to the       cigars tend to be knowledgeable and would realize that
 Cuban COHIBA's launch on the international market . While            Cuban COHIBAs are not legally available in this country,
 it has now been determined that it abandoned its rights to           Cubatabaco has presented market research to suggest that
 the mark, General Cigar might not have recognized that .             buyers who would be influenced by the "Cuba mystique"
                                                                      are not sophisticated purchasers . Therefore, a person who
 In addition, it is a disputed issue as to the quality of General     would buy a COHIBA because of its "mystique" may not
 Cigar's COHIBA cigars . Although its latest incantation of           understand that the General Cigar COHIBA is not




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sponsored by or related to the Cuban COHIBA .                              rights against the defendant, (2) the defendant relied on that
                                                                           conduct ; and (3) the defendant would be prejudiced if the
[31] Cubatabaco's claim of likelihood of confusion is                      plaintiff were allowed to bring suit . H. G . Shopping Cenlerx,
therefore not brought into "reasonable doubt" for the                      2000 W'L 33538621, 59 U .S .P .0 .2d at 1 1 1 5 .
purposes of this motion . This finding further supports the
determination that General Cigar should not be able to                     Acquiescence focuses on the plaintiffs "response" to
employ its equitable defenses to dispose of Cubatabaco's                   defendant's infringing actions. That means any "response"
claims on summary judgment until these factual issues are                  that would constitute acquiescence must come after
resolved .                                                                 Cubatabaco was aware of General Cigars new use of the
                                                                           COHIBA mark . At the earliest, Cubatabaco teamed in
Because there exists a genuine issue of material fact as to                January 1994 that General Cigar was using the COHIBA
whether General .Cigar may even raise its equitable                        mark when it received a delivery of COHIBA cigars that
defenses, its motion for summary judgment on those                         explicitly stated they were being sent only for the purposes
defenses must be denied . This ruling does not, however,                   of trademark registration .
forestall Cubatabaco's motion to dismiss these defenses .
                                                                           Similarly, equitable estoppel requires a misleading
"276 B. General Cigar Cannot Establish the Equitable                       communication with plaintiffs knowledge of the we facts.
Defenses as a Matter of Law                                                Therefore, the inquiry again must begin with Cubatabaco's
                                                                           awareness that General Cigar was intending to use and
Cubatabaco claims that General Cigar has failed to establish               register the COHIBA mark . Cubatabaco suggests that it was
the elements of acquiescence, estoppel, and ]aches .                       only recently aware of the "true facts." It points to a 1994
                                                                           interview with Cullman in which he said that General Cigar
1 . Acquiescence and Es(oppe!                                              did not intend to use the COHIBA mark in the immediate
                                                                           future . However, at least for the purposes of this motion,
The affirmative defenses of acquiescence ("estoppel by                     Cubatabaco should have known, upon receiving the box of
acquiescence") and equitable estoppel are closely related.                 cigars sent for the purposes of trademark registration, that
                                                                           General Cigar was pursuing the mark . Therefore, the inquiry
[221 The defense of acquiescence "is available when a                      begins with Cubatabaco's actions after January 1994 .
plaintiff has responded to a defendanCs actions with implicit
or explicit assurances upon which the defendant relied."                   [2d] General Cigar cites (I) Cubatabaco's 1996 registration
H . G. shonpin,g Centers . L . P. c . Qirnec, 59 U .S . P .Q .-d 1 109 .   of the COHIBA trade dress in the United States ; (2)
 11 I> (S .U .Tes ._000) (riling Eli'is Pt eslep Enueiprisec Inc .         statements made by Cubalabaco's director, Padron, in two
 c . Capece . 141 F .3d I ;iB, 206 (5th Cir .19981) . Acquiescence         articles in Cigar .4ficionado ; and (3) Cubatabaco's failure to
 is used "only in those cases where the trademark owner, by                contest *277 General Cigars apparent ownership of the
affirmative word or deed" conveys its consent to another .                 COHIBA mark from 1994 to 1997 .
 McCarthy, supra, § 31 .41, at 31-85 ; see also Carl 7.eiss
 Sliltui~t v~ G"EH Cur( Zeis Jcnu . 43" F2d 6RG . "0a (2d                  General Cigar claims that Cubatabaco's registration of the
 Cir .1970) ("As distinguished from [aches, acquiescence                   COHIBA trade dress in 1996, without any challenge to
 constitutes a ground for denial of relief only upon a finding             General Cigar's existing registration of the COHIBA mark,
 of conduct on the plaintiffs part that amounted to an                     communicated to the world at large and to General Cigar
 assurance to the defendant, express or implied, that the                  that Cubatabaco acknowledged General Cigars U.S .
 plaintiff would not assert his trademark rights against the               ownership of the COHIBA mark . Cubatabaco is persuasive
 defendant .") . Whether the claim of acquiescence is                      in arguing That its efforts to protect ids designs from what it
 sufficient to bar relief "depends upon consideration of the               considered further attempts by General Cigar to
 circumstances of each particular case and a balancing of                  misappropriate them may not as a matter of law constitute
 interests and equities of the parties ." Cart 7ei .rs . 433 F2d at        grounds for acquiescence or estoppzl .
 "04 ; Tti- .SYar Pir(urcs Inc . r . Leicm't Time Productioni
 8 .4"., I' P.3d 38 . 44 (2d CirJ99a) ; S'arwuga Vi, hp Springy .           The two Padron interviews took place prior to January 1994 .
 625 F .2d at 1030 ; .a .C . rluArrmun Co . r . R . L . Chuide+             [FN34] The interviews were therefore not a "response" to
 Cunsrn Cu . . 960 F .?d 1020 . 1036 . 1043 (PedCir .1993) (en              General Cigar's actions and cannot constitute acquiescence .
 bane) .                                                                    Further, the interviews were not made with the true
                                                                            knowledge of the facts--that General Cigar was pursuing a
 [2?] Similarly, to assert equitable estoppel, a defendant must             new registration for the COHIBA mark . Therefore, General
 show that (I) plaintiffs misleading communication, with                    Cigar may not rely on she interviews to show conduct
 plaintiffs knowledge of the true facts, prompted the                       supporting its acquiescence and esmppel claims .
 defendant to infer that the plaintiff would not enforce its




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        Fn-1a . The later interview took place in December                   and sold approximately 509,000 COHIBAs from
         1993 and was printed m early 1994 . The printing                    August to December of 1997 alone, and close to
        date does not change the fact that Padron was not                    one million COHIBAs per year in the following
        responding to General Cigar's actions and did not                    years . In such a situation a clear duty to speak
        have knowledge of the true facts . In any case, the                  would arise . That same duty is not present here,
        quoted excerpt does not support a claim of                           however .
        acquiescence or estoppel . The very first line of the
        excerpt from Padron states : "[T]here is going to be        1278 General Cigar has failed to establish evidence of any
        a fight ." That statement is later contradicted by          acts, conduct or omission on the part of Cubatabaco on
        Padron's almost immediate statement that "we are            which is could rely . Therefore, its affirmative defenses of
        not going to fight in order to get our cigars into the      acquiescence and estoppel are dismissed.
        United States ." In light of this confusion, General
        Cigar could not have relied on the statement, "we           2 . Laches
        are not going to fight . . . ."
                                                                    [26] Laches requires defendants to show "[t]hat plaintiff had
                                                                    knowledge of the defendant's use of its marks [and] that
[25] Finally, silence may constitute cause for equitable
                                                                    plaintiff inexcusably delayed in taking action with respect
estoppel if a duty to speak exists . Kocokoir v. New Rochclle
                                                                    thereto ." Cuban Cigar Lip ands . 457 F .Supp . at 1096 (internal
Radiology Assoc., 274 P .ld ?0G . 729_2(, 12d Cir .200U . A
                                                                    citations omitted) ; see also Swnlngn Vichy Spring, 625 F .2d
duty to speak may arise if the party's silence will mislead
                                                                    at 1040 .
the infringer into believing that an infringement claim will
no[ be asserted . Gunernl Elec. Cnpwaf Corp. r. Era
                                                                    [27] A presumption of laches arises in a trademark action
Arnradnra . S .A ., 77 Fad 41, 45 (2d Or . 1994) ("Silence in
                                                                    when the plaintiff does not bring suit within the sue-year
the face of an explicit contrary assumption by an innocent
                                                                    statute of limitations applicable to state-law fraud in New
party may constitute a concealment of facts or a false
                                                                    York . Conopcu lrtc. v . Campbell Soup Ca . . 95 Pad 187,
representation for estoppel purposes .") ; Fo) em Laboratories                                                             American
                                                                    191-92 (2d Cir .1996) ; see also .4meritech Inc v .
Inc. v . Abbott Laboratories, 9(. Cia . 159-A, 1999 N'L
                                                                    Information 1'echnolngies Corp      ., 81I  F .2d 960,  963 (6th
332991?3, at ` 22 (W .D .N .ti' . June 23, 1999) (holding party
                                                                    Cir .19S7) ("There is a strong presumption that plaintiffs
was estopped by silence) .
                                                                    delay . . . is reasonable so long as the analogous statute of
                                                                    limitations has not elapsed .") . Further, this six-year period
Cubatabaco's silence lasted from January 1994 until, at the
                                                                    does not run until plaintiffs discover or should have
latest, January 1997, when Cubatabaco filed its cancellation
                                                                    discovered the facts that create the cause of action . Carell v .
petition . Elvis Preclrr Entripricet Inc . r Cnpece, 141 Fad
                                                                    ShuGerl Org . Gic . . 10-0 FSupp2d 236, 260 (S .D .N .Y .2000)
 1£i8 . 205 (5th Cir .1993) ("Any acts after receiving a cease
                                                                    (citing N .Y . CPLR § 213(R)) ; see also Narlev-Duvidcon .
and desist letter are at defendant's own risk .") (citing Conan
                                                                    Inc . v. O'Cuiuiell. 13 F .Supp?d 271, 279 (N .D .N .Y' .199R) .
PrnperNev Ins' . c . Caiianc Pizza ln< . . '52 F .2d 145 . 1>I-52
                                                                    Cubatabaco discovered the new use in January 1994 at the
(51h Cir .19R5)) ; Pipcr .4irtrryi Corp. c. If"agAuo Inc. . 741
                                                                    earliest . Further, it filed a cancellation petition three years
 F .2d 925 (7th Cir.1984) (period of alleged lathes ended
                                                                    later, in January 1997 . Therefore, the presumption does not
when defendant received letter from plaintiff objecting to
                                                                    arise here because the period of delay is, at most, twee
defendant's use of the Piper name in catalog) . See also
                                                                    years .
 Restatement (Third) of Unfair ( ompeti4on 31, al 32U-21
~ 19y5) . Moreover, in January 1994, Cubatabaco received a
                                                                    (28] Even if the statute of limitations has not run, the lathes
 box of the COHIBA-branded Temple Hall cigars with a
                                                                    defense may still be applicable . Yecser v . Searle Bln1r d
 note stating that the box was not sold as a regular item and
                                                                    Co ., 2000 \L'L 1071804 . at `5 (S .D .N .ti' . Au .- . 2 . 2000) . In
 that it was being produced by General Cigar solely for the
                             trademark       registration .   The   such a situation, however, there is no presumption of lathes
 purposes      of      ids
                                                                    and the burden remains on the defendants to prove the
 COHIBA-branded Temple Hall cigars were not advertised
                                                                    defense . Connpco, 95 F .3d at 191 . A delay of up to three
 and were only sold through two tobacconists . In light of
                                                                    years does not constitute the "inexcusable delay" in the
 these facts, Cubatabaco did nut as a matter of law have a
                                                                    particular circumstances presented here . As discussed
 duty to speak . [FT45]
                                                                    earlier . from January 1994 to January 1997, General Cigar
          FN45 . By contrast, it would be a different matter if     was selling an existing cigar with a COHIBA label attached
                                                                    to it . There was no advertising, and cigars were sold only
          Cubatabaco had remained silent for up to three
                                                                    through the two retailers . Sales constituted a mere half a
          years after the launch of General Cigar's
                                                                    percent of General Cigar's annual sales of premium cigars at
          super-premium COHIBA . In that case, General
                                                                    that time . In light of these factors, it was not inexcusable
          Cigar had spent millions of dollars in advertising
                                                                    that Cubatabaco did not act until up to three years after




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discovery of the new use.                                         Club rum was produced by a private corporation owned
                                                                  principally by the Arechabala family and was shipped to the
Because Cubatabaco did not unreasonably delay, General            United States . After the revolution, the Cuban government
Cigar's lathes claim is dismissed.                                seized the assets of the corporation . The resulting Cuban
                                                                  rum company registered the Havana Club trademark with
V1 . Cuba(abaco's Motion for Partial Summary Judgment             Cuban authorities in 1974 and with the United States in
                                                                   1976 . The United States registration was revoked in 1997 .
Cubatabaco has moved for partial summary judgment on its          Also in 1997, the Bacardi Rum company purchased the
Article 7 and 8 claims under the IAC, Article 6-bis claim         rights of the Arechabala family to, inter alia, the Havana
under the Pans Convention, New York common law claim,             Club trademark.
and claim under the Federal Trademark Dilution Act
("FTDA") . General Cigar opposes summary judgment on              Looking to legislative history, the Court held that the IAC
these claims as well as others not addressed in Cubatabaco's      was self- executing, but that, regardless, Congress
motion for summary judgment . [FN46]                              incorporated rights under the IAC into Section 44 of the
                                                                  Lanham Act. Therefore, Cubatabaco "must assert its rights
         FNd6 . General Cigar also discusses the meats of         under the iAC pursuant to section 44(b) of the Lanham
         Cubatabaco's claims regarding (1) Section 10-bis         Act ." IA. at 128.
         of the Pans Convention (Count 11); (2) Article 20
         of the IAC (Count IV); (3) trademark infringement        Section 44(b) provides :
         under Section 43(a) of the [,anham Act (Count               Any person whose country of origin is a party to any
         VII) ; and (4) state law dilution claims (Count XII) .      convention or peaty relating to trademarks, trade or
         These arguments will not be addressed as they are           commercial names, or the repression of unfair
         not before the Court and should be the subject of a         competition, to which the Unified States is also a party, or
         separate motion for summary judgment on the                 extends reciprocal rights to nationals of the United States
         merits by General Cigar if it so chooses.                   by law, shall be entitled to the benefits of this section
                                                                     under the conditions expressed herein to the extent
*279 A . Cubatabaco's Treaty Claims                                  necessary to give effect to any provision of such
                                                                     convention, treaty or reciprocal law, in addition to the
As an initial matter, General Cigar argues that Cubatabaco           rights to which any owner of a mark is otherwise entitled
cannot rely on the IAC and Pads Convention because the               6y this Act.
provisions on which it relies do not have the force of law in     I S U .S .C . § I 12G(6) . Cubatabaco is therefore "entitled to the
the United States. It asserts that the treaties are not           benefits" of Section 44 "under the conditions expressed
self-executing and therefore must be executed by                  herein to the extent necessary to give effect to any provision
legislation, i.e. the Lanham Act, and that the Lanham Act         of such convention .. .."
does not encompass the substantive provisions on which
Cubatabaco relies for this summary judgment motion .              Havana Club tiled a claim, inter a(ia, to enjoin Bacardi from
                                                                  selling rim labeled Havana Club under Section 44(b) and
1 . Infer-American Convention                                     (h) of the Lanham Act and Chapter 111 of the IAC. The
                                                                  Court held that Section 44(h) [FNJ7J of the Lanham Act
Both Cuba and the United States are parties to the IAC . The      only reaches substantive "280 provisions of the IAC that are
treaty remains in force between the United States and Cuba        "related to the repression of unfair competition ." 203 Fad at
notwithstanding the embargo on trade between the two              135 n. 19 . One of Havana Club's Section 44(h) claims
countries . U.S . Dept of State, Treaties in Force 393 (2000) .   sought to apply the substantive provisions of Article 23,
Thus, the IAC, along with the Paris Convention, governs           concerning      "Repression     of False      Indications   of
trademark relations between the two countries.
                                                                  Geographical Origin or Source". The Court held that it
                                                                  could "not rely on this provision in asserting its section
This Circuit has recently addressed the issue of whether the
                                                                  44(h) claim, however, because the IAC does not treat rights
Inter-American Convention provides additional substantive
                                                                  under article 23 as rights related to the repression of unfair
rights other than those available under the Lanham Act .
                                                                  competition ." 203 F .3d at 135 n. 19 .
Hnrana Club Hu(dino SA . r. Galleon S.A . . .03 F.3d 116,
124 l2d Cir?000L
                                                                           FN47 . Section 44(h) provides :
                                                                           Any person designated in subsection (b) of this
In Havana Club, a Cuban rum producer, Havana Club,
                                                                           section is entitled to the benefits and subject to the
brought an action against an American rim producer,
                                                                           provisions of this chapter shall be entitled to
Bacardi, alleging trademark infringement and false
                                                                           effective protection against unfair competition, and
designation of origin . Before the Cuban revolution, Havana




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         the remedies provided by this chapter for                         using or applying to register or deposit an
         infringement of marks shall be available so far as                interfering mark in any other of the Contracting
         they may be appropriate in repressing acts of unfair              States, shall have the right to oppose such use,
         competition .                                                     registration or deposit and shall have the right to
                                                                           employ all legal means, procedure or recourse
[29] The Court did not clarify which sections of the [AC                   provided in the country in which such interfering
concern "rights related to the repression of unfair                        mark is being used or where its registration or
competition ." However, Chapter IV of the IAC (Articles 20,                deposit is being sought, and upon proof that the
21 and 22) is explicitly labeled "Repression of Unfair                     person who is using such mark, or applying to
Competition ." Further, the Court appeared to accept that                  register or deposit it, had knowledge of the
Section 44(h) at the very least embraces the substantive                   existence and continuous use in any of the
provisions of one of the articles in Chapter IV, Article 21(c).            Contracting States of the mark on which opposition
[F?vJ8] From this, it may be surmised that Chapter IV                      is based upon goods of the same class the opposer
concerns "rights related to the repression of unfair                       may claim for himself the preferential right to use
competition and that Section 44(h) incorporates the                        such mark in the country where the opposition is
substantive provisions of Articles 20, 21, and 22 ." [FN49]                made or priority to register or deposit it in such
                                                                           country, upon compliance with the requirements
         Fn48 . Havana Club also asserted a claim under                    established by the domestic legislation in such
         Article 21(c). Article 21(c) expressly states that it             country and by this Convention .
         will be enforceable only if the conduct it proscribes
         is not "effectively dealt with" in domestic law. The              FN51 . Article S provides, in pertinent pan:
         Court concluded that the plaintiff failed to state a              When the owner of a mark seeks the registration or
         viable claim as it "amounts to little more than the               deposit of the mark in a Contracting States other
         reassertion of ids section 43(a) claim because article            than that of origin of the mark and such registration
         21(c) of the IAC prohibits a subset of the conduct                or deposit is refused because of the previous
         already effectively prohibited under American law                 registration or deposit of an interfering mark, he
         by section 43(a)." !d. at 134-39 . Therefore, the                 shall have the right to apply for and obtain the
         Court appeared to except that Section 44(h)                       cancellation or annulment of the interfering mark
         encompassed the terms of Article 21(c).                           upon proving, in accordance with the legal
                                                                           procedure of the country in which cancellation is
         f'Nd9. Although Cubatabaco has not moved for                      sought, the stipulations in Paragraph (a) and f (b) ):
         summary judgment on these grounds, it has stated                  (a) That he enjoyed legal protection for his mark in
         claims under Articles 20 and 21 of the IAC. These                 another of the Contracting States prior to the date
         provisions therefore have the force of law under                  of the application for the registration or deposit
         Section 44(h).                                                    which he seeks to cancel ; and
                                                                           (b) That the claimant of the interfering mark, the
Cubatabaco has moved for summary judgment on its claims                    cancellation of which is sought, had knowledge of
under Article 7 [FTSpf and 8 [FTISI] of the IAC . In order                 the use, employment, registration, or deposit in any
for Section " 2S1 44(h) to reach these provisions, they must               of the Contracting States of the mark for the
involve "rights related to the repression of unfair                        specific goods to which said interfering mark is
competition ." Articles 7 and 8 may be found in Chapter II of              applied, prior to adoption and use thereof or prior
the IAC, labeled "Trademark Protection ." Cubatabaco                       to the filing of the application or deposit of the
argues that Articles 7 and 8 involve the repression of unfair              mark .
competition and quotes a Second Circuit opinion from 1953
that states that "infringement is itself a form of 'unfair        Based on this logic, however, it would appear that all
competition .' " American Aulumuhile Assn r . SpieggeL 205        provisions of the IAC would be encompassed by Section
F2d i71, ""4 (2d Cic1953) (Hand, l .) ; see also H .R .Rep .      44(h). While a neat argument, it is undermined by the
79-1333, 79th Cong ., 2d Sess ., at 4 (1946) ("[T]here is no      Havana Clue ruling . Cubatabaco cites one portion of
essential difference between trade-mark infringement and          Havana Club to support this contention, noting that the
unfair competition . Unfair competition is the genus of           Court held that the iAC's protection against a United States
which trade-mark infringement is one of the species .") .         trademark infringing upon a foreign trade name--a provision
                                                                  it describes as "parallel" to Articles 7 and 8--was
         FN5O . Article 7 provides :                              incorporated by Section 44 . 203 F.3d at 128. It is true that it
         Any owner of nark protected in one of the                is incorporated by Section 44, but by subsection (g) of that
         Contracting States in accordance with its domestic       section, rather than subsection (h), under which Cubatabaco
         law, who may know that some other person is




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                                                                                                                                                                                                                       Page ZG
                       has made its
                       of                       claims . !,L Se~ti
                                          trade                      'On 44 (8) provide,
                                                          name:                                     that owners
                      infringement
                            foreiginfringement even                                                                                         thnKem
                      Therefore, the                     in the absenceseek protection                                                ~~
                                                    parallel                      of registration, against                            Priority ~¬h~~                                              un, the
                     statement from                               provision                                             .921                                                       in the rn r~iA                     ' U.' . user
                                                  Co~g~ss                           required an                                                                                                    .                                   w'~
                     Moreover,                                   that  no     reg;st~tio~ ~,a5           ~)explicit11-N
                                          the f~~vrrnu                                                                               Under
                     Section                                    C7reh                                                                                   Src~iun
                    involves hehre
                                                                          Court rejected              required .                    re g -,S
                                                                                                                                           stered its
                                                                                                                                                                                     44(ea ). a fore .
                                                                    Article 2                     claims that                                                                     mark in a                        party that
                                            repression
                    origip, That p~o~
                                                  ;s~o~
                                                          n of false               3 °f the IAC, which                             certified co PY of
                                                                                                                                                                                      that        conventionention nation Sh as alreaAy
                                                          also            indications     of geo                                  time.                                                      registration                      may submit a
                    competition in                                                             geographical                                               U.S . registration                                      to tl,e U.S .
                   goods to the the fo                                             rotecY
                                                                   Peens faisr~ label, unfair
                                                                                                                                  orhe                                                                  then will
                                                                                                                                                                                                                        issue, if
                                                                                                                                                                                                                                   PTO a~ any
                                             detri mentn of Persons                                                                                  Ise qualities for registratio
                   Sods from n                                                                                                    without special priority                                                       n under U                 mark
                                          particular locationse who are actually                                                 begins             to use the                                 rights                            .S. the
                                                                                                                                                                                                                                      !au", but
                                                                                                      gellinir                                                                      mark in                  Therefore, if
                               rNS~ . Section                                                                                   party                   nits                           .             S. c                      someone
                                                           qq                                                         g         he U.S bPTO                                                               of
                              commercial names8) gyp(°vides :                                                                                                            .dthe first d Copy                   the
                                                                                                                                                                                                                   foreignf°e      ~e foreign .
                                                                                         rade names o~                          mark .                                                       U.S . user                         Kistr~tio n to
                             subsectiop                                     persons                                                                                                                            will   have priority
                             without othenot        (b) of this section,                  described in
                                                                                                                               If
                                                                                                                                                                                                                          e             in the
                                                       tbligation      o   f       shall
                                                                              filing    or  be protected                             Cubatabaco
                            whether                                                                                           trademark Wight were correct,
                                                         hey form                            regis~~~~o~                                                                                                   the claimant
                                                                      parts of marks. ~~                                      better                                              based on
                1301 fn essence,                                                                                                        off not                                                  foreign ~e~,1st~tion of a U
                the (AC to                  Cubatr,baco has                                                                  incur ~},~ expense     ex registering                       g ~~s mark, since
                                  obtain U, e ~                    invoked                                                                                                                                         i! would not  would
               mark without                           right of uwne,sh~~,Articles             7 and R                       Would nor have of re istratiun and
                                                                                    ~f ~~ CO~ijBn       of                                                                    to maintain                       Maintenance have ~o
              manner tF~at                                                                                                  the Unit ~ States                                                    Its reg ;s~~atioo                fees and
                                  Unitedregistering
                                                 S Wars ~~5      ~~FitBA                                                    excusable non-use or the filing
              points                                       law requires . trademark in the                                                                                      .                                        throughKh
                                                          would                  As C,p~e~~                                registration could Further, the owner papers to establish
              Conge~siunal                                                                         Cigar                                                                                                          of the poor
             ~° Provide notice       Purpose        of   encouraging                undermine         the                  United States markbench bY wait'                                                                        Foreign
                                                   e~                                                                                                             a~had                                       until
             mark . See la                    other                Sing      registratio   n in order                     mark      and taming                                        established a g~ the owner of ~e
                                re ~,~ f~Q~~ users wh y may have                                                           at Owners of-                                      dvanl a e                             re ~
             1367 (FedCir                                                             interest in the                                                                                                                  p ~~~°~ for the
                                .199)) (^pnt~` `~ f'rnq                                                                  thStat are                           tra ema ks ofMesa effu
                Promote and to                           Preneurs for example       18            135,                                    entitled to                                         re  istered ~~~~e ~t ~S ~e
           should be able sell a new product                                           ~ I~~ ?d                         [, nham                                                   protection,g                  ou~ide the United
                                                                      under a fans; Who plan                                            Act that the                                              Congresshas
           registry);                                                                                                  swordlshield                                                                                    decided in the
                          Hong~o~ /er7 ~°,.a search of the                                                                                           defensr that                   Y aye not entitled
                  147                                                                    trademark                                                                                      Cubatabaco          seeks . ~~ ~° kind of
                              KS Fed,('ir.                            ekce de France,
          to be im le                                l9,y 7                                                           Suc h resWt would
                     P memed        ' by                    I ("One of the                                           which contempt,,, also contradict
         on               I~ ~p~dethe Act( ~ to ~ou,~ Policies
          f~~ [ he re g,ister                                                                    mH11 '
                                                                                  e           Sought               and                                                 that ('ore~                       P+'Provisions Of t
         mark, ;n                               mnrl;s of as many                K the presence                               maintain
                       actual use so                                                                                                                 their rights , E,Sn parties -3 hould act he ~C
        Poses .").                                that they are                                                                                                                                                             to secure
                                                                      aailablePossible of t                              Sj; Art 13 (content ark
                                                                                                                Protection                                                                                             (Person
                                                                                       for search                                                                                              protection ~ must   ~              who
        Cubatybaco retorts                                                                                      Provisions of                                                         platin8                             apply
                                                                                                                                           domestic                                               compliance                        For
       and 8 sup~n                     to this Policy                                                               freg ;s~r~~~on                                               law" for                          ~with ~O "formal
                                                                                                                                                   shall                                     registration),'
       the eventual ~e Cong~ssional p~~~~Y                     ~g~men~ that
                                                                       as            Articles 7
                                                                                                                                                                               fixed by state)
                                                                                                                                                                                                     .                       (Period
                             rcg istraUOn                                                                   It'        light    of   the
      cancellation of th                              of the                 they           entail          "                                             b f o r e g o i n e  .
                               e mark r                             fore                                    'related            to the                                                 ~~les 7 and g
      argument ignores                                                              Markk and                                              repression u                                                      of the IqC aye
     years, the fure the fact that fo~so the United States . This                                         within the
                                                                                                                                     ambit            o(' 5~~~~                     ~ unfair
                                                                                                                                                                                                competition"                     not
                           ;gn mark                                  variable nur                      claim             s under                                                                                     ~d are
    ~Knores tha fact                            has not                                   b er o`                                      Articles                                                   herefore                      not
                             that Congress                    been reg                                                                                        7 and g 44               of~he j                   , Cubataba
    how owners
                      of trademarks                     has specif ;stered . It also                    I. The Per~                                                                              AC are dism                   co's
    o btain a                                                          ically                                                     .s                                                                                  i,sed .
                 U.S . re istraNon rrg ;stemd in oth                              carved out                                          Conrer~an
   `Z8z has
                  applied                      Under Section er counties may
                                             . U
                                                                                                       Both Cuba
   Signatory nation for, but nod Yet received 44(d)~ a party that                                                                  and the
                                                                                                                                                         United States
                                         t-,,,                     , a regestration                    Convention. I~;                                                                         are parties                  Paris
  months of filin may                            a U,S .                                   in  a                                           ~3~
                         X  its     foreign                   app lication                                                                                                                                        to the
  foreigngn registration                           a                             withi  n six
 qualities for re               issues and PPlication if the
                                                                  . If and
                                                                                  when the                                  FNS3 . The
                    registration under                          trademark                                                                              United States
 will issue                                                                      othrnvise                                  May      30, ISg7~                                               tint
                  with U.S .                           .S law, a                                                                                                     and Cuba
 upon which the                   Priority rioU .ht,                 U  .S.                                                                                                                 on   Nbe~n~e a party on
the party                fure;g  a                 ~       retroactive registration                                       Intellectual
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               fails file                Ppl   ication    was                 t°  the   ~~e                               ~yN,.W   .                  pro Perty
                               within ix                         filed  .                                                                                                           Protection Tr                    i~tion,
~f Someone else
                       has used the                months of its T'herefo re i f                                          19, 2002)P~~orSitreaties/i                                     /           (treaties, at h~i
                                              s,
                                               meek in the Un         registration        or                                             .                                            ~'  P~~        ( last visited P: /
                                                                    ;ted States poor                                                                                                                                     June
                                                                                                   There is a
                                                                                                                             divergence
                                                                                                   Convention is self-                                 in Rutho
                                                                                                                                               executing . Commas t° whether the pans
                                                                                                                                                               Pare yarui~~ Fat? .d4ills .
                                                      C°Pc t(+ Nest
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/iic. r . T Futon Co., ? ;4 F 2A (r33 . C40-44 (24 Cir .1956) (in       of the Lanham Act .
dictum : Paris Convention is self-executing), cert . denied
352 U .S . 87; 1 . '7 S-Ct . 96, I L .Ed1d 76 (196) ; Uacidoll          (;2] Cubatabaco has asserted ids Article 6-bis claim
Extension .S'. .9 . r . /)u0duJj/ni'l Inc. . 193 ; WL 203, ?21          pursuant to Section 44(h). As discussed above, Section
U .S .P .Q . (USA) 465, 467 (S .D.FIa . (983) (relying solely on        44(h) will only encompass Article 6-bis if Article 6-bis
Vanity Fair in holding that Pans Convention                       is    concerns "rights related to the repression of unfair
self-executing) with In re Compagiue Generule Maritime .                competition ." Havana Club. 203 Fad at 135 n . 14 . Article
993 I .2d 841, 856 & n . 13 (Fcd .Cir .1993) (Vies, J .,                6-bis, similar to Articles 7 and 8 of the IAC, permits the
dissenting) (Paris Convention is not self-executing) ;                  refusal or cancellation of registrations of marks that are
L :4iglonApparel, Inc . v . Lann LoheN /nc ., 214 F .2d 6d9 (3d         similar to well-known marks registered in other member
Cir .195d) (same) (cited approvingly in *283BP Chemicals                countries . (PN55] A different provision, Article 10-bis,
Ltd c. Formosa Chemical R Fibre, Corp . . 270 F .3d 254,                explicitly addresses the provision of "effective protective
259 n . 1 (ld Cir1000)) ; Orbnnn v . Sranrac Corp ., 371 1'?d           against unfair competition ." Article 10-bis . [PN56] There is
 154, 157 (7th CIr .1967) (same) ; /nl'l Cafe., S. .-0 .L . c. Hard     no "284 such similar language in Article 6-bis. Therefore,
Rock Cafe IU.S.A .I, Inc ., 252 Fad 1274 . 1277 i~ . 5 (11111           for the reasons stated above, Cubatabaco cannot rely on
Cir .=001) (same) . [fN54]                                              Section 44(h) to encompass the substantive provisions of
                                                                        Article 6-his and its claims based on this provision must be
          PNSa . Most recently, an unpublished decision of              dismissed. [FNS?]
          the Trademark Trial and Appeal Board also
          concluded that the Pans Convention is not self-                        FNS . Article 6-bis stakes :
          executing . /rte'! Finance Corp. v. Bravo Co., Opp .                   I ) The countries of the Union undertake, ex officio
          Nos . 111, 276 ; 111, 760 (T .T.A .B . June 5, 2002)                   if their legislation so permits, or at the request of an
          (collecting cases) ; see also Scotch lf'$Lsln~ A .rsoc . v.           interested party, to refuse or to cancel the
          Nruled States Distilled Products Co ., 1959 WL                        registration, and to prohibit the use, of a trademark
          _7aai2, 13 U .S .P .Q?d 1711, 1713 (Trademark Tr .                    which constitutes a reproduction, an imitation, or a
          &    App .    Bd .19R9)     (concluding    that     Pans              translation, liable to create confusion, of a mark
          Convention is not self-executing) .                                   considered by the competent authority of the
                                                                                country of registration or use to be well known in
[3l] There is no need to determine whether Vanirc Fair is                       that country as being already the mark of a person
still controlling as to this issue, however, because of the                     entitled to the benefits of this Convention and used
Havana Club ruling. As discussed above, the Second Circuit                      for identical or similar goods. These provisions
determined that the rights under the IAC, although                              shall also apply when the essential part of the mark
self-executing, nonetheless could only be asserted through                      constitutes a reproduction of any such well- known
Section 44(b) of the Lanham Act. 203 Fad at 128. The                            mark or an imitation liable to create confusion
Court reached this conclusion because of the original text of                   therewith.
Section 44(b), which specifically incorporated the treaty                       (2) A period of at least five years from the date of
rights of                                                                       registration shall be allowed for requesting the
   [p]ersons who are nationals of, domiciled in, or have a                      cancellation of such a mark . The countries of the
   bona fide and effective business or commercial                               Union may provide for a period within which the
   establishment in any foreign country, which is a party to                    prohibition of use must be requested.
   (I) the International Convention for the Protection of                       (3) No time limit shall be fixed for requesting the
   Industrial Property [the Pans Convention] . .. or (2) the                    cancellation or the prohibition of the use of marks
   General Inter-American Conventional for Trade Mark and                       registered or used in bad faith.
   Commercial Protection [the IAC] . .. or (3) any other
   convention or treaty relating to trade-marks, trade or                       PN56 . Article 10-bis provides :
   commercial names, or the repression of unfair                                (1) The countries of the Union are bound to assure
   competition to which the United Sates is a party . .. .                      to nationals of such countries effective protection
Id. (citing Trademark Act of 1946, ch . 540, § 44(b), 60 Scat.                  against unfair competition . (2) Any act of
427, 442) . The Court ruled that even though the IAC was                        competition contrary to honest practices in
self-executing, because of this language, the plaintiff must                    industrial or commercial matters constitutes an act
assert its rights under the IAC pursuant to Section 44(b) of                    of unfair competition . (3) The following in
the Lanham Act. Id. Similarly, because the Pans                                 particular shall be prohibited : I . all act, of such a
Convention is included in the original language, even if it                     nature as to create confusion by any means
were self-executing, Cubatabaco would have to assert its                        whatever with the establishment, the goods, or the
rights under the Pans Convention pursuant to Section 44(b)                      industrial or commercial activities, of a competitor;




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                                                                                    New York common law claim, Cubatabaco does not address
           2. false allegations in the course of trade of such a                                                                             does .
           nature as to discredit the establishment, the goods,                     either prong, nor refer to any section of its brief that
                                                                                    As discussed earlier, however. Cubatabaco did raise the
           or the industrial or commercial activities, of a
                                                                                    issue of likelihood of confusion in another section, and a
           competitor; 3 . indications or allegations the use of                                                                                of
           which in the course of trade is liable to mislead the                    question of fact remains as to whether likelihood
                                                                                    confusion will result .
           public as to the nature, the manufacturing process,
           the characteristics, the suitability for their purpose,                  General Cigar challenges this claim because it is the
           or the quantity, of the goods .
                                                                                    registered user of the COHBA mark in the United States . A
                                                                                    Central District of California court faced an analogous
           FNi7 . Cubatabaco has asserted a claim under
                                                                                    situation in *285Gnrpo Giganfe S . .d . v . Ualla & Co . . 119
           Article 10-bis as well, which presumably would
                                                                                    F .Supp .?d IOii3 . 1089 (C .D .Ca1200U) . The defendants,
           not face the same difficulty . However, Cubatabaco                                                                                  mark
                                                             its                    owners of a grocery store who had registered their
           has not moved for summary judgment on
                                    and  its merits--as well as                     with the state, claimed that the state registration made the
           Article  10-bis  claim                                                                                                               The
                                                                                    common law well-known mark doctrine unavailable .
           General Cigar's arguments regarding it--will not be                                                       reasoning  that a foreign mark
                                                                                    court rejected this  argument,
           addressed at this time .
                                                                                     must be protected if it was well-known in the United States
                                                                                     prior to the party's obtaining rights to the mark through the
 B. State Common Law Claim
                                                                                     state process . Id. at 10R9-92 ('9f a mark used only on
 Cubatabaco seeks sununary judgment under the "New York                              products or services sold abroad is so famous that its
                                                           discusses                 reputation is known in the United States, then that mark
 common law" in the same section in which it
         6-bis  of  the Paris   Convention  . Cubatabaco     fails to                should be legally recognized in the United States ." (quoting
 Article
                                  one  or both   of  its New    York                  McCarthy, supra, § 29 :4, at 29-9)) .
 assert whether it refers to
                  claims    and   further fails   to  explicate   the
 common law
           of  either  claim . The  complaint   contains   two such                  Although the Grupo Gigante case involved state rather than
 elements
                                                        competition .                federal registration , the difference is not dispositive . After
 claims : (I) misappropriation and (2) unfair
 Complaint, 11     72-74   (unfair  competition    under   state and                 all, federal registration is only prima facie evidence of
                                                                                     ownership, rather than a deed to the mark . Lanham Act,
 common law) ; 78-81 (common law misappropriation) .
                                                                                     Section 33 . Therefore, Cubatabaco might have prior rights
  The first claim, misappropriation, has been
                                                               called "the           to the COHBA mark if it was well-known prior to General
  essence of unfair competition,"       Fnrschncr          Group.      Inc. v .      Cigar's first use of the mark in 1992 .
                    Co ., 124 F .ld  402,   408      (2d    Cir  .1997).   On
  Arrow Trudirn,
                                                                           has       [?4] An issue of material fact exists as to whether the Cuban
  the basis of this description, at least one district court
                                         misappropriation               claim   .    COHIBA was well-known by November 1992 . The Cuban
  dismissed     a common         law
                  . Sume(hing   :Vcw . .
                                       /m    v.  QPC.       Inc .,  1999   W L       COHBA was recognized in Cigar Aficionado to be
  Something Old
                                                                   FocccLnnr         "perhaps the world's finest smoke ." It had been selling
  1125063, al 1 13 (S .D .N .Y . Dec . ti . 1999) (citing
                                        claim      as  it  was     considered        around the world for ten years, and had been mentioned in
  and dismissing misappropriation
                                                                          have       several different magazine articles in the United States .
  part of unfair competition claim) . Because the parties
                                                           not     even   clear      Moreover, within the particular niche market of the cigar
  not briefed the subject and because it is
                                     claim      is  at    issue,    the  claim       industry, the Cuban COHIBA was renown .
  whether the misappropriation
                                                                            has
  will not be dismissed at this time . However, Cubatabaco
                                                      of   law   succeed     on       General Cigar also recognized we renown of the Cuban
   failed to establish it should as a matter
                                                                                      COHBA. Milstein testified that in 1989, 1991 and October
  this claim .                                                                        1992, General Cigar wanted to use a label as near as
                                                                      a               possible to the Cuban COHIBA "to somehow capitalize on
   [33] New York common law unfair competition requires
   showing of    (I)  likelihood  of  confusion   and  (2)  bad  faith.               the success of the Cuban brand, and especially [in October
   Soratoga l7clir Spring . 6 .? F1d at 1044 ; see also Lane                          1992] the good ratings that it got, the notoriety that it got
                                                                                      from Cigar Aficionado ." Milstein Dep. at 284 . Milstein
   Capital A1gnu ., Inc . +'. Lane Capim( ;Lfgmf . Inc ., 15
                                                          that record                 wrote a memorandum echoing similar thoughts in January
   F .Supp .2d 389, 400 15 .U .\ .Y .19931 (noting
          not  establish   with clarity that  defendant  acted in bad                  1993, concerning General Cigar's strategy "to exploit the
   "does
                                                              Gencsee                 popularity, familiarity, brand recognition and overall
   faith, an essential element of unfair competition") ;
                   r. Sip oh  Brewing   Co ., 124  Fad   137,  149 (2d                success of the Cuban Cohiba ." Further, in the spring of
   Brewing Co .
                                                                 unfair                1993, General Cigars advertising agency developed a
   Cic1997) ("Under New York law, common law
                                     resemble   Lanham     Act  claims                campaign, the first phase of which was to "[e]xploit the
    competition claims closely
                                                           require an                  Cohiba name, with its reputation as one of the world's finest
    except insofar as the state law claim may
                                                                     its
    additional element of bad faith or intent ."). In discussing




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                                                                                                                                                                                              provides a
                                                                                                                                                                      United States
                                                                                                                        CONIFiA         mark in the                                  reg~staciai                           is no
                                                                                       for   the          of the                    c1almHowever,                      "federal
                                                                 brand    image
                                                                                                          defense to this                                                                 federal ARU-
                                smokers, to build a                                                                                                   of  dilution under the
 ci gan amongst          cigar
                                                                                                           defense to a
                                                                                                                                  charge                                          .90. 2d-I So . Such
                                                                                                                                                                                       at
                    ."                                                                                                                                    suprn . at § 24                    a ground for
    .S . Product                                                                               to          dilution       Act."   'McCarthy' dilution itself                     provides
                                                                    issue    of   fact     as                                        case,           as
                                        raised a material                                                  could not be the                                                  .C . $ ~~>3
  Cubatabaco has thereby                                        "so famous that its                                                   registration . 15 U .S
                                    COHIBA              W'~                        and       thus          cancellation of a
                        Cuban                                        States"                                                                                                            to Whether
 Uwhether the                               in the United                                                                                                     Issue of Fact as
                   [was]      known                                       States     ."  ~t   uP°                                 is  a  Material
  reputation                                                   United                                                 2. There                                                 COH(BA
                                recognized in the                                   summary                                        Cuba~a6aca Owns !h¢
   "should be legally                                    Therefore, while                                                                                         Unified       States
            ~~., ~ ~q F .Supp?d a< <~~`Q~                                               can the                                         mark in the
                                                                is count, nor                                                                                                                                                      of
   judgment may not begbe            im         dismissed-                                                                                                   that   the plaintiff be the "Owner"                                  the
                                cla                                                                                                     requires                                                                      is    not
    unfair competition                                                                                        [37] The F"CDA                                             that Cubatabaco
                                                         Act                                                  the     mark   . General Cigar argues the United States because
                      Trademark Dilution                                                                                               COHIBA mark in
    C. Federal                                                                        on     Count            "owner" of the                                        with the PTO . This argument
                                                      summary        judgment                                       did   not   register the mark registered the mark to "owri"
                                   for partial                                     Trademark                   it                        need not have
     Cubatebaco mopes infringement of the Federal                                                              ignores shat one
     X~~ ~pNjB]           alleging
                                       (° FTDA")~ ~ > >~S C~ ~ ~ ~ Z5~`~~~~~~                                   it . [F1~59~                                                                                              undercut
     Dilution Act of 1995                                                                                                                                                               is further
                                                                  moved      on    the      parallel                           r,,59.    General Cigars argument which slates that a
                                                            not
                    F~Sg . Cubatabaco leas                                                  .Law . §                                                            of the FTDA, Whether the mark
                                   claim      in  Count Xll. N Y,Gen.~us Cigar                                                 by the language
                                                                                                                                                              nor    shall, look ~~
                    state haw                              a   footnote, General                                               court may, bue                                                                                  << <"`~
                    360- ~ . However,
                                                    in
                                                                      of   the    Lanfia~n AC ~                                                                  m determining whether            < ~ I e 1 ( H F ,
                                         Section 43(cx3)                                                                       was                                          I ~ U.S ~'- ~'     1
                     alleges that                                                 Cigars valid                                                       e or famous .                                                     registration
                                    claim       because         of General                      D   ef .'v
                                                                                                         S
                                                                                                                                distinctiregu~ered
                                                                                                                                                                     easily     have required
                     b ores this                              COHiBA            mark      .                                     The    draRers            could                             "shall                      ."
                                                    the                                                                                                                              with
                      registration of                                  subject        will not be                               by   using           the replacing "may"
                             .Mem, at 28 n. 21 . .              This
                                                                            issue and, in any                                                                                  the "Well-I:nown
                                                                                                                                                                                                                                 marks"
                                            that    claim s not at
                      addressed        as
                                                                   claims     is that the 1995                       As    discussed               above . under                          mark                         at     the time
                       case, one of
                                            Cubacabaco's
                                                                            Until the issue is                                                          with 3 well-kno`A'~~                                                          the
                                                        be cancelled .                                               doctrine a party                                          mark has pfio"ry Over the
                       registration       should                         registration         is   valid,
                                                                                                                                 parry    starts           to us` the                                                      above,
                                                           the 1995                                                   another                                                       . discussed
                        raised as to whether ~e~Y on Section 43(c)(3) t~                                                                               mark . In ~ignnte                                                      registered
                                     Cigar       cannot                                                               party using the                           the    plaintiff.    who had not
                        General                                                                                                       argued             that                             .S .P : T                   .O   .,  could not
                                                           claim-                                                     defendants                                or through the U
                         dismiss the state raw                                                                        the mark     in   California                                                                          they   do not
                                                                                            mark shall                                               claim     under     the FTDA'~because                                       was    nn
                                                                          a famous                                     make a dilution Gigunte . ac ItWK n . l0 . There
                             P~°°~   '~C`   that the "owner of                  equity        .to an                                                                                                                        the   mark    in
          The     FTDA                                                    of                                           own the       mark          ."                                       owned
                               subject       to   the principles                         *286       use    in                                                  had    registered and
                                                                                                                                                                                                                                plaintiffs
           be entitled ,                 another persons
                                                                    commercial
                                                                                                       after           question that plaintiff court did not look to the
           in~u rn:tion against                              name,    if  such use begins                              Mexico . However,
                                                                                                                                                            she                                                      the defendants''
                             of  a  mark      or trade                              dilution         of the                                        Mexico,        but instead rejected                                        the Gigante
            commerce                                             and   causes                                ~in        ownership                                                 detemuned                         that
            tile   mark     has    become famous                          U  .S .C  .            ~
                                                                                             ~~`~t~~~
                                                                                                           t
                                                                                                                                      because             the Court had                    defendants'                            first use,
            tV                                                                          ~
                              quaSity       of the mark ." ~~ "the lessening of the                                     argument                                      mark Prior to                                                  to the
            distinctive                            of the FTDA is                                     goods             mark W'~5 a w'z~~"~°~y°                                        the U .S . tights
                              fur  purposes                               and    distinguish                                                          [he   pIamNFfs owed
             "Diludoa"                         mark to identify                                                          and therefore
             capacity of a famous                                                     absence of (1)
                                                       of   the   presence or                              the           mark' ~~~ a~
                                   regardless                              famous mark aid                                                                                                                                        fact as to
              and services,                     ehe    owner      of the                                     or                                                  there    is   an issue of material
               Competition       between                                                  .  mistake,
                                                                                                                          Ay discussed
                                                                                                                                                     above,                                     COHIAA was a
                                     or    (Z)    IikeGhood of wnCusion                                                                                             was       the Cuban
                         parties,                                                                                         whether       Cubatabaco
                                                                                                                                          ~X9other                                           "owns" the rights 1°
                                                      1127 "                                                                                                          1992 and thus
               deception ." 1> U .S .C C                                                                                  "well-known'              ~ m~k in                        United      States . Therefore,
                                                                summa[ized         tile    five elements                         COHIQA                   mark in the                         on                    this ground.
                                            Circuit has                                                                   the                                                      granted
                                                                                              FTDA-                                                            may not be
                [35} The Second unlawful d~~uh°° unties the distinctive ;                                                  summary JudFment
                needed to establish be famous : (2) ~t must be commeree
                                           m«t                                                                     ;
                the senior mark                                                    use in
                                                         be a commercial become famous ;                                   CONCLUSION
                                       use    mist                             has                                                                                                                                     Count 1 (Article
                 (3) the j~~or                               senior   mark                                                                                      reasons . Cubatabacos
                 (4) it must begin
                                             after the                    distinctive        quality of the                 For   the    foregoing                                      III  (Article                          7 and 8 0f the
                                must     causz     dilution of the                         Inc.,      IYI    Fad                                     Paris    Convent              and                                               summary
                  and (5) it                                               ~~"un~ls,                                        6-bis of the                                                s motions for
                                    ."    :ti'~~~'isco    6+e t' ~'F~
                                                                                                                                     are           dismissed       . CubataNaco                                     (Count         XI)   and w
                  senior mark               .199'~l    .                                                                    IAC)
                                                                                                                                                        its   claim     of abandonment                                                    . '28~
                                                                                                                                                                                                                                granted
                   09 215 (=d ~~ir                                                                                          judgment on                                  equitable defenses are
                                                                                       is Not a Defense                                        General Cigar's                       on the bass
                                                   Registration                                                                        dismiss         1r°tioii for summary judgment
                               y . General Cigar's                                                                                     General Cigar's
                                                                                                       its ownership
                                                                        contention is that
                      tlti] General 0931 's Primary


                                                                                                                                                                          Works
                                                                                                                                             Orig . U .S . Govt .
                                                                                                                      No Claim to
                                                                                   Copr. @ blast 2004
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of its equitable defenses are denied . In light of the
December .i, 2000, Order and the above opinion,
Cubatabaco's cause of action is now limited to (1) Count 11
(Article 10-bis of the Paris Convention) ; (2) Count IV
(Articles 20 and 21 of the IAC) ; (3) Count VII (Trademark
Infringement Under Section 43(a) of the Lanham Act); (4)
Count X (state and common law unfair competition) ; (5)
Count XI (cancellation of the 1995 registration); (6) Count
XII (dilution under state and federal law) ; and (7) XIII
(common law misappropriation) .

A pretrial conference will be held in September 2002 on a
date convenient to counsel to schedule any further
proceedings .

It is so ordered .

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END OF DOCUMENT




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         EXHIBIT / ATTACHMENT

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                     (To be scanned in place of tab)
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                                                                  [31 Trade Regulation X620
                United States District Court,                     38-kG30 Most      Cited Case,
                       N .D . Georgia,
                                                                  Under Georgia Uniform Deceptive Trade Practices Act, no
                       Atlanta Division .
                                                                  proof of monetary damages, lost profits, or intent to deceive
             ENERGY FOUR, INC ., Plaintiff,                       is required for party to be entitled to injunctive relief.
                        v.                                        O.C .G .,4 . § 10-I-3731ai.
   DORMER MEDICAL SYSTEMS, INC., Defendant.
                                                                  I;I Trade Regulation X620
             Civ. A . No. 1 :90-CV-1287-JOF .                     3R=kG_0 Most Cited Casts

                                                                  Plaintiffs asserting state law claims under versions of
                        Feb.27,1991 .
                                                                  Uniform Trade Deceptive Practices Act must still establish
A company which distributed replacement electrodes for            prerequisites for preliminary injunction in order to be
lithotripsy machines, which used shock waves to fragment          entitled to relief. QCG.A . §§ 10-1-372(n)(2, 5, 7, S . 12),
kidney stones, brought action against competitor seeking           10-1-373(b) .
injunction to prevent competitor from making false and
misleading statements about its products, and competitor          151 Trade Regulation X422
                                                                  3R2k422 Most Cited Cases
counterclaimed seeking same relief. The District Court,
Focrester, J., held that both company and its competitor
                                                                  Mere failure to disclose is not actionable under Lanham Act
were entitled to preliminary injunction prohibiting each
                                                                  unless representations are affirmatively misleading, partially
other from making false and misleading statements about
                                                                  correct, or untrue as result of failure to disclose material
their products .
                                                                  fact, although plaintiff need not establish intent to deceive.
                                                                  Lanham Trade-Mark Act, § 34(a), as amended, IS U.S .CA.
Ordered accordingly.
                                                                  g 1116(a); O.C_QA . § In-I-3?3(a) .
                       West Headnotes
                                                                  161 Trade Regulation X422
                                                                  382k422 Most Cited Cases
I I I Trade Regulation X423 .1
3K?k4_3 .1 Most Cited Cases
 (Formerly 3B2k423)                                               For Lanham Act purposes, if representations are actually
                                                                  false, court does not have to determine whether
To prevail on a Lanham Act claim that defendant has made          representations are likely to create confusion; false claims
false or misleading representations in commercial                 are presumed to be material for purposes of granting relief.
advertising or promotion, plaintiff must show that                Lanham Trade-Mark Act, § 34(a), as amended, I S li .S .CA.
representations were false or misleading and actually or             I I 16(a); O.C.G ..A . § In-I-373(x) .
likely deceptive, that they had material effect on buying
                                                                  171 Trade Regulation ~.,~573 .1
decisions, that they were made in connection with interstate
                                                                  ;82k573J Most Cited Cases
commerce, and that they were actually or likely injurious to
                                                                  ('Formerly 382k573)
plaintiffs . Lanham Trade-Mark Act, §¢ I et seq., 43(a), as
amended, U U .S .C .A . §t 105 1 et seq., 1125(a).
                                                                  If misleading misrepresentation as to product is literally
                                                                  true, plaintiff alleging Lanham Act violation has burden of
121 Trade Regulation $423 .1
3S2k4_3 .1 Most Cited Cases                                       persuading court that persons to whom advertising or
 (Formerly 382k423)                                               promotion is addressed would receive false impression
                                                                  about product. Lanham Trade-Mark Act, § 34(a), as
Person engages in deceptive trade practice within meaning         amended, IS I .CS.C .A . ~ i I 16(al : O .C .GA. y In-t-373(a) .
of Georgia Uniform Deceptive Trade Practices Act if he
                                                                  /S1 Trade Regulation X571 .1
causes likelihood of confusion or misunderstanding or
                                                                  382071 .1 Most Cued Cases
makes misrepresentations        concerning   approval       or
                                                                   (Formerly 382k571)
certification of product or engages in other conduct
similarly      creating  likelihood    of  confusion        or
                                                                  181 Trade Regulation E:-596
misunderstanding, even absent actual confusion or
                                                                  332k596 Most Cited Cases
misunderstanding . O .C .QA. §§ 10-1-372(a)(2, ? . 7 . R, 12),
 10-1-371(b) .                                                    If allegedly misleading statement is literally true, plaintiff




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must prove actual deception by preponderance of evidence             92k90.± Most Cited Cases
and must show how consumers actually do react, not merely
how they might react, in order to recover money damages ; if         While commercial speech is entitled to some protection,
representations are not literally false, requisite causation and     deceptive or misleading advertising is subject to restraint
likelihood of injury are generally nod presumed but must he          and may be prohibited entirely . US .C .A . Consi.Amend . 1 .
demonstrated .
                                                                     1141 Trade Regulation f~646
/9) Trade Regulation x+619                                           3S=kG4G Must Grad Cases
382k619 Most Cited Cases
                                                                     District court has broad powers in equity to direct parties
District courts have jurisdiction to enter preliminary               who have engaged in unfair competition to take affirmative
injunctions under Lanham Act on showing of substantial               steps to eliminate possible consumer confusion.
likelihood that movant will succeed on merits, that movant           *726 Lowell Steven Fine, Jane Fugate Thorpe, Lawrence
will suffer irreparable harm unless injunction issues, that          Brannen Domenico. Alembik, Fine & Callner, William E.
potential injury outweighs possible harm to opposing party,          Summer, Summer & Hewes, John Allen Howard, David
and that injunction would not be adverse to public interest .        Kiser Whadey, Williston Carpenter White Fortson & White,
Lanham Trade-Mark Act, § 34(a), as amended, 15 U .S .C .A .          Atlanta, Ga ., for plaintiffs .
§ I I 16(a); QCG ..4 . F 10-I-373(x) .
                                                                     Richard C. Mitchell, William M. Ragland, Jr., Powell,
1101 Trade Regulation ~a422                                          Coldstein, Frazer & Murphy, Atlanta, Ga ., George R.
382k4_2 Most Cited Cases                                             liucik, John M. Packman, Randall J. Boe, Arent, Fox,
                                                                     Kintner, Plotkin & Kahn, Washington, U.C ., for defendants .
To succeed on merits of Lanham Act claim, plaintiff must
show that representations by defendant are false or                                            ORDER
misleading by tending to create confusion; it is not enough
to show that representation is facially ambiguous or                 FORRESTER, District Judge.
unsubstantiated . Lanham Trade-Mark Act, § 34(a), as
amended, IS U.S .(' .A . § 1116(a); QCG.A . § ln-I-373(x) .          This matter is before the court after a consolidated hearing
                                                                     on both parties' motions for preliminary injunction .
/11I Trade Regulation X620                                           Plaintiff/counterclaim defendant Energy Four, Inc. and
38?k620 Most Cited Case;                                             defendant/counterclaim plaintiff Domier Medical Systems,
                                                                     Inc., each ask the court to enjoin the other from making
Company that distributed replacement electrode for                   false and misleading statements that allegedly violate the
Gthotripsy machines, which use shock waves to fragment               Lanham Act, 15 U.S .C . § I I 16(a), and the Georgia Uniform
kidney stones, and competitor which sold refurbished                 Deceptive Trade Practices Act, O.C .G .A . F 10-I-373(x) .
electrodes were each entitled to preliminary injunction              Plaintiffs motion for sanctions is also before the court .
prohibiting the other from making false and misleading
statements    about    the    products ;     company      made       L FINDINGS OF FACT
unsubstantiated claims that there had been catastrophic
(allure of refurbished electrodes, and competitor made               Plaintiff Energy Four, Inc. (Energy Four) and Dormer
number of apparently untrue assertions that FDA had                  Medical Systems, Inc. (Dormer) are both Georgia
approved its refurbished electrodes . Lanham Trade-Mark              corporations .    Domiers     parent   company,     Domier
Act, § 34(a), as amended, I S G .S .C .A . § 11 16(a); O.C .G .A .   Medizintechnnik GmbH, manufactures lithotripsy machines
§ 10-1-373(a) .                                                      which are medical devices that use shock waves to fragment
                                                                     kidney stones . The shock waves are produced by electrodes
1121 Trade Regulation X620                                           which must be replaced after a certain number of shocks,
3R2k620 Most Cited Casts                                             generally after each patient treatment. Dormer's parent
                                                                     company also manufactures replacement electrodes for its
Consumer deception, by its very nature, is against public            lithotripsy machines . Domier distributes machines and
interest, for purposes of determining entitlement to                 replacement electrodes manufactured by its parent . Energy
preliminary injunction .                                             Four competes with Dormer by refurbishing used electrodes
                                                                     at a cost less than the price of new replacement electrodes .
1131 Constitutional Law x.90.2                                       Energy Four is the nation's largest supplier of electrode
9200 .2 Most Cited Cases                                             refurbishment services . There are approximately 250
                                                                     lithotripsy machines currently being used in the United
/131 Constitutional Law X903                                         States . All Dormer Gthotopsy machine users are potential




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           customers of Energy
                                    Four .
           *727 The Food and                                                           electrode producing a
                                Drug Administration                                    life . NO other       higher number of shocks
          of lithotripsy                                 regulates the sale                            modificatiuns in the          per service
                          machines and electrodes                                      identified .                         electrode itself are
          hY requiring vendors                       in the United States
                                   to
          Application (F.MA) . The submit a Pre-Market Approval
          the United Sates            rrst electrodes sold                              The PMq does not
                                                            by Dormer in                                              identity the tolerance
                               were approved for                                       hardness coefficient .                                   range for the
         X00-shock life rating                         marketing with a                                              The specification
                                   at a setting of                                     Dormer for tile 2,000                             sheets produced by
         electricity . Later
                             versions of the Dormer IS kilovolts of                    1500 shock electrode
                                                                                                                       shock electrode
                                                                                                                                         (S2000/Ig) and the
         approved for marketing                           electrode were
                                      in the United                                   specifies the hardness (SI500/IR) are identical . Neither
        shock lives of 1100,                           States with rated                                             coefTicient range .
                                 ISOU,                                                approval for marketing
        approved a PMA Supplement and 2,000 shocks . The FDA                                                              at ?,000 shocks
                                                                                                                                         However, the FDA
        electrodes for 1500              allowing Dormer to mar                       demonstrations of extended                             was based
                              shocks when used in                                    electrodes manufactured                    shock lire produced on
        20 kilovolts in 1987.                         the range ofk1et4titso                                            under the new tolerance            by
                                                                                                                                                  ranges .
          The electrode                                                              On August 2(,
                           approved for sale in                                                            1987 Jeffrey S. Mesyuita,
          Dormer as a ISUU                               the United States          Energy Four, wrote the                                now president of
                                  shock electrode was,                        by                                     FDA regarding the development       or,
          period, simultaneously                              at least fur some                   to             Domier electrodes .
                                     marketed     as a 2,000 shock electrode        Mprocessesquita that,,                             The FDA informed
          outside of the United
                                     States . In March of                              As long as your
          changed the tolerance
                                    range for the hardness 1989 Dormer                 electrodes back
                                                                                                                    refurbishing operation
                                                                                                                                                 brings the
         the electrode tips .                                     coefficient of                              to  the original
                               Coefficients equal to or                                approved in the                           specifications that were
         kilopons per square                                  greater than 680
         The new electrodes millimeter were previously acceptable .                   you do not take Pre-Market Approval Application and
                                                                                                            actual title to them,
                                   were manufactured                                  the registration of                           we would not require
         range of 680 to 790                                 with a tolerance                                   your
        court was unable           kilopons per square                                we require your firm refurbishing operation nor would
                               to determine, on                millimeter. The        or seek pre-market            to submit a pre-market
        produced at the
                           hearing,
                                                      the basis of evidence                                     approval for its operation notification
        shock electrodes exceededwhether the tips of any old 1500                    your firm changes
                                                                                                                 the specification,
                                                                                                                                            . If, however,
        the other electrode            the new upper limit.                          either on its owe,                                of the electrodes
                                                                                                             behalf or upon the
                             specifications were unchangedApparently,               of the electrode                               request of the owner
                                                                    .                                      then the above decision
       There was                                                                    reconsidered .                                     would have to be
                    conflicting    evidence    as to when                         '728 In a letter dated
       marketing 1500     shock electrodes that                Dormer began                                    August 21, 1990, the
       the new tolerance                              were produced under           From what we have                                  FDA stated,
                             range. Defendant's                                                                  been able to determine
      contradictory testimony                          own witnesses gave           Energy Four does not                                    at this time,
                                                                                                                  acquire ownership of
      involved. It is undisputed concerning the length of time                     electrodes they refurbish,
                                                                                                                         and therefore is
                                                                                                                                          the litho4ipter
      then rated 1500                that the only change                          our current p                                           exempt from
                            shock electrode,                     made in the
      marketing it for a 2,000                      when Dumiar began
                                   shock  life in February of                       The FDA conducted
     the color of the plastic                                      1990, was                                 an on-site inspection
                                 locking  ring  . All                                                                                 of Energy Four's
     for 2,000 sharks
                          in the United States electrodes marketed                  facilities sometime in the spring of
                                                                                   FDA      has  not                             1990 . As of yet,
     with a blue plastic                               were manufactured                               issued any                                    the
                          locking ring .                                           deficiency, or any                               report, notice of
                                                                                                             finding Inspection
                                                                                                                       that   Energy Four was i~
     Both the old 1500                                                             compliance with the
                          shock electrodes and                                                             Food, Drug and
    electrodes produced                              the new 1500 shock                                                      Cosmetic Act
                             under the stricter                                   As competition between
    controls were                                    hardness coefficient                                       Dormer and electrode
                      manufactured with a white                                   intensified   during 1989 and early                     refurbishers
    ring . Consequently,
                             it may be impossible plastic locking                 intensive campaign                        1990, Dormer began
   between the old and                                      to distinguish                                to discourage its customers               an
                             new 1500 shock                                      the refurbished                                           from using
   inspection . Because                             electrodes by visual                             electrodes . These
                           Energy Four destroys                                  countered by                             efforts were
   during the refurbishing                              the Dormer label                           Energy Four . Users of                aggressively
                                 process,   it is difficult for                  machines     were bombarded by                  Dormer Gthotripter
  user to determine                                                the end                                          information from both
                           when the refurbished                                 conca ;ning conflicting
  originally ~~anufactured .                               electrode was                                                                      patties
                                                                                Dornier electrodes            information regarding both
                                                                                                        and Dormer                               new
                                                                                Energy Pour . Dormer                    electrodes refurbished
 Dormer requested                                                                                          questioned Bin safety                   by
                         approval for the                                       refurbished electrodes,                            and reliability of
 shocks per service life by                       increased number of
                                                                               electrodes had not               emphasizing that
 Pre-Market Application submitting Supplement No . 22 to                                               been tested or                    refurbished
 ~ 989. The, upplement           Number    P&40(J08,                           Energy     Four told customers            "approved" by the
                                                          dated May 3,                                            that Dormer                  FDA .
                            identifies "improved steel                        about differences
techniques which allow                                        production                              between the SI500/18 had misled them
coefficients" of the              better control of the                       electrodes and                                     and the S2000/fig
                         electrode tips as a                     hardness                         promised that it could
                                                                              electrodes for a 2,000                           refurbish S1500/IS
                                                   modification in the                                     shock life. Energy
                                                                                                                                 Four consistently



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represented that it refurbished electrodes to the exact               the positive mechanical lock [emphasis in original] .
specifications used by Dornier and approved by the FDA .           It is true that Dormer initiated an exchange program after
                                                                   receiving reports of ring slippage on smooth-bodied
The parties presented conflicting evidence regarding the           electrodes . It is also true that the FDA subsequently ordered
character of Energy Four's claims of FDA approval .                a recall of all Dormer electrodes in 1987 .
Plaintiff presented evidence that most if not all of the letters
sent to potential customers regarding FDA approval                 The electrodes currently produced by Dormer's parent and
included a copy of the FDA letters stating that Energy Four        distributed by Domier are manufactured with three
was exempt from FDA registration and PMA requirements .            mechanical locks which are designed to prevent ring
Defendant produced evidence that Energy Four represented           slippage . Two of these locks prevent the ring from slipping
that the FDA had found it to be in full and complete               backwards toward the generator of the lithohipsy machine.
compliance with the Food, Drug and Cosmetic Act .                  The brochure refers to the locking mechanism designed to
                                                                   prevent the ring from slipping forward on the electrode . The
In early 1990 Domier distributed a brochure entitled               rear slippage locks are not affected by the refurbishing
"Customer Report : Refurbished Electrodes" that, inner olio,       process. Energy Four does break the mechanical forward
made reference to a "catastrophic failure" of a refurbished        slippage lock to remove the positioning ring for the
electrode: The distribution of this brochure to all of             refurbishing process. After refurbishing, Energy Four uses a
Dormer's customers provided the impetus for this lawsuit.          tap to cut grooves five-thousandths of an inch deep in the
Additionally, in a February 12, 1990 letter to the Hospital        body of the electrode . Energy Four then cuts grooves in the
Corporation of America, Domiers national accounts sales            interior of the positioning ring designed to interlock with the
manager stated that the catastrophic failure had occurred in       grooves in the body of the electrode . The gaps between the
Texas, and had resulted in an "implosion and significant            interlocking grooves are filled with a cyano acrylate glue .
equipment damage ." Defendant has admitted the falsity of          Thus, the refurbished electrode is not completely "similar
this statement.                                                     to the electrode subject to the FDA recall . Those electrodes
                                                                    had a smooth-bodied design . None of the three locking
 Defendant did present evidence that a problem occurred             mechanisms currently used by Domier were incorporated in
 while an Energy Four refurbished electrode was being used          their design . As noted above, two of these mechanisms are
 at a lithotripsy site in Texas. No patient injury or equipment     unaffected by the refurbishing process.
 damage resulted from that incident. Defendant's own
 witnesses gave conflicting testimony as to whether the            The parties' respective expert witnesses gave conflicting
 electrode actually "came apart" and whether the positioning       testimony as to the relative effectiveness of Energy Fouls
 ring came off during use or after the electrode was removed       modifications to prevent ring slippage after refurbishing .
 from a lithotripsy machine.                                       The court found that the opinions given by the experts were
                                                                   not based on scientifically reliable studies . Because of the
 The Domier brochure linked the alleged catastrophic failure       court's severe misgivings about the size and integrity of the
 to the use of glue to bond the position ring of the electrode     samples of electrodes tested by the experts, the court was
 in the refurbishing process. The brochure stated,                 unable to draw factual conclusions from their reports and
   Almost all electrode refurbishers break off the electrode's     testimony .
   plastic positioning ring in order to machine the electrode's
    inner and outer conductor tips . When the plastic              There was absolutely no evidence produced at the hearing
    positioning ring is removed, a positive mechanical lock is     by Domier Medical Systems, Inc. that there has ever been a
    destroyed . The plastic positioning ring can no longer be      catastrophic failure of an Energy Four refurbished electrode,
    mechanically locked into place, but must then be glued         as that term is ordinarily understood, contrary to assertions
    back into place. This modification to Dormer's electrode       made by Domier in the brochure and in communications
    design is a serious safety and performance concern, since      with its customers. The evidence showed only two or three
    the glue bonding process can permit ring slippage and          instances of a failure of the glue bond on Energy Four
    corresponding uncontrolled movement of F1 and F2 .             refurbished electrodes . There was no evidence adduced at
    Recently, one mobile lithotripsy service reported the          the hearing that any patient has been harmed on account of
    catastrophic failure of a refurbished electrode--where the     having been treated with an Energy Four refurbished
    ring slipped completely off the electrode during use.          electrode, nor was there any evidence adduced that any
    Until 1987, the positioning rings of all Domier electrodes     generator or other part of a lithotripsy machine has been
    were similarly glue "729 bonded to the electrode. At that      damaged seriously on account of the use of Energy Four
    time, Dormer teamed of some cases of ring slippage and         refurbished electrodes.
     movement of F2 . Dormer then voluntarily recalled its
     electrodes and developed the current design which uses         At the hearing, Domier argued that the court should take




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                      s158MCGR                                             "catastrophic failure .. ;
                                     the      pIC            710No'  ~1 R
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                                                   ~'~W~HILL
                                          AND TFCH~rtCA                                                                       1) is likely
                      1939,                                                                                                                                        to cause
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                      ELECTRONICS the                                                                                       goods serv
                     define catasho                   Edition               DICTION                                        2) n co                              ;ces, or Ponsorshi P , or approval        cause ni~stake , or to
                    Warning as o         Phic     failure as' ~a    1989).                                                                                                                                                or hrs or
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                   C~ni[ions .           Whereythe°~ Svstem ." pomie~ perfoce                                       To
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                                                                                                                                                               such act.                 that he or in a civil action,
                                                         coons have                  has cited                             Prevail                                                                        she is fikefy
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                 Energy Four prod                                                           of these                                      or                                             claim
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                 William J.                                                                                                                                                                                      defen dant h~~
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                                                 evidence ;n
                                  C~s~'ella , an Energy           the form                                       repre                                         Promotion, representation, in
                        k                                                  nn  oFtestim ony 6                    likelyrt                                         ere false      oplaintiff        must Syoi~mmercial
                that colas     Hunter, II, a consulta nt,                                                                      ;s ; ~~
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                       catastro~ic                               ed°~           ~kholder,       a~~            decisions           ; that
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                                        faiun tySto                                                                                                                            were mare~
                relevant Medical ~o                        general)                          Fo~
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              witnesses not                      8~ or                            result                                                                                                                                 Interstate
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                                   associated with patient i                                                f/~u                           n 9
                                                                                                                                    f PJd .585 C a s r e l ,           yl~'n   ~.et~°°d?v/ actually or
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             evidence                                                                                                                                                    64
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            The court                                    targeted consume Aactedna                                    978)   .                                      drlu~so~r . 577
                           took                                                                          for1also As amend                                              the
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                               co , ~ , °'ontan                   of the fact                                                    Concern                                     nh~nsran ~S~,r ca                    op a
                                                          «elYdefinitions                              Afoduat                                                       deitri                          eseuse
           The court '                declined to                                           the                                                                           her
                                                                                                                                                                                        nti                              s hq an
                           of the                        adopt them                god 6                                                                                                             or defen
          actionable                                                      as                                                                                                                                                  Is
                                                                 s repres Controlling .                                  Fi\'I .
             e alleged incidents                                                                                                     Neither
                                                                             entations ar                                end misleddinParty disputes
             O lve sudden or systemic rbished electrode                        definition,                                                                                              that [he
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                                               failure .                 failure did nit             ~. Gear                       for"`                                                      were Made false
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             number of                                                                                              Kia
             hines have                                                                                                     N       "or",
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     EnetBY Four, Inc ever' that since actunf opera                                                                       Ce   rtification                                           od °f c°ntusiu~
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        APpLICAdLE LA W                                                                       10_ misunders tanding need not ~em~nc~a ti 10-~ - .
                                                                                                   f-37]                              to  prevail                                    ~e aactual ;cnnpus .     ;72la1(,
 A .Lan6am,qcr                                                                                                                      let authors under the Act. p.~ C.. nn
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                 43 (a)                                                                                                                                                                    trade Pea
(1988) Provides . of the Lanham                                                                                  ~onablee° QC.G .,
  Any Person W                                 Act,    I~     S .C.                        m°neta     ~y" dams
                                                                      § 1125 (a)                                        Ses, los~profi[s~~ S 10-1-3                                    tem,s tfie court
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                                                                                                                                Deceptive Trade
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same dispositive questions as the Federal Lanham Act .                                 I . Actually False Claims
,lelliheuns, Inc. v. Skating Chibs of Georgia . Inc . 716 F .2d
                                                                    [h] When representations are actually false, a court does not
813, 839 (11 1h Cir.1933), quoted in Original Appalachian
;Irnrorks. Inc. v . Schlailir :Vance di Ca . Gig ., 679 F .Supp .   have to determine whether the representations are likely to
                                                                    create confusion . Sandoz Pharmaceuticals C o il, .           v.
 15(,d, 1578 (N .D .Ga .1987) (holding that a failure to
                                                                    Hichard,snn-G7cks, Inc . . 90? F .2d 2?2 (3rd Cir.144U) .
establish the predicate falsity under the Lanham Act
 forecloses claims for violation of the Uniform Deceptive           Furthermore, actually false claims are presumed material .
                                                                    YP,kEnterprises . Inc . v. AudiofideGh~ Enterprises, Inc. . 313
Trade Practices Act) . Plaintiffs asserting state law claims
                                                                    F .2d 36G, 27? (2nd Or 1987) . Relief can be granted without
 under versions of the Uniform Trade Deceptive Practices
 Act must still establish the prerequisites for a preliminary       reference to the reaction of consumers . !d. (citing Amet ican
                                                                    . Inc . r. R . .l . KernolrLc Tobago Co . . 413 f .Supp .
                                                                    Brands
 injunction . Original Appalachian Artworks, Gic. r . Topps
 Chewing        Gum,    Inc,   642    F .Supp .    1031,     1033    135=, 135E IS .D .N .Y" .19761) . See also Comet Hair &
 (ti .D .Ga .1986), citing Dallas Covbo) Cheerleaders v .           Cashmere Lu7 . v . Associated Dt7 " Goods Carp ., i49 F .2d G .
 Scorecard Posters . Inc., 600 F .2d 1184 . 1 187 (5th Cir .1979)    15 (1st Cic19R6) ; Johnson & Jolm .con r . GAC /ni'l, Inc. .
 and Scientific Applications. Inc . v . Energy Con.ren~aGai         863 F .2d 975, 977 (2nd Cic 1988) .
 Corp . of America, 436 F .Supp . aid . 357 (N .D .Ga .1977) .
                                                                                         2 . Misleading Claims
 Thus, the court's analysis under the Lanham Act will
 dispose of the state law issues .
                                                                    [7][R] The statute embraces false impressions, innuendo,
                                                                    and ambiguous suggestions . *7371ohnson &- Johnson v .
C . Analysis of a Lanham Act Claim
                                                                    GAC In['I, /sic. . 362 F .2d al 975 : I'idnl Sa .csnnn, Grc. v .
                                                                    Bristol- ;Steers Co_ (61 F .2d 272 (2nd Cir .19811 . When such
A court must first determine whether a representation is
either false or misleading . United Smies Nenltiicnre. 898          a representation is literally true, a plaintiff has the burden of
                                                                    persuading the court that the persons to whom the
F .2d at 922 ; SG(lel Ca c . {4'eshrnnd Lighting Group, 658
P .Supp . 1103, 1110 (D .KJ .19R7) . The court begins by            advertising or promotion is addressed would receive a false
examining the message defendant's representations convey .          impression about a product . United States Healihccue, 898
                                                                    F .2d at 922 : Two Co . v. Te .rpona Inc. . 499 1= .Supp . 241, 253
United States Henlthcare, 898 F .2d at 922 (citing plough .
Inc. v. .Johnson & Johnson Bahv Prods. Co., 132 F .Supp .           n . 23 (D .De1 .19R0) (quoting I R . Callman, Unfair
                                                                    Competition, Trademarks and Monopolies . § 192(b)(2) 3rd
714 . 717 (D .De1 .19N-) . A court must initially consider a
statement's literal meaning and then determine whether it           Ed . (1979 Suppl .) . He must do more than show that the
conveys to the target audience any implied message beyond           defendant has failed to offer persuasive evidence in support
                                                                    of [he truth of defendant's representations . Procter &
that meaning . Avi .c Rent A Car S.1stem v. Hertz Corp . . 782
 F .2d 38 I, 385-86 (2nd Cir .l986) ; American Home Products         Gamble Ca . r . Chesebrnu,qli-Pond's. !ne_ 747 F .2d I 13, 1 19
                                                                    (7th Cir.l4 ;i3) . A plaintiff is relieved of the burden of
 v . Julinsun & Johnson, 577 F .2d at 165 . The message may
                                                                     producing evidence of a tendency to mislead only when
 be clear on its face, but context is usually important. Unfired
                                                                     plaintiff can prove the challenged statements are actually
 Scales Healthcm'a, 898 F .2d at 922 . [FN2]
                                                                     false. Id. [FT3]
          Fn= . Context is particularly important where the
                                                                              FN3 . When a statement is literally true but
          targeted consumers are a well-informed and
          sophisticated audience because such an audience is                  allegedly misleading, to recover money damages,
                                                                              plaintiff must prove actual deception by a
          less likely to be misled . Sandoz Pharmaceuticals
          Corp, v . Richnrdcoo- f%k/s . Inc ., 902 F .2d 222, 229             preponderance of the evidence, showing how
          (3rd Cir .1990) (citing Plough . Inc. v . Johnson &                 consumers actually do react, not merely how they
                                                                              might react . SanJoz Phurmaceuuculs. 902 F .2d al
          Johnson Bahv Prods . Cu ., 532 F .Supp . at 717 .
                                                                              229- . .9 . Public reaction is the starling point of
 [5] A mere failure to disclose is not actionable under the                    inquiry--the court's own reaction "is at best not
 Lanham Act unless representations made are "affirmatively                    determinative and at worst irrelevant ." ,lmrricun
 misleading, partially incorrect, or amine as a result of [a]                 Home Prods . Corp . r. ,lnhiunrt cl Johnson . ?77
 failure to disclose a material fact ." United States                          F .2d at I6~ .
 Hea(rhcure, 998 F .2d at 9 .1 (quoting 2 1 . McCarthy,                        When representations are not literally false, the
 Trademarks and Unfair Competition § 27 :7(B) (2nd                             requisite causation and likelihood of injury
 Ed .1989)) . A plaintiff need not establish an intent to                      generally are not presumed but must be
                                                                               demonstrated     Corn-Cots Co .        c.    Tropic ana
 deceive . United States Heal(hcure, 393 F .2d at 922 ;
 Parlnv,rv Baking Co . v. Frei{infer Baking Co ., 255 F .2d G41 .              . /n< . . 690 F .-Id 312, 316 (2d Cir .19R2) ;
                                                                               Products
                                                                              Jnlrnuurr & .Inlutcrni r . Carter-fG"a(lucc ". Inc ., 631
 648 (3rd Cir .1958) .




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                    F~-d 186. I8y'y0 12d ( ir .19R0) .
                   causation is established                      MateriaGry or
                                                        by showing that                        Interest .
                   allegedly false or
                                              misleading representation the                Fiiu lrr . .S .A . c .
                   likely to influence
                                          purchasing decisions . Toin              is     Cir.1990) : Crutntit,~"SmilFuir . /rrc. . 91F F .=d i~3 . 159 flith
                   dv9 r .SnPp . at -i 1 .                                                                           /tuin r. .dJnr~c.
                                             Giii~ed S7ures Flealtficara, Ce, .,          Cir. 19F7), See also                          SOS F.2d R1 . RIU
                   ~~=d at 9:=~ This does not mean                            F96         F'roduct ,i> rkr "iing
                                                                                                                     S~~tnnd  £artl, f :"« "rprise.c, lnc . v . (1101
                                                              that a Plaintiffs                                       Co. . 71' I~                             ql(~~1ur
                   "mere subjective                                                                                                   .SuPP302 ~f .D .Pn .19R91
                                         belief that he is                                (bade dress case under
                  injured" will support                           likely to (e                                           Lanham Act) .
                                                 a Lanham Act
                  action . JoGuson c&                                 cause of           A . The Merits
                          631 F.2d at 190 .                              a/~rr~°a,
                                                   A plaintiff must
                 evidence to provide                                    present          [I0) To succeed on
                                                  a reasonable                                                      the merits it is not
                 believing that                                     basis for           the                                                  enough to show that
                                   injury is likely. /d. ; Y)Jal                                  representation           is
                Inc . ~ . Bristol-Alcvere Co.,                        Sassonn .                                                  facially       ambiguous
                                                     661 f'2d at 278 .                 umubstantiated--a                                                           or
                studies showing that                                                                                 plaintiff     must
                                                                       Market          representations are (1)                                show      that
                                            a defendant's                                                               false                                     the
                do in fact mislead                            representations          create confusion .                      or  (2) mislead by tending
                                          targeted consumers                                                     Sandnz Pf~,rn,a~euricalc                          to
                supply a causative                                   can also         at     2?y  ;    "                                        Cwp ., 902 f.2d
                                       link   to   a plaintiffs                                          733PPX linrrrE)rises,
               sales . Coca-Cola Co.,                           Potential lost        Elverprises. Inc . .                              !n< . v . ,4trdiofidrlitp
                                              ti9U P .?d at 31C>_17,                                             Rlfi F .2,1 at 271- 72 :
               parties are competitors,                                 If the        ~c+-   i'.                                             Procter cf Gamble
                                                once a Plaintiff has                             OreseGrough-PonJi, /n~~., 7q7 F,_~
               that a representation                                   shown          c . I~~.riruii . Inc . .                                 at 119 ; Toro (:n,
                                          is false or has a                                                    49) P .Supp . at 251 .
               mislead, the likelihood of                        tendency to
                                                  irreparable injury can be
              presumed . 1~1nb`eilnh,
                                                    . v . American Nome                                         Statements Allegedly False
              Products, Inc 848 P 21 Inc      7-4, 34 (2nd Cir
               Survey research is not                      .19R8),                         Energy Four is likely
              to support a state or    required, as a matter of                      Uomierk                         m prevail on its
                                                                   law,
                                    federal agency's finding                         an Energy Statements concerning a "catastrophic claim that
              advertisement is misleading                       that an                             Four refurbished                      failure" of
                                               . FTC v. B                                                                  electroJe were
              liilLOm.ron 7bhaccn                                                    representations constituting                               false
                                        Corp., 77R F2d 35, qp                                                     a  violation of the
              (D .C .Cir .l98j), When                                                These representations                             Lanham Act.
                                       the                                                                     were
             deception is self-evident,possibility of consumer                      including a letter from           made    in several contexts,
             produce consumer surveys the state need not                            at Hospital corporationMichael W'hitlenberg to Ben <
                                            to establish a tendency                                             of America, dated             ;heney
             to mislead . Zauderer                                                  1990, 5~~~°8 fat a catastrophic                    February 12,
                                        o, nj]ice of                                                                      failure
             Cbunscl, 471 U.S . 636,                     Diccil,liuo,)             electrode occurred                             of a refurbished
                                       6,52, 105 S .Ct. 2265,                                            in Texas and resulted
            85 I..FJ.2d 652                                     22y2,              and significant                                 in an implosion
                                      (19R9) (citing FTC                                              equipment damage .
            Cnlgane-PaGnalire Co .. 386 U                            ,.            statements in                               They also include
                                                .S . 374, 391-q? . Rj                                Dormer's "Customer
            S.Ct. 1035, 104647,                                                   concerning a report of a                      Report" brochure
                                        13 L .l :d .°d 904                        electrode .                catastrophic failure of a
            However, a private                                X1964) .                                                                  refurbished
                                  plaintit}'under the Lanham
                 nor entitled to                                  Act
                                  the
           determination by the state deference give  a                          The court finds that
                                                                                                        Domier is Substantially
                                        or
           administrative agency. .Srurdo= the FTC as an                          °" ins claim that
                                                                                                     Energy Four's                likely to prevail
           902 F .2d at . .R .             PlturnaucrvrlicaLs .                   FDA approval of                    representations concerning
                                                                                                         refurbished electrodes
                                                                                 violation of the Lanham                            constituted
 III. PRELIMINARY                                                                represents(,,,, are             Act. The
                          INJUNCTION STANDARD                                                         substantially likely to following specific
                                                                                    1) That Energy pour                       be proven false:
       Under the Lanham                                                                                    refurbishes used Dormer
                                Act, the district                                  according to the                                    electrodes
jurisdiction to enter a                              courts                                             requirements of the
                           preliminary injunction . L/-y have                     Administration .                             Food and Drug
Inc ~'. Jurlrnn, /nr ., 6$1 F .2d                          u/ Iur7,                2) That
                                      I19y~ 1162 (9th Cir                                           Four underwent an
'I'd-'  Sacvonu   v.  &rislo/-.L/~crs Co. . 661            .19S2) ;                was found     be fully in               FDA ;nSPection
Cir .1931) . A movant                             F2d 272 12nd                    and Cosmetic Act            compliance with the Food, and
                         is entitled to a                                                            .                                      Drug
only when that party                       preliminary injunction                 3) That Energy
                        clearly shows,                                                                  Four's refurbished
   1) A substantial likelihood                                                    approval .                                    electrodes have FDA
                                    that it will succeed
  merits ;                                                 on the                 al Thai with 100°ro
  Zj That it will                                                                                       surety, the Dornier
                        suffer irreparable harm                                   electrode, are the same                      1500 and 2,ppp
  injunction issues ;                                 unless the                 the color of the          except for labeling,
                                                                                                  positioning ring .            packaging and
 3) That the Potential                                                           h) That
                           injury outweighs                                              Domier has supplied
 the opposing party;                           possible harm ~o                                               Energy Four with
                        and                                                      ever-changing working                            pomieis
 4) That the                                                                    5) That Energy         specifications .
              injunction would nut be                                                            Four possesses written
                                           adverse to the public                the Domier 1500
                                                                                                  and 2,000 electrodes verification that
                                                                                «~~ a Dormer service                     are identical and
                                                                                                        executive and
                                                                                                                        senior marketing


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  executive have confirmed to Energy Four and some                    those identified above as likely to he proven false, had a
                                                                      "tendency to mislead ." The court expresses no opinion as to
  current customers that these electrodes are the same .
  6) That it is prudent for Gtholripter operators to use their        how the trier of fact will dispose of these additional claims .
  current stores of Domier 1500 shock rated electrodes to
                                                                      B . Irreparahle Harm
  the new 2,000 shock specifications and to refurbish these
  electrodes with Energy Four for use at the newly
                                                                      Proof of falsity is sufficient to sustain a finding of
  approved specification of 2,000 shocks .
                                                                      irreparable injury for purposes of a preliminary injunction .
                                                                      Tnnihrunds, Inc . r . f!'arner-Lnmhen Ca . 673 F .Supp . 1 190
Energy Four's claims regarding the lack of physical
                                                                      (S .D .\ .Y" .19R?) . Once a plaintiff has shown that the
differences between Domieis 1500 and 2000 shock
                                                                      defendant's representations are false or tend to mislead the
electrode may not have been fully substantiated by Energy
                                                                      public so as to affect their purchasing decision, the
Four, but Dormer failed to show that these claims were
                                                                      likelihood of injury can be demonstrated by showing that
actually false. Likewise, the court could not say that Energy
                                                                      the parties are competitors . Johnson cF Johnson v . Cutter-
Fours claims that it gave precise attention to Dormer's PMA
specifications were substantially likely to be proven false.           Wallace . /nc _ 631 F .2d at 190 . When an advertisement
                                                                      makes a misleading comparison to a specifically identified
The PMA specifications and Domieis published
                                                                      competing product, the value of the competing product is
specifications, which Energy Four did possess, did not
                                                                      necessarily diminished in the mind of the consumer and
identify the coefficient of hardness tolerance range that
                                                                      irreparable injury may be presumed . ;ifc:Veilob, Inc . v .
Domier maintains distinguishes its 2000 shock electrode
                                                                      American /lame Products Corp. . 848 F .2d 34, 33 (2nd
from earlier versions . Domier's claims regarding the safety
                                                                      Cir .19Y8) (defendant falsely implied that Advil was as safe
risk of glue-bonded refurbished electrodes were also
                                                                      as Tylenol in all respects) . Misleading comparative claims
 unsubstantiated, but Energy Four did not carry its burden of
                                                                       deprive a plaintiff of a legitimate competitive advantage and
 showing these claims substantially likely to be proven false .
                                                                       reduce a consumers incentive to purchase the plaintiffs
                2. Claims Allegedly Misleading                         product . Id. Given the intense and direct competition
                                                                       between the parties, it is clear that the court may presume
 Statements not actually false may still be actionable as              that any false or misleading statements made by either party
 misleading . When the representations are allegedly                   will injure the other .
 misleading, rather than false, "the statute demands only
                                                                      Beyond these inferences of irreparable harm, plaintiff
 proof that the plaintiff provide a reasonable basis for the
                                                                      produced evidence that since publication of the brochure,
 belief that the plaintiff is likely to be damaged as a result of
 the     false   advertising ."    Johnson    cf  Jnlunsnn     v.     Energy Four sales have declined by over fifty percent .
 Car(er-fV'nlluce Lic ., 631 F .2d at 190 . Unfortunately, the        Energy Four claims that this decrease in sales has forced the
                                                                      company to lay off over one-half of its production staff, that
 case law does not establish a minimum standard of proof for
                                                                      the cost of this lawsuit has exhausted all of Energy Four's
 a tendency to mislead . Circumstantial evidence may be
 sufficient for injunctive relief. PPX F.nlerprises . /nr . c.        capital, and that Energy Four is in "imminent danger" of
 Audiofidelitv F.werprisrc, Inc ., FIS F 2d al 271 . A showing        being forced out of business . Dormer produced no evidence
                                                                      That a preliminary injunction would possibly harm Dornier
 that a small but "not insubstantial number of consumers
 were clearly misled" may also be sufficient . Coca-Cula Cu .         more than any potential injury to Energy Four.
                . [tic . 690 F .2d at 317 .
  v . Tropicana Products
                                                                       Because both parties sought only equitable relief at the
 `734 While it was unnecessary to examine consumer                     hearing, neither party needed to demonstrate that potential
 reaction to representations the coon found to be actually             customers were actually deceived by the challenged
 false, PP.k Enterpvi,rs. 818 F2d at 272, such an inquiry              representations . Given the limited number of potential
 was necessary to determine whether the parties were likely            customers, evidence that a small number of customers were
 to prevail on their claim that the remaining representations          actually deceived is more probative than it might be in other
 were misleading . Evidence of consumer reaction usually               cases .
 consists of surveys and market research, but other reliable
                                                                       Dormer has challenged Energy Four's characterization of
 evidence may be given substantial weight . American Hone
                                                                       Energy Four's decline in sales . The challenge is immaterial .
 Prods . Corp . r . Jnhnron & Johnson . 577 F .2d at IG' . See,
                                                                       A plaintiff who can prove actual lost sales is entitled to an
 e.g., American Brands, Lie. r . R .J . Reynolds Tobacco CU . .
                                                                       injunction even though the decline in his sales is mostly
 413 F .Supp . at 13?7 (expert testimony, if not frivolous, may
                                                                       attributable to factors other than his competitor's allegedly
 be considered) . Neither party produced such evidence
                                                                       false or misleading representations . ( eicn-Cola, 090 F .2d at
 sufficient for the court to conclude that it was substantially
                                                                       ;16 . Because detailed proof of individual lost sales goes to
  likely to establish at trial that the representations, other than
                                                                       the issue of damages, it is not a prerequisite for equitable




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                               Fact,                                    own sales .                       releases), re                            h Parties
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                     issuing a prelimi ~ l~i~af1S'. it is clear
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           Four, Inc .                        a                                                              Plain4~'                              IIIe matter '3g          e hear;n9
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GRANTED . The parties are INSTRUCTED to share the                  misgivings about the size and integrity of the samples of
cost of distributing the corrective nonce contained in this        electrodes tested, the court was unable to draw factual
order to all users of Gthotripsy machines capable of using         conclusions from their studies .
Dormer electrodes . Plaintiff's motion for sanctions is
REFERRED to Magistrate Judge Strother .                            There was absolutely no evidence adduced at the hearing
                                                                   that any patient has been harmed on account of having been
SO ORDERED.                                                        treated with an Energy Four refurbished electrode, nor was
                                                                   any evidence adduced that any generator or other part of a
                       APPENDIX A                                  lithotripsy machine has been seriously damaged on account
 Notice to Operators of Lilhotripsy Machines in the United         of the use of Energy Four refurbished electrodes .
                    States sent pursuant
   to an Order of the United States District Court for the                                      *737 [I .
                    Northern District of
  Georgia by Dormer Medical Systems, Inc ., and Energy             At the hearing, both sides produced testimony of experts
                         Four, Inc.                                supposing or rebutting the functional interchangeability of
                                                                   new Dormer electrodes with Energy Four electrodes as well
Energy Four, Inc. filed suit against Dormer Medical                as the differences and similarities between the old Dormer
Systems, Inc. in the United States District Court for the          100 shock electrodes and the new Dormer 2,000 shock
Northern District of Georgia, contending that Dormer               electrodes . Here too, because of the court's severe
Medical Systems, Inc . had circulated materially false and/or      misgivings about the size and integrity of the sample of
misleading information         concerning      Energy     Four's   electrodes that were rested, (he court was unable to resolve
refurbished electrodes . Dormer Medical Systems, Inc.              these disputes at we hearing.
counterclaimed, contending that Energy Four, Inc. had
circulated materially false and/or misleading statements                                          11I .
concerning ids own products and concerning certain facts
regarding Dormer Medical Systems, Inc.'s electrodes . M            The court found that Energy Four, Inc . had made a number
evidentiary hearing was held before the cons on cross              of assertions that the Food and Drug Administration (FDA)
motions for preliminary injunctions during September of            had "approved" its refurbished electrodes . This appeared to
1990 . After considering the motions, the court ordered she        be materially untrue .
parties to send this notification to all operators of fithotdpsy
machines in this country which can utilize Dormer Medical          In fact, an FDA employee told Energy Four that its
Systems, Inc.'s electrodes .                                       refurbishing services do not require FDA approval, provided
                                                                   that Energy Four does not take tide to the electrodes it
                                                                   refurbishes and, further, provided that it returns the
                                                                   electrodes to the original Dormer specifications approved by
There was absolutely no evidence adduced at the hearing by         the FDA . The FDA has not actually determined that Energy
Dormer Medical Systems, Inc. that there has ever been a            Four returns electrodes to the approved specifications .
catastrophic failure of an Energy Four refurbished electrode,      Accordingly, the FDA has expressed no view on the
as that term is ordinarily understood, contrary to assertions      efficacy, quality or safety of Energy Four electrodes, either
made by Dormer Medical Systems in a brochure circulated            positively or negatively . The FDA has conducted an
during the spring of 1990 .                                        on-premises investigation of Energy Four's operations but as
                                                                   of this dale has issued no report concerning the inspection .
It was said in the brochure circulated by Dormer Medical
Systems that there had been a catastrophic failure due to                                         IV .
problems with the positioning ring on a refurbished
electrode. On that subject the evidence showed only two or         Energy Four, Inc . represented to the market that Dormer
three instances of a failure of the glue bond on Energy Four       ISOU shock electrodes could be refurbished and used in
refurbished electrodes but no patient injury or damage to          conformance with FDA approval for 2,000 shocks at ISAv .
equipment occurred on account of these failures .                  In fact, these electrodes were being used outside the United
                                                                   States for that number of shocks . Old Dormer 1500
The parties' respective expert witnesses gave conflicting          electrodes, however, were never approved by the FDA for
testimony as to the relative effectiveness of Energy Four's        2,000 shocks, contrary to the representations of Energy
modifications to prevent ring slippage after refurbishing .        Four, Inc. Dormer electrodes with blue positioning rings
The court found that the opinions given by the experts were        meet the FDA specifications for 2,000 shocks and may
not based on scientifically reliable studies. The court found      lawfully be refurbished fur that number of shocks if the
the experts to be well qualified, but, because of ids severe       refurbished electrode meets the approved specifications .




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While some while ring 1500 shock electrodes were
manufactured to the same specifications, they were
approved for sale only at a 1500 shock life . Whether or not
these is a real difference between the 1500 and 2,000 shock
electrodes, there is a legal difference . An Energy Four
refurbished electrode is exempt from the FDA's application
and approval requirements only when it is refurbished to the
specifications and shock life approved for that electrode .

                              V.

A number of consumers of electrodes for Gthotripsy
machines have never used Energy Four refurbished
electrodes or electrodes refurbished by any other company,
either out of natural caution, or on account of limned
on-premises testing, or on account of possible technical
difficulties in the actual operation. The court noted,
however, that since its beginning, Energy Four, Inc., has
refurbished between 15,000 and 20,000 electrodes, the vast
majority of which seem to have been used by consumers
without even anecdotal evidence of clinical catastrophic
failure.

                              VI .

THE COURT EXPRESSES NO OPINION ON THE
RELATIVE MERITS OF NEW AND REFURBISHED
ELECTRODES OR ON WHETHER OR NOT IT WOULD
BE WITHIN THE STANDARD OF CARE PREVAILING
IN YOUR COMMUNITIES TO USE REFURBISHED
ELECTRODES . IT ONLY DIRECTED THAT THIS
NOTICE    BE   SENT  SO    THAT    CERTAIN
REPRESENTATIONS MIGHT BE CORRECTED AND
SO THAT THE CONSUMING PUBLIC MIGHT HAVE
SOME RELIABLE INDICATION CONCERNING THE
EVIDENCE ADDUCED AT THE HEARING ON THE
MOTIONS FOR PRELIMINARY INJUNCTION .

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END OF DOCUMENT




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       EXHIBIT / ATTACHMENT

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                   (To be scanned in place of tab)
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(Cite as : 109 Fad 1070)



                                                                  Because naked licensing is generally ultimately relevant
                                                                  only to establish unintentional trademark abandonment
Briefs and Other Related Documents                                which results in loss of trademark rights against the world,
                                                                  burden of proof faced by third parries attempting to show
                 United States Court of Appeals,                  abandonment through naked licensing is stringent .
                          Fifth Circuit .
                                                                  ICI Trade Regulation X108 .1
       EXXON CORPORATION, Plaintiff-Appellee,                     36=k I OF . I Most Cited Cries
                      v.
  OXXFORD CLOTHES, [NC . and Oxxford Clothes XJC,                 "License" to use a mark is transfer of limited rights, less
           Inc., Defendants-Appellants .                          than whole interest which might have been transferred .

                   Nos. 96-20398, 96-20520 .                      ICI Trade Regulation X109
                                                                  36-k109 Most     Cited Cases
                        April 10, 1997 .
             Rehearing and Suggestion for Rehearing               Essential inquiry in trademark case in determining whether
                 En Banc Denied May 14, 1997 .                    agreement is license is whether, under cover of agreement
                                                                  claimed to be license, licensee has engaged in acts which
Oil company brought action against clothing manufacturer,         would infringe licensor's mark but for permission granted in
alleging that clothing manufacturer's trademark diluted oil       license .
company's trademark in violation of Texas law . Clothing
manufacturer raised affirmative defense of naked licensing        161 Trade Regulation C~~109
and filed stale law dilution counterclaim . The United Sates      3'Q'kIO9 Most Cited Cases
District Court for the Southern District of Texas, John D .
Rainey, 1 ., entered judgment dismissing affirmative defense      Courts will not find existence of trademark license when
and stare law dilution counterclaim, and clothing                 authorization of trademark use is structured in such way as
manufacturer appealed . The Court of Appeals, Garwood,            to avoid misleading or confusing consumer as to origin
Circuit Judge, held that : (I) oil company's "phase out"          and/or nature of respective parties' goods.
agreements with users of similar marks was not naked
licensing that resulted in abandonment of its marks ; (2)         171 Trade Regulation X704
dilution counterclaim was bared by lathes ; and (3) even if       iR2k704 h1os1 Cited Cats
counterclaim was not barred by lathes, manufacturer's
allegation regarding tamishment caused by oil company's           Determining whether particular agreement risks possibility
alleged reputation for greed and environmental destruction        of allowing infringing use of mark, i .e ., use that creates
did not slate dilution claim under Texas law .                    likelihood of consumer confusion, is ordinarily factual
                                                                  inquiry .
Affirmed .
                                                                  181 Estoppel $.: ..68(2)
                        West Headnotes                            I Sfikfi3(2) Most Curd Casts

I I I Trade Regulation &+108.1                                    Doctrine of judicial estoppel was inapplicable in trademark
382k 108.1 Most Cited Cases                                       case with regard to allegations made by trademark holder in
                                                                  course of prior trademark litigation, absent showing that any
"Naked license" is trademark licensor's grant of permission       of those allegation, were accepted as true by courts in prior
to use its mark without attendant provisions to protect           litigation .
quality of goods or services provided under licensed mark .
                                                                  191 Trade Regulation X73
121 Trade Regulation &=73                                         38203 Most Cited Cases
382k'3 \lost Cited Cases
                                                                  If trademark has not ceased to function as indicator of
Trademark owner's failure to exercise appropriate control         origin, there is no reason to believe that public will be
and supervision over its licensees may result in                  misled ;  under such     circumstances,     neither express
abandonment of trademark protection for licensed mark .           declaration of Congress' intent in Lanham Act provision
Ijl Trade Regulation X75                                          defining abandonment nor corollary policy considerations
35=k"1 %7ost Cited Cases                                          which underlie doctrine of naked licensing warrant finding
                                                                  that trademark owner has forfeited his or her rights in mark .




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(Cite as : 109 FJd 1070)



Lanham Trade-Mark Act, § 45(2), as amended. Is U.S .C A         l8=kJGG Most Cited Case,
  I I~'(2) .
                                                                Owner of distinctive mark may obtain relief under Texas
1101 Trade Regulation X73                                       antidilution statute if there is likelihood of dilution due to
38203 Mom Cited Case ;                                          blurring, diminution in uniqueness and individuality of
                                                                mark, or tamishment, injury resulting from another's use of
Abandonment due to naked licensing is involuntary               mark in manner that tarnishes or appropriates goodwill and
because, unlike abandonment through nonuse, intent to           reputation associated with plaintiffs mark . V .LC .A ., Bus .
abandon mark is expressly not required to prove                 &. C . g 16 . .9 .
abandonment under Lanham Act provision defining
abandonment through course of conduct. Lanham                   X16/ Trade Regulation 0;085 .I
Trade-Mark Act, y 45(2), as amended, I S U .S .C ..A . $        3R2k3R5.1 Most Cite) Cases
1127(2) .
                                                                Clothing manufactures trademark dilution claim against oil
1111 Trade Regulation E.:
                        .+70                                    company, based on tarnishment caused by oil company's
38200 Most Cited Cases                                          alleged    reputation    for    greed and environmental
                                                                destructiveness,    was     barred   by   lathes;   clothing
Trademark owner's failure to pursue potential infringers        manufacturer knew of oil company's alleged reputation for
does not in and of itself establish that mark has lost its      over 20 years before bringing suit, despite availability of
significance as indicator of origin . Lanham Trade-Mark Act,    state antidilution statute, and oil company, relying on
§ 45, as amended, 15 U .S .C .A . $ 1 121 .                     federal registration of its mark and its shit[ policing of
                                                                similar marks, accrued tremendous investment cost and
1121 Trade Regulation C=a73                                     resultant goodwill in challenged marks during that time .
3R2k73 Most Cited Cases
                                                                ill/ Equity X67
1121 Trade Regulation X377                                       I 50k67 Most Cited C uses
3R2k377 Must Cited Cases
                                                                Under Texas law, two elements of lathes are: unreasonable
Trademark owner's failure to pursue potential infongers is      delay by one having legal or equitable tights in asserting
largely relevant only in regard to strength of mark ; absent    them ; and good faith change of position by another to his or
ultimate showing of loss of trade significance, naked           her detriment because of delay.
licensing is not available as defense against infringement
suit brought by that trademark owner. Lanham Trade-Mark         1181 Equity X71(2)
Act, § 41, as amended, 17 U .ti .C .,4 .§ 11271_2) .             150010) \lost Glad Cases

1171 Trade Regulation BL+75                                     Because lathes is equitable doctrine, courts typically look at
3S=k7i \10,t Cited Cases                                        interim between time plaintiff obtained actual constructive
                                                                knowledge from asserted invasion of its rights and time suit
Presumption of loss of trademark significance did not arise     was filed in determining whether plaintiff's delay in
because trademark holder, in course of diligently protecting    bringing suit was reasonable .
its mark, entered into "phase out" agreements with users of
similar marks, designed to preserve distinctiveness and         1191 Trade Regulation F~563
strength of holder's nark . Lanham Trade-Mark Act, § 45, as     3Y2k563 Most Cited Cases
amended, 15 U .S .( A . k 1127(2) .
                                                                Clothing manufacturers allegation that oil company's
1141 Trade Regulation R~75                                      reputation for greed and environmental destruction, coupled
3R2k'% i Most Cited Cases                                       with similarities between oil company's mark and
                                                                manufacturer's mark, tarnished manufacturer's mark, was
Even if trademark holder's "phase out" agreements with          insufficient to state trademark dilution claim under Texas
users of similar marks amounted to naked licensing, holder's    law, absent allegation that some manner of deficiency or
mark was not abandoned, absent evidence that registered         unsavoriness inured to products or services sold under oil
marks lost their distinctiveness as indicators of origin as     company's registered marks or that oil company had
result of such agreements . Lanham Trade-Mark Ac[, § 45,        infringed or attempted to benefit from clothing
as amended, 1 5 U .S .C . V 1127(2) .                           manufacturer's marks . V .T .C .A ., Bus . $ C. § 1619 .
                                                                " 1072 Appeals from the United States District Court for the
1151 Trade Regulation X366                                      Southern District of Texas.




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William Charles Slusser, Richard S . Siluk, Claudia Wilson                  longest period being one year, which is provided
Frost, Joan Alicon Jub,in, Baker & Bo[is, Houston, TX, fur                  for in four of these agreements; one has a
Exxon Corp .                                                                ten-month period ; two have six months ; the
                                                                            remainder are three months or less . Five of these
Alex A . Alston . Ii ., 1 erryl Kimbrcll Rushing, Alston,                   agreements settle litigation then actually pending .
Rulherford & Van Slyke, Jackson, MS, Thomas Clower
Harvey, Jr., Nashville, TN, Stc%z 4ti . Rosenblatt, Rosenblan      In 1993, Oxxford began using a trademark featuring an
& Reclaim, Houston, TX, for Oxxford Clothes, Inc . and             interlocking "XX" design virtually identical to that long
Clothes XX, Inc .                                                  previously registered by Exxon. Exxon filed suit against
                                                                   Oxxfurd [FN3] in October of 1994, complaining that
Before KING, GARN'OOD and PARKER, Circuit Judges .                 Oxxford's use of the interlocking "XX" design infringed its
                                                                   federally-registered trademark, diluted Exxon's mark, and
                                                                   otherwise constituted an unfair business practice . Exxon
GARWOOD, Circuit Judge:                                            amended its complaint twice, ultimately dropping all but its
                                                                   Texas law dilution claim. [FN3]
Defendants-appellants Oxxford Clothes, Inc ., and Oxxford
Clothes XX, Inc . (Oxxford), appeal the district court's
                                                                            FT? . Exxon initially filed suit against Oxxford
judgment dismissing Oxxford's affirmative defense of naked
                                                                            Clothes, Inc . In December of 1994, two months
licensing and Oxxford's state law dilution counterclaim in                  after this suit was filed, the assets of Oxxford
this trademark dispute with plaintiff-appellee Exxon
                                                                            Clothes, Inc., were purchased through a foreclosure
Corporation (Exxon) . We affirm .                                           sale by another corporation, John F. MeDonough,
                                                                            Inc., a wholly-owned subsidiary of Tom James
               Facts and Proceedings Below
                                                                            Company. John F. McDonough, Inc., subsequently
                                                                            changed its name to O~cxford Clothes XX, Inc.
Both the "Exxon" mark and the complementary stylized
interlocking "X}(" symbol have been used by Exxon since                     Oxxford Clothes XX, Inc., was added to this
                                                                            lawsuit in its capacity as successor-in-interest to
the early 1970's, both marks receiving federal registration in
1972 . In 1949, Oxxford federally registered as a trademark                 Oxxford Clothes, Inc., pursuant to Fed. R. Civ . Pro.
                                                                            25(c) .
the name "Oxxford ;" written in the romanized alphabet but
not including any stylized or interlocking "XX" design .
                                                                            P\3 . Jurisdiction over Exxon's final complaint was
                                                                            founded on diversity.
" 1073 For more than two decades Exxon has aggressively
protected its mark from infringement and/or dilution by
                                                                   In response to Exxon's second amendment of its complaint,
seeking out and negotiating with other companies using
                                                                   Oxxford filed an amended answer raising a bevy of
marks similar to its own . In lieu of conclusive litigation,
                                                                   affirmative defenses, prime among these being an assertion
many of these companies opted to enter "phase out"
                                                                   that Exxon's phase out agreements with other allegedly
agreements with Exxon in which the other company agreed
                                                                   infringing and diluting companies constituted "naked
that after existing stores of stationary, advertising materials,
                                                                   licenses ." The gist of Oxxford's argument was that these
and products bearing the offending mark were exhausted,
                                                                   agreements, insofar as they authorized third parties to
use of that mark would be discontinued . These phase out
                                                                   continue to use infringing or diluting marks with Exxon's
periods afforded the potentially infringing or diluting
                                                                   knowledge and approval, were "licenses" ; and, because
companies time to develop and implement a new mark . The
                                                                   these "licenses" contained no quality control provision, they
phase out agreements did not contain any quality control           were "naked licenses" which, under prevailing law, could
mechanisms ensuring the quality of goods or services
                                                                   lead to forfeiture of Ex~xoris rights in its licensed marks.
offered under the offending mark during the phase out
period . [FN I J                                                   On May 31, 1995, Oxxford filed a counterclaim alleging
                                                                   that, under Texas law, Exxon's use of its trade name,
         PKI . Phase out agreements orchestrated by Exxon
                                                                   "Exxon" (without regard to the interlocking "XX" design),
         during the 1970s did give Exxon quality control           had diluted or famished its name and registered mark,
         rights over the alleged infringer or diluteis
                                                                   "Oxxford ." The basis of Oxxford's claim was a purported
         products . Later phase out agreements, however, did
                                                                   ease of association between "Exxon" and "Oxxford" which
         not give Exxon such rights . It is these later            might lead aspects of Eon's alleged corporate reputation
         agreements on which Oxxford's naked licensing
                                                                   for general greed and environmental destructiveness to be
         defense is based. There are some fourteen of these
                                                                   negatively attributed to Oxxford. The requested relief was
         later agreements . One of these has a three-year          that Exxon be enjoined from using its registered marks .
         phase out period . All the rest are shorter, the next




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Both parties filed a plethora of motions, the pertinent ones      interlocutory appeal under section 1292(6) . Permission to
for purposes of this appeal being cross-motions for               pursue an interlocutory appeal was granted, and both
summary judgment on Oxzford's affirmative defenses,               appeals were docketed and later consolidated for purposes
motions by      Exxon     to  dismiss    Oxxford's dilution       of oral argument and final disposition .
counterclaim and to strike portions of that counterclaim, and
a motion for partial swivnary judgment by Oxxford                          f\d . The district court initially certified the order
challenging Exxon's lathes defense to its counterclaim .                   dismissing Oxxford's affirmative defenses as a
                                                                           partial final judgment under Rule i4(b) . Oxxford
On March 18, 1996, the district court entered a                            noticed an appeal from that judgment, which was
memorandum opinion and order in which, inter alia, it                      docketed in this Court under No . 96-20397 and has
granted Exxon summary judgment on Oxxford's affirmative                    been dismissed for lack of appellate jurisdiction in
defense of naked licensing . The district court concluded that             a separate opinion issued this date. Nonetheless, we
Exxon's phase out agreements were not licenses because,                    consider here all issues fairly presented by the
contrary to Oxxford's assertion that the agreements                        district court's order of dismissal pursuant to
permitted *1074 third parties to continue misleading uses of               section I?92(6) . Yamaha hlofor Corp. v. Culhoun .
Exxon's mark, the phase out agreements were in fact an                     516 U .S . 149, 116 S .0 . 619, 133 LGd?d 578
appropriate mechanism for halting such activities, i .e., legal            (1946) .
settlements which ultimately secured Exxon's rights in its
marks while avoiding the time and expense associated with                                   Discussion
trademark litigation . The district court also opined that the
allegedly infringing and/or diluting companies which were         Oxxford appeals the district court's grant of summary
pasty to these phase out agreements would have had no             judgment rejecting its affirmative defense of naked
interest in being associated with Exxon and thus no reason        licensing and its tamishment-dilution counterclaim . [FNS]
to consent to the quality control provisions ; therefore,         Accordingly, the admissible evidence proffered by Exxon
imposing such a condition would have led these third parties      "must demonstrate the absence of a genuine issue of
to balk at entering the phase out agreements, limiting the        material fact, but need not negate the elements of [Oxxford's
utility of these devices in the resolution of trademark           claim and defense] ." Little r. Liquid Air Corp. . 37 F .3d
disputes . Finally, noting [ha[ the failure [o prosecute or        1069, 1075 (Sill Cir .199A) (en banc) (citations omitted)
pursue infringers or diluters does not necessarily result in      (internal quotation marks omitted) . If Exxon meets this
forfeiture of the trademark holders exclusive rights in the       burden, then Oxxford is compelled to go beyond its
mark, the district court posited that "[i]t would be              pleadings and designate, by competent summary judgment
anomalous for the Court [o find facts supporting                  evidence, specific facts which demonstrate genuine friable
abandonment because Exxon has a strong enforcement                issues . Calotac Carp . v. Coven, 477 li.S .317 .33J- ;25,106
program ."                                                        S .CL 2?38 . 2553-25-1 . 91 L .Ed2d 265 (1986) . This
                                                                  formula does not vary where Exxon is the plaintiff
The district court also rendered summary judgment in              challenging Oxxford's affirmative defense ; because Oxxford
Exxon's      favor    on     Oxxford's   tamrshment-dilution      bears the ultimate burden of persuasion at trial on its naked
counterclaim . The district court rested its puling on three      licensing defense, it must (provided Exxon has met its
separate determinations : I) "Oxxford" is not a distinctive       summary judgment burden) present admissible evidence
mark ; 2) Oxxford failed to show that its mark had been used      legally sufficient to sustain a finding favorable to Oxxford
in an "unwholesome context" by Exxon; and 3) because              on each element of that defense . *1075 Crescent Towing &
Oxzford knew of the similarity between the marks for over         Salvage Co. v . d1.%4' Anax . 40 F 3d 741 . 744 (5th Cir.1994) .
twenty years and failed to act, the counterclaim is baited by     In reviewing the district court's judgment, we consider the
lathes . Based on the dismissal of Oaxford's counterclaim,        record de novo . H'iltorf r . Shell Oil Cu ., 37 Fad 1151, 1154
the district court also granted Exxon's motion to strike those    (5th Cir .l99d) .
allegations in Oxxford's counterclaim impugning Exxon's
reputation .                                                               FNS The district court's memorandum opinion and
                                                                           .
                                                                           order embrace a large number of issues ; Oxxford
The district court entered an order certifying the dismissal               has chosen to brief only two, the dismissal of its
of Oxxford's counterclaim as a partial final judgment under                affirmative defense of naked licensing and its
Federal Rule of Civil Procedure 54(b) . The district court                 dilution counterclaim . All other issues, not raised
also certified the order dismissing Oxxford's affirmative                  or briefed on appeal, are waived . Carallipv v. State
defenses for interlocutory appeal pursuant to ?R U .S .C .                 Farm ,4fuc Auto Ins. Co ., 44 F .3d 256. 260 n. 9
1292(6) . [FNd] Oxxford timely noticed an appeal from the                  (5th Cir.1995) .
Rule 54!61 judgment, and also petitioned this Court for
                                                                  1 . Naked Licensing Defense




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                                                                              which both parties rely, has not been decisively
1I J[2]{ ;] We consider first Oxxford's claim that the district
                                                                              interpreted by any Texas court. Tex. Com. &
court erred in granting Exxon summary judgment on
Oxxfbrd's affirmative defense of naked licensing. JFle61 A                    Bus .Code § 1629, added by Acts 1989, 71st Leg.,
                                                                              ch . 932, § I ; Sumi(und Furnilurc Co . v. Smuri"(und
naked license is a trademark licensors grant of permission
to use ids mark without attendant provisions to protect the                    4holesnle Furniture Ca . 23i S.W2d 67d,
                                                                              676-G77      (Tex .Civ .App .--Dallas    1950,    error
quality of the goods or services provided under the licensed
                                                                              refused) (Texas common law does not recognize
mark . L/oore Business Fnrnrs . Inc . v. Rru . 960 F .2d 486,
489 (5th Cir.1992) ; Iuco Cabana intern . . Inc. r . Tyco Peras .             cause of action for trademark dilution). We also
                                                                              observe that there exists some incongruity between
Inc . . 9J= F .2d 1 113 . 1121 (5th Cir .1991), aJJ'd, Sp> t: .5 .
 763, 112 S .Ct . -753 . 120 L .Gd .2d 615 (1992) . A trademark               the naked licensing defense, which like much of
                                                                               federal trademark law is intended to protect the
owner's failure to exercise appropriate control and
 supervision over its licensees may result in an abandonment                  consumer from contusion by ensuring the licensed
 of trademark protection for the licensed mark . Id. See Carl                  mark's continuing role as an indicator of origin,
                                                                               and dilution, which is concerned with preserving
 Zeis.c SNliung r . I%E.D . Carl Zei.cs, Jerra . 293 F .Supp . 842,
 918 (S .D .N .ti"J963) ("a 'naked' license may be the basis for               the integrity and vitality of the mark irrespective of
                                                                               consumer confusion .
 an inference of abandonment where the licensor maintains
                                                                               Despite these difficulties, our review of the record
 no control over the quality of goods made by the licensee")
                                                                               and briefs convinces us that by addressing the issue
 (emphasis added ; citation omitted), afJ'd as modified, 433
                                                                               as framed by the parties we may fairly adjudicate
 F .2d 686 (2nd CirJ970), cerr . denied. 403 U .S . X05, 91
                                                                               this case . Furthermore, we have previously found
  S .CL 2209, 29 L .Ed2d (,60 (1971) . Because naked licensing
                                                                               that, in considering a res nova issue under Texas
  is generally ultimately relevant only to establish an
                                                                               trademark law, Erie requires this Court to decide
  unintentional trademark abandonment which results in a
                                                                               the issue as a Texas court would, namely by
  loss of trademark rights against the world, (FN7} the burden
                                                                               adhering "to the general common law principles
  of proof faced by third " 1076 parties attempting to show
                                                                               that other courts have uniformly applied ."
  abandonment through naked licensing is stringent . Monrc
                                                                               Association of Co-Oparnlive Alemhers, Inc . v .
  Batincvs Forms, 960 Fad a[ 489 ; Taco Cabana Intern_
                                                                               Farmland Industries, Inc ., 694 F .2d 1 134 . 1140
  Inc., 932 Pad at 1113 . 1131 ; .4merimn Funds . Inc . v.
                                                                               (5th Cir .19R2), cert . denied . 460 U .S . 1038, 10 ;
  Golden Flake, Die . . 312 F2d 619 (ith Ci r . ! 963) .
                                                                                S .CI . 1428, 75 L .Gd .?d 788 (1983), ding Blue
           Fhfi . Both parties in briefing this issue have relied               Bell, Inc . c . Fornh :bfnnufaclurin,g Co. . 508 F .2d
           exclusively upon jurisprudence articulating the                      IZfiO, 1264 kSUi Cir .1975) . In thus construing
           parameters of the naked licensing defense in the                     Texas trademark law, both this Court and Texas
           context of a federal trademark infringement claim,                   courts have relied upon relevant jurisprudence
           forgetting, apparently, that the only claim alleged                  from other, primarily federal, jurisdictions and
           by Exxon which remains extant is its state law                       relevant treatises . See, e.g ., Blue Bell. 508 F .2d at
           dilution claim . No court construing Texas law has                    1264-1267 : Te.cnr A d iLf t%niversi(v Svsleni v .
           ever discussed, much less applied, the naked                         Uiriversilp Book Stoic. Inc ., 683 S .W .2d 190, 144
           licensing defense         in a trademark dispute .                   ("Vex .App .-W'aco 19dd) . Thus, given the lacunae
            Furthermore,   we   have    been unable to locate any               in Texas trademark law regarding the points raised
           cases construing federal trademark law which                         vi this appeal, we consider the question presented
            recognize naked licensing as a defense against a                    in light of general federal trademark law, with
                                                                                recourse w the abundant federal jurisprudence and
            dilution (as opposed to an infringement) claim,
            perhaps because a federal cause of action for                       treatise materials available on the issue . In doing
            trademark dilution was apparently not available                     so, we assume arguertdo, for purposes of this
            until the Lanham Act was amended to include one                      appeal only, the debatable proposition that she
            in 1996 . See I g U .S .C . $ I 125(c), added by Pub .L .            naked licensing defense may be raised against a
                                                                                 dilution claim brought under the Texas statute .
             101-98 . & 3(a) (199() ; Comntuuu(r Federal Suvinge
            d'c Loan Assoc. r. UrouJorff, 678 F .2d 104, 1036
            n . 7 Ill(h Cic19S2) (no independent cause of                       F\7 . There is an exception to this proposition . The
            action for dilution under federal trademark law) ;                  licensee in a purposed naked license may also
             R. L . Barn' Corp . r. !Lhia'hroom Makers, Ine ., 612              invoke the naked licensing defense as a form of
             F .2d 651, 658 (2d Cir .1979) (same) . This situation              estoppel . See, e.g., Slie"ilah~ Shine Products, Inc . r.
             is complicated further by the fact that Texas                      .SReiln .S'luue, Lie., dKG F .2d 114, 123-12J (~th
             common law does not recognize a cause of action                    ('ir.19731 ("[fJailure to exercise such control and
             fur dilution and the statutory cause of action, upon               supervision for a significant period of time may




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         estop the trademark owner from challenging [he            above, the essential inquiry is whether the right granted by
         use of the mark and business which the licensee            the subject agreement permits an infringing use of the
         has developed during the period of such                    license . For example, some agreements which allow another
         unsupervised use") (citations omitted) ; Health           patty use of the subject mark constitute "consent-to-use"
         Industries v . Evropcan Health Spas . 439 P .Supp .       agreements and not licenses . See, e.g., d4nore, 960 F .2d at
         860 . 868 (D .S .U .1980) (discussing claim that          489 : American Foods. Inc. v. Golden /-7rrket Inc. . 312 F .2d
         reciprocity agreement with trademark owners               619 . 623-624 IS(h Cir .l9(,3) . Such a consensual agreement
         employee is sufficient to estop trademark owner           "[i]s not an attempt to transfer or license the use of a
         from contesting defendant's use of that mark) .           trademark . . . but fixes and defines the existing trademark of
         Oxxford, however, was not a party to (and does not        each . . . [so] that confusion and infringement may be
         hold under any party to) the phase out agreements         prevented." GG"aukeshn Hrgein Mineral Springs Co . v.
         at issue in this case; thus, its defense is not a         Hrgeiu Sparkling Distilled Water Co ., 63 F . 438, 491 (7th
         personal defense of acquiescence or estoppel, but is      Cir .1894) . Thus, we will not find the existence of a
         rather a claim that Exxon has abandoned its mark          trademark license when an authorization of trademark use is
         and thereby forfeited all its rights in that mark . 4     structured in such a way as to avoid misleading or confusing
         Thomas J. McCarthy, Trademarks and Unfair                 consumers as to the origin and/or nature of the respective
         Competition, § 31 :41-46 (4th ed . 1996) ; Sweetheart     parries' goods . 2 McCarthy, § 18 :79-81 (4th ed .1996) ; /n re
         plastics . Inc . r . Detroit Forming, Inc ., 743 F .2d    Mastic Inc . . R-9 F .2d 1 1 14 . 1116-1 1 18 (fed .Cir .1987) ; A . T.
         1039 . 1046 (4th Cir .198d) ("[w]hile abandonment         Cross Co. v . Jonathan Bradley Pens . /sic ., 470 F .2d 689,
         results in a loss of rights as against the whole          692-693 (2v Cir .l97?) ; Golnn Watch Co . v . Loughlin, 20R
         world, . . . acquiescence is a personal defense which     F .2d 93 . 96- 97 (2d Cir .1953) ; OrecA Corp. r . Thamson
         merely results in a loss of rights as against one         Consumer Electronics, Inc . . 796 F .Supp . 1 152, 1157 n . N
         defendant") (citation omitted) .                         1 S .D .Ind .1992) .
         We reject Ozxford's argument that, this single,
         here-inapplicable exception aside, naked licensing       [7] Determining whether or not a particular agreement risks
         has any presently relevant ultimate significance         the possibility of allowing an infringing use of the mark,
         apart from its relevance in showing unintentional        i.e ., a use that creates a likelihood of consumer confusion,
         abandonment.                                             is, like the entirety of Oxxford's abandonment claim,
                                                                  ordinarily a factual inquiry . bfoore Dusinesc Fnrncc 960
Oxxford's appeal raises two central questions in relation to      F .2d at 489 ; Aircraft Novelties Coil) . r. Barer Lane Co . ol
its naked licensing defense : I) were the phase ow                Amarillo . 685 F .2d 988 . 992 (5th Cir .1932) . As the Federal
agreements between Exxon and the third parties "licenses,"        Circuit has put it,
and 2) did these agreements result in an abandonment of              *1077 "One must look at all of the surrounding
Exxon's mark? We address these questions in tam.                     circumstances . .. to determine if the consent reflects the
                                                                     reality of no likelihood of confusion in the marketplace . . ..
[4J[5] "[A] license m use a mark . . . is a transfer of limited      For example, the parties may prefer the simplicity of a
rights, less than the whole interest which might have been          consent to the encumbrances of a valid trademark license.
transferred ." Arme Valir & Fittings Cu . v. ff'n'vnc, 396           However, if the goods of the parties are likely to be
F .Supp . 1162, IItiS (S .D .Tex ., Houston Div ., 1974)            attributed to the same source because of the use of the
(citations omitted) . Even if the parties intend no formal          same or a similar marls, a license (not merely a consent) is
licensing agreement, "[i]n some circumstances . . . the entire      necessary to cure the conflict . See I J. McCarthy,
course of conduct between a . . . trademark owner and an             Trademarks and Unfair Competition § 1825, at 866 (2d
accused infringer may create an implied license ." :41cCny " o.     ed .1984) ." In re LInsGc, 829 F.2d at 1116- 1117 .
bfitsuhushi GRlert', Inc . 67 F .3d 917, 920 (Fed .Cir.1995),     Accordingly, if the goods or services of the concerned third
cer(. denied, 516 U .S . 1174 . 116 S .Ct . 1268, 134 LEd2d       parties were not ones which it is likely the public would
215 (1996) . See also Cold Industries, Inc. v. Fideleo Pump       confuse with those offered by Exxon, the phase out
& Compressor Carp ., 34-1 F .2d 117, 119-I .0 (3rd                agreements are not licenses but rather some other, perhaps
Cir .1933) . The essential inquiry is whether, under cover of     innominate, genre of trademark agreement [FNif]
the agreement claimed to be a license, "the licensee is
engaging in acts which would infringe the licensor's mark                  FtiR . This emphasis on the likelihood of consumer
but for the permission granted in the license ." 2 McCarthy, §             confusion dovetails with the policy considerations
18 :79, P . 18-128 .                                                       giving rise to the naked licensing defense . See Tact)
                                                                           Cabana, 93 : F .2d at 1131 ("[t]he purpose of the
[h] However, not all agreements authorizing use of a                       quality-control requirement is to prevent the public
protected mark may be categorized as "licenses ." As noted                 deception that would ensue from variant quality




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         standards under the same mark or dress") (citation                    sue), aJj'd, 746 F?d 112 (-d Cir.19Rd) ; NodKe
         omitted) ; United States Jqirees o . PhiluJelpluu                     Chile Cu . v . K.VA Food Distributors . Inc. . 575
         Jqrccrs. 639 F .2d 134 . 140( ;4 Cir .19S1) (finding                  F .Supp . 2111, X13 (E .D .N1o .1983) (settlement
         fact that licensees did not offer "a lower quality of                agreement), aJfd, 741 F .2d 1086 (8th Cir .l9l+dl ;
         service" dispositive of naked licensing claim) ;                     Acmcr Valve cf Firings, 386 F .Supp . at 1165-1166
         SchieJJclin d Co . r. Jock Ca of Uoca . /n<~ ., 199=                 (purchase order form) ; Naclax, Inc . v . Lee, 231
         1VL ~1565G0 . " 6 (S .D .N .7' .1442) ("(i]n the context              U .S .P .Q . 395, 399 (T .T .A .B .1986) (release on
         of uncontrolled licensing, the concern is not with                   promissory        note) .   We    find     these      cases
         the quality of the goods in the abstract ; rather, the               distinguishable from that now before us on two
         concern is that when one or more licensees produce                   grounds . First, the agreements in these cases
         and distribute goods under the licensor's trademark                  expressly granted use of the protected mark, while
         . . . they may produce and distribute goods of                       Exxon's phase out agreements concern marks that
         differing qualities, thereby confusing or deceiving                  are merely (allegedly) similar to its registered
         consumers") ; Engineered Mechanical Services .                       marks and do not involve an attempt by Exxon [o
         Inc. v. Applied Mechanical Technology, Inc ., 584                    exploit ids mark for purposes of pecuniary gain .
         P .Supp .   1149,    1159 (M .D .La .1984)       (naked              Second, none of these cases discuss agreements
         licensing claim cannot stand when "[d]efendants                      entered into for the purpose of permanently
         have offered no evidence that complaints have                        terminating the putative licensee's offending use of
         been made about the quality of the work                              the subject mark, and coordinately none of the
         performed" by the licensee) .                                        agreements discussed in these cases fix a
                                                                              termination date for the licensee's use of the mark .
[R] The district court did not make any determination                         This first point of distinguishment addresses the
regarding the likelihood of consumer confusion presented                      existence rel non of a license, while the second
by Exxon's phase out agreements . Accordingly, we elect to                   point is perhaps more appropriately considered in
assume, arguendo only, that these agreements constituted                     resolving the ultimate question of whether Exxon's
"licenses" in a technical sense. [FN9] This does not give us                 actions,       however     denominated,     led     to   an
pause, however, since the question whether the third-party                   abandonment of its rights in its mark(s) .
phase out agreements are "licenses" is merely, given the                     Oxxford also suggests that Exxon, by virtue of
current posture of this case, a prelude to the ultimate                      allegations made in the course of the abortive
question presented '1078 by Oxxford's appeal, i.e., whether                  litigation which preceded a number of the phase
the summary judgment evidence adduced would be                               out agreements, is judicially esropped from
adequate to support a finding that Exxon's course of action                  denying that the parties to those phase out
resulted in abandonment of its trademarks .                                  agreements were engaged in an "infringing use" of
                                                                             Exxon's mark . Assuming, arguendo only, the
         FN9 . Courts have construed a variety of                            potential viability of such a contention in an
         agreements and relationships entered into for a                     appropriate case, the record here does not reveal
         range of reasons, including the cessation or                        that any of these allegations were accepted as true
         forbearance of litigation, to be trademark licenses                 by the respective courts ; accordingly, the doctrine
         subject to the naked licensing defense . F.. & J.                   of judicial estoppel is inapplicable . C.'. .5. fir C~se of
         Gnllo Winery v . Gulf Cattle Cu ., 967 F .2d 1280,                  .-0mvricmn Bunk r. C/T Cnn.rb . . Inc . n/Texn .c. 944
          1289- 1290 (9th Cir .I992) (settlement agreement) ;                F .2d 253 . 259 Oth Cir.1491) .
         Stock Pot Restaurant . Inc . v. Srnckpol, Inc ., 737
         F .2d 1576 . 179-1580 (Fed .Cir .198d) (lease);            The naked licensing defense has traditionally been used in
         United States ./npcces, 639 F .2d at 139 n . 7             the context of infringement claims brought by the trademark
         (affiliated organizations) ; PrnJes,sionnl Gn(fera         owner; and, this case began in such a mode . See, however,
         .4s,c'n v . Bankers L . & C. Co ., 514 F .2d 665 .         note 6, supra. Federal law statutorily limits the defenses
         668-669 (5th Cir.f975) (settlement and lease) ;            which may be invoked against a claim brought under the
         Sheila's Shine Products . Inc
                                    . c . Sheila Shine, lnL .,      Lanham Act by the owner of an incontestable mark, as
         486 F2d 114, 123 (5th Cir .1973) (purchase                 Exxon is, to the eight categories of affirmative defenses set
         agreement) ; Express, lnc. r . Sears, Roebuck & CU . .     out in subsections (1)-(8) of 15 U .S .C . § 11 15(b). Park W
         840 F .Supp . 502, 509-510 (S .D .Ohiu 1993)               Flv. Inc
                                                                         . v. Dollar Park and Tip, Inc ., 469 U .S . 1K9, 195-
         (settlement agreements) ; Engineered :Lfcchunicof           196, IOi S.Ct. (,58, 662, 83 I ..FJ .2d 582; S'!mrco. Inc . r.
         Semi es . Inc .,   53-1 F .Supp, at       1153-1159 ;      Shell Oil Ca . . 617 F .2d 1179, 1184 (5th Cir.1980), cert .
         Univsssul CiR' Studios . hit . v . Nin(rndo Co . . 578     denied, 450 U.S . 981 . 101 S .Ct . 1516, 67 l . .Ed.2d 816
         PSupp . 911 . 929 (S .D .N .Y .1933) (covenant not to      (1941) . Accordingly, we turn our attention to the Lanham




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Act, the fond of federal trademark law, to ascertain the scope                    review of the jurisprudence construing this defense
and limits of Oxxford's naked licensing defense. [FT 10]                          reveals that it is a defense of "unclean hands," only
                                                                                 applicable when the origin or source of goods
           F\'10 . Unlike parents and copyrights, there is no                    distributed       under      the     subject       mark      is
          specific constitutional      provision making the                      misrepresented . See General Motors Corp . v.
          regulation of trademarks a federal concern, and the                     Gihson Chenderil & Oil, 786 F .2d 105 . 110 (2d
          first constitutional federal trademark act, passed                     Cic1986) ; /uhuct-0- .llatic Corp . r. Inducrotherui
          pursuant to the Commerce Clause, was not enacted                       Corp., 747 F .2d 35g, 366 (61h Cir . 1984) ; Adjusters
          until 1905 . 1        McCarthy, § 53 . See also                        International . [tic r . PubGc 4djusleis Intern . . Inc .,
           Trade-Mark Cases, 100 U .S . 32, 25 L .Ed . 550                        1996       WL      -042405,     `14       (\ .D .N .Y .1996) ;
          (1579) . The doctrine of "naked licensing" predated                    Dial- .-0-,44alUrss O/oerudn,- Cwp . v. ,L/n!lrcs.c
          the passage of the Lanham Act, which took effect                       :tiladrres.a .  lnc . . 511      P .Supp .     1339,     135
          in 1947, and evolved in the pre-Erie world where                       (L .D .N .l' .1994) . Further, acquiescence, estoppel,
          federal common law provided the rule of decision                       and the other equitable defenses listed in
          in diversity cases . See El . DuPont De h'emours &                     subsection (b)(8) are personal defenses, based upon
          Ca v. Celanese Corp. . 35 C .C .P .A . 1061 . 167 F .2d                the trademark owners conduct vis-a-vis the
          484 . 489 (1948) (listing cases) . See also Daum                       defendant, and thus also do not speak to the
          Donut v. Harts Food Siorcs, 267 F .2d 353,                             wholesale loss of rights in the mark remarked upon
          366-367 (2d Cic 1959) (discussing divergent strains                    by naked licensing jurisprudence. See note 7,
          of naked licensing jurisprudence antedating                            supra . Oxxford has not made any showing which
          passage of Lanham Act) . Be that as it may, we are                     would sustain a subsection I I IS(b)(3) defense to
          concerned with the applicability of the naked                          Exxon's action against it .
          licensing defense as it is defined under current
          federal law . Given the absence of a specific federal          A mark shall be deemed to be "abandoned" if either of the
          constitutional concern with the law of trademarks,             following occurs :
          that law is indisputably statutory . See generally             (I) When its use has been discontinued with intent not to
          OSNelvenr & :1fvees v. FDIC, 512 U .S . 79, 114                resume such use. Intent not to resume may be inferred
          S .Ct . 2048 . 129 L .Ed2d 67 (1994) . Accordingly, it         from circumstances . Nonuse for 3 consecutive years shall
          is the language of the Lanham Act which under the              be prima facie evidence of abandonment. "Use" of a mark
          circumstances of this appeal (see note 6, supra )              means the bona fide use of such mark made in the
          decides the questions presented .                              ordinary course of trade, and not made merely to reserve a
                                                                         right in the mark .
Oxxford's naked licensing defense, which as we have noted                 *1079 (2) When any course of conduct of the owner,
has ultimate relevance only to "abandonment," is authorized               including acts of omission as well as commission, causes
by 15 U .S .C . § I I IS(b)(2) . [FN I I ] See SlnnJield c. Osbmne        the mark to become the generic name for the goods or
Indus ., laic . . 52 Fad 867, £;71 (10th Cir.), cert . denied, 516        services on or in connection with which it is used or
U .S . 920, 1 16 S .Ct . 314, 133 L .Ed2d 217 (1995) ; Dirri c .          otherwise to lose its significance as a mark . Purchaser
Culd}re!! Banker. 454 F .2d 869 . 873 (3d Cir .1992) ; General            motivation shall not be a test                  for determining
Motors Corp . . 786 F .2d at 110 ; Oberlin r. Afarlin .4mencan            abandonment under this paragraph .
Carp ., 596 F . _'d 13'2, 1727 (7th Cir .1979) ; Haymaker              The definition of "abandonment" set Forth in subpart (2)
Sports . Inc . v . Turinn, 581 F .2d 257, 261 (C .GP .,4 .197R) ;      (formerly subpart (b)) is the specific statutory explication of
Dawn Donut, ?67 F .?d at 366-367 ; SchiellLlin & Ca . . 1942           unintentional abandonment, including abandonment due to
WL 156560 . " $ ; F./ . DuPuni De .1'cmourc, 167 F .2d at              naked licensing . [F\I_] Swrrrhrun Plo .erics . 743 F .2d at
-05990; RonJu's !"eevndderfirbrieA, Proviml, BA'            . v.       1047-d8 ; Under! 57qrev Jav< ees . 639 Fad al 139 ; A . T Cross
Provuni,          Inc . . 435     F .Supp .     1034,    1037-III ;R   Cio ., 470 F .2d a[ 693 : tic-at un C)iniribuling CU . r. Union
(E .D .Wi, .l97i), 1 : U .S .(' . $ 1127, the definitional section     Tank Cur C'o . . 38',' F .2d d?' . 4 ;54 (8th Cir .1967) ; Selueflelin
of the Lanham Act, defines "abandonment" as follows :                  & Ca . 1492 WI . I        ;65(,0, 'S ; Engincrercd Mechanical
                                                                       Set vices. 584 FSupp . at I 158 .
         FNI I . Both Oxxford and Exxon point to
         subsection 11 15(b)(3) as the or a basis for                           F\12 . A number of courts have also cited to
         Oxxford's naked licensing defense. This subsection                     section 105, often in tandem with section 1127, as
         provides a defense to an infringement claim if "the                    statutory authority for the naked licensing defense.
         registered mark is being used ... so as to                              Visa . L".S.A ., Inc . c. Birmingham Tnrit Nnl. Bank.
         misrepresent the source of the goods or services on                    696 F.2d 137 1 . 1377 n. 4 (Fed Cir.19S2), cert.
         or in connection with which the mark is used ." A                      denied, 464 US . 816. IOd ti .CL 98 . 73 LEd._d 104




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         119S3) ; Ohvilin c . 1/,irliu .4metican Corp ., 596          131 . £K L .Fd .'_ii 1(1,4( 1955) ; ffullpuper .li/ra_ I.ld . v . Crown
         F .2d at 1177 n . -0 :.Slarlirw Doug . Ini . c . l.in<uln    [t'al/cuwrinl,~     CnnP .,    630     F .2d  7$$,      6(        n.  I
         Luboru(uries, /n . l . . F .2d 968, 9'2 ("di                (C .C .r .,a .19S2) ("[f]rom the legislative history it is evident
         Gr .19(3) ; Darn Donut. 267 F .-Id at 366-367 ;              that abandonment under part (b) [subsection 1 127(2) ] was
         Georgia Carpet Sales. Inc    . c. SZS Corp ., 789           principally intended to encompass act, of omission or
         F .Supp . 241, 24( (\D .111 .199?) ; (lngn~ ~c Dimkin'      commission by the registrant which resulted in the mark
         Donuts of America, Inc, (3 P .R .D . 65 . 1 16              becoming a generic term") (citation omitted) . This statutory
         (E .U .Pn .1975), rev'd on other grounds, 531 F .2d         directive reflects the policy considerations which underlie
         111 (±rd Cir .), cerr. denied, 429 U .S . 823, 97           the naked licensing defense : "[i]f a trademark owner allows
         S .CL 74, 50 LL;ci .3d 84 (197G) . This provision           licensees to depart from his quality standards, [he public
         reads in pertinent pan as follows :                         will be misled, and the trademark will cease to have utility
         § 1055 . Use by related companies affecting                 as an informational device . . . [a] trademark owner who
         validity and registration                                   allows this to occur loses his right to use the mark ."
         Where a registered mark .. . is or may be used              Kennacki Fried Chicken Corp . v . Diversified Packaging
         legitimately by related companies, such use shall           Corp . . ;a9 F .2d 368 . 3k' (ith Cir .1977) . Conversely, if a
         inure to the benefit of the registrant ... and such use     trademark has not ceased to function as an indicator of
         shall not affect the validity of such mark or of its        origin there is no reason to believe that the public will be
         registration, provided such murk is not used (o             misled ; under these circumstances, neither the express
         deceive the public. (Emphasis added) .                      declaration of Congress's intent in subsection 1 127(2) nor
         The term "related companies" is defined in section          [he corollary policy considerations which underlie the
         1 127 as follows:                                           doctrine of naked licensing warrant a finding that the *1080
         The term "related company" means any person                 trademark owner has forfeited his rights in the mark .
         whose use of a mark is controlled by the owner of
         the mark with respect to the nature and quality of           [10][I IJ[I?j[I±] Oxxford, pointing to recent precedent in
         the goods or services on or in connection with               this Circuit indicating that naked licensing results in an
         which the mark is used .                                     "involuntary trademark abandonment," posits that when a
         See also Health Industries, 434 F .Supp . at 868             defendant proves that the trademark owner has licensed its
         (equating quality control and mandate that public            mark without any quality control provisions the courts
         not be deceived) . Section 1055 authorizes a                should presume a loss of significance . See Moore Business
         trademark owner to license its mark "but only               Forms, 960 F .2d at 489 ; Taco Cabana International, 932
         where the licensees of the service mark are related          F .2d at 1121 . We disagree . Abandonment due to naked
         companies, i .e . where the owner of the service             licensing is "involuntary" because, unlike abandonment
         mark controls the licensees as to the nature and            through non-use, referred to in subsection 1127(1), an intent
         quality of the goods or services in connection with         to abandon the mark is expressly not required to prove
         which the mark is used ." Reddy Communications v.           abandonment under subsection 1 127(2) . See 2 McCarthy, y
         Environmental Action . $"? F .supp . 936, 944                18 :48 ; Cunao,ru . Iirr. c. Singleton, 733 F .2d 1508 (11th
         (D .D .C .1979)   (citations   omitted)    (internal        Cir .1931) ; Fn ;ineered L/euhanicul Senite :c, S84 F .Supp . al
         quotation marks omitted) .                                   1158 . In addition, a trademark owners failure to pursue
         Section 1055 does not of itself establish a naked           potential infringzrs does not in and of itself establish that the
         licensing defense. So far as here relevant, its effect      mark has lost its significance as an indicator of origin .
         is merely to reflect conditions under which certain         Bnbhu LTcr.c., Inc. v. D.cntrrcua Corp., 38 Fad 1161, 1130
         conduct is not per se precluded from consideration,         (11th CirJ994) (per curiam affirtnance incorporating
         as supportive, to the extent that it may logically do       district coup's memorandum opinion via appendix) ;
         so in a given setting, of a determination that there        .Sutcrhean P/acti~s. /nc ., 7d= F .?d at 1047-IGdX :. ~G'nllpapcr
         has been abandonment as defined in section                  L/frv~ . Lid . 640 F .2d at 761-'66 : United States ./ogees r.
         1127(2).                                                    Plri(adcdphiu ./qr(ees . 639 F .2d at 134_IdO . Instead, such a
                                                                     dereliction on the part of the trademark owner is largely
[9] The language of subsection 1] 27(2) reflects that to prove       relevant only in regard to the "strength" of the mark ; absent
"abandonment" the alleged infiinger must show that, due to           an ultimate showing of loss of trade significance, subsection
acts or omissions of the trademark owner, the incontestable          1 127(2) (and the incorporated doctrine of naked licensing)
mark has lost "its significance as a mark ." See Dernncn             is not available as a defense against an infringement suit
Buemn Mach . Ca v . C & C :L/ctu! Products . 759 F .2d 1053,         brought by that trademark owner. See 2 McCarthy, § 17 :17 .
1061-1062 (2d Cir .) (concluding that section 1127(2) was            We, like the district court, would find it wholly anomalous
intended to apply only when the subject mark ceased to be            to presume a loss of trademark significance merely because
an indicator of origin), cert. denied, 474 U .S . 844, 106 SCt .     Exxon, in the course of diligently protecting its mark,




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                                                                                                                                                an act likely to
                                                                                                                           an action to enjoin
                                                                                                    p person may bringreputation`             or to dilute the
                                                 preserve the                                                                        `1081
                                                                                                                                      .
                 agreements designed to                                                             injure a business                 ~slered under . . . Title IS,
entered into                                       We decline                                                              a mark registered
                       strength of that mark . presumption                                          distinctive quality of                          competition
distinctiveness and                 manufacture  a                                                                              whether there is
                                                                                                                               of
OxxFord's invitation to
                         judicially                          case                                    U .S .C .. .. regardless confusion as to the source of goods
                                    under the facts of this                                                         parties or
 of loss of trademark
                      significance
                                                   threats  to its                                   between the
                        simply ignored the poor                                                      or services .                                   other stales,
 given that had Exxon                       . [H.,131                                                                      like that of twenty
                               would obtain                                                        The Texas stature,                                  is based upon
 marks no such presumption                                                                                    California,   Illinois, and New York,
                                                                                                   including                                            United States
                                            to the phase out agreements                                                       Section 12 of the 1964
           I :N13 . The alternative                                                 either         language contained in                          Trademark     Rill . 3
                                      argument is that Exxon                                       'Trademark Association
                                                                                                                                  Model State
           latent in Oxttford's                                         litigate      with                                                 As one court     has already
                                             and reSentlessly                                       McCarthy, § 24 :8, P. ? ;'125 . particular the language of
            ignore or immediately Unless Exxon were able to                                                                      traoks in
            all perceived infringers
                                             .                                                      noted, the Texas statute                                  .Bus .L . §
                                        preliminary injunctions
                                                                                  against
                                                                                                                       dilution   statute, New York Gen
             perfunctorily    obtain                                                     the        the New York                                     Lid .  942 r' .Supp .
                                                                              given
                                                 wonder      whether,                                                    Bench Co v . Tour IS L
             these pasties, one must                                                  civil         36B-d . See Pebble                                      owing   to the
                                                       of   conventional                                                (SU .Tes .144b) . Accordingly, . we remain
             delays which are part                                                                   15 13, 1163 n . 46                             IGZ9
                                                           co`po~ate opponents,                                              interpreting   section
              litigation  between   entrenched                                                       dearth of case law        law of dilution, that body of common
                                                     confusion might '+~e~~ be                                        general
              any resultant consumer                                                                 mindful of  the                                        jurisdictions
                                                                             phase out                                             evolved in those
                                                than under the                                       principles which has
              abated more rapidly                                        a   number of                                                       the USTA's    model   bill, in
                                                     observe that                                                                     from
               agreements . We further                                                                possessing statutes derived
                                                        explicitly       or     implicitly                                    statute .
               treatises and cases either                                       often a~              construing the Texas
                                                  agreements           are
               recognize that such                                            trademark                                plaintiff may seek an
                                                                                                                                                   injunction
                appropriate manner in
                                                  which to resolve             1151 Under section 1(,2° . a                 protected   trademark      even if
                                            Siegnm         D . Kane, Trademark               ongoing     dilution of a
                disputes . See,  e .g . .
                                                      .Sfinr~c.nm
                                                                               to  remedy
                                                                        f'er Ilrceder .c,                    competition with the defendants) and
                Law Z00 (2d ed .1991)
                                                   ;                           it is not in business
                                                                             P 3J 1242,                                                 any likelihood of
                                                          , Inc .,   41                                   existence vet nor of
                 Inc . r. Schell & /~ampeie,Shnppiu(rNenVnrk, lilt .           irrespective of the                       owner of    a   distinctive mark
                 1144 (Sill Cir.Y99A); Nome                                     consumer confusion . The
                                                                                          ~'~'L                               an  anti-dilution      statute if
                                          111c . . 931 F .-d R86 . 1Y94         t`h1qJ may obtain relief under                                   °blumng,"    a
                 r. Fluppr 'find,                                          disposition)        ;                      dilution" due to 1)
                 69834 (4th Cir
                                    .1991) (unpublished                         there is a "likelihood of
                                                                                   8113 F2d                               and  individuality     of  the mark .
                                                                     .   Inc  . .
                  Oreck Corp . v. U.S . Floor
                                                          tiysfems              diminution in the uniqueness resulting from anotheis use of
                                                                                          U ti .
                                                          cer1 . denied, 481                             ;'  an injury
                  156, 168 (5111 Cir .193('),                                    or 2) "tamishment                                           appropriates the
                                                  95 LLd . .J      8 %   1 1 .19871    .                            that tarnishes or
                  1069, ln7 S .Ct . 2462,                                        the mark in a manner                            with  the    plaintiffs mark .
                                                                                 goodwill    and  reputation assoclaled
                                                                  we turn to                                                    The Spnrra .4vthwir~t In(
                  the  applicable     legal standard clarified,       burden      (FN  151 3  McCarthy . S§ x`3 :67-69 ;                         y65-96h (2d
      141 With                             commensurate with its                                                  Corp . '~`~ ~' ;`i `~ 5 '~
     the cecord before us . Exxon, diserict coon's attention to                   ~. Prime Hospa adilr                             that   Fxxons      activities
                      56,   directed     the                                      Cir .l99b1n     x Kford does not claim                        the  only  issue
     under Rule                     meanlngh~IlY address
                                                                what r an
                                                                                                       Its "Oxztbrd" mark ;
                                                                                                                                    rather,
     Oxxford's      failure    to                                   licensing     have   "blurred"                                    is  a   claim  of dilution
                                   of its third-party
                                                            naked                                             pleadings and brief
     essential component trademark significance in Exxon's                         raised by OxxFord's                                            between the
                                  of                                                    tamishment       due     to the purpohz1i link
      defense, i.e .,   a  loss                                  pleadings  to     by                                         Exxon's alleged corporate
                 Even     were   we    to constn~e Oxxford's        registered     "Oxxford"     mark ' 1082 and                               destructiveness .
      mark(s).                                     that Exxon's                                        greed      and environmental
                                   proposition                                     reputation    of
      allege the unlikely                                   agreements, have                                 94` FSU TP At 15 ~'~~ ~ s~'~~
                                 third-party phase out                              PehMe &~u~'h G'- .
       marks, due to these                            of origin, Oxxford has
                                       as indicators                                                                           anti-dilution statutes . . . are
       lost their distinctiveness              to substantiate such a dairt'.                        . "It is dear that
                               no  evidence                                                   F'N14
       offered absolutely                                      ruling becaus                  Resigned to protect only
                                                                                                                                   strong, well-recognized
                         we   affirm     the district court's
                                                         sufficient to allow                                                           ,al .
       Accordingly,                                                                            marks ." .7re:uridc lntcrnnlio
                                    adduce evidence                                                                                             (9th Cir .193'>)
       Oxnford has failed to                      that Exxon hay   abandone                                 K't f2d {531 .
                                                                                                                                      1,39
                                   to   conclude                                               Corp  . .                                                    A17'U
        reasonable factfinder                                                                                                    n/so Ucere & Co . v .
                                                                                               (citations omitted) . See 39, d? (2d Cicly941 (to
        its marks .                                                                                          . lu, :. . 41 l Jd
                                                                                                                    Products
                                                                                                                                                 under New York law "a
                                             Counterclaim                                                           prevail on dilution claim
        11 . Tamislunent-Dilution                                                                                   plaiNiff must prove, first,
                                                                                                                                                  that its trademark either
                                                            Oxxford's                                                                           quality or has acquired
                                      court's dismissal of                                                           is of truly distinctive (citauun omitted) . Our
        we turn next to the district         UKxford's  counterclaim,
                              counterclaim .                                                                         secondary meaning")
        tamishment- dilution                            under section                                                                              renders unnecessary a
                      remaining   claim, seeks retie(                                                                disposition of this case                            the
        like tixxon's                                Code :                                                                               Osxford's contention that
                           Business and Commerce Trade Name                                                          consideration of                                   wa  ;
        1629 of the Texas                            or                                                                                       finding that   "Oxxford"
                              Business Reputation                                                                     district court erred in
           § 1619 . Injury to
           or Mark



                                                                                                               Orig . U .S . Govt . Works
                                                               Cap, . k=J West 2004 No Claim to
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         not a distinctive mark . See, however, Scvrirr                          dilution and likelihood of confusion standard) . Our
         :Slcrchendi.ee ('u . v . .5'en " iiir Je" eh p Jioiccc . Inc
                                                                  .              resolution of this cast does no[ require us to answer
         737 F .Supp . 983 fS .D .Tex .1990) (applying Texas                     this question, and thus we merely note it in passing .
         dilution statute coup finds that existence of 226
         registered service marks beginning with "service"               [Iti][17][18] We consider first OxxFord's contention that the
        and fact that 37 jewelers nationwide use "service"              district court eRed by finding it claim barred by lathes .
         in their trade name does not render mark "Service               [FN 16] Under Texas law the two elements of lathes are "(1)
         Merchandise" weak) . Nor do we have cause to                   unreasonable delay by one having legal or equitable rights
        discuss the district coon's finding that Oxxford                 in asserting them ; and (2) a good faith change of position by
         failed to make a "threshold showing of some                    another to his detriment because of the delay ." Rugers v .
        mental association between the protected mark and               lZicune Enlerprues, Inc . . 712 S .W'1d r6, 80 (Tex .1439) .
        the alleged diluter ." Fndt n( the Loom . /n~~ . c .            [FN 17] See also Gulf, Colorado & Santa Fe Rv. Co . v.
         Girormrrl. 994 F .2d 1319 . 1303 19th Cur . 1993) . See        :L1cBr0e ", 159 Tcs . 442, ±22 5 .14' .-d 392, 500 (1958)
        also 3 McCarthy, § 24 :70 ; LL . Bean. Inc. ~c Drokc            (lathes results from "an unreasonable delay which has
        Publishers . Inc ., 81 1 F .2d zc; . 31 (1st Cir .)             worked injury to another person") (citations omitted) .
        (association between L .L .Bean catalogue and "L .L .           Because lathes is an equitable doctrine, courts typically
        Beam's Back-to- School Sex Catalogue" famished                  look at the interval between the time plaintiff obtained
        fortner's business reputation), ten. denied, 483                actual or constructive knowledge of the asserted invasion of
        U .S . 1013, 107 S .Ct . 1254, 97 L[d2d 753 (1987) ;            its rights and the time suit was filed in determining whether
        Dallas Cox" hars Cheerleaders, Inc . r. Poesq "cat              a plaintiffs delay in bringing suit was unreasonable . Armco
                                                                                                                                .
        Cinema, Lid. . 604 F .2d 200, 205 (2d Cir .1979)                Inc . v . .ArmroQurglnr .4larm Co ., 693 F .2d 1155~ 1161 (9th
        (movie "Debbie Does Dallas" found to lamish                     Cir.19R2) (construing Texas law) ; Cit) of Houston V . Muse.
        business      reputation          of     Dallas     Cowboy      789 S .W'?d 419, 422 (Tez .App .--Houston [lsi Dish .] 1990) .
        Cheerleaders) . Both L1 . Bean and Dallas Cowhoi .v
        Cheerleaders. Inc. involved a situation in which                         P\16 . Exxon claims that the material facts relevant
        the complaining party's "trademark is used without                       to lathes are undisputed and therefore review is
        authorization in a context which diminishes the                          more properly conducted under an abuse of
        positive association of the mark ." L .L . Bean . RI I                   discretion standard . National Assn of Gov't
        F .2d at 31 . There is no claim here that Exxon                          Emplqvees v . Ci(v Pub . S'cr1 . Hit., 40 F .3d 695 . 707
        makes any use of Oxx(ord's trademark . Moreover,                         (5th Cir .1994) . Given the summary judgment
        in these cases the offending party was attempting                        context below, we review the record de nova to
        to benefit---- albeit by way of parody----from the                       determine what facts material to the lathes issue
        plaintiffs mark and its public recognition . Nothing                     are not subject to genuine dispute ; based on those
        of the kind is asserted here .                                           facts, we review the district court's lathe's ruling
                                                                                 under an abuse of discretion standard . /J.
        Fn15 . Some courts have found a third manner in
        which "likelihood of dilution" may be proven                             F\)7 . Some Texas courts have also noted, albeit
        under certain state statutes, namely an injury to the                   usually in the context of lathes asserted within the
        value of the mark caused by actual or potential                         statutory limitations period, that as a general rule
        consumer confusion . See Jorduche E'nrciprires .                        lathes is inappropriate when the controversy is one
        Inc- . v. Hung Wvld, Lid. . K?iS F .2d 1482 . 1489 (10th                governed by a statute of limitations . See, e .g.,
        Cir.l93?) ; I. . L. Bean, /sic . r . DrrrAr /'uhli.iheo :r .            Stevens tt State Farm Fire & Cus . Co . . 929 S .W2d
        Inc ., 81 1 F .2d 26 . 30 (Ist (:it .), cer(. denied, 493               665, 672 (Tex .App .--Tzxarkana 1996) . Although
        U .S . 1013 . 107 S .Ct . 3--54 . ()7 L .Fd2d 753 (19'S7) .             not briefed by the parties, it seems probable that
        See also Deere & Cu ., 41 F .3d at 44 ("[b]ul the                       Texas' four year statute of limitations could apply
        blwring/[arnishmen[          dichotomy        does    not               in this case . Tzx . Civ . Prat . & Rzm .Code $ 16 .004 ;
        necessarily represent the full range of uses that can                   First Vat . Bank o/F,uglc Pass r. Levinc". 721
        dilute a mark under New York law") (citations                           S .W .2d 287 (TexJ43ti) . Texas courts have also
        omitted) . The Texas statute we consider, while it                      held, however, that in actions like that Oxxford
        expressly declares that consumer confusion is not a                     asserts here, seeking injunctive relief for ongoing
        prerequisite to the cause of action it creates, does                    harm to a trademark, the continuous tort doctrine
        not clearly indicate whether a cause of action                          halts the running of the statute of limitations .
        premised upon actual or potential consumer                              Tltrnttpsun r. 71minpron Air Conditioning &
        confusion alone falls under its aegis . See 3                           Heating.      .,
                                                                                              /m      334     S .1V2d i>5,     56p-561
        McCarthy, § 24 :70 (discussing differences between                      (Tzx .App .--TexarAana 1994) (common law trade




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         name infringement action not balled by statute of         [19] We funkier observe that even were Oxxford's claim not
         limitations) . In such a circumstance, consideration      barred by ]athes, it would plainly be an exercise in futility
         of the equitable )aches of doctrine is appropriate.       to remand the counterclaim, because Oxxford's pleadings do
         Id .                                                      not state a cause of action under Texas' dilution statute .
                                                                   [FN 19] Oxxford observes in its brief to this Court that it has
Oxxford claims that its cause of action did not accrue until it    long "enjoyed an outstanding reputation as a hand-made
suffered "reputauonal injury," in this case "at the moment         mess suit manufactures" and "in the American apparel
that Exxon's reputation became unsavory enough to affect           market, Oxxford has remained . . . the epitome of quality in
Oxxford." Oxxford, relying upon the affidavit of one of its        U .S .-made men's business clothing ." Oxxford's brief goes
corporate officers, contends that it; cause of action did not      on to state that "[t]he essence of Oxzford's counterclaim is
accrue until the Exxon Valdez verdict and attendant public         that . . . Exxon's destruction of the environment and other
outcry in late 1994 . Noting that it could not have . sued         corrupt business practices have lowered its esteem in the
Exxon under section 1624 prior to 1989, when the Texas             public's eye to the point that ids reputation, coupled with the
statute was enacted, Oxxford concludes that Exxon's )aches         association of its mark with Oxxford's, is tarnishing the
defense should fail because it cannot fix a date certain upon      reputation of Oxxford ." The Texas statute, however, affords
which Oxxford became aware of the existence of an                  a plaintiff a remedy only for those "acts" which threaten
actionable dilution claim .                                        dilution of a valid trademark . (FN20] We must perforce
                                                                   consider which "acts" give rise to a colorable dilution by
The record reflects, without dispute, assertions by Oxxford        tamishment claim under the Texas statute . See 3 McCarthy,
executives as early as 1972 that the mark "Exxon" could            §§ 24 :104-107 (discussing different modes of tamishment,
possibly influence the distinctiveness and corollary goodwill      including parody and competitive advertising, and listing
of their "Oxxford" mark . [F\ 181 In addition, Oxxford's final     cases ; Hormel Funds Corp . vc Jinn Hensnie Produclion .c,
pleadings relate actions of Exxon stretching back to 1973 in       /roc., 73 F . ±d 49' . 507 (-d Cir.1996) (same) ; Anheiercr-
an attempt to establish its tamishment cause of action,            Buveh . Inc . r . Ualducci Publications, 28 F3d 769, 777 (8th
declaring that "[a]s early as 1973, the Exxon name stood for       ( ir .1944) (same) ; Jorduche Enterprises, Inc ., 828 F .2d at
greed and dishonesty ." The bulk of Oxzford's allegations           1440 (same) .
dwell upon Exxon's activities in the late 1970s through the
Exxon Valdez incident in 1989, only reaching the 1994                       PN19 . It is well-established that this Court may
Valdez verdict by way of conclusion . Oxxford failed to                     affirm a summary judgment on any grounds
bring its claim in the six years preceding this lawsuit, after              supporting such a ruling which are manifest in the
the Texas cause of action became available . Moreover,                      record . Rc=o r . Children's Wnrfd Learning
 Illinois, where Oxxford was headquartered in 1972 and s411                 Cen(crc, Inc . . std F . ±d 758, 76- (5th Cir .1996) . This
 has its principal place of business . has had an anti-dilution             includes grounds which have been rejected or not
statute since 1956 . III . Slat . ch . 765, § 1035/I5 .                     addressed by the district court . /Wiser c . Gurrea. 67
                                                                            F :d 1166 (5(h Cir .1945) . Although Exxon did not
          FN I R . Exxon contends, and Oxxford does not                     file a motion to dismiss Oxxford's counterclaim
          dispute, that Oxxford Clothes XX, Inc ., is bound                 under Fed . R . Crv . Pros . 12(6)(6), the insufficiency
          by the knowledge of its predecessor-in-interest,                  of the anti-dilution claim was broached in Exxon's
          Oxford Clothes, Inc . See note 2, supra : G'in(rni                summary judgment pleadings, was explicitly
          h/ivphi~ Chevrolet Cu . . Inc . r. L7d(ed Stales . 766            renewed in its brief to this Court, and involves only
          F2d 349 . 451 00th Cir .1935) : Chnri~cl .4. .d . c .             a question of law .
          Dominique Franca, bir . . 56S F .Supp . 470 . 474
          (S .D .K .Y' .IYRi),aJJ'd, i36F2d8dG(-dCir .19R-1) .              F\-0 . The Texas statute, like the model bill, states
                                                                            that in addition to enjoining trademark dilution a
*1083 Under these uncontrovened face, the district court                    plaintiff may enjoin acts likely to injure business
did not abuse its discretion m concluding there had been an                 reputation . 1t is unclear whether this language
unreasonable delay in bringing suit, thus satisfying die first              creates a separate cause of action or merely
prong of Texas' lachzs inquiry . Regarding the second prong                 expresses the "tamishment" prong of the typical
of this test, the record is undisputed that Exxon, relying                  dilution cause of action . "While the statute speaks
upon the federal registration of its marks and its strict                   m terms of protecting against two distinct
policing of similar marks, accrued tremendous investment                    harms--injury to business reputation and dilution of
costs and resultant goodwill in the challenged marks while                  a mark's distinctive quality--the first harm has
Oxxford remained quiescent . Given this record, we affirm                   consistently been deemed subsumed into the
the ruling of the district coup that Oxrford's claim is baited              second ." PlusG(ular Molded Products v. Foict
by laches .                                                                 Llolor     Ca .    '13     F .Supp .  1329 .    1342




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                                1070)



                     (~~~~~~~~~~ I o8q) (citation omrt[ed),
                     grounds, 7o7 F .Supp . 1036                ~~ocated on other
                                                                                            marks, x-e nonetheless
                    ,411icd ;If.uiqrx~utce                 (C .U .C ;d .19911 . Sec                                 conclude that Oxxford's
                                                ('orp . r . ,dlG<~d                         because
                     Tra~/r) . /arc. . 42 N                            ;Ifr~~l;,~,li,al              they do not assert that                       allegations,
                                            .Y . =d 538 . 399 N .ti'"                      or unsavoriness                      same manner of deficiency
                    369 K .G2d I 162 (1y-).                              .J ._d 62S,                        inures to the products
                                                                                           Exxon's registered                         or services sold
                                                    Texas already recognizes                                    marks or that Exxon                       under
                    a common law
                                          cause of action for                              attempted to beneFt                              has infringed or
                   disparagement, the                                       business                             from O,exford's
                                                                                           cause of action                           mark s,
                   publication of disparaging
                                                 elements of which
                                                                                  are                      under'iex .l3us . ,S (~onin~,( .~,~tdo not state a
                                                       words, falsity, malice,                                                                  § 16 .29.
                   lack of
                              Privilege, and special damages                                         F~~~~~~ OxxFord retie, upon
                   Gulf Adontic Lik /n                               . Hrv/hur ~ .
                                            .c. Cu., 749 S,4y_'d ,t                                 courts have found             several cases in which
                                                                         ;2766                                         that uses of a similar
                   ITc~x1987) (citations omiued) .                                                                                            mark which
                                                          Obviously,       no such                  undermine the quality
                           of action is                                                                                            assurance of the plaintiffs
                                          asserted, or even sought to                                mark can result in
                  asserted . here .                                               be                                          tamishment . See 7'iffnnp Q cu.
                                                                                                     c . liosian Club. /iic . .
                                                                                                                                      2
          Oxxford seeks, through                                                                    In .Mass .19G4C Stein~~~uv ;1 F .Supp . 83C . 844
                                        the vehicle of section 1(, 119                              & P'rie "rids, 21p               & Sons c. Robert
          flimsy, attenuated                                             .    and a                                     ti .S .P.Q . 954, 964            Demnrs
                                  assertion that there                                              In Ti/Janyg (.' a                        (C .D .Cal .19311 .
          association between the marks                          is an ease of                                                 New York retail
         hold Exxon responsible                 "pxxford" and "Exxon,"                              name brought an                                store of that
                                       for all activities                         to                                       infringement and dilution
         the last twenty-five                                 and events within                    against a Boston                                        claim
                                 years falling under                                                                        Corporation which
                resulting in general                        its corporate aegis                    "Tiffany,, in the name
                                                                                                                                 of its restaurant
                                                                                                                                                     was using
            d
         corporation  . Such an              negative publicity                                    In S'te~iawne K Sons.                           and lou  g~.
                                                                           for the                                             the owners of the
        between the use of            approach ignores the                                         Steinway (piano)                                 prestigious
                                the apAepation                         distinction                                       mark
                                                                                                  the "Stein-way clip-on claimed that the maker of
        corporate            and its use as a "Exxon" as a device of                                                             beer handles" was
        +.e,, as an indicator                    trade name or trademark,                         their mark . Both                                    diluting
                                 of Origin and/or                                                                           of these cases
       goods and services. The                          quality of particular                     negative associations
                                                                                                                               which developed
                                                                                                                                                 concern the
                                     "acts" which                                                                                                   out of the
       Oxxford's claim, such                           comprise the basis of                     defendanPs use of
                                                                                                                          trademarks
                                     as the Exxon                                                the plaintitl'on                         similar to those of
       resulting jury verdict,                              Valdez spill and                                         products which were
                                  bear no relationship                                           ornate, sophisticated,                        markedly less
      reputation of the                                       to
                            products sold or services the quality ~~                                                         or elegant than
                                                                                                                                                the plaintiffs
      cover of Exxon's                                         provided under                    products . These
                            marks (or to the                                                                               cases,     which involve
      products sold or                            quality or reputation                                         use                                        the
                         services provided under                               of                defendants          If all a((egedlY similar mark
                                                         Oxxford's marks) .                       roducts I n commerce,                                 on iLs
                                                                                                                                     merely reiterate the
     "1084 What Oxxford                                                                         Proposition wz propound
                                seeks by its                                                                                     above.
     Exxon from using                           counterclaim is to cajole
                            Exxon's registered
     is, at least in must                           marks. Section 16 2(1                                      id not err in
                           respects, a garden                                         otuntercls m . ~~~~~                      dismissing OrxFord's
    and we have                                   variety dilution statute,
                     uncovered no authority,
    dilupon by tamishnoent                         even    suggesting that a
                                  claim brought under                                           FN -'=~ We need not reach
    which seeks to enjoin                                      such a statute                                                Exxon's contentions
                               the defendants use                                               Oxxford's asserted                                  that
    premised upon matters                                oJils mark can be                                            cause  of
                                 wholly wvelated                                               retroactive application          action necessitates
    use of the allegedly                                 lo  the   defendant's                                            of                           a
    use of or attempt
                            diluting mark os a                                                 contrary to the legislature's the anti-dilution statute
                            W benefit from trademark (or to any                                forbidden by the Texas        intent and is in any
    F'~~<11 Under Oxford's                        plaintiffs trademark) .                                                and federal               case
   established, valid, and           theory,   rights     in an otherwise                                                            constitutions .
   to nonconFusingly           registered trademark
                         reflect to the public              which continue                                      Conclusion
   of the goods in                                the origin and quality             The district court did
                      connection with which it                                                              not err by rejecting
  merely because the                                is used, may he lost            or by di,Missing
                          mark's owner has                                                              Oxxford's                 Ozxford's defenses
  reputation in respect to matters               incurred      a  bad public        are AFFIRMED .                  counterclaim, and those
  products . !n fine, the                wrelated    to the qual ;~y o f its                                                                   rulings
                             trademark owner has
                                                          a property right          109 F,3d 1070,
                      ~heonly so long as he                                                          42 U.S .P .Q .2d 1417
 unpopular                                           personally is not
                          general public . We
 unorthodox view of                                   reject this highly           Briefs and
                           trademark law . There(bre,                                          Other Related Documents ([ ;~~~ ; to lop)
 assume argue do that                                         even if we
                             paxfurd is a sufficiently
     Warrant protection under                                 strong mark
 "Exxon" and "Oxxford"                 the Texas statute                          " 1996 WL 334-5544
                                                                                  Exxon
                                are                               and that                                   . 17, 1996) 'It"') filler of Appellee
                                                                                          Corporation (Sep('Appellate
public to make                        similar enough to
                       some attenuated                           allow   the
between the products                          subliminal association              END OF
                            and services offered                                             DOCUMENT
                                                         under the two




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     EXHIBIT / ATTACHMENT

                             30
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                                                                  royalty fee which would have been payable by motel
                                                                  manager attributable to potential patrons of plaintiffs
 United States District Court, N. D. Texas, Dallas Division .     licensees seeing defendants' motel with [he infringing and
                                                                  unfair use of plaintiffs marks, and royalty fees set in
                   HOLIDAY INNS, INC.                             defendants' license agreement were nut measure of damages
                    v.                                            since they had lost their license . Lanham Trade-Mark Act, §
 AIRPORT HOLIDAY CORPORATION and Tex-Mex Inn                      35, Ii l ; .S .CA . g I I 17 .
                  Operating Company, Inc .
                                                                  131 Trade Regulation X683
                  Civ. A. No . 3-76-0778-C .                      3F3k6R3 Most Cited Cases

                         July 23, 1980 .                          Motel owner and manager, which infringed upon and
                                                                  unfairly used motel corporation's marks after the
Motel corporation brought trademark infringement action           corporation terminated manager as licensee, ware liable for
against owner and manager of motel who, after manager             treble damages assessed m corporation's trademark
was terminated as licensee of plaintiff, continued to use         infringement suit where they did not undertake to use the
plaintiffs marks or similar marks. After defendants were          marks innocently, but used such marks in flagrant disregard
found liable for infringement and unfair competition, the         of corporation's rights . Lanham Trade-Mark Act, § 35, IS
District Court, William M. Taylor, 1r., J., held that : (I)       U.S .C ..A . $ 11 17 .
plaintiff was entitled to percentage of defendants' profits       *1026 E. Eldridge Goins, Jr ., Goins & Underkofler, Dallas,
attributable to their infringement and unfair competition ; (2)   Tex., James L. Kurtz, Washington, D. C ., for plaintiff.
plaintiff was entitled to percentage of royalty fee which
would have been payable by manager attributable to                C. Terry Hagin, Blankenship & Putts, Dallas, Tex., for
percentage of room sales to potential patrons of plaintiffs       defendants .
licensees seeing defendants' motel with the infringing and
unfair use of plaintiffs marks; and (3) both profits and                          MEMORANDUM OPINION
damages awarded to plaintiff were to be trebled due to
defendants' flagrant and willful conduct .                        WILLIAM M . TAYLOR, Jr ., District Judge.

Judgment accordingly .                                            This action was brought for trademark infringement under
                                                                  the Lanham Act, 15 U .S .C . s 1051 et seq . This Court has
                       West Headnotes                             jurisdiction of this controversy and these parties because of
                                                                  29 U.S .C . s 1335 . Defendants were found liable to Plaintiff
I 1 I Trade Regulation C=673                                      for infringement and unfair competition in an order granting
3R=k67) Most Cited Cast,                                          a partial summary judgment on December 19, 1978 . That
                                                                  order also enjoined Defendants from infringing Plaintiffs
In action brought by motel corporation against owner and          servicemarks and from competing unfairly with Plaintiff.
manager of a motel for trademark infringement arising from        That injunction will, of course, be continued upon entry of
defendants' use of plaintiffs service- marked sign in             final judgment .
unaltered form or with a few insignificant changes and use
of a similar trade name after plaintiff terminated manager as     The only issues remaining are those arising under Section
a licensee, plaintiff was entitled to percentage of defendants'   35 of the Lanham Act, I~ U .SC . s I11Z[FNI] Four
profits attributable to their infringement and unfair             principal questions as to monetary recovery must be
competition . C .anham Trade-Mark Act, § 35, 15 U .S .CA .        answered at the present time . They are:
 1117 .
                                                                           FN I . Section 35 provides :
121 Trade Regulation X680 .1                                               "When a violation of any right of the registrant of a
3R2k6RUJ Most Cited Cases                                                  mark registered in the Patent and Trademark Office
 (Formerly 382k680)                                                        shall have been established in any civil action
                                                                           arising under this Chapter, the plaintiff shall be
in action brought by motel corporation against owner and                   entitled, subject to the provisions of sections I I I I
manager of a motel for trademark infringement arising from                 and 1114 of this title and to the principles of
defendants' use of plaintiffs service- marked sign in                      equity, to recover (I) defendant's profits, (2) any
unaltered forth or with a few insignificant changes and use                damages sustained by the plaintiff, and (3) the
of a similar trade name after plaintiff terminated manager as              costs of the action . The court shall assess such
a licensee, plaintiff was entitled to percentage of total                  profits and damages or cause the same [o be




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                                      assessed under its direc4o
                                     plaintiff shall             n. In assessing
                                                     be                          proFts the
                                     on1Y: defendant required to prove                                                      Te,e_M,x
                                     deductio n claimed mush prove        defendant,,, sales                                           Provided
                                                                   all eleme                                                      . (A)11 n~h that Upon terminal
                                                          .
                                                          In                 n6 of     cost or
                                    may     enter            assessing damages                                                                ~S of Licensee     on
                                                                                                                              ter,n     ;nate, and
                                                     judgment,                      the coin
                                    °~2°mstances of                                                                          cease to                  .icensee y h ;~~~hereunde+' shall 11 ereu
                                                       the c         a°°°~ding      to                                                                                                            o
                                   art~ou    ound                                          the
                                                                                                                            indir                            serlism xoor~n~ ey'ue!Vd~rthereafter
                                  three dme` ~ site as ctual e, fm~aes, sum above the                                               directly I the
                                                                       8                                                                            said y tem
                                                             . ff~athe       not                                            without
                                                                                                                              'ount             ibythe  aS                                 ecNYPor
                                       amount of she                                        8                                               lmining                           Pans thereof ;
                                                                       court shall                                          Licensee steal!                 generality Of ~,e
                                  eider inadequate                                 find that                                                      cease                                        and
                                                                  ry based on                                              the words                     to                        forego;ns_
                                 discretion enter or excessive , the             P rofi Cs is                                                 "Holi ' Inn"S and shall withdraw (~o              the
                                                    augment for such coup may in ids                                       similar                              o
                                 shall find ~o                                                                                         thereto or                           ~ any combing inn of use ,
                                                  bejjust, accor          sum as th e                                      trade marks                        suggestive Thereof
                                of tie                          ding to the           court                                                     service ,arks,                                 the             Words
                                           case . such                       circumstances                                slogans, designs-dw                                color schemes trade games,
                                circumstances              sum in eith
                                                                        er  of the above                                  wise sim~~a~                                                                 and palte
                                not a penalty shall constitute                                                                                    h,
                                                                                                                                                         sign ." emblems, ofthe                                   ms,
                                                 . The
                                                         court        compensation end                                   Licensee s hall hereto ~~ s .gestive                                  System or m
                                                                                                                                                                                                                  any
                                         reasonable                                                                                                 w~thd,                 uY                thereof.
                               parry., ,                anomey ~eesePtiona l cases may                                   furnish            advert                     pfront use, all                      and the
                                                                           ~he Prevailing                               other articles-                             matter, station signs, furniture,
                                                                                                                                             which dis Play                                e
               (1) What Profits of                                                                                      trade names,                                      the wards "ry~ ro~~ or any
                                                                                                                                            trade Marks                                     Holida
                                         Defendant s is                                                                patterns,                                   . service                                 n", th
                                                                   P1a1~~iffe~titled                                                       bans, desi~,s                        marks, color
               Z) What damages                                                            to?                                                                              siSns  .                    schemes or
                                                                                                                                   or
                                       has plaim
                                                                S~~ered?                                              or suggestiveidentified with the Sy"                            Or emble m
                                                                                                                                                                                                            of the
             (3) Shoul                                                                                                                     t1,~reof,aand                       s~em, or si
                               those ~                                                                               termination,                                   Licensee                     milar thereto,
                                                    ;t}'proF                                                                             to cease                                 agrees, I pin
            should teed                                                                                                                                     and rehain ton1                              any such
                           lama
                                            muultbPl ied? ~d
                                                                   cased or J                                       ~~ < <° the'pe blic in an ~                                          hold
                                                                                    eaease d and                          ~ a L nsee Or '~ Way, as ~                                                    License
           () Is this a n exceptional ~ .                                                                                                                                     Member of
                                                  ~                                                                                   Gcen
                                              ase .                                                                thos e of the                 see's   ~Pinnsorth ere .  Holiday Inn"Sand o
           Uefen loot                                                                                             as    to avo;d all  Licensor,            and fro m ~he~ s° clearly
                          Airport Holiday                                                                                                                                   those u" ithin
                                                 ~o                                                                                      Possibility of
                                at 78pp                       ~~~~~on       is                                    Licensee       agrees that                          any confusion the systemm,
          Defendant
                  dint                       Lem                                the Owner                                                                                                    b
                                            [he mon~ Avenue, Dallas,                         ~f a                 InluncGve and                           the                                  ~~ «e Public,
        ("Tex-Mex" Tex-Mex t°f'                               pera~in K Com                Texas .          Part       cosy                                    r     'censor shall
                                                                                                                                                                                Sh~~~      be    eniided to
                              operates                                                                                    sixth of this a ... relic fbr
                                                                                                           al l                          ecorporationquilab~e Cut, nd                       ration
                                                                     161 A                                                             expenses                             f.icensee
          ~Mez was a
                                lic~s~~hof'p 956'u°fil Fb~ ~, 48Holiday                         y          fees , incurred b                                  including reason,                         to pay
                   Tex-Mex to                     a intiff. This                           ~J75,          ~~s          agreeme          Y   Lanensor            in
                                      use among                                                                                    nt                                enforcing
       servicemarks for
                                Pla ;ntit}'S                    ~U, e~ ~~nlicense entitled               result of licen, or an y other part of                                      this pana~~°mey~s
                                                                                                                                                                                                     Sixth of
       S~Sn which is                         name,                             85, Plaintiffs            [his                              's violation of                    this agreement
                          used at the                         Holiday ~M , and                                        Pan Sixth, Ore                                    or                             , as a
                                          14 pp motels                                it Great                                            any other part,~~fthis,fault                                        ,
      On Feb                                                      in   this                                                                                                             in
                                                                                                                                                                                ;,Frpemim    Performing
                                                                            country,                  Plaintiff                                                                                    .
      licensee. q 2~' ~975 " plaintiff, terTn                                                                              requested in
                     Act  that
                          least                                   ;n                                        ia«mu
                                                                                                            Mating           the                      its
      Hotel until                date
                                  the, ~tendants                  mated      Tex-Mex                                              license                      February
                                                                                                     ~ndic ia
     royalties ro
                      at             z date of                  used t4e
                                                                             name         as a                          Pertaining to agreement that Tex -Mex 5. lever
                                                   trial                             Holiday         Defendants                                    Pl''~ i ntiFF                            remove all
                                                                   defendants Paid o~                                        did                                       and its
     Plaintiffs serv,cenr~~ a ~~~ the to mination                                                   Marsh                                  and Plaintiff",,,                           servic~marks .
                            marks .                                        (or the use                               nt's                                                      another letter
                                                                                                    ~Mada26" '976           non ~~me°ding
    Defendar,t~ Used the                                                                           on       y                            P iance, the same,                                              In
                                                                                                                                                           pja ;ntiff ~~ed             he     result     of
    forth until                  servicemarked                                                                                                                                    this civil
                   June 5 1975 .                              Great Sign in                                                                                                                       action
   were made th en                      A few changes                             unaltered        Defendants
   Sign was                                                           in its ap~ey~`e             replaced afterhad the Great Sign
                  finally removed
                            ,YU          ~~~n   not
                                                              significant. The                                              the license                          repaired and
                                                                                                 that it wa                                   was teM,i                                 light bulbs
                                                 Defendants' premises onGreat                                        s used, and                                 hated . This                         Ibs
                                                                                                 entered iCS                            used day and                                clearly shows
                                                                                                                                                                     night.
  Defendants  ','979
                  also                                                                          covered With injunction,   ~ ~~~g~           Defendant, had after this Court
 aside the motel used a sign on a pole                                                                                               Plastic bag at the                      the Great
                         which had                           fn~ p       stre et                                                                                        a PProximate             S ;gn
                                        on its face Jth                                         $1,~0.
 I~1'  ~~  a  script  firm    idenUcal to that                       Words                                                                                                                   cosh     of
aservicemarA
                   owned byp~~                      which is covered dray
                                                    w
                                                                                    b Y a
                                                                                                     Mr . Randuk,
                                                                                                                               7ex-Mex's genet
 PP~oximately Iq                       ;nNf1;                                                  since
                        ,npnthsafterFebn, arv                  sign                                    February 2R,                    ,                      al manager
                                                 h                    9~55 used for           Operation o( the                  1975 testified that when                        of the
As would be                                                                                                                  motel    i~                                                      note]
                 expecked .                                                                   testified                                                                     hr took
                                the                                                                       that in order to ~^n a failing bus                                            over the
                                     agreement                                                crossed                                                                      iness.
                                                          between Plaintiff                               L                             g in businer,~               fiarther
                                                                                                  doors in order            pvenue to                        immediately he
                                                                                                                          to get       Love  pield q,rpon
                                                                                                                                 Weekly business
                                                                                                                                                       . H e wasand beat on
                                                                                                                                                                              successful

                                                   °pr~ ~`' West 2004
                                                                               No Claim to
                                                                                                   Orig . U.g_ Govt, Works
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and managed to bring in sufficient revenue to keep the doors        [;] The third question set out above must be answered yes.
open, and, after a period of time, to make a profit . He            The profits should be increased and the damages should be
testified that 70°.'0 of the *1028 business of the motel was        multiplied . Defendants did not undertake to use Plaintiffs
weekly and only 30% was transient business . This weekly            narks innocently . They knew that Plaintiff had marks fur
trade was due to Mr . Randuk's personal efforts to obtain           the Great Sign, the name Holiday Inn and the script
such business . It was not due to any potential patron of a         rendering of Holiday Inn that appeared on the subsidiary
Holiday Inn seeing either of the two signs or reading the           sign . Indeed, the subsidiary sign bore upon ids face the
name of the motel, Holiday Hotel . Therefore, only 30% of           symbol (R) indicating the registration of the Holiday Inn
Defendants' profits are attributable to their infringement and      mark . This is flagrant disregard of the rights of Plaintiff.
unfair competition .                                                Full knowledge of the proprietary nature of a mark and the
                                                                    infringement and misuse of the mark is the height of
The parties have stipulated that the total profits of the motel     flagrancy and willful conduct for which a maximum award
for the period of March 1, 1975 to January 1, 1979, were            should be made . Therefore, both the profits ($11,464 .50)
$38,215. Thirty per cent of $38,215 is 5 11,464 .50, the            and damages ($20,300 .50) will be trebled for a total award
profits obtained due to the infringement and unfair                 in the amount of $96,795 .00.
competition .
                                                                    Beyond this is the provision of the 1956 licensing
[2] The Fifth Circuit `tiled in Boston Professional Hockey          agreement in which Tex-Mex agreed to stop using the
Assn . v. Dallas Cap Mfg.,[FN2f that royalties normally             marks upon the termination of the agreement. The violation
received for the use of a mark are the proper measure of            of this agreement over a substantial period of time (that only
damages for misuse of those marks . Plaintiff charges what it       ended upon order of this Court) is the exceptional
terms a royalty fee and an advertising fee for the use of its       circumstances for which Congress intended attorneys fees to
marks. From March I, 1975 to December 31, 1977, the                 be awarded. Plaintiff will be given the opportunity to offer
royalty fee was fifteen cents per room per night or twee per        proper proof of its attorneys' fees and judgment will then be
cent of room sales, whichever was higher . In 1978, the             entered accordingly .
royalty fee was four per cent . The advertising fee during the
period from March I, 1975 to December 31, 1978, was one             493 F.Supp. 1025, 212 U .S .P .Q . 208
percent of room sales. Defendants' room sales were :
                                                                    END OF DOCUMENT
          FN2 . 597 F .2d 71 (5th Cir . 1979) .

 3/1/75    to   12/31/75         $219,199
 1/1/76    to   12/31/76          325,109
 1/1/77    to   12/31/77          409,600
 111/76    to   12/31/78          547,551



The total royalty fee payable by Tex-Mex for these years
would have been $54,320. The advertising fee would have
been $15,015.

 Defendants contend that the royalty fee set in their license
 agreement should be the measure of damages. But they had
 lost their license and should respond in damages at the
 going rate in the market place. So the $54,320 is figured at
 the rate of four per cent for the year 1978, not the three per
 cent specified in their termination contract .

 But Plaintiff is not entitled to the entire $69,335 ($54,320
 flop $15,015) as damages. Seventy per cent of room sales
 were due to Mr. Randuk's efforts and only thirty per cent
 due to potential patrons of Plaintiffs licensees seeing
 Defendants' motel with the infringing and unfair use of
 Plaintiffs marks. Therefore Plaintiffs damages are thirty per
 cent of $69,335 or $20,800.50.




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                              ATTACHMENT


                     (To be scanned in place of tab)
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                                                                trademark infringement case, they would be bound by the
                                                                contempt judgment .
              United States Court of Appeals,
                     Eleventh Circuit.                          141 Contempt a~20
                                                                93k-0 Most Cited Case,
HOWARD JOHNSON COMPANY, INC., Howard Johnson
        Franchise Systems, Inc., Howard                         Focus of court's inquiry in civil contempt proceeding is not
 Johnson Restaurant Franchise, Inc ., PlaintifFs-Appellees,     on the subjective beliefs or intent of the alleged contemnors
                           v.                                   in complying with the coon order, but whether in fact their
  Amir KHIMANI, Maralak, Ltd ., Torbay Holding, Inc .,          conduct complied with the order at issue.
                  Defendants-Appellants .
                                                                [51 Contempt C~20
                       No . 87-3874.                            93k20 Must Cited Case

                       Jan. 29, 1990 .                          Conduct that evinces substantial but not complete
                                                                compliance with coon order may be excused in contempt
Former franchisees appealed from order of the United States     proceeding if it was made as part of a good-faith effort at
District Court for the Middle District of Florida, No .         compliance .
86-1079-CIV-T-17(c), Elizabeth A . Kovachevich, J ., which
held them in contempt for violation of preliminary              [6/ Trade Regulation C=655
injunction against trademark infringement . The Court of        3R2k655 Most Cited Cases
Appeals, Kravitch, Circuit Judge, held that : (1) evidence      Finding that former franchisees were in violation of
sustained finding of contempt, and (2) court properly used      preliminary injunction against use of colorable imitation of
Lanham Act as a guide in structuring civil contempt             franchisor's trademark or otherwise diluting the trade name
sanction .                                                      or service marks was supported by photographic evidence of
                                                                new signs and logo used by franchisees .
Affirmed .
                                                                171 Trade Regulation 6:..655
                     West Headnotes                             3F2k655 Most Cited Cases
ICI Contempt X66(1)
93k66(1) Most Cited Casey                                       Finding that former franchisees had not made substantial
                                                                good-faith effort at compliance with temporary injunction
Court reviewing contempt citation could rely on deposition      against use of colorable imitation trademark, and thus could
testimony of one witness to support district court's finding    be held in contempt, was supported by evidence that they
of contempt, even though that testimony was not filed until     engaged in the process of compliance slowly and
several months after the contempt order, where it was filed     grudgingly .
in response to motion to amend civil contempt order and the
court did not issue its final judgment of contempt until a      181 Trade Regulation C;*654.1
later time .                                                    3R2k654.1 Most Cited Cases
                                                                 (Formerly 382k654)
121 Contempt X566(2)
n3k66(2) Most Cited Cases                                       Evidence demonstrated that former franchisees were
                                                                responsible for violation of preliminary injunction against
Finding of civil contempt is generally not reviewable on        use of colorable imitations of franchisor's trademark, even
interlocutory appeal ; if the contempt penalties imposed are    though the property had been subleased to another.
conditional or subject to modification, they are not            (91 Trade Regulation C=657
reviewable on appeal .                                          332ktiS7 Must Cited Cases

131 Trade Regulation X656                                       District court properly used Lanham Act to guide its
382k656 Most Cited Cases                                        structuring of civil contempt sanction for violation of
                                                                preliminary injunction against former franchisees' use of
Court could review civil contempt order which incorporated      colorable imitations of franchisor's trademarks . Lanham
previous orders for contempt, sanctions, and fees where         Trade-Mark Act, §§ I et seq ., 35, as amended, 1 5 li .S .C .A .
there were no contingencies or conditions which would           jj 101 et seq ., 1 17 .
permit the contemnors to modify or purge themselves of the
sanctions and, regardless of the outcome of the underlying      I 10/ Trade Regulation X657




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992 F 2d 1512
              2d 1808
 13 US P .Q
                F .2d 1512)                                                                                                                    (referred             collectively
 (Cite as : A92                                                                                                                                                to
                                                                                                                                                                    finding of
                                                                                                                                                                                civil
                                                                                                                      Amir Khim'°'                        courts
                                                                                                  shareholder                       the . dist~et sanctions                trademark
                                                                                                                                                                     in a
                                                                                                                   , appall                       of
                                                                                                                                in'p°'it~°n
                       Cited Ca "e,                                                suffered          contempt and                     Drought       by                Systems, In,_
                                                                                                                                                                                             and
  1921,651 N1"-'                                                                                                            action
                                                    .ne ac~~l damages                                infringzn'ent                    JoVv~son
                                                                                                                                                     Franchise
                                                                                                                                                                         Inc .  (referred        to
                                                                                                                                                                                                 t°
                                          de[ertm                        .ees Contempt
             Toper    for court to uf                        franchisees                              l.o ., lnc ., H°~~~rdKestauran~ Franchises, we conclude that
   It was P                        result          former of colorable im~~tion                       }coward 7oh°s°n                        Johnson) .
                                                                                                                                                            Because               holding the
   by franch isoc as tile                  against     use                      amomlt      °f                             ~    E{~~vaed                  its   discretion in
                ,ary    injunction                  calculating       the                            collectively
                                                                                                                                   did    not   abuse                          sanctions,        W~
    of pTelt~m            trademarks by                      would        have received                the   d~SM°~ °°~~~               concemp~        and imposing
    o f ~nchisor's               wh~~h
                                             franchiser
                                                         fcanchisees were
                                                                                       diluting
                                                                                                       defendants in
                                                                                                                                civil
     royalty Payments that the former         fog                             if franchisees
     during the
                    period                             its trademark                                    aff~~
                    colorable       imitation of                                                                                                  FACTS
      o~ using a                 franchise     .                                                                                                                              Johnson entered
                    genuine                                                                                                                                and Howardoperation of three
      had had a                                                                                                                              Macalak
                                                                                                                                   1984,
                       Regulation ¬.̀-~'S1                                                               on February 6,                              respecting therestaur~~ in St .
                 ade                                                                                                                agreement
       X11) Tr         ost Cited L        SSC5                                                            into    a   franchise                       lodges and                                    the
       J82kG51 M                                                                     franchisees                           Johnson motor Melbourne, FWnd2- After the
                                                                               °f                          Howaed                                                                  6,     1986,
                                                  to award Profit' of Preliminary                                                L~coa, and                    on FebrusrY properties
                    court had power                     in contempt                  franchisors
                                                                                                           Pecersburg,
                                                                                                                                    die    a~lezment                     these
        District                               were                                                                            of                       hold out
                              that they colorable imifatio~ of                                              expiration
                                                                                                                                 contim~ed to                                     July 25 " ~9g6'
        during Period                use    of  colora              sanction       .                        defendants                       Johnson       franchises     . nn infringement
                  " n   against                           tempt
         injuncuo                       the civil eon                                                        authorized
                                                                                                                                Howud
                                                                                                                                                   the present
                                                                                                                                                                      trademark
                                                                                                                                                                                   halt Maralak's
         trademark ark as Pan °f                                                                             l~~N,~rd 7ohnso~ file d                             injunction to                 Howard
                          Reg     ulatia~ ~~5                                                                 suit    and s°°Rh~ a P~e~~min~     4,   1936        ~e court g~nted          from    using
          X121 T rade            Cited     C a~cs                                                             condi~et     .  On August enjoined the defends~ts
          3ft_k~( 57 Me"                                                                                                                    and                                  Or
                                                                              awarding Profits                 Johnson s motion       ,HOWARD
                                                                                                                                                            JOHNSON"                     stripe design
                                    abuse       its  cliqUettor                    of  contempt     of                   words                                   Johnson    quality      "HOWdesign AR
                                                                     period                          Of        the
                                                                                                               JOHNSON'S ' or the Howard roof and blue cupola
           Co        did
                             former       franchisees during colorable imitation                                                                                                            these e   ~~
                        by                                       o f                     ennctu^ ent                                               orange
           ~L"ce~'ved                                                                                                         mark or the
           court                   unction against  most us,
                                                          theory      of      tin) ust                          service
                                                                                                                                                                      imitations
                                                                                                                                                                                        ~f
           preliminary I °~ d emark on                                        the Franchiser
                                                                                                     by                       mark, o~ °~°yregistered ~°~°Ta~~eservicemarks~ i° connection
                                                                                                                                                                                            services of
                               ITa                                                                               service and
            fra nchisoTS             frnnch   +sees    had injured                      and  enriched                              federally-                                 sale o f
                                                              compensation                                       names
            wherez formertrademark wt hoot                              and good
                                                                                          wi1~ of the                                 ~atiun, promotion,       Cocoa, and Mzlboume,                 Florida
             imhating its                                                                                         with the TV Petersburg,                                                the defendants
                                                   the rePoration                                                                    5t -                                             .
             themselves by
                                     ~PPin~                                                                       defendants                    restaurants . Aad~i~°nally      advertising or Sales
                            .                                                                                      mote       lodges and              engaging        in any a                       serve
              franchisor                                                                                                                      from                         disparaged these
                                                                                                                   were prohibited any N'~Y debuted or                           couR's       pr  eliminary
                                    Coins ~~~4                                                                      practices that in                                 district                      Howard
                13 ~ Federal                                                                                                           ~~ade names~ The                            this couR
                               p~~;t Cited Cuses                                                      trial         marks        and                               affirmed   by
                                                                                                                                                                                                  Cu .l~)Ri)
                 708kh1q                                                      relief before tile                                     was suhsequentlyR19 F .ld { IdS ('It"
                                                                       o  t~                                         injunction
                                             t~ raise a theory from argu~nS ~e thzory                                                      , . Klurnuni
                                                                                                                                                             .
                Failure of a Party
               1des                                     that Party                                                   J~~Frnyon Cn .
                coon generally
                                          preclu                                               L . Allen,             (mem .) .                                                                dilatory and
                                                                   DopVelt,                                                                                         Compliance were defendants'
                               .                                                                                                                               at
                 onapPtal                    Evens. A~~a F~ . defendants-appellants,                                                             efforts
                                                                                                                                                                  August l7, 1486
                                                                                                                                                                                            tile
                                                                                                                                                                                                      public as
                 +1c13 ll~vid 1_Orlando, Fla . , for                                                                   The defendants'
                                                                                                                                       At   least through themselves out to the
                 Neat J .    Blaher     .                                                        .                     grudging                       to hold                                exteno[ sign,
                                                                    plaintit~fs-apPellees                               facilities continued                            All     of the                      a~~d
                                                               for
                                 Jakes     .Tampa~ Fla.,                                             Middy              Howard         Johns          franchises-
                                                                                                                                                                 Howard
                                                                                                                                                                                   son motor lodges
                                                                                                                                                                                                     distinctive
                   Frank R .                                                               for the                                            fa°~<i~~e' ~+s                        had the
                                                         Smites   D~s«~~t Ceun                                           identified the                     buildings esch                      . The lobbies
                                                                                                                                                                                                                 .
                                                J~ited                                                                                              tile
                               from      the l                                                                           restaurants and                          roof and blue cupola with articles
                    Appeal           Florida.                                                                                                       orange                      ail reNlete
                    pisnict of                                                             HEDIDF~R~UN                   Howard Jolinsoi~                     rooms were                                      'he
                                                                                 lodge,                                                      and    g~~st                      logo   . Additionally, their
                                               R~~.~Il CH, Circuit                                                        restaurants,
                                                                                                                                                 Howard           Johnson                   w    refer   to
                     . t 5~4 Before K                       Judges-                                                       bearing the                      lo~auons
                                                                                                                                                                          continued                       Patrons .
                           HI(.1    .. Senior Circuit                                              .  CouA      of         personnel        at these                        when      spcakins lo
                                                                                                                                                                                                         eve  of a
                     and                                                          . ~'tf the G .S                                                              Johnson                               the
                                                           i~1  1(b)    Rules                                              facilities                             was  nor   achieve d until
                                    Fn~. Se~ Rule :le~znili (~ireu                                                         Substantial
                                                                                                                                              compf~ance                 heating.
                                                 s for      F                                                                                            ~ contempt
                                      Appeal           tile                                                                  September 5 . 1996,
                                                                                                                             Sep                                                                     contempt on
                                                                                                                                                                                 motion for
                                                                                                                                                                    a second                            the plastic
                                                                                                                             Howard        Johnson filed                 it  discovered that
                                              Circuit    :
                                                         Judge                                                                                       1986 . after
                                                                                                           wholly            November 6,
                        V:RAViTCH,                                                    (Torbay), its
                                                                             Inc         and its principal
                                              Torbay Holding, l.td..
                         Defendants                       Mar~lak,
                         owned subsidiary

                                                                                                                                      .S      . Works
                                                                                                              to               Orig- U . Govt
                                                                               CoPr,    0, West 2004 No claim
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    coverings used by the defendants to block out the
    the Melbourne and Cocoa                               signs at        to the public as "H .1 . Inns .
                               locations had blown off and had
    not been replaced . The plaintiffs
                                         also noticed that two            The trial coup found that the defendants'
   billboards advertising the Cocoa                                                                                    operation of the
                                       facility sill regained the         Melbourne and Cocoa facilities under
   orange "roofline" logo of Howard                                                                               the name "H .1 . Inns"
                                        Johnson. The trial court          and the "H.1 . Inns" signs constituted
   denied the plaintiffs motion for                                                                                 a violation of the
                                            contempt aRer the            court's preliminary injunction . It
   defendants removed the signs and obscured                                                                   therefore granted the
   logo from the billboards                        the °rootline"        plaintiffs' third motion for civil
                              three days prior to the second                                                    contempt and, in a
   contempt hearing .                                                    subsequent hearing, imposed
                                                                                                        compensatory damages, costs,
                                                                         and attorneys' fees in the amount
                                                                                                                 of $234,475 .15 . On
   [1] The third motion for contempt,                                    appeal, the defendants challenge both
                                           which is the subject of                                                  the district courPs
   this appeal, was filed by Howard                                      finding of contempt anti the amount of
                                           Johnson on April ZI,                                                 sanctions .
    1987, after discovering that the
                                          defendants had begun
   operating their Cocoa and Melbourne                                                            JURISDICTION
                                                 motor lodges and
   restaurants under the name "H .1 . Inns
                                            ." The trial court had       As a preliminary matter, the appellees
   testimony from Azim Visram, the general                                                                         assert that this court
                                                    manager of the       lacks jurisdiction to hear Maralak's
   Cocoa and Melbourne facilities,                                                                                appeal because it is
                                        concerning a November            allegedly based upon a non- final
   1986 meeting between Visram, Khimani,                                                                    interlocutory order of civil
                                                and Khimanis son         contempt . Appellees rely on the
  Arifl; who was president of                                                                              Supreme Court's holding in
                                      defendant " 1515 Torbay           Fox v. Capital Co ., "that except
  Holding . [FN(] Visram testified that at                                                                     in connection with an
                                             this meeting, ";t was      appeal from a final judgment or
  decided that we would get a name that                                                                   decree, a party to a suit may
                                                would be close to       not review upon appeal an order fining
  Howard Johnson's name, yet it would                                                                              or imprisoning him
                                             not infringe on their      for the commission of a civil contempt
  name . .. ." Visram later affirmed that "the                                                                   ." 299 U .S . 105, 107 .
                                                idea was to get as      57 S .Ct . 57, SR, 81 L .Ed (i7 (1936) ;
  close to Howard Johnson as you                                                                                 see Dnyle v . London
                                      could without infringing ."       Guarantee & Accident Co ., 2(W U .S .
  Visram testified that during or shortly after                                                                599, 27 S .Ct . 311314 .
                                                  this meeting, the     51 L .Ed . (41 (1407) ; Rnsenjeldt
  Khimanis, with the final approval of                                                                             r . Comprehensive
                                                  defendant Amir        Accounting Service Corp., Sld
  Khimani, decided to rename the facilities                                                                F .2d 607, 613 n . 9 (7th
                                               "NJ. Inns ."             CifJ 975),
            Fn I . The defendants erroneously
                                                 contend that this      [2] Appellees are correct that
            coon cannot rely on the deposition                                                          a finding of civil contempt is
                                                     testimony of       generally not reviewable on
            Visram to support the district court's                                                     interlocutory appeal Fat, 299
                                                     grant of civil     U.S . at 107, 57 S.CL a! SR ; Cnnihs v.
            contempt because that testimony                                                                      Rvan'.s Can( Co . . 785
                                                 was not filed in      F .2d 970, 976 (11 (h Cir.), cerl.
            the district court until October                                                               denied, 479 U.S . 853 . 107
                                               20, 1987, several       SCC 187, 93 L_Ed .2d 120 ()9gF) .
           months after the May 14, 1987,                                                                         However, there are
                                                  civil contempt       several exceptions to this principle .
           order. Defendants neglect                                                                            Most significant is the
                                          10 mention that this         distinction this court has drawn
           deposition was filed by plaintiffs in response
                                                            to the        between orders imposing a fine or
           defendants' motion to amend the court's                                                               penalty for contempt
                                                             civil       which may be avoided by the party purging
           contempt order. The court rejected the                                                                        himself of the
                                                      defendants'        contempt by complying with the order, and
           motion to strike the testimony as                                                                            those in which
                                               irrelevant and did        a fine or penalty is imposed
          not issue a final judgment of                                                                within a time certain that may
                                            civil contempt until         not be avoided by some other
          November 27, 1987-_t7,e same day it                                                               form of compliance . The
                                                      denied the         former is not appealable in an
          defendants'       motion     for                                                                   interlocutory action ; the
                                               rehearing      and        latter may be taken on appeal
          reconsideration of the sanction order                                                          immediately .
                                                      and over a
          month after the deposition had
                                              been filed in the       Combs, 785 F .2d al 9 ;6 : Gruntmund
          district court.                                                                                     Cu . v. District '0 .
                                                                      United A4ine Workers ul Amcricn, 598 F
                                                                                                                .2d 381 . ;33 (St},
                                                                      CirJ979) . [FN2] If the contempt
 Pursuant to Amir Khimuni's decision                                                                      penalties imposed are
                                                  to rename the       conditions! or subject to modification,
 facilities, "H.). Inns" suss painted in                                                                       then they are not
                                         white lettering against a    reviewable on appeal . " 1516Comhs .
 dark blue background on the former                                                                           ?85 F .2d at 976 :
                                           Howard Johnson sign        Dnmimand, 598 F .2d at 3Kd .
at the Cocoa lodge. Previously, the sign
                                                   had displayed
"HOWARD JOHNSON'S" in white
                                          letters on a light blue              F`2 . See Buiuurr v. CilY
background . The name "H .J . Inns"                                                                           of Piclmd, 661 F .2d
                                          was also placed with                 1206, 1209 ( I (th Cic 198 I ) (en banc)
removable black plastic letters on the marquee                                                                          (adopting the
                                                      sign at the             case law of the former Fifth Circuit
Melbourne lodge. Additionally, the                                                                                         developed
                                            employees at both                 before October 1, 1981, as precedent
locations answered their phones and                                                                                          for this
                                         identified the facilities            circuit) .




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[3] The final judgment of civil contempt entered by the           marks, and, in any even[, it was no[ responsible for the
district court on November 27, 1987, and incorporating the        violaNve behavior . The district court properly rejected these
previous orders for contempt, sanctions, and fees is a final,     arguments .
non-conditional judgment ripe for immediate appeal . There
is no contingency or condition which could permit the             The district court's preliminary injunction prohibited the
appellants to modify or purge themselves of the sanctions         defendants from using "any colorable imitation" or
imposed by the judgment of contempt . Regardless of the           otherwise diluting the Howard Johnson trade name or
outcome of the underlying trademark infringement case, the        service marks in connection with the operation of the St .
defendants will be bound by the contempt judgment .               Petersburg, Cocoa, and Melbourne, Florida facilities . The
Because this appeal is the defendants' only opportunity to        record before the court provided an ample basis for finding
alter their obligations under the judgment of contempt, it has    the defendants' conduct violative of the injunction by clear
the requisite finality for appellate review .                     and convincing evidence . Specifically, the court had
                                                                  photographic evidence of the H .J . Inns signs at the Cocoa
                FINDING OF CONTEMPT                               and Melbourne lodges and the old Howard Johnson signs
                                                                  that they replaced . The Cocoa H .) . Inns sign was painted in
[4][S] In a civil contempt proceeding, the petitioning party      the same color lettering against a similarly colored
bears the burden of establishing by "clear and convincing"        background on the same sign that had once said "Howard
proof that the underlying order was violated . Neivman v.         Johnson's ." Although the Melbourne sign was not visually
Gr-addick 740 F .2d 15(3, 1525 (I Ith Cir .1933) ; Yiambinn       similar to the previous Howard Johnson sign, the name itself
r. Bes(line Products, Inc., 645 F .Supp . 1210, 1213              is similar enough to "Howard Johnson" that a reasonable
(S .D .FIa .19R6) . However, once the moving party makes a        person could find it to be a colorable imitation . Cf. Ho/idut~
prima facie showing that the court order was violated, the        Inns c. .4/berding, " 1517683 F .2d 931, 932-3 . & n . I Oth
burden of production shifts to the alleged contemnor to           Cir .1932) (defendant's sign, retaining color and shape of
show a "present inability to comply that goes 'beyond a           former franchise sign, essentially identical to former sign
mere assertion of inability . . . .' " Combs . 785 F .2d at 984   despite name change from "Holiday Inn" to "Holiday
(quoting United Slates e Nq~ "ec, '_2 F .2d 723, 725 (1lth        Hotel") ; see also Jelliheans, Inc . r. Skating Clubs of
Cir.1984) ; see United States v. McAn(i.r. 721 F .2d 333, 337     Georgia, Inc., 716 F .2d 833, 941 (Ildi CIr .1983) (roller
(11th Cir .1983), cen . denied, 467 U .S . 12?7, 104 S .Ci .      skating rink name "Lollipops visually similar to Jellibeans"
2681 . 81 LEd ._d 877 (1984) . Therefore, the focus of the        because each is a similar sounding candy name used to
court's inquiry in civil contempt proceedings is not on the       designate a roller rink) ; G . Heileman Btewing Co . v .
subjective beliefs or intent of the alleged contemnors in         Anheuser-Busch . [tic. . K?3 F .2d 985, 994 (7th CirJ9S9)
complying with the order, but whether in fact their conduct       (initials, in the trademark context, do not differ significantly
complied with the order at issue . Jim W'alfer Resources . Inc.   from the words they represent) . This interpretation is
c. bv'l Union, Uniled 61inc fV'orkcrs u( .4merica, 609 F .2d      supported by evidence that Howard Johnson uses the "H!"
 165, 168 (5th Cir .1980) . Conduct that evinces substantial,     mark at several motor lodges in Florida and that it has a
but not complete, compliance with the court order may be          federally registered "HJF1" service mark for hotel services .
excused if it was made as part of a good faith effort at
compliance . :N'ca,muii, 740 F .2d at 1524 .                      The coon's finding that "H .1 . Inns" was a colorable imitation
                                                                  of or diluted Howard Johnson trade and service marks is
The district court's judgment of civil contempt will be           strengthened by the fact that the consuming public was
affirmed unless we find that the court abused its discretion .    likely to confuse the two marks because they created the
Afro-American Pufrulmen'.c League v . Cih" of Adania. 817         same general impression and had been used m the same
F .2d 719, 723 (1 I[h Cir .19S7) ; Sizzler FumilySteak Houses     context See Je(lihean.c, 716 F .2d al 842 ; HnGdui' h+ns . 683
r. Wesrarn Sc=tin' Slcuk House, Inc . . 793 F .2d 1529, 1534      F .2d at 933 ; Hart Schaffiner cf Vary v. 41evanderS
n . d (11th Cir .19R6) . Thus, if the evidence is such that a     DcPur(nienr Stores, 3-0I F .-Id 101 . 102 (3d C :ir .1965) . Aside
reasonable person could find a clear and convincing               from the intrinsic similarity of the names and design, the
violation of the preliminary injunction, we must affirm the       same facilities with the same signs had previously operated
contempt ruling of the district court . See Deitchman c. E .R .   as Howard Johnson franchises, thereby greatly increasing
Squibb & Sans. 740 F .2d 556, 563-(i4 (7th Cir .1984) .           the possibility that consumers would interpret "H .!. Inns" as
                                                                  designating a Howard Johnson establishment . See, e .g.,
[6] Maralak contends that the court abused its discretion in      Noliduv Inns v . .4irpnrr Holiday Corp . . 493 F .Supp . 1025,
finding it in civil contempt for violating the preliminary        1028 (N .D .Tex .19R0), aJj'd sub nom Holiduc Inn r.
injunction because the court lacked sufficient facts upon         AlberdLrg, 683 F .2d 931 (5th Cir .1982) (considering
which to base a decision, the name "H .1 . Inns" was not a        whether former franchise's imitation of hotel name misled
colorable imitation of any Howard Johnson trade or service        and lured potential franchise patrons) . [FN3] The danger of




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                                                                                                                                                slowly and
                                            existence during the                    engaged in the process of compliance
such confusion was exacerbated by the                                               grudgingly,   prompting    three      motions     for   civil   contempt
                                           Johnson    advertising
period of contempt of a Howard                                                                                                    the case    of  a  lodge or
                              "We're   [timing  Howard   Johnson                    from Howard Johnson . This is not
campaign having the theme                                                                                     his    or    her  own   initials   w   name an
                                who     were    aware   of these                    restaurant owner using
upside down    ."  Customers                                                                         unaware    chat    a    similar   trademarked name
                                              alteration in name                    establishment,
advertisements could perceive the slight                                                                                                           there was
                         theme  of   making  substantial changes                    was being used by another facility . Rather,
as consistent with the                                                                                              that     the  defendants     deliberately
                         franchise .                                                evidence before the court
                  of the                                                                                                                            Johnson's
in the operation                                                                    sought a name that "would be close to Howard
                                                                                                                                           also   were   aware
                                                             Johnson                name, yet . .. no[ infringe ." The defendants
           Pk3 . Similarly, in Clayton e Howard                                                          Johnson      lodges     used   the  initials  "NJ" to
           Franchise Systems, Inc., a      district  court  found   the              that other Howard
                                                                                                                                               described the
                                name   of a  motor   lodge  to be  "the              identify themselves . In fact, Amir Khimani
           use of "NJ" in the                                                                                                       manuals      as "Howard
                                                                and .. .             use of the initials "H1" in franchise
           colorable imitation of 'Howard Johnson's'                                                        form  ."   The      court's   finding     that the
           likely to cause confusion."    No   .  87-569-Civ-Orl-19,                 Johnson's in short
                                                                                                   use  of   the     H  .J .   Inns   name      violated the
                                                            The court                defendants'
           slip op . at 12 (M .D .FIa . July 27, 1988).                                                                                         evidence and
                        "NJ"   confusingly    similar  to  "HJH ." /d.               preliminary injunction is well supported by the
           also  found                                                                                      abuse    of   discretion  .
                                                             v. Hn-Jo                does nut approach an
           al 17 ; see also Howard Johnson Co.
            Campsites,   Ini., 27 ; F.Supp.      447  (M .D .FIa .19G7)                                                                  themselves of
                                                                                     [3] The defendants seek to absolve
            (use of "Ho-Jo" likely to cause public to believe                                          for  violating   the   court's    injunction by
                                                         Johnson and                 responsibility
            there is a connection between Howard                                     attributing the name change        decision   to   other   corporate
            defendant's  campsites) .                                                                                 that  while Maralak      owned   the
                                                                                     entities . The defendants   note
                                                                                                                                          locations   were
                                                               a heavier             facilities at issue, the Melbourne and Cocoa
  Furthermore, the legal posture of this case places                                                                                           Inc. (Aly).
                          defendants      of  avoiding      a colorable              subleased to and operated by Aly Investments,
  burden   upon    the                                                                                   urge  that  the  adoption    of   the  H.J . Inns
                                                     trade and service               The defendants
  imitation of or diluting Howard Johnson                                            appellation was attributable to Aly rather        than  themselves   .
                         party  not already    preliminarily    enjoined
  marks than upon a                                                                                                    the  purported     control   of  the
                        such   activity .  The   former    Fifth Circuit             The court below questioned
  from   engaging   in                                                                                                                          was made
                                                                                      facilities by Aly and found that the name change
  explained that                                                                      with Khimani's knowledge and agreement        . We    agree .
                                                           of infringing
     where the appellants have been found guilty
         trade-mark    rights of  others,   they  should thereafter be                                                                                   defendants
     the                                                                              Closer scrutiny of the relationship between the
                                                            the dividing
     required to keep a safe distance away from                                       and Aly belies the assertion      that  the  defendants       lacked        either
                      violation    of,  and    compliance      with, the
     line between                                                                     control of the     facilities or   responsibility       for   violating           the
                                                   see  how   close they
     injunction . They must do more than                                              injunction .        Cf.       Frank          ldusic           Corp       .          r.
                                 that  which   they   ace enjoined  from
     can come with safety to                                                          hfenu-Go(dwl'rt- :11urcr,      .
                                                                                                                     (n(     90,6   F .-d    145     .    U'>3       (9th
     doing.                                                                           Cir .19391 (finding "substantial and continuing
                                                                                                                                                       connection"
                                                                                                                                      and     subsidiary)          . The
                                                         Laboratories . IHR           between infringing acts of parent
   f.cknp Drug,- v. .Smith, h'line & French                                                                       Khimani's      sons,    who      are       corporate
                                                   Srnnrlia   Down Corp . v.          evidence shows that
   F .2d 430, 432 (5th CYr.1951) ; see                                     cerl .     officers of defendant Torbay, are also officers and
                                                                                                                                                              directors
                                   1423     .  1432    f7th   Cir.19FU),
   F.uoryui/!, Inc., 772 F2d                                           .2d 346         in Aly and own 66% of the company                   .  Furthermore,               the
                           11d7 . 106     S.Ct   .  1901,   90   L.Ed
   denied, 475 US .                                                                    defendants concede that       Khimani      instructed      Aly     w      chose     a
                                                                   "possess[ ]
   [1986) (district courts in trademark cases                                                                 Cocoa     and   Melbourne        lodges      .  Khimani
                                 decide     how     close  is  too  close, once        new name      for  the
   substantial discretion to                                                                                                                    testified that he
                          committed        a   contempt       of  the original         subsequently examined the H .J . sign and
   an inCringer      has                                                                                        the  name     change   . In    fact,    Visram, the
                                                              Gee. r. Florid           was fully aware of
    injunction") ; W'orld'.+' Fine-w Chocolate,                                                               testified   that  the   decision         to    name the
                                       840,     saa    (N .~~111-1976),    a/J'd.      president    of  Aly
    Candies. Inc., 409 F.Supp.                                                                                                    Khimani       and      his     son and
                            Cir.1977)     ("It  is  well established    That the        facilities HJ . Inns was made by
    559 F.2d 1226     (7th                                                                                      changed     the name     at  their   direction        .
                                                                a party once            that he subsequently
    protection of a trademark requires that
                                     . ..   should     keep    a safe distance
    convicted of infringement                                                          Even accepting the defendants' contention that
                                                                                                                                              they lacked
                        line between      compliance      with   the order and
     from the margin                                                                   control over the   facilities while  they were   subleased   to Aly,
     a violation .").                                                                  the defendants concede that in January        1987,  the  properties
                                                                                                                                                using this
                                                           rejecting                   were reconveyed to Maralak . Rather than
    [7) The court also did not abuse its discretion in                                                            any  potential  violation  of  the court's
                                that,  because   they   had  made a                    opportunity   to remedy
    the defendants' contention                                     the                 order, Maralak loft the signs intact and      conveyed    the Cocoa
                       good  faith effort at compliance     with
    substantial "1518                                                                                       sublessee   along  with an  assignment    of [he
                                           was    inappropriate  . To                   property to a new
    court's order, a finding of contempt                                                                right  to  use  the  name   H.J.  Inns.   A  month
                                 indicates   that   the  defendants                     non-exclusive
    [he contrary, the record




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a~ F 2d 1512
3 U .S .P .Q?d 19"1512)                                                                                                                                                                                                  guidance for
                                                                                                                                                                                     Lanham              Act as damage" for
          R92 F .td                                                                                                                                                   u1~ the
Cite as :                                                                                                                                      section 35                                  measure ~t                                   case .
                                                                                                              Pr°`~idedin                                           toPLiate                                 infringcn~ent
                                                                                                                                                  she        app        .n     A     trademark                                         rights
                                                                           the h4elbournz                      Setessrim»g                                                                           whose trad
                                                                                                                                                                                                                           emark
                                              its     control of                                               violating                an in~u°`~~~~ a plaint, ff                                                    ,0) ddefendant's
                                      ited                          ses~~oved      .  t'   .                                                   Lanh3~^           Act,                               recover          '               and (3
                     alak exbib                 1su+s '1g.11                           ndmSThe    that
                                                                                                                Under the violated is entitled
                                                                                                                                                                                            to
later, Mar tavisig the F4 .5 .                             to    support
                                                                               its ft~Tl~}
                                                                                                    the                                                                      sustained               by    the plaintiff, Lanham
                   b/                      evidence                               violating                     have been                                  damages                                        11171a~ . The actual
ptopec[distn~~`,r                amPle                           for the
                 roan had                 responsible                                                            profits   . (2) any action ." 15 l~S .('§                                                             treble the
  the                 dkants     were
                                                                                                                       costs                  of      the          court      the         discretion to profit award as
           de    fen                                                                                             the
                                                                                                   Inns                                        gives the                                       lower the
  preliminary injunction                                                gem   ovable NJ . the                     Act also                                    and      raise or                             Id .
                                                                 the      a~ ~ze ,i gh ac                                                      award
                                       ak took
                                                     down                                                          damage                              compensate the plaintiff
                                                                      m 4Pwhom`5il was                                                                                                                                    p~5 to guide its
                                         the    Melbourne                ait                                       necessary t°                                                                 it,    ~ .an4tiam          way reasonable
                      lettering o~                                               pass,             fu~wn                                                                    use of
                                   of   Flowai ati°nnsfur                                                                                      dssttict        :,qua's                                  sanction                              .4uto
                      inquest
                                                                 Mamlak, by Cocoa sign,                             l4~ The                                  the civil
                                                                                                                                                                                contempt                                (Zickard ~~
                       conducting "eg°      «ement        .                                                          Structuring                        of                   Fdiscretion .      See, e E:,                             1-7
                       franchise ag      d45~                        the painted                                                                           its                                                     '19 & followed in
                                           id no+. remove                                                            and within                               ..
                                                                                                                                                                                                                               be
                                                                                                                                                                                                           Act could infnng~ment
                        admission,
                        a dm                             st  .                                                                        fisher        .    Inc                            Lanham
                                         the exPen                                                                    Yubf                                          73?    that    =~        ;~'  7
                        because of                                                                                                                     ~S°6Besdng                                      in traden~tk; F .SupP 581 .
                                                                                                                      fir 19841                                cnse°~~~,~an~tions                        - . Inc', 3~- .~~ imposing
                                                                                                                                                                                       ~..   Rerlon
                                               SANCTlONS                                                              dere                      ning
                                                                                                                                                                          I ~ foSSowing Lanham pc~ injunction) .
                                                                                       5218,5554R'n
                                                                       Johno    ~on                                                                                                                               reliminary
                                Court   away   ded Howard                              civil ~~n~z~np~~                ~a~~~: `                                          for      violation of P                          ~~6 X2,9 CIr .l970)
                           ~~                                     defendants'                         °°   ~~           5~"                              Sanction                                                . d                      dama8es)~
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          The disco                 52nctions
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           comPe~atory comFe~~'°~                                            would       have                            afJ~d                 in      par(   .            dist~«~                      ~5               roan       Sh°uld
            The award                               ward       Jotuis°»                   cocoa lodges                    reversing
                                                                                                                                         tSof              on~Y     ~`e                     that      a district                action
                                                                                                                                                                                                                                            involving
             amount             royalties Hu                   Melbourne an                           flagrant           ~ Ithough we do
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                   ou of                    from the                        1 .5   dtie to ."the                                                                  reined+es
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                                                                       of                         ~o~lunuing                                             Act
             during this pe«°~                     by a                        fenSanu                                    I.anhitpled             m
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                  q  ~?7   .66)           nature                the Ld~e~~4,591 49 . ~hN~l ~~~                             trademark                        misfr~m~zo for deterrmhe
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                $ .                                             total    ~~                            ensatory                                                a                                             abuse of
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               an                                                                                                           to                                       sward was                                                                            the
                  nfongement
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                                                 co   Y aides . the a`Hard     p totris      earned ~Y ~e                   civil file Pt                                                                                                    ~~~~
                                   the    lost      ~     yU3,~          in                                       ~t                                                                                                      T`a'°nabSe            mater       of
                 addition w                                                                        a theory                                                                                           Apt w'~'
                                  Included      `a<<~3 "               contempt un'~er                     °t    ~h`                                             to   t4~. Lanhas» infringement subject                                                   Act
                  sanctions d~ x ~e pence ~f                                     an application                                       YeSesence                                                                             both the Lanham
                       endant            ° or, alternative                                           tygq~.The                                                    of the tn~emark            .    Additionally,                              un~cLYing
                  d ef                       t                                                                                         Confluence                                 case                        share a ~°nNlon .C . C 1117
                              en~~~e        U                   t 17(a) (L 9K~ ~- b~pf f attomeY'                                                 stamlz         and this                   sanction                                        .S
                   unjust                                                    515,919 .                                                 die                                               t                                             > l.
                                 Act-15                    plaintiffs                             thz Ionic P1                                              civil coMemP Lanham Act
                                     awarded        thz            Confection,          wig                                             and the                                      Cj                                        and
                              also                       d ~n                                                                            ~npensato~'Y goal
                    court          costs ~n~°Re
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                    fees    and
                                                                                                            lahnson                           (award "shall Distilling Gn'p ~ 1107- OB,. ik 1 .Ed . .'-d
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                     r~o tedings .                                the     terms of
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                                    franchise a~ a rate of L51o revenues . The roan
                                                       ~~                                                                                       damages, krrncirr-- 4rnold                                                 l..fLA . 359 11q32)
                                    caScalzted                ~t    lodge S~oss                 itn     contribution                                .man         v.                        ?;S,        .JO.        "h                        not P
                                                                                                                                                                                                                                                        unicive),
                                     sales and 5.Yassess  ~                   ~o~a marke S franchises                                            (.                          Ct~ .                              compz~~ltory,
                                                                      the                 Johnson                                                ~5? ;1 . ~=              S                must be
                                      declined to                  by "award                                                                                       i
                                                        Paid                           a royalty
                                                                                                       fee .                                      contempt a~s~~+eds at
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                                       because it did                                                 to   the district                                                                              determined              'Iowa
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                                                                numerous                                that                                          [I0~ The
                                  defendants   is raise                  First,      they argue                  5°ffered                                              by     calculating the the periud that the tcadems~
                                                       sanctions       .                                  loss                                                                                       during                                       its
                                      award of                               actual P~°°n~ ~compensatory                                              damage                                                                  im+rauon of                   Johnson
                           c ouR's Sufficient e VI d once of                            ewerd of . gysentially,                                        would haae ie~~~~d                 using        a colurabte                          Howard
                                                                                                                                                                                  or                                  e      enu~ne                       the  actual
                           lacked                              tosupP°~ a^ loyalties                                                                   were diluting                                                              to~tdztemtiine
                                              1ah"'°°                 t~nchise                            was     imp~~Per                                                defendants                                    allies                                       is
                            by   ~{owud                                                                                    and                          had       the                              j   lost   n  toy       S             aademark          1ltisuse
                                             based                       award       of  ~°y    of                                                                                                                   a   victim                            Grads  dcrn
                            damaSeS                     that the                                    iesthe services                                      franchise u~zd by + 1520                                              Kdmadn inn'
                                                                                                                                                                                                                                                      v.
                                                                                        any                            uon in
                             defend M~ylak    urge                   not using                   dingpatt~wc~pa                                          dan~ag                                    this   Court. See                         CIr .19661      ; B0 .111,
                                                            `was frail, hise,inclu                      rivork .                                                   established in .2d U6~, 17ti5 IUd~ ~f 6rnblem ;NIK-.
                              because                 ed  by     the            reservation        no                                                     w011     e5
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                              b e nefiLS        Johns°
                                                                 national
                                                                 na                                                         civil                          tifa~e! Co ., Hoc :laq: 4ssn ~ .                                     Hnlidai~ Inns .
                                                                                                                                                                                                                                                         493
                                    Howard      Johnson                                       ~n    in   fashioning                                                  ;sionul                                              0),                             Tirc Swre~s .
                               the                                                                                                                         1'roJi"                       76      01h     Or                          .11   B~dse  r ' s
                                                                     broad       discretion                  ~bline                                                                                                     Inn     c .
                                                          have ~                           Y . 1.;n~icd                t-02
                                                                                                                          p~ .91       . 91                 59~ F ._,~ see               also R,ndd~;
                                U~5girt courts                     Lniled .S(f1IE'S               S Ct    6 77 ; "lO                           at           a~    108     : ?1 ,
                                               sanctions                                     6'
                                contempt                             '~r .
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                                 o America 19J7Y, Si=-let                                    referted to
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hip. . 750 F .2d 903 . 920 (Fed Cir.19Ra1 (royalties normally     coup to use lost royalty payments m replicate the actual
received for the use of a trademark may be an appropriate         damages suffered by Howard Johnson . See StoiT Parchment
measure for damages when they bear a rational relationship        Co . r. Pu(er.yon Parchment Paper Co_ 2841 U .S . 5j5, 563,
to the fights appropriated) . In both Roniuda Gain and            ~I S .Ct . =48,'5 L .Ed . 544 (1q ;1) (where plaintiffs injury
Holiday Inns, hold-over licensees who continued [o use the        "is of such a nature as to preclude the ascertainment of the
licensors trademarks on their lodges after the termination of     amount of damages with certainty . . . i[ will be enough if the
the licenses were assessed sanctions based on lost royalty        evidence shows the extent of the damages as a matter of just
payments . See Runiada Inns, 804 E .?v at 1563 ; Holiday          and reasonable inference, although the result be only
Inns, 683 F .2d a[ 93?-33 . Holiday Inns, in particular,          approximate .") ; " /52/Rnnioda /iues r . Godsden :14orel Co .,
presents factual circumstances remarkably similar to the          804 F .2d 1562, 1565 (11 [h Cir .1985) (same) . [PN7]
present case because it involved a motel that used a
colorable imitation of its former licensor's name, "Holiday                 1-K6 . In fact, if these .cases are to be distinguished
Inns," by operating under the name "Holiday Hotel ." See                    at all it is because Maralak, unlike the defendants
Holiday Inns. 683 F .2d at 932-33 .                                         in Xamndn bars and Ho/idoyCurs . was not merely
                                                                            a former lodge licensee who had been enjoined
Maralak urges us to distinguish these cases because it did                  from violating a franchise trademark . Rather,
not enjoy all of the benefits of a Howard Johnson franchise,                Maralak took we additional step of violating a
such as participation in the national reservation network and               court injunction and further injured the plaintiffs'
a listing in the Howard Johnson directory . This argument                   trademark . This conduct likewise justifies the
fails because neither of the defendants in Rarnada Inns and                 district court's finding that "the flagrant and
Holiday lnnr were shown to have received all of the benefits                deliberate nature of Defendants' continuing
of an authorized franchisee . See Rnmoda Inns, 804 F .2d at                 infringement" warrants the use of the 1 .5 actual
 1563 (decision based on infringer's use of signs and                       damage multiplier .
graphics) ; Holiday Inns, 493 F .Supp . at 1027 (decision
based on infringer's use of sign) . [FN6] Moreover, by                      FK7 . Additionally, it seems reasonable to interpret
imitating Howard Johnson's name, the defendants took                        the district court's refusal to include the I%
advantage of perhaps the most significant benefit of the                    marketing contribution fee in the royalty damage
Howard Johnson franchise . Customers selecting lodging in                   award as a reflection of the fact that the defendants
an unknown facility of a familiar franchise are likely to                   did not gain all of the advantages of the franchise .
impute the characteristics of the franchise, including its                  Arguably, even an award of such damages might
general reputation, to the specific inn . When an unaffiliated              have been appropriate because the defendants'
lodge imitates a franchise name, it is exploiting the goodwill              locations at former Howard Johnson franchises and
of that chain . See Univerrih, of Gcoroio .-0thleuc Assn v .                use of a similar name are likely to have misled
Loire. 756 F .2d 1535, 1545 (11th Cir.l)S5) (defendant                      customers enticed by Howard Johnson advertising
imitated school bulldog mark to capitalize on popularity of                 campaigns into staying at the unaffiliated imitating
football program) ; Jclliheuiu, 716 F .?d at 843 (affirming                 facilities .
district court's finding that defendant chose similar roller
rink name to confine public and capitalize on plaintiffs           [ I I J Maralak also objects to the district coup's award of the
reputation) ; John H. Hnrlmad Co. v . Clnrke ChecF:s, Ac. .       profits generated by the Melbourne and Cocoa facilities
711 F2d 966, 977 (Ilth Cir .19R .i) (only plausible               during the period [hey were in contempt of the court's
explanation for attempt to adopt a mark as close to plaintiffs    injunction . The defendants do not seriously challenge the
as "legally" permissible is to "cash in" on plaintiffs            discretion of a district court to award profits as part of a
goodwill); Chevron Chemical Cu . r . lbluntarv Purrh¢sui~!        civil contempt sanction . Indeed, the Supreme Court has held
Groups, Inc ., 659 F .2d 695, 70-0 (5th Cir . Bolt A 19811        that profits may be included as part of compensatory relief
(same), cert . denied, 457 U .S . I 126, 102 S .Ct . 2947 . 73    despise the absence of a showing of pecuniary loss . 1 emuiz,
L .Ed2d 1342 (1932) . Likewise, any unfavorable reaction of       294 l ; .S . at J56-57 . 5= S .Ci . at 2d1-4 . . [F18] The Second
the imitator's patrons are likely to be attributed to the         Circuit has even reversed a district court's refusal to
franchise as a whole and diminish its reputation . See            consider profits as part of a compensatory contempt
Rurnutla Inns, ROd F .2d at 1164-66 (affirming damage             sanction . See Oral-B Laboratories v . :1li-I,or Corp . . 810
award that compensated for Ramada Inns' lost reputation           P .?d 20, 2~-2fi (2d Cir .19871 ; H':E. Boeaeu Co . . -03S F .2d at
while hold-over franchisee was operating hotel poorly) ;          664 . Rather, the defendants contend that the court abused its
Boston Prq/essionn! Hockey :9ss'n . 597 F .2d at 75               discretion in awarding profits because such an award is only
(affirming damage award that compensated in part for injury       appropriate where the plaintiff sustains provable damage
to plaintiffs reputation caused by poor imitation of product) .   from the infringement, the defendant's conduct is a
It was, therefore, not an abuse of discretion for the district    deliberate and willful violation, the infringer is unjustly




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enriched, and the sanction is necessary for future deterrence .             defendants both injured Howard Johnson by
                                                                            imitating its trademark without compensation and
         FNS . In Hulidnp Inns, the Fifth Circuit approved a                enriched themselves by tapping the reputation and
         district coup's imposition of both profits and                     good will of Howard Johnson through this
         royalty damages in a trademark infringement case .                 imitation . The district court's royalty award
         683 F .2d at 9 ; ;-)i, afj'g, 493 P .Supp . 10.E                   remedies the defendants' colorable imitation of the
         (N .U.Tex .1980) . Likewise, in Malting Corp . v.                  plaintiffs trademark without compensation while
         Caw;v Bolding Co ., a district court awarded                       the profit award remedies the impermissible gains
         plaintiffs both the defendant's profits and damages                made by the defendants' exploitation of the
         to reputation and goodwill as part of a sanction for               Howard Johnson mark through its imitation .
         the defendant's violation of an injunction in a
         trademark infringement action . 613 F .2d 582 . 583       *1522 [13] Because the district court's finding of contempt
         (5th CirJ980) . The old Fifth Circuit did not             and imposition of sanctions was within its discretion and the
         question the propriety of awarding both profits and       defendants' remaining arguments are meritless, [FNIO] the
         damages, but reversed the award of damages                district coup's final judgment of civil contempt is
         because the record was "wholly devoid of support          AFFIRMED .
         for [the $35,000 damage] figure ." /d. at 5g5-S7 . In
         contrast the judge below based the damage award                     PNIO . For the first time on appeal, defendants
         on readily ascertainable royalty figures which were                 contend that the award of profits as to the Cocoa
         a reasonable reflection of [he injury to reputation                 facilities was improper because those profits were
         and goodwill suffered by Howard Johnson .                           purportedly realized by the defendants' sub-lessee
                                                                             rather than themselves . The failure of a parry to
[12] The defendants' proposition is erroneous. First, the                    raise a theory of relief before the trial court
cases relied upon by the defendants to derive a series of                   generally precludes that party from arguing the
prerequisites for an award of profits are in the context of                 theory on appeal . .Sing/eon c . l3'ulfj, 428 U .S . 106 .
trademark infringement cases rather than civil contempt                      120-21, 96 S .( t . 2863, 27377- 75 .. 39 L .Ed2d 826
actions. In the civil contempt context the district coup's                  f 197(1 ; Denis v . Liberiv Mutual Insurance Co ., 791
discretion in imposing non-coercive sanctions is particularly                F .2d 846 . ft4R-49 (11th Cir .19R6) ; Lumpkin v .
broad and only limited by the requirement that they be                      Rickerrs. iil F .2d 680 . 682 n . 3 (5th Cir .), cerr.
compensatory . See Lernan, 2R4 U.S . at 452-53, Q SCt. :it                  denied, dad U .S . 9i7, 98 S .Ci . 485 . 54 L .Ed .2d 316
310; Rickard, 735 F .2d at 459. Second, even in trademark                     1977) . We decline to exercise our discretion to
infringement cases, the factors warranting profit awards are                consider this argument because its resolution
staled in the disjunctive . .L/adGnq 613 F.-Id at 535; 11".E.               would inappropriately require this court to make
8acsett Co . . 435 F.2d at 664 . Therefore, a court could base a             factual findings . See Denis . 791 F .2d a[ 849 : see
profit award upon a finding of any one of these factors.                    also Hn/idrrn Inns, 683 F .2d at 934-35 (rejecting
Finally, to the extent that an examination of these factors                 argument that defendant airport never received
may assist the determination of whether the district judge                  profits from trademark infringing inn because "[a]t
abused her discretion in incorporating profits as pan of the                no time before or during the trial on damages . . . did
civil contempt sanction, the evidence provides ample                        Airport claim that it had not received profits earned
justification for the award. [FN9]                                          by the hotel that it admittedly owned") .

         Fh9 . For instance, the district court was not clearly    892 F .2d 1512, 13 U.S .P .Q .2d 1808
         erroneous in finding the defendants' conduct
         flagrant and deliberate . Likewise, the conduct of        END OF DOCUMENT
         the defendants in persisting in a violation of
         Howard Johnson's trademark after they were
         preliminarily enjoined from doing so adds a
         specific deterrent value to the sanction while also
         providing a general deterrent to conduct evincing
         trademark infringement . Most significantly, the
         coon did not abuse its discretion in awarding
         profits under a theory of unjust enrichment based
         on the evidence before it . See A9unhn[tnn lndus(rias
         v. Sweater Bee by BarrJJ, 1 .7d. . 885 F .2d I, 5-7 (2d
         Cir.1989) . During the period of contempt the




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        EXHIBIT / ATTACHMENT

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                                                                      Where roller rink drew patrons from area that was within 60
                                                                      miles of Atlanta and included parts of Alabama, received
               United States Court of Appeals,                        some nut-of-state convention business, and received some
                      Eleventh Circuit .                              free publicity in national magazines, rink, used its service
                                                                      mark in interstate commerce sufficiently to invoke
JELLIBEANS, INCORPORATED, a Georgia Corporation,                      jurisdiction of federal courts, by virtue of Lanham Act, over
             Plaintiff-Appellez, Cross-                               its action alleging false designation of origin and deceptive
                      Appellant,                                      trade practices . Lanham Trade-Mark Act, §§ 39, 43, 43(a),
                          v.                                          45, 15 U .S .C .A . §t II21, 112, I125(ai, 1127 ; U .S .C .A .
    SKATING CLUBS OF GEORGIA, INC ., a Georgia                        Cunst . Art . I, § K, cl . 3 .
          Corporation, Defendant-Appellant,
                   Cross-Appel lee .                                  13 [Trade Regulation &~27
                                                                      3S2k_7 Most Glad Cases
                            No . 81-7637.
                                                                      1l/ Trade Regulation X331
                            Oct . 3, 1983 .                           3F2k331 Most Cited Caws

Plaintiff; owner of roller rink designated as "Jellibeans,"           A "service mark" is form of property and has property rights
brought action for false designation of origin under Lanham           associated with it, and determining whether infringement of
Act, deceptive trade practice, and unfair competition against         such property right has taken place is but obverse of
defendant, which had opened similar toper rink designated             determining whether service mark owner's property right
as "Lollipops ." The United States District Court for the             extends into given area . Lanham Trade-Mark Act, § 43, I S
Northern District of Georgia, Newell Edenfizld, )., enjoined          U . S .C . .4 . 5 112 5 .
defendant from using name "Lollipops" for its rink, and
defendant appealed . The Court of Appeals, Tjoflat, Circuit           /A1 Trade Regulation X704
Judge, held that : (l) plaintiff used its mark in interstate          3R2k704 Most Cued Cases
commerce sufficiently to invoke court's jurisdiction ; (2)
likelihood of confusion between marks was question of fact ;          X41 Trade Regulation &726
(3) evidence supported finding that there was likelihood of           382k726 Most Curd Cases
confusion between service marks designating roller rinks,
and thus, defendant was properly held liable for false                /41 Trade Regulation x:..870(2)
designation of origin, deceptive trade practice, and unfair           3R2k870(2) Most Cited Cases
competition ; and (4) in absence of malice or fraud, plaintiff         (Formerly 382k870.1)
was not entitled to attorney fees .
                                                                      In action for false designation of origin under Lanham Ac[,
Affirmed .                                                            question of whether or not offending mark is likely to cause
                                                                      confusion with plaintiffs service mark is question of fact
                       West Headnoles                                 which Court of Appeals can set aside only if clearly
                                                                      erroneous . Lanham Trade-Mark Act, § 43(a), li U .S .C .A .
III Federal Courts f=~214 .1                                          I 12?(a) .
170Bk214 .1 Muss Cited Cases
 (Formerly 170Bk214)                                                  1;1 Trade Regulation $407
                                                                      ;R2k4(17 Most Cited Case,
Statutory grant ofjunsdiction to federal courts conferred by
Lanham Act may not exceed constitutional limitations on               /5/ Trade Regulation X870(2)
power of Congress to regulate service marks, and reaches              ;42kF,70(2) Most Cited Cases
and is coincident with constitutional boundary embodied in             (Formerly 382k870. 1 )
commerce clause ; thus, as purely intrastate disputes do not
fall within commerce clause, they are not subject to Lanham           In action for false designation of origin under Lanham Act,
Act's regulation . Lanham Trade-Mark Act, §§ 39, 43, 43(a),           district coon should not determine whether likelihood of
45, IS U.S .C .A . S§ 1121, 112, IRS(a), II_7 ; U .S .C .A .          confusion exists between marks by merely computing
Const An . I, § 3, cl . ; .                                           whether majority of subsidiary facts indicates that such
                                                                      likelihood exists ; rather, district court must evaluate weight
X21 Federal Courts E=+215                                             to be accorded individual subsidiary facts and then make its
170Bk2li Most Cited Case :                                            ultimate fact decision . Lanham Trade-Mark Act, § 43(a), 15
                                                                      U .S .C .A . v 1125(a) .




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161 Trade Regulation E~727                                      used to designate roller rinks, were visually and aurally
182027 Most C tied Cases                                        similar and that two names evoked same general impression
                                                                were not clearly erroneous . Lanham Trade-Mark Act, §
/61 Trade Regulation X870(2)                                    43(a), 15 C .S .C .4 . § 11 25(a).
382k870(2) Most Cited Cases
(Formerly 382k870.1)                                            1101 Trade Regulation X582
                                                                3R=k58= Must Cited Cases
Court of Appeals can reverse district court's determination
of likelihood of confusion in false designation of origin       1101 Trade Regulation "70(2)
action only if, after reviewing all evidence, it is left with   3R2k&70(2) Most Cited Cases
definite and firm conviction that mistake has been               (Formerly 382k870.1)
committed by district court in finding ultimate-.fact issue ;
such decision can be reached by determining that district       In action for false designation of origin under Lanham Ac[,
court clearly erred in finding one or more of subsidiary        evidence supported finding that both plaintiffs and
facts, or by determining that findings of subsidiary facts      defendant's businesses were skating rinks with clientele
were proper, but nonetheless ultimate-fact issue was            primarily composed of teenagers and young adults . Lanham
erroneously decided . Lanham Trade-Mark Act, § 43(a), I         Trade- Mark Act, § 43(a), I S CJ .S .C .A . § 112i(a).
I,CS.C :1 . § I1?S(a) .
                                                                I > > I Trade Regulation C~588
171 Trade Regulation C=A07                                      382088 Most Cited Cases
382k407 Most Cited Cases
                                                                Ill I Trade Regulation &870(2)
ICI Trade Regulation C~,a870(2)                                 3R2kR70121 Must Cited Cases
3R2k870(2) Most Cited Cases                                     (Formerly 382k870.1)
 (Formerly 382k870. l )
                                                                In action for false designation of origin under Lanham Act,
Implicit in "likelihood of confusion" standard relevant in      evidence supported finding that advertising used by
action for false designation of origin under Lanham Act is      defendant's roller rink designated as "Lollipops" was
balancing between confusion created by putatively               substantially similar to advertising used by plaintiff in
offending service mark and burden placed on its owner to        promoting its roller rink designated as "7ellibeans ." Lanham
find mark which can convey information to public about          Trade-Mark Act, § 43(a), 15 U.S .C . A. § 1125(a).
nature of his service . Lanham Trade-Mark Act, § 43(a), IS
U .S .C .A . § 1125(a) .                                        1121 Trade Regulation X595
                                                                3R2k595 Most Cited Cases
[R/ Trade Regulation E=582
3R2k5F2 Most Cited Cases                                        1121 Trade Regulation C=870(2)
                                                                ;V2kft70(2) Most Cited Cases
/81 Trade Regulation &870(2)                                     (Formerly 382k870 .1)
3F7.kS70(2) btnst Cited Cases
 (Formerly 382k870. l )                                         In action for false designation of origin under Lanham Act,
                                                                evidence that defendant was aware of plaintiffs roller rink
In action for false designation of origin under Lanham Act,     designated as "Jellibeans," and that defendants choice of
evidence that roller rink was only one in country which used    name "Lollipops" for its roller rink differed from its prior
candy name supported finding that service mark "Jellibeans"     practice, supported finding that defendant selected its
was very distinctive mark entitled to broad protection .        service mark "Lollipops" with intent of confusing
Lanham Trade-Mark Act, § 43(a), I S L .S .C . . Y I I 25(a) .   consumers with plaintiffs successful mark "Jellibeans ."
                                                                Lanham Trade-Mark Act, § 43(a), IS U .S .C .A . § 1 13ilal .
[91 Trade Regulation &590
3R2k590 Must Cited Cases                                        1131 Trade Regulation C~;~596
                                                                ;32k596 Must Cued Cases
191 Trade Regulation C=870(2)
392k87,0(2) Most Cited Cases                                     131 Trade Regulation $870(2)
 (Formerly 382k870.1)                                           382k870(2) Most Cited Cases
                                                                (Formerly 382k870. I
In action for false designation of origin under Lanham Act,
findings that service marks "7elGbeans" and "Lollipops,"        In action for false designation of origin under Lanham Act,




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evidence in form of three witnesses' testimony and survey        (I71 Trade Regulation X595
evidence supported finding that there was actual confusion       182k~9i Most Cited Cases
between plaintiffs service mark "Jellibeans" and defendant's
mark "Lollipops," both of which were used to designate           1171 Trade Regulation C=a729
roller finks . Lanham Trade-Mark Act, § 43(a), 15 U .S .C .A .   3R=k739 Moss Cited Cases

                                                                 1171 Trade Regulation &5870(2)
1141 Trade Regulation k~578                                      3R=k870(2) Most Cited Case,
382k578 Most Cited Cases                                          (Formerly 382k870. I )
                                                                 In action for false designation of origin under Lanham Act,
1141 Trade Regulation X596                                       evidence supported finding that defendant's use of mark
382096 Most Cited Case ;                                         similar to plaintiffs to designate its roller rink was not
                                                                 malicious, fraudulent, deliberate, or willful, but was rather
1141 Trade Regulation X870(2)                                    honest attempt lawfully [o copy successful mark, and thus,
382k870(2) Most Cited Cases                                      trial court did not abuse its discretion in failing to award
 (Formerly 382k870. I )                                          attorney fees to prevailing plaintiff. Lanham Trade-Mark
                                                                 Act, §§ 35, 43(a), 15 U .S .C .A . §§ 1 117, 1 125(a) .
Alleged technical deficiencies in survey presented by            *835 Jones, Bird & Howell, Kevin E. Grady, Atlanta, Ga .,
plaintiff in action for false designation of origin under        for defendant- appellant, cross-appellee .
Lanham Act to establish that people were confused between
its service mark and that of defendant affected survey's         Haas, Holland, Lipshutz, Levison & Gibert, William R.
weight, and not its admissibility. Lanham Trade-Mark Act,        King, Atlanta, Ga ., Caesar, Rivise, Bemstein & Cohen, Ltd.,
§ q3(a), 15 U .S .C .A . y 11 ?5(a).                             Stanley H. Cohen, Philadelphia, Pa ., for plaintitiappellee,
                                                                 cross-appellant .
1151 Trade Regulation X596
38-k59G Most Cited Cases                                         Appeals from [he United States District Court for the
                                                                 Northern District of Georgia .
1151 Trade Regulation E~870(2)
382k870(2) Most Cited Cases                                      Before RONEY, TJOFLAT and FAY, Circuit Judges .
 (Formerly 382k870. I )

In action for false designation of origin under Lanham Act,      TJOFLAT, Circuit Judge :
quantum of evidence needed to show actual confusion
between plaintiffs and defendant's respective service marks      Skating Clubs of Georgia, Inc . appeals from a district court
is relatively small Lanham Trade-Mark Act, § 43(a), I            order enjoining it from using "Lollipops" as a name for one
U.S .C .A . $ I 12i(a) .                                         of its roller skating rinks because that name is too easily
                                                                 confused by consumers with the service mark [FN I] used
1161 Trade Regulation &596                                       by Jellibeans, Inc . to identify its roller rink, "7ellibeans."
38=k59G Most Curd Cases                                          Jellibeans, Inc . cross-appeals the district court's denial of
                                                                 attorney fees . We affirm on both points .
1161 Trade Regulation X870(2)
38-kR70(2) Most Cited Cares                                               FN I . A service mark is any word, name, symbol,
 (Formerly 382k870.1)                                                     device, or any combination thereof, or titles,
                                                                          character names and other distinctive features of
In action for false designation of origin under Lanham Act,               radio or television programs "used in the sale or
evidence of distinctiveness of plaintiff's mark "Jellibeans"              advertising of services to identify the services of
for its roller rink, similarity between such mark and                     one person and distinguish them from the services
defendant's designation "Lollipops" for similar rink, and                 of others ." I i U .S .C . § 1127 (1976) .
actual confusion between marks, supported finding that
defendant's mark "Lollipops" was likely to be confused with
"Jellibeans ;" and thus, defendant's choice of mark
constituted false designation of origin, deceptive trade         In November 1979, Jellibeans, Inc . opened a roller rink in
practice, and unfair competition . Lanham Trade-Mark Act,        Atlanta, Georgia,      named    "7ellibeans ." 1[ advertised
§§ 35, 43(x), 15 U .S .C .A . F$ 1117, 1125(x) ; Ga.Code, §      Jellibeans extensively, spending over $50,000 in November
106-703(6) .                                                     and December alone, and over $100,000 during the first
                                                                 year of the rink's operation . Jellibeans, Inc . spent most of




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                 IU
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                      833)
  (Cite as : 716 F.=d                                                                                                                                                    was unlawful
                                                                                                                                                                                                     as
                                                                                                                              Skating     Clubs conduct                             fees  under
                                                                                                              ment that                                     sou~hi attorney
                                                                                   rest on            1 ~,~ S                injunction . (t also                               AM- 70 3(bl
                                                                    and     the                                    and  an                               L06      Ga .Code
                                        advertisements .                                       .       alleged,                     ~I9761    and
                                                                                                                                                                           ons ,and the
                                                                                                                                                                                             caseri
                     on radio                                 promotional activities-                            .G        I ll"1
 this moneyadven~semencs and 1°~al                                                use    of   a         U GSSkating,         clubs     del~iedt     these
 newspaper                                       advertising, and its                                   IFT~3 1
                  [nc   . 's extensive    were                  among       Atlanta roller
                                                                    se~proceeded                                      totrial
  JelGbeans,                                        unique
                     for    its n nk .                                                                                                                     1 I?5la~ Provides'
  candy    name
                          wasasuc   Success fro        m~hzo~~                                                      F\3 . Tide   .U   l5 .5 G ~                     apply, or annex, °rfalse
                                                                                                                                                                                                      ~~
                                                                                                                                                         affix,
    nks.The rink                                                                      rinks   in                                       w ho  shall
                                                                                                                                                                     services, . ~    any
                                                                      six roller                                     Any Person                        any .                                             oc
                               Georgia,         Inc .. operates            its  firs    rink in                      in   connection with                                 including words
   Skating CJibs           of                            established                                                                        representation,                         describe             or
                             . Skating Clubs                            firth ink in
                                                                                          l9"1~~                     description or tending falsely to
   the Atlanta area l9 7l . ~'~ in 1993, and a                                               and                                 symbols                                              .-- secures
    1q5q, anothe[ in                                              '~kadng clubs                                       other                                    shall cause such who shall
                             of    these       rinks " 836                         they     were                      represent      the same- an~                     any person
    It called each                          communities in Will 1980 . s few                                                        into  commerce, and                               description
                           a        the                                                                               to   enter                                        of such ..-
    named them after Cobb Skating Club . [n early decided [o                                                                   knowledge          of the falsilY                    same    to be ..
                      .   South                             Skating      Clubs                                         wig                         pause        o~  procure the
     located,   eS
                                        ns opened,                                    new rink                                                                                         civil action
                                                                         for this                                      or represencahon .. . Shall be liable to s
     months after 7z»~bea                      purchased        hand                                                                commerce                               that he is or is false
                                                                                                                                                                                                     likely
                               nn k. ~~                                           immediately
                                                           Jcllibeans and announcing                                    used in                     who believes
     build its sixth                             from                                                                               person   .                                   any    such
      approximately ~-9 Mileslaced a sign on the site                                                                   by any                       by the use of
                conswction           . It Q                               Roller    Rink ~~ The                         to     be damaged    representation             .
      began                                 "Lollipops Disco clubs owned ~~~~                                            description or
            future      opening of                              Skating                                                                                                             provides .
      the                                       pnn~ . that                                      that
                                                                                                                                               .m Ga .Code AM . 9 111
              also   stated    , small replaced this sign with one and                                                                    106
       sign                                                                                                               E~`~~ Title
                              clubs later                                     of the rink,                                                    who sha1L
       rink . Skating                 "Disco'        from the name                Clubs      owned                        [Any person                         consent of the
                                                                                                                                                                                  registrant any
        omitted the word                                     that   Skating                                                                          the                           mask registered
                                    larger letters                        Skating Clubs.                                   (~) Use, Without                  of a .. . secvlce with the sale,
        state d in much Albert Couey o~+'ned                                                                               colorable     imitation
                                                                                                                                                                    connection
                                that
        LoLLipoPy " and                                                            of  Dr  . Ronald                         under     this Chapter ~~                            of any . ..
                                                                                                                                                                                                     Services
                                                              acquaintance                                                                   sale,       or     advertising
                                                                                                     the
                     patients and a business of )ellibea~' . ~°~ " saw                                                      offering for                              which such use is likely ~~
         Several                            shareholder                                                                          or  in connection with
                             Princ~p    al                                          Lollipops      '~~                       on                               mistake or
         Feinman, a                   ~N~ They Thought the name                           called Dr .                                 confusion or                                      service maw
         Lollipops         sign  . LY       1                       and    therefore                                         cause                                     any such . .~                   signs
                                                     Jellibeans                                    .  Dc                     (6) .- ~~~~~ah~y colorable imitation to ..-
                                                                                                                                                         imitate
         very similar to
                                   the name                          opening a new rink                                                                                                                     °f in
                                           whether        he was              became       concerned                          and apply     such       .-
                                                                                                                                                                             to be used
                                                                                                                                                                                             u      p°°
          Feinman to inquire he was not. He later                                                 furore                                                       intended                                   in  this
                                                                           present and                                        ~~ advertisements sale or other disttibution
          Feinman replied that               .          lellibeans'                                                                           ~'<<h      ~h~                                          In  a  civil
                                   esPecally                                 by the similarity of                              connection                               ; shall be liable
           that others .                                       °°°~"ed            Jellibeans, Inc. 's                          State of such ..- services                                            ... service
           customers,          might     also     become          matter      to                                                                       owner        of   such registeredprovided in
                                                             the                                        the                                  the
                                      thus ~e(erced                              Clubs' Use of                                 action by                                  the remedies
            the names and                  concluded         that Skating               service     mark,                       mark    f~~  anY or all of
            counsel . Counsel Erin           ringed upon the
                                                                      company's
                                                                                      1980, counsel                             section 106-112-- -
            name I .o1~iP°PS            ~°        ~               May i5 .                   Lollipops       .                                                                                      Provides :
                                   Accordingly, In                   using the name                                                                                       Am~§ 702(x)
             Jell~ibeans .                          Dubs      stop                                did    nor                            Title 106 Ga .C,de deceptive trade practice
                                      Skating                                           name
              requested that                                   its use of the                                                                      engages in a
                             Clubs       replied that                          mark      and therefore                           A person
                                                                                                                                                      course of his bu
                                                                                                                                                                                siness . .. he'.
              Sksting                                . Ins .'s servicz                                                           when, in the                                  those  of another ;
                                    jellibzans                                                                                                                              as
               infringe ~^                            the   request    .                                                               poses       off   . . . services              confusion               or of
                                               with                                                                               (1)                                          of
               refused to comp ~Y                                                                      these                                                likelihood             source,           sponsorship,
                                                                         she record
                                                                                          whether                                 (21 Causes                            to the
                                 ~_ . ~~ is not clear from                       Lollipops       sign                              misunderstandms as
                               F                     the   first or  second                                                                            ceaification          of ~1 services"                       of
                                                                                                                                   approval, or                                       confusion
                               persons saw                                                                     a                                              likelihood affiliation, connection, or
                                                                                       Inc .   brought                             (3)    Causes
                                                                  Jellibeans .                             that                     misunderstanding as
                                                                                                                                                                        w
                           September            26 . 19R0, district court alleging                                                                                    certification by,
                                                                                                                                                                                             another,
                On                                            the                            constituted       a                                       W~~°r
                                      complaint          ~^                          :  (1)                                         association
                 four coo nt                                  name Lollipops Skating clubs'
                                      b's use of the                              o t                                                                                       tfr
                 Skating Au                                rePrz'ent~~~°n
                                                    or                               Act,
                  false descdpuon                          of the Lanham                      Int .'s serve                                                                               have sponsorship,
                  services'1        in   violation             infringed     Jcllibeans,
                                                                                                          .Code                           Represents              that ... services
                                   1976); [F~n ;~         (z1                         law, I06        Ga                             f5)                                      nut have . ..
                   1 I2~(a}                        of   Georgia trademark dive wade practice                                          approval       ... that they do
                   ~n~~ in violation                       constituted a decep                            Trade
                   Ate. § I t l ; ~['Ny) (3)~ George Uniform Decep~~~e                                         (4)
                                                   the                                                  and
                    i~ Violation of                          .Code Ann. §
                                                                                    702; 0-N51
                                                                                                               law                                                                                   which similarly
                                       Act,     10(i   Ga                        the   comet     on   "g37
                                                                                                                                                                 in  any other conduct
                    prTCdces                        competition under                              declaratory                         (12) Engages
                     constituted unfair                                            sought a
                                                         Jellibeans, Inc .
                                             ~1~
                     of Georgia .


                                                                                                                       Ong- US .               Govt . Works
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         creates a likelihood         of   confusion     or   of    signs that showed the substantial differences between the
         misunderstanding .                                         two, particularly with regard to the ownership of [he rink .
                                                                    Finally, Couey testified that he promoted, and would in the
         FNti . Georgia statutory law specifically preserves        future promote, the Lollipops rink only by circulating
         the common law claim of unfair competition . Title         brochures to local schools and PTA's, giving luncheons and
         106 Ga .Code Ann . § 1 13 provides : "Nothing herein       teas for community groups, and newspaper advertisements .
         shall adversely affect the rights or the enforcement       [FN9] He stated that he had promoted his other rinks in this
         of rights in . . . service marks, acquired in good faith   manner and intended to do the same with Lollipops.
         at any time at common law ." Title 106 Ga .Code
         Ann . § 702(c) provides : "This section does no[                    FN9 . At the time of trial, Skating Clubs had not
         affect unfair trade practices otherwise actionable at               begun advertising Lollipops extensively because
         common law or under other statutes of this State ."                 the rink was still under construction .

         Fn?. Title IS U.S .C . § 1117 provides in pertinent        On May 15, 1981, the district court rendered its decision . It
         part : "The court in exceptional cases may award           dismissed the state law trademark infringement count
         reasonable attorney fees to the prevailing party ."        because Jellibeans, Inc . had not registered its service mark
         See infra text part IV . Title 106 Ga .Code Ann. §         in Georgia . [FNIO] The court then held that Jellibeans,
         703(b) provides in pertinent part : "The court (in its     int.'s, claims under [he Lanham Ac[, the Georgia Uniform
         discretion) may award attorney's fees to the               Deceptive Trade Practices Act, and the Georgia law of
         prevailing party if . .. the party charged with a          unfair competition tamed on the same question--whether
         deceptive trade practice has wilfully engaged in the       rollerskaters, the purchasers of Jellibeans' and Lollipops'
         trade practice knowing it to be deceptive.                 services, were likely to confuse Lollipops "838 with
                                                                    Jellibeans . [FN 11] The court found that rollerskaters were
At trial, Jellibeans, Inc . called two patients and a business      likely to confuse the two. It therefore declared Skating
acquaintance of Dr . Feinman to testify . They stated that they     Clubs' use of the name Lollipops unlawful and permanently
saw Lollipops' sign, believed that Jellibeans, Inc . was            enjoined its further use . The court denied Jellibeans, Int .'s
opening a new rink because of the similarity of the names,          request for attorney fees under IS U .S .C . § 1117, however,
and called Dr . Feinman to inquire whether he was opening a         holding that Skating Clubs did not possess the type of intent
new rink . Jellibeans, Inc . also produced a survey that            that warranted a fee award. It did not rule on 7ellibeans,
showed 96% of those interviewed had heard of Jellibeans             Int.'s request for attorney fees under 106 Ga.Code Ann. §
and 48% of them believed that the Lollipops rink was                703(b) .
related to it . Skating Clubs objected to the introduction of
this survey in evidence, contending that it was so flawed                    Fti10 . See supra note 4 . Skating Clubs does not
that it lacked probative value . [FtiBJ The court admitted the               appeal this ruling. The court also noted that federal
survey, however, ruling that the deficiencies impacted the                   registration of the service mark is not a prerequisite
weight to be accorded the survey and not its admissibility, a                for bringing a Lanham Act claim under 15 U .S .C .
ruling Skating Clubs challenges on appeal .                                  1125(x) . See Boson Prufievsinrtal Haclev .4ss'n r .
                                                                             Dallas Cup & Emhlcnt .Nfg ., X10 F2d 1004, 1010
         FNi+ . For more information on the survey and its                   (5th Cir .1975), cert . denied, 423 U .S . 868, 96 S .Ct .
         alleged deficiencies, see infra note 24 .                           132, 46 L .Ed .2d 98 (1975) .

In its defense, Skating Clubs presented the testimony of                     FN 1 I . To prevail on these claims, of course,
owner, Albert Couey, and his nephew Jerry Taylor, who                        lellibeans, Inc. also had to allege and prove other
brokered the sale of the real estate where Lollipops was                     elements . Skating Clubs does not appeal the district
being built and who served as Skating Clubs' insurance                       court's rulings on any of these other elements and
agent . Both Couey and Taylor testified that Taylor                          therefore we do not discuss them .
suggested the name Lollipops . Both denied that they had
considered the similarity of the names Lollipops and                Skating Clubs appeals. It contends that the district court was
Jellibeans . They admitted, however, that they had been             clearly erroneous in finding that rollerskaters are likely to
aware of Jellibeans . Couey testified that the original sign        confuse Lollipops with lellibeans . [FT112] Jellibeans, Inc .
announcing the construction of Lollipops stood only two             cross-appealing, contends that the district court abused its
days before it was burned by a fire of unknown origin . He          discretion in denying it attorney fees under IS U.S .C . §
testified that Skating Clubs replaced it with an identical          1117 . Jellibeans, Inc. does not question, however, the
sign, except (or the word "Disco" which was omitted from            district court's failure to rule on its right to attorney fees
the name of the rink . )ellibeans, Inc . materially impeached       under 106 Ga .Code Ann. § 703(b) .
this testimony, however, by introducing pictures of the two




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          FN 12 . Skating Clubs also argues that the                   whether (I) [he district court's finding of fact as to the
          association of a candy name with a roller fink is a          amount of interstate contact can be accepted as not clearly
          marketing concept that is no[ protected by the               erroneous ; and (2) whether as a matter of law the interstate
          Lanham Act . This argument does not merit textual            contacts are sufficient to satisfy the jurisdictional
          discussion . That the name Jellibeans is a valid              requirements of the Lanham Act, I? U .S .C . § ; I1=1, 1125 .
          service mark, albeit unregistered, cannot be                 The district court found that Jellibeans drew patrons from an
          disputed . That the district court did no more than          area that was within 60 miles of Atlanta, and included pans
          enjoin Skating Clubs' continued use of a name                of Alabama, as well as receiving some out-of-state
          confusingly similar to that mark also cannot be              convention business . In addition, the trial court found that
          disputed . Thus, in issuing the injunction, the              Jellibeans received some free publicity in national
          district court merely protected a valid service mark         magazines . None of the evidence *839 on which these
          and in no other way affected Skating Clubs'                  conclusions were based was reburied at trial . Therefore, we
          marketing of it rink .                                       accept the district court's findings as not clearly erroneous .
                                                                       These facts establish that Jellibeans used its mark in
                                11 .                                    interstate commerce sufficiently to invoke the court's
                                                                       jurisdiction . There was no requirement that Skating Clubs'
[1] We note subject matter jurisdiction in this case .                 business be shown to be interstate as well . "'[I]n commerce'
Jurisdiction of Jellibeans, Inc .'s Lanham Act claim is                 . . . does not mean that an infringer is immune from
conferred by the Lanham Act itself, 19 U .S .C . yti' 1121 .           prosecution under the statute so long as he keeps his
[FN 131 This statutory grant of jurisdiction, however, may              infringement entirely within the confines of a state ."
not exceed the constitutional limitations on the power of               Coca-Cola Ca . v . Stnvart, 621 Pfd 287, 290 (8th
Congress to regulate service marks ; rather, it reaches and is         Cir .1930) ; World Cnrpets, Inc . v . Dick Littrel!'s New World
coincident with the constitutional boundary embodied in the             Carpets. 438 F .2d 452, 488 (5th Cir .1971) .
commerce clause . The Lanham Act proscribes the false
description or representation of services that "enter into                                            III .
commerce ." IS U .S .C . § 1125(x) . The use of "[t]he word                                           A.
'commerce' [in the Act] means all commerce which may
lawfully be regulated by Congress ." I S U .S .C . § 1127 . This       The district court held that the Georgia deceptive trade
grant of jurisdiction has been construed to be "at least as            practices and unfair competition counts involved the same
broad as the definition of commerce employed in any other              dispositive question as the federal Lanham Act count This
federal statute ." S'hu(e! Corp. v. Mao Tu Lumber & }'ac/u             is a question of state law that the parties do not challenge on
Corp ., 697 F .2d 1352, 1 ;56 n . ; (11 th Cir .1983) ; Bidora         appeal . Therefore, we treat this holding as correct [FN]4]
flaich Cu. v . .SYce(e . 194 F .2d 967, X70 n . I I (5th Cir .1952),   and merely determine whether the district court properly
aJfd, 344 U .S . 280 . 73 SCt 352, 97 L .Ed . 252 (1952).              decided the Lanham Act count . If we determine that the
Nonetheless, purely intrastate disputes do not fall within the         district court decided the Lanham Act count properly, we
commerce clause and therefore are not subject to the                   will also affirm its decision on the Georgia deceptive trade
Lanham Act's regulation . /ding r . dnoslnn . 266 F .Supp .            practices and unfair competition counts .
 1015 . 1019 (K .D .III .1967) .
                                                                                F'N14 . We note parenthetically that .4mslnr Corgi .
          FN 13 . Title IS C .S .C . § 1121 provides :                          v . Dominos Pizza . Inc, 615 F .2d 252, 258 (9th
          The district and territorial courts of the United                     Cir.1980), cen. denied, 449 U .S . 499, 101 S .Ct .
          States shall have original jurisdiction and the courts                268, 66 L .Ed2d 129 (1980), appears to support the
          of appeal of the United States shall have appellate                   district court's ruling .
          jurisdiction, of all actions arising under [the
          Lanham Act], without regard to the amount in                                                B.
          controversy or to diversity or lack of diversity of
          the citizenship of the parries .                             [3] The law of trademark and service mark infringement is
          Jurisdiction of Jellibeans' claim existed in the             part of "the rather swampy area of unfair competition ." John
          district coon for the unfair competition count under         H. Har[und CU. v. Clarke CheL As . [tic . . 71 1 F . 2d 966 (11 th
          23 U .S C . S 1333(6), and for the two Georgia               Cir .1983) (quoting R .H. Burin Cu . v. A.A.9 Replacement
          statutory counts under the doctrine of pendent               Parts Co ., 451 F .2d 1254, 129$ (5th Cir .1971) (Goldberg,
          jurisdiction as diversity is lacking (both parties           J .)) . A service mark is a form of property and has property
          being Georgia corporations) .                                rights associated with it . The definition of the property right,
                                                                       where it begins and ends, is the correlative of the question
[2] We art, accordingly, required to determine in this case            of whether a given act infringes on the property right .
                                                                       Determining whether an infringement has taken place is but




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      the obverse of
                         determining whether the
      owner's property right                             service mark
                                  extends info a                                               ( :ir)9jj) ; ,ldilhiz :rth
      property right entailed in a                  given area . The
                                    service mark has an                                        S76 P .2d 443, 445-46 Coinciting ('r,rp . r. S7if~~r,
      multi-dimensional character                          amorphous,                                                     (2nd CirJ9P0) : :11c('c~ruuck
                                      that is subject to                                       r( Co . v. R. UGini
      circumstances . The factual                         change with                                               .erqewil7 C'u., 206 F
                                                                                                                                           .2tl 744 (6th
     including how it is             setting surrounding                                       ( :ir.1953) ~ C,'uliJbrniu
                          created, where it is located,      the mark,                                                      From Growers Ercfi, ,.,
                                                                                              Su~~kisr Bn,fing Co., IC,(,
     Putatively infringed i, crucial to determining      and  how it is                                                         F .2tt 971 . 97~
                                                                                              Cir .1437) . The. recent                              (7th
     infringement has taken place                       whether such                                                      cases in [his circuit
                                    . There is no simple,                                     accord that this is a                               are in
     maker complicated,                                     or for that                                                question of fact . We adopt
                              test by which the                                               view.                                                 this
     infringement is resolved .                          question of
                                                                                  (5j The       "likely to confuse" test
    The test for a service                                                                                                  is nod as unidimensional
                                 mark infringement under s                           its appellation would                                                as
     1125 has often been                                        I U .S .C                                       imply. While there are
                                                                                    this   test in the sense of                            no
    offending mark is
                                   expressed as whether
                                                                or not the                                         necessary and sufficient subparts to
                               "likely to cause confusion                           there are a number                                          conditions
    Hadand, 711 F.2d a[ 961 ;                                     ." [FNIS]                                     of factors which may
                                      .9ni~yrrr CniT . r.                           question of likelihood of                                 bear on the
   Inc., 61i F.2d 2i= . ~i8                               Domino Pizza,                                             confusion . In Snje,vay,
                                    (ith CirJ43U), cert.                            enunciated a number of                                       this court
   US . 899, 101 S .CL                                        denied,     449      the plaintiffs mark?           such  factors : (1) How distinctive
                               268 . 66 LEd .=d 129                                                                                                       is
   Pro~essiann! Hnckel' ~?ss'n r,                          (1930)   : Bosro,i                                     Do    consumers strongly
                                          pu(lds Call cF Enihleni                  plaintiffs service mark                                         identify
   Inc, 570 F .2d t004,                                                 d/fA.,                                   with  his services? This is
                                     (5th Cic19'S), cert.                          because the more
   U .S . 363, 9C, S .CC 1013                                 denied, 423                                    distinctive the plaintiffs important       the
                              132, Ab L .Ed .-d 4K                                stronger      it is                                          mark,
  dispositive issue in                                 (1975),    Thus the                            considered,    and   the more protection
                                  the court below                                 accorded from confusingly                                           it is
  rollerskarers--the purchasers                            was whether                                               similar marks; (2) How
                                         of Jellibeans' and                       are    the  designs of the plaintiffs                            similar
  services--are likely to confuse                                Lollipops        Obviously . the greater                     and defendant's
                                          Lollipops' services as                                                   the similarity, die            marks'?
  rendered, authorized,                                                being
                              sponsored, or endorsed by                           likelihood that purchasers                                greater the
                                                             Iellibearu .                                           will confuse the
                                                                                 defendnnYs services.                                   plaintiffs and
              FNIS . There is a superficial                                                                     This principle also
                                                   distinction between           subsidiary     facts 3, 4, and 5; (3) How                  applies to
             this "likely to                                                     the plaintiffs and                            similar are the services
                                   confuse" rest and the
             registered trademark cases                             test in                               defendanPs marks represent
                                                                                similar are the plaintiffs                                  ;
             in which the offending            under IS U .S .C . § I I Iq                                        and defendant's retail (4) How
                                             mark must be "likely               their customearrs; ('S)                                          ets and
            cause confusion , or                                          to                                 How similar is the
                                          to cause mistake,                     plaintiff nd defendant                                      Outlets the
                                                                                                                                      advertising
            deceive ." As aPPl ;ed,                                  or to                                       use; (6) li~hether the
                                         however, the case law                  intended that purchase                                        defendant
            not reveal a meaningfi,l                                  does      with the plaintiffs         ors  would confuse his service
                                            distinction between these                                      mark and (7) Whether                    mark
            tests . See, e.g., An-I. ., b                                      SQtually confused by                                     people were
                                           IS F .=d al .j$-59 .                                               the similarity
                                                                                l a' 675 F._d at 1164                  of the marks .
 l3) The standard of review
                             applicable to the district                       court evaluates and            (and cases cited therein) See
 finding of a                                                                                        weighs these subsidiary           . The
               likelihood of                             court's
 whether this is a question confusion is dependent upon                       determine, as a matter of
                                                                                                        fact, whether consumers findings  to
                             of law, or of fact, or                          to confuse the                                       are likely
embodying both . This circuit has held                 a hybrid                                 defendant's services with
                                       that it is a question of              services . [F\717]                              the plaintiffs
fact, Hurlund, 711 F2d
                          at 972_y7_;, and can
only if clearly " N40 erroneous
                       . S'n/ewq~~                be set aside
Sqfei,~ur Diccuum Dni,~s,                      Scores . Inc. v.                          VN> T We note that the
                           Inc., 675 P.Zd 1160, 1163                                                                  district coon should
Cir.9821; Ansar,                                         (11th                           determine whether a                                not
Fed                   61 ; p .=d a~ -151-58 ;                                           by merely computinglikelihood of confusion exists
    .R .Civ .P. 52(a) . [FNI61                             see    also                                             whether a majority of
                                                                                        subsidiary facts indicates                          eke
                                                                                        exists . Rather, the           that such a likelihood
          Fhb . There is some                                                                                district court must
                                   older authority within                              weight to be accorded                      evaluate the
         circuit for the contrary                           this                                                    the individual
                                  proposition that "likelihood                         facts and then make                          subsidiary
         of confusion" is a mixed                                                                              its
                                       law and fact question                           Rolo- Rnorcr (;'Or,). v, ultimate fact decision . Cf.
         See, e .g., B.H. Burtn,                                 .                                               O'Neal 113 F1d 44,
                                    451 F .2d at 1261 .                                (5th Cir .197'~                                  35-06
        proposition is adhered to by                      This                                          ("While proof of actual
                                       a                                              nod required to sustain                     confusion is
        courts ; see, e.g., Fl,uc{,~~nunnnumber of the circuit                                                   a claim of infringement,
                                           Disril/i»g Corp . v.                       view of this court is                                the
        .b/nier llrtiring Co.,                                                                                that it is the best
                                  114 F2d 149, 1i9                                    likelihood of confusion .").                evidence of
       Cir .1961) cert, denied,                           (9th
                                    37d U,S . 830 R3
        1870, IG L .Ed .2d Ip53                          S .Ct .
                                    (1963) (ultimate issue                (6] Since it is undisputed
       likelihood of confusion is                            of           this analysis as the         that the district
                                    a                                                                                    court identified
       RoehracA & Cu . v. Joh~reun, question of law) ; Seu~ ;e .          Lanham Act claim,
                                                                                               correct standard for
                                                                                                                     deciding 7el(ibeans'
                                      219 F .2d 590, Syl                                        our function on review
                                                         (3rd             determine whether the                            is
                                                                                                   district court properly merely to
                                                                                                                            applied this



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01 1"QAYE's t Court b"'je, an cl Confuse
                                           J~Ojlipops                                                                       we ,          idered It
                                                                                                     confusion itVICTC:ndy'd it 15 . cons . first Pelso it - to
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                       ee I                                                                                                       C'Son to .11 ameTease
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                                                                                                                               marks that were     spelled
                                                                                                           Technical, involved       ol zd marks
                                                                                                                              Foods                       these
                                                         mark . See Sul~%"~+S'~                            While General                      argues from
                        Jellilxans, Inc .'s                                                                       identically . Skating Clubs        the  marks
            strength of                                                                                    almost                    court must find
                                                                                                                              district                     before it
            67iF2dxtliti5-                                                                                  eases that the              idendcaUy spelled
                                                            . lellibeans                                                   or  almost                 . We disagree .
                                  upholding this finding .                                                  synonymous
                                                                                                                                  general ~mP~ession
       We have     no difficulty               to roller rinks     Survey                                   can  find a similar                    examine d by this
               an arbitrary mark as applied                       96°.% of                                                           nor any other
  clearly   is                              Inc . showed
                                                           that                                             Neither these cases, matter of law, a coutt can find
                            by Je~libeans,                          strong                                   court state that, as a              general impression
  evidence inVOduced heard of lellibeans, indicating                     in                                                    convey the same 'pAle d similarlY-
                         had                                 evidence                                             two marks
  Lthus e interviewed            Finally,  these is ample           United
                                                                                                             that
                                                                                                                              are sy~~nY"~~ or                        a
                          mark .                     rink in the                                                                                that this matter is
   ~ecogninon of the              is the only ~o~~er
                                                                                                             only +f they
                                                                                                                                   s4~te merely
                                                                 . we hold                                                 cases                           individual
   the record that Jel~~beans . In light of this evidence                                                     Rather, the                          in each
                                                                                                                                 to be detamvned clearly ertoneous
    States acing a candy name                     3ellibeans    is a very                                     question of (act
                                            that
                         court's finding protection is not clearly                                            case, and rev«N'ed ~de<
                                                                                                                                              <he
    that the district              w   broad
                         marled                                                                                         .
     distinctive mark                                                                                          standard
                                                                                                                                                               third
     ettoneous .                                                                                                                               findings on the
                                                                       court                                             the district court's              was   not
                                               That the district                                   [l01 We also
                                                                                                                 uphold                             couA
                  second   subsidiary fact                the    design of                                      subsidiary   faro . The district Jellibeans and
           1't,e                         between ~84Z                                              and fourth                                 both
                     the similarity                        of        Skating                                            in finding that                    pnmadly
     examined ~s                          and the design determined                                   clearly erro~e°°S                                  with a clientele
      ellibeans . Ine .'s service mark,           held, is                                                                        skating rinks                    adults . Even if,
                                                                                                                                                                                            as
                            mark   fact, the wuct
                                     . This                   marks .       by   the                   Lollipops         are
                                                                                                                                  teenagers and young physically and attract
     Clubs'         service                     impression       created                                                   of
                              the overall                                           Co .. 597          comP~sed                                    rinks differ
                                                                                                                                                             sufficient overlap i~ their
     by considering                            260-61    ; .Irrnsno~+g Cork                            Skating       Clubs alleges, the                find
                                   F .-d   at                                      and   aural                                           ages,    we                                           -
     See ,qmstar,          615                                       a  v
                                                                        visual                         patrons of         diffecznt                             district court's findings
                       502.  The      district    ~~~ ford
                                                                        . The    court found                           and    clientele      to uphold the
      F?d at                                                    marks                                   services
                           exist between these 1e11ibeans two            because Skating                see SnJ~~~~'n)' S~°~~`~` " 6~5 I~ .2 d at 1
      similarity to                                to
                         visually       similar                         a  "y'~--a~~   equally                                                                            examined is the
       I .~~~ ;Ppps                 with     an       rather lhan                  finding     an                                     fact     the   district court                  Inc. and
                               it                                              In
       Clubs spelled                            used the Pill f°m''                  has   three         ~l I] The fiNh advertising used by Jellibeans,                                     Inc .
                          spelling--and                                    name                                                   the                                        Jellibeans,
       acceptable                         court noted that
                                                                    each
                                                                                         second          similarity of                           court    found illat                    school
        aural sim~~sntY ~h~                                                first and                      Skating Clubs .
                                                                                                                                        The                   supplemented with
                                  a~    °~°   sound dividing she                      and third                                      radio adveRising, court found that Skating
         syllables,
         Syllabsylla     with                         dividing       the  second                          Primarily        uses
                                       "~~~ sound                                 ." ~e court                                         promotions . The                      advertising . More
          syllabtes, and an each name ends in a total "s                                                  a^~ charitable                           similar   forts
          syllables , and shat similarity most impo~~~
                                                                                    cause     both
                                                                                                           Clubs uses, or will
                                                                                                                                            use,                                claim that it
                                                                              mouth     or  radio.                                      accepted       Skating Clubs' Lollipops by
           found this auralprimarily either by w'o~d of                                                    specifically, it                          advertise, LFZZ1 T'~of
           rinks advertised                                       names      create a similar              advertised,            and would                personal    contacts with PTA's
                                           found that      the                              candy                                      publications,
           Finally,      the   rood                                 similar   sounding                                                                              promot     ional acGviGes ."
                                          because     each is a                         on    these                churchneighborhood
                                                                                                                                 groups,           fund-raising                              radio
            genera~ ;gyp p cessionsignify a roller rinl~. Based                                                                                                          H'oufd eschew
                                 to                                       that   Lollipops        nd
                                                                                                and         "and
                                                                                                                                Skating      Clubs' claim that ~~                can  change      at
             name used               tile   district   coon found                                            It rejected                       that  "adveAislnS habits               and     most
             considersuons "              similar designs .                                                  advec~ising . noting                         defendant's largest
                                                                                                                                           w~~~ be                              unreasonable w
              JelUbcans P ossess                                                                              will . Lollipops skating rink and it is not                               extensive
                                                                     and aurally, we ~'e          not         elaborate roller                            may employ mire
                                         the  names visually                           the   district                                   dzfendant                                                   if
               After examining                                                  that
                                                 and firm conviction . Moreover, we                           imagine that                                             other rinks . .. .° Even
                             the    definite                           similar                                                     for  it  than   it does for its                  however, the
               left with                                                                                                                                           advertising,
                                                in finding' em                               the two           advertising
                                                                                                                             Clubs would not
                                                                                                                                                       use radio                                 and
                court made a mistake                  court     eaed   in fording that                         Skating                               Skating     Clubs''     use of school
                                       the   district                                        [FN=»                                             the                                      Jellibeans     .
                cannot say that                                           impression                            court determined                                            similar to
                                          the    same general               finding    that the two                               promotions        was sufficiently            similarity    m    the
                 n ames     evoke                                 courses
                                      uphold the district
                                                                                                                charitable                              to find a `843
                 Therefore, we                          .                                                       Int.'s     local Promotionsparties,
                                            in design
                  marks tie similar                                                         Hunrnck              advertising used
                                                                                                                                            by ~e
                                                                       several    cases,
                                                     Clubs cites                           737, 739,                                                            10 .
                              FNI I . Skating                 Wir¬ Ca . . 203 F .?d Amr'rican                                    FN22 . See supra note,
                                                  Sleet    &                                                                                                                               erroneous
                              v. ..tntericun                                  ! 193) ;                                                                            court was clearly
                              qp Cus'1 . 8: Pa~.APP931                   General     Foam      Plna~tics
                                                                                                                         cannot       say   that the district                 of  Jellibeans     Inc .'s
                                                                Inc. v                                            We                                     The evidence
                               Techniial Industries, 2aa, ;46-`~7 (S .D .h'1~-1978) ;                                                 this   finding                                 and   charitable
                                                                                                                  +n making practices, which include school
                               C~~ .p .,. 2p0 U .S .F .Q.           Bwd`n' b~` . 191
                                                                                              U .S .P .Q                                                                             use, and intent
                                                       Corf'  .  v-                                   the         advertising
                                                                                                                                           uncontradicted      . Skating Clubs'
                               be
                               G eneral       Foods                               acSument      that
                                                                                                                  promotions, ~s                                               °°c°°tradicted . The
                                                             to support its                           that                                           advertising a a~s°                          would
                                ~,~9 Sri p,11L19"16),                                 in  finding                                       fortes    of
                                district court was clearly ertoneous                                . The          to use these                                    advertising practices
                                                                        gzneral     impression                               evidence         that Lollipops
                                                           the same                                                only
                                 the m~ks create cases, Nancock and American
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                                  first two of


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differ from Jellibeans' is Albert Couey's testimony that                    have inured to his benefit and to the detriment of
Lollipops would not use radio advertising, which the district               "Jellibeans" and the public . Thus, while intent is of
court rejected . Determining the credibility of this testimony              some probative value, particularly if a bad intent is
is a task solely within the province of the trial court, which              shown, it is neither a necessary nor sufficient
had the opportunity to hear the witness and view his                        condition for determining the ultimate legal fact of
demeanor while testifying . We do not think the trial court's               the "likelihood of confusion ."
finding on the credibility or lack thereof to be accorded this
testimony is clearly erroneous . See United Slates v.              [13] The final fact the district court examined is whether
2eddoch. 467 F2d 347, 898 (5th Cir.1972) . Given Couey's           people were actually confused by the similarity of the
other testimony about the content of the two Lollipops             marks. The court found that such confusion between the
signs, which Jellibeans, Inc. materially impeached, we are         marks did exist. It based this finding on two types of
not left with the definite and firm conviction that the trial      evidence : first, the testimony of two patients and one
court erred in disbelieving Mr . Coney's testimony about           business acquaintance of Dr . Feinman, one of Jellibeans,
Lollipops' advertising . Given this conclusion, we also            Inc.'s major stockholders, that they saw the Lollipops sign,
cannot find that the trial court erred in finding that the         thought that Feinman's corporation was opening a new rink,
parties advertise similarly.                                       and inquired of or congratulated him on the new rink ;
                                                                   second, a survey introduced by Jellibeans, Inc. that showed
[ 12] The district court next examined Skating Clubs' intent,      48% of those interviewed believed that Lollipops was
and found that Skating Clubs selected its service mark,            connected to Jellibeans . The court placed minimal weight
Lollipops, with the intent of confusing consumers with             on the survey evidence, finding it "seriously flawed," but
lellibeans, Inc.'s successful mark, Jellibeans . The court         found that it, taken together with the witnesses' *844
based this conclusion solely on circumstantial evidence,           testimony and in the absence of any countervailing proof,
rejecting Coney's and Taylor's denials that they had selected      was sufficient to show actual confusion. Skating Clubs
the name Lollipops with no intent of benefitting from its          contends that this finding is clearly erroneous, arguing that
similarity [o Jellibeans . Intent, as the district court noted,    the testimony of only three witnesses is insufficient to prove
must often be proved by circumstantial evidence . Certainly        actual confusion and that the survey is so flawed that it is
the record in this case--which includes testimony that             inadmissible . We cannot agree .
Skating Clubs' other rinks were called "skating clubs" and
named after their geographic location, and that both Couey         Skating Clubs cites Sun Bunks r . Sun Federal ,Savings fi
and Taylor knew of Jellibeans and its success when naming          Loan, 651 F2d ;I1 Oth Cir .l9Rl I, and Amstar
                                                                                                               . 615 P2d
Lollipops--provides sufficient evidence to support a finding       252, to support its argument that three reports of actual
that Skating Clubs intended to confuse rollerskaters when it       confusion are insufficient to support a finding of actual
adopted the name Lollipops. Moreover, the court also had           confusion . In Sun Bankr, the court held that nineteen reports
more than adequate evidence to disbelieve Coney's and              of actual confusion over a three-year period were
Taylor's denials of improper intent . As slated supra,             insufficient to establish a finding of actual confusion .
Jellibeans, Inc. materially impeached Couey's testimony by         Similarly, in Amstar the court held that three instances over
showing the substantial differences in the Lollipops' signs        a fifteen-year period were insufficient proof of actual
that Coney described as identical. Jellibeans, Inc. also           confusion . Skating Clubs argues that if the evidence offered
 impeached Taylor's testimony by showing his business and          in those cases was insufficient, the evidence in this case is
 familial relationship with Coney. Given this evidence, we         also insufficient . We disagree .
cannot hold that the district court clearly erred in finding
                                                                   Skating Clubs' argument presumes that the reviewing court
that Skating Clubs intended to capitalize on Jellibeans'
 reputation when it named its new rink Lollipops. [FN23]           should review the evidence on some sort of absolute scale,
                                                                   rather than examining the evidence in light of the
         FN23 . It is possible that Coney's intent was to          circumstances of the particular case . It is this latter mode of
         invite comparison between his skating rink and            analysis, however, that Sign Banks and Amstar prescribe . In
         Jellibeans, or to convey the same imagery and             both of those cases, the court specifically qualified its
         symbolic message in his service mark . Neither            insufficiency finding to the facts of the case . In Sun Banl:s,
         intent is to be condemned and if actualized would         for instance, the court stated that the nineteen incidents were
         not therefore be illegal . Both of these efforts can be   insignificant given the extent of the parties' advertising and
         realized by choosing a service mark close to              the number of transactions they handled during the
         "Jellibeans ." In doing so, however, even if Coney's      three-year period . In Amsior, the court likewise found that
         intent was innocent and he realized his purpose he        the three instances of actual confusion over fifteen years
         ran the risk of creating a likelihood of unreasonable     were insufficient given the parties' extensive advertising .
         confusion in the minds of the public which would          Thus, Sun Ranks and Amstar emphasized [hat in




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determining the sufficiency of the evidence to prove actual         this survey evidence combined with the testimony of [he
confusion, a court should examine the totality of the               three witnesses sufficiently supports a finding of actual
circumstances to determine how likely instances of actual           confusion . In answering this question, we note that the
confusion would be reported . This examination may include          quantum of evidence needed to show actual confusion is
consideration of the time period in question and how                relatively small . Sqlcwqr Sturcs . 675 F .2d at 1167 : Rolo
extensively the product is advertised or made known to the          Roorer Corp . r. O :Ncul, 513 Pfd 44, 47 (Sih Cir .1975) ;
public, see Sun Banks, 651 F .2d 311 ; Anistnr, 61 i F .2d 252,      {L'orld Carpets
                                                                             . Inc . v . Dick Li((rell'.s Veer fi'orld Corpus .
as well as the type of confusion that exists and who suffers        438 F .2d 432 ; 439 (5th Cir .1971) . We believe that the
the confusion . See Armstrong Cork, Co . . 597, F .2d 496 :         evidence in this case satisfies this minimal requirement . As
Hnlidnp Inns, Inc . v. Halidnv Out . 481 F .2d 445 (5th             stated supra, the testimony of the witnesses is probative of
Cir .1973) .                                                        actual confusion . Notwithstanding its technical deficiencies,
                                                                    the survey evidence is also probative . [FN24] Whether
Considering the testimony of the three witnesses in this            either type of evidence *846 would be sufficient alone to
manner, we have no difficulty according it probative value.         support a finding of actual confusion, we need not decide . It
When the witnesses saw the Lollipops sign, it had been up           is enough that when this evidence is combined, and absent
only a short time and was Skating Clubs' only                       any countervailing evidence, we cannot say that we are left
advertisement. Therefore, few reports of actual confusion           with the firm and definite conviction that the district court
could be expected . Cf. 3 R. Callman, The Law of Unfair             clearly erred in finding that actual confusion exists between
Competition, Trademarks and Monopolies § 80 .6 (3rd ed .            the names .
1969) ("when equitable relief [from the defendant's use of a
confusingly similar service mark] is sought with due                         FN?d . Two hundred fourteen persons, aged
promptitude, the use of defendants mark will have been of                   approximately 12 t0 24 and who had rollerskated in
such duration that, even if actual confusion has occurred,                  the last year, were interviewed at six shopping
proof thereof is virtually unattainable ."). Moreover, the                  centers located near Jellibeans and Lollipops . They
reports of confusion that do exist appear genuine, given that               were told that a new roller rink named Lollipops
the three witnesses independently and on their own initiative               would be opening soon and then asked whether
contacted Dr. Feinman to inquire about the new rink . Thus,                 they thought the Lollipops rink may be connected
this testimony alone might be sufficient to support a finding               with any other rink . Forty-eight percent of those
of actual confusion. We need not decide this question,                      interviewed believed that Lollipops was connected
though, because the record also contains survey evidence on                 to lellibeans because of the similarity of the names .
this issue.                                                                 We find this level of responses probative of actual
                                                                            confusion between the names .
[14] Skating Clubs argues, however, that the district coon                  The technical deficiencies alleged by Skating
should not have admitted this survey evidence because of its                Clubs merely reduced the weighs of this evidence .
alleged technical deficiencies : (I) poor sampling ; (2)                    For instance, the fact that the survey interviews
inexperienced interviewers ; (3) poorly designed questions ;                occurred only at six shopping centers and involved
and (4) other errors in execution . These alleged technical                 only roller skaters aged 12 to 24 may not provide a
deficiencies affect the survey's weight, however, and not its               holy representative survey sample . It may be that
admissibility . See E.crun Corp . v. Texas Motor Eschanize .                the rollerskating universe is not limited to this age
                                       Amstar,
628 F .2d 5011, 50 7 (5th Cir .19R0) ;         615 F .2d at 264 ;           group and does not frequent these shopping
Holiday Inns, Inc., 481 F .2d at 417 ("the district coon                    centers . Even if this is so, the survey does provide
properly admitted the survey evidence in this case, leaving                 some indication of the substantial confusion
the format of the questions and the manner of conducting                    experienced      by      this    segment     of     the
the survey for consideration as to the weight of the                        population--which Jellibeans, Inc ., claims primarily
evidence .") ; see also C . .4 . :Sloe Marine Supply Co . v.                composes its clientele and which Skating Clubs has
Brunswick Corp ., 649 F .2d 1049, 10» n . In (5th Cir .19R1)                not contradicted . Therefore, notwithstanding this
(covet excluded survey evidence because " 845 irrelevant,                   alleged deficiency, the survey is still probative .
but noted that "[i]f the inadequacies in the survey had been                Similarly, the fact that the three interviewers may
technical, such as the format of the question or the manner                 have been inexperienced does not wholly destroy
in which it was the survey [sic] was taken, those                           the probativeness of the survey . These interviewers
shortcomings would have borne on the weight of the                          were college seniors majoring in marketing with
evidence, not its admissibility .") Therefore, the district court           top marks in their survey course . Moreover, they
properly admitted the survey evidence, however flawed .                     were given 90 minutes of instruction on how to
                                                                            conduct the survey . Finally, the interview itself
[IS] The question before us then is one of weight--whether                  merely required the interviewer to read the




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         questionnaire to the interviewee and properly                      weight . As long as no words in the mark blur the
         record his answer . This task does not appear                      results of the test, the survey merits some weight .
         beyond the competence of the "inexperienced"                       Since the marks involved in this case tomato no
         interviewers . Skating Clubs also argues that                      such words, the survey is entitled to some weight .
         because      four     of   the    214     questionnaires           Certain alleged errors in the execution of the
                                                                            survey     also do     not   destroy   the     survey's
         unexplainedly have an unknown person's initials on
         them, there must have been a fourth untrained                      probativeness . Skating Clubs alleges that the expert
          interviewer . Even if this is true, it does not trouble           who conducted the survey, Doctor Edward W .
         us .   The remaining         210 properly recorded                 Cundiff, did not (I) pretest the questionnaire to
         questionnaires      still   remain     probative .   The           determine if the questions were confusing ; (2)
          allegation that  the survey  questions  may  have  been           validate the survey by calling several interviewees
          poorly designed also does not totally destroy the                 and verifying their responses ; and (3) initially
          probaNveness of the survey . Although the survey                  compute the results correctly . However, Dr .
          could have included pictures of Lollipops' and                    Cundif7 stated that he pretested the questionnaire
          Jellibeans' logos, we believe that a comparison of                by asking two teaching colleagues to fill them out ;
          the names alone deserves some weight . Skating                    he felt further pretesting was unnecessary given the
          Clubs disagrees, arguing that "word association"                  simplicity of the questionnaire . Dr . CundifF also
          surveys are entitled to no weight . Skating Clubs                 stated that he validated the survey by : (I) secretly
          cites 9msiar, 615 F .2d 252, and Holiday bins, lie .              observing the interviewers while they conducted
          481 F .2d 445, to support this argument . Skating                 some of the interviews ; (2) asking the interviewers
          Clubs, however, reads these cases too broadly .                   after the interviews whether they followed his
          In Ho(idav Inns, Inc ., the Holiday Inns hotel                    instructions ; and (3) randomly phoning several
          company claimed that the name Holiday Out, when                   interviewees to confirm that they were interviewed ;
          used by a campground company, was too easily                      he did not attempt to confirm their answers because
          confused with its service mark . To prove actual                  people often rethink their answers after the
          confusion, Holiday Inns introduced a survey that                   interview and offer different ones . Lastly, Dr.
          recorded people's responses when shown a placard                  Cundiff stated that he recomputed the survey
                                                                             results    accurately    poor    to   trial .   These
          bearing the words "Holiday Out" and asked what
           other company it brought to mind. The Holiday                     uncontradicted statements by Dr . CundifT show that
           Inns, Inc. court held that this survey merited little             certain safeguards existed to ensure the proper
           weight "because the format failed to account for                  execution of the survey . Dc CundifT might have
           the number of responses attributable to the word                  used better safeguards, as Skating Clubs alleges,
           'Holiday' as distinguished from the service mark                  but the ones he used are nevertheless sufficient to
           Holiday Out ." 481 F .2d at 448 . Thus, the Holiday               allow one to accord some weight to the survey
           Inns, Inc . court did not hold that all word                      results .
          association surveys are without weight . Rather, it                Finally, we emphasize that we do not decide today
          held that if a service mark contains a word that                   precisely how much weight should be given the
          independently may be associated with other names,                  survey results. We only uphold the district court's
          the survey should distinguish between the                          decision that the survey's technical deficiencies do
          confusion caused by the word, and the confusion                    not strip it of all probative value .
          caused by the mark that contains the word . If this
          distinction is not made, the survey is accorded little    [ 16] Having found the seven subsidiary findings not clearly
          weight .                                                  erroneous, we now must determine whether the district
          In Amstar, that is exactly what happened . There the      court's evaluation of these findings and its decision on the
          Amstar Corporation claimed that the "Domino's             ultimate fact question--whether roller skaters are likely to
          Pica" was too easily contused with its service            confuse Lollipops with Jellibeans--is clearly erroneous . We
          mark, "Domino Sugar." In its survey, Amstar               hold that it is not. Jellibeans, Inc.'s service mark is
          Corporation showed persons the Domino's Pizza             distinctive and is entitled to broad protection ; there is a great
           mark and asked if it brought anything else to mind ;     similarity between Lollipops' and lellibeans' designs,
           it did not try to account for the number of              services, retail outlets and purchasers, and advertising ; and
           responses attributable to the word "Domino's." For       Skating Clubs intended to use these similarities to confuse
           that reason, inter alia, the Amstar court gave little    others, which it did. Weighing these factors together, we
           weight to the survey .                                   conclude that there is a strong likelihood that roller skaters
           Thus, the mere fact that a survey involves a word        will confuse Lollipops with Jellibeans . We therefore affirm
           association test does not mean that it deserves little   the district court's decision that Skating Clubs violated




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section I 125 of the Lanham Act . Accordingly, we also                 END OF DOCUMENT
affirm the district court's decision that Skating Clubs
violated the Georgia Uniform Deceptive Trade Practices Act
and engaged in unfair competition under Georgia common
law .

                                IV .

[17] Jellibeans, Inc. cross appeals the district court's denial
of its claim for attorney fees . Having found that Skating
Clubs intentionally adopted a mark confusingly similar to its
own mark, Jellibeans, Inc. argues that the district coon
should have awarded it counsel fees . We disagree .

Under the Lanham Act, a district court may award attorney
fees to the prevailing party "in exceptional cases ." I S U .S .C .
§ 1117 (1976) . "Exceptional cases" are those that involve
"acts which the courts have characterized as malicious,
fraudulent, deliberate, and willful ." S .Rep . No . 93-1400,
93rd Cong . 2d Sess . (1974), reprinted in 1974 U .S .Code
Cong . & Admin .News 7132, 7136. See SnJeirav Sores . 675
F .2d at 1169 ; Vermont Castings, Inc . v. Evaas Products Co .,
No . 79-265 (D .Vt . Dec . 23, 1981) ; Clairol, Gs . v. Save-GFaj
Industries, Inc ., 210 U .S .P .Q . 459 (S .D .171a .1980) ; O'Brien
International .     6+c.    v.   Mi(cli .  209      G .S .P .Q . 212
(N .D .Ca1 .19R0) ; Saltnn, bic. v . Cormrall Corp ., 477, P .Supp .
975 . 992 (D .N .1 .1979) ; RCA Records v . Knry Records
                                                      . Inc . .
 197 L.S .P .Q . 908 (E .D .N .Y .1978) . Even if the court
determines the case to be exceptional, the decision to award
attorney fees is still within the court's discretion . See *847
Safewap Stores, 675 F .2d at 1 169 : Unn .eco. Inc . v. Cu .rper
Corp ., 587 F .2d 602, 608 (3v Cir .1978) . Thus, we can
reverse the district court's denial of attorney fees only by
holding that this is an exceptional case and that the district
court abused its discretion in not awarding fees . We do not
so hold .

The district court denied Jellibeans . Inc. attorney fees
because it found that Skating Clubs' "intent amounted more
to imitation of a successful nark in order to engender
similar good will than to actual conversion of the mark ."
This statement is a finding by the district coon that Skating
Clubs' infringement of Jellibeans, Inc.'s mark was not
malicious, fraudulent, deliberate, or willful, but rather an
honest attempt lawfully to copy a successful mark, which
unfortunately for Skating Clubs proved unlawful . We
cannot say that the district coon erred in this finding .
Moreover, even if we could hold that the coon erred in this
finding, we certainly could not hold that the district court
abused its discretion in denying the fees in this case . We,
therefore, affirm the district court's denial of attorney fees .

 AFFIRMED .

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         EXHIBIT / ATTACHMENT

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                     (To be scanned in place of tab)
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                                                                 Tying arrangement is generally defined as arrangement
                                                                 under which seller agrees to sell one product only on
              United States Coup of Appeals,                     condition that buyer also purchase second product . Shennan
                       Fifth Circuit.                            And-Trust Act, § I, I S U .S .C . A . j I .

    KENTUCKY FRIED CHICKEN CORPORATION,                          lal Monopolies &17.5(2)
               Plaintiff-Appellee,                               2G5kl7 .i(2) Most Cited Cases
                        v.                                        (Formerly 265k17(2 .5))
  DIVERSIFIED PACKAGING CORPORATION et al .,
              Defendants-Appellants .                            Principal evils of tying arrangements are that they may
                                                                 foreclose tying party's competitors from segment of fled
                        No . 74-3060.                            product market, and they may deprive tie's victims of
                                                                 advantages of shopping around . Sherman Anti-Trust Act,
                      March 25, 1977 .                           l, IS U .S .C .A . g l .

Fast-food franchisor brought suit against packaging              [5I Monopolies X17.5(7)
corporation and container corporation for an injunction          _6ik17 .5(7) Most Cited Cases
restraining trademark infringement and unfair competition        (Formerly 265k 17(2 .5))
and defendants filed counterclaims under the Sherman Act,
asserting that the franchise agreements constituted an illegal   Tying arrangement falls within category of per se tying
tying arrangement . The United States District Court for the     violations only if seller has sufficient economic power with
Southern District of Florida, Charles B . Fulton, Chief Judge,   respect to tying product appreciably to restrain free
37( F .Supp . 1136 . rendered judgment for [he franchisor and    competition in market for tied product and only if not
defendants appealed . The Court of Appeals, Goldberg,            insubstantial amount of interstate commerce is affected .
Circuit Judge, held that the franchise agreements, which         Sherman Anti-Trust Act, ~ 1, I s U .S .C .A . N~ I .
provided that the franchisees would purchase certain
supplies only from sources approved by the franchisor, did       161 Monopolies &~17 .5(N)
not constitute a tying arrangement ; that such approved          2fi5k17.~(6) Most Cited Cases
source agreement, were not per se violations of the Sherman       (Formerly 265k 17(2 .5))
Act ; that the agreements did not contravene the role of
reason ; and that the district court's findings that the         When franchisor conditions sale of franchise on buyer's
defendants engaged in unfair competition and trademark           agreement to buy additional products from franchisor, law
infringement were not clearly erroneous .                        of tying comes into play ; and in order to establish per se
                                                                 violation of antitrust law, tying claimant need only
Affirmed .                                                       demonstrate requisite economic power and not insubstantial
                                                                 effect on commerce . Shennan Anti-Trust Act, ~ I, IS
                      West Headnotes                             U .S .C .A . § I .

III Monopolies 0~l2(1 .10)                                       /71 Monopolies b17.5(8)
265k12(1 .10) Must Cited Cases                                   2fi5k175(R) Most Cited Crier
                                                                  (Formerly 265k 17(2 .5))
Arrangement runs afoul of Sherman Act only if its restraint
on trade is unreasonable . Sherman Anti-Trust Act, § 1, IS       Franchisor who requires franchisees to use trademarked
U .S .C .A . y I .                                               supplies does not escape impact of lying principles to any
                                                                 extent, but franchisors right to prevent ushers from setting
/2J Monopolies C~17 .5('n                                        supplies bearing its trademarks must yield to antitrust laws'
265k 17 .50) Most Cited Cases                                    command to open tied market to competitors . Sherman
 (Formerly 265k17(2 .5))                                         Anti-Trust Act, § I, 15 U .S .C .A . ; I .

Tying arrangements are illegal per se . Sherman Anti-Trust       181 Monopolies £28(1 .5) .
Act, Q I, 15 U.S .C .A . ; 1 .                                   2fi5k^3(I .5) Most Cited Cases

X31 Monopolies F=~17.5(2)                                        [81 Monopolies &r28(7.1)
265k 17 .5( 2) Most Cited Cases                                  265g2¢(7 .1) Most Cited Case,
 (Formerly 265k17(2 .5))
                                                                 On antitrust complaint that franchise agreement constitutes




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illegal tying arrangement, franchisor is free to demonstrate          1141 Monopolies 617.5(8)
that tie constitutes necessary device for controlling quality         =6ik I' .5(E3) Most Chad Cn,a;
of end product sold to consuming public, but as part of that          (Formerly 265k17(2 .5))
defense, franchisor must establish that tie constitutes
method of maintaining quality that imposes least burden on            Franchise agreements whereby franchisees agreed to
commerce and, if there are less burdensome alternatives,              purchase supplies only from sources approved by franchisor
franchisor is obligated to employ them rather than the tie.           are not per se violations of Shennan Act . Shemian
Shertnan Anti-Trust Act, y I, I S U.S .C . A . § I .                  Anti-Trust Act, $ I, I i U .S .C .A . § 1 .

191 Monopolies 0~17.5(S)                                              1151 Monopolies ¬ 28(7 .1)
?65k17 .5(8) Most Cited Case                                          26ik=817 .11 Must Cued Cases
 (Formerly 265k] 7(2.5))
Franchise agreement whereby franchisees agreed to                     Antitrust claimant who unsuccessfully seeks to establish per
purchase supplies from franchisor-approved sources, nine of           se violation may nonetheless prevail by showing that its
ten of which had no connection with franchisor, and from              adversary's conduct unreasonably restrains competition and
which franchisor received no commissions and which                    burden of proving unreasonable effects rests with antitrust
provided that franchisees could recommend additional                  plaintiff. Sherman Anti-Trust Act, § I, U U .S .C .A . § I .
suppliers for approval, which could not be unreasonably
withheld by franchisor, did not constitute tying                      /161 Monopolies &17.5(8)
arrangement, was not illegal per se, and did not violate rule         265k175(8) Most Cited Cases
of reason . Shertnan Anti-Trust Act, § I, 15 U.S .C .A . § I .         (Formerly 265k17(2 .5))

1101 Monopolies C=17 .5(S)                                            Even if franchisors conduct adversely affects competition,
?65k175(R) Most Cited Cases                                           conduct does not contravene rule of reason if it is designed
 (Formerly 265k] 7(2 .5))                                             to control quality of franchisee's product and if gain in
                                                                      quality is more beneficial than attendant detriment to
Tying need not be reduced to writing to come within per se            competition . Shemtan Anti-Trust Act, .~, I, I> U .S .C .A . § I .
proscription of antitrust law, but tied claimant establishes tie
when it proves that franchisor makes practice of coercing             1»I Monopolies C~a28(8)
franchisees into purchasing supplies or other products from           265kZR(8) Most Cited Case,
franchisor . Sherman Anti-Trust Act, § 1, IS U.S .C . A . § I .
                                                                      In determining whether franchisor's conduct unreasonably
                                                                      restrains competition or is legitimate quality control device,
I I I I Monopolies &28(7.1)
=6ik2R(? .I) Most Cited Cases                                         presence of less burdensome alternatives for controlling
                                                                      quality is factor to be considered, but it is not necessary
Demonstrating existence of tying arrangement is part of               determinative. Sherman Anti-Trust Act, § I, li U.S .C .A . §
claimant's case-in-chief. Sherman Anti-Trust Act, k I, 15             I.
U .S .C .A . § I .
                                                                      1181 Trade Regulation C~mt04
                                                                      ;82k404 hloct Cited Cases
1121 Federal Courts C~S50 .I
170Bk850 .1 Must Cited Cases
 (Formerly 1708k850)                                                  Unfair competition is common-law tort that occurs when
                                                                      one business entity palms off its- products as those of
District court's findings of fact are reviewed only to                another.
determine whether they are clearly erroneous. Fed .Rule,
Civ.Proc. rule 52, 23 U.S .C .A .                                     1191 Trade Regulation C=t07
                                                                      ;82k-007 Most Cited Cases
X13/ Monopolies E~17 .5(2)
265k l ?.S( 2) Most Cited Cases                                       [n    determining existence of unfair competition,
 (Formerly 265k]7(2 .5))                                              determinative question is whether defendant's practices are
                                                                      likely to mislead customers into believing that product
When victim of alleged tying arrangement is not required to           emanates from or has been endorsed by claimant ; and
buy single unit of tied product from tying party or from any          claimant need not demonstrate that any customer has
source in which tying party has interest or on whose sales            suffered actual confusion, but test is likelihood of confusion.
tying party earns commission, arrangement does not
constitute tie. Sherman Anti-Trust Act, F l, I S U .S .C .A . § I .   1201 Trade Regulation C~706




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382006 \~10,( Cited Case,                                          purchase from approved sources, unfair competition holding
                                                                   can he based on likelihood of confusion with respect to
In determining existence of unfair competition, likelihood of      whether product's source has been approved .
confusion is finding of fact .
                                                                   1271 Trade Regulation x.407
12l/ Federal Courts X754 .1                                        3r3kd07 Most Gird Cases
17013054 .1 Most Cilcd Cases
(Formerly 170Bk754)                                                Unfair competition plaintiff succeeds by establishing
                                                                   likelihood of confusion, and actual confusion is not
When district       court labors under         misapprehension     necessary.
concerning governing legal norms, "clearly erroneous"
standard of review no longer circumscribes appellate               128 Trade Regulation F~110
review . Fed .Rules CivProc . rule 52, 23 U .S .C .A .             363k1 10 Most Cited Cases

/221 Trade Regulation X726                                         Trademark licensors have duty to oversee quality of
382k7?G Most Cited Cases                                           licensee's products .

In an action for unfair competition, when district court           1291 Trade Regulation X584 .1
considers digit that, as matter of law, should not be counted      3H2k5R4 .l Most Cited Cases
against defendant, coon's findings lose shield of "clearly          (Formerly 382k584)
erroneous" standard of review . Ped .Rules Cic .Proc . rule ~2 .
28 U .S .C .A .                                                    In trademark infringement action brought by fast-food
                                                                   franchisor against packaging corporation and container
1231 Trade Regulation X702                                         corporation which distributed certain supplies to franchisees
392001 Must Cited Cases                                            without franchisor's approval, defendant failed to establish
                                                                   that franchisor had allowed ids trademark licensees to depart
In assessing unfair competition, court can and often should        from its quality standards.
look to behavior that would be perfectly legitimate standing
alone and should consider all circumstances; and argumew           1301 Trade Regulation X251
that particular conduct was legal and can be explained in          3R2k25I Most Cited Cases
completely innocent manner ordinarily affects only weight
to be assigned conduct in reaching unfair competition              Fried chicken franchisors trademark registration could also
balance.                                                           apply w canons in which chicken was packaged, and eating
                                                                   utensils, napkins, and rowelettes included in carton .
1241 Trade Regulation C~.a726
3S=k7:6 Most Cited Cast,                                           1311 Trade Regulation X66.1
                                                                   332kfi6 .1 Most ('iced Cases
In action by fast-food franchisor against packaging                 (Formerly 382k6ti)
corporation and container corporation, alleging that
defendants' distribution of containers and accouterments for       First use of trademarks on particular products established
the franchisors filed chicken created likelihood of                common-law trademarks .
confusion, district court's finding that defendant engaged in
unfair competition was not clearly erroneous, despite district     1321 Trade Regulation X334 .1
court's consideration of several digits which it should have       382034 .1 Most Cited Case,
disregarded . Fed .Rulz, Civ.Proc. rule 5_, -F U .S .C .A .         (Formerly 382k334)

1251 Trade Regulation ff'~408                                      Trademark infringement occurs only when use sought to be
3R2k4U6 Must Cited Casts                                           enjoined is likely to confuse purchasers with respect to such
                                                                   things as products source, its endorsement by trademark
Intent to mislead is relevant, though not essential, to finding    holder, or its connection with holder .
of unfair competition .
                                                                   1331 Trade Regulation X336
1261 Trade Regulation X407                                         332k+36 Most Cited Cases
382k407 Must Cited Ca ;cs
                                                                   In trademark infringement action, issue of likelihood of
When    franchisor   legitimately   requires   franchisees   to    confusion is analyzed in temps of product's typical buyer.




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1341 Trade Regulation &334 .1                                    I %ORk95 Most Cited Cases
382k334.1 :S~luct Coed Ca,,es                                     (Formerly 1708k292(1), 170Bk292(4))
 (Formerly 382k334)
                                                                 [-001 Federal Courts C~;P214.1
Where suppliers of products to fast-food franchisees             170F3k21d.1 Most Grad Cases
engaged in elaborate scheme m mislead franchisees into            (Formerly 170Bk214)
believing that they were connected with or approved by
franchisor, including use of franchisor's trademarks, when,      1401 Federal Courts C~217
in fact franchisor did not approve their products, there was     170Bkl 17 Most Cited Cases
likelihood of confusion and trademark infringement .
                                                                Federal district coup had jurisdiction over action alleging
1351 Trade Regulation E=3J4.1                                   trademark infringement and unfair competition and
38?k334 .1 Most Cited Cases                                     counterclaim alleging violation of Shemian Act ; and
 (Formerly 382k334)                                             assertion that venue was improper did not affect that
                                                                jurisdiction and was untimely where first asserted on appeal .
When confusion exists, trademark infringement exists            29 U .S .C .A . 4§ 1331, 1132, 1337, 1318(x) ; Fed .Rules
regardless of whether use of marks, standing alone, would       Crv .Proc . rule 12(h), 28 U .SC .A . ; Lanham Trade-Mark Act,
have created confusion.                                         § 39, 15 U .S .C .A . § 1 12 1 .

1361 Injunction f.~189                                           1411 Federal Courts X95
212k 189 Most Cited Case,                                        170[3k95 \10,t Cited Case,
                                                                  (Formerly 106k276(1))
In fashioning relief against party who has transgressed
governing legal standards, court of equity is free to            Unlike jurisdiction, venue challenges are waived if not
proscribe activities that, standing alone, would have been       properly asserted . FedRiJes Civ .Proc . rule 12(h), 28
unassailable .                                                   G .S .C . :1 .

1371 Federal Civil Procedure e~2351                              /421 Federal Civil Procedure X848
170Ak; 35I Most Cited Cases                                      170 .4k838 Most Cited Cases

Unexcused failure to produce relevant evidence at original       In action by fat-food franchisor against packaging
trial can be sufficient, without more, to warrant denial of      corporation and container corporation seeking injunction
motion for new trial on ground of newly discovered               restraining trademark infringement and unfair competition,
evidence . FedRults Civ .Proc . rule 60th), 28 U .S .C . :\ .    in which defendant filed counterclaim seeking treble
                                                                 damages and injunction under Shertnan Act for alleged
 /381 Federal Civil Procedure 0~2J53                             illegal tying arrangement, district court did not abuse its
 170Ak2353 Most Cited Cases                                      discretion in allowing franchisor to amend its reply to
                                                                 counterclaim to assert quality control as affirmative defense,
 In action by fast-Food franchisor against packaging             where amendment was filed 54 days prior to trial Fed .Rules
 corporation and container corporation for trademark             Civ .Proc . rule 15(a), 28 U .S .C .A .
 infringement and unfair competition, defendants were nod        `372 Burton H . Shostak, Lloyd A . Palans, St . Louis, Mo .,
 entitled to new trial on ground of newly discovered             Edward F . O'Herin, Maiden, Mo ., Philip de V . Claverie,
 evidence where defendants were unable to explain failure to     New Orleans, La ., for defendants- appellants .
 present evidence a[ trial and evidence, even if presented at
 trial, would not have been sufficient to invalidate             William L Dunaj, Miami, Fla ., Robert          R.    Feagin,   III,
 franchisors trademarks and thereby provide defense.             Tallahassee, Fla ., for plaintiff-appellee .
 Fed .Rules CivProc. rule 60(b), 2h C.SC .A .
                                                                 Appeals from the United States District Court for the
 I;91 Federal Civil Procedure ~I742(I)                           Southern District of Florida.
 170A1c1742( I ) Must Chad Casts
  (Formerly 170Ak1742, 170Ak3)                                   Before BROWN, Chief Judge,               and        JONES      and
                                                                 GOLDBERG, Circuit Judges .
  Federal court must dismiss case over which it has no
 jurisdiction whenever jurisdictional defect appears .
                                                                 GOLDBERG, Circuit Judge:
 /401 Federal Courts x.95




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This case presents us with something mundane, something            from sources it approves in writing . The agreements provide
novel, and something bizarre . The mundane includes                that such approval "shall nut be unreasonably withheld."
commercial law issues now well delimited by precedent .            Before purchasing supplies from a source not previously
The novel aspects of the case center on intriguing and             approved, a franchisee must submit a written request for
difficult interrelationships between trademark and antitrust       approval, and Kentucky Fried may require that samples
concepts . And the bizarre element is the facially implausible     from the supplier be submitted for testing . Of crucial
some might say unappetizing contention that the man whose          importance is the fact that Kentucky Fried has never refused
chicken is "finger-lickiri good" has unclean hands .               a request to approve a supplier .

Kentucky Fried Chicken Corporation, a franchisor of                The supplies that are subject to the approved-source
fast-food restaurants, brought this action claiming that           requirement include those around which this litigation
defendants were infringing its trademarks and engaging in          revolves : three sizes of carry-out chicken boxes, napkins,
unfair competition by their manner of selling boxes and            towelettes, and plastic eating utensils technically known as
other supplies to Kentucky Fried franchisees . Defendants          "sporks ." [F'N2] Kentucky Fried sells these items to its
placed Kentucky Fried's trademarks on the supplies without         franchisees, but under the franchise agreement the
Kentucky Fried's consent, and they allegedly misled                franchisees may also purchase any or all of these supplies
franchisees with respect to the supplies' source and quality .     from other approved sources . There are nine independent
Defendants counterclaimed, asserting that Kentucky Fried's         approved sources of canons and a tenth that is a subsidiary
franchise agreements, which required franchisees to buy            of Kentucky Fried .
supplies from approved sources, constituted an illegal tying
arrangement . The district court, in a penetrating opinion                  F\?. Sporks are spoons with short tines forming
reprinted at 376 F .Supp . 1130 (SDJIla .l9'd), ruled in                    the end of the bowl .
 Kentucky Fried's favor on every issue and enjoined
                                                                   The specifications for these supplies require, among other
defendants' activities . Although some of the issues are not
                                                                   things, that they bear various combinations of Kentucky
 without difficulty, and although we find that franchisors
                                                                   Fried's trademarks . The marks, now widely known to the
 must walk a narrow path when including in their franchise
                                                                   American public, include (I) 'it's finger-lickid good," (2)
 agreements clauses requiring franchisees to buy supplies
                                                                   "Colonel Sanders' Recipe," (3) the portrait of Harland
 from approved sources, we affirm .
                                                                   Sanders, (4) "Kentucky Fried Chicken," and (5) "Colonel
I . Facts                                                          Sanders' Recipe, Kentucky Fried Chicken ." [P`3]

                                                                            P\3 . As detailed in the district court's opinion, 376
Colonel Harland Sanders founded the Kentucky Fried
Chicken business in the early 1950s . The Colonel prepared                  FSupp . at I I-10, the marks are registered both as
                                                                            trademarks and as service marks . See IS U .S .C . s
chicken in accordance with his own secret recipe, and
                                                                            117 . For convenience we refer to them as
among the Colonel's achievements has been to convince
                                                                            trademarks . The same infringement standards
much of the American public that his product bears a close
resemblance to the southern feed chicken that preceded                      apply to both . See Boston Professional Hockey
peanuts as the south's most famous cuisine . The Colonel no                 .assoc ., Inc . v . Dolls, Cap & Emblem Mfg., Inc . .
                                                                            510 P .2d 1004, 1 000 (51h ( ir . 1975), cert . denied,
longer owns the business, having transferred it in five
different segments . The plaintiff; Kentucky Fried Chicken                  -]23 U .S . RbR . 96 S .Ct . 13? . 46 L .Fd.-d US (1975) .
Corporation, now conducts the business in 47 states, and
                                                                   Upon its formation in 1972, defendant Diversified Container
four unrelated entities conduct the business in the other
                                                                   Corporation (Container) began wing Kentucky Fried's
three states .[ FN 1 J
                                                                   marks without its consent .[FN4] Container used the marks
                                                                   on chicken cartons, napkins and rowelettes that it advertised
            FN I . Kentucky Fried Chicken Corporation, the
            plaintiff, must be distinguished from Kentucky         and sold to Kentucky Fried franchisees .[FN5] Unlike other
            Fried Chicken of Florida, Inc., an unrelated           suppliers who sought and received approval, Container
            corporation that owns the Florida rights to the        never requested that Kentucky Fried approve it as a source
            trademarks in question . We use "Kentucky Fried"       of these products, and in important respects Container's
            to refer only to the plaintiff.                        products failed to meet Kentucky Fried's specifications .
                                                                   t FN h1
 Although Kentucky Fried owns some retail stores, its
 primary manner of conducting *373 business, and the one of                 F\4 . The other defendant is Diversified Packaging
                                                                            Corporation    (Packaging) .   Sanford    Gubemik
 importance here, is franchising local outlets For its product .
                                                                            organized and is president of both Container and
 The franchise agreements require franchisees to purchase
                                                                            Packaging . At an earlier time Packaging used
 various supplies and equipment from Kentucky Fried or




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         Kentucky Fried's marks on napkins and towzletces .      On this appeal the central issues are whether the district
         A( the time of trial, however, Packaging was            court correctly held defendants liable on the unfair
         allegedly defunct, although it had not been             competition and trademark infringement theories and
         dissolved . Container and Packaging advance             whether the court correctly held that Kentucky Fried's
         identical arguments on [his appeal ; [heir separate     franchise arrangements were not shown to violate the
         circumstances do not affect the issues . For            antitrust laws . We must also address defendants' contentions
         convenience, we confine our discussion to               that the district court should have granted a new teal on the
         Container.                                              basis of evidence allegedly discovered after trial, that the
                                                                 district court lacked subject matter jurisdiction, and that the
         FNS . Container president Sanford Gubemik               district court erred in allowing Kentucky Fried to amend its
         contended as a witness that Container sold              reply to defendants' counterclaim . We find a kernel of truth
         trademarked cartons but did not sell napkins or         in all Kentucky Fried's contentions and therefore affirm .
         towelettes . Gubemik contended that Portion
         Control Corporation (Portion), another company he       11 . Antitrust
         organized and of which he was president, sold the
         napkins and towelettes, albeit with Containers          Containers antitrust counterclaim forces us to confront three
         assistance . Container advertised the products and      contentions : (I) that Kentucky Fried's conduct constitutes a
         received orders, although Portion filled the orders     tie-in and thus a per se antitrust violation, (2) that if
         and accepted payment . Container and Portion            Kentucky Fried's approved-source requirement is not a tie it
         occupied the same premises and had the same             should nonetheless be held to constitute a new category of
         staffs . Portion is not a party to this lawsuit . For   per se offense, and (3) that in any event Kentucky Fried's
         convenience we refer to Container as the source of      arrangement contravenes the rule of reason . We reject each
         all these products .                                    contention of the triad.

         FKG . Containers cartons utilized thinner cardboard     [ I J Container's primary contention is that Kentucky Fried
         than the approved product, thus making them less        has established a tying arrangement in violation of s I of the
         easy to keep closed properly and less resistant to      Shertnan Act, IS U .S .C . s 1 . That section prohibits "every
         leaking grease (or, as Kentucky Fried prefers to        contract, combination . . . or conspiracy in restraint of trade
         say, leaking "shortening") . Container's napkins        or commerce ." For the most part an arrangement runs afoul
         were much smaller than the approved product and         of the s I mandate only if its restraint on trade is
         were made from a less satisfactory grade of paper.      unreasonable . See, e . g., Standard Oil Co . v . United States,
                                                                 221 U .S . I . 31 S .Ct . 502, 55 LEd . 619 (1911) ; Chicago
 Container garnered buyers for its low-quality imitations of      Board of Trade v . United States . ?d6 U .S . ?31, 38 S .Ct . 142 .
 Kentucky Fried's supplies 'J74 by making inaccurate and         62 L .Ed . 687 (1913) . A s I plaintiff must therefore generally
 misleading statements . Container's advertisements invited      establish the anticompeGtive impact of the conduct it
 franchisees to "buy direct and save" and represented [hat       challenges . Certain categories of business arrangements,
 Containers products met "all standards ." Container affixed      however, exhibit a high likelihood of anticompeGGve impact
 Kentucky Fried's trademarks to the shipping boxes in which      and offer virtually no prospect at all of enhancing
 it delivered chicken cartons to franchisees . And when asked    competition . With respect to such arrangements, antitrust
 by franchisees whether Container was an "approved               plaintiffs need not demonstrate unreasonableness ; the
 supplies" of cartons, Container employees evaded the             conduct constitutes a per se violation of the Sherman Act .
 question and said that Container sold "approved boxes ."
                                                                 (21 Tying arrangements comprise one such category of
 Kentucky Fried brought this suit to enjoin Containers           behavior that is illegal per se . See, e . g ., Fortner Enterprises,
 activities, relying upon the related theories of unfair         Inc . v . Unfired States Steel Corp . . 194 U .S . 495, 89 S .Ct .
 competition and trademark infringement . Kentucky Fried         122, 22 L .Ed .?v 495 (19fi9) ; United States v . LotN~s, Inc . .
 did not seek damages .[fTi'] Defendants counrerclaimed          ;71 U . S . 38 . S3 J .C:t . 97 . 9 L .Fd2d I I (1962) ; Northern
 seeking treble damages for purported antitrust violations .     Pacific Railuav Co . v . United Sates, 356 U .S . I . 78 S .Ct .
 The case was tried to the coup, which resolved all claims in    514, = L .Fd2d 545 09jS) ; Miller v . Granados . 529 F2d
 Kentucky Fried's favor . The coup's findings of fact are        39± (5111 Cir . 1976) .
 incorporated in its memorandum opinion . See 3'l; F .Supp .
  1136 . The court entered an appropriate injunction .           The per se label indicates that a plaintiff need not
                                                                 demonstrate that the effects of the tie are unreasonable .
          FN7 . Kentucky Fded's original complaint sought        Indeed, not only is the plaintiff relieved from establishing
          damages, but Kentucky Fried abandoned the claim        that the effects are unreasonable, but in addition the
          before trial .                                         defendant is not free to demonstrate '375 That the effects are




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reasonable or even affirmatively desirable . The competitive       ultimately sell to consumers, or the supplies the franchisee
impact of the arrangement simply is nut an issue for trial .       will distribute to the public in connection with the main
Unless a defendant can establish certain narrow affirmative        product . As an original matter it is less than self-evident that
defenses, a finding that the defendant's conduct falls within      such arrangements should be treated as garden-variety
the category of per se tying arrangements disposes of the          tie-ins, to be analyzed in accordance with the same tying
case in the plaintiffs favor .                                     principles developed in other contexts . Unlike that of the
                                                                   tying party in a prototypal tying case, a franchisor's own
[3] Here, as elsewhere, however, the per se label can              success may depend in large measure on the success of the
sometimes prove misleading . Per se analysis is susceptible        tie's "victim", the franchisee . The franchisor will succeed
to the unwarranted inference that a plaintiff prevails in a        only by establishing a favorable reputation among the
tying case merely by finding some way to characterize the          consuming public, and in building that reputation [he
defendant's conduct as a tie . A tie can be generally defined      franchisor must depend largely on the quality of the
as an arrangement under which a seller agrees to sell one          franchisee's performance . A franchisor will rarely have an
product (the "tying product") only on the condition that the       opportunity to explain to a dissatisfied customer that the
buyer also purchase a second product (the "tied product") .        fault was only that of the particular franchisee . The
See Northern Pacific, supra . 35(, U .S . al 5-6, 73 S .CL 514 .   franchisor may therefore have legitimate as well as
To bring a defendant's conduct within the category of ties         illegitimate reasons for restraining the franchisee's choices
that are per se violations of the Sherman Act, however, a          in the tied product market . The tie may have a benevolent or
plaintiff must go beyond some colorable characterization of        malevolent loop . Although in the archetypal case "(t)ying
the arrangement as fitting this rough definition .                 arrangements serve hardly any purpose beyond the
                                                                   suppression of competition", *376Standard Oil Co . v .
[4] A plaintiff must show that the challenged arrangement is        Untied States . 337 U .S . 293, 69 S .Ct . 1051, 93 L . Ed. (371
in fact a tie : that two separate products are involved and        ( 1949), in the franchising context ties may well serve
that, in addition to complying with the literal terms of the       acceptable purposes .
imprecise definition, the seller's behavior follows the
general pattern found unacceptable in the earlier tying cases .    [fi][7] Nevertheless, tying principles are fully applicable to
To measure an arrangement against that general pattern we          franchise sales . See Carpa, Inc . %" . Ward Foods, Inc ., 536
must take into account the principal evils of tie-ins : they       F .2d 39 (5th ( :it . 1476) ; Warriner HemieNes, Inc . v .
may foreclose the tying party's competitors from a segment         Copcland RzBigerntor Corp ., 463 F .2d 1002 (5th Cir . 1972) ;
of the tied product market, and they may deprive the tie's         cert . denied, 409 U .S . 1086, 93 S .Ct . 688 . 34 L .Ed .2d 673
victims of [he advantages of shopping around . See Norlhcm         11972) ; Sicgel e . Chicken Delight, Inc, 448 F .2d 43 (91h
Pacific,supn, 356 U .S . at 6 ; '3 SCt . 514 .                     Cir . 1971) . As these cases make clear, when a franchisor
                                                                   conditions the sale of a franchise on the buyer's agreement
[5J Furthermore, an arrangement falls within the category of       to buy additional products from the franchisor, the law of
per se tying violations only if the seller has sufficient          tying comes into play . In order to establish a per se
economic power with respect to the tying product                   violation, the tying claimant need only demonstrate the
appreciably to restrain free competition in the market for the     requisite economic power and "not insubstantial" effect on
tied product and only if a "not insubstantial" amount of           commerce . Moreover, a franchisor who requires franchisees
interstate commerce is affected . See, e . g ., Former             to use trademarked supplies does not escape the impact of
              . v . United States Steel Coat . . 394 U .S . 495,
Enterprises, Inc                                                   tying principles to any extent . The franchisor's right to
X9 S .Ct . 1252, 22 L .Ed1d 495 (1969) ; Northern Pacific,         prevent others from selling supplies bearing its trademarks
supra ; Carpa, Inc . v . Ward Foods . [tic . . 536 F .2d 39 (5th   must yield to the antitrust laws' command to open the tied
Cir. 197fi) .                                                      market to competitors . See Chicken Delight . supra, 448 F .2d
                                                                   at 5- ; cf. Timken Roller Bearing Co . v . United States, 341
The problem in the case at bar is to determine whether             U .S . 993, S99, 71 S .Cc . 971 .95 L .Fd . 1199 (195 1 ) .
Kentucky Fried's arrangement is in fact a tie i . e., whether
its behavior follows the general pattern found unacceptable        [8] Despite this relatively low threshold for invoking the per
in earlier tying cases. We begin with an analysis of tying in      se doctrine, however, the franchisor retains a potentially
the context of franchise operations . The issue has taken on       significant defense one designed to accommodate the
considerable significance in recent years; franchising has         franchisor's interests in the franchisee's performance. The
increased while tying strictures have grown fighter.               franchisor is free to demonstrate that the tie constitutes a
                                                                   necessary device for controlling the quality of the end
 in the commonly recurring situation, the tying product is the     product sold to the consuming public . See Carpa, supra, 536
 franchise itself, and the tied products may be such things as     F .2d at 46-37; Wamner liennebcs, supra, 463 F.2d at 1016 :
 the equipment the franchisee will use to conduct the              cE Dehydrating Process Cu . v. A.O . Smith Corp ., 292 F.2d
 business, the ingredients of the goods the franchisee will




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  G5± (1,t Cir .), cen . denied, 3GK U .S . 9 ;1, $? S .C't . UGH, ;
  L .Ed .=d 14 ; (1961) knot in franchising                                          record does not indicate whether Kentucky Fried
                                                 context) ; United                   earned royalties based on these franchisees'
  States v . lertoid Electronics Coq, ., 187 P.Supp . >d9
                                                                                     distributions of cartons.
  (ED PaJ9GO), affil per curiam, 365 U .S . 567,81 S .Ct . 755,
     LLd .2d RO(, (1961) (same) . Product protection
                                                            through        The difference between this arrangement and a
  tying can have a legal legitimacy . As part of                                                                                traditional
                                                     this defense,         tie is readily apparent . Here the franchise
  however, the franchisor must establish that                                                                           agreement does
                                                            the tie        not require franchisees to take the "tied" product
 constitutes the method of maintaining quality that                                                                             (supplies)
                                                           imposes         from Kentucky Fried in order to obtain the "tying"
 the least burden on commerce . If there are less                                                                                  product
                                                      burdensome          ('the franchise) . Franchisees need not purchase a
 alternatives, a franchisor is obligated to employ them                                                                        single unit
                                                              rather      of the supplies in question from Kentucky Fried;
 than the tie . See Carps, supra . 536 F1J al                                                                                     they can
                                                    47 ; W'arriner        take their entire requirements from other sources
 1-IermeGc ; . supra, 463 f'1d at 1016 ; cf. Copper Liquor,                                                                  . Container,
                                                                Inc .     however, argues that the effect of the agreement
 v . Adolph Coors Co . . 506 P.2d 934 (5(h Cir .                                                                              is the same
                                                    1975) (not in         as a traditional tie because Kentucky Fried
 tying context) . The burden of proof on this issue                                                                                coerces
                                                        rests with        franchisees into purchasing from it the supplies in
 the franchisor seeking to justify the tie, and the                                                                            question .
                                                      burden is a
 heavy one . The defense                                                   [10] We agree with Container that if such
    fails in the usual situation because specification                                                                     coercion were
                                                        of the            proved, the per se doctrine would apply . A tie
                                                                                                                              need not be
   type and quality of the product to be used in connection               reduced to writing to come within the per se
   with the tying device is protection enough . .                                                                         proscription . A
                                                  . .                     tie claimant establishes a tie when it proves that
                                                                                                                              a franchisor
   The only situation, indeed, in which the protection
                                                            of            makes a practice of coercing franchisees into
                                                                                                                               purchasing
   good will may necessitate the use of tying clauses is                  supplies or other products from the franchisor.
   where specifications ('or a substitute would be so                                                                                   See
                                                      detailed            Response of Carolina . Inc . v . Leasco Response,
   that they could not practicably be supplied .                          P2d 1307, 13?G-31 (5th Cir . 1976) . In such
                                                                                                                                 Inc ., 537
                                                                                                                        cases sale of the
                                                                          franchise is, as a practical matter, conditioned
Standard Oil Co . v . l ;nrtcd States . 337 U.S, 293 . ;pb~                                                                 upon sale of
                                                            69           the tied supplies . The claimant then
S .0 . 105 1, 1058, 93 LEd . 1371 (1949) .                                                                       need only establish the
                                                                         tying prerequisites sufficient economic power
                                                                                                                            with respect
                                                                         to the tying product appreciably to restrain free
 [Q] With this background we turn to Container's claim                                                                       competition
                                                          that           in the market for the tied product and a
 Kentucky Fded's arrangement constitutes a tie .                                                                     "not insubstantial"
                                                   The legal             amount of affected commerce in the tied
 tightrope upon which we walk is very taut . Kentucky Fried                                                             product market .
                                                                         Kentucky Fried concedes that these
 does not expressly require franchisees to purchase                                                                   prerequisites are
                                                      from it            satisfied here .
the allegedly tied products . Instead, the
                                                    franchise
agreements permit franchisees to purchase the supplies
                                                         from            [I 1 J[ 12] Kentucky Fried denies, however,
any source Kentucky Fried approves in writing . At                                                                        that Container
                                                     the time            succeeded in proving that franchisees were
of trial there were ten approved sources for cartons,                                                                       coerced into
                                                         only            taking their supplies from Kentucky Fried . The
one of which was an affiliate of Kentucky                                                                                      burden of
                                                Fried[FNRJ               proof on this issue rests on Container ;
Franchisees were free *377 to recommend                                                                              demonstrating the
                                                  additional            existence of a tie is part of the claimant's
suppliers for approval, and the franchise agreement                                                                   case in chief. See
                                                                         Response of Caroling, Inc t" . Leasco, Inc .,
mandated that Kentucky Fried's approval                                                                                 supra, 537 F .2d
                                                   "not he              at 1328 . The district coon resolved the
unreasonably withheld ."                                                                                               question against
                                                                        Container, concluding that Kentucky Fried had
                                                                                                                             not coerced
                                                                        its franchisees in this regard . Coercion is a
         FK22 . There were six approved manufacturers of                                                               question of fact,
                                                                        and we therefore review the district court's
         canons, four of which sold Kentucky Fried the                  to determine whether it is clearly
                                                                                                                        conclusion only
        cartons it resold to franchisees and two of which                                                              erroneous . See
                                                                        F'ed . R .Ci v . P. 92,
        sold only directly to franchisees . Five of the six
        bore no relationship to Kentucky Fried,                         Our review of the record convinces us
                                                       and                                                           that Container has
        Kentucky Fried had no stake in their sales. The                 not only failed to demonstrate clear
        sixth, Mid-Continent Corporation, is a subsidiary                                                      error but has also failed
                                                                        to adduce any -support at all for its allegation
        of Kentucky Fried .                                                                                                of coercion .
                                                                        Coercion can be circumstantially established ; it
         In addition, there were four approved suppliers                                                                    need not be
                                                                        an instrument under seal or proven with
        who did not manufacture cartons but rather                                                                    sound and music .
                                                                        Coercion cannot, however, be merely conjured
        purchased them from one or more of the six                                                                          It is neither
                                                                        a fantasy nor a figment. It is a fact that
        approved manufacturers . These four middle level                                                           must be established,
                                                                        whether inferentially or deductively .
        suppliers were not Kentucky Fried subsidiaries or
        related companies, but they were franchisees . The              A fundamental distinction mist be drawn
                                                                                                                between coercing
                                                                        franchisees to purchase from Kentucky Fried
                                                                                                                    and coercing




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franchisees to purchase from approved sources. The record                     much lower than in the analogous TBA situation.
is barren of any suggestion that Kentucky Fried engaged in                    Franchisees- are not dependent upon Kentucky
the former type of coercion to any extent at a1L[F\9] Thus                    Fried for their supply of chicken, and the record
Kentucky Fried left franchisees free to purchase the                          does not indicate that franchisees are periodically
purportedly "tied" products from sources other than                           reviewed with an eye to discontinuing some
Kentucky Fried, sources in which Kentucky Fried had no                        licenses, as was the case in Texaco.
interest and on whose sales Kentucky Fried earned no                          These differences preclude the TBA cases'
commission .[PNIO]                                                            discussion of inherent coercion from controlling
                                                                              this case . If we found coercion solely on the basis
         FN9. Container's evidence addressed only the latter                  of the franchisorfranchisee relationship, the result
         type of coercion : coercion to purchase from                         would be that an illegal tie would occur whenever a
         approved sources. Such evidence was unnecessary ;                    franchisor engaged in the business of selling
         the franchise agreements explicitly required as                      supplies to franchisees . Kentucky Fried would have
         much, clearly establishing sufficient coercion in                    to discontinue altogether the sale of supplies . The
         this respect. But coercion to purchase from                          law of tying requires no such unreasonable result .
         approved sources does not establish a tie. To                        Absent a more persuasive showing of coercion, no
         demonstrate a tie, Container must show coercion to                   tie exists in a market where the franchisor is only
         purchase from Kentucky Fried itself, or at least                     one of several suppliers from whom franchisees
         from a firm in whose sales Kentucky Feed has a                       may buy.
         financial stake .
                                                                     "378 We conclude that this arrangement simply does not
         FN10 . We reject any suggestion that the disparity          constitute a tie. A monolithic tie may bring down the wrath
         in economic power between Kentucky Fried and its            of per se guilt, but not every use of string tangles with the
         franchisees renders the situation so inherently             antitrust laws . The principal evils of tie-ins are the
         coercive that we must hold clearly erroneous the            foreclosure of competitors in the tied market and the denial
         district court's finding of no coercion .                   to buyers of the advantages of shopping around . See
         Our situation is unlike that of the "TBA" cases, in         Northern Pacific RHIIH'8V Co . v . United States, 356 U.S . 1 .
         which       national    oil    companies   received         (,, 78 S .Ct. 514, 2 L.Ed .2d ;-05 (195R) . Kentucky Fried's
         commissions from manufacturers of tires, batteries          system, at least on its face, presents neither of these evils in
         and accessories on sales to the ail companies' local        anything like the degree associated with tie-ins.
          licensees . See FTC ~ . Texaco, Inc . . 393 U .S . 221 .
          89 S.Ct. 429. 31 LGd .?d 394 (19GS) ; Adandc               Competitors in the supplies market are not foreclosed from
          Refining Co . v . FTC. 381 US . 35', RS S.Ct . 1498 .      reaching a single potential buyer. Such competitors are
          14 L .Fd.?d 443 (1965) ; Shell Oil Co . v. FTC, 360        subject to the approval requirement, but the record contains
          F2d 470 (~th Cut. 19fi6), cert . denied, 385 U.S .         no showing that the approval requirement has had the effect
          1002, 87 S .Ct. 703, 17 LGd2d 541 (19G7) . In              in practice of foreclosing competitors in the supplies
          Texaco, for example, Texaco encouraged its                 market . Kentucky Fried's uncontradicted assertion is that it
          licensee service stations to stock the TBA of              has never withheld approval from a single supplier who
          Goodrich, and Goodrich paid Texaco a 10%                   requested it . We might speculate that a new entrant's arrival
          commission on sales to local Texaco stations .             might be delayed, but nothing in this record demonstrates
          Coercion was relevant to the inquiry whether               that the delay would be substantial, and Container does not
          Texaco was engaged in an unfair method of                  aver that the perceived onerousness of this delay prevented
          competition in violation of s 5 of the Federal Trade       it from seeking approval . This record shows no closure of
          Commission Act, 15 U.S .C . s 45 . The Court upheld        competition ; it was an invitational affair. The rope hung
          the FTC's determination that coercion was present,         loosely. It was not a noose.
          relying in part on the inherent coercion in the
          relationship between a local licensee and a national       Turning to the second principal evil presented by tie-ins, we
          company holding life or death authority over               find that it, too, is lacking. The franchisees retain the option
          license renewal and gasoline supplies . See 393            to shop around . The option is limited to approved suppliers,
           U .S . at 229, 89 S .Ct . 429 .                           but there are ten such suppliers of cartons, and franchisees
           Here, unlike in the TBA cases, the finder of fact         are free to nominate additional suppliers whenever they can
           found no coercion, and there was absolutely no            be found . There is no allegation that Kentucky Fried exerts
          demonstration of actual coercion . Moreover, the           any influence over the terms at which its competitors sell to
           level of coercion implicit in the relationship            franchisees, and there has been no showing that the
           between Kentucky Fried and its franchisees may be         competing suppliers have combined to reduce the benefits




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of competition to the franchisees . Franchisees might fare         of the per se arena. The existence of the quality defense
better if fifty or a hundred suppliers competed for their          assures that if a tie is ever truly essential to maintenance of
business, but a market with ten suppliers and unrestrained         the franchise method of conducting business, the tie will be
entry surely poses a far different problem than the market         permissible . To be sure, cases will undoubtedly occur in
available to the victim of a traditional tie : one supplier and    which ties, while in no sense essential to retention of a
no entry .                                                         franchise arrangement, will prove beneficial to or
                                                                   convenient for the franchisor, and in such cases we could
[13] We conclude that the tie-in's second principal evil, tike     speculate that the somewhat harsh treatment of ties might
the first, is not present in the approved-source system            induce a company to opt for national ownership rather than
disclosed by this record . When the victim of an alleged           franchising . We can safely assume, however, that (or the
tie-in is not required to buy a single unit of the tied product    most part the application of tying principles to franchise
from the tying party or from any source in which the tying         operations will not affect a business's decision whether to
party *379 has an interest or on whose sales the tying party       engage in franchising .
earns a commission, the arrangement simply does not
constitute a tie. Kentucky Fried has not imposed a tie-in .        When we turn from tying to approved-source requirements,
                                                                   however, the situation is somewhat different. The threat that
That the arrangement is not a tie does not, of course, prevent     franchisors will abandon franchising does not affect us, but
per se treatment; tying is not the only per se antitrust           the potential pro-competitive effects of franchising lead us
violation. We deem it inappropriate, however, to add               to proceed cautiously lest we unduly shackle franchisors
approved-source requirements to the list of per se violations .    without achieving discernible competitive benefits . We
When business arrangements exhibit consistently adverse            must encourage business ingenuity so long as it is not
competitive effects or are totally without redeeming virtue,       competitively stifling . We deal here not with tie-ins, whose
per se treatment is desirable. Proving the adverse                 adverse effects and lack of redeeming virtue are by now
consequences in particular circumstances may prove                 quite familiar, but instead with approved-source
difficult and, at any rate, will consume valuable court time .     requirements . When we become more familiar with
The chance that anucompetitive effects will go undetected          large-scale    franchising    and    with      approved-source
and the cost in judicial resources make the prudent course to      requirements, we may discern that the latter are wholly
condemn all arrangements in a given category rather than to        unnecessary to the former . Indeed, we may one day learn
attempt to sort the harmful from the harmless . See, e. g.,         that approved-source requirements are consistently hurtful
Northern Pacific, supra . 356 U.S . at 5, 73 S .CL 514 .           of competition or that sorting the anti-competitive
                                                                    provisions from the innocuous ones is a task too elusive or
 [14] We are not prepared to say, however, that                     time consuming to warrant the effort . It will be time enough,
 approved-source requirements are so universally devoid of          however, to declare such requirements to be per se
 redeeming virtue that they warrant per se treatment . As we        violations when that day arrives. It is enough to decide
 noted in developing the background law of franchise tying,         today's cases today and leave future '380 cases to the
 ties themselves are not as completely objectionable in the         wisdom and experience of future years. Economic decisions
 franchise content as in the contexts in which tying law            derive from contemporary economic analysis .
 originally developed . Moreover, franchise arrangements
 may sometimes create better competitive markets than              The Supreme Court adopted this cautious approach when
 would otherwise exist . A system under which an                   first confronted with vertical territorial restrictions, saying
 independent franchisee's choices are somewhat restricted             We do not know enough of the economic and business
 may nevertheless prove superior to a system in which retail          stuff out of which these arrangements emerge to be
 outlets are owned by the national firm . If, for example,            certain. . . . We need to know more than we do about the
  Kentucky Fried had chosen not to franchise local outlets but        actual impact of these arrangements on competition to
  rather to own them outright, the antitrust laws would leave it      decide whether they have such a "pernicious effect on
  relatively free to supply the individual stores solely through      competition and lack . . . any redeeming virtue" (tiur(hem
  the national office . Competition at the national level for         Pac . R Cu . v . United States . ?56 US . I, 5. 78 S.Ct. 5I-0 .
  Kentucky Fried's supplies business would continue, just as          2 L.Ed1d 545 (1953)) and therefore should be classified
  competition to sell Kentucky Fried the supplies it will in          as per se violations of the Shertnan Act.
  turn sell to franchisees is currently unencumbered . But
  competition at the local level would be as nonexistent under      White Motor Cu . v. United Slues, l',2 U.S . 253, .F3, 83
  a system of national ownership of local stores as it would be     . 696, 702. 9 I..Ed2d 738 (19fi3). We think we should
                                                                    SO
  under a franchise system utilizing explicit ties.                 likewise adopt that prudent course here . We are unable at
                                                                    this time to declare approved-source provisions per se
  These principles are insufficient to take franchise tying out     violations .




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4,) 1: id ;69            1                            Mot, Cases 11 60
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               F.2d 368)                                                                                                                                               t possesses a S
cite as-. 541)                                                                                                                                                                                                          it              ne        ,            -    I     t c
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                  Conclusion "                     violation.,e ta"'11, and . 1 s                                                                                                                        It                  le I af Cts
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                                reas,                                   and         I               Con     to      competition .                                                                  increase profits by till 1                                                 Is       because
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         reputation established and maintained by other            LLid i :th Cir . 19711 . The determinative question is whether
         franchisees who conform to the quality standards .        the tortfeasor's practices are likely to mislead customers into
         Kentucky Fried may therefore find it necessary not        believing that the product emanates from or has been
         only m announce product specifications but also to        endorsed by the claimant . A claimant need not demonstrate
         police    the   observance      of    the   standards .   that any customers have suffered actual confusion ; the test
         Furthermore, controlling quality at the franchisee        is likelihood of confusion . See, e . g ., World Carpets . Inc . % .
         level may be impractical for this company with            Dick Liitrell's New World Carpets, 438 F .2d 482, 489 Uth
         3800 local outlets . It may thus be reasonable, as the    Cir . 197 U . [FN 14]
         district court concluded, for Kentucky Fried to
         control quality at the manufacturer level .                         FNId . In numerous cases we have routinely
                                                                             accepted these principles without pausing to
         We find troublesome the record's scanty references
         to on-site inspections ; depending upon the scope of                analyze choice of law issues . See, e . g ., Aloe
         such inspections, there may be significant potential                Creme Laboratories, Inc . v . Estee Laudcr, Inc . . 533
         for anticompetitive abuse . The record, however,                    F .2d 256 (5th Cir. 1976) ; Volkswagenwerk
         does not indicate that abuse is present here .                      Aktiengesellschatt a . Rickard, 492 F .2d -074 15th
                                                                             Cir . 1974) . In other decisions we have assumed
We therefore conclude that Container has not prevailed on                    that unfair competition is governed by state law .
its rule-of-reason contention, both because it has failed to                 See, e . g ., PGA a . Bankers Life & Casualty Co . .
demonstrate adverse competitive impacts and because it has                   514 F .2d 665 (5th Cir. 1975) ; Chemical Coin . of
failed to show that Kentucky Fried's system is not a                         America v . Anheuser- Busch, Inc ., 306 F .2d 433 .
reasonable method for achieving quality control . The district               436 Oth Cir . 19621, ceR . denied, 372 U .S . 9G ;, 3±
court correctly held for Kentucky Fried with respect to                      S .Ct . 1089, 10 L .6d .2d 129 (1963) . If we were to
Container's antitrust counterclaim . This knot was not                       accept that premise, we would face the task of
conceived as a loophole in our antitrust statutes .                          choosing among the unfair competition law of at
                                                                             least the 47 states in which Kentucky Fried does
 III. Unfair Competition                                                     business . We would presumably follow the choice
                                                                             of law rules of Florida, the forum state . See Klaxon
 We ruin now to Kentucky Fried's claims for affirmative                      Co . e' . Stentor Electric Mfg . Co ., 313 U .S . 487 . 61
 relief against Containers activities . The district court held              S .Ct . 1020 . 85 L .Ed . 1477 (1941) .
 for Kentucky Fried on the basis of both unfair competition                  Alternatively, we could hold that the field of
 and trademark infringement, and parts of the injunction                     business competition is already so well marked by
 respond to each theory . We therefore find it necessary to                   federal trademark, copyright, patent and antitrust
 address each contention .[Ft41 ;]                                           statutes that unfair competition should be governed
                                                                             by federal common law . That approach carries a
          FN 13 . The district coup also held for Kentucky                   practical attractiveness, especially in cases such as
          Fried on the basis of Lanham Act s 43(x), IS                       this where the activities in question have national
          U .S .C . s 1125(x) . The section creates a federal                 scope and choosing among the law of numerous
          cause of action for certain types of conduct,                       states is difficult . At least in the context of this
          irrespective of whether that          conduct also                  case, however, we find these issues intriguing but
          contravenes state unfair competition standards . See                unimportant . Both sides accept the general
          Alum- A-Fold Shutter Corp . v . Folding Shutter                     principles of unfair competition set forth above,
          Corp ., 441 F .2d »6 (58i Cir . 1971) ; c£ Bangor                   and in no respect does the choice of law affect the
          Punts Operations . [tic . v . Universal Marine Co .,                analysis . We therefore follow our decision in
          543 F .2d 1107 (ith Cir . 1976) . We affirm the                     American Heritage Life Inc . Cu . v . Heritage Life
          district coon on the basis of the unfair competition                Ins . ('.u . . 494 F .2d 3, Id-15 (5th Cir . 1974) and
          and trademark infringement claims and find it                       decline to resolve the choice of law issue .
          unnecessary to reach the s 43(x) contention .
                                                                   Determining likelihood of confusion entails findings of fact
 *382 [18][19] The first theory upon which Kentucky Fried          at two distinct levels . The first level consists of the primary
 relies is unfair competition . Unfair competition is a common     activities of the alleged tortfeasor. Did the alleged tortfeasor
 law tort that occurs- when one business entity "palms off" its    use the plaintiffs name? Did it use pictures of the plaintiffs
 products as those of another. See, e. g., Boston Professional     products in ids advertisements? Did it evade potential
 Hockey .4ssociauun, Inc. v . Dallas Cap & Emblem                  customers' inquiries with respect to its connection with the
 Manufacturing, Inc.. CIO F2d IOOd (5th Cir. 19 ;5), cert .        plaintiff? Such questions require findings of fact, to clarify
 denied, 423 U.S . 868, 96 S.Ct. 132, 46 L .EJ .=d 93 (1975) ;     the analytical process we have referred to these primary
 D .H . Bonn Cu . v. AAA Replacement Parts Ca, 451 F.2d




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                                                                                                                                      do not use
                                                                            evidence has established chat the Defendants Since the
                                                                                                                           goods.
findings as "digits" . See R. HBu~~~~Car~~°~                  ~- 'a'
                                                          . 19'1) . Our     these pan numbers in           invoicing
                                       12>4    (5th                                                                     products, their use of
fteplacemem      Paris,  4;1   F .2d                                        Defendants only sell a total of four
                                     course circumscribed by the                                                       appears     calculated to
review of these findings is of                                              these seven-digit part numbers
                                    See Fed.R .Cie .P . 52(a). To 6e
"clearly erroneous" standard .                                              mislead .
                                  of fact must leave us with the                                                 when asked during their
clearly erroneous a finding                                                 (13) Defendants' employees,
                                         that a mistake has been                                                       Container is one of
 "definite and firm conviction                      Replacement Pans         telephone solicilauons whether
                                                                                                                          of cartons, avoid
 committed ." B- E1- 8LI1111 C°~ °~ AAA                                      Plaintiffs "approved        suppliers"
                                 15th Cir . 19711, quoting Chttney           answering and represent to such
                                                                                                                     potential customers that
 Co . . 451 E .2d 125, RGO                    776 (ith CVr. 1966).
 v . City of Galvtsinn . ±6R P. :d 774 .                                     Container sells,,approved boxes."
                                                                                                                      this analysis, the Court
                                                                             (14) As an additional "digit" in
                           district court compiled an impressive                                                           of Folding Cartons,
  In the case at bar the                                                      finds that Samuel Alpert, president
                                  findings of fact, or digits, that                                             sales    manager      for Folding
  array of fourteen separate                                                  Inc., E. John Tamblyn, Jr .,
                               competition holding. These digits                                                 owner       of   Container, and
  contributed to its unfair                                                   Cartons, Inc. and      one-half
                                           (or addressing Containers                                               and one-half owner of
  provide the proper background                 forth here :                  Sanford Gubemik, president
  arguments, and we     therefore   set  them                                                                           to deceive the Plaintiff
                                              displays  of the Plaintiffs     Container combined and contrived
                                                                                                                                . The purposes
     (I) The Defendants' canons bear                     colors, but the      as to their     association   and    purposes
      trademarks, trade name       and    trade  dress                                                                 Cartons,     Int .'s name or
                                                 the  Defendants     own       included the omission of Folding                      and sold to
      Defendants, cartons do nor have                                          mark from the cartons a
                                                                                                                 manufactured
      name printed on them .                                                                                          [o make it difficult or
                                  advertisements are printed in                Defendant Container in order
                                                                                                                              the identity of the
      (2) The Defendants                                                       impossible for the Plaintiff to ]cam
                                            trade dress and colors .                                                       were    being sold by
      Plaintiffs red and whice striped                                         manufacturer of the cartons         that
                                             for its advertisements and                                                      in profit to Folding
      (3) The Defendants' envelopes               red and white striped        Container. This association resulted
       brochures are printed in     Plaintiffs                                                                        virtue   of their utilization
                                                                               Cartons, Inc. and Container by
                                                                                                                         which      did not meet
       bade dress and colors .                                                 of thinner and cheaper         board
                                       envelopes and advertisements                                                               a fact concealed
       "383 (4) The Defendants'                                                 Plaintiffs specifications in their cartons,
                                      of  the Plaintiffs trademarks on                                              that   Samuel    Alpert, acting
       contain elaborate displays                                               from Plaintiff. The Court finds
                                                                                                           Inc.,   deliberately       sold cartons
     them .                                                        and          for Folding Cartons,
                                envelopes, advertisements                                                                 to   Container     knowing
     (5) The Defendants'                              Defendants    are         manufactured from thinner board
                                    notice that the                                                                           Plaintiffs    thickness
     products do not contain any             Corp .                              that those cartons did not meet
                                                                                                                        the
                                  of KFC                                                                                       finds that cartons
     not authorized by or a part           "take advantage of your               specifications . The Court further
     (6) . . . contains the statements                                                                                           were provided by
                                                                                 manufactured from this thinner board
                                         "Save 50 cents per case on                                                              that Container put
      option to buy direct and sage",                                            Folding Cartons, Inc. to Container
                                                                                                                           and
                                      specifications and quality of                                                                  the plaintiffs
      KFC boxes that meet exact                                                  these goods into       commerce        bearing
                                   buying",    and "BUY DIRECT                                                            Plaintiff   learned of the
      the boxes you are now                                                      trademarks both before and after
                                                                                                                  and     rejected     its use. 376
       AND SAVE ."                                  states : " Meets all          thinner board's utilization
      (7) , . . of Defendants' advertisements,                                    F.Supp. at I 113-44 .
       standards."                                  states' "Buy KFC
       (g) . . . of Defendants' advertisements,                                                            challenge a single finding as
                                                                              '384 Container does not
                                      more ."                                                                     advances the seemingly
       boxes direct and save $ I .00        envelopes, states : "Now          clearly erroneous, Instead, it
        (g) . . . one of the Defendants                                                                     despite  these facts it has not
                                                                              remarkabVe contention that
                                       on KFC boxes ."
        buy direct and save S2 .00/M                                          been guilty of unfair competition .
                                   invoices . . . describe the
        (lp) The Defendant's
                                for   which invoices are sent to                                                     we must advance to the
        Defendants' products                                                  [2U1 To assess Container's argument
                                          boxes", and "KFC snack                                                  review . As we indicated,
        purchasers as "KI'C dinner                                            next level of unfair competition
                                                                                                                    two levels of findings of
         boxes." .                                                            the digits comprise only one of the
                                     cartons are packed and shipped                                         competition    case . The second
         (11) The Defendants' food                                            fact involved in an unfair
                                          cases that also bear the                                       whither   the defendants      activities,
         to purchasers in shipping                                            level is the determination
                                                                                                                              of  confusion   and
                                    service marks.                             considered as a whole, evince a
                                                                                                                 likelihood
         Plaintiffs trademarks and
                                   in which the Defendants' cartons                                            competition  .    Likelihood      of
         (12) The shipping cases                                               therefore constitute unfair
                                      bear the part numbers. NO.               confusion is a finding of fact, and once
                                                                                                                          again    our  review   is
          are packed and shipped
                                             the outside . These pan                                          erroneous"   standard   . See,  e. g.
          "601500?" and "6014002" on                                           circumscribed by the "clearly
                                     the  same  as Plaintiffs standard                            .4kNengesellschaR    v. Rickard, 492 F.2d
          numbers are not exactly                                              VolkswagenwerA
                                       (including No . 6020041 and
          pan numbers for cartons                                              4?4, 478 (5th Cic 1974).
                                         part numbers are obviously
           6020051), but Defendants'
                                   used    by the Plaintiff. And the
           very similar to those



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                                               Cope G W est 2W4 Nn Claim to
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         [ .1] The district
                            court's conclusion that
         totaled to a                               the digits ;t listed
                      finding of likely confusion                                  argument that particular
        clearly erroneous,                        cannot be said to be                                            conduct
        assert the contrary,I'd
                                   we do not understand                            explained in a
                                                                                                       completely innocent "'as legal and can be
                                One carvIot reed         Container 1,
                                                  the digits set forth             affects only the weight                       manner ordinarily
        above and reach any
                                 conclusion other than                                                           to he assigned the conduct in
                                                                                   reaching the unfair competition
        intended 10 mislead                            that Container
                               potential                                           including the conduct                balance; the propriety of
        Succeed .                        customers and was likely to
                                                                                  however, the district as a digit is not affected . Here,
                                                                                                              court listed
         Container, however,                                                      Kentucky Fried's marks                      Container's use o
                                    invokes the established                                                    as the first digit,
         when a district court                                 principle that     apparently viewed the                              and the court
                                       labors under a                                                        use as illegitimate
         concerning the                                                          weighed heavily rather                             conduct to be
                              governing legal norms,        misapprehension                                   than as otherwise
         erroneous" standard                                                     '38$ to be counted                                 legal behavior
                                    no longer                   the "clearly                           as a small part of the
                                                  circumscribes appellate        relevant to the                               total circumstances
         review . See, e. g.,                                                                    unfair compeGGon claim
                              Continental Monor, Corp . V.                      assumption that the use was legal            . On the basis of
        Aviation Curd,., 7 ;5 F2d                                                                                                              our
                                       857 (5th Cir. 1967). Continental         we conclude that                       standing alone, therefore,
        who relies on this principle                           An appellant                        the district court
        legal standard                    must first pinpoint                   its treatment of                      erred as a matter of
                         that the district court               a controlling                     this digit .(FNI S)                        law in
        has articulated its                         misapplied. Container
                             attack somewhat imprecisely
       entirely certain which                                  ; we arc nod                1N 1 S. On the basis of our
                                   legal                                                                                      assumption, the district
       district court misconstrued standard Container ba~feves the                        court may also have
                                                                                                                      erred in its
       that the determinative           . The court clearly                                                                        treatment of digits
                                                                 understood               (2)~ (3)~ (4). l l n) and (14) .
                                  issue in an unfair                                      Digit (4) that
       likelihood of confusion,                        competition case is                                           Container's envelopes
       Buns analysis to               and  it also properly                              advertisements display                                     and
                            specify the digits on              utilized our                                             the marks is a
      assessing likelihood                              which it relied in               that could properly                            circumstance
                               of confusion . The                                                                 be considered .
                                                                                        the right to use
      the law and its
                       analytical technique were
                                                      coon's statement of                                     the marks on its It'Container had
                                                      impeccable .                      d may have had                             cartons, however,
                                                                                                               the
      (ZZ] Container's                                                                  its advertisements, right to display the cartons in
                            attack is apparently                                                                 and the district court
     propriety of utilizing                              directed to the                unduly weighted the                                may hove
                                 several of the                                                                       digit . The same
     factors in the analysis .                      individual digits as               digits (2) and (3) , bath                          is true of
                                   As we said in Bwui,                                 Containers use of                       of which involve
     whether a Particular digit                              the question                                       Kentucky Fried's red
     is question of                 can properly be                                    trade dress in                                     and white
                        law. See 451 F .Zd at         taken into account                                 connection with
    court considers a digit                       1263 . When a district
                               that, as a matter of law,                              Purposes of analysis, we excludeadvertisements. For
    counted against a                                       should not be             (4) from consideration                     digits (2), (3)- and
                           defendant, the court's                                                                  .
    shield of the "clearly                             findings lose the                Digit (10) . involves Containers
                             erroneous" standard .                                      describing                               use of invoices
                                                                                                       products as "KFC
   Container contends that,                                                             "KFC snacki'sboxes ."                  dinner boxes" and
   to use Kentucky            for several reasons, it                                                            These phrases are
                     Fded's trademarks on                was entitled                  descriptions of the                             reasonable
                                                                                                                products, although
   franchisees . The district                  the supplies it sold to                 circumstances "dinner                            under the
   use of the marks as        court, however, listed                                   would certainly be           boxes" or "snack
                       pan of its first digit .          Container's                                           sufficient . The             boxes"
                                                                                       the phrases am
                                                                                                        merely descriptive argument that
   Container's claim of a                                                             be addressed to                            should properly
                          right to use the                                                              the weight of the
   is not frivolous, as                    Kentucky Fried marks                       to the propriety                         factor rather than
                           our later discussion                                                            of considering it
  infringement will show.                         of trademark                       however, the district                        at all . Again,
  this litigation, however, The issue need not be resolved ;n                        weighted this digit, and coon may have unduly
                            and we therefore                                                                       we proceed as if digit
      We assume for                           decline to resolve                    cannot be considered                                      (w)
                          purposes of analyzing                                                              .
 competition claim that Container                    the unfair                      Finally, we exclude
                                                                                                                 digit (1q) : that
 the Kentucky Fried                   did have the right
                          marks on the products           to use                    President Sanford
                                                                                                           Gubemik                    Container
                                                     it sold to                     to sell canons                      conspired with
 franchisees .                                                                                           not meeting                       others
                                                                                   standards and to                         Kentucky p~ed's
                                                                                                        conceal that fact from
  (23](2a] The upshot of                                                           Fried . These facts
                         this assumption and                                                              are only tangentially Kentucky
 it is only an
               assumption is not necessarily we reiterate that                     the unfair
                                                                                                 competition claim . The            relevant to
 court erred when it                            that the district                 compeuGon is likelihood                       gist of unfair
                     considered as an unfair                                                                        of confusion ;
 the fact that Container's                    competition digit                   here i, whether                                    the issue
 marks and characteristic cartons bore Kentucky Fried's
                                                                                                     Container's
                                                                                  confuse franchisees                activities were likely to
                             red
assessing unfair competition, and white trade dress. In                                       sft
                                                                                                             concerning the source
look to behavior that           a court can and                                                     eructs beoning sold .
                      would be perfectly          often should                    (p4)ocas      lin                       Although digit
alone. q court should                      legitimate standing                    franchisees were                 th e issue
                        consider all the
                                          circumstances. The                                          likely to be confused whether
                                                                                 respect, it does yield                         in this
                                                                                                        added support for an
                                                                                                                              inference


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          that Container intended to mislead franchisees . In       Container affixes a seven-digit number to each shipping
          the spirit of undeserved charity that has guided our      case ; the number has nn purpose in Container's invoicing
          treatment of Containers contentions «o this point,        system ; and remarkably enough the number contains exactly
          however, we also exclude from consideration, for          the same digits, albeit rearranged, as does one of Kentucky
          purposes of this analysis, digit (14) .                   Fded' .s standard part numbers for cartons .[FN20) The trial
                                                                    judge found a bonus of digits even assuming that he was
 In sum, then, we are willing to accept solely for the              wrong with respect to some of them .
 purposes of argument Container's contention that the district
 court's analysis failed to follow the governing legal                        F\' 17 . See the second half of digit (1), supra .
 standards. The result, however, is not an automatic rejection
 of the district court's holding. Rather, the district court's                PN I8 . See digit (5).
 disregard of the governing legal principles snips its
 likelihood-of-confusion finding of the protection afforded                  FN 19 . See digit (11), supra.
 by the clearly erroneous standard .
                                                                             PK20 . See digit (12), supra .
Digits need not add up to a definitive sum. If among one or
more of the digits we find a likelihood of confusion .              [27] Kentucky Fried augmented this showing of Container's
Container's elimination of a digit here and a digit there does      confusing tactics by producing evidence that Container had
not militate against our result . So long as the trial judge was    achieved its result. Franchisees were actually misled . An
correct in a sufficient number to establish confusion he has        unfair competition plaintiff succeeds by establishing
satisfied by his findings all that need be found to convict         likelihood of confusion ; actual confusion is not necessary .
Container of legal confusion. Even one digit might be the           When there is evidence of actual confusion, however, it
infinity of unfair competition .                                    provides persuasive support for an inference that confusion
                                                                    is likely .
 (25)[26] Our task is therefore to determine on our own               There can be no more positive or substantial proof of the
 whether the surviving digits add up to unfair competition .          likelihood of confusion than proof of actual confusion .
 We have no difficulty concluding that they do . Containers           Moreover, reason tells us that while very little proof of
advertisements invite franchisees to "buy direct;" [FN 16] we         actual confusion would be necessary to prove the
think it self-evident that the phrase is intended to mislead          likelihood of confusion, an almost overwhelming amount
 franchisees into believing that Container is also a supplier of      of proof would be necessary to refute such proof.
Kentucky Fried or is affiliated in some respect with
Kentucky Fried . Intent to mislead is relevant, though not          World Carpet,, Inc . ~ . Dick Littrcll's New World Carpets,
essential, to a finding of unfair competition . See, e . g .,      439 F .=d -132, 434 (i1h Cir . 1971 .[FN21] Container's
Volkswagemeerk AkdengecellschaR v . Rickard, 492 F1d               contention that the showing of actual confusion was
474 . 478 (51h Cir . 1974) . Moreover, we also think the           statistically insignificant therefore misses the point . See
phrase is likely to achieve the intended confusion . The           Roto-Ruoter Corp . v . O'Neal . 513 F .2d a-t (5th Cir. 1975),
phrase "buy direct" arguably informs a potential customer          The evidence that some Kentucky Fried franchisees were
that the product's source is not Kentucky Fried itself, but the    actually misled reinforces our conclusion that Container's
confusion underlying an unfair competition holding need            activities created a likelihood of confusion .
not be confusion with respect to the seller's identity . When a
franchisor legitimately requires franchisees to purchase                    FN-2I World Carpets confronted the confusion
                                                                            .
from approved sources, an unfair competition holding can                    issue in the context of trademark infringement, not
be based on the likelihood of confusion with respect to                     unfair competition . The court's analysis, however,
whether the produces source has been approved .                             is equally applicable in both settings .

         FNI G. See digits (6), (8) and (9).                       In sum, Kentucky Fried has produced overwhelming proof
                                                                   that Containers behavior was designed to create confusion,
In addition, Containers canons do not have its own name            that it was likely to succeed, and that in some instances it
printed on them, [F\ 17] and              "38G Container's         actually succeeded . A more solid showing of unfair
advertisements avoid any notice that its products are not          competition has rarely been assembled . One cannot read this
approved by Kentucky Fded .[FN13] Of even greater                  record without concluding that Container poached on
significance, Container ships its products in packing boxes        Kentucky Fried's chicken coop and did so overtly and
that bear Kentucky Fried's trademarks . [FN19] Use of the          avariciously . Container fill just short of costuming its sales
marks on packing boxes could have no purpose or effect             force in the garb of the Colonel, goatee and all. We uphold
other than to mislead customers. Any doubt on this score           the distract court's ruling on this issue.
vanishes when Containers numbering system is considered .




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IV . Trademark Infringement                                                    F\?2 . Container apparently limits its attack on
                                                                               Kentucky Frizd's quality control in the 47 states [o
Kentucky Fried's next theory is trademark infringement .                       the supplies involved in this suit . We do not
Trademark infringement is a narrower aspect of unfair                          understand Container to contend that Kentucky
competition ; both turn primarily on the likelihood of                         Fried has allowed franchisees to sell chicken that is
customer confusion. See generally B. 11 . Bunn Co . % . .-*O1A                 less than finger-lickin' good .
Replacement Pans Cu ., 451 F.2d I :5a (5th Cir. 19'1) ;
American Foods, Inc . v . Golden Flake, Inc.. 312 F .2d 619                    FK23 . We find unpersuasive Containers argument
(5(h Cir. 1963). Trademark infringement, however, occurs                       that Kentucky Fried's delay in detecting the use of
only when the defendant brings about the confusion in a                        Containers inferior products indicates a lack of
particular manner : by using the plaintiffs name or marks, or                  quality control . That Containers deviousness
marks confusingly similar.                                                     succeeded fur a dime does not preclude Kentucky
                                                                               Fried from taking steps to protect its rights, now
In the case at bar Container has concededly used Kentucky                      that its quality control program has located the
Fried's marks without Kentucky            Fried's consent.                     culprit .
Nevertheless, Container presents a two- pronged defense to
the trademark infringement claim. First, Container contends           We also find unpersuasive Containers contention based on
that Kentucky Fried has forfeited its marks by engaging in            Kentucky Foed's lack of any control at all over Kentucky
unrestrained licensing. Second, Container argues that its use         Feed Chicken outlets in the other three states . Kentucky
of the marks on supplies rather than chicken is not likely to         Fried does not own the marks there ; Colonel Sanders
confuse prospective purchasers . We deal with each                    conveyed the trademark rights to others before selling the
contention in turn .                                                  remaining business to Kentucky Fried's predecessors . The
                                                                      trademark owners in those three states therefore are not
" 387 A. Forfeiture                                                   Kentucky Fried's licensees, as Container erroneously
                                                                      contends, but rather concurrent owners . Concurrent
[2R] Courts have long imposed upon trademark licensors a              ownership of marks in separate geographical territories is
duty to oversee the quality of licensees' products . See, e. g .,     clearly permissible. See 15 U .S .C . , IUS2(d) . Indeed, we
benison Mattress Factory v. Spring-Air Cu ., 309 F.2d 30? .           have ourselves approved decrees expressly establishing such
409 (5th Cir. 1962). The rationale for this requirement is            concurrent usage of identical marks . See American Foods,
that marks are treated by purchasers as an indication that the        Inc . v . Golden Flake, Inc . . 31_ G?d 619 . G25-26 (5th Cir .
trademark owner is associated with the product. Customers              1963) ; Sheila's Shine Products . Inc . v . Sheila Shine, Inc . .
rely upon the owner's reputation when they select the                 486 F .2d 114 1?th Cir . 1971) ; cf. Dawn Donut Co . v . Hart's
trademarked goods . If a trademark owner allows licensees to          Food Stores . 267 F .2d l >k (2nd Cir . 195y) . Kentucky Fried
depart from its quality standards, the public will be misled,         Chicken customers m 47 stales buy the product of plaintiff
and the trademark will cease to have utility as an                    Kentucky Fried Chicken Corporation, backed by its
informational device . A trademark owner who allows this to           reputation . Kentucky Fried Chicken customers in Florida,
occur loses its right to use the mark .                               one of the remaining states, buy the product of the Florida
                                                                      owner, backed by its reputaUOn .[FN24] That many
 [29] Container argues that Kentucky Fried has forfeited its          consumers are undoubtedly oblivious to the corporate
 marks by inadequately controlling quality in the 47 states            structures does not undermine the trademark system ; Florida
 for which it owns the marks [FN22] and by failing to                  customers will associate the trademarks with the Florida
 control quality at all in the other three states . With respect to    product, and national customers will associate the marks
 the 47 states in which Kentucky Fried owns the trademarks,            with the national product . That an occasional purchaser
 however, the record belies Containers assertion that                  " 388 will travel between geographical districts is not a
 Kentucky Fried's program for controlling quality is a                 problem sufficient to justify outlawing concurrent trademark
 sham .[FN23J Retention of a trademark requires only                   ownership .[F12i]
 minimal quality control, for in this context we do not sit to
 assess the quality of products sold on the open market . We                    F\24 . This is true despite the fact that plaintiff
 must determine whether Kentucky Fried has abandoned                            Kentucky Fried Chicken Corporation owns some
 quality control; the consuming public must be the judge of                     retail stores in Florida, all of which are franchisees
 whether the quality control efforts have been ineffectual .                    of the . Florida owner . As franchisor, the Floods
 We find that Kentucky Fried has sufficiently overseen the                      company controls the quality of and stands behind
  operations of its franchisees. Container has failed to carry                  the products sold by the nationally owned retail
  the heavy burden placed on a party seeking to establish a                     outlets, just as it does in the case of any locally
  forfeiture . See American Foods.. Inc . v. Golden Flake . Inc. .              owned franchisee .
  312 F.2d 0 19, 625 I5111 Cir. 19631.




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               Fh?S . At first blush the problem might
                                                                  seem       correct that the Kentucky Fried marks
               particularly acute when one of the states                                                                 applied only to
                                                             involved        chicken, therefore. Containers
               is Florida, which, at least before                                                           use of the marks on supplies
                                                    the great Florida        might nonetheless constitute
              snow fall of 1977, attracted numerous                                                           infringement . Container's
                                                         tourists . We       attempt to limit the products
              are convinced, however, chat
                                               climatological facts                                          for which Kentucky Fried
              rather than the prospective                                    owns trademarks provides no defense
                                              culinary delights of                                                   to the infringement
              franchised fast-food restaurants                               claim .
                                                  attract tourists to
              Floods .
                                                                             We do believe, however, that the
                                                                                                                  true thrust of Container's
    We conclude that Kentucky Fried                                          contention poses a tar more
                                        has not forfeited its                                                   difficult issue . We think
    trademarks through unrestrained licensing.                               Container's position can be
                                               The marks are                                                   reformulated in terms of
                                                                             likelihood of confusion . Container
    valid.                                                                                                        apparently argues that its
                                                                            use of die marks on supplies
                                                                                                           rather than chicken is not likely
    B. Likelihood of Confusion                                              to confuse potential customers .
                                                                                                                 We deem this the most
                                                                            difficult aspect of the trademark
                                                                                                               infringement claim.
    [30] Container's next contention in
                                          defense oFthe trademark
    claim is that its use of the marks was                                   [32] Trademark infringement occurs
                                                not likely to mislead                                                      only when the use
    potential customers. Preliminarily,                                      sought to be enjoined is likely to confuse
                                              we reject Container's                                                              purchasers with
    formulation of its argument .                                            respect to such things as the
                                        Container articulates it                                                       product's source, its
    contention in terms of the trademarked                                   endorsement by the plaintiff or
                                                 products: Kentucky                                                 its connection with the
    Fried's marks, says Container, apply                                    plaintiff . See, e . g., World Carpets
                                             only to chicken, not to                                                 . Inc . v . Dick Littrell's
    paper products . We reject this                                         ~~cu' World Carpets, 438
                                    assertion for three reasons .                                         F .2d 482, -1R3 (5th Cie 1471) ;
                                                                            Continental Motor, Corp . v_ Continental
                                                                                                                                Aviation Corp .,
   First, although Kentucky Foed's                                          375 F .2d 357 kSih Cir . 19h7) ; Aloe
                                        registration refers only to                                                Creme Laboratories, Inc-
   chicken (and other food products),                                           f
                                                                            v~ :,ree Laudu, Inc . . ;39 F .2d 256
                                           we believe that closely                                                      (5th C.ir . 19761 . Our
   related products are included as well                                   cases demonstrate unbroken
                                           . We deal here nut with                                           insistence upon likelihood of
   Kentucky Fried spaceships or Kentucky                                   confusion, and by doing "389 so they
                                                 Fried writing pens,                                                    reject any notion that
   but with the paper products necessary                                   a trademark is an owner's
                                               to the operation of a                                          "property" to be protected
  store that sells Kentucky Fried chicken                                  irrespective of its role in the operation
                                              . As the district court                                                    of our markets . See
  noted, Kentucky Fried could hardly emboss                                American Foods, Inc . v . Golden Fluke,
                                                      its trademarks                                                      Inc ., ;J2 F .2d 619.
  upon the chicken itself. There is a                                      61-5 15th (-'it . 1963) . Trademarks
                                            symbiotic relationship                                                convey to purchasers a
  between Kentucky Fried chicken and                                      variety of information, and when a
                                                   ids cartons and
  accoutrements . Under these circumstances                               same or similar marks interferes competitor's use of the
                                                        hold that the                                              with this informational
  registration is sufficient m encompass we                               function . trademark infringement is
                                                     the tangential                                               established .
  supplies .
                                                                          These principles were not altered
                                                                                                                 by our recent decision in
  [31] The second reason that                                             Boston Profzssional Hockey
                                   Container's argument fails is                                           Association . Inc . v . Dallas Cap
  that Kentucky Fried clearly                                             .C Emblem Manufacturing . Inc
                                        possesses common la"                                                   . Slq F ._d IOOd (5th Or.
  trademarks with respect to the                                          1975), cert . denied, d_i U .S . RGR.
                                            supplies themselves .                                                46 S .Ct . 132 . 46 L .F:d .Zd
  Kentucky Fried concededly uses the marks                                98 ( 1y7i) . There we held that
                                                  on supplies, arid                                          Dallas Cap infringed Boston
 it was the first party to do so .                                        Hockey's trademark the team emblem
                                    1t therefore has the common                                                      of the Boston Bruins
 law marks on supplies even if the                                       by selling shoulder parches
                                            statutory registration                                        depicting the Bruins' emblem .
 applies only to chicken, Kentucky                                       Acknowledging that the confusion
                                         Fried', cartons may not                                                     question there was
 be "finger-] ickid good," but that is the                               conceptually difficult, we found the
                                               cartons' trademark                                                  confusion requirement
 nonetheless.                                                            satisfied by the "certain knowledge
                                                                                                                    of the buyer that the
                                                                         source and origin of the trademark
                                                                                                                 symbols were in (Boston
 Finally, Container's focus on the                                       Hockey)," ill) F .2d at 1012 (emphasis
                                        trademarked products                                                        added) .
 erroneously assumes that infringement
                                         occurs only when the
 alleged infringer uses the mark                                         In the case at bar the buyers
                                    on the same category of                                            undoubtedly possess certain
product with respect to which the                                       knowledge that the source and
                                    trademark owner obtained                                             origin "of the trademark
the mark . We have squarely and                                         symbols" is in Kentucky Fried . By
                                     repeatedly rejected that                                                emphasizing this one
position . See PGi1 v . Bankers Lile &                                  phrase from our comprehensive
                                           Casualty <'u . . 514                                          opinion, Boston Hockey
F .2d 665 (5th ('ir . 19%5) ; lseePFnter                                could therefore be read to dispose
                                          Restaurants, Inc . ~ .                                            of the confusion issue
James Burrnugh Ltd ., 3913 F .2d                                        here .
                                      637 15th Or . 19681 ;
Continental Motors Curd, . v . Cominental
                                              Aeration Corp .,
375 F .2d 85? fish Cir . 1957 .                                         We decline, however, to adopt that
                                    Even if Container were                                                 reading . Boston Hockey
                                                                        also reiterated our unbroken
                                                                                                      insistence on a showing of



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                  confusion, and we
                 that context .            believe that our
                                   Under the                     opinion must be
                                                                                           read in          W the confusion
                                                                              involving                                              . When such
                                                                                             sales          infringement
                                                                                                                                exists                     confusion exists,
                buyers Ic  ew th e                   Bosrpn    Hockey the fact f                          marks,                          regardless of ir                             trademark
                                        symboIS originated                                                                                                          hether the use
                suppotted the ;~«ca                                with B oston                            confusiun .~F,ti~_7~ ~~e                          would                          of tthe
                                               able inference                           Hockey                                                                                have         created
                believe that th e             P                       that many                            infringed                              therefore        hold that
                                                                                                                        Kentucky Fned's
               somehow endorsedproduct itself on ¬ ,naied                                  would                                                   trademarks .                         Container
               had no reason               by      stun Hickey. 1~ y~~        with     or was
                                  to                                                                                   1'\"~7 .
               in manufacturing expect Boston Hockey to p~                           may have
                                                                                                                      shipp
                                                                                                                                  In addition, C'ontainer's
                                                                                                                                                                      use of the
                                      shoulder                              .ssess    expertise                                      cases presents
              club's endorsement                   patches, but to a
                                                                           Bruins                                     their ;ng
                                                                                                                              use                           a much easier marks on
                                         would   be much more                           fan  the                                      on    the supplies                               case than
              quality of the                                         important than                                   shipping eases                            themselves . Marks
              to reap the      sG~chery,      And                                         n  the                                             are   not Util ;~~~ .                            o
                           rewards Oft'              Boston Hockey had                                               meant to mislead.                                   the
                                               trademark's popularity every eight                                                                 This use of the y an only b~
                                                                             .                                       alone, would
             [33j Several factors                                                                                                        ~~nstiNte infringementmarks, standing
             m Boston                   su         chat  the                                                                                                                .
                          flock y need     ggzs<              finding of infringement                  136J We note in
                                              not conned here.                                                                   this  respect
            with hom we                                               First,                          Container from                                that the district
                                    deal are not
            franchisees fully                           the consumin the buyers                       container                Using the marks, and                        court enjoined
                                    familiar wish the                     8 public but                                would not be                                under the injunction
            underlying the                                   corporate configuration                 even     if it discontinued             free    to         me use of the
                                                                                                                                                         resume
           much weaker products.jF                      The inference                                relied in find                     [he other tactics                                marks
                             that the b                                      is   Therefore                                 ing     that the trademarkupon which we have
           trademark-bearing                      will believe
                                                        b         that                               likelihood
                                                                        the source of                                 of c onf~s ;o~.
           mark itself Second,       product is the
                                                         same as the source                 a       would present                            As an original usage c rested d
                                         the   strictures of the                      of the                                  the     difficult                       matter such use
          deprive Yen~u~~y, ~.~z~                                                                   reserved.                                        cunfu, ;o~ issue
          the rewards of                   ~f any light ~o preserve    antitrust ~a                                We uphold the injunction                                       v, e have
                              Jt,,                                         for           `°s        F~~~ng it necessary                                  in full, however,
                                                                                                                                  to
         discussion makes trademarks' Popularity . As our itself all                               Container originapy confront the unresolved                                       with out
                                 clear, so long as                            r antitrust                                            would have been e                    issue . Even it-
         franchisees to eye                               Kentucky     Fried requires              marks,      we   hold
         Prevent alt                supp~les bcarin                                                use is justified that the        he                           entitled to use the
                        Competing suppliers              K the marks, it ca                                              by              unqualified injunction
                                                                                                                                                          in
        would c onstitute                             tom                              snot       An injunction               ~,~~~ainer's       history of                against their
                                  an illegal tie-in using them ; to do so                                                can                                     Improper behavior.
        conclude that a                                   . Finally                               fashioning retieF a be theta peutic as well as
                              seller of boxes                         . we
                                                      bearing Kentucky cannot                    governing legal against a party who has                               protective In
                                   y trading on
        KentuckyY Fried .                             the good name               Fded~s         proscribe activitiesstandards, a court of equity                   transgressed ~e
                                  Affixing those                               built by                                         that,                                         is free to
       utilitarian ; the                                   marks, after all,                    unassailable See, e. g., standing alone, would
       but advertise itsbuyer needs boxes   boxes that nut
                                                                only hold chicken
                                                                                        is      U.S   .  3S, 5J, g3 S.Ct               1;n  ;tcd  S, tares   ,.  t o`~,,4   have been
                            business as well .                                                                                   . 97, y L.Gd .)d                          , l nc  371
       we do not believe                            Under the,e                                cases) .(F,ti'?Y~~~z9~                                     II (lyti~
                               Boston     H ockey                   circumstances                                      The   sweep      of                                 (collecting
      symbol's source                                                                          this   br~~.~1:                               equitable discretion
                               w;~h                                                                                                                                         is at least
      trademark infringement, ro nfussoon sufri.~enreq~~es~kenrnowroledgeofshestablishe
                                        and   W~    d~~
      unresolved bY our existing                         m the confusion                                     F;~~_g . The district
                                          decisions .                             issue
                                                                                                             reserved, holding ,-uurt resolved the issue
                                                                                                            of the                      that Containers                        we have
                  F~~=~~ We analyze the con                                                                               marks, standing                       unconsented use
                 in terms of the                          ion issue, of
                                                      fusion                                                constituted infringement                    a)one, would
                                       producCs                              course,                                                                                               have
                 Sun-Maid k aisin                              buyer . See                                  nod address its                        That court
                                             Gro~verc                                                                                equitable                       therefore did
                 Products, Inc ., ; Sh ~:._d a~~, a~~~~'SunaldS                 e    g'                    whether                                   discretion to the
                                                                                Fond                                     Container's conduct                                      issue
                                                             (_rh Cir. (9~h1                               injunction against                             would warrant
                We                                                                 .                                                    ail   use    of                               an
    0411351          decline,                                                                             standing                                       the marks
    tantalizing confus ;o however, to resolv-c this imriguing                                            therefore
                                                                                                                                 , the usage
                                                                                                                                                      would
                                                                                                                                                                           even if;
                                 issue that would                                and                                    resolve th~~                              be legal. ~,e
   dealt with a seller                                    be presented if                                the distp~i
                          whose      only                                         we                                                        issue   ourselves,
   use of
               Kentucky
                                           asserted transgression
                                                                                                         confdenr it would  court's handling of the though from
                                                                                                                                on's
                        y
  trademark usage Fnzd's marks . For here                                 was the                                                     rearh the same               case We are
                         in conj unction                         we                                      Container's                                         result. We think
  for misleading                               wrth an elaborate confront                               strong and         indefen,ible        conduct clearty
  Container was          franchisees into believing                      scheme                                            eftecUve relief,                             calls for
                       connected                                   that     "  390                      district   court    order as written and we uphold the
 Fried . ~'e                          with or approved y~                                                                                          .
                   need not recount                                 KenNcky
 discussion of unfair                        the facts                                                  P\"29.
                           comped~ion . W'e                 detailed     in our                                  Similarly the scope
conclusively                                        reiterate only that                               support the                               Of equity (s sufficient
existed . Conteine~sdemonstrate that a                                      they                                          injunction against                                      to
                                                likelihood     of                                     the    marks
the larger scheme, use of the trademarks Bias                      confusion
                                                                                                      we accept
                                                                                                                       on supplies
                                                                                                                                          other
                                                                                                                                                       Container's use of
                                                                                                                                                    than cartons,
                        and the use of                          but a part of                                         Container President                              even iF
                                            the trademarks                                           contention char                                  San(ord Gub
                                                                 contributed                                                 Container                                  emik'   "n.s
                                                                                                    cartons. See note                         uses the marks only
                                                                                                                                 5 supra . fn
                                                                                                                                                   addition, the
                                                                                                                                                                       district

                                              Cupr .      West 2(k)q Nn Claim
                                                                                        to Orig . U.S .
                                                                                                           Govq . Wurks
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                       Court
                      defnda~t 1'acka issued an injunction against
                                            g~~g' gee note 4 supra, despise
                      Packs B in g's cessation                                                       pleaded fraud on
                                                                                                                       the patent oil-,"
                      cases courts have            of business . In                                  defense to the                      as an affirmative
                                             enjoined future violations numerous                                        trademark infringement
                     See ~ansgressor has purged                            though                    Subsequently, however,                         claim .
                                                       itself and come to                            answer to delete            Container amended
                        } R it ,ill never again                             coup                                             the assertion .            its
                    ,f.111
                     sinner . See, e. g.,            transgress and become                          allegation that it
                                           United Stags v. N',                   a                                     first became aware Container's
                     34~ U .S . 62q.                               T. G,,~nt Co .,                  issue upon discovering                   of the
                                      73 S .C_1 . 694 . 97 L .f-d                                   simply false.              new evidence after fraud
                    (injunction held proper                       . 1303 X19> .;~                                                                  gist is
                                                  despite voluntary
                           egal practice) .                            cessation           In this case,
                                                                                                         however, there is
         V. New Trial                                                                      the motion as                          another reason for
                                                                                                             well . The new                                denying
                                                                                          affected the result                      evidence would not
                                                                                                                 of the trial. Even                           have
          After the district                                                              assertion that the                              accepting Container'
                                                                                                              affidavit comains
          Container moved for
                                   coup rendered
                                                        judgment against                  we find no                                  a tacit misrepresentat,on,s
                                     a new trial pursuant                                                    basis for
          60(b) citing                                         [o Fed . R .C~v,p,        a~together .(FN32J                  invalidating the
                "        "new" evidence                                                                                                               registration
          on the patent office                purportedly establishing                   registrations were Moreover, even i( Kentucky
                                    suffcieni to require                    fraud                               canceled, as first user                    Fried's
         KenNCky F'ried's                                      cancellation of          common ~aH, trade                                       it would retain
                              trademark registrations                                   the patent otFce          arks  . In some
         denied the motion                                . The district                                        might justify         circumstances fraud
                                . The issue                                court       common law as                              eradicating a                 on
         district court abused                   before us is whether
                                 its discretion. We                            the.                         "'ell  as  statutory                      registrant's
                                                                                       failed to allege                            tights,
                                                       hold that it did not
                                                                             .                            facts even appn,aching but Container },as
        The "neu~" evidence consists                                                   be required to                                     the level that
                                            of an affidavit                                              support such a                                    would
        Fried Official                                       that a Kentucky          new hial on this issue                  result . The
                        submitted m the patent                                                                      Would reach a result     Possibility   that a
       Fried sought to                               office when Kentucky             that of the original                                       dit~b,-ent than
                            delete from its                                                                    trial is at best
       Florida, Montana and                      registration the states              uphold the district                        remote, and we
                                  Ulah states for which                        of                             court's denial of                        therefore
       had conveyed the                                     Colonel Sanders           motion . [('H3~~                                Container's rule 60(bt
                            rights to others, and
       Kentucky Fried                                 with respect to
                          therefore                                     which
      The original registration, had no rights to use the                                              = . Container bases
                                                                       marks    .
      the business to                 obtained by the company
                                                                    that sold                     that the patent Office its argument on the view
                         Kentucky      Fried,                                                                                     would have disapproved
     all 50 states, and                        had erroneously                                   concurrent
                           in reviewing                           applied to                                                   had it known
     the business                           documents when it                                                  registration
                                                                                                 Fried Owns Florida                             that Kentucky
                      Kentucky Fried                                acquired
     Container contends that               discovered the mistake                                registration is appropriate    retail stores .
                                    the                               . "39~                                                                        Concurrent
    that Kentucky Fried                  affidavit  impliedly represented                       nut likely to                       only when confusion
                              did not do business                                                                  result . See I i                           is
    in fact Kentucky                                   in Florida, whereas                      Container argues that                    .S s 1052(4)
                                                                                                                                         U
                                                                                                                                         .
                                                                                                                                         .C
                           Fried owned                                                                                      confusion                          .
    Florida, all o! which            numerous refill                                            Florida stores ere                        results when some
                                                       stores in
    of the marks .[FNlp]~ were franchisees of the Florida                                      company while                controlled     by the Florida
                                                          owner                                                        others are
                                                                                               national company.                        controlled by the
                                                                                                                          In fact, however,
              FNII) The Florida                                                               stores are controlled                               all Florida
                                                                                                                           by the Florida
              Chicken of Florida, Inc.owner is          Kentucky Feud                         Florida stores
                                                                                                                 owned 6y the nationalcompany . The
                                                                                              franchisees of the
    1371[381 This evidence                                                                   the national             Florida company. company are
                                   is insufficient to                                                                                        The product of
    for                                                 warrant a new teal                                    company's Florida
          two reasons. First, Container                                                      the Florida                                sores is therefore
   failure to                                    is unable to                                                company's product
                    raise the issue at                           explain it                 " 11 'rue for any locally                  to the same
                                                                                                                                                       extent
   apparently have unearthed trial. Diligent discovery would                                We do not                         owned Florida
   ask                                 the  affidavit . Surely                                                   believe the                     franchisee .
        ton much of a trademark infringement                     we do nut                  ownership o('various                     national company's
  we require ;~ ~p                                         defendant when                                                 Florida stomas would
                          decide before trial                                               concurrent trademark                                     prevent
  trademark and when                           whether to challenge                        do not believe                registration, and
                              we expect it to                           the                                       that the                    we certainly
  inves4gatory steps with                       take at leash preliminap,                                                       supposedly
                                      respect   In                                                                           is Sufficiently misleading
  Unexcused failure to                              that issue . [FN31J                    af17d~invalidati~,Point
                                                                                          justify                                                 likely t~
                                produce the relevant                                                              ~ Kentucky
 original trial ,;an be                                   evidence at the                 warrant reversing the                    Fried's
 denial of a rule ti0jb1
                                sutTicicnt w;thout
                                                        more to warrant                                                  district court's registration to
                               motion . See AG Pro .                                      denial ofa new trial                               discretionary
 .i12 F.?J Idl . 131-dq                                  Inc, v. Sakraida,                                          .
        lgrounds. 4' ; U. S. '73 (5th (fir . 1475, rev'd nn other                         F\33 We also reject
                                 . 96 S('t . 1532
C J971i ,                                            . 47 L .F.~l.2d                     Kentucky Fried's alleged Container assertion that
                                                                      734                                         fraud constitutes
                                                                                         bonds" and thus                            "unclean
          FN? I . Indeed, in                                                                               defeats Kentucky-
                               the case at bar                                           Competition claim                    Fried's unfair
                                                  Container actually                                          as well as its
                                                                                         Infringement claim .
                                                                                                                 That Kentuckytrademark
                                                                                                                                     Fded's


                                       Cope . (D West 2004
                                                                No Claim to Orig .
                                                                                      U.S . Gov1 . 1i'orhs
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          customers undoubtedly have greasy hands dues not          (d2] Container's final contention is that the district court
          affect this issue.                                        erred by allowing Kentucky Fried to amend its reply to
                                                                    Containers counterclaim .      Kentucky Fried filed        the
VT . Jurisdiction                                                   challenged amendment December 12, 1973, for the first
                                                                    time alleging quality control as an affirmative defense to the
[39] After the submission of briefs on this appeal, Container       tying counterclaim Container had tiled August 13, 1973 .
raised for the first time the issue of the district court's         The vial began February 4, 1974, fifty-four days after
subject matter jurisdiction . The tardiness of Containers           Kentucky Fried's amendment .
assertions does not, of course, prevent us from entertaining
them . A federal court must dismiss a case over which it has        The federal rules mandate a liberal approach to the
no jurisdiction whenever the jurisdictional defect appears .        amendment of pleadings. See Fed.R .Civ .P . 15(a). We find
See Mansfield, L;uldwaler K Luke Michigan Railway                   no abuse of discretion . The record does not indicate that
Swan, I I I U .5 . 379 . 3 S .Ct 510, 28 L .Gd . 462 (IS3d) . We    Container was prejudiced by the timing of the amendment.
must therefore address the jurisdictional question .
                                                                    VIII . Conclusion
Container's position is premised on the fact that this action
was brought in the Southern District of Florida rather than         We have held that Kentucky Fried's approved-source
in a federal district court in some other state . *392              requirement, as revealed in this record, is not illegal, and
Container argues that the district court lacked subject matter      that Kentucky Fried established its right to the district
jurisdiction because none of the parties reside in Florida and      court's injunction . In addressing these knotty problems we
none of the relevant activities occurred in Florida. Indeed,        have attempted to untangle intersecting strands of antitrust,
Kentucky Fried does not own the rights to the litigated             trademark and unfair competition law. We have concluded
trademarks in Florida, and pans of the injunction expressly         that the antitrust laws did not give Container the right to
exclude Florida from their operation.                               debilitate Kentucky Fried's business . The decision of the
                                                                    district court is AFFIRMED .
[AO][41] These allegations, however, raise no question
concerning the court's jurisdiction ; at most they affect the       549 F2d 368, 193 U .S .P .Q . 649, 1977-1 Trade Cases P
court's venue. Several federal statues clearly establish            61,339
jurisdiction over this cause . Not only does the complaint
,rate claims arising under federal law, see 28 U .S .C . s 1331 ;   END OF DOCUMENT
see also I S U .S .C . s 112 1 (jurisdiction over Lanham Act
claims); .R U.S .C. s 1337 (jurisdiction over claims arising
under acts regulating commerce or protecting trade and
commerce against restraints and monopolies) ; ZR U.S .C . s
 13)R(a) (jurisdiction over claims arising under acts relating
to trademarks), [FN34J but complete diversity exists
between the parties, see .S LI .g .C . s 1332 . All of these
statutes establish jurisdiction . When these statutes confer
subject matter jurisdiction, they do so simultaneously for all
federal district courts . The choice among courts is a maser
of venue, not jurisdiction . We thus reject Containers
jurisdictional challenge. Treating its contention as a venue
objection, we reject it as untimely . Unlike jurisdiction,
venue challenges are waived if not promptly asserted . See
 Ped.R .Civ .P . I?(h) ; cf. Nzirbo c . Bethlehem Shipbuilding
Corp ., 308 U.S . 1h5, Ifi7-bR, fiU S .Q . I ?3 . 34 [- .Ed. 167
 (19?9) .

          FN3-J . Container's contention that the complaint
          did not allege and Kentucky Fried did not establish
          an effect on interstate commerce is patently
          frivolous . Moreover, failure to establish interstate
          effects would not defeat jurisdiction .

VII. Amendment to Pleadings




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           EXHIBIT ;' ATTACHMENT

                                  3y
                      (To be scanned in place of tab)
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                                                                   141 Torts C~12
                 Court of Appeals of Georgia.                      379k12 Mo>t Cited Cases

                          LaSONDE                                  A rortious interference claim requires, among other things,
                             v.                                    wrongful conduct by the defendant without privilege;
          CHASE MORTGAGE COMPANY et al .                           privilege means legitimate economic interests of the
                                                                   defendant or a legitimate relationship of the defendant to the
                       No. A02A2135 .                              contract, so that he is not considered a stranger, interloper,
                                                                   or meddler.
                          Jan.31,2003 .
             Reconsideration Denied Feb.20,200) .                  151 Torts C=12
               Certiorari Dismissed Tune 2, 2003 .                 379k I- Most Cited Cases

Prospective purchaser brought action against vendor and            A person with a direct economic interest in a contract is not
mortgagee that foreclosed on the property, alleging                a "stranger to the contract," as would make him potentially
wrongful interference with contract and abusive litigation         liable for tortious interference .
on part of mortgagee and seeking specific performance . The
Superior Court, Fulton County, Barnes, J., dismissed counts        161 Torts C~10(I)
against mortgagee and granted summary judgment on                  379k10( I) Most Cited Case,
specific performance count. Purchaser appealed . The Court
                                                                   /61 Torts $:a12
of Appeals, Johnson, P.1 ., held that : (I) mortgagee was not a
                                                                   379k 12 Most Cited Cases
"stranger to the contract," and thus could not be liable to
purchaser for tonious interference ; (2) mortgagee's success       Parties to an interwoven contractual arrangement are not
in obtaining writ of possession against prospective                liable for tonious interference with any of the contracts or
purchaser precluded abusive litigation claim: and (3)
                                                                   business relationships .
purchaser's failure [o give written notice of intent to sue for
abusive litigation also precluded that claim.                      17) Pretrial Procedure E=fi24
                                                                   3p7Ak623 Most Cited Cases
Affirmed .
                                                                   A motion w dismiss for failure to state a claim should be
                       West Headnotes                              sustained if the allegations of the complaint reveal, with
                                                                   certainty, that the plaintiff would not he entitled to relief
I I I Torts F.~
              "" 12
                                                                   under any state of provable facts asserted in support of the
179k12 Most Chid Cast ;
                                                                   complaint West's Ga .Codt Ann . y 9-11-12(b)(6) .
Mortgagee that held note and security deed on property was
                                                                   181 Malicious Prosecution x+34
not a "stranger to the contract" for its sale between
                                                                   239k34 Must Cited Cases
prospective vendor, who recently purchased the property
from mortgagor, and prospective purchaser, but had a direct        Mortgagee's success in obtaining the writ of possession
economic interest in the subject property, and thus could nod      against prospective purchaser and purchasers failure to
be liable to purchaser for tortious interference with contract .
                                                                   appeal from that judgment precluded purchaser from
                                                                   bringing claim for abusive litigation against mortgagee .
/21 Torts X12
                                                                   N'e,l's GaCode Ann . § 51-7-R2(c) .
379k 12 Most Cited Cases
                                                                   191 Malicious Prosecution &~39
In order to be liable fur interference with a contract, a
                                                                   249k39 Must Cited Cases
defendant mush be a stranger to both the contract and the
business relationship giving rise to and underpinning the          Failure of prospective purchaser to give written notice to
contract .                                                         mortgagee that he intended to sue for abusive litigation,
                                                                   arising out of mortgagee's dispossessory action, precluded
ICI Torts X12                                                      purchaser from bringing such action . W'en's Ga .Code Ann .
3 :9k12 1fu,i Ciied Cases
                                                                   § 51-7-33(a) .
One is not a "stranger to the contract," as would make him         **823 `775 Jack LaSonde, pro se.
potentially liable for tortious interference, just because he is
                                                                   Sores & Harbisoq John C. Porter, Jr ., Atlanta, for appellees.
not a party to the contract .




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*772 JOFf~SON, Presiding Judge.                                   filed a direct appeal from the order of dismissal, '"824 but
                                                                  this Court dismissed the appeal [FN I ] Later, the dal court
Jack LaSonde filed a complaint against Chase Mortgage             granted summary judgment to Chase Mortgage and
Company f/k/a Chemical Mortgage Company, Chase                    McGregor on Count 3 of the complaint, noting that Count 3
Manhattan Mortgage Corporation (collectively "Chase               had been rendered moot because LaSonde had already
Mortgage"), and Wayne McGregor seeking damages and                received the relief requested in that count . LaSonde now
equitable relief claiming Chase Mortgage wrongfully               appeals from the order granting summary judgment, which
interfered with McGregor's agreement to sell LaSonde real         incorporates by reference the earlier order dismissing
property . LaSonde also claimed that Chase Mortgage is            Counts I and 2 of the complaint.
liable for abusive litigation for filing a dispossessory action
against him . This is an appeal from the dismissal of two                   FN I . Case No . A02A0954, dismissed February 15,
counts of LaSonde's three-count complaint .                                 2002 .

The following facts are undisputed : Cleveland Watkins            [1] I . LaSonde contends the trial court erred in dismissing
purchased residential real estate with a loan from Chase          Count 1 for failure to state a claim upon which relief could
Mortgage Company f/k/a Chemical Mortgage Company.                 be granted. [FN2] There was no error.
The promissory note was secured by a security deed
assigned to Chase Mortgage . Watkins sold the property to                   FN2 . See OCGA § 9-11-12(b)(6) .
McGregor, and McGregor sought approval from Chase
Mortgage to allow him to assume the loan . Chase Mortgage         [2][3][4][S][6] In order to be liable for interference with a
denied McGregor's request.                                        contract, a defendant must he a stranger to both the contract
                                                                  and the business relationship giving rise to and
McGregor then entered into a contract with LaSonde in             underpinning the contract . [FN
                                                                                               ;] One is not a stranger to the
which LaSonde would lease the property from McGregor              contract just because he is not a party to the contract [FNS]
with an option to purchase it . LaSonde moved into the            A tortious interference claim requires, among other things,
residence and, in December 1999, exercised the purchase           wrongful conduct by the defendant without privilege;
option and entered into a sales contract with McGregor .          "privilege" means legitimate economic interests of the
McGregor then told LaSonde that the loan on the property          defendant or a legitimate relationship of the defendant to the
was assumable, but that there was a dispute and that Chase        contract, so that he is not considered a stranger, interloper,
Mortgage refused to provide him with payoff information .         or meddler. [FNS] A person with a direct economic interest
The loan went into default, and the property was foreclosed       in the contract is not a stranger to the contract . [PNfi] Parties
upon . Chase Mortgage bought the property at the                  to an interwoven contractual arrangement are not liable for
foreclosure sale and filed a dispossessory action against         tortious interference with any of the contracts or business
Watkins and LaSonde . The trial court granted the writ of         relationships. [FT7J
possession .
                                                                            FN3 . Pruifl Corp. v. SirahleY, 270 ( ;a . 430, 510
A few days later, LaSonde proceeded to close on the                         S.E .3d 821 (1999) .
purchase of the property with funds he borrowed from
another lender . After the loan closed, LaSonde filed the                   FN4 . .dlluiuu .L/arFet Center ;LfKw1. Co . o. Aft Lane.
underlying suit .                                                           269 Ga . 04, 608(2) . 503 S .F2d'_78 (1998) .

In Count I of the complaint, LaSonde sought relief from                    F\5 . Disaster Svcs. v . ERC Ptrrhiervhip, 228
Chase Mortgage, claiming it interfered with his sales                      Ga .App . 719, 740-741, 492 S .E2d 526 (1997) .
contract with McGregor by refusing to provide McGregor
                                                                           FN6 . ,1ilanm :51arkel Center ifguu .,         supra at
with payoff information on the '773 loan and refusing to
accept payments from McGregor. In Count 2, LaSonde                         609(2) . 503 S .E2d 278 .
alleged Chase Mortgage was liable for abusive litigation
                                                                            Fi~7 . Prom Corp ., supra .
because it filed the dispossessory action . In Count 3,
LaSonde sought specific performance from all three
                                                                  It is clear that Chase Mortgage was not a stranger to the
defendants .
                                                                  sales contract between LaSonde and McGregoc Chase
The trial court dismissed Counts I and 2 of the complaint,        Mortgage held the note and security deed to the property at
holding there could be no action for tortious interference        issue. Indeed, Chase Mortgage was responsible for deciding
with contract because Chase Mortgage was not a stranger to        whether to permit LaSonde or McGregor to assume the loan
the contract between LaSonde and McGregor. At that time,          on the property . Chase Mortgage had a "774 direct
the trial court did not enter judgment on Count 3 . LaSonde       economic interest in the property which was the subject of




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the sales contract .

 [7] A motion to dismiss for failure to state a claim should be
sustained if the allegations of the complaint reveal, with
certainty, that the plaintiff would not be entitled to relief
under any state of provable facts asserted in support of the
complaint [FMS] Because the complaint reveals with
certainty that Chase Mortgage was not a stranger to the sales
contract, the trial court properly dismissed LaSonde's claim
based on tortious interference with contract . [FN9j We note
that the trial court's decision is consistent with the Supreme
Court's express desire to limit the number of entities against
which a claim of tortious interference with contract may be
maintained . [FNIU]

          FNB. Wutkin.c v. Herrelh, 257 Ga .App . 134, 570
          S .E2d 629 (2002) .

         FN9. See id .

          FN 10 . Iv .

2 . LaSonde argues that the trial court erred in dismissing
Count 2 for failure to state a claim upon which relief could
be granted. He urges that the trial court's findings, namely
that Chase Mortgage succeeded in obtaining a writ of
possession and that LaSonde failed to give written notice of
his intent to file an action for abusive litigation, were issues
of fact. Therefore, he maintains, the issues should have been
submitted to a jury . We disagree .

(R] OCGA § 51-7-R21c) provides that it is a complete
defense to any claim for abusive litigation that the person
against whom the claim is asserted was substantially
successful on the issue forming the basis for the claim of
abusive litigation in the underlying civil proceeding . Chase
Mortgage succeeded in obtaining the writ of possession
against LaSonde, and the judgment in that case was not
appealed . Chase Mortgage's success precludes'*825
LaSonde's recovery for abusive litigation .

[9] Moreover, OCGA ti 51-7-84(a) requires that the
allegedly injured party give written notice to the other party
that he intends to sue for abusive litigation in order to give
the potential defendant the opportunity to withdraw the
allegedly abusive action or pleading . It is undisputed that no
such notice was given to Chase Mortgage . Thus, the trial
court properly dismissed Count 2 of the complaint.

Judgmenraffirmed.

BLACKBURN, P.1 ., and MILLER, 1., concur .

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END OF DOCUMENT




                                   Copr .U West 2004 No Claim to Odg. U.S . Govt . Works
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                  18 .0 PRELIMINARY INSTRUCTION-TRADEMARK

        The plaintiff, (name of plaintifil , seeks damages against the defendant, name of
defendant , for [trademark infringement] [unfair competition] . The defendant denies
[infringing the trademark] [unfairly competing] [and] [contends the trademark is invalid] .
To help you understand the evidence that will be presented in this case, I will explain
some of the legal terms you will hear during this trial .

                            DEFINITION OF A TRADEMARK

        A trademark is a word, a name, a symbol, a device, or a combination of them
that indicates the source of goods . The [owner] [assignee] [licensee] of a trademark has
the right to exclude others from using that trademark .

                         [HOW A TRADEMARK IS OBTAINED]

        [A person acquires the right to exclude others from using a trademark by being
the first to use it in the marketplace . Rights in a trademark are obtained only through
commercial use of the mark. The owner of a trademark has the right to exclude others
unless the trademark has been abandoned .]

                               [TRADEMARK INTERESTS]

       [The owner of a trademark may transfer, give, or sell to another person the
owner's interest in the trademark . This type of [agreement] [gift] is called an
assignment, and the person who receives the owner's interest is called an assignee. An
assignee has the right to exclude others from using the trademark . To be enforceable,
the assignment must be in writing and signed. It must also include the goodwill of the
business connected with the trademark .]

       [The owner of a trademark may also enter into an agreement that permits
another person to use the trademark . This type of agreement is called a license, and
the person permitted to use the trademark is called a licensee .]

       A trademark [owner] [assignee] [licensee] may enforce the right to exclude
others in an action for [infringement] [or] [insert applicable form of unfair competition
from 15 U.S.C. $ 1125(a)] .

                            [TRADEMARK REGISTRATION]

       [Once the owner of a mark has obtained the right to exclude others from using
the trademark, the owner may obtain a certificate of registration issued by the United
States Patent and Trademark Office . Thereafter, when the owner brings an action for
infringement, the owner may rely solely on the registration certificate to prove that the
owner has the right to exclude others from using the trademark in connection with the
type of goods specified in the certificate .]
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                        THE PLAINTIFF'S BURDEN OF PROOF

       [In this case, the plaintiff, name of plaintiffl , contends that the defendant, name
of defendant , has infringed the plaintiff's trademark . The plaintiff has the burden of
proving by a preponderance of the evidence that the plaintiff is the owner of a valid
trademark and that the defendant infringed that trademark . Preponderance of the
evidence means that you must be persuaded by the evidence that it is more probably
true than not true that the defendant infringed the plaintiff's trademark] .

                         [DEFENDANT'S BURDEN OF PROOF]

       [The defendant contends that [the [registered] trademark is invalid] [,] [the
trademark has been abandoned] [or] insert other affirmative defense] . The defendant
has the burden of proving by a preponderance of the evidence that [the [registered]
trademark] is invalid] [,] [the trademark has been abandoned] [or] insert other
affirmative defense .

        [Preponderance of the evidence means that you must be persuaded by the
evidence that it is more probably true than not true that the [[registered] trademark is
invalid] [or] [insert other affirmative defense j

       h         is a person as that term is used in these instructions .]

                                         Comment

       See generally 15 U .S.C . § 1051 et seq.

       This instruction is tailored to fit a classic trademark infringement case. If the case
involves trade dress, trade name, or other unfair competition claims, this instruction will
require modification .

        Throughout these instructions, wherever the term "trademark" is used, as is
appropriate for the facts of the case, a more specific term, such as "service mark," or
"collective mark" or "certification mark" may be substituted .

       A corporation is a person . See Instruction 6 .2 (Liability of Corporations-Scope of
Authority Not In Issue) .

   Further Comments: Actual & Intended Use Requirements; Basis for Infringement
                                  Allegations .
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         18.1 DEFINITION-TRADEMARK-GENERALLY (15 U.S.C . § 1127)

       A trademark is any word, name, symbol, device [, or any combination thereof,]
used by a person to identify and distinguish that person's goods from those of others
and to indicate the source of the goods [, even if that source is generally unknown] .

      [A person who uses the trademark of another may be liable for damages .]

                                        Comment

     A trademark is a limited property right in a particular word, phrase or symbol . See
New Kids on the Block v. New America Pub., Inc., 971 F.2d 302, 306 (9th Cir.1992).

       A trademark identifies the source of goods . See Brookfield Communications v.
West Coast Entertainment, 174 F .3d 1036, 1051 (9th Cir.1999) . But it fails to serve its
source-identifying function when the public has never seen it, for instance when
registered for an Internet domain name. Id. Accordingly, it is not protected until it is
used in public in a manner that creates an association among consumers between the
mark and the mark's owner. Id.

       The ability of a trademark to distinguish the source of the goods it marks, not the
uniqueness of its color, shape, fragrance, word or sign, entitles it to protection . See
Qualitex Co. v. Jacobson Products Co., 514 U .S . 159, 164, 166 (1995). Accordingly, if it
can sufficiently serve the basic purpose of source identification, "a color may
sometimes meet the basic legal requirements for use as a trademark ." Id.

       See Instruction 18 .2 (Trade Dress) and Instruction 18 .3 (Trade Name).

                 Adjustment of Instruction for Other Types of Marks

       This instruction is a model for any case involving a trademark as defined by the
Lanham Act, 15 U .S .C . § 1127. Under the Lanham Act, the term "mark" is often used to
define the various types of mark protected by the trademark law, such as trade and
service marks, collective trade and service marks, and certification trade and service
marks . New Kids on the Block, 971 F.2d at 306 . Accordingly, if other types of marks
are involved in the case, adjustments to this instruction should be made as follows :

       A. Service Mark Cases : When a service mark is at issue, substitute the
following for the first paragraph of this instruction and substitute the word "service mark"
for "trademark" in the second paragraph :

        A service mark is any word, name, symbol, device [, or any combination thereof,]
used by a person to identify and distinguish such person's services from those of others
and to indicate the source of the services [, even if that source is generally unknown] .
[Titles, character names, and other distinctive features of radio or television programs
may be registered as service marks as well].
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       "Generally speaking, a service mark is a distinctive mark used in connection with
the sale or advertising of services . . .. " American Int'I Group v. American Int'I Bank, 926
F .2d 829, 830 n. 1 (9th Cir .1991) .

        B . Collective Trademark Cases : When a collective trademark is at issue, in lieu
of this instruction, insert the following :

       A collective trademark is any [word] [name] [symbol] [device] [, or combination
thereof,] used by [a cooperative] [an association] [, or other collective group or
organization] to identify and distinguish its goods from those of others, and to indicate
the source of the goods [, even if that source is generally unknown] .

       [A person who uses the collective trademark of a [cooperative] [an association]
or another collective group or organization] may be liable for damages.] .

       For a description of a collective mark, see Sebastian Int'I v. Longs Drug Stores,
53 F .3d 1073, 1077-78 (9th Cir .1995) (Ferguson, J ., concurring) .

        C. Collective Service mark Cases : When a collective service mark is at issue,
in lieu of this instruction, insert the following :

       A collective service mark is any [word] [name] [symbol] [device] [, or combination
thereof,] used by [a cooperative] [an association] [, or other collective group or
organization] to identify and distinguish its services from those of others, and to indicate
the source of the services [, even if that source is generally unknown].

       [A person who uses the collective service mark of a [cooperative] [an
association] [, or another collective group or organization] may be liable for damages.] .

       Regarding a collective service mark, see Robi v. Reed, 173 F.3d 736, 739-40
(9th Cir.1999) (Musical group members, as collective mark owners of the group's
service mark, do not retain the right to use the service mark when they leave the group,
where members of the original group continue to use the service mark. The manager of
the group, who was in a position to control the quality of its services, retained the right
to use the service mark.).

       D. Certification Mark for Goods Cases : When a certification mark for goods is
at issue, in lieu of this instruction, insert the following:

       A certification mark for goods is any [word] [name] [symbol] [device] [, or any
combination thereof,] which its owner permits others to use to certify [a good's [origin]
[material] [mode of manufacture] [quality] [accuracy] fill in other certifiable
characteristicsl ] [that the work or labor on the goods was performed by members of a
union or other organization] .
       [A person who uses the certification mark for goods of a [cooperative] [an
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association] [, or another collective group or organization] may be liable for damages .] .

       E. Certification Mark for Services Cases : When a certification mark for
services is at issue, in lieu of this instruction, insert the following :

        A certification mark for services is any [word] [name] [symbol] [device] [, or any
combination thereof,] which its owner permits others to use to certify [a service's [origin]
[quality] [accuracy] Mill in other certifiable characteristics l] [that a service is performed by
members of a union or other organization] .

      [A person who uses the certification mark of a [cooperative] [an association] [, or
another collective group or organization] may be liable for damages .]

       Further Comments : Symbolic function of trademarks.
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 18 .5 INFRINGEMENT-ELEMENTS AND BURDEN OF PROOF-TRADEMARK OR
              TRADE DRESS-(15 U.S .C. §§ 1114(1) & 1125(A)(1))

       On the plaintiff's claim for trademark infringement, the plaintiff has the burden of
proving each of the following elements by a preponderance of the evidence that :

       1.       (describe plaintiff's symbol or terml is a valid, protectable trademark;

       2.       the plaintiff owns (describe plaintiffs symbol or terml as a trademark;

       3.       the defendant used describe symbol or term used by defendanfl [a mark
                similar to (describe plaintiffs symbol or termll without the consent of the
                plaintiff in a manner that is likely to cause confusion among ordinary
                purchasers as to the source of the goods; and

       4.       plaintiff was damaged by defendants infringement.

         If you find that each of the elements on which the plaintiff has the burden of
proof has been proved, your verdict should be for the plaintiff. If, on the other hand, the
plaintiff has failed to prove any of these elements, your verdict should be for the
defendant.

                                          Comment

       This instruction sets out the general standard for trademark infringement liability
under the Lanham Act. Modify this instruction as necessary in any case involving
service marks, trade dress, collective trade or service marks, or certification trade or
service marks, by inserting such terms in lieu of the word "trademark" in this instruction .
The traditional infringement case involves the defendant palming off the defendants
product as the plaintiffs by using the plaintiff's trademark . However, infringement also
occurs from the opposite, where defendants use of plaintiffs trademark creates the
impression that the plaintiff's product is the defendants.

      The statute requires that the mark be either (1) used in commerce or (2) placed
on goods intended to be used in commerce . 15 U.S .C . § 11 14(l) . Because the
"commerce" requirement is jurisdictional, that element need not go to the jury.

        Where the defendants infringing action consists of using a mark similar, but not
identical to the plaintiffs, particular care should be exercised in the third numbered
element of this instruction . Gracie v. Gracie, 217 F .3d 1060, 1066-1067 (9th Cir .2000)
(when instructing jury to consider if defendant "used" plaintiffs mark, trial court should
make it clear jury can consider whether the marks were similar). The second bracketed
phrase in the third numbered element of this instruction may be a sufficient
specification in most cases involving defendants use of mark similar, rather than
identical, to the plaintiffs .
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        Consult the following instructions in order to explain the elements identified by
this instruction :

Instruction 18 .11 (Elements-Ownership-Generally)

Instruction 18 .15 (Likelihood of Confusion-Factors-Sleekcra(t Test)

Instruction 18 .6 (Elements-Presumed Validity & Ownership-Registered Marks).

        Although 15 U.S.C . § 1114(1) provides protection only to registered marks and
15 U .S.C . § 1125(a)(1) protects against infringement of unregistered and registered
marks, trade dress and false advertising, the Ninth Circuit has explained that "[d]espite
these differences, the analysis [for infringement] under the two provisions is sometimes
identical ." Brookfield Communications, Inc., v. West Coast Entertainment Corp., 174
F .3d 1036, 1046-1047 n . 8 (9th Cir.1999) (trademark infringement elements under
either § 1114 or § 1125(a) involve a plaintiff showing 1) that defendant used a mark
confusingly similar to 2) a valid, protectable trademark 3) that was owned by the
plaintiff.) .

Further Comment : Additional Ninth Circuit Cases on Similarity of § 1114 and 1125.
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             16.19 DEFENSES-ABANDONMENT-AFFIRMATIVE DEFENSE-
                  DEFENDANT'S BURDEN OF PROOF (15 U .S.C . § 1127)

       The [owner] [assignee] [licensee] of a trademark ] cannot exclude others from using the
trademark ] if it has been abandoned .

       The defendant contends that the trademark ] has become unenforceable because the
[owner] [assignee] [licensee] abandoned it. The defendant has the burden of proving
abandonment by [clear and convincing] [a preponderance of the] evidence .

       The [owner] [assignee] [licensee] of a trademark ] abandons the right to exclusive use of
the trademark ] when the [owner] [assignee] [licensee] :

               discontinues its use in the ordinary course of trade, intending not to resume
               using it, or

       2.       [acts] [or] [fails to act] so that the trademark's [primary significance] [primary
               meaning] [principal significance] [principal meaning] to prospective purchasers
               has become the [product] [service] itself and not the [[producer of the product]
               [provider of the service]] .

                                            Comment

        No Ninth Circuit case clearly describes the standard of proof required to prove
abandonment. For instance, Prudential Ins . Co. v. Gibraltar Financial Corp., 694 F .2d 1150,
1156 (9th Cir.1982), cerf . denied, 463 U.S . 1208 (1983), characterized abandonment as "in the
nature of a forfeiture" which "must be strictly proved ." Such forfeiture required demonstration by
"a high burden of proof." Transgo, Inc. v. Ajac Transmission Parts Corp., 768 F2d 1001, 1017
(9th Cir.1985) (citing Edwin K. Williams & Co. v. Edwin K. Williams & Co.-East, 542 F .2d 1053,
1059 (9th Cir.1976), cent . denied, 433 U .S. 908 (1977)).

        Scholars note that except for the Federal Circuit, "all" courts follow a clear and
convincing standard of proof of abandonment. See 2 J . Thomas McCarthy, Trademarks and
Unfair Competition, § 17.18 (4th ed. 2001). See also Fletcher, Anthony L. and David J . Kera,
Annual Review, 85 Trademark Rep . 607, 724-25 (1995) .

        Abandonment is defined in 15 U .S.C .§ 1127, paragraph 16. See also 2 J . Thomas
McCarthy, Trademarks and Unfair Competition, § 17.18 (4th ed . 2001) . Evidence of non-use of
the mark for three consecutive years is prima facie evidence of abandonment . See 15 U .S.C . §
1127 ; Abdul-Jabbar v. General Motors Corp ., 85 F.3d 407, 411-12 (9th Cir.1996) (prima facie
showing of abandonment creates only a rebuttable presumption of abandonment).

       The defendant has the burden of proving abandonment. Where the defendant proves
the necessary  consecutive years of non-use, the burden shifts to the plaintiff to go forward with
evidence to prove that circumstances do not justify the inference of intent not to resume use .
Exxon Corp . v. Humble Exploration Co., 695 F2d 96, 99 (5th Cir.1983) .

      The abandonment defense has never been applied to a person's name or identity . See
Abdul-Jabbar, 85 F.3d at 411-12 (declining to stretch the federal law of trademark to
encompass such a defense) . "A proper name .. . cannot be deemed 'abandoned' throughout its
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possessor's life despite his failure to use it or to continue to use it, commercially ." Id.
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  18 .24 TRADEMARK DAMAGES-DEFENDANT'S PROFITS (15 U.S .C . § 1117(A))

      In addition to actual damages, the plaintiff is entitled to any profits earned by the
defendant that are attributable to the infringement, which the plaintiff proves by a
preponderance of the evidence . You may not, however, include in any award of profits
any amount that you took into account in determining actual damages .

       Profit is determined by deducting all expenses from gross revenue.

       Gross revenue is all of defendants receipts from using the trademark ] in the
sale of a [product]. The plaintiff has the burden of proving a defendants gross revenue
by a preponderance of the evidence.

       Expenses are all [operating] [overhead] and production costs incurred in
producing the gross revenue . The defendant has the burden of proving the expenses
[and the portion of the profit attributable to factors other than use of the infringed
trademark ] by a preponderance of the evidence.

        Unless you find that a portion of the profit from the sale of the [goods] using the
[trademark] [mark] is attributable to factors other than use of the trademark ], you shall
find that the total profit is attributable to the infringement .

                                         Comment

        "Recovery of both plaintiff's lost profits and disgorgement of defendants profits is
generally considered a double recovery under the Lanham Act." Nintendo of America,
Inc. v. Dragon Pacific InYI, 40 F.3d 1007, 1010 (9th Cir .1994) .

        Regarding establishing and calculating defendants profits, see Lindy Pen Co. v.
Bic Pen Corp ., 982 F.2d 1400, 1405-08 (9th Cir.1993) ("The intent of the infringer is
relevant evidence on the issue of awarding profits and damages and the amount;"
determining that in order to establish damages under the lost profits method, plaintiff
must make prima facie showing of reasonably forecast profits .); Louis Vuitton S.A. v.
Spencer Handbags Corp., 765 F.2d 966, 973 (2d Cir.1985) (defendants own
statements as to profits provided sufficient basis for calculation of defendants profits
under 15 U.S .C . § 1117(a)) . See also American Honda Motor Co. v. Two Wheel Corp.,
918 F .2d 1060, 1063 (2d Cir.1990) (plaintiff entitled to amount of gross sales unless
defendant adequately proves amount of costs to be deducted from it); Polo Fashions,
Inc. v. Dick Bruhn, Inc ., 793 F .2d 1132, 1135 (9th Cir.1986) (court awarded receipts
from sales pursuant to 15 U .S .C . § 1117(a)) ; 5 J . Thomas McCarthy, Trademarks and
Unfair Competition § 30.65 (4th ed. 2001) (discussing computation of defendants
profits from infringing sales) .

       Plaintiff has the burden of proof as to damages . See Rolex Watch, U.S.A., Inc.,
v. Michel Co., 179 F.3d 704, 712 (9th Cir.1999) (plaintiff carries burden to show with
"reasonable certainty" the defendants gross sales from the infringing activity); Lindy
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Pen Co., 982 F .2d at 1405-08 ; Nintendo of America, 40 F .3d at 1012 (where infringing
and noninfringing elements of a work cannot be readily separated, all of a defendants
profits should be awarded to the plaintiff).

        "[T]he trial court has wide discretion to increase or reduce the amount of profits
recoverable by the plaintiff '[i]f the court shall find that the amount of recovery based on
profits is either inadequate or excessive . . . according to the circumstances of the case.'
" Texas Pig Stands, Inc. v. Hard Rock Cafe InYI, 951 F.2d 684, 694 (5th Cir.1992))
(quoting 15 U .S .C . § 1117(a)) .

         An award based on defendants profits may require proof that the defendant
acted willfully or in bad faith . See, e.g., Maier Brewing Co. v. Fleischmann Distilling
Corp., 390 F.2d 117, 123 (9th Cir.), cert. denied, 391 U .S . 966 (1968). But see Adray v.
Adry-Mart, Inc., 76 F.3d 984, 988 (9th Cir.1995) ("An instruction that willful infringement
is a prerequisite to an award of defendants profits may be an error in some
circumstances ([such] as when plaintiff seeks the defendants profits as a measure of
[plaintiff's] own damage [citation omitted])") .

       For examples of costs and deductions that the defendant may raise, see 1 a
Jerome Gilson, Trademark Protection and Practice § 8 .08(3) . The defendant may also
raise a defense that the purchasers bought goods bearing the infringing mark for
reasons other than the appeal of the mark, and that the infringement had no cash value
in sales made by the defendant. Id. If such a defense is raised, an appropriate
instruction should be drafted.

       An award of speculative damages is inappropriate . See McClaran v. Plastic
Industries, Inc., 97 F .3d 347, 361-62 (9th Cir.1996) (jury finding of lost profits based
upon theory that designer would have entered market but for the infringement was too
speculative where no one had made a profit on the designed products) .
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                                   104.01                                GENERAL CML

                                     leas been proved by a preponderance of the evidence, you may
                                     consider the testimony of all of the witnesses, regardless of Who
                                     may hate called them, and all of the exhibits received in
                                     evidence, regardless of who nay have produced them .
                                         If the proof fails to establish any essential part of a claim or
                                     contention by a preponderance of the evidence you should find
                                     against the party making that claim or contention .

                                 Eleventh Circuit Pattern Jury Instructions : Civil Cases. Basic Instruc-
                                 tion No . 6.2 t2000) .


                                    104 .02   "Clear and Convincing Evidence"-Defined
                                      "Clear and convincing evidence" is evidence that pro-
                                 duces in your mind a firm belief or conviction as to the
"0 -                             matter at issue . Clear and convincing evidence involves a
   !                             greater degree of persuasion than is necessary to meet the
                                 preponderance of the evidence standard. This standard does
                                 not require proof to an absolute certainty, since proof to an
Yi.'..I~,. .
                                 absolute certainty is seldom possible in any case .


                                                                    NOTES

                                 In General

                                       The "clear and convincing" standard of proof is used to protect
                                 particularly important interests in a limited number of civil cases.
                                 Graham, Handbook of Federal Evidence § 3 .05 n .5 . IL has been applied
                                 with respect to claims including fraud, mutual mistake, and the contents
                                 of a lost deed . See, e.g ., Cooper v . Mitchell Bros .' Santa Ana Theater, 454
               I                 U .S . 90, 92-94, 102 S.Ct. 172, 173-74, 70 L .Ed2d 262 (1981) ; Addington
                                 v . Texas, 441 U .S . 418, 431, 99 S.Ct . 1804, 1812, 60 L .Ed .2d 323 (1979) ;
                                 Rosenbloom v. Metromedia, 403 U.S . 29, 52, 91 S.Ct. 1811, 1824, 29
                                 L.Ed2d 296 t 197ll : In re Winship. 397 U.S . 358, 370, 90 S.Ct.,1068,
                                 1075, 25 L.H d .2d 368 (1970) .
             i
                                 Fifth Circuit

                                         Clear and convincing evidence is evidence that produces in
                                     your mind a firm belief or conviction as to the matter at issue.
                                     This involves a greater degree of persuasion than is necessary to
                                     meet the preponderance of the evidence standard ; however,
         i                           proof to an absolute certainty is not required .

                                 Pattern Jury Instructions of the District Judges Association or the Fifth
                                 Circuit, Civil Cases, Instruction No . 2.14 (1999) .

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              CONTRACT ACTIONS                                                             § 126 .01
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                     dure : Civil 2v S 1613
                   Summary Judgement in Contract Action=. Wright, Miller & Kane, Federal Prac-
                     tice and Procedure: Civil 2d d 2730 .1



                                            A.    GENERALLY
              § 126.01     Elements of Contract Formation
                   A contract is a promise or set of promises for the breach
              of which the law gives a remedy or the performance of which
              the law in some way recognizes a duty . To be binding, a
              contract must include a manifestation of mutual assent to
              the terms and conditions of the contract . This is referred to
              as the "meeting of the minds." There must be a meeting of
              the minds; there can be no contract if only one party intends
              to be bound.
                  Because intent, including intent to be bound, is seldom
.; 3          susceptible to direct proof because it relates to a person's
              state of mind, the law presumes that a person intends the
              natural and probable consequences of that person's acts. The
              meeting of the minds or the mutual manifestation of intent
              may be made wholly or partly by written or spoken words or
              by other acts or conduct, and an internal or unexpressed
              intention not to be bound is ineffective.
                  In determining whether or not there was any contract,
              you must decide whether or not there was a meeting of the
              minds between the parties with respect to the terms of the
              alleged oral agreement and a present intention to be bound .

                                                    NOTES
              In General
                  This instruction is adapted from Woodwv-d & Dickerson, Inc . v . Yoo
              Hoo Beverage Co., 502 F.Supp. 395 (E.D.Pa .1980), firmed summarily,
              661 F2d 916 (3d Cir .1981).
                  A contract is a promise or set of promises for the breach of which
              the law gives a remedy or the performance of which the law in some way

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UAL e,            ~                                                                                    ~ ~JOi
    aaaq                                                                                          SIICIl d8m8ge6
                  "~S1g1-damages :t0 ;8II amount fBe2 timC8"
                          riling to the circumstances of the case :"'"° Unless the court finds
 ship t                  nua1in8        stances, tj~ cosu't' moat enter judgment for three
                           such .proAfis-or damages, whic~evei in .~'?~ater, in the case of _agy
_defe                    lion uf~eetion 1114(1)Ia~ Shat consists of intentiouallY using A mark
 oof, it '            ~ designation, . knowing such mark or designation is wunterfeit, in
                      I¢TI~$
                                 with the
                                        id C sale, ;offering
                                                             for sale or distribution of -goods or
                  I~ .
is`

 °Bn              ~~~~                                A. GENERALLY
                         159.01 Nature of the; 4n              r     n.


                           This is'. an action foT .demerk infringement. Subject to
                            "_ fiefonses, aJowrier~. {assignee l Ciicenseel
                                 z" the right - to v!esclude others in an action for

                                                                   #iie right to gaclude- others from
                                                              ;first to use it in= the
  " , ~                   `~      iace.           ltta in a trademark are obtained only
                                   com~e~al ,use ,ci~'~the '                        emark. 'The owner of a
                                ~~                   rift to,-~xelude others unless the trade-
                          --,
                           ' ,t]~s~enaband8~~d
                                                       .c
                                sp       , acao$ P3sin' . , ,,'    seeks damages from
                                 ipnt          for ~sademark irifiingement :
                           `eudanx                              denies tnftar~ging the trademark]
                                 Lcoieteiids t1+.e tr'aderiaaTk- is invatid 'because !describe

                                 <~ 


                                  [Ayd%am ;4et recognizes a cause of action for infringement of a
                                   regfitored mark where Mme of the mark is likely W cause
                                                                                        1i14(1) . The Lanham
                                                            [9t           ,, _ 4 e4# of an unregistered mark

                                  y}f'ut~M, Ca,~918~~d ~ ''dvf~C3 Bee 8eoe+'e119~ -Pueitive or FseruPtaTY
                                   -~qgA). M.-Sands' Tb~1or'Demsgw'..as :BeeoverableforTrademark In-
                                      <Qete.'¢~;$#$=WX~9, <fring~eat-or Untsv .-Competition, 47
                                  pv~ 1`J39{e;Js *L-            A.LH2d 1117 .
                                              tpuhlic.iater-84,
                                                                    .-15iT.$.CA$1117(a).
                                                                  060
                                  ~-}o' ~e67ae'~hat ~IL9 party               816.    15US .CA 4 1117(6) .
                                  mY01Y1R~~ChPl-- \f-F7'1/IOIOR ~(j~. . .              . .




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Case 1:01-cv-00313-TWT Document 233 Filed 02/02/04 Page 265 of 363


         159.01                INSTRUCTIONS FOR FEDERAL CIVIL CA8

       where the defendant's use has an effect on commerce. 15 U.S.C~
       § 1125.
           This instruction is written with trademark infringement in mind,'
       However, it can readily be modified for service marks, collective marks,
       or certification marks.
           The Lanhem Act protects both actual and intended use of a trade,
       mark. 15 U.S.CA § 1051(b) . If intended use of a trademark is at issue,
       these instructions must be adapted to fit the case.

       Ninth Circuit

                         PRELIMINARY INSTRUCTION-
                                TRADEMARK
                The plaintiff,           seeks damages against the defen-
           dant,          , for trademark] [mark] infringement. The defen-
           dant [denies infringing the [trademark] [mark]] (and] [contends
           the [trademark] [mark] is invalid] . To help you understand the
           evidence that will be presented in this case, I will explain some
           of the legal terms you will hear during this trial.

                    DEFINITION OF A [TRADEMARK] MARK]
               A [trademark] [mark] is a word, a name, a symbol, a device,
           or e combination of them that indicates the source of goods or
           services. The [owner] [assignee] [licensee] of a [trademark]
           (mark] Las the right to exclude others from using that [trade-
           mark] [mark] .

                  [HOW A [TRADEMARK] [MARK] IS OBTAINED]
               A person acquires the right to exclude others from using a
           (trademark] [mark] by being the first to use it in the market-
           place . Rights in a [trademark] [mark] are obtained only through
           commercial use of the mark. The owner of a [trademark] [mark]
           has the right to exclude others unless the [trademark] [mark]
           has been abandoned .

                            [TRADEMARK INTERESTS]
                [The owner of a [trademark] [mark] may transfer, give or
           cell to another person the owner's interest in the [trademark]
           [mark] . This type of [agreement] [gift] is called en assignment,
           and the person who receives the owner's interest is called an
           assignee. An assignee has the right to exclude others firm using
           the [trademark] [mark] . To be enforceable, the assignment must
           be in writing and signed. It must also include the goodwill of the
           business connected with the mark.]

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                        Case 1:01-cv-00313-TWT Document 233 Filed 02/02/04 Page 266 of 363

  AL CIVIL CASES                    TRADEMARKS                                                         159.01
  :rce. 15 U.S.C .A.                         (The owner of a [trademark] [mark] may also enter into an
                                        agreement that permits another person to use the (trademark]
                                        [mark] . This type of agreement is called a license, and the
  gement in mind .
                                        person permitted to use the [trademark] [mark] is called a
   collective marks,
                                        licensee,]

  d use of a trade                           A trademark [owner] LassigneeJ [licensee] may enforce the
                                        right to exclude others in an action for Linfringement] [or]
 .J-Mark is at issue,
                                        [insert applicable form of unfair competition from 15 U.S.C.A.
                         ~m             § 1125(a)] .

                                                  [[TRADEMARK] (MARK] REGISTRATION]
                                             [Once the owner of a mark has obtained the right to
                                        exclude others from using the [trademark] [mark], the owner
 ist the defen-                         may obtain a certificate of registration issued by the United
 qt. The defen-                         States Patent and Trademark Office . Thereafter, when the
  rid) [contends                        owner brings an action for infringement, the owner may rely
Lnderetand the                          solely on the registration certificate to prove that the owner has
I explain some                          the right to exclude others from using the [trademark] [mark]
                                        in connection with the type of goods or services spaded in the
                                        certificate .]

                                                  THE PLAINTIFF'S BURDEN OF PROOF
                                             In this case, the plaintiff,        , contends that the defen-
                                        dant,          , has infringed plaintiffs [trademark] [mark] . The
                                        plaintiff bee the burden of proving by a preponderance of the
                                        evidence that plaintiff is the owner of a valid [trademark]
                                        [mark] and that the defendant infringed that (trademark)
                                        [mark] . Preponderance of the evidence means that you must be
                                        persuaded by the evidence that it is more probably true than
                                        not true that the defendant infringed the plaintiffs [trademark]
                                        (mark) .

                                                    DEFENDANT'S BURDEN OF PROOF)
                                            [The defendant contends that (the registered [trademark]
                                        [mark] is invalid] [,1 [the [trademark) [mark] has been aban-
                                        doned] [or] (insert other affirmative defense) . The defendant
                                        has the burden of proving by a preponderance of the evidence
                                        that (the registered [trademark] [mark] is invalid] [,] [the
                                        [trademark] [mark] has been abandoned] [or] [insert other
                                        affirmative defense].)
                                             [Preponderance of the evidence means that you must be
                                        persuaded by the evidence that it is more probably true than
                                        not true that the (registered [trademark) [mark] is invalid] [or]
                                        [insert other affirmative defense].]

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                  169.01                INSTRUCTIONS FOR FEDERAL CfVEL

                                                Comment
                         See generally 15 U.S.C. § 1051 et eeq .                     s
                         This instruction is tailored to fit a classic trademark
                     fringement case . If the case involves trade dress, trade name,
                     other unfair competition claims, this instruction will requite
                     modification .
                          The statute now protects both actual and intended use of
                     trademark . 15 U.S.C. $ 1051(b) . In a case involving mersb'
                     intended use of a trademark, these instructions must be tailored
                     to fit the case .
                          Throughout these instructions, wherever the term "mark"
                     is used, the more specific terms "trademark," "service mark,"
                     or "collective mark" may be substituted as appropriate.
                          A trademark infringement case can be brought under three
                     different causes of action : (1) statutory trademark infringement,
                     (2) common law trademark infringement, and (3) unfair compe-
                     tition .
                 Manual of Model Civil Jury Instructions for the District Courts of
                 Ninth Circuit, Instruction No. 15.0 (1997) .

                 § 159.02 Obtaining a Trademark
                     A person acquires the right to exclude others from u
                 a trademark by being the first to use the trademark in
                 marketplace . Rights in a trademark are obtained .
                 through commercial use of the trademark. [The owner
                 trademark has the right to exclude others unless the to
                 mark has been abandoned.]
                                                  NOTES

                 In General
                      Trademark rights in the United States are grounded in public use
                 not registration. See 15 U.S.C.A. § 1051(a)(1) (the owner of a tradema*
                 aced in commerce may request registration of its trademark) . See aLp
                 Hanover Star Milling Co. v. Metcalf, 240 U.S. 403, 412-13, 36 S.Ct . 357,
                 360, 60 L.Ed. 713 (1916) (exclusive right to trademark grows out of use,
                 not mere adoption) . Accord Raxton Corp. v. Anania Associates, Inc ., 896
                 F.2d 924, 926 (1st Cir.1980) . Cf: New England Duplicating Co. v,
                 Mendee, 190 F.2d 415, 418 (1st Cir .1951) (actual sales ere not required,
                 but public use is) ; Brookfield Communications, Inc . v. West Comb
                 Entertainment Corp., 174 F.3d 1036, 1052 (9th Cir .1999) (same); New
                 West Corp. v. NYM Co. of California, Inc ., 595 F.2d 1194, 1200 (9t4
                 Cir .1979) (same) . Federal intent-to-use applications require a statement

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)ERAI, CIVIL CASEN                                                                                     § 159 .41
District Courts of the                   § 159.41      Trademark
                                             A trademark is a word, a name, a symbol, a device, or a
                                        combination of them indicating the source of goods or ser-
                                        vices . The [owner] [assignee] [licensee] of a trademark has
btain a certificate                     the right to exclude others from using that trademark sub-
atent end Trade-                        ject to certain defenses .
0 prove the right
nark) .                                                                  NOTES
7ietr'ict Courts of the
                                        In General
                                             See 15 U.S .CA.-§ 1127.
"erved
                                        Ninth Circuit

                                                       PRELIMINARY INSTRUCTION-TRADEMARK



pence to cover all                                     DEFINITION OF A [TRADEMARK] [MARK)
7,    service marks,                              A [trademark] [mark] is a word, a name, a symbol, a device,
t is a word, name,                           or a combination of them that indicates the source of goods or
 fused to identify                           services . The [owner] [assignee] [licensee] of a [trademark]
     indicate their                          [mark] has the right to exclude others from using that [trade-
                                             mark] [mark] .


                                         Manual of Model Civil Jury Instructions for the District Courts of the
                                         Ninth Circuit, Instruction No. 15.0 (1997) .

                                                               TRADEMARK-DEFINED
                                                                   (15 U.S.C. § 1127)
   .' any combine-                                A [trademark] [mark] is any [word], [name], [symbol],
. .ode or services                           [device)[, or any combination thereof] used by a person to
 -r in the sale of                           identify and distinguish such person's goods from those of
 '-in the sale of                            others, and to indicate the source of the goods[, even if that
     ^k used by o                            source is generally unknown] .
                                                  A person who uses the trademark of another may be liable
                                             for damages .
     a certification                              [        is a person as that term is used in these instruc-
                                             tions.]
     rict Courts of the                  Manual of Model Civil Jury Instructions for the District Courts of the
                                         Ninth Circuit, Instruction No. 15.3.2 (1997) .

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                                                                   § 169.48
              In a case brought under the Lanham Act, a signed writing
         is necessary for an assignment to be valid . 15 U.S.C. § 1060. A
         signed writing is not required to prove an assignment in a
         common law trademark infringement claim. McCarthy, supra,
         § 18:1D.
        Dual of Model Civil Jury Instructions for the District Courts of the
        ;h Circuit, Instruction Na. 15.1.3 (1997) .

       159.48     License
          The owner of a trademark may enter into an agreement
     that permits another person to use the trademark. This type
     of agreement is called a license, and the person permitted to
     use the trademark is called a licensee .
                                     NOTES

     In General
         Trademark licensing is permitted so long as licensor maintains
     adequate control over nature end quality of goods and services under
     mark by licensee. Rey v. LatFerty, 990 F.2d 1379, 1393 (1st CirJ, cert.
     denied, 510 U.S. 828, 114 S.Ct. 94, 126 L.Ed2d 61 (1993) ; Kentucky
     Fried Chicken Corp. v. Diversified Packaging Corp., 549 F.2d 368, 387
     (5th Cir.1977) ; TMT North America, Inc, v. Magic Touch GmbH, 124
     F.3d 876, 885 (7th Cir .1997). A trademark license does not have to be in
     writing. McCarthy, McCarthy on Trademarks and Unfair Competition
     4th ed. 4 18:43 .

     Ninth Circuit

                  PRELIMINARY INSTRUCTIONS-TRADEMARK


                            [TRADEMARK INTERESTS]


              (The owner of a [trademark] [mark] may also enter into an
         agreement that permits another person to use the [trademark]
         (mark) . This type of agreement is called a license, and the
         person permitted to use the [trademark] [mark] is called a
         licensee .]


     Manual of Model Civil Jury Instructions for the District Courts of the
     Ninth Circuit, Instruction No. 15.0 (1997) .

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              § 159 .48                INSTRUCTIONS FOR FEDERAL CIVIL CABIN

                             TRADEMARK INTERESTS-LICENSEE
                     The owner of a [trademark] [mark] may enter into an
                 agreement that permits another person to use the [trademark]
                 [mark] . This type of agreement is called a license, and the
                 person permitted to use the [trademark] [mark] is called a
                 licensee .
                      A license agreement may include the right to exclude others
                 from using the [trademark] [mark] . A licensee may enforce this
                 right to exclude others in an action for [infringement] [or]
                 [insert applicable form of unfair competition from 15 U.S.C.
                 § 1125(a)] .
                      (Plaintiff is a licensee .]

                                                    Comment
                     Although assignments must be written under 15 U.S.C.
                 § 1060, a license can be oral.
                       The owner of a trademark may include the right to sue for
                  trademark infringement in a license of trademark rights. The
                  licensee's right to sue originates from the license and is gov-
                  erned by the terms of the licensing agreement . See DEP Corp. v.
                  Interstate Cigar Co., 622 F.2d 621 (2d Cir.1980) (Because the
                  plaintiff was not the owner of the trademark, it did not have
                  standing to sue under the Lanham Act. Furthermore, any
                  interests the plaintiff bad in the matter would be governed by
                  the terms of the licensing agreement .). See also Quabaug Rub-
                  ber Co. v. Febiano Shoe Co., 567 F .2d 154 (1st Cir .1977) (the
                  license granted the licensee "the right to enforce the licensed
                  trademark rights against infringers in the United States") .
              Manual of Model Civil Jury Instructions for the District Courts of the
              Ninth Circuit, Instruction No. 15.1 .4 (1997) .

              § 159.49 Preponderance of the Evidence
                   [Defendant           has the burden of establishing the
              essential elements of certain affirmative defenses . I will ex-
              plain this later.]
                   "Establish by a preponderance of the evidence" means
              to prove that something is more likely so than not so. In
              other words, a preponderance of the evidence means such
              evidence as, when considered and compared with the evi-
              dence opposed to it, has more convincing force, and produces
              in your minds belief that what is sought to be proved is more
              likely true than not true . This standard does not require
                                                      856
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             § 159.48                 INSTRUCTIONS FOR FEDERAL. CIVIL CASEN

                            TRADEMARK INTERESTS-LICENSEE
                     The owner of a [trademark] [mark] may enter into an
                 agreement that permits another person to use the [trademark]
                 [mark] . This type of agreement is called a license, and the
                 person permitted to use the [trademark] [mark] is called a
                 licensee.
                     A license agreement may include the right to exclude others
                 from using the [trademark] [mark] . A licensee may enforce this
                 right to exclude others in nn action for (infringement] [orl
                 [insert applicable forth of unfair competition from 15 U.S.C.
                 § 1125(a)] .
                     (Plaintiff is a licensee.]

                                                  Comment
                     Although assignments must be written under 15 U.S.C .
                 § 1060, a license can be oral .
                      The owner of a trademark may include the right to sue for
                 trademark infringement in a license of trademark rights. The
                 licensee's right to sue originates from the license and is gov-
                 erned by the terms of the licensing agreement . See DEP Corp . v.
                 Interstate Cigar Co ., 622 F .2d 621 (2d Cir .1980) (Because the
                 plaintiff was not the owner of the trademark, it did not have
                 standing to sue under the Lanham Act . Furthermore, any
                 interests the plaintiff had in the matter would be governed by
                 the terms of the licensing agreement .). See also Quabaug Rub-
                 ber Co. v. Fabiano Shoe Co., 567 F2d 154 (1st Cir.1977) (the
                 license granted the licensee "the right to enforce the licensed
                 trademark rights against infringers in the United States").
             Manual of Model Civil Jury Instructions for the District Courts of t.lw
             Ninth Circuit, Instruction No. 15 .1 .4 (1997) .

             § 159.49 Preponderance of the Evidence
                  [Defendant           has the burden of establishing the
             essential elements of certain affirmative defenses . I will ex-
             plain this later.]
                  "Establish by a preponderance of the evidence" means
             to prove that something is more likely so than not so. In
             other words, a preponderance of the evidence means such
             evidence as, when considered and compared with the evi-
             dence opposed to it, has more convincing force, and produces
             in your minds belief that what is sought to be proved is more
             likely true than not true . This standard does not require
                                                    856
                      Case 1:01-cv-00313-TWT Document 233 Filed 02/02/04 Page 275 of 363


tAL CIVII. CASi .                TRADEMARKS                                                        § 159.49
.EE                              proof to an absolute certainty, since proof to an absolute
enter into a . .                 certainty is seldom possible in any case .
ke [trademark I
ense, and th ~~                      In determining whether any fact in issue has been
k1 is caged ;,                   proved by a preponderance of the evidence you may, unless
                                 otherwise instructed, consider the testimony of all witnesses,
exclude others                   regardless of who may have called them, and all exhibits
3y enforce the.,                 received in evidence, regardless of who may have produced
.ngement] [or)                   them.
nom 15 U.S.C .
                                      [Plaintiff        must prove by a preponderance of the
                                 evidence that defendant          infringed plaintiffs patent.
                                 If plaintiff`        should fail to establish any essential
                                 element of the plaintiff's claim by a preponderance of the
.der 15 U.S.C .                  evidence, you should find for defendant           as to that
                                 claim.]
fight to sue fog                     [Defendant            must prove by a preponderance of the
rk rights. The                   evidence that [plaintiff's trademark is invalid] [other affir-
se and is gov-
                                 mauve defense]. ]
z DEP Corp . v.
   (Because th~~                                                  NOTES
t did not have
 .hermore, any                   In General
)e governed by
                                       To demonstrate infringement, the plaintiff must show by a pcepon-
Quabaug Rub-
                                 derance of the evidence that there is a likelihood that an appreciable
 Cir.1977) (Thai
                                 number of ordinary prudent purchasers will be misled, or simply con-
~e the licensed
                                 fused, as to the source of the goods in question. 15 U.S.C.A. §§ 1114(1),
3ited States") .
                                 1125(a) . See American Tel. & Tel . Co. v. Winback & Conserve Program,
krict Courts of ii~              Inc ., 42 F.3d 1421, 1428 (3d Cir.1994), cent. denied, 514 U.S. 1103, 115
                                 S.Ct . 1838, 131 L.Ed2d 757 (1995) ; Schwinn Bicycle Co. v. Ross Bicycles,
                                 Inc ., 870 F2d 1176, 1184 (7th Cir.1989) .
                                       See also Chapter 104.
establishing i~~~
                                 Ninth Circuit
'nSeS. I will . ,
-                                             PRELIMINARY INSTRUCTIONS-TRADEMARK
vidence" me; . . .                       .. .
',ban not so- It,
                                                 THE PLAINTIFF'S BURDEN OF PROOF
 .ce means sti( It
d with the c%,                            In this case, the plaintiff,         , contends that the defen-
                                     dant,          , has infringed plaintiff's [trademark] [mark] . The
 e, and prodw'~
                                     plaintiff has the burden of proving by a preponderance of the
  proved is m, - i                   evidence that plaintiff is the owner of a valid [trademark]
 )e5 not requ i i                    [mark] and that the defendant infringed that [trademark]

                                                                     857
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             159.49               INSTRUCTIONS FOR FEDERAL CIVII. CA86$

               [mark] . Preponderance of the evidence means that you must be
               persuaded by the evidence that it is more probably true than
               not true that the defendant infringed the plaintiffs [trademark]
               [mark] .


           Manual of Model Civil Jury Instructions for the District Courts of th"
           Ninth Circuit, Instruction No . 15.0 (1997) .

                           Q~ 159.50 through 169.69 are reserved
                                for supplementary material .


                                    E. CAUSATION
           § 159.60     Generally
                Plaintiff         contends that defendant          has
           infringed plaintiffs trademark. Plaintiff          has the
           burden of proving by a preponderance of the evidence that
           plaintiff'       is the owner of a valid trademark and that
           defendant          infringed that trademark.
                                          NOTES

           In General
               See 15 U.S.C-A- 44 1114 and 1125.

           Ninth Circuit

                        PRELIMINARY INSTRUCTIONS-TRADEMARK


                           THE PLAINTIFF'S BURDEN OF PROOF
                    In this case, the plaintiff, . contends that the defen-
               dant,           has infringed plaintiffs [trademark] [mark]. The
               plaintiff has the burden of proving by a preponderance of the
               evidence that plaintiff is the owner of a valid [trademark]
               [mark] and that the defendant infringed that [trademark]
               [mark] . Preponderance of the evidence means that you must be
               persuaded by the evidence that it is more probably true than
               not true that the defendant infringed the plaintiffs [trademark]
               (mark] .


           Manual of Model Civil Jury Instructions for the District Courts of the
           Ninth Circuit, Instruction No. 15.0 (1997) .

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                 159.62                 INSTRUCTIONS FOR FEDERAL CIVIL CASEN

                   Ltd . v. Mrs. America Pageants 856 F2d 1445, 1449 (9th Cir .
                   1988). However, if an incontestable mark is involved, it may be
                   improper to include paragraphs concerning the descriptive
                   range of the spectrum . Incontestability precludes a challenge to
                   the mark based on an assertion that the mark is not inherently
                   distinctive (e .g., is merely descriptive or misdescriptive, primari-
                   ly geographically descriptive or misdescriptive, or primarily
                   merely a surname) and lacks secondary meaning.
               Manual of Model Civil Jury Instructions for the District Courts of tfw
               Ninth Circuit, Instruction No. 15.4.8 (1997) .

               § 159.63    Secondary Meaning
                    in this case, plaintiff        claims that by [dale], it
               had established the term [term] as a trademark for [product I
               [sold] [offered for sale] by it.
                    Defendant             contends that the term [term] is
               merely descriptive of a quality or characteristic of these
               [product] and it is not distinctive . This is the first question
               for you to answer: Is the term [term] merely descriptive of o
               quality or characteristic of the product]?
                    If your answer to that question is "no," then you must
               consider whether the evidence shows that plaintiff
               used (term) as a trademark for these particular products
               before [date] . That is, whether plaintiff       used [term I
               to identify plaintiff         to the consuming public as the
               source of the [product] .
                    However, if you decide that [term] is merely descriptive
               as applied to the (product], then you will consider whether
               the evidence shows that before [date], plaintiff         had
               so used [term] as to develop a secondary meaning such as to
               associate that term with plaintiff         in the minds of ii
               significant number of the consuming public .
                   A word or phrase that is merely descriptive can still
               become a trademark if such a secondary meaning has been
               developed for it by usage in the marketplace . It is not
               necessary for plaintiff        to prove that all or even a
               majority of the consuming public understand this secondary
               meaning . What must be shown by the evidence is that it
               significant number of the consuming public must have asso-
                                                   866
                     Case 1:01-cv-00313-TWT Document 233 Filed 02/02/04 Page 279 of 363


;RV. civu, cn .l               I   TRanEMA .xs                                                    § x5s .ss
  1449 (9th Cit           ciated [term] with plaintiff         before [date] . It is for you
Ted, it may 6tto decide how many constitute a significant number .
 the deacriptiv(
   a challenge t. .            The date on which a valid trademark is established
s not inherently          depends on the strength of the mark in terms of distinctive-
 iptive, primary-         ness . For example if you determine that [term] is descriptive
    or primarily          of the qualities or characteristics of product], you must also
                          determine whether that mark ever acquired a secondary
 strict Courts or i i . . meaning in the mind of the consuming public.
                                       If [term] for product] is merely descriptive and it did
                                   not require a secondary meaning, then defendant
                                   could not have a valid trademark for [term] for (product] . If
sat by [date], , i                 [term] is descriptive but has acquired a secondary meaning,
ark for 1produrt I                 then the date that it became a protected trademark would be
                                   the date that such secondary meaning attached, regardless
 term [term] i~                    of the date of the first use or the date of registration with
Wistic of thes(                    the Patent and Trademark Office .
ie first question                       If [term] is not merely descriptive of qualities or charac-
 descriptive of ;,                 teristics of [product] but is instead a suggestive word for
                                   [product], then it became a protected trademark from the
                                   time [term] was first used in connection with [product] to
  then you muss
plaintiff                          signify the origin of the product even though it was not
 icular products           ~       registered until a later time .
- used [term I                         If [term] is a coined, fanciful or arbitrary word, then it
ig public as the                   became a protected trademark from the time [term] was first
                                   used in connection with [product] to signify the origin of the
                                   product even though it was not registered until a later time .
 rely descriptive
insider whether                                                    NOTES
 iff         had
                                   In General
iniIIg such 89 to
                                        See Two Pesos, Inc. v. Taco Cabana, Inc ., 505 U.S. 763, 773, 112
 the minds Of a                    S.Ct. 2753, 2759-60, 120 L .Ed2d 615 (1992) (suggestive marks are
                                   eligible for protection without any proof of secondary meaning since the
1ptlVe can still                   connection between the mark and the source is presumed ; proposition
                                   that a secondary meaning must be shown even if the trade dress is a
 wing has been
                                   distinctive identifying mark is wrong) .
Lace. It 1S not
                                        To become generic, the principal significance of the word must be its
t all of even g                    indication of the nature or class of an article, rather than an indication
 this secondary                    of its origin . See King-Seeley Thermos Co. v. Aladdin Indus., Inc., 321
iEnCe is that a                    F.2d 577, 580 (2d Cir.1963) (mark is not generic merely because it has
Rust have &530-                    some significance to the public as an indication of the nature or class of

                                                                      867
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          § 159 .63               INSTRUCTIONS FOR FEDERAL. CIVIL

          an article; in order to become generic the principal significance of
          word must be its indication of the nature or class of an article r
          than an indication of its origin) ; Glover v. Ampak, Inc ., 74 F.3d 67,
          (4th Cit .1996) (to become generic primary significance of mark mutt
          its indication of nature or class of the product or service, rather then
          indication of source) ; Helens Curtis Industries v. Church & Dwight Cpl
          560 F2d 1325, 1332 (7th Cir .1977), cart. denied, 434 U .S. 1070, 98 $
          1252, 55 L.Ed2d 772 (1978) (swine) . A mark can become generic thro
          common use by the public . DuPont Cellophane Co. v. Waxed Produ
          Co., 85 F.2d 75, BO (2d Cir .) (A. Hand, J.), cart. denied, 299 U .S. 801,
          S.Ct . 194, 81 L.Ed. 443 (1936) (expiration of patent for process
          manufacturing and drying transparent cellulose film held to have to
          noted right of holder of patent to exclusive use of name "Cellophane"
          far as it had become merely descriptive of product); Bayer Co. v. Un1
          Drug Co., 272 F. 505, 509 (S.D.N.Y.1921) (L. Hand, J.) (if buyers of
          sold by plaintiff under trade name ("aspirin") understand by name
          the kind of good sold, plaintiff is not entitled to prevent use of name
          others whatever efforts it may have made to get buyers to undere
          name as referring to source of origin) . But see Kellogg Co. v. Natio
          Biscuit Co ., 305 U.S. 111, 120, 59 S.Ct . 109, 114, 83 L.Ed. 73 (198
          (users of newly generic marks have an obligation to use every reason" +
          means to prevent confusion as to source o£ products) . See also Otokoy`t
          ma Co. v. Wine of Japan Import, Inc., 175 F.3d 266, 272 (2d Cir .189pt
          (defendant should have been allowed to introduce evidence of meaning
          and usage of "otokoyama" in Japan in support of its claim that mark 1f
          generic and therefore ineligible for protection as trademark) .
                Generally, it is a term's meaning to consumers, not to professional
          in the trade, that is the test of genericness and descriptivenese for
          ordinary consumer goods. See, e.g. Anheuser-Busch, Inc . v. Stcoh Brew
          ery Co., 750 F2d 631, 638 (8th Cir .1984). See Bayer Co. v. United Drug
          Co., 272 F. 505, 509 (S.D.N.Y.1921) (L. Hand, J.) (in holding the term
          "aspirin" generic, Judge L. Hand stated : "The single question, as I view
          it, in all these cases is merely one of fact: What do buyers understand by
          the word for whose use the patties are contending?") . See also Self-
          Realization Fellowship Church v. Ananda Church of Self-Realization, 60
          F.9d 902, 909-10 (9th Cir.1995) (attestation from person in close assceie "
          tion and intimate contact with trademark claimant's business does not
          reflect views of public purchasers) . The question is what does the public
          flung the word connotes-the generic name of the product or a mark
          indicating merely one source of that product.
                The standard most often applied to determine whether a term it
          generic is not whether it has some significance to the public as the name
          of an article, but whether that is its principal significance. Feather.
          combs, Inc . v. Solo Products Corp., 306 F.2d 251, 256 (2d Cir .), cart.
          denied, 371 U.S. 910, 83 S.Ct. 253, 9 L.Ed2d 170 (1962) ; Kellogg Co . v.
          Nat'1 Biscuit Co., 305 U .S. 111, 59 S.Ct . 109, 83 L.Ed. 73 (1938)

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pERAL CIVIL CA9Eh                          TRADEMARKS                                                       ~ 159 .63

dal significance of the             ("primary significance of the term in the minds of the consuming public
se of an article rather       ~     is not the product but the producer) . See DranoFf-Perlstein Associates
'c, Inc., 74 F .3d 57, 59           v. 51tlar, 967 F.2d 852, 859 (3d Cir .1992) (the jurisprudence of generic-
 ance of mark must be               nesa revolves around the primary significance test, which inquires
service, rather than nn       ?twhether the primary significance of a term in the minds of the consum-
Church & Dwight Cu.,                ing public is the product or service or the source) ; Glover v. Ampak, Inc .,
 34 U.S. 1070, 98 S .CI .           74 F.3d 57, 59 (4th Cir .1996) (in order to become generic, principal
atoms generic through        ; r_'° significance of word must be its indication or the nature or class of an
;o. v. Waxed Products           _   article rather than an indication of its origin) ; Helens Curtia Industries
 nied, 289 U.S. 601, 57             v. Church & Dwight Co., 560 F.2d 1325, 1332 (7th Cir .1977) (same) ;
 atent for process fur              Anti-Monopoly, Inc. v. General Mills Fun Group, 684 F.2d 1316, 1319
lm held to have termi~              (9th Cir .1982), cent . denied, 459 U.S. 1227, 103 S.Ct . 1234, 75 L.Ed2d
Rams "Cellophane" so                468 (1983) (word used as a trademark is not generic if the primary
 1; Bayer Co. v. United             significance of the terms in the minds of the consuming public is not the
., J.) (if buyers of drug           product but the producer).
ierstand by name only
 event use of name by                      Ninth Circuit
  buyers to understand
:ellogg Co. v. National                                    SECONDARY MEANING-PLAINTIFF'S
 ~, 83 L .Ed . 73 (19381                                          BURDEN OF PROOF
  . use every reasonable
                                                    A [symbol] [term] that is not inherently distinctive is enti-
cte) . See also Otokoya
266, 272 (2d Cir .1999)                        tled to legal protection only if the [symbol] [term] acquires a
                                               secondary meaning that distinguishes the [goods] [services] it
     evidence of meaning         Ts
 its claim that mark in                        represents from the [goods] [services] of another [manufacturer]
ademark).                                      [merchant] [service provider] .
   i, not to profeseionels                          A [symbol] [term] acquires a secondary meaning when it
   d deecriptiveness for                       has been used in such a way that its primary significance in the
:h, Inc. v. StroL Brew                         minds of the prospective purchasers is not the [product] [ser-
 -?r Co. v. United Drug                        vice] itself, but the identification of the [product] [service] with
    (in holding the term                       a single source .
gle question, as I view                             You may consider the following when you determine wheth-
  buyers understand by                         er [describe symbol or term] has achieved a secondary meaning:
   n~?") . See also Self-
.,f Self-Realization, 69                       1.   whether the people who purchase the [product] [service]
person in close assceia~      > :                   that bears the claimed [trademark] [mark] associate the
    is business does not       =:                   [trademark] [mark] with the [owner] [assignee] [licensee] ;
    what does the public                       2.   to what degree and in what manner the [owner] [assignee]
.ie product or a mark                               [licensee] may have advertised under the claimed [trade-
                                                    mark] [markJ ;
 e whether a term is
                                               3.   whether the [owner] [assignee] [licensee] successfully used
.he public as the name       _                      this [trademark] [mark] to increase the sales of its [product]
significance . Feather.                             [service] ;
   256 (2d CirJ, cent.
X1962) ; Kellogg Co. v.                        4.   the length of time and manner in which the [owner] [assign-
  83 L.Ed. 73 (1938)))                              eel [licensee] used the claimed [trademark] [mark] ;

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              5.   whether the [owner's] [assignee's] [licensee's] use of the
                   claimed [trademark] [mark] was exclusive ;
              6.   whether the defendant intentionally copied the [owner's]
                   [assignee's] [licensee's] [trademark) [mark) ;
              7.   whether the defendant's use of the plaintiffs [trademark]
                   [mark] has led to actual confusion ; and
              8.   any other factors that bear on secondary meaning.
              The plaintiff has the burden of proving secondary meaning. The
              mere fact that the plaintiff is using [describe symbol or term],
              or that the plaintiff began using it before the defendant, does
              not mean that the [trademark] [mark] has obtained secondary
              meaning . There is no particular length of time that a [trade-
              mark] [mark] must be used before it obtains a secondary
              meaning.

                                          Comment
                    See 1 Jerome Gilson, Trademark Protection and Practice
               § 2.09 (1996) (discussing the concept of secondary meaning) ;
               Clamp Mfg. Co. v. Enco Mfg. Co., 870 F.2d 512, 517 (9th Cir . )
               ("Evidence of use and advertising over a substantial period of
               time is enough to establish secondary meaning."), cert. denied,
               493 U.S. 872 (1989) ; Tranago, Inc . v. Ajac Transmission Parts
               Corp., 768 F2d 1001, 1015 (9th Cir .1985) (discussing factors to
               be considered in determining whether a secondary meaning has
               been achieved), cert, denied, 474 U.S. 1059 (1986) .
               Adray v. Adry-Mart, Inc ., 76 F.3d 984, 987 (9th Cir.1995)
               (failure to list actual confusion among the factors the jury
               should consider in determining whether the plaintiff had estab-
               lished secondary meaning is error).
           Manual of Model Civil Jury Instructions for the District Courts of the
           Ninth Circuit, Instruction No. 15.4.9 (1997) .

                         §§ 159 .64 through 169.69 are reserved
                              for supplementary material.


                                    F. DEFENSES
           § 159.70 Generally
                Defendant            contends that plaintiff's trademark
           is invalid because [the trademark has been abandoned] [other
           affirmative defense] .
                Defendant             has the burden of proving by a
           preponderance of the evidence that the trademark is invalid
                                             870
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            XHIBIT y ATTACHMENT


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TnExAL ctvu, caHU
                                        TRADEMARKS                                                     4 159.75
t would be likely to                    business into that market which second user has begun to exploit ; the
                                        confusion involved is not a confusion of goods but a confusion of business
 claims the right q('                   inasmuch as deceived customer buys second user's product in belief that
propensity to extend                    it originates with owner who has expanded his business . W.E. Kauten-
                                    -
                                        berg Co. v. Ekco Products Co., 251 F2d 628, 631 (C.C.PA.1958) . Accord
ict before its use bY
                                        Commerce Nat'1 Ins . Services, Inc . v. Commerce Ins . Agency, Inc., 214
                                        F.3d 432, 438 (3d Cir .2000) ; Brookfield Communications, Inc. v. West
 introduced evidence                -   Coast Entertainment Corp., 174 F.3d 1036, 1051 (9th Cir .1999) ; J. Wies
ct] before the plain.                   & Sons v. W.E. Bassett Co., 462 F.2d 567, 569 (0.C.PA .1972) .
product]. To deter
                                        § 159.75     Abandonment
rven this affirmative
at answer two quea-                         Defendant          claims that plaintiff                         has
                                        abandoned the trademark.
have a valid trade-             ''           The owner of a trademark may be considered to have
                                        abandoned its right to exclusive use of that mark if he
                                        discontinues its use with an intent not to resume it. Wheth-
          first used             `
                                        er or not the use of the mark has been discontinued with the
ui ordinary coneum"
rent Product) would                     intent not to resume is a fact to be determined by you from
ct]?                                    all the circumstances in the case.

u should consider:                          Non-use of the mark for three consecutive years is
                                        presumed to he abandonment.
'n terms of its die-            `
                                                                        NOTES

  [Product] are sold                    In Generai
 :Tads distribution .
                                             Abandonment of a mark results in a loss of rights as against the
iproduCt] are auf'H-                    whole world . 15 U.S.CA. §§ 1064(c), 1115(b). See Imperial Tobacco, Ltd .
-at makes and eelli                     v. Philip Morris, Inc ., 899 F .2d 1575,1580-81 (Fed.Cir.1990) (none use
  td sell the other .                   of trademark was sufficient to find abandonment ; fording of intent to
                            '
                                        abandon not required) . Nonuse for three consecutive years is prima facie
aperience tells you                     evidence of abandonment . 15 U.S.C.A . $ 1127.
  s would or would          .                The typical evidence of abandonment is discontinuance of use,
   of the source of         '           though a party may be deemed to have abandoned a valid trademark by
                                        permitting such excessive adverse use of a mark that it bee lost its
                                        significance as an indication of origin . Sweetheart Plastics, Inc. v .
                                        Detroit Forming, Inc., 743 F.2d 1039, 1048 (4th L5r .1984) . But see
                                        Pebble Beach Co. v. Tour 18 1 Ltd ., 155 F.3d 526, 543 (5th Cir.1998)
                                        (third-party use is only evidence of strength of mark and is not evidence
  uiaee in connection                   of abandonment).
   d such concept has
                                            Once nonuse of the trademark for more than three years has been
   of the second user   -               proven the burden of production shifts to the registrant to prove intent
 ' )mera; and (2) the
                                        to resume use of trademark during period of nonuse or valid reasons for
   Ash t° extend hh#
                                        nonuse . Star-Kist Foods, Inc. v. P.J. Rhodes & Co., 769 F2d 1393, 1396

                        `~                                                 877
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            § 159 .75                INSTRUCTIONS FOR FEDERAL. CIVIL CABER

            (9th Cir.1985) ; E. Remy Martin & Ca. v. Shaw-Ross, Int'1 Imports, Inc .,
            756 F2d 1525, 1532 (11th Cir.1985); Cerveceria Centroamericana, S .A,
            v. Cerveceria India, Inc., 892 F2d 1021, 1023 (Fed .Cir.1989). Accord On-
            Line Careline, Inc . v. America Online, Inc ., 229 F.3d 1080 (Fed .Cir,
            2000); West Florida Seafood, Inc. v. Jet Restaurants, Inc., 31 F.3d 1122,
            1125 (Fed.Cir.1994).

            Ninth Circuit

                     MARK UNENFORCEABILITY-ABANDONMENT-
                       AFFIRMATIVE DEFENSE-DEFENDANT'S
                               BURDEN OF PROOF
                                       (15 U.S.CA . § 1127)
                    The [owner] [assignee] [licensee] of a [trademark] [mark]
                cannot exclude others from using the [trademark] [mark] s it
                has been abandoned.
                    The defendant contends that the [trademark] [mark] has
                become unenforceable because the [owner] [assignee] [licensee]
                abandoned it. The defendant has the burden of proving aban-
                donment by clear and convincing' evidence .
                    The [owner] [assignee] [licensee) of a [trademark] [mark]
                abandons the right to exclusive use of the [trademark] [mark]
                when the (owner] [assignee] [licensee] :
                    1.   discontinues its use in the ordinary course of trade,
                         intending not to resume using it or
                    2.     [acts] [or] [fails to act] so that the trademark's [primary
                           significance] [primary meaning] [principal significance]
                           [principal meaning] to prospective purchasers has be-
                           come the [product] [service] itself and not the [[produc-
                           er of the product] [provider of the service)) .
                      [Add appropriate concluding paragraphs from Instructions
                5 .3, 5.4, or 5.5.]

                                             Comment
                     McCarthy finds that except for the Federal Circuit, "all"
                courts follow a clear and convincing standard of proof of aban-
                donment . 2 J. Thomas McCarthy, Trademarks and Unfair Com-
                petition, § 17.03(3) (3d ed . 1996) ; see also Fletcher, Anthony L.
                and David J. Kera, Annual Review, 85 The Trademark Reporter
                607, 724-25 (1995) .
                    Abandonment is defined by paragraph 16 of 15 U.S.C.
                § 1127. See 2 J. Thomas McCarthy, Trademarks and Unfair
                Competition, § 17.06 (3d ed. 1996).

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)ERAI. CIVII. CASES                      TRADEMARKS                                                                    § 159.76

 .s, Int'1 Imports, Inc .,                        The defendant has the burden of proving abandonment.
;enttoemericana, S.A.                        Where the defendant proves the necessary consecutive years of
Cir.1989). Accord On-                        non-use, the burden shifts to the plaintiff to go forward with
   F.3d 1080 (Fed.Cir.                       evidence to prove that circumstances do not justify the inference
.s, Inc ., 31 F .3d 1122,                    of intent not to resume use. Eon Corp. v. Humble Exploration
                                             Co., 695 F2d 96, 99 (5th Cir .1983) .
                                                 1 . No Ninth Circuit use clearly describes the standard of proof required to
                                            prove abandonment. For inefance, Prudential Ins . Co. v. Gibraltar Financial Corp.,
                                            694 F2d 1150, 1156 (9th Cv .1982), cart . denied, 463 U .S. 1208 (1983), chsracter-
~ONMENT-                                    ized abandonment as "in the nature of a forfeiture" Chat "must be strictly
CANT'S                                      proved." Such forfeiture required demonstration by "a him burden of proof."
                                            'llmsgo, Inc . v . Pjac 7tmemieeion Parts Corp ., 768 F.2d 1001, 1017 (9th Cir .1985)
                                            (ailing Edwin K Williams & Co . v . Edwin K Williams & Co.-East, 542 F2d 1053,
                                            1059 (9th Cir .1976), cart . denied, 433 U.S. 908 (1977)) .

 ademark] [mark]                         Manual of Model Civil Jury Instructions for the District Courts of the
nark] [mark] if it                       Ninth Circuit, Instruction No. 15.5 .6 (1997) .

                                         § 159.76 Generic Name
Lark] [mark] has
;signeel [licensee]                          Defendant           claims that plaintiff  's trade-
of proving aban-                         mark is invalid because it is a generic name.
                                             No one may own trademark rights to a word or term
7ademark] (mark)                         that is a generic name. A word or term is generic if its
~ademark] [mark]                         [primary significance] [primary meaning] principal signifi-
                                         cance] principal meaning] to the prospective purchasers is
 course o£ trade,             y          the product and not the source of the product.
                                              Words or terms that originally are trademarks may,
   3mark'e [primary                      over time, be adopted by the public as the common name for
cipal significance]           s
' +rchasers has be-                      the product and become generic. If a word or term becomes
  ,not the [[produc-                     generic, the owner of the trademark cannot exclude others
                                         from using the word or term or recover damages for the use .
prom Instructions                        Examples of words that have lost trademark protection
                                         because they became generic names of products they identi-
                                         fied include "aspirin," "thermos," and "cellophane."
                                                                                 NOTES
   ,al Circuit, "all"
   of proof of aban-                     in General
'. and Unfair Com-
                                             Marks that constitute a common name for a good or service are
    cher, Anthony L.
                                         referred to as "generic ." 15 U.S.CA. 1052(e) ("No trademark . . . shall be
   :iemark Reporter
                                         refused registration on the principal register on account of ire nature
                                         unless it . . . [c]onsista of a mark which (1) when used on or in connection
 16 of 15 U.S.C.                         with the goods of the applicant is merely descriptive . . . of them, (2) when
 arks and Unfair                         aced or in connection with the goods of the applicant is primarily
                                         geographically descriptive of them . . . . ") . See Park 'N Fly, Inc . v. Dollar

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         EXHIBIT / ATTACHMENT

                           qs
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FEDERAL, CIVII. CASES                       TRADEMARKS                                                      $ 159.92

  the tort standard under                           [the cost of future corrective advertising reasonably re-
ised to the plaintiff by the                    9uired to correct any Public confusion caused by the infringe-
-11Y anticipated or contemn                     mentl
satiated Distributors, Inc.,                         [any other factors that bear on plaintiffs actual damages] .
s failure to prove e precise
i finding that the plaintiff'                        men considering prospective costs (e.g., coat of future
                                                advertising, expense of preventing customers from being de-
                                                ceived), you must not over compensate. Accordingly, your award
's lost profits. 15 U.S.CA.                     of such future costs should not exceed the actual damage to the
 Purina Co., 997 F.?d 949,                      value of the plaintiffs mark at the time of the infringement by
d on the coat of corrective                     the defendant.
Atemin Co., 754 F2d 738,
ran, Inc ., 793 F2d 1034,                                                    Comment
felon Purina Co., 997 F,2d
  may be appropriate if it                          4 J. Thomas McCarthy, Trademarks and Unfair Competi-
)propriated." See Howard                        ion $ 30:27 (3d ed. 1996) (discussing recovery of plaintiff's
 (11th Cir .1990). See also                     actual damages) .
,ap & Emblem Mfg., 597                               la Jerome Gilson, Trademark Protection and Practice
deden Motel Co., 804 F.2d                        § 8.08(2) (1996) (listing examples of recoverable damages) .
Baker's Tire Stores, Inc .,
                                                     Thelen Oil Co. v. Fins Oil & Chemical Co., 962 F.2d 821,
                                                823 (8th Cir .1992) (trademark owner entitled to infringer's
                                                profits, costs of the action, and whatever additional damages
                                                trademark owner can prove resulted from infringer's misuse of
AI. DAMAGES                                     trademark).
                                                     Adray v. Adry-Mart, Inc., 76 F.3d 984, 989 (9th Cir.1995)
                                                (to avoid the risks of overcompensation in the award of proepec-
infringement) [unfair
endant had statutory                            five costs, damage instructions should inform the jury that the
gietered [trademark)                            award o£ prospective costs should not exceed the damage to the
                                                value of the infringed mark).

amages by a prepon-                                  Defendant may argue that plaintiffs loss in sales may be
                                                 caused by other market factors and not as a result of defen-
 te amount of money
  the plaintiff' for any                         dent's infringement. If defendant makes such an argument, an
 ad was [proximately]                            appropriate instruction should be drafted .
  =ent of the plain-                                 See Instructions 7.2, 7.3, and 7.4.
  hould consider the
                                             Manual of Model Civil Jury Instructions for the District Courts of the
                                             Ninth Circuit, Instruction No. 15.6.2 (1997) .
  utation]
  11, including injury                       ~ 159.92   Profits
                                                 In addition to actual damages, plaintiff        is enti-
   3f the defendant's                        fled to any profits earned   by defendant         that   are
                                             attributable to the infringement. However, you may not
                                             include in any award of profits any amount that you includ-
    being deceives)                          ed in determining actual damages .

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               1Jr:J .92              INSTRUCTIONS FOR FEDERAL. CIVIL CASF14

                  Expenses are all [operating] [overhead] and production
             costs incurred in producing the gross revenue . Defendant
                      has the burden of proving the expenses [and the
             portion of the profit attributable to factors other than use of
             the infringed trademark] by a preponderance of the evidence .
                  Unless you find that a portion of the profit from the sale
             of the goods] using the trademark is attributable to factors
             other than use of the trademark, you must find that the
             total profit is attributable to the infringement.
                                               NOTES

             In General
                  Section 1117(a) entitles a markholder to recover the deFendant'd
             profits, subject to the principles of equity . 15 U.S .CA. § 1117(a) . See
             Maltina Corp. v. Cawy Bottling Co., 613 F.2d 582, 584 (5th Cir.1980) . An
             accounting of a defendant's profits in a trademark infringement action is
             not automatic and must be granted in light of equitable considerations .
             Champion Spark Plug Co. v. Sanders, 331 U.S. 125, 131, 67 S.Ct. 1136,
             1139, 91 L .Ed. 1386 (1947) ; Lindy Pen Co. v. Bic Pen Corp ., 982 F.2d
             1400, 1405 (9th Cir .), cent. denied, 510 U.S . 815, 114 S.Ct. 64, 126
             L.Ed2d 34 (1993) ; Bishop v. Equinox Int'1 Corp., 154 F .3d 1220, 1222
             (10th Cir .1998) ; Bandag, Inc. v. A1 Bolser's Tire Stores, Inc ., 750 F.2d
             903, 919 (Fed .Cir .1984).
                   Relevant factors to be considered in determining whether an award
              of profits is appropriate include (1) whether the defendant had the intent
              to confuse or deceive, (2) whether sales have been diverted (3) the
              adequacy of other remedies, (4) unreasonable delay by the plaintiff in
              asserting the plaintiffs rights, (5) public interest in making the miscon-
              duct unprofitable, and (6) whether it is a case of palming off. See Pebble
              Beach Co. v. Tour 18 I Ltd ., 155 F.3d 526, 554 (5th Cir .1998).
                  Two circuits have held that a prevailing plaintiff need not prove
              actual damages in order to be entitled to an accounting. Bishop v.
              Equinox Int'I Corp . 154 F .3d 1220, 1223 (10th Cir.1998) (Fording of
              actual damages remains an important factor in determining whether an
              award o£ profits is appropriate) ; Burger King Corp, v. Weaver, 169 F.3d
              1310, 1321 (11th Cir.1999) (showing of actual damage to obtain an
              award reflecting an infringer's profits is not required) . See also Banff,
              Ltd. v. Colberts, Inc ., 996 F2d 33, 35 (2d Cir .), cart. denied, 510 U.S.
              1010, 114 S.Ct . 599, 126 L.Ed.2d 564 (1993) (willful deceptive conduct
              necessary for award of profits) ; Frisch's Restaurants, Inc . v. Elby's Big
              Boy, 849 F.2d 1012, 1015 (6th Cu.1988) (for a court to order en
              accounting, bad faith must be shown) .

                                                 896
.__~~   .
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            V

revenue . 1mtenW
                                                           TRADEMARK DAMAGES-PROFITS
  expenses [and I                                               (15 U.S.C. § 1117(a))
rs other than wt
once of the evidea                                 In addition to actual damages, the plaintiff is entitled to
                                              any profits earned by the defendant that are attributable to the
 profit from the                              infringement . You may not, however, include in any award of
tributable to fag                             profits any amount that you took into account in determining
must find that                                actual damages.
went.                                             Profit is determined by deducting all expenses from gross
                                              revenue .
                                                   Gross revenue is all of defendant's receipts from using the
                                              (trademark] [mark] in the sale of a [product] [service] . The
                                              plaintiff has the burden of proving a defendant's gross revenue
^ecover the defendaa                          by a preponderance of the evidence .
U.S.CA . § 1117(x) . 8                             Expenses are all [operating] [overhead] and production
I, 584 (5th G5r.1980).1
                                              costs incurred in producing the gross revenue. The defendant
k infringement action                         hex the burden of proving the expenses (and the portion of the
quitable consideration                        profit attributable to factors other than use of the infringed
125, 131, 67 S.Ct . 118
                                              [trademark] [mark]] by a preponderance of the evidence .
iic Pen Corp., 982 F.I
315, 114 S.Ct . 64, 1'                             Unless you find that a portion of the profit from the sale of
) ., 154 F .3d 1220, 12                       the [goods] (services] using the [trademark] [mark] is attribut-
e Stores, Inc., 750 F:                        able to factors other than use of the [trademark] [mark], you
                                              shell find that the total profit is attributable to the infringe.
                                              went.
fining whether an awl
efendant had the intent                                                   Comment
 been diverted (3) the
play by the plaintiff In                           "[C7ourts have not awarded both damages based upon
 in making the miecop"                        plaintiff's lost sales and defendant's profits attributable to sales
 ,alming off. See Pebble                      under the infringing mark . . . . Recovery of both would be an
 L Cir .1998) .                               inappropriate double recovery, inasmuch as recovery of the
                                              infringer'e profits in all likelihood will compensate for the saes
laintifF need not prove                       the plaintiff has lost." la Jerome Gileon, Trademark Protection
  accounting. Bishop v.                       and Practice § 8.08(2) (1996) .
    Cir.1998) (finding o}
 etermining whether M                             Century Distilling Co. v. Continental Distilling Corp 205
 -). v . Weaver, 169 F.9d                     F2d 140, 148-49 (3d Cir .) (trademark owner not permitted
  damage W obtain M                           double recovery by an award of profits and an assessment of
 aired). See also Ban1Y,                      damages for lost sales), cent. denied, 346 U.S. 900, 74 S.Ct. 226,
  art. denied, 510 U .$.                      98 L.Ed. 400 (1953) ; see also Borg-Warner Corp. v. York-
   ful deceptive conduct                      Shipley, Inc., 293 F2d 88, 95 (7th CirJ (discussing and anaiyy-
  _its, Inc. v. Elby's Big                    ing calculation of damages), cart. denied, 368 U .S. 939 (1961).
   a court to order en                             Louie Vuitton S.A. v. Spencer Handbag Corp., 765 F.2d
                                              966, 973 (2d Cir.1985) (defendant's own statements as to profits

                                                                              897
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             § 159 .92              INSTRUCTIONS FOR FEDERAL CIVIL CAGE'

                provided sufficient basis for calculation of defendant's profits
                under 15 U.S.C. § 1117(a)) .
                     Polo Fashions, Inc . v. Dick Bruhn, Inc., 793 F2d 1132, 1135
                (9th Cir.1986) (court awarded receipts from sales pursuant to 15
                U.S.C. § 1117(a)) .
                     American Honda Motor Co. v. Two Wheel Corp ., 918 F2d
                1060, 1063 (2d Cir .1990) (plaintiff entitled to amount of gross
                sales unless defendant adequately proves amount of costs to be
                deducted from it) .
                     Texas Pig Stands, Inc . v. Hard Rock Cafe Int'1, Inc., 951
                F2d 684, 694 (5th Cir .1992) ("[T]he trial court has wide discre-
                tion to increase or reduce the amount of profits recoverable by
                the plaintiff `[i]f the court shall find that the amount o[ recov-
                ery based on profits is either inadequate or excessive . . . accord-
                ing to the circumstances of the case.'" (quoting 15 U.S.C.
                § 1117(x))) .
                     4 J. Thomas McCarthy, Trademarks and Unfair Competi-
                tion § 30:26 (3d ed. 1996) (discussing computation of defen-
                dant's profits from infringing sales) .
                     An award based on defendant's profits may require proof
                that the defendant acted willfully or in bad faith . See, e.g.,
                Maier Brewing Co . v. Fleischmann Distilling Corp ., 390 F2d
                117, 123 (9th Cir .), cart. denied, 391 U .S . 966 (1968) . But see
                Adray v. Adry-Mart, Inc ., 76 F.3d 984, 988 (9th Cir.1995) ("An
                instruction that willful infringement is a prerequisite to an
                award of defendant's profile may be an error in some circum-
                stances [such] as when plaintiff seeks the defendant's profits as
                a measure of [plaintiffs] own damage[ ]") .
                      Gileon, supra, § 8.08(3) (listing examples of casts and de-
                 ductions that defendant may show) . The defendant may also
                 raise a defense that the purchasers bought goods bearing the
                 infringing mark for reasons other than the appeal of the mark,
                 and that the infringement had no cash value in sales made by
                 the defendant . Id. I£ such a defense is raised, an appropriate
                 instruction should be drafted .
             Manual of Model Civil Jury Instructions for the District Courts of the
             Ninth Circuit, Instruction No. 15.6.3 (1997) .

             § 159.93 Intentional Infringement
                  If you find that defendant          has infringed the
             plaintiff        's trademark, you must also determine
             whether defendant           used the trademark intentional-
             ly, knowing it was an infringement .
                                                898
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        EXHIBIT / ATTACHMENT

                            z4q,
                    (To be scanned in place of tab)
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                                                                    (41 Trade Regulation X108 .1
                                                                    38_kIOKJ Most Cited Casec
                   United States Court of Appeals,                   (Formerly 382k 108)
                            Fifth Circuit.
                                                                    Owner of collective service mark could license nonmembers
     PROFESSIONAL GOLFERS ASSOCIATION OF                            to use mark under its aegis and subject to proper control.
            AMERICA, Plaintiff-Appellee,                            Lanham Trade-Mark Act, §§ 3, 4, 45, I S U .S .C .A . §§ 1053,
                                                                    1054, 1127 .
       HANKERS LIFE & CASUALTY COMPANY,
                Defendant-Appellant .                               (51 Trade Regulation X110
                                                                    3R :k 110 Most Cited Case,
                            No . 74-2117.
                                                                    Where lease which provided that lessor would have license
                           June 13, 1975 .                          to use trademark of lessen stated that terms of agreement
                                                                    should terminate at expiration of lease or any extension
Holder of registered trademark brought suit for trademark           thereof and stated that lease teen was limited to ten years,
infringement and unfair competition against former                  lessor had right to use trademark only for term of lease.
trademark licensee . The United States District Court for the
Southern District of Florida, Peter T. Fay, J., rendered            /61 Trade Regulation X726
judgment for the trademark registrant, and former licensee          3R2k726 Most Cited Cases
appealed . The Court of Appeals, Gewin, Circuit Judge, held          (Formerly 382k724)
that the owner of a collective service mark could license it
to nonmembers ; that the agreement between the registrant           In action for trademark infringement, district court's finding
and licensee gave the licensee permission to use the                that licensing arrangement was terminated by contract was
trademark for a limited time ; that the licensee competed           not clearly erroneous.
unfairly with the registrant and infringed the "PGA"
trademark; and the district court did not commit prejudicial        171 Trade Regulation X334 .1
error in we manner in which it reached its findings of fact         3R2k ;34.1 Most Cited Cues
and conclusions of law.                                              (Formerly 382k334)

Armed.                                                              17/ Trade Regulation X337
                                                                    392037 Most Cited Casts
                          West Headnotes
                                                                   Direct competition is not sine qua non of trademark
t l I Trade Regulation f=a3                                        infringement but rather gist of action lies in likelihood of
38210 Most Cited Cases                                             confusion to public .

Collective service mark serves not to identify particular           /8/ Trade Regulation X338
merchandise produced by members but to guarantee quality            3R2k ;3R Most Cited Cases
of service provided by members. Lanham Trade-Mark Act,
§ 45, 15 U .S .C .A .§ 1127 .                                      Falsely suggesting affiliation with trademark owner in
                                                                   manner likely to cause confusion as to source of
121 Trade Regulation E~251                                         sponsorship constitutes infringement .
382k251 Most Cited Cases
                                                                    (9/ Trade Regulation C~a338
Once registered, collective service marks are entitled to           3R2k338 Must Cited Cases
same protection as other trademarks . Lanham Trade-Mark
Act, §§ 3. 4, 45, 1 5 U.S .C .A . §§ 1053, 1054, 1127 .            Former trademark licensee cannot mislead public into
                                                                   believing that its affiliation continues once licensing
131 Trade Regulation E=461                                         arrangement has ceased, for once contract ends, licensee's
382k461 Most Cited Cases                                           right to the mark ends and any subsequent use constitutes
                                                                   infringement .
Laaham Act clearly contemplates that owners of collective
marks and service marks receive same treatment as holders          I 101 Trade Regulation C~;038
of more orthodox trademarks . Lanham Trade-Mark Act, §§            332k338 Most Cited Cases
3, 4, 45, 1S U.S .C .A . §§ 1053, 1054, 1127 .




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Where former trademark licensee continued to use                  conclusions as well as some reasoning apparent in court's
trademark "PGA" in promoting its country club and real            questions at trial, trial court's verbatim adoption of
estate development after license had expired, trademark was       prevailing party's proposed findings of fact and conclusions
infringed .                                                       of law without opportunity for objections or hearing was not
                                                                  erroneous, particularly where substantially all written
I I1I Trade Regulation C:.alll                                    objections advanced by losing pasty had been presented [o
382k1 1 I Moss Cited Cases                                        court at some time during trial.

Trademark licensee is estopped to contest validity of             [181 Federal Courts C~~850.1
licensees title during course of licensing arrangement.           170f3k850.1 Most Cite) Canes
                                                                   (Formerly 170Bk850,106k4063(9))
1121 Trade Regulation Ou~I11
38?kl l I Most Cited Cases                                        Court of Appeals will accept district court's factual
                                                                  determinations unless clearly erroneous .
After expiration of trademark license, former licensee may        *666 Alan Meltzer, Lake Park, Fla., William T. Kirby,
challenge licensor's title on facts which arose after contract    Chicago, Ill ., for defendant-appellant .
expired.
                                                                  William J. Dunaj, Miami, Fla., Stephen M. Sacks, William
1131 Trade Regulation Fall l                                      D. Rogers, Washington, D. C., for plaintiff-appellee .
382k111 Most Cited Case,
                                                                  Appeal from the Unified States District Court for the
in action for trademark infiingement against former               Southern District of Florida.
trademark licensee, licensee was estopped to argue that
licensor abandoned mark by not supervising licensee's use         Before GEWIN, BELL and CLARK, Circuit Judges .
of mark to any appreciable extent during period of license.

X14/ Trade Regulation X407                                        GEWiN, Circuit Judge:
382k407 Most Cited Cases
                                                                  The Professional Golfers' Association of America (PGA or
Likelihood of consumer confusion and passing off one's            the association) brought this suit for trademark infringement
goods or services as those of another constitutes gravamen        and unfair competition against its erstwhile associate in a
of action for unfair competition .                                golf club located at Palm Beach Gardens, Florida. Bankers
                                                                  Life and Casualty Company (Bankers) built the clubhouse
1151 Trade Regulation frd63                                       and courses that housed the golf association's national
3V-k463 Most Cited Cases                                          headquarters for ten years. The collaboration was never
Unfair competition is more broadly conceived tort than            extremely amicable, and final estrangement occurred in
trademark infringement and there are some instances where         February of 1973 when the PGA vacated the premises for
defendant is guilty of competing unfairly without having          good . Bankers refused to remove the initials "PGA" from
technically infringed.                                            the title of its golf club after the association's departure . The
                                                                  present lawsuit followed, '667 and the district court found
1161 Trade Regulation 0~d92.1                                     that Bankers had infringed the PGA's mark and competed
382k492.1 Most Cited Cases                                        unfairly with it through continued use of the initials . We
 (Formerly 382k49?)                                               find the district court's conclusions of law and fact
                                                                  eminently correct and therefore affirm .
Where former licensee of trademark continued to use mark
in promoting its country club and real estate development         Bankers and the PGA first considered working together in
after expiration of license, seeking to pass off its club as      1961, when the PGA desired more sumptuous headquarters
affiliated with licensor, former licensee's actions constituted   than its abandoned supermarket and Bankers needed a
unfair competition .                                              selling ploy for its proposed new city . The parties entered
                                                                  into an agreement whereby Bankers would build two golf
1171 Federal Civil Procedure FM2280                               courses to PGA specifications and the PGA would construct
170Ak2280 Most Cited Cases                                        the clubhouse to be used as its national headquarters .
                                                                  Bankers would have full use of the PGA name in its
Where district court made extensive oral findings of fact and     promotional activities for surrounding real estate
conclusions of law and prevailing party's proposed findings       development. By 1963, however, it was clear that the PGA
of fact and conclusions of law incorporated court's oral          lacked the financial resources to construct the proposed




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 clubhouse, so Bankers, through its president McArthur,           service mark in the configuration "PGA ." Its application for
 agreed to build the club as well as the golf courses. The        registration explains that the mark is to be used in
 second contract stated that the PGA would repay the cost of      connection with golf instruction and entertainment in the
 constructing the facility, $875,672 .                            nature of golfing exhibitions. Members display the mark in
                                                                  professional golf shops, at tournaments, and for the sale of
 Beset by continued monetary doldrums and a newly elected         services generally.
slate of officers who opposed the Palm Beach Gardens site,
the     PGA      abandoned     the   partially   constricted      `668 [1][2] The Lanham Act defines a collective mark as a
clubhouse headquarters later that year. Litigation to force       "trade-mark or service mark used by the members of a
the association to live up to its contractual obligations        cooperative, an association, or other collective group or
ensued, and finally resulted in a 1964 settlement agreement      organization . . . ." IS U .S .C . s I 127 . q service mark, in
that cancelled all prior contracts between the parties. As       turn, "means a mark used in the sale or advertising of
hereinafter discussed, the PGA agreed to rent space in the       services to identify the services of one person and
clubhouse for ten years, and the entire premises would           distinguish them from the services of others ." Id . Thus, a
continue to be known as the PGA National Golf Club . In          collective service mark such as "PGA" serves not to identify
return for the PGA's continued presence in Palm Beach            particular merchandise produced by members, but to
Gardens, Bankers agreed to cancel the association's debt         guarantee the quality of service provided by members . Once
entirely . By this time the clubhouse had been constructed ;     registered, collective service marks are entitled to the same
permanent concrete buttresses on the outside of the building     protection as other trademarks . IS U .S .C . ,s 1053-4 ; see
bore the PGA initials, and the controversial three letters       Boston Professional Hockey .Association v . Dallas Cap and
were etched in a continuous horizontal line around the outer     Emblem Manufacturing . Inc ., 510 F .2d 1004 (5th Cir .
windows of the club .                                            1975) .

This lukewarm symbiosis continued for eight years until the      Bankers contends that the owner of a collective service
end of 1972 when Bankers announced the PGA had to                mark has no authority to license it to anyone except
vacate the premises immediately . Somewhat ale red at the        members of the association . In essence it claims that an
summary eviction, particularly in view of the winter             organization has the power to allow its members who have
tournaments and trade show it had scheduled ., : early 1973,     met certain qualifications to utilize the mark, but that it
the PGA finally cajoled Bankers into letting it remain until     cannot authorize non- members to employ the mark for any
February 28, 1973 . This reconciliation (of sorts) was           purpose . We, however, are unable to discern any reason,
evidenced by the fourth written agreement between the            based either in statutory construction or logic, why the
parties, an amendment to the 1964 instruments .                  licensing of collective service marks should be so limned .
The PGA exited permanently once the winter tournaments           [?][4] First, the Lanham Act clearly contemplates that
were over, and Bankers thereafter changed the nature of the      owners of collective marks and service marks receive the
club . It was no longer open to PGA members whenever they        same treatment as holders of more orthodox trademarks . See
wished to play, but became a private country club with the       I S U .S .C . ss 1053 and 1059, supra . Since merchandise
golf course available only to members and their guests .         marks have long been the subject of licensing arrangements,
Bankers did, however, retain the PGA's acronym in                see 3 R . Callman, The Law of Unfair Competition,
renaming its facility the PGA Country Club .                    Trademarks and Monopolies s 782 (3d ed . 1969)
                                                                (hereinafter Callman), the statute itself provides no comfort
Based on its ownership of the mark "PGA", the association        for Bankers' position . Secondly, though no court has
brought this suit against Bankers for infringement, unfair      explicitly passed on the question, decisions in other circuits
competition, and breach of contract . The several questions     have recognized that owners of collective marks may
presented on appeal are: (1) whether the owner of a             license non-members to use their marks . In Future Farmers
collective service mark may license it to non-members, (2)      of America v . Romack, 211 F1d 925 (7th Cir. 1954), the
if so, what were the terms of the license agreement between     court held that both the national organization and the Texas
the PGA and Bankers, (3) whether Bankers infringed the          chapter had the right to authorize a non- member to
PGA's mark or competed unfairly with the association, and       manufacture seals, emblems, and badges bearing the
(4) whether the district court committed prejudicial error in   nationally- approved symbol "FFA ." Similarly, the Second
the manner in which it reached its findings of fact and         Circuit has acknowledged the Boy Scouts' right to license a
conclusions of law. We shall neat these issues seriatim.        single company to manufacture its official knives . Adolph
                                                                Kastor & Bros . v . FTC . 138 F2d R?4 (2d Cir. 1943) .
          1. Licensing of Collective Service Mark
                                                                Obviously, neither the emblem manufacturer nor the cutlery
                                                                producer was a member of Future Farmers or the Boy
As one of seven registrations, the PGA owns a collective




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Scouts . Bankers has asserted no policy in favor of its            disagree with reference to Bankers' use of the mark . The
proposed rule, and this coup can perceive none . Hence, we         president of Bankers and the chairman of the board of its
hold that the owner of a collective service mark may license       golf club, however, stated that they thought the contract
non-members to use the mark under its aegis and subject to         permitted Bankers to use the PGA name as part of their
proper control .                                                   club's title. The trial court found that the parties agreed to
                                                                   disagree, and we are loathe to overturn such a credibility
                     II . Ten-as of License                        determination as clearly erroneous. There was sufficient
                                                                   evidence to support the trial court's finding.
[5] Bankers' second asserted error concerns the district
court's interpretation of the several contracts entered into by    The 1973 amendments changed the termination dale of the
[he parties . As mentioned above, the 1964 settlement              earlier agreements from December 31, 1974 to February 28,
agreement slates : "All prior agreements between the said           1973 . Except for such .explicit modifications, the 1964
parties . . . shall no longer be of force or effect, the said      agreements were to "remain in full force and effect ." Since
agreements are hereby cancelled and forever discharged,            we have earlier held that Bankers' right to the name ended in
and the parties to said agreements are relieved of all             ten years under the 1964 agreements, the 1973 amendments
responsibility thereunder." Despite Bankers' contention that       simply accelerated the date on which Bankers had to cease
its "perpetual" license stemming from the 1961 contract            calling its club the "PGA National Golf Club" or "Home of
continued unabated, we believe the documented language             the PGA."
demonstrates a definite, unequivocal desire to cancel the
1961 and 1963 contracts. Thus, our analysis begins with a          Though the pertinent agreements at issue do not speak
construction of the October 30, 1964 settlement agreement          directly of a "license" to use the symbol "PGA", we think
and lease.                                                         the clear import of the contracts bespeaks such an
                                                                   arrangement . The association expressed continued concern
The settlement agreement sets out a number of reciprocal           over use of the initials, and the 1964 agreement grants
duties on the part of the respective parties . During the term     Bankers permission to use the designation for a limited
of the lease the clubhouse and courses would be known as           time . Moreover, Bankers does not dispute the fact that it
the "PGA National Golf Club ." The PGA agreed to hold a            was a licensee . We therefore hold that the licensing
number of official tournaments at the facility each year and       arrangement between Bankers and the PGA expired
to use its efforts to further development of the surrounding       February 28, 1973 .
real estate . One crucial sentence states, "The terms of this
*669 agreement shall terminate at the expiration of said                     111. Infringement and Unfair Competition
lease or any extension thereof." The lease, in turn, contains
a provision limiting its term to ten years. Reading the two        Our examination of the contracts at issue leads us to the
instruments in conjunction, rudimentary principles of              third question presented on appeal : whether Bankers'
contract law demand the conclusion that under the 1964             continued use of the triple-lettered configuration "PGA" as
agreements Bankers had the right to use the PGA name for           part of the club's name infringes upon the association's
only ten years.                                                    registered mark . Ancillary to that issue is the question
                                                                   whether Bankers has competed unfairly with the PGA
[6] The 1964 agreement and lease were expressly modified           through such activities .
by amendments dated January 24, 1973, following the
notice of eviction . Bankers claims that the circumstances         [7][R] Bankers submits that in order to find trademark
surrounding the drafting of the amendments demonstrate             infringement and/or unfair competition, this court must first
that it had the right to continue using the PGA's collective       determine that the parries compete. The argument assumes
mark perpetually . The initial draft of the 1973 agreement, as     that trademark protection extends no further than to prevent
drawn by counsel for the PGA, contained a paragraph                a second user from utilizing the name or similar mark for
stating that Bankers would no longer use the designation           goods or services substantially identical to those produced
"PGA" in reference to its golf club . Upon viewing said            by the owner of the mark . The law of trademarks, however,
provision, the president of Bankers balked, telling his            is not so ossified, nor its protective scope so niggardly. This
representative at negotiations to burn the agreement, that he      court has repeatedly held that direct competition is not the
refused to give up his "right" to the name . Negotiations          sine qua non of trademark infringement ; rather the gist of
between the parties and their respective counsel continued,        the action lies in the likelihood of confusion to the public .
and the final draft of the fourth agreement contained no           Roio-Roomy Coq . v. O'Neal, 513 F.2d 44 (50h Cir. 1975);
reference to use of the name . At trial evidence as to intent of   *670[3eef Ester Restaurant, Inc . v. James Burroueh . Ltd. .
the parties conflicted . The executive secretary of the PGA        393 F2d h37 (5th Cir. 196A); Continental Motors Corp . V.
said they finally reached an impasse and simply agreed to          Continental Aviation Corp ., 375 F .2d 857 (5th Cir. 1951) ;
                                                                   Trail Chevrolet, Inc. v. General Motors Cure ., 381 F?d 353




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 (5th Cir . I96') ; American Food, .. Inc . v . Golden Flake . Inc .,    standards the association demands of its professionals . In
 l 12 F2d 619 (5th Cit . 1963) . As Judge Clark recently slaked          short, the PGA has established a reputation for consummate
 for this court in K'orld Career,, Inc . ~" . Dick LittrrlPs \ew         skill and excellent entertainment in the world of golf.
 World Carpets, 438 F1d -A32, 433 IS(h Cit . 1971) :                     Bankers long enjoyed the benefit of that reputation while it
   Trademark jurisprudence, however, has long recognized                 housed the association's national headquarters . Official
   that the lack of competitiveness is not always dispositive            tournaments were held in Palm Beach Gardens and PGA
   of the question of confusion and hence infringement . One             officials appeared in advertisements for the residential
   such relationship where this is true exists when the                  development. But once the PGA left the premises, Bankers'
   sponsor or maker of one business or product might                     right to bask in the golfing association's good name ceased .
   naturally be assumed to be the maker or sponsor of                    The PGA established that the public would likely continue
   another business or product. The confusion evident in                 to associate the club with the organization so long as the
   such cases is confusion of the business ; the deceived                facility bore the title "PGA Country Club," or any similar
   customer buys the infringers product in the belief that it            designation containing the three initials .
   originates with the trademark owner or that it is in some
   way affiliated with the owner. When this occurs, the                 Though there is no indication in the record that Bankers has
   infringer is unjustly trading on the true owner's                    maintained the greens or clubhouse in an unsightly fashion,
   established reputation . This is the precise wrong                   so as to tarnish the PGA's reputation, the association should
   trademark legislation seeks to prevent.                              not have to rely on such good faith in the future . "(F)or a
                                                                        reputation, like a face, is the symbol of its possessor and
Thus, falsely suggesting affiliation with the trademark                 creator and *671 another can use it only as a mask ." Yale
owner in a manner likely to cause confusion as to source or             Electric Corp . v. Robertson, 26 F.2d 972, 974 (2d Cit . 1928)
sponsorship constitutes infringement Tis-ch Hotels, Inc. v.             (L . Hand, J.) . The quality of a trademark owners reputation
Americana Inn, Inc., 350 F?d 609 (7th Cir. 1905) ; Safe" av             should lie within his own control .
Stores. Inc. v. Safeway Properties, Inc., 307 F.2d 49 ; (2d
Cit . 1962) ; Volkxwagemaerk Akdengesellschah v . Tanim,                  []]][12][13] Having determined that Bankers' activities bear
344 F.Supp. 235 IS .D .FIu .l9?21 ; W'yatt Earp Enterprises v.           all the earmarks of trademark infringement, we have only to
Sackman, 157 F.Supp. 621 (S .DN.Y .1958) . Whether the                   discuss appellant's remaining alternative theory : that the
public is likely to associate potato chips with dinner rolls of          PGA abandoned its mark through "naked licensing", or the
the same name, American Foods, Inc . v. Golden Flake, Inc .,             failure to properly supervise its licensee's use of the mark .
supra, a real estate business with a grocery chain of the                We note, first, that a licensee is estopped to contest the
same name, Safeway Stores, Inc. v. Safeway Properties,                   validity of the licensor's title during the course of the
Inc., supra, or a restaurant with a well- renowned liquor                licensing arrangement . Heaton Distributing Co . v . Union
bearing the same title, Beef Eater Restaurant, Inc . v. James            Tank Car Co ., supra; Donald F . Duncan, Inc . v . Royal Tops
Burrough, Ltd., supra, courts will enjoin the usurper's use of           Manufacturing Co ., 343 F .2d 655 (7th Cir . 1965) ; Pacific
the mark.                                                                Supply Coop v . Farmers Union Central Exchange, Inc ., 313
                                                                         F'2d 894 (9th Cir . 1963) ; E . F . Prichard Co . v . Consumers
[9] Here the PGA has demonstrated not only the likelihood                Brewing Cu ., 136 F .2d 512 (6th Cir . 1943) . The licensee
of confusion, but some incidents of actual confusion.                    has, by virtue of the agreement, recognized the holder's
Members of the association have come to the club m the                  ownership . Yet once the license has terminated, the question
belief that they were still allowed to play there at any time,          remains whether the former licensee is forever barred from
and the club has received several telephone calls intended              challenging the holder's valid ownership. Some courts have
for the golf association . Cf. World Carpets, Inc. v. Dick              held that the esroppel expires with the license . Donald F .
Littrell's New World Carpets, supra; Safeway Stores, Inc. v.            Duncan, Inc . v . Royal Tops Manufacturing Co ., supra ;
Safeway Properties, Inc., supra. A former licensee cannot               Bucky v . Sebo, 208 F .2d 304 (2d Cit . 1953) ; Eskimo Pie
mislead the public into believing that its affiliation                  Corp . v . National Ice Cream Cu . . 26 F2d 901 (6th Cit .
continues once the licensing arrangement has ceased .                    1925) ; Amiesite Asphalt Cu . %" . Interstate P.miesire Co . . 4
Heaton Distributing Co . v. Union Tank Car Cu ., ;37 F.2d               F .Supp . 504 (D .De1 .1933) . Others have refused to allow any
477 (8th Cit. l9G7). For once the contract ends, a licensee's           subsequent challenges by former licensees . Heaton
right to the mark ends, and any subsequent use constitutes              Distributing Co . v . Union Tank Car Co ., supra ; E . F .
infringement . Callman, supra at 470.                                   Prichard Co . v . Consumers Brewing Co ., supra . We,
                                                                        however, under the facts and in the circumstances here
[lu] Since its inception in 1916, the PGA has expended                  presented, adopt an intermediate view, that suggested by
considerable effort in promoting the game of golf. Members              treatise author Rudolf Callman : after expiration of the
of the organization have displayed their skill throughout the           license, a former trademark licensee may challenge the
country. Their success is due, at least in part, to the high            licensor's tide on facts which arose after the contract has




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                     expired.
                              Callman, supra at
                     F .Supp. 399                   454; %Zc"d,~ :. y~yd
                                   (t~' .D.Ohio 79               1        N'~~ner, U-
                    licensoc's owRCrship            ~ )     u, a licensee                                                        decisions in
                                               of the                      amps his                                                                             which we have ,~i
                    agreement, bw                       mark by entering                                                         acceptance of the
                                         the strai                             into                                                                                   winning
                                                                                                                                                                         inning party's                                        she uncritical
                    interminably . In the          ghyacke~    effect does nor                                                  8~ ~+eystune PIasGcs,
                                             Present                                 th~ys~e                                                                                Inc,     ~- .  ~~     proposed finding, .
                   which                             case, however,                                                             9GOIS~h Cir. 197j~~                                            &   p            . w h i                 See, e,
                                  rsreli
                                      relies                           the cts upon                                                                                                                   pla,Gc,, Inc .,                      F~
                   ten-year agreement                arose during f                                                             )no  .,  5(N                             `y~illiuinsun-Dickie                                        5~~6 ._d
                                          wi(h the P                 he ,- faurse Of its                                       S E`'                    F~ .~~ yy3 n. i (S ('ir.19 ~ifg . CV, v.
                   abandonment .                     GA, so it ~s~ estoPP<'d                                                      ~        Cheep Co ., q57 (5th                                                                        Ffertex
                                                                              to argue                                                                                                                       ),
                                                                                                                               ~reyfus & Cie                                   1' .2d 1041) ( .5th7a Railex Corp,
                                                                                                                                                                v, Panama                                     Cir. 197z)~ ~
                            F~~~ Bankers                                                                                       1`~~'=1~ The districjudge                           Canal Co .                                           LOUIS
                                                      claims that the pGA                                                                                          t            i                   ' Zy~     F.Zd 733 (5th
                            Supervise it, use of                                                                              fact and                                            ~   ~~s      case   made o ral findingsCi~.
                                                            the mark to                                   did not                                     conclusions of law
                                                                                             any appreciable                  trial . In ad,i~~~oq                                      from the                                            of
                                                                                                                                                                        he                               bench at the
                           PGA , on the                                                                                      extensively ~~~~g                               questioned                                               end of
                                                  other hand,                                                                                                            the cuur,e                  counsel for
                          Bankers to toeep                                      asserts that it                              manifesting a                                                        of closing                        Bakers
                                                           g; q t h e     .reen and clubhouse           required            of the                          commendable
                          class" condition                                                                                                 several contracts knowledge of the                                                    argument,
                                                    and to                                               in "Frst
                         who b e          klonged the P( employ a golf professional                                         disposition, the                                       at issue .
                                                                                                                                                                                                      Followin8 his oral
                                                                                                                                                                                                                             phraseology
                                                                                                                           prepare proposed court Instructed counsel
                                                                                                                                                                findings in                                                  he
             ~~4~t~ Slt~b] Th~~pn q~ s                                                                                                                                             accordance therewith, PGA to
             succeeds for                          pendent unfair                                                          The
                                         y of the                                    competition                                     proposed fininhingd
            ~n~^8ement action .                                          reasons supportingclaim                          conclusions as                             ings incorporated
            confusion and passing Again, likelihood                                                            its                                         well as some of                                the coon's
            another constitute            o~-one's                                           of consumer                  earlier questions
                                                                                                                                                              .
                                                                                                                                                                                        the teas
                                                                                                                                                                                               reasoning        apparent oral
                                                          goods or services                                               concerning                               During Bankers, closing                                           in ;~
            Shupe . Sz               the  S~avamen of the                                         as  those of                                        construction of
                                  ~                                              action    .                                                                                  the      final                                  argument
                 can e f~~mel S°'- d X05 ~ So'd 5' ) . Feller Sun 1,                                                     explicitly asked
                                                                                                                         would be that counsel, "you do not think
                                                                                                                                                                                                 ins hument,
                                                                                                                                                                                                                             Judge
                                   Cu ., 196                                                  ~:.       ~`~,~~~
           Shopn Ore                                                        IFIa                                                                           they              to                              one alternative     rnaNve
                                   r.                                              .App.19~,~~,                          conclusion        that Hankers            agree            disa9"       e.~  ..   ~~,YL
           Unfair competition, :floss                                                                   Stagg                                                           never                                              ) His oral
                                       however,2s a~ -~ ~3y                            ~Fla   .~pr    .1960),                Perpetuity                 was necessar e°J°Yed a license to the
          tort than its                                                more broadly                                     indicated a few                                      ;lY based on                                          name
                                  frequent litigation                                            conceived                                                minutes before,                                the assumption
          infringement, and                                                     partner,                                to disagree .                                                 that the                                           ,
         defendant is guilty there are some instances trademark                                                        the   coon,
                                                                                                                                           The PC,q~s
                                                                                                                                                                      inclusion of thatce parties had agreed
                                      of Competing                                                where a                               therefore was                                               fact as a finding
         technically infringed
                         nfringed . 0. H (3unn unfairly without having                                                 trial judge's                                    riot Improper;                                                of
         Parts C'.o .,                                                                                                                    indapendent                                             it was based
                            ., q51 F. ~,~ ;,-              Co . v. A,q,q                                                                                              credibility choi                                          on the
         law of unfair                               3 ( sth Cic                                                                           .Replacmnt
                            competition ;s the                                    1971) . For "(Qhe                                 i' N? . Record
                                                          umbrella for all                                                                                       at 185.
        conduct which is                                                                         statutory            The
                                contre,y to honest                                               business                   "on adopted the P( ;q~s
        commercial matters ."                                         practice in industrial                         w
                                                                                                                     without receipt                                        proposals almost
                                        Inc neap Heritage Life                                            or         objections                         of opposing                                         immediately,
                                                                                      hisu~ance G~ .                     ections      were submitted                           counsel's objections
       1y7`~) In the present                                                                                        them                                               a  few    da y s later, the                          . Once
                                      case,                                                    (5th Cir,                     without modifying
       bath actions                                  .however,           th                                         court    has                                     i[s  earlier                          court denied
                        coalesce . Barilcers                                  e facts                                              recently                                             judgment Though
      as aR~,a~ed
                        with the p GA,               sought to "pays underlying                                    airing of all                        'ccomn,ended a hearing p                                                 this
                                                 thereby trading                        off'    ins  club                                 possible              objections prior                  Procedure for the
     reputation . hence                                                                                            proposed Fndings
                                it actions violate                                  on    the PGA's                                                        of fact and                         to   the adoption
     state law.                                                        not only federal,                          judgment in the                                                 conclusion s of                                  of
                                                                                                      but         distilled in the                       instant      cue                                               la w, the
                                                                                                                                          "crucible of (th e ~;5~~~~~           demonstrates
       `6~2 ~V. Adoption                                                                                         Keystone Plastics,                                                                       conclusions
                                 of Findings                                                                                                            Ine, v. C & P                       u dge's) co
                                                    of Fact and                                                  trial   court                                                    Plastics,                 nscience."
                                          Law                                   Conclusions of                                     entered lengthy                                                Inc. . supry .
                                                                                                                 u" ritten,obj~~~o~s ~a~                    e~         oral   findings .                                      7hr
   ~ (7J Finally,                                                                                               presented                                        advanced                        Substar,t;elly a~~
                      Bankers complains                                                                                          to the court a(                                    by a
   trial court reac                                 of the mariner                                              the court                                        some                         PPell ant had
                              its ultimate                                          in whiandc h the                           received appellant's pp ;p during the h-ia~. been
  ft asserts t1,' court                          conclusions of law                                            amend modify,                                            objec4!ons, it                                          en
  findings of tact erroneously adopted appellee                                                   fact,        the    dis~dct
                                                                                                                                          or change its
                                                                                                                                                                        findin      s.    ~.y
                                                                                                                                                                                                had the power
                                                                                                                                                                                                                                to
                          and conclusions                                            's prop
                                                                                         Proposed                                  court did not                                  S           e
  Opportunity for objections or                      of law                                                   because it did                                        consider                     Cannot Presume
                                                a hearing.               verbatim          without                                    not grant Them .                               the      obje~t;ons solely
 hankers claims that                                                    More
                              the written                                          specifically,
 parties ~~agreed to                             finding   to the effect
                           disagree" as N                                                 that the            '"I Moreover, the
 in the January
                       Zq~ ~g~3                    continued use                                             change simply he,-,ausescope of appellate
unsupported by                      agreement                                      of  the    name                                                          we                               review does
                                                      was ;~~P~oPer,                                         the district
                       the courPS
                                      independent                                        because                                  court arrived disapprove the manner in                                                    not
                                                         determination,                                     conclusions         of law. We                         at    its                                   which
One crucial                                                                                                 rule in reference                               are bound byfindings of fact and
                   factor                                                                                                                to Factual                                 the clearly erroneous
                               distinguishes this case                                       other         Sakraida, d7~7                                        detemu~ations .
                                                                                  from                                                1-2d 167 (_5th                                           Ag Pro, Inc
                                                                                                                                                                        Cir. 19?3) -                                         v.
                                                                                                                                                                                                As heretofore


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                                                                                                                                              Works
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explicated, none of the district courts factual or legal
conclusions were erroneous.

We note in closing that the district court's permanent
injunction restrains Bankers from using the terms "PGA",
"Professional Golfers' Association", or "Professional
Golfers' Association of America" in reference to any golf
facilities it owns, whether on entrance signs, literature or
other forms of advertising . The decree, however, does not
require "673 Bankers to dismantle any permanent
appurtenances to [he clubhouse, and Bankers may
denominate its club "former home of the PGA" if it wishes .
The court's oral findings further state that there is no
necessity for changing the real estate plats that refer to
"PGA National Golf Club Estates." We believe the trial
court has properly exercised its equitable powers in
fashioning a decree that is fair and not too burdensome . The
judgment of the district court is therefore affirmed .

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H                                                                131 Trade Regulation X672
                                                                 382072 Most Cited Cases
                United States Court of Appeals,
                       Eleventh Circuit.
                                                                 13/ Trade Regulation X683
        RAMADA INNS, INC ., PIainNfT Appellee,                   382kGR3 Most Cited Cases
                   v.
                                                                 Franchisor was entitled to damages for trademark
GADSDEN MOTEL COMPANY, a partnership ; Conrad O .
                                                                 infringement, due to franchisees' holdover after franchise
                Moss ; Thomas H. Heatherly and
                                                                 agreement was terminated, as well as liquidated damages for
             John T. Murray, Defendants-Appellants .
                                                                 breach of franchise agreement, though common elements
                          No. 85-7774.                           were used to calculate both awards, because damages were
                                                                 awarded for two distinct wrongs . Lanham Trade-Mark Act,
                     Dec. 3, 1986 .                              § I et seq., IS U.S .C .A . § 1051 et seq.
 Rehearing and Rehearing En Banc Denied Jan. 27, 1987 .
                                                                 /4) Trade Regulation 8374
Action was brought for breach of franchise agreement and         382k374 Most Cited Cases
trademark infringement . The United States District Court
                                                                 Trademark infringement defendant who claimed he
for the Northern District of Alabama, No . CV
84-AR-2426-M, William M. Acker, Jr ., District judge,            withdrew from infringing partnership before infringement
entered judgment for franchisor and former franchisee            occurred was nevertheless liable where defendant failed to
                                                                 distinguish himself from other partnership defendants at
appealed . The Court of Appeals, Hatches, Circuit Judge,
held that : (1) trademark infringement damages were not          trial and did not appeal partial summary judgment entered
                                                                 against all defendants .
speculative ; (2) franchisor was entitled to damages for
                                                                 *1562 Roy O. McCord, McCord & McCord, Gadsden, Ala.,
trademark infringement in addition to liquidated damages
                                                                 for the Partnership .
for breach of franchise agreement; and (3) partner who
alleged he withdrew from franchisee partnership before
                                                                 F. Guthrie Castle, Jr ., Borod & Huggins, Memphis, Tenn .,
trademark infringement occurred was nevertheless liable
                                                                 for Conrad O. Moss, Individually .
where partner did not assert such defense during trial .
                                                                 Joseph Barry Jones, Bradley, Arant, Rose & White, Linda
Affirmed .
                                                                 Friedman, Thad G. *1563 Long, Birmingham, Ala., for
                        West Headnotes                           plaintiff-appellee .

                                                                 Appeal from the United States District Court for the
III Trade Regulation X674
3811074 Most Cited Cases                                         Northern District of Alabama.

                                                                 Before HILL and HATCHETT, Circuit Judges, and
/l] Trade Regulation F~;P728.1
382029 .1 Most Cited Cases                                       THOMAS [FN"], Senior District Judge.
 (Formerly 382k728)
                                                                          FN' Hon. Daniel H . Thomas, Senior U.S . District
Damages for trademark infringement may include                            Judge for the Southern District of Alabama, sitting
                                                                          by designation .
defendant's profits, any damages sustained by plaintiff', and
cost of action . Lanham Trade-Mark Act, § 35, 15 U.S .C .A .
§ 1117 .                                                         HATCHETT, Circuit Judge:
/2J Trade Regulation 0598                                        This appeal arises out of an aeons filed by Ramada Inns,
382k598 Most Cited Cases                                         Inc. (Ramada Inns) against Gadsden Motel Company
                                                                 (Gadsden), a partnership, and partners, Thomas H.
Finding of damages suffered by trademark owner by former
                                                                 Heatherly, John T. Murray, and Conrad O. Moss (partners)
franchisee's continued use of mark was not speculative
                                                                 for trademark infringement and breach of contract . The
where finding was supported by expert testimony
                                                                 district court awarded Ramada Inns substantial damages on
concerning franchise fees lost during infringement period
                                                                 the claims . We affirm .
and unrebutted testimony of costs of replacement licensee
and remedial advertising . Lanham Trade-Mark Act, § 35, 15                              Background
U.S .C .A . $ 11 17 .




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In August, 1977, the partners purchased a motel in Analla,        Dr . Robert Robicheamc, then associate professor of
Alabama, and entered into a license agreement with Ramada         marketing at the University of Alabama Graduate School of
Inns . In 1982, the motel began receiving poor ratings from       Business . Dr. Robicheamc arrived at his damage calculation
Ramada Inns inspectors, and Gadsden fell behind in its            *1564 by adding the following: (1) $23,610 in lost franchise
monthly franchise fee payments . Despite proddings from           fees for the six-month "hold over" period when Gadsden
Ramada Inns, and the initiation of a refurbishing program to      Motel Company continued to use Ramada Inns' marks; (2)
upgrade facilities by Gadsden, the motel never met Ramada         $3,555 interest on the lost franchise fees ; (3) $5,000 needed
Inns' operational standards again . On November 17, 1983,         to develop a new franchise in the area ; and (4) $15,000 for
Ramada Inns terminated the license agreement citing quality       advertising to restore Ramada Inns' good reputation . The
deficiencies and Gadsdeds failure to pay past due license         partners contend that the district court should have
fees . Ramada Inns' termination notice directed Gadsden to        disregarded Dr . Robicheaux's estimates because they were
remove any materials or signs identifying the motel as a          too speculative . Damages were too uncertain to be awarded,
Ramada Inn. Inspections on January 6, 1984, and in March,         in their view, because Dr . Robicheaux based his estimate of
 1984, revealed that Gadsden continued using Ramada Inns'         the amount of the lost franchise fees on 1983, instead of
signage and graphics inside and outside the motel .                1984 . The amount was also uncertain, according to the
                                                                  partners, because Dr . Robicheaux's estimate that it would
On September 24, 1984, Ramada Inns brought this action            take $5,000 to attract a new franchise was based solely on a
for trademark infringement under the Lanham Trademark             conversation he had with a Ramada Inns official, and
Act of 1946, IS U .S .C . § 1051 er seq. (Lanham Act) and for     because Dr. Robicheaux's estimate that it would take
breach of the franchise agreement. The district court, acting     $15,000 in order to restore Ramada Inns' image was based
on a motion for partial summary judgment, found Heatherly,        on figures for the entire southeastern area . In rebuttal,
Murray, and Moss liable on the trademark infringement             Ramada Inns contends that Dc Robicheaux used 1983
claims, awarded Ramada Inns $17,99324 for past due                figures because the computation of damages in the forth of
license fees, and held the liquidated damages clause of the        lost license fees is properly based on the revenues produced
franchise agreement void as a penalty. During the trial,          by a properly run motel, and that the partners' motel was run
however, the court stated that the liquidated damages issue       better in 1983 than in 1984 . Ramada Inns further contends
was open to question .                                            that the partners never objected to Dr. Robicheamc's reliance
                                                                  on his conversation with the Ramada Inns official to arrive
On September 30, 1985, the district court entered a               at his conclusion that it would take $5,000 to get a new
$255,936 .08 judgment for Ramada Inns in addition to the           licensee in the area, and that Dr . Robicheaux used an
previous award. This judgment included $94,441 .08 in             estimate of the cost of remedial advertising based on the
liquidated damages, $20,000 in attorney's fees, and                entire southeast because it was the "best information
trademark infringement damages trebled from $47,165 to             available."
$141,995 . On October 10, 1985, Moss filed a motion to alter
or amend the judgment contending, among other things, that        (1][21 Under the Lanham Act, damages for trademark
he was not a partner in Gadsden Motel Company when the            infringement may include (1) the defendant's profits, (2) any
trademark infringement occurred . His motion was denied .         damages sustained by the plaintiff, and (3) the cost of the
Heatherly, Murray, and Moss all appeal asserting errors in        action . IS U.S .C . § 1117 . [FN1] The Gadsden Motel
the district court's assessment of damages.                       Company failed to realize a profit during the period of
                                                                  infringement, thus, the district court's damage award was
                         Discussion                               based on damages sustained by Ramada Inns as a result of
                                                                  the infringement . The partners stress that a trademark
The partners raise a host of issues on appeal, but only three     infringement award must be based on proof of actual
merit discussion : (I) whether the trademark infringement         damages and that some evidence of harts arising from the
damages were speculative ; (2) whether the district court         violation must exist. We agree, but the essence of [he
erred in awarding Ramada Inns trademark infringement              question presented remains the same . We must decide
damages in addition to the liquidated damages; and (3)            whether the district court's assessment of the actual damages
whether Moss should have been spared trademark                    or harm suffered by Ramada Inns was speculative . We
infringement liability because he withdrew from the               conclude that it was not.
partnership before the infringement took place.
                                                                           Fti I . The entire provision reads
 A. Whether the trademark infringement damages were                        When a violation of any right of the registrant of a
 speculative .                                                             mark registered in the Patent and Trademark Office
                                                                           shall have been established in any civil action
 The district court awarded Ramada Inns $47,165 in                         arising under this chapter, the plaintiff shall be
 trademark infringement damages based on the testimony of




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        entitled, subject to the provisions of sections I I I        Compnn~~ v. Pulcrson Pur(hunrrrr Paper Campanp. 282
        and 114 of this title, and subject to the principles of      U .S . 555, 563, 51 S .Ci . 248 . at 250, 7> L_Ed . 544 (19 ;1) .
        equity, to recover (I) defendant's profits, (2) any          The wrongdoer may not complain of inexacmess where
        damages sustained by the plaintiff, and (3) the cost         his actions preclude precise computation of the extent of
        of the action . The court shall assess such profits          the injury. Easmmie Kodak Compam ; v . Southern Photo
        and damages or cause the same to be assessed                 Company. _73 U .S . 359, 379 . 47 S .Cc . 400 [405], 71
        under its direction . In assessing profits, the plaintiff    L .Ed . 684 (1927) .
        shall be required to prove defendant's sales only ;
        defendant must prove all elements of cost or                Bangor Punta Operations r. Universal Marine Company .
        deduction claimed. In assessing damages, the court          543 F .2d 1107, 1110- Il (5th Cir .1976) ; Borg-Warner
        may enter judgment,              according     to     the   Corporation i~ York-Sdip[s.e, Inc., 293 F .2d 88, 95 (7th
        circumstances of the case, for any sum above the            Cir .l961) ("damages are not rendered uncertain because
        amount found as actual damages, not exceeding               they cannot be calculated with absolute exactness. It is
        three times such amount. If the court shall find that       sufficient if a reasonable basis of computation is afforded .")
        the amount of the recovery based on profits is              Under these teachings, the district court's $47,165 damage
        either inadequate or excessive the court may in its         award cannot        be    termed    "speculative ;" especially
        discretion enter judgment for such sum as the court         considering that it was based on unrebutted expert
        shall find to be just, according to the circumstances       testimony .
        of the case . Such sum in either of the above
        circumstances shall constitute compensation and             Moss further contends, however, that the award in this case
        not a penalty. The court in exceptional cases may           "imposes a hypothetical franchise contract onto the facts and
        award reasonable attorney's fees to the prevailing          makes an award for breach thereof," and thus "alas afoul of
         party.                                                     the rule" established in St . Charles iL/nnv/achving Cnnipom~
                                                                    v. d4ercer, 737 F .2d 391 (11th Cir.19R3) . In St. Charles,
In arriving at our conclusion, we are guided by well                defendants, developers of a townhome community in Palm
established principles, the first and foremost being that the       Beach, Florida, represented that their homes would contain
district court's damage assessment is entitled to deference:        "St. Charles kitchens" without reaching an agreement with
   'Great latitude is given the trial judge in awarding             the plaintiff, SL Charles, to do so . The plaintiff brought a
   damages, and his judgment will not be set aside unless the       trademark infringement action under the Lanham Act and
   award is clearly inadequate .' Drake n L1. DuPont dc             sought to recover the profit they would have made on the
   Nemnurs and Cnmpanv. 432 F.2d 276, 279 (5th                      sales to the defendants.
   Cir.1970) . This is especially true of an award fashioned
                                                                    We found this an "inappropriate measure of damages under
   pursuant to the Lanham Act which expressly confers upon
                                                                    the Act" and affirmed the district court's denial of relief. St .
   district judges wide discretion in determining a just
                                                                    Charles is clearly inapposite . Notwithstanding Moss's
   amount of *1565 recovery for trademark infringement .
   See I S U .S .C . § 1117 .                                       contention to the contrary, Ramada Inns did not seek to
                                                                    recover profits it would have received had it sold the use of
Holiday Inns, lnc . r . A[berding, 683 F .2d 931 (5th               its trademark to Gadsden during the infringement period .
Cir .1982) . See also Burger King v . :Mason, 710 F .2d 1480,       Rather, much of Ramada Inns' award represented franchise
1495 (1 Ith Cir .1983) (I S U .S .C . § 1117 "vests considerable    fees or "royalties" lost during the infringement period . This
discretion in the district court.") In making a damage              was entirely proper : "Royalties normally received for the
assessment, the district court may allow recovery for "all          use of a mark are the proper measure of damages for misuse
elements of injury to the business of the trademark owner           of those marks ." Hnlidqv Inns v. Airport HoGduc
proximately resulting from the infringers wrongful acts ."          Corporation, 493 F .Supp . 1029, 1028 (N .D .Tex .19R0)
Boson Professional Hockey r. Dallas Cap, 597 F .2d 71 (9[h          (citing Boston Professional Hockey Association v. Dallas
Cir .1979) (quoting Ohear-Nester Glass Compuiiv r. (/aired          Cup Mumufacnving, 597 F .2d 71 (5th Cir .1979)) .
Drug Comport v, 149 F .2d 671 (8th Cir .), cer(. denied, 326
U .S . 761, 6(, S .Ct . 141, 90 L .Ed . 458 (1945)) . Moreover,     B . Whether the district court erred in awarding Ramada Inns
Lanham Act damages may be awarded even when they are                trademark infringement damages in addition to the
not susceptible to precise calculations :                           liquidated damages.
   Where the wrong is of such a nature as to preclude exact
                                                                    [3] The partners next contend that the district court erred in
   ascertainment of the amount of damages, plaintiff may
                                                                    awarding Ramada Inns damages under both the liquidated
   recover upon a showing of the extent of damages as a
                                                                    damages clause of the franchise agreement and under the
   matter of just and reasonable inference, although the
                                                                    Lanham Act. The partners point out that the purpose of
   result may be only an approximation . Sion, Parchment
                                                                    including the liquidated damages in the agreement was to




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I : 2d 1562                                   Y011                                                                                                                                                                       was
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804 F2d 1562                                                                                                Page 5
55 USLW 2372, I U.S .P .Q2d 1011
(Cite as : 804 F.2d 1561)



partnership before the infringement occurred .

[4] Moss contends chat he is not liable for trademark                                     Conclusion
infringement damages because he extricated himself from
the partnership before the infringement period began. Moss       We have examined the partners' other contentions of error
points out that in his answer to Ramada Inns' complaint, he      and find them meritless. We also conclude that the district
denied that he was a general partner of Gadsden Motel            court did not abuse its discretion in trebling the damages,
Company, and he further contends that no evidence was            awarding prelitigation interest, and awarding Ramada Inns
adduced at trial or for purposes of summary judgment which       $20,000 in attorney's fees . For the foregoing reasons, the
indicated that he participated in the trademark infringement .   judgment of the district court is affirmed .
In response, Ramada Inns contends that Moss's liability was
determined under the district court's August 13, 1985, order      AFFIRMED .
granting partial summary judgment. Because Moss failed to
appeal that order, Ramada Inns claims that this court has no      804 F2d 1562, 55 USLW 2372, 1 U.S .P .Q .2d 1011
jurisdiction to consider Moss's claim. Finally, Ramada Inns
asserts that the "agreed summary" in the pretrial order           END OF DOCUMENT
stipulated that Moss was situated similarly to the other
partners and that Moss failed to claim a different status at
trial.

The district court denied Moss's post-trial motion to
extricate himself from trademark infringement liability
pursuant to Rules 52(b) and 59(e) of the Federal Rules of
Civil Procedure . The district court's order denying Moss's
motion adequately disposes of his arguments on appeal . In
disposing of the motion, the district court stated :
  Until the final judgment was entered all defendants were
  represented only by one attorney . On May 30, 1985 all
  defendants admitted owing $17,994 .24 to plaintiff. Moss
  made no attempt whatsoever to distinguish himself from
  the pack, and on August 13, 1985 the court entered partial
  summary judgment in favor of plaintiff and against al!
  defendants in the sum of $17,99424 and made the
  judgment appealable under Rule 54(b) Federal Rule of
  Civil Procedure. Moss did not take a timely appeal from
  that judgment and thus identified himself again with the
  other defendants . From the phrasing in Moss's post
  judgment motion he seems to claim that he should be
   relieved from any obligation even under the partial
   summary judgment of August 13, 1985 . Obviously his
   request comes too late. If he does not now intend to
  extricate himself entirely, then his earlier failure to
  distinguish himself constituted a confession of a lack of
   distinction.

The district court went on to point out that the plural
"defendants" appeared throughout the "agreed summary" of
the July 3, 1985, pretrial order, and that Moss never
attempted to distinguish himself or advance a defense
separate firm the other partners . We find Moss's contention
that the pretrial order was ambiguous unpersuasive. If Moss
withdrew from the partnership before the trademark
infringement began, as he contends, he must now pay for his
"want of caution in the proceedings " 1568 below ." Holiduv
Inns, Inc. c. il/herduig, 683 F .2d 911, 93d- ;5 (5th




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464 S .E .2d 895                                                                                                 Page I
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(Cite as : 219 Ga .App . 296, 464 S.E .2d 895)



                                                                 141 Conspiracy C~=4
4
                Court of Appeals of Georgia.                     91 k4 Most Cited Cases

  SAVANNAH COLLEGE OF ART & DESIGN, INC.                          141 Conspiracy C~=6
                     v.                                           91 k6 Most Cited Cases
 SCHOOL OF VISUAL ARTS OF SAVANNAH, INC. et
                                                                 In imposing civil liability for conspiracy, conspiracy itself
                    al .
                                                                 furnishes no cause of action as gist of action, if cause of
                       No . A95A1105.                            action exists, is not conspiracy alleged, but tort committed
                                                                 against plaintiff and resulting damage ; where act of
                        Dec. 4, 1995 .                           conspiring is itself legal, means or method of its
                                                                 accomplishment must be illegal.
College sued school, its president, and its affiliate alleging
tortious interference with college's existing and potential      151 Conspiracy C=3
business relationships with students, faculty, staff,            91 k3 Most Cited Cases
accrediting organizations and banks. The Superior Court,
Chatham County, Charles B. Mikell, Jr., 1., granted partial      [51 Conspiracy X13
summary judgment to defendants . College appealed . The          91 k 13 Most Cited Cases
Court of Appeals, Beasley, C.J ., held that if college can       Essential element in civil conspiracy is common design and
show there was a conspiracy to destroy it by toRious means       anyone, after a conspiracy is formed, who knows of its
existing before date defendants joined alleged conspiracy        existence and purposes and joins therein, becomes as much
and that these defendants joined conspiracy with knowledge       party thereto as if he had been an original member .
of its existence and purposes, they can be held liable for all   *'895 E.l . Hong, Sue Ellen Russell, Brand & Lowell, Ross
torts committed in furtherance of the conspiracy.                .4 . Nabatoff, Brand, Lowell & Ryan, Washington, DC, "298
                                                                 Erwin A. Friedman, Savannah, for appellant.
Reversed.
                                                                 Savage & Turner, Brenl J .        Savage, Robert B . Turner,
                      West Headnotes                             Savannah, for appellees .

/i/ Conspiracy 0=I.1
91kL1 Most Cited Cases                                           "896 *296 BE :\SLEY", Chief Judge.

Gravamen of any civil conspiracy claim is not alleged            Savannah College of An & Design ("SCAD") alleged that
collusion, but tonious conduct committed against plaintiff        Il defendants, together with 26 persons not named as
which proximately causes injury .                                defendants, entered a conspiracy to take over or destroy
                                                                 SCAD by illegal, wrongful, and tortious means. It seeks to
/2/ Conspiracy X13                                               hold defendants jointly and severally liable . See Cook v.
91k13 Most Cited Case,                                           Robinson . 216 Ga . 3?8, ;29(2), (d), 1 16 S.E2d ;42 (1960) .
                                                                 See also OCG.4 § ?I-12-30 . Specific torts were alleged
If college alleging conspiracy can show there was a              against various defendants . Among the defendants were the
conspiracy to destroy it by tortious means existing before       three involved in this appeal ; School of Visual Arts, Inc.
date defendants joined alleged conspiracy and that these         ("SVA"); Rhodes, SVA's President; and School of Visual
defendants joined conspiracy with knowledge of its               Arts of Savannah, Inc., SVA's Georgia affiliate. They were
existence and purposes, defendants can be held liable for all    alleged to have tortiously interfered with SCAD's existing
torts committed in furtherance of conspiracy, or common          and potential business relationships with students, faculty,
design, even though those torts were committed before            staff, accrediting organizations, and banks. Georgia allows
defendants joined alleged conspiracy .                           such a cause of action . See, e.g ., St. :14arv', Hosp., etc . v.
                                                                 Rndialogy Prq/essianul Corp., 205 Ga .App . 121 . 124(2) .,
[31 Conspiracy &~uw1.1                                           421 S .E .2d 731 (1992) . SCAD appeals from the grant of
91k1 .1 Most Cited Cases                                         partial summary judgment to these three defendants .

Conspiracy upon which civil action for damages may be            The court determined there was evidence from which it
founded is combination between two or more persons either        could be argued a conspiracy was formed, but no evidence
to do some act which is a tort, or else to do some lawful act    these defendants were involved prior to July 29, 1992, when
by methods which constitute a ton .                              SVA made its first contacts in Savannah . The court
                                                                 concluded that they could not he held jointly and severally




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liable for any torts committed by others before that date .           See lf5nidruf7v . Hughes, 2 Ga .App . 361, 365, 53 SF . »I
SCAD does not dispute the court's factual statement but               (1907) . The defendants point out that SCAD cites no
contends it erred as a matter of law because they were                Georgia case in which the principle has been specifically
co-conspirators .                                                     applied, only cases in which it is recited, but the courts of
                                                                      this state have **897 often repeated it as part of the law of
[ 1 ][?] SCAD recognizes it cannot recover separately for any         civil conspiracy in Georgia . See B/ockstone Indus. v . .4ndre .
tort of conspiracy and advances conspiracy as a means to              supra at 716, 203 S .E .2d 815 ; Peoples Loan Co . v Allen,
impute liability to all defendants for the acts performed by          199 Ga . 537, 55R(1), 34 S .E ?d 811 (1945) ; Grninger v.
only one or some . See Groover ~c Brandon, 200 Ga . 153,              Jackson, 122 Ga .App . 123, 128(=), 176 S .E .2d 279 (1970) ;
 IGd(3), 36 S .E .2d 34 (1945) . "The gravamen of any civil           .lecher r . Givuu:eu County, 110 Ga .App . 442, 447-44R(2),
conspiracy claim is not the alleged collusion, but toRious             138 S .E1d 895 (19G4) ; American Thread Co . r. Rochester.
conduct committed against the plaintiff which proximately             82 GaApp . 873, 884, 62 S .E .2d 602 (1950) . Indeed, the
causes an injury . [Cit .]" Rav r . Atlins, 205 UaApp . 85,           Supreme Court stated in Peoples Loan Co. . supra at
90(3), 421 S .E .2d 317 11992) . SCAD contends that under             SSS-559, 34 S .E .2d 811 : "While it is alleged that the
the conspiracy theory, any defendant who joins it is liable           original conspiracy was formed in August, 1943, and
for all acts committed in furtherance of an ongoing                   Peoples Loan Company is not shown to have been
conspiracy, even if committed before that defendant joined            incorporated until May 18, 1944, its entrance into the
" 297 it .                                                            conspiracy after its inception would equally bind it as to any
                                                                      wrongful act done by any one of the conspirators in
The defendants urge that the trial court was correct on this          pursuance of the general design . . . ." This court applied the
point.                                                                principle " 298 in .Archer, supra . The rationale is that the
                                                                      latecomer shares in the intended fivit of the conspiracy, the
[3][4] The law is that "'[a] conspiracy upon which a civil            purpose of it, which in this instance is allegedly the takeover
action for damages may be founded is a combination                    of SCAD or its destruction and replacement by SVA .
between two or more persons either to do some act which is            Defendants have not cited any Georgia case which has
a tort, or else to do some lawful act by methods which                disapproved the principle or applied one that is contrary, nor
constitute a tort . Where it is sought to impose civil liability      have we found one .
for a conspiracy, the conspiracy of itself furnishes no cause
of action . The gist of we action, if a cause of action exists, is    {Vi!lson r. .4ppn(nchinn, elc., Hardware Co . . 220 Ga .
not the conspiracy alleged, but the tort committed against            59911), 140 S .E .2d 830 (1965), also dealt with a defendant
the plaintiff and the resulting damage . [Cit .] . .. [W]here the     who had joined an ongoing conspiracy . A corporation was
act of conspiring is itself legal, the means or method of its         formed with the directors' full knowledge that the stated
accomplishment must be illegal .' [Cits.]" Cook, supra at             minimum capital of $100,000 had not been paid to the
32R-329(1), 116 S.E .2d 742. As quoted recently by the                corporation . After incorporation, Willson became a director .
Georgia Supreme Court from earlier cases: "'A conspiracy              Other misrepresentations were made, all of which induced
is a combination of two or more persons to accomplish an              plaintiff supplier to extend credit . Plaintiff sought to hold
unlawful end or to accomplish a lawful end by unlawful                Willson liable for damages flowing from the act of
means .' " U.S. 4nchor Mfg. r. Rile Indus. . 264 Ga . ?95.            incorporation in addition to various fraudulent acts later
297( 1),443 S. E.2d 833 (1994) .                                      committed . Willson demurred generally to the suppliers
                                                                      suit, arguing on appeal that he could not be held liable for
 [5] " ' "The essential element . . . is the common design . . . .    the corporation's debts because he was not one of the
 And anyone, after a conspiracy is formed, who knows of its           persons who organized it and transacted business before the
 existence and purposes and joins therein, becomes as much            minimum capital stock had been subscribed . /d. 2t 608( 1) .
 a party thereto . . . as if he had been an original member."         140 S .E .2d 830 .
 [Cit .]' [Cits .]" Cook, supra at 330(5), 116 S .E .2d 742 . It is
 this second statement from Conk that SCAD relies upon to             After detailing the facts and Willson's argument, the
 impute liability for acts committed before July 29, 1992 .           Supreme Court affirmed the demurrer's demise, reciting that
 The statement comports with the general theory of                    one who joins an ongoing conspiracy "knowing of its
 conspiracy law in the United States . See ISA C .J .S . § 19         existence and purpose, ... becomes as much a parry thereto
 and Chemetrnn Corp . v. Business Furats. 682 F .2d 1149,             as if he had been an original member . [Cit .]" f['illson, supra
  1190 (5th Gr .1982), which refers to this as an "immemorial         at G0911), 140 S.E .2d 8?0 . As this was the issue Willson
 common-law principle" and cites several cases including              presented on appeal, we take the opinion as an acceptance
 B(acA-s(one Indus . c. Andre, 232 Ga . 715 . 208 S .E.2d SIS         by the Supreme Court of the principle and apply it here as
 (1974) .                                                             the rule, fortified by the other cases cited above.

 The principle has been accepted in Georgia for some time .




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If SCAD can show there was a conspiracy to destroy it by
tortious means existing before July 29, 1992, and that these
defendants joined the conspiracy with knowledge of its
existence and purposes, they could be held liable for all torts
committed in furtherance of the conspiracy, or the "common
design," even though those torts were committed before July
29, 1992 .

Judgment reversed.

POPE, P.1 ., and RUFFIN, J., concur .

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        EXHIBIT / ATTACHMENT
                             5Z-,7
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p                                                                 131 Trade Regulation ~~. 19l
                                                                  3h_kd91 Most Cited Cases
       United States Court of Appeals, Fifth Circuit.
                                                                  Trade and service marks "Playboy", "Playboy Club" and
Othal L. TURNER and On-The-Town, Inc., d/b/a Atlanta's            "Playmate", through extensive use and promotion, acquired
                  Playboy Club,                                   a secondary meaning of sufficient strength to justify
                  Appellants,                                     enjoining infringement . 23 U.S .C .A . ja 1332, 1333 ;
                       v.                                         Lanham Trade-Mark Act, § 39, 1 5 U.S .C .A . § 112 1 .
 H M H PUBLISHING COMPANY, Inc ., et al ., Appellees .
                                                                  I;I Trade Regulation X726
                          No . 24039.                             382026 Most Cited Caws

                       July 10, 1967 .                            Contentions of defendants as to weakness or strength,
                                                                  through secondary meaning, of marks involved questions of
Action to enjoin the use of plaintiffs' trade and service         fact implicit in finding of confusion, and such finding unless
marks by defendants in their operation of a nightclub and         clearly erroneous would not be disturbed. 28 U .S .C .A . §§
restaurant known as 'Atlanta's Playboy Club .' The United         1332, 13321; Lanham Trade-Mark Act, § 39, IS U.S .C .A . §
States District Court for the Northern District of Georgia,       1121 .
Lewis R. Morgan, I., 222 F.Supp. 145, entered judgment for
plaintiffs granting a permanent injunction, and defendants        [51 Trade Regulation X513
appealed . The Court of Appeals, Ainsworth, Circuit Judge,        3R2k513 Most Cited Cases
held that trade and service marks 'Playboy', 'Playboy Club'       Confusion was not precluded between use of trade mark
and 'Playmate', through extensive use and promotion,              "Playboy" for a magazine and its use by defendant for a
acquired a secondary meaning of sufficient strength to            nightclub on theory that goods and services of each were
justify enjoining infringement . It was also held that registry   noncompeting, where plaintiff publisher also held registered
of mark 'Playboy' in connection with operation of nightclub       service marks "Playboy Club" for operating private social
or restaurant was not void on theory that registrant did not      clubs which feature food, drinks and entertainment and
operate nightclubs but relied for validity of its marks on        "Playboy" for operation of establishments which feature
operations of such clubs by third-party sublicensees, where       food, drink, and entertainment. 29 U .S .C .A . §§ 1332, 13?3 ;
registrant fully controlled and dictated nature and quality of    Lanham Trade-Mark Act, § 39, IS L.S .C .A . § I 121 .
goods and services used in connection with the trade and
 service marks by the several licensees .                         161 Trade Regulation E~513
                                                                  382013 Most Cited Cases
Affirmed .
                                                                  Fact that plaintiffs' mark dealt with a magazine and
                      West Headnotes                              defendants' with a nightclub was immaterial where the two
                                                                  were intermeshed in the public mind . 28 U.S .C .A . §§ 1332,
I lI Trade Regulation F.=258                                      1338 ; Lanham Trade-Mark Act, § 39, I S U .S .C .A . § I 1 .1 .
382k256 Most Cited Cases
                                                                  171 Trade Regulation 6 .153
Under Lanham Act, registration of a trade mark confers            3R2k 153 Most Cited Cases
only procedural advantages and does not enlarge registrant's
rights, for ownership of the trade mark rests on adoption and     Registry of mark "Playboy" in connection with operation of
use, and not on registration . Lanham Trade-Mark Act, §§ I        nightclub or restaurant was not void on theory that registrant
et seq., 45, 15 U.S .C .A . §§ 1051 et seq., 1127 .               did not operate nightclubs but relied for validity of its marks
                                                                  on operations of such clubs by third-party sublicensees,
121 Trade Regulation X251                                         where registrant fully controlled and dictated nature and
3R2k251 Must Cited Cases                                          quality of goods and services used in connection with the
                                                                  trade and service marks by the several licensees. Lanham
Court would not assume any knowledge on part of                   Trade-Mark Act, § 5, IS U .S .C .A . § 1055 .
purchasing public by mere registrations in patent office, nor
would it assume that marks are in continuing use, so as to        181 Trade Regulation X63
have any effect on mind of purchasing public merely               332k6± Moll Cited Cases
because they had been so registered . Lanham Trade-Mark
Act, §§ I et seq., 45, 15 U.S .C .A . § 1051 et seq., 112? .      A trade or service mark may be acquired through its use by
                                                                  controlled licensees, even though the registrant itself may




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not have used the mark . Lanham Trade-Mark Act, § 5, I S           unauthorized use of the name 'Atlanta's Playboy Club; in
US .C .A . § 1055 .                                                April 1962, the monthly circulation of Playboy Magazine
                                                                   was 1,310,069 copies and when this case was tried it had
Trade Regulation C~z7736                                           reached a monthly circulation of 3,366,000. More than
382036 Most Cited Cases                                            170,000,000 copies have been sold . Its circulation is both
                                                                   nationwide and international .
Playmate
                                                                   Hugh M . Hefner was the organizer of HMH and is the
Trade Regulation &736                                              owner of 80 per cent of its stock . He has been its president
382k736 Most Cited Cases                                           and one of its directors from the beginning . In 1957, HMH
                                                                   announced the intention to use its trademarks directly in the
Playboy                                                            night club business . In . 1959, Hefner and two associates
                                                                   organized"226 Chicago Playboy Club, Inc ., which later
Trade Regulation &=736                                             opened the first club in Chicago . In 1960, the same persons
382036 Most Cited Cases                                            organized plaintiff Playboy Clubs International, Inc . and by
                                                                   agreement with FIMH, International was granted an
Playboy Club                                                       exclusive license, as master licensee, to use the HMH
*225 Henry M . Hatcher, Jr., Hatcher, Meyerson, Oxford &           marks, alone or in combination, for the operation of key
Irvin, Atlanta, Ga ., for appellants .                             clubs with standards established and to be established by
                                                                   HMH for quality and conduct to be identified with the key
David J . Krupp, Chicago, III., Hoke Smith, Atlanta, Ga .,
                                                                   clubs and the HMH marks . International was granted the
Devoe, Shadur, Mikva & Plotkin, Chicago, 111 ., Smith,             right to grant sublicenses to others for the purpose of
Cohen, Ringel, Kohler, Martin & Lowe, Atlanta, Ga ., for
                                                                   operating such clubs using the marks and subject to the
appellees. Dressier, Goldsmith, Clement & Gordon,
                                                                   approval of HMH . On February 29, 1960, Chicago Playboy
Chicago, 111., of counsel.
                                                                   Club, inc . opened a key club named Playboy Club of
                                                                   Chicago under the licensing agreement described, and on
Before COLEMAN and AINSWORTH, Circuit Judges, and
                                                                   May 6, 1961, a similar licensed club was opened in Florida
CARSWELL, District Judge.
                                                                   known as Miami Playboy Club . Subsequently a license was
                                                                   granted to Playboy Club of Louisiana which opened the
AINSWORTH, Circuit Judge :                                         New Orleans Playboy Club on October 5, 1961 . Therefore,
                                                                   in April 1962, when defendants opened their club in Atlanta
HMH Publishing Company, Inc. (HMH) and Playboy Clubs               under the name of 'Atlanta's Playboy Club ; the Chicago,
International, Inc. (international), Delaware corporations,        Miami and New Orleans clubs licensed by plaintiffs were
both with principal place of business in Chicago, Illinois, as     already in operation . Subsequently additional clubs have
plaintiffs, brought this suit against Othal L. Turner and          been licensed and opened in New York City, Phoenix, St .
On-The-Town, Inc., d/b/a Atlanta's Playboy Club, Georgia           Louis, Detroit, Kansas City, Baltimore, Cincinnati, Los
citizens, defendants, to enjoin the use of plaintiffs' trade and   Angeles, Atlanta and Jamaica .
service marks by defendants in their operation of a night
club and restaurant known as'Atlanta's Playboy Club .'             The gross receipts of International and the clubs have
                                                                   increased spectacularly from 1960 to 1965 . International has
The suit is based on diversity of citizenship (.d U .S .C . y      promoted the clubs through magazine, newspaper and radio
1332), on 28 U.S .C . § 1338 relating to actions involving         advertising, use of public relations firms, etc ., and has spent
trademarks, and on the Lanham Act (15 U .S .C . § 112 1) . It is   a total of $5,158,088 in promotion expenses during that
alleged that defendants wilfully infringed on trade and            period . In addition to holding a registered trademark for
service marks of plaintiff HMH, especially in the use of the       Playboy Magazine, HMH also holds service marks for 'The
trademark and service mark 'Atlanta's Playboy Club' and in         Playboy Club' for operating private social clubs which
the use of the marks 'Playboy' and 'Playmate' in the               feature food, drinks and entertainment' registered March 5,
conducing of a night club and restaurant . From a judgment          1963 ; another mark entitled 'Playboy' for 'operation of
in favor of plaintiffs, granting a permanent injunction            establishments which feature food, drink and entertainment'
against the use of these marks, defendants have appealed .         registered May I?, 1964 . It likewise has registered
                                                                   trademarks for 'Playboy's boy's Playmate of the Month ;
 HMH began the publication of 'Playboy' Magazine in                featured in the magazine 'Playboy,' registered May 6, 1958
 November 1953 and registered the trademark 'Playboy' for a        and 'Playmate' for calendars registered September 26, 1961,
 monthly magazine on December 28, 1954 with the United             for perfume registered May 7, 1963, and for bracelets, ankle
 States Patent Office . When defendants began the alleged          bracelets, earrings, etc . registered September 29, 1964 .




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There are more than 440,000 members of these clubs                    had been exercised in the selection of the licensees; and the
residing in all of the states, including Georgia, who hold            HMH controlled the nature and quality of the services of the
keys to these clubs for which they have paid $25 to $50               clubs so that the services would be compatible with the
each. The key allows access to any of the clubs in the chain.         nature and quality of the magazine and products of HMH.
                                                                      The district judge held that HMH had taken an active part in
Defendant Turner purchased the night club known as 'The               promoting the clubs and that the consuming public
Anchorage' in Atlanta in 1958, and operated it through the            recognized the clubs and the services of the licensee under
corporate defendant. In April 1962, the corporate defendant           the wade and service marks as having been approved and
registered the trade names 'Atlanta's Playboy Club' and               licensed by HMH . He also found that the mark 'Playmate'
'Playmate' in the Clerk's Office of the Superior Court of             had been widely publicized by HMH and International . He
Fulton County (Atlanta), Georgia. At the time Turner knew             held that defendant changed the name of 'The Anchorage' to
of the existence of Playboy Magazine and of the Chicago               'Atlanta's Playboy Club' with full knowledge of the
and Miami Playboy Clubs which had been licensed by                    existence of the use of the trademark 'Playboy' by HMH,
International . The name of The Anchorage' was changed by             including its use in Playboy Magazine, and with the
defendants to'Atlanta's Playboy Club' and defendants began            knowledge of the existence of the Chicago and Miami
to advertise the club in Atlanta newspapers with a picture of         Playboy Clubs franchised by International . He referred to
a girl dressed in a costume closely resembling the famous             the newspaper advertisements of defendants with the picture
bunny costume featured by HMH. The advertisement stated               of a girl dressed in a costume closely resembling the bunny
'No membership required .' It was not a key club . One of the         costume of HMH. He found that the use of the name
 rooms in defendants' establishment at another location was           'Atlanta's Playboy Club' was confusingly similar to the
 called'The Playmate Lounge .'                                         names of International's franchisees, Chicago Playboy Club
                                                                      and Miami Playboy Club ; That telephone calls had been
 We are called upon to decide whether plaintiffs have                  received by Turner and correspondence by plaintiffs which
 established that the terms 'Playboy' and 'Playmate' have              showed actual confusion by the public as to an affiliation
 attained a secondary meaning in connection with their                 between defendants' operation and those franchised by
 operation of night clubs and restaurants as to justify                plaintiffs . The district court concluded that the defendants
 enjoining defendants' club from using the trade and service           had wilfully adopted and infringed the trade and service
 marks, where such use adversely affects plaintiffs' activities        marks of HMH with the intention of passing off their
 in interstate commerce . Also, we must decide whether under           business as one licensed, sponsored, approved or connected
 the L.anham Act (15 U .S .C . §§ 105 and 1127 ) the use *227          with HMH or its nationally known magazine 'Playboy' or
 of the registered marks by plaintiffs' licensees inures to            with the clubs which it had licensed ; that the continued use
 plaintiffs' benefit because such licensees are 'related               by defendants of the name 'Atlanta's Playboy Club' would
 companies' within the meaning of the Act, by virtue of the            damage the rights of HMH in its marks of 'Playboy' and
  fact that the nature and quality of their goods or services are      'Playmate' because the public is likely to continue to be
  controlled by plaintiffs .                                           deceived or confused into believing there is some trade
                                                                       connection between plaintiffs and defendants . Accordingly,
 The district Judge, sitting without a jury, rendered his               the defendants were enjoined from the use of the name
 written decision in well-reasoned, detailed findings of fact           'Atlanta's Playboy Club' or the use of the marks 'Playboy' or
 and conclusions of law. He held that Playboy Magazine had              'Playmate .'
 for many years enjoyed wide circulation throughout the
 United States (including Atlanta and the State of Georgia) ;          We are in agreement with the findings of fact of the district
 that HMH had extensively advertised its trademark                     judge which are amply supported by the evidence, and with
 'Playboy' throughout the United Stakes ; had advertised and           his conclusions of law.
  sold in interstate commerce under its trade and service
  marks 'Playboy' services and consumer items; and that the            [ I ][2][3] Defendants contend that the trademark 'Playboy' is
  wide publicizing of the name 'Playboy' through the                   a weak or descriptive term because it is a common word,
  magazine and through the sale of these items had caused the          and because of wide prior usage by other magazines and
  trademark to be identified by the general public with HMH            clubs; that since plaintiffs do not operate a key club but only
  and is products . He found that in December 1959, HMH                license such clubs, they exercise no control over them and
  began to solicit membership applications for its Chicago             have no property `228 right in the trademark. Under the
  Playboy Club which featured food, drink and entertainment;           Lanham Act (IS U.S .C . $ 1051 et seq.), registration of a
  that a controlled license had been granted to International          trademark confers only procedural advantages and does not
  for the exclusive right to use and sublicense the trade and          enlarge the registrant's rights, for ownership of the
  service marks of HMH to identify clubs operated in Chicago           trademark rests on adoption and use, not on registration . See
  and other principal cities in the United States ; that great care    Faciane v. Stamer, 5 Cir. . 19 56 . 230 F .2d 732 . However, the




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       record is replete
      marks [Ftil) by with evidence of continuous
                          plaintiffs who                        use of the
      international                        have built a                                                    (-7) The
                     business reputation                    national ;,~d                                              contentions of the
     publicized and
                      Promoted the;r trade and have extensivel                                            (through                                 parties as t~
     cost of millions
                         of dollarsr         and servi                  Y                                 questions seconds,-y, meaning/                                  weakness or strength
    marks 'Playbo                                                                                                               fact                              Of' th e marks ;~in
                                      ~moh-) The tra                                                      confusion                                 ~n 'nIF, e trial                             e
        row
    through         y'~~p~~Yboy Club' and 'pea              ndk~e
                                                                                                         should unit rb `4] a ~.~,        ~~o~ht find'
                                                                                                                                                     ~ d S~                             riding of
              extensive use and                   Yma ee iF~N3                                                                e list1                               unless clean
    a secondary mean .              ro qon of                       havee                                                                                   ll
                             8 of su(licient
                                                  Plaint i(T's,                                          ~~jahe, inc 5 ~~1 r., ,~~3dz American Foods, Inc. erroneous
   enjoining                                                    acquired                                                                        L F.2d G79.                          v. Golden
   Air. Sys. Infringement      by defendants strength [o justify
               a. i~'orth                     . See No,yh                                                             FNS . The
   F~-=d205,              American     q viaGon, 4            America;,                                                               Lanham q~~ (IS
                                                    Cur., ~ySS, _3                                                   provides that a                                   U.S,L~, a ~ ~        ~~
                                                                                                                                               person shat!                            14(f
                                                                                                                     action                                             be  liable
                                                                                                                               who shat!                                            in
               F~`I . The evidence
                                             is impressive                                                          o/'the registrant in commerce, use without a civil
              in commerce                                           that the use                                    use is likely              any    registered marork                unseat
              Lariliar~ Act as defined    defiLy (hy
                                                                    ~~Section~~1,45 of the
                                                                                          was
                                                                                                                   deceive purchasers
                                                                                                                                        to cause
                                                                                                                                                        confiis       ;on
                                                                                                                                                                                 'which such
                                                                                                                                                                               mistake or
             defendants' contrary                                                                                  such goods or                  as to the                                   to
                                            argument . For                          despite                                             services . ''                  source   or origin of
             date of the trial                                      example, at the
                                     (p«oher
             440,Opp keY                                20,
                              holders in all the 1965 ), there were                                     ]f6) Uefendanis
            keys had                                           states, and                            confusion in this argue that there is
                                                                                                                                                                          no evidence
            August 5, ~~ sold to Georgia residents 13,329                                             'Playboy' for a            case between
                                                                                                                                                        the use of the                      of
                           1965). Qillin                                            (as   of                                  magazine, and its                                   trademark
            clubs was from                     g    for credit charges                               night club;                                           use       b
                                  the Chicago                                        a~ all                             that     the gads                              y  defendant for a
           state lines .                                   h eadquarters ,                           s^o° P8 and,                                  and services
                           Supervision and                                         across                                         therefore                                  of each are
           quality of gogoods                          control of nature                                    entitled to protection               that the
           from the Chicago and services were by                                       and          Curp, ~f
                                                                                                                America
                                                                                                                                            . We field, registered trademark
                                  office .                             persons sent                 3p~, p.zd ~j, ' L ~", q,1hcuser- Qusch,                    however in
                                                                                                                                                                                 Chemical
                                                                                                                                  A .L                               In-       Cir.
          f~NZ . Defendants                                                                        competition w.~~h respect.R .3~ 739, that 'the                                         7
          cop; op~~~d_ Pam       submitted a                                                       exist to warrant                     to the                                concept of
                                                       number of exhibits                                                                          Particular Product
         the name 'Playboy, registrations of                                           op                                     actions of                                         need not
                                                                   trademarks of                  defendants ;gnomes                           this kmd.' 77,e
                                   in aid of their                                                                             the fact    that                            argument of
         mark Playboy'                                          gumem that the                    Playboy     bfagaZ~~e~ also holds Plain"' Ff11~I{, publisher
                               was weak and argument
         usage by                                                                                                                                                                        of
                      the public . However, diluted by wide                                       Playboy Club' for
                                                                                                 feature food,
                                                                                                                                               registered
                                                                                                                                'operating private service marks : 'The
        contend that (heir                                 defendants                                                 drink aid                                social clubs
                                use of the term                                do not                                                  entertainment
        ofplaintif(s . We                                    e, as prior to                      'operation of                                                ,' and 'playboy'     which
        the part of           will  not     assume        any                      that                             establishments
                            the purchasing                       ~owledge on                    entertainment      .' dye agree             which      feah,re food d~                 for
       registrations in                                                by                       that the Fact                          with the trial
                              the Fatent                  Public                  mere                           that    one mark deals                          court's conclusion
       assume that the                            Office nor                                   the other with                                    *Z29 with a [he               ~o ~e
                             marks are in                                will w~                                     a night club                                       magazine and
       to have any                                continuing use, so as                        intermeshed        in                     is  immaterial
                        effect on the
      public merely                           mind                                             Magaz ;ne and the public mind . 1'o                               since
                          because they had of the purchasi                                                             the several                         the public
                                                                                                                                                                              Playboy
      See J. C.                                        been so registered                     business en~e rprise                        Playboy Clubs
                       Hall                                                                                                .     e Esquire                              are a single
      Inro rpnratrd, C.(',p.q C°Pa~~)"           ~' .   Hallmark                              Manufacturing                   See                  inc.    s,  .
                                     ....m ~q~~~. ~,y~                     Cards,,                                  Co, 1 Cir., 19
     Application                                              .~ F                                                                       57, 2q3 F .2d Esquire Slipper
                     of'Helene Cmtis                                2d yhp                   f71                                                               540.
     3~~ F.~d 4v~~ 49 ~~C~,.,~ 1 ~h_ fndustrie,. ~n~., lyh_                                         pefendants also
                                                                                            mark 'Playboy, ,                 contend that
                                                                                                                                                  FRvIH's
    1`110 . Admittedly, Turner                                                              club or restaurant connection with the                                 registry of
                                              San                                          night                        i,   void                       operation of a the
    'Playboy' was                                     use of both                                    clubs but relies               because HMH                                 night
                           'Playmate' at                                   terms                                              for the Validity               does not operate
    However, plaintiffs                                  e same                            operations of                                               of
                                withdrew their                             rime,                                such clubs by                               I~ Marks on the
   pleading which                                      heir supplemental                   look the stature
                         related to the                                                                          fur the answer. third-party sublicens~s. ~,e
        order to avoid                        term
                               a continuance p~ayma~e~only,                               Sectiun 5 of the
  Defendants say, therefore                                                                                      Lanham Act (IS U
  was not before                          that the tert                 case .                                                                           ~~~~
                       the court and                             `he                                                                                                ) provides :
  is erroneous.                             its order in                                             a
                                                                                         'Where registered mark or
                     This contention                           this regard              is  or                                     a
 that the pleadings
 origin                                        disre                                              may be used                          mark sought ~o ~
                          which remained Bards the fact                                 use sshall                    Ingitimately by                                   registered
                filed kere broad                      and    which were                                  are   to
                                                                                                       lncompanies, the benefit               related
  e~ 'Playmate,' and                      enough                                        for   registration,                           of  the                                 such
                                                       to                                                      and ssuch use                         ~Str~
received evidence             the trial judge include the                              such mark or                                 shall notreall ~~ orapplicant
                         as Io that terry                so ruled and                                       of its registration,                                he validity of
                                                also .                                 used in such                                     provided such
                                                                                                          manner as to                                             mark is not
                                                                                                                              deceive
                                                                                      The tern,                                           the Public,,
                                                                                                       'related
                                                                                      defined in Section company' referred to
                                                                                                                   qs of the                            in
                                                                                                                                     Act (1S ~~ .S .C, Section    s         S
                                                                                                                                                                       11_7) as
                                   Copt. r,
                                                West 004 No Claim 10
                                                                                    Oqg, U.S . Govt
                                                                                               .             Works
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follows:                                                            We are, therefore, of the opinion that the judgment of the
                                                                    district toad was correct, and it is
'The term 'related company' means any person who
legitimately controls or is controlled by the registrant or         Affirmed .
applicant for registration in respect to the nature and quality
of the goods or services in connection with which the mark          380 F2d 224, 154 U.S .P .Q . 330
is used.'
                                                                    END OF DOCUMENT
Relying on the preceding sections of the Lanham Act,
plaintiffs have introduced ample evidence to show that
HMH fully controlled and dictated the nature and quality of
the goods and services used in connection with the trade and
service marks by the several licensees . When a license is
granted to a franchisee, it is required to meet standards
established by International which in tam are dictated by
IiMH . These standards relate to decor, design, quantity and
quality of food, beverages and entertainment in the clubs.
Each club must conform to the standards already established
 for existing clubs and the agreements with franchisees are
 made expressly subject to the terms of International's license
 with HMH . International hires and supervises personnel of
 all the clubs and the right of supervision is a continuing
 program.

 The clubs are policed by executives of HMH and by two
 independent services who regularly and periodically visit
 the clubs and report on the maintenance of standards for
 food, beverages, services and decor. At HMH's direction
 International has prepared an operating manual for use in
 the clubs so each is run in exactly the same manner . All
 billing of club members for credit charges at the clubs is
 made from Chicago. HMI-Ps service marks are, therefore,
 extensively used in commerce . The trial judge found-- and
 we agree-- that the nature and quality of the services
 rendered at the key clubs under the trade and service marks
 were controlled by plaintiff HMH. [FNS]

           FNS Plaintiffs also point out that the record shows
           .
           the HMH now owns a controlling stock interest in
           International and that International now owns all of
           we stock in the Chicago Club and the other clubs
           except Boston (where it owns 50%), Baltimore
           (5%), and St . Louis and Detroit.

  [3] In our view, Section 5 of the Lanham Act definitely
  contemplates that a trade or service mark may be acquired
  through its use by controlled licensees, even though the
  registrant itself may not have used the mark . See AlieatCompny
             v. Robert Bruce, Inc., E.D .Pa ., 1919 . 176 F.Supp.
  377 . [Fti6]

           F1vG . Plaintiffs Cite in re Joseph Bancroft & Suns
           Co ., 129 U .S .P .Q . 329 (1961) in accord with this
           view of the law ; defendants cite In re C. B . Donald
           Co ., 122 G.S .P .Q . 401 (199) contra .




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        EXHIBIT / ATTACHMENT

                              E5~D
                    (To be scanned in place of tab)
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                                                                                                                                             is
                                                                                  Proof that a trademark possesses "secondary meaning"
                                                                                                                      sought  for "descriptive"
                                                                                  required only when protection is
                                                                                  marks, as opposed to "arbitrary" or "suggestive" marks.
                  United States Court of Appeals,
                         Eleventh Circuit .
                                                                                  121 Trade Regulation X11
                                                                                  SR_kl 1 Most Cited Cases
          UNIVERSITY OF GEORGIA ATHLETIC
           ASSOCIATION, etc., Plaintiff-Appellee,
                          v.                                                      121 Trade Regulation C~i3
                                                           Distributing           3S2k 13 Most Cited Cases
  Bill LAITE, individually and d/b/a Bill Laite
                      Co ., Defendant-                                            Secondary meaning is not a general prerequisite for trade or
                         Appellant .                                                                                                    which
                                                                                  service mark protection, but is only a means by
                                                                                               unprotectable descriptive marks   may    obtain
                              No . 84-8179.                                       otherwise
                                                                                  projection .
                              April 8, 1985 .
                                                                                   131 Trade Regulation fWl3
                                                            brought suit           382k13 Most Cited Cases
 University of Georgia Athletic Association
                                   beers,    who    marketed      beer cans
 against wholesaler of novelty                                                     (31 Trade Regulation $=24
                   English    bulldog,      alleging     that     the cans
 portraying an                                                                     3R2k24 Most Cited Cases
                                                    bulldog      chosen    by
 infringed on the portrayal of an English                                          [31 Trade Regulation X32.1
                                for  its  athletic   teams.   The     United
 the university as a symbol                                                        3R2k32 .1 Most Cited Cases
                                                  District of Georgia,
 States District Court for the Middle                                               (Formerly 38202)
                                                permanently         enjoined
 Wilbur D . Owens, Jr., Chief Judge,
                                 or  distributing     the beer     under  the
  wholesaler from marketing                                                        Secondary meaning converts a word originally incapable of
              label design,  and  wholesaler       appealed    . The CouA                                                               arbitrary,
  challenged                                                                       serving as a mark into a full-fledged trademark ; an
                                                            : (1) proof of
  of Appeals, Kravitch, Circuit Judge, held that                                   fanciful, or otherwise distinctive     word   qualifies  as a
                           required    in  an  action   under     section of
  secondary meaning is                                                             trademark  immediately,   because  in a particular  industry  it
                 Act  pertaining    to   false   designation       of origin
  the Lanham
                                              a "descriptive"       mark, as       has no primary meaning to overcome ; in the case of words
  only when protection is sought for                                               with primary meaning, the reverse is hue; such words, be
                  "arbitrary"  or "suggestive"       mark   ; (Z)   portrayal
  opposed to an                                                                    they descriptive or geographical, are initially nonregistrable
                                                           symbol for its
  of English bulldog chosen by university as                                       and unprotectable unless and until they have attained
  athletic teams was "suggestive;"        if not   "arbitrary    ;" and thus
                                                 secondary       meaning     in     secondary meaning as trademarks .
  association was   not  required   to  prove
             prevail  on  Lanham      Act    claim;    (3)   even if court
  order to                                                                          141 Trade Regulation X870(2)
                                                   factors in comparing
   below failed to consider some relevant                                           3B2k870(2) Most Cited Cases
   the two bulldog     portrayals,      such    did   not constitute an
                                                                 (4) District        (Formerly 382k870 . I )
   independent basis for reversing court's decision;
                                        of  the    beer   cans      created a                                                                   is
   Court's conclusion that sale                                                     Proof that a trademark possesses secondary meaning
                   confusion"   was    not  clearly   erroneous      ; and (5)                                       section  of the Lanham   Act
   "likelihood of                                                                   required in an action under
                                                 disassociating       the beer
   fact that cans contained a disclaimer                                illegal     prohibiting false designation of origin only when protection
                                insufficient      to  remedy       the
   from the university was                                                          is sought for a descriptive mark, as opposed to an arbitrary
   confusion .                                                                      or suggestive mark ; disagreeing with Universal City
                                                                                    Studios. /nc. v. :h''inrenJu Co . . 578 F .Supp. 911 . Lanham
   Affirmed .                                                                       Trade-Mark Act, § 43(a), I S U.S .C .A . § 1125(a).
                               West Headnotes
                                                                                    151 Trade Regulation `E-X870(2)
                                                                                    ;32k370(2) Most Cited Cages
    I lI Trade Regulation `&-13                                                      (Formerly 382k870 .1)
    382k13 Must Cited Casts
                                                                                     Portrayal of an English bulldog chosen by university as
    I lI Trade Regulation `E--' 24                                                   symbol for its athletic teams was, at best, a "suggestive"
    392k24 X'Iusr Cited Cases                                                        mark, if not an "arbitrary" mark, and thus university athletic
                                                                                     association was not required to prove secondary meaning in
    I lI Trade Regulation X25                                                        order to prevail on false designation of origin claim.
    332k2i Most Cited Cases                                                          Lanham Trade- Mark Act, § 43(a), I S U .SC.A . § 1125(a).




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16/ Trade Regulation X727                                         (Formerly 382k334)
382k727 .Most Cited Cases
                                                                 / III Trade Regulation X870(2)
Even if Court of Appeals were to agree with defendant in         3R3kR70(2) Most Cited Cases
trademark infringement action that court below failed to          (Formerly 382kR70.1)
consider some of the factors relevant to determination of a
"likelihood of confusion" between two trade or service           Rule that the "confusion" between products necessary for an
marks in determining that sale of defendant's product            infringement claim need not relate to the origin of the
created a "likelihood of confusion," such did not constitute     challenged product but may relate to public's knowledge
an independent basis for reversing court's decision . Lanham     that the trademark originates with the plaintiff applies to
Trade-Mark Act, § 43(a), I S U .S .C .A . C 1125(a).             claim under section of Lanham Act pertaining to false
                                                                 designation of origin, as well as to claims for infringement
/7J Federal Courts X853                                          of federally registered trademarks . Lanham 'Grade-Mark
170Bk853 Most Cited Cases                                        Act, § 43(a), 15 li .S .CA. § I 125(x) .

A district court's factual finding is clearly erroneous when,    1121 Trade Regulation f=375.1
although there is evidence to support it, reviewing court on     382k375J Most Cited Cues
the entire evidence is left with the definite and firm            (Formerly 382k375)
conviction that a mistake has been committed.
                                                                 Fact that seller of novelty beer can whose portrayal of
181 Trade Regulation X870(2)                                     English bulldog on can infringed on portrayal of English
382k870(2) Most Cited Cases                                      bulldog chosen by university as symbol for its athletic teams
 (Formerly 382k870. 1)                                           placed a disclaimer on the can stating that the beer was not
                                                                 associated with the university was insufficient to remedy the
In action in which University of Georgia Athletic                illegal confusion.
Association alleged that sale of novelty beer cans portraying
an English bulldog infringed on "University of Georgia           Trade Regulation E~;P736
Bulldog" mark chosen as the symbol for university athletic       3R2k736 Most Cited Cases
teams, finding of district court that sale of the beer cans
created a "likelihood of confusion," in violation of section     University of Georgia Bulldog
of Lanham Act prohibiting false designation of origin, was       *1536 William IL Major, Atlanta, Ga ., Lamar W . Sizemore,
not clearly erroneous. Lanham Trade-Mark Act, § 43(a), 15        Jr ., Macon, Ga ., for defendant-appellant .
U.S .C .A . $ 1125(a) .
                                                                 Nickolas P. Chilivis, Kenneth G. Menedez, Atlanta, Ga ., for
191 Trade Regulation E.:
                       ..42                                      plaintiff- appellee .
382k4= Most Cited Cases
                                                                 Appeal from the United States District Court for the Middle
Fact that many other colleges, junior colleges, and high         District of Georgia.
schools used an English bulldog as an athletic symbol did
not significantly diminish strength of university's bulldog      Before ICRAVITCH and ANDERSON, Circuit Judges, and
mark used as symbol for its athletic teams, where almost all     ATKINS [FN'], District Judge .
the other schools were geographically remote, used a
different color scheme or had names that began with a                     FN* Honorable C. Clyde Atkins, U.S . District
different letter .                                                        Judge, Southern District of Florida, sitting by
                                                                          designation .
1101 Trade Regulation f~331
382k331 :Host Cited Cases
                                                                 KRA VITCH, Circuit Judge:
Even unauthorized third-party uses of a trademark do not
necessarily render the mark "weak" ; proper inquiry is           In the fall of 1982, when the fancy of Georgia sports fans
whether unauthorized third-party uses significantly diminish     fumed to thoughts of college football, Bill Laite Distributing
                                                                 Co. *1537 ("Laite"), a Macon, Georgia wholesaler of
public's perception that the mark identifies items connected
                                                                 novelty beers, began marketing "Battlin' Bulldog Beer ." The
with the owner of the mark .
                                                                 beer was sold in red-and-black cans bearing the portrayal of
I 111 Trade Regulation F~;P334.1                                 an English bulldog wearing a red sweater emblazoned with
382k334.1 Moss Cited Cases                                       a black "G ." The bulldog had bloodshot eyes, a football




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tucked under its right "arm," and a frothy beer stein in its       cans of "Battlin' Bulldog Beer" to stores in the Atlanta area
left "hand ."                                                      and throughout Georgia. One side of the cans contained the
                                                                   portrayal of an English bulldog described earlier. The
Laile hoped that the "Battlin' Bulldog" would pile up              opposite side of the cans contained the words, "BA'ITLIN'
yardage and score big points in the always-competitive             BULLDOG BEER" (in prominent red block letters), and,
alcoholic beverage market. Unfortunately, however, the             "Not associated with the University of Georgia" (in small
pug-faced pooch was thrown for a loss by the University of         silver print) . Lame previously had sought permission from
Georgia Athletic Association, Inc. ("UGAA"), which                 UGAA to use an exact reproduction of the "University of
obtained preliminary and permanent injunctive relief in            Georgia Bulldog" on the cans, but such permission had been
federal district court based on the "likelihood of confusion"      denied .
between the "Battlin' Bulldog" and the "University of
Georgia Bulldog." Laite now cries "foul," arguing that (I)         Upon teaming of the appearance of "Battlin' Bulldog Beer"
the "University of Georgia Bulldog" is not a valid trade or        on the market, [FNS] UGAA informed Laite that it believed
service mark worthy of protection, (2) the district court used     the cans infringed its registered and unregistered marks, and
the wrong factors in comparing the "Battlin' Bulldog" with         demanded that Laite cease distributing the beer. When Laite
the "University of Georgia Bulldog;" and (3) the court's           refused, UGAA filed suit against Laite in the United States
conclusion that the sale of "Battlin' Bulldog Beer" created a      District Court for the "1538 Middle District of Georgia.
"likelihood of confusion" is clearly erroneous . After             UGAA sought actual and punitive damages, an accounting
viewing a "replay" of the proceedings below, we conclude           of Laite's profits from the sale of the beer, a declaration that
that no error was committed and affirm the judgment of the         Lane's use of UGAA's marks was unlawful, an injunction
district court in all respects .                                   against further misuse of UGAA's marks, and costs and
                                                                   attorney's fees . The suit was based on five legal theories : (1)
1. BACKGROUND                                                      false designation of origin in violation of section 43(a) of
                                                                   the Lanham Act, I S U.S .C . § 1125(a); [FN4] (2) trademark
The University of Georgia's athletic teams have long used          infringement in violation of Ga .Codc Ann . § 10-I-450 ;
the nickname, "Bulldogs." [FN I] In 1981, UGAA registered          [FNS] (3) deceptive trade practice in violation of the
with the State of Georgia certain service marks                    Uniform Deceptive Trade Practices Act, Ga .Code .Ann . §§
incorporating the word "bulldog" or the portrayal of an             10-I-370 to -375 ; [FN6] (4) dilution of UGAA's marks in
English bulldog. One such service mark depicts an English          violation of the Georgia Anti- Dilution Statute, GaCodz
bulldog wearing a sweater with a "G" emblazoned on it . See        Ann. § 10-I-451kb) ; [FN71 and (5) unfair competition in
Office of Secretary of State, State of Georgia, Service Mark,      violation of Ga .Code Ann. § 27-2-55. [Fh8]
File Reference No . 5673 (application filed September 21,
1981 ; registration dated November 25, 1981) . Another                      FN3 . UGAA teamed about the appearance of
service mark depicts the word "BULLDOGS" in projecting                      "Battlin' Bulldog Beer" through a newspaper article
block letters. See id. at No . S-4667 (application filed                    in the October II, 1982 edition of the Atlanta
September 21, 1981 ; registration dated November 25,                        Constitution . The article was entitled, "'Dog beer a
 1981). These marks were registered for use in connection                   natural for Georgia," and contained pictures of the
with "services related to sports activities ." UGAA also                    front and back of a can of "Battlin' Bulldog Beer ."
applied for federal registration of the marks. [FN2] Similar
unregistered trade and service marks have been used by                       FN4. 15 U.S .C § 11 25(a) provides :
UGAA in connection with the University of Georgia's                         (a) My person who shall affix, apply, or annex, or
athletic teams. The university's colors are red and black.                  use in connection with any goods or services, or
                                                                            any container or containers of goods, a false
          Fti I . Although the record does not reveal the                   designation of origin, or any false description or
          origins of the nickname itself, registration                      representation, including words or other symbols
          documents filed with the Office of the Secretary of               tending falsely co describe or represent the same,
          State, State of Georgia, indicate that the University             and shall cause such goods or services to enter into
          of Georgia first used a portrayal of an English                   commerce, and any person who shall with
          bulldog wearing a sweater emblazoned with a "G ;"                 knowledge of the falsity of such designation of
          as a service mark, in the fall of 1963 .                          origin or description or representation cause or
                                                                            procure the same to be transported or used in
          FN2. The applications for federal registration of                 commerce or deliver the same to any carrier to be
          the marks apparently were pending at the time of                  transported or used, shall be liable to a civil action
          the injunction hearings in the court below.                       by any person doing business in the locality falsely
                                                                            indicated as that of origin or in the region in which
 In October, 1982, Laite began distributing the red-and-black




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         said locality is situated, or by any person who                    prior user, notwithstanding the absence of
         believes that he is or is likely to be damaged by the              competition between the parties or of confusion as
         use of any such false description or representation .              to the source of goods or services .. ..

         FNS . Ga.Code Ann . § 10-I-450 provides, in                        Fn8. Ga .CuJe Ann . 9 23-2-i5 provides :
         pertinent part:                                                    Any attempt to encroach upon the business of a
         [A]ny person who shall:                                            trader or other person by the use of similar
         (I) Use, without the consent of the registrant, any                trademarks, names, or devices, with the intention
         reproduction, counterfeit, copy, or colorable                      of deceiving and misleading the public, is a fraud
         imitation of a trademark or service mark registered                for which equity will grant relief.
         under this part in connection with the sale, offering
         for sale, or advertising of any goods or services on      UGAA moved for a preliminary injunction to prevent Lame
         or in connection with which such use is likely to         from producing, distributing, or selling "Battliri Bulldog
         cause confusion or mistake or to deceive as to the        Beer ." After a hearing, the district court granted UGAA's
         source of origin of such goods or services; or            motion, concluding that UGAA was likely to prevail on its
         (2) Reproduce, counterfeit, copy, or colorably            Lanham Act claim and that the remaining conditions for
         imitate any such trademark or service mark and            preliminary injunctive relief were met. [FN9]
         apply such reproduction, counterfeit, copy, or
         colorable imitation to labels, signs, prints,                      FN9. Laite filed a notice of appeal and an
         packages, wrappers, receptacles, or advertisements                 emergency motion asking this court to stay the
         intended to be used upon or in connection with the                 order granting the preliminary injunction . This
         sale or other distribution in this stake of such goods             court denied Laite's emergency motion . On January
         or services ; shall be liable to a civil action by the             19, 1983, Laite voluntarily dismissed the
         owner of such registered trademark or service                      interlocutory appeal .
         mark .. ..
                                                                   " 1539 Meanwhile, Laite filed an answer to UGAA's
         FN6. Ga .Code Ann. § 10-i-372 provides, in                complaint and requested a jury trial . At a pre-trial
         pertinent part :                                          conference, counsel for both parties agreed to limit the
                                                                   evidence at trial to the transcript of the preliminary
         (a) A person engages in a deceptive trade practice
         when, in the course of his business, vocation, or         injunction hearing, the exhibits presented at that hearing,
         occupation, he :                                          and supplementary documents to be submitted by the
         (1 ) Passes off goods or services as those of another;    parties . [FNIO] UGAA subsequently informed the district
         (2) Causes likelihood of confusion or of                  court that, if the court determined that Laite was entitled to a
         misunderstanding as to the source, sponsorship,           jury trial because of the presence of both legal and equitable
         approval, or certification of goods or services ;         claims in the complaint, UGAA would voluntarily dismiss
         (3) Causes likelihood of confusion or of                  the legal claims . The district court entered an order (I)
         misunderstanding as to affiliation, connection, or        ruling that Laite was entitled to a jury teal, (2) voluntarily
         association with or certification by another; . ..        dismissing UGAA's legal claims, (3) permanently enjoining
         (b) In order to prevail in an action under this part, a   Laite from marketing or distributing "Battlin' Bulldog Beer"
         complainant need not prove competition between            under the challenged label design, and (4) awarding costs to
         the      parties    or     actual     confusion      or   UGAA, but denying UGAA's request for attorney's fees .
          misunderstanding .                                       The district court entered final judgment on the order .

          FN7. Ga .Code Ann. § 10-I-451(b) provides, in                     f'ti 10 . Counsel for both parties also agreed to
          pertinent part :                                                  waive the best evidence rule, unless one party or
          (b) Every ... association . .. adopting and using a               the other objected to the introduction of a particular
          trademark, trade name, label, or form of                          document .
          advertisement may proceed by action ; and all
                                                                   Laite then moved to alter or amend the district court's order
          courts having jurisdiction thereof shall grant
          injunctions to enjoin subsequent use by another of       and judgment, or in the alternative for a new trial, on the
          the same or any similar trademark, trade name,           grounds that the parties had reserved the right to submit
                                                                   additional evidence in support of their respective positions.
          label, or form of advertisement if there exists a
          likelihood of injury to business reputation or of        The district court took additional evidence from both
          dilution of the distinctive quality of the trademark,    parties, and, after reviewing the additional evidence, entered
          trade name, label, or forth of advertisement of the      an order (1) granting Laite's motion to alter or amend the
                                                                   order and judgment for the purpose of including the




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                .2d 1535)                                                                                                                                                                                     of    ~'~°rkia
~CHe as ; 956 F                                                                                                                                                      the "University °f Protution
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                                                                                                                                                          Or JeNi~                                                                "University o f
                                                       bud    (2~                                                                                                                              appeal              that the                  worthy
                                            rep°rd,                                                                                                                           on                              is
                evidence in the ensued .                                                                                                           fast    argument                            valid     trade        _n'e,~` 1e mrik Suuiios .
 ~d,~iuonal                    appeal                                                                                    [,aite s                                    is no l a
      re ~s motion . This                                                                                                Georgia                     Bulldog" , 12A 1,31'e citzs                                          ~ D.N Y
                                                                                                                                                                                                                                        .19R3), acrd
 L.a~                                                                                                                         .                                                                                yl l 1.-- CIO 94), for the
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       DISCUSSION                                                                                                                                   :ti`intenda                                   F,2d U2 4?ct                      claim of
  11                                                  noting    thatt the districtUGInc . v .                                                              rounds       .                                 a    Successfn1                     Lan    ~
                            discussion  -' n by                        relief to                                                              ether g                  "[~)° make                                          43(a) ~f the              that
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                i~ arising                       for a                                                                                          trademark p                configuration ~o                                             92~ ~citadons
        z cla                    requ       est                                                             relief,           its                                                                                           !d . at
      granting UGAA's .                                                          injunctive                                                    name       or other                             company          .. .                       not contain
                         sited'                           permanent                                           order             a                           product          or                                the      recoed does                     the
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            the facts                                acpissue              duc    t    at                                                     third-pain'              secondary                       meaning
                        the label design of the pro                                                             order                                              of                                                                              Georgia
              t chat            the        origin                        5   of    fact in that                      of                        the absence                                                                  "University of
                                                                                                                                                                                                                                                     various
                 represent                                finding                              conclusion                                                                                               the     term .                        the
                           of   plaintiff. 'me                   this couch's                                      that                                                                                                  collecuvzly             UGM         as
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                               here      .           ,,),RED              and                                     from                                         Bulldo8~~                                 English bulldog                           with     the
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             Again,                        ~  therefore,
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                               sppea,                           decision                                                                                                                                                                          law
              claims . On          district        couA~s                                                                                                             The         threshold q~zs~~°°' smites the                                        meaning
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              whether the                       Lanham A~~                                                                                           [Ill~}~ti1                               Studios                      proof of
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                                      countedFaR , statute); ~f ~~'-Ilibeans,                                                                                                 of              secondary                           (i~h    Cir                  would be
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                                       cons            Veorgia , Inc.,                                           held                                               Cu .,                                 refrigerators,                        qSl, lUl S .Ct.
                                        Ch~6s u(                           (district court                             com~tiuon                                    trademark                       for
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   and therefore can never become a service or Trademark .            reason to require a plaintiff to show consumer
Sam BanF:r of Florida, hoc vc Sa n Vrde-ral Savings & Loan            connotations associated with such arbitrarily selected
As .eh . 651 F 2d 711, 315 (5th Cie1981) [F\'13] (citations           features .
and footnotes omitted) ; accord, Sylen+"ur .Stores, Inc v.          Chevron Chend<al CU. v . Voluntary Purchasing Groins,
Sy(ewny Discount Drugs, Inc . 67$ F .2d 1160, 1 165 n . 9           lnc., 659 F2d 695, 702 15th Cir. Unit A 19811, cert. denied,
( 1 1th Cic 1982) ; Vision Center v . Op(icks . Inc . . 596 p .=d   457 U .S . 1126, 102 S .Ct . -947 . 73 L .Gd2d 1142 U932j .
 I11, 115-16 (5th Cir.1979), cert. denied, 443 LS . 1016,           [FN14]
 100 S .Ct. 668, 62 L .Ed .2d (i46 (1980) . Thus, secondary
meaning is best characterized not as a general prerequisite                  F\'Id . Although Chevron Chemical Co. is not
for trade or service mark protection, but as a means by                      binding precedent in this circuit, see infra note 18,
which otherwise unprotectible descriptive marks may obtain                   we have cited it with approval in at least four
protection. See Aloe Creme Laboratories, Gic. t' . ;Sfilsnn,                 recent cases . See Conagra, Inc. v. Singleton, 743
Inc., 423 F .2d SaS, 848 (5th Cir .), rer(. denied, 398 U .S-                F .2d I$p$, ISII & n . 5 (11 [h Cir .1984) ; Brooks
929, 90 S .Ct . 1818, 26 L .Ed .?v 90 (1970) . As one                        Shoe A4jg. Co . r . Suave Shoe Corp., 716 F .2d SS-0,
commentator has explained :                                                  857 & n . 9 (11 th Cir .19R3) ; John IL Harland Co . v.
                                                                             Gnrke Checks, /ne . . 711 F .2d 966, 981 n . 25 (11 Ih
         FN 13 . The Eleventh Circuit, in the en bane                        Cir .1983) ; Original Appalachian .4rtwcoks, Inc. v .
         decision Bonner v. Ch), of Prichard, 661 F?d                        70~~ Lo,(I, Inc_ 684 F .?d 821, 331 & n . 14 ( I Ith
          1206, 1209 (11 [h Cir. 1981 ), adopted as precedent                CirJ932) .
         decisions of the former Fifth Circuit rendered prior                The persuasive value of Chevron Chemical Co. is
         to October 1, 1981 .                                                not diminished because the case involved a trade
                                                                             dress rather than a trade or service mark . In fact,
  Secondary meaning converts a word originally incapable                     the Chevron Chemical Co . court based its holding
  of serving as a mark into a full fledged trademark. .. . M                 on the law of trademarks :
  arbitrary, fanciful, or otherwise distinctive word qualifies               The term "secondary meaning" was developed as
  as a trademark immediately, '1541 because in the                           pan of the common-law of trademarks .. . .
  particular industry it has no primary meaning to                           [T]rademark law requires a demonstration of
  overcome . Therefore it is initially registrable, and also                 "secondary meaning" only when the claimed
  protectible a[ common law. In the case of words with                       trademark is not sufficiently distinctive of itself to
  primary meaning, the reverse is true . Such words, be they                 identify the purchaser.
  descriptive or geographical, are initially nonregishable                   The same principles should apply to protection of
  and unprotectible unless and until they have attained                      trade dresses .
  secondary meaning as trademarks .                                          659 F.2d at 702 .
3 R . Callmann, The Law of Unfair Competition,
Trademarks and Monopolies §§ 19 .25, 1926 at pp . 19-79,            [4f[5] We therefore hold that, contrary to the language of
19-85 (4th ed . 1983).                                              Universal Citv Studios, proof of secondary meaning is
                                                                    required in an action under section 43(a) only when
 Although most of our cases applying this general rule have         protection is sought for a descriptive mark, as opposed to an
 involved claims under 19 U.S .C . § 1 I 14(a) for infringement     arbitrary or suggestive mark . [FN 15] Turning to the mark at
 of federally registered marks, the same rule necessarily           issue in the instant case, we are convinced beyond a shadow
 applies to section 43(a) claims based on non-                      of a doubt that the "University of Georgia Bulldog" is not a
 federally-registered marks. After all, "registration of a          descriptive mark . In our view, the portrayal of an English
 trademark confers only procedural advantages and does not          bulldog chosen by the university as a symbol for its athletic
 enlarge the registrants rights, for ownership of the               teams is, at best, "suggestive ;" if not downright "arbitrary ."
 trademark rests on adoption and use, not on registration ."        [FN 16] Thus, contrary to Laite's assertion, UGAA was not
 Turner v. N;LfHPublislring Cu ., 380 F .'_d 2214, 223 (51h Cir.)   required to prove secondary meaning in order to prevail on
 (citation omitted), cerl . denied, 389 U.S . 1006, SR S .CL SGC,   its Lanham Act claim, and the district court did not err in
  19 L.Ed2d GOl (19ti7) . We also note that the Fifth Circuit,      granting injunctive relief to UGAA under *1542 section
 in an action under section 43(a) based on infringement of a        43(a) despite the absence of proof of secondary meaning.
 trade dress, has held :                                            "1?1
    [S]econdary meaning [need not] be shown in every trade
    dress infringement suit [under section 43(a) ] .. . . If the             FNI5 . Of course, a plaintiff whose mark is
    features of the trade dress sought to be protected are                   unregistered and devoid of secondary meaning may
    arbitrary and serve no function either to describe the                   find it difficult to establish priority in use of the
    product or assist in its effective packaging, there is no                mark . See generally 3 R . Callmann, The Law of




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         Unfair Competition, Trademarks and Monopolies §                Inc ., 651 F .2d al 314 ; Amezar Corp . r. Domino's Pizza, Inc. .
         19 .15 at p. 19-37 (4th ed . 19R3). In the instant case,       61 5 F .2d =5= . 359 (5th Cir.), cerr . denied, 449 U .S . 599, 101
         however, it is undisputed that UGAA used the                   S .Ct . 268, 66 I_ .Ed .3d 129 (1980) . According to Laite, the
         mark at issue long before Laite's allegedly                    court below erred by failing to consider all seven of the
         improper use began .                                           relevant factors before deciding that the sale of "Battlid
                                                                        Bulldog Beer" created a "likelihood of confusion ."
         FNI6 . We see very little connection between the
         attributes of an English bulldog and, for example,                       Fti18. Decisions of the former Fifth Circuit, Unit
         the    University of Georgia         tennis  team .                      B, rendered after September 30, 1981, are binding
         Furthermore, although the University of Georgia                          precedent in this circuit. Stein v. Reynolds
         football team arguably may possess some of the                           Securities, Inc.. 6(7 F.2d 3134 (11 th Cir.1982) .
         attributes of a bulldog, one could hardly call the
         portrayal of a bulldog al issue in this case                   The difficulty with this argument is two-fold . First, we are
         "descriptive" of the average University of Georgia             not convinced, after examining the record and the orders
         football player.                                               entered by the district court, that the court failed to consider
                                                                        all seven of the relevant factors . At the preliminary
         FN17 . An alternative interpretation of Laite's                injunction hearing, counsel for Laite discussed at length we
         argument is that UGAA has "abandoned" its mark                 seven factors, as set out in the Amstar Corp. case . [FM19]
         by failing diligently to protect it against third- pasty       Moreover, in the order granting the preliminary injunction,
         uses . We reject this argument on the grounds that             the district court cited Amstar Corp. and specifically
         the record reveals neither an actual abandonment of            mentioned two of the seven factors, namely, the similarity
         the mark by UGAA nor an intent on the part of                  of design and the defendant's intent . The fact that the court
         UGAA to abandon the mark . See Citibank ,1'..4 . v.            did not discuss the other five factors may indicate only that
         Citibanc Group, lnc .. 724 F .2d 1 540, 1545 ( I 1 [h          the court found those factors insignificant under the
         Cir.19R4) ('9n order to prove abandonment,                     circumstances . We never have held that a court must
         defendants must show that plaintiff actually                   specifically mention each of the seven factors in order to
         abandoned the use of the mark, and, also, that                 avoid reversal on appeal . Cf. Conugru, Inc ., 743 F .2d at
         plaintiff intended to abandon the mark ."). On the              1514 & n . K (appellate court found two of the seven factors
         contrary, the record shows that UGAA has engaged               sufficient to compel finding of likely confusion, and chose
         in licensing of the "University of Georgia                     not to address the other five factors) .
         Bulldog," indicating that UGAA views its mark as
         highly valuable and intends to continue capitalizing                     fAIY . See Transcript of Preliminary Injunction
         on that value.                                                           Hearing at pp . 37- 45 .

B. Whether the District Court Used the Wrong Factors in                 The second problem with Laite's argument is that it is
Comparing the "Battliri Bulldog" with the "University of                inextricably intertwined with the question whether the
Georgia Bulldog"                                                        district court's factual finding of "likelihood of confusion"
                                                                        was correct. In Sun Banks of Florida, Inc., the appellant,
[6] Laite's next argument is that the district court used the           like Laite, attempted to avoid the "clearly erroneous"
wrong factors in comparing the "Battlin' Bulldog" with the              standard of review for factual findings by arguing that the
"University of Georgia Bulldog ." Laite correctly points out            district court failed to consider the proper factors in
that this circuit has recognized seven factors as relevant to           determining "likelihood of confusion." We rejected this
the determination of a "likelihood of confusion" between                distinction, explaining :
two trade or service marks : (1) the type of mark at issue, (2)            Our comment in Kenhrcki . Fried Chicken v. Divermlied
the similarity of design between the two marks, (3) the                    PackoLing . 549 F .2d 368, 384 (5th Cir.19771, that "when
similarity of product, (4) the identity of retail outlets and              a district court labors under a misapprehension " 1543
purchasers, (5) the identity of advertising media utilized, (6)            concerning the governing legal norms, the 'clearly
the defendants intent, and (7) actual confusion between the                erroneous' standard no longer cirtncumscribes [sic]
two marks . See Ro(o-Ruuler' Corp . c . O'Neal. i I l F .2d dd .           appellate review," may not be taken as an erosion of the
45 (5th Cir .1975) ; accord, Cunngru . Inc . r. SingdE'mii, 733            standard of review applicable to a finding of likelihood of
 F .2d 1508, 1514 (11 th Cir .1984) ; .1e((ibeun .c, Inc . v. Slwling      confusion .
 Clubs of Georgia, Inc' . . 716 F .3d 833, 640 (11 th CirJ933) ;        651 F .-Id at 314 .
 Sajex" qv Storcat Inc ., 675 F .2d ai 1164 ; Sun-Fun Pp oduc is .
 Inc . v . Suntan Research & Derrlopmeiu Inc ., 656 F .2d I86 .         Similarly, in Sajewov Stores, Inc., we refused to treat as a
 189 (5th ( ir . Unit R 1981) ; [FN 191 Sun Banks of Florida .          separate ground fur reversal the appellant's claim that the
                                                                        district court had failed to consider all seven of the relevant




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factors. Instead, we indicated that "[o]ur review of the                  The most cursory visual examination of the two bulldogs in
district coup's ruling ... is governed by the clearly erroneous           this case reveals their similarity :
test even though the cowl's analysis of the factors relevant                                         *1544
to a finding of likelihood of confusion was incomplete ." 675
F .2d 2t 1 164 n . 3 (emphasis added) .

In short, even were we to agree with Laite that the court
below failed to consider some of the relevant factors, this                                                      liS3~ ~~,k~V
would not constitute an independent basis for reversing the
court's decision . The real question is whether the court's
ultimate determination about the "likelihood of confusion"
was correct. [FN=O] We therefore proceed to the third and
 final issue on appeal .

           FN20 . Lane's argument really amounts to nothing
           more than a legal version of the old "hidden ball"
           hick .

 C. Whether the District Court's Conclusion that the Sale of
 "Battlin' Bulldog Beer" Created a "Likelihood of
 Confusion" is Clearly Erroneous
                                                                                 A can of "9attlin' Bulldog Beer"
 [7] Laite's final argument is that the district court's
 conclusion that the sale of "Battlin' Bulldog Beer" created a
 "likelihood of confusion" is clearly erroneous . See
 JeIGbenns, Inc, 716 F2d a( R39-40 & n . 16 ("likelihood of
 confusion" factual finding subject to "clearly erroneous"
 standard of review) ; Suf'wvv Scores, Inc . . 675 F .2d at 1163
 (same) ; Amstar Corp., F IS P2d al 257-SR (same) . Bu( see
                     q(Steubencillc,   Inc. v . /-riscli's Restaurants.                                                          r
 E/bp .c Big Bayy
 Inc.,  459  U .S . 916,  10 . S .0 . 231,  74 L .EJ?d 182 (19821
 (White, J ., dissenting from denial of certiorari) (discussing
 split in circuits on whether "likelihood of confusion" is
 question of fact or legal conclusion) . A district court's
  (actual finding is clearly erroneous when, "although there is
  evidence to support it, the reviewing court on the entire
  evidence is left with the definite and firm conviction that a
  mistake has been committed ." United Slaws rUnited States
  Gtipe'unr Co. . 333 U .S . 364 . 395, 6F S .Ct . 5?5, 532, 92 L .Ed .         The "University of Georgia Bulldog"
  746 (1948). While the "clearly erroneous" standard of
  review is less stringent than the well-known sports rule,                As the district court pointed out, it is the combination of
  "The referee is always right ;" it nevertheless presents a               similar design elements, rather than any individual element,
  formidable challenge to appellants who, like Laite, seek to              that compels the conclusion that the two bulldogs are
  overturn the factual findings of a district court .                      similar. Had the cans of "Battlin' Bulldog Beer" been
                                                                           printed in different colors, or had the "Battlin' Bulldog"
  [SJ After reviewing the record, we cannot say that we are                worn a different monogram on its sweater, we might have a
  "left with the definite and firm conviction that a mistake has           different case . Instead, the cans are red and black, the colors
  been committed ." Id. On the contrary, we agree with the                 of the University of Georgia, and the "Battlin' Bulldog"
  district court that the sale of "Battlin' Bulldog Beep' created          wears the letter "G ." To be sure, the "Battlin' Bulldog" is not
  a "likelihood of confusion ." We find most significant the               an exact reproduction of the "University of Georgia "1545
  same two factors that were identified by the district court,             Bulldog." Nevertheless, we find the differences between the
  the similarity of design between the two marks and the                   two so minor as to be legally, if not factually, nonexistent .
  defendant's intent . In our view, these two factors alone are
  sufficient to support the conclusion reached by the court                [FH=I
  below.                                                                             F\31 . Laite contends that the "Battlin' Bulldog"




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        has a much longer tail than the "University of            schools are so few in number and small in size that they
        Georgia Bulldog," and wears a different kind of           pose no real threat to the strength of UGAA's mark . [Fti2G]
        sweater. Wt find these distinctions trivial,              Cf. id. at 1165 (third-party use of word "Safeway" does not
        especially in light of the similarities discussed in      diminish strength of mark, since most third-party users also
        the text .                                                employ distinctive additional words or engage in different
                                                                  businesses from plaintiff's) .
The defendant's intent likewise is apparent from the record .
The record establishes that the Royal Brewing Company of                   FN?S . In the court below, Laite introduced a list of
New Orleans, Louisiana, the brewer of "Battlin' Bulldog                    twenty-six high schools, fourteen junior colleges,
Beer," wrote to several southeastern colleges, including the               and sixteen colleges that use an English bulldog as
University of Georgia, seeking permission to use the                       a mascot . The list includes the Citadel, Drake
colleges' symbols on cans of beet. [FN22] Furthermore,                     University, Fresno State University, Mississippi
Laite candidly admitted in the coon below, and at oral                     State University, Louisiana Tech University, and
argument in this court, that "Battlid Bulldog Beer" was                    Yale University .
intended to capitalize on the popularity of the University of
Georgia football program. [FN23] in short, there can be no                 Fti26 . The only schools identified by Laite that use
doubt that Laite hoped to sell "Battlid Bulldog Beer" not                  an English bulldog as a mascot, are located in
because the beer tastes great, [FN2a] but because the cans                 Georgia, use red and black as the school colors,
would catch the attention of University of Georgia football                and have names that begin with the letter "G," are
fans .                                                                     Georgia Military College (a junior college in
                                                                           Milledgeville, Georgia, with an enrollment of 365)
         FN2? . Royal Brewing Company apparently                           and North Gwinnen High School .
         contacted Georgia Tech University ("Ramblid
         Wreck Beer"), the University of Kentucky                 [10] Nor do we find it significant that the record in this case
         ("Fighting Wildcats Beer"), and Louisiana State          includes numerous examples of products containing either
         University ("Fighting Tigers Beer") .                    exact or approximate reproductions of the "University of
         Although the record does not reveal whether Royal        Georgia Bulldog ." The record does not reveal how many of
         Brewing Company contacted any other schools,             these products were licensed by UGAA ; the widespread use
         one shudders to think of such possible concoctions       of a mark by licensees would tend to support, rather than
         as "Deacon Beer" (Wake Forest University) or             rebut, the proposition that UGAA's mark is a strong one.
         "Quaker Beer" (the University of Pennsylvania).          [I N27] On balance, we conclude that " 1546 the "University
                                                                  of Georgia Bulldog" is a relatively strong mark, at least in
         FN_3 . This, of course, is why the "Banlin'              Georgia.
         Bulldog" carries a football under one "arm ."
                                                                            Fti=7 . In addition, we note that even unauthorized
         Fn24 . Nor is there any evidence in the record that                third-party uses of a mark do not necessarily render
         "Battlin' Bulldog Beer" is, to borrow the words of a               the mark "weak ." The proper inquiry is whether the
         well-known commercial, "less filling."                             unauthorized        third-party   uses     significantly
                                                                            diminish the public's perception that the mark
[9] Although we find the defendant's intent and the                         identifies items connected with the owner of the
similarity of design between the two marks sufficient to                    mark . Cf. Supreme Assemblr. Order of Rainbow
support the district court's finding of a "likelihood of                   fin- Girls r . J. H . Ray Jcnrelnv Co ., 676 F2d 1079,
confusion," we also note that the remaining five factors                    1pg2_g9     (5th Cir .19R2) (no "likelihood of
either support the same conclusion or, at least, do not                     confusion"      when, because        of unauthorized
undermine it . For example, as we previously noted, the type                third-party uses of mark, public had no reasonable
of mark at issue in this case is at best "suggestive ;" if not              basis to assume that mark could only be used with
downright "arbitrary ." Such marks traditionally have been                  approval or sponsorship of owner of mark) .
characterized as "strong." Sec Sa/inun " Steno, Inc. . 675 F.2d
at 1164-65 ("Safeway" mark held "a relatively strong one          We also find in the record persuasive evidence of actual
with at least the qualities of a suggestive mark") . The fact     confusion between the two marks. UGAA introduced an
that many other colleges, junior colleges, and high schools       affidavit from a University of Georgia professor who stated :
use an English bulldog as a symbol [FN25] does not                  During the week of October II, 1982, 1 received
significantly diminish the strength of UGAA's mark, since           approximately ten (10) to fifteen (IS) inquiries in person
almost all of the other schools (I) are geographically              or by telephone about the sale and distribution of Battlin'
remote, (2) use a different color scheme, or (3) have names         Bulldog Beer and its connection with the University of
 that begin with a letter other than "G ." The remaining            Georgia. Most of those who made the inquiries were




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                                                                                                                                                                 page II)




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(Cite as : 756 F.2d 1535)



  The exact duplication of the symbol and the sale as the
  team's emblem satisfying the confusion requirement of
  the law, words which indicate it was not authorized by the
  trademark owner are insufficient to remedy the illegal
  confusion. Only a prohibition of the unauthorized use will
  sufficiently remedy the wrong.
510F'2Aat 1013 .

Finally, we find the remaining three factors, similarity of
product, identity of retail outlets and purchasers, and
identity of advertising media utilized, less significant in the
instant case than in most trade or service mark cases. These
factors primarily relate to the "likelihood of confusion"
between a plaintiff's and a defendant's products . Here,
however, as in Boson Pro. Hockey, the confusion stems not
from the defendanPs unfair competition with the plaintiffs
products, but from the defendants misuse of the plaintiffs
reputation and good will as embodied in the plaintiffs marls .
[F\29]      Therefore, under the circumstances, the
nonexistence of these three factors does not undermine the
district court's finding of a "likelihood of confusion."

         FN29 . In Dallas Cowboi,s Cheerleaders, Inc. v .
         Pussyrui Cinema, Ltd., 604          F2d 200 (2d
         Cir.1979), the court emphasized that "[t]he
         trademark laws are designed not only to prevent
         consumer confusion but also to orotect 'the
         synonymous right of a trademark owner to control
         his product's reputation .' " Id. at 205 (quoting
         James
                Burrougli Ltd. r. Sign n% the Bee/ea(rr, Inc . .
         540 F2d 266, 274 (7th Cir .1976) Markey, C .J .) .

III . CONCLUSION

The "Battliri Bulldog's" football career thus comes to an
abrupt end. Laite devised a clever entrepreneurial "game
plan;" but failed to take into account the strength of UGAA's
mark and the tenacity with which UGAA was willing to
defend that mark . Like the University of Georgia's famed
"Junkyard Dog" defense, UGAA was able to hold its
opponent to little or no gain . Because we find that the
district court did not art, in fact or in law, when it granted
permanent injunctive relief to UGAA, we hereby AFFIRM .

756 F2d 1535, 225 U.S .P .Q . 1122, 23 Ed . Law Rep. 858

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        EXHIBIT / ATTACHMENT

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580 S .E2d 323                                                                                                 Pale I
3 FCDR 1150
(Cite as : 260 Ga .App . 573, 580 S.E .2d 323)




c               Court of Appeals of Georgia .
                                                                 Insured homeowner was not entitled to punitive damages
                                                                 upon entry of judgment in her favor in action against insurer
                                                                 for fraud, insofar as insured's failure to respond to request
                                                                 for admission that she was not entitled to punitive damages
                         VAUGHN
                           v.                                    constituted judicial admission to that fact, and she failed to
      METROPOLITAN PROPERTY & CASUALTY                           raise challenge to scope of admission with trial coup .
             INSURANCE COMPANY
                                                                 141 Pretrial Procedure ~.ASI
                       No . A02A2450 .                           307Ak481 Most Cited Cases

                      March 26, 2003 .                           Requests for admission are comparable to admissions in
                                                                 pleadings or stipulations of fact, and courts regard them
Insured homeowner brought action against insurer for             generally as judicial admissions rather than evidentiary
alleged fraud arising from overcharging of premiums . The        admissions of parties; thus, unless the court allows the
Glynn Superior Court, Scadett, 1., entered judgment in           answers to be withdrawn, answers to requests for
homeowner's favor, but denied request for punitive               admissions are conclusive and not subject to contradiction
damages, and homeowner appealed . The Court of Appeals,          or explanation . West's GaCude Ann. ~ 9- 11-36.
Barnes, J., held that : (1) failure to comply with rules
governing appellate briefs precluded appellate review of         151 Pretrial Procedure E.~481
claims ; (2) refusal to respond to request for admission that    307Ak431 Most Cited Cases
homeowner was not entitled to punitive damages precluded
subsequent challenge to denial of award; (3) admission of        (51 Pretrial Procedure X484
                                                                 307Ak486 Most Cited Cases
evidence regarding insurer's handling of prior theft claim
was not abuse of discretion ; (4) evidence that insurer had
                                                                 Any matter admitted in request for admission is
settled other claims of alleged discrimination in seeing rates
                                                                 conclusively established unless the court, on motion,
was irrelevant to determination of whether it committed
                                                                 permits withdrawal or amendment of the admission . West's
fraud in instant case ; and (5) homeowner's proposed
                                                                 Ga .Code Ann . $ 9-11-36 .
instruction regarding presumption arising from alleged
spoliation of evidence was adequately covered by                 161 Pretrial Procedure X481
instruction given .                                              307Ak-081 Most Cited Cases
Armed.                                                           In forte and substance, an admission in a request for
                       West Headnotes                            admissions is comparable to an admission in pleadings or
                                                                 stipulation of facts, and as such is generally regarded as a
[II Appeal and Error f~756                                       judicial admission rather than evidentiary admission of a
                                                                 party. West's Ga .Code gym . § 9-11-36.
30k756 Must Cited Cases
                                                                 171 Evidence E=265(7)
Insured homeowners failure to comply with appellate rules
governing form and content of briefs or to provide concise       I57k2ti9(7) Most Cited Cases
statement of applicable standard of review for each issue
                                                                 A judicial admission, unless allowed to be withdrawn by the
precluded appellate review of alleged errors in action
                                                                 court, is concluive whereas an evidentiary admission is not
against insurer for fraud. Court of Appeals Rule 27(x)(1, 3) .
                                                                 conclusive but' is always subject to be contradicted or
121 Appeal and Error `dX1079                                     explained. West's Ga .Code Ann. ~ 9-11-36.
30k1079 Most Cited Cases
                                                                 18/ Insurance k~2069
                                                                 217A2069 Most Cited Cases
Insured homeowner abandoned claims of alleged trial error
in allowing insurer to lead its witness, and in refusing
                                                                 /B1Insuraoce C=3426
insured's request to charge on concurrent causes, on
                                   and                           2170426 Most Cited Case,
misrepresentation    of    fact,           on     deliberate
misrepresentations, where insured failed to provide any          Claim that evidence regarding insurer's handling of theft
argument supported with legal citation for claims . Court of
                                                                 claim filed by insured homeowner was irrelevant, without
Appeals Rule 27(c)(1, 2) .                                       more, was insufficient to establish that admission of such
131 Pretrial Procedure C=483                                     evidence in insured's action against insurer for fraud due W
307AA383 Most Cited Cases




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3 FCDR 1 150
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overcharging on premiums constituted abuse of discretion .       30056 %1ost Cited Cases

191 Appeal and Error $x.1079                                     1141 Appeal and Error F.~~761
30k1079 Most Cited Cases                                         30061 Most Cited Cases

Insured homeowner failed to preserve for appellate review        Mere claim that trial court erred by preventing insured
argument that insurer's question to her as to whether            homeowner from asking insurer's representative whether it
overcharging of premiums was result of mistake was               had responded to letter from insured's counsel, without
misleading, in action against insurer for fraud for              supporting argument and citation to legal authority, was
overcharging premiums-, where entire argument was merely         insufficient to preserve issue for appellate review .
restatement of enumeration of error, and was not supported
by further argument or citation to authority. Court of           1151 Appeal and Error 6230
Appeals Rule 27(c)(2) .                                          30k230 Must Cited Cases

1101 Evidence E=129(1)                                           Insured homeowner failed to preserve for appellate review
157k 1 29(l) Most Cited Cases                                    claimed error in instructing jury on nominal damages and
                                                                 mitigation of damages, in action against insurer for fraud
Evidence that homeowner's insurer settled other cases            arising from overcharged premiums, where homeowner
involving alleged discrimination in setting rate increases       failed to object to instructions after jury was charged and
was irrelevant to determination whether insurer's                before verdict was rendered . West's Ga .Code Ann . $
overcharging of insured's premium was fraudulent, absent         5-5-24(a) .
allegation or showing that similar discriminatory practices
were involved in instant action . West's Ga .Code Ann. §         1 161 Appeal and Error X233(2)
24-2-2 .                                                         30k233(2) Most Cited Cases

[ll1 Evidence E~=129(6)                                          1161 Trial b=273
157k129(6) Most Cited Cases                                      38Rk273 Most Cited Cases
                                                                 In civil cases, exceptions or objections to charges must be
In a controversy between two persons regarding a given           made after the jury is charged and before the verdict;
subject matter, evidence as to what occurred between one of      objections made at charging conferences before the charge
them and a third person with reference to a similar, though      is given do not preserve charging issues for appellate
entirely distinct, transaction is irrelevant . West's GaCode     review . West's Ga .Code .Ann . $ S-i-24(a) .
Ann . § 24-2-2 .
                                                                 1171 Trial X260(1)
1121 Evidence E=135(1)                                           388k260( l ) Most Cited Cases
157k135(1) Most Cited Cases
                                                                 Insured homeowner's proposed         instruction regarding
To render evidence of a party's conduct with respect to third    presumption arising from alleged spoliation of evidence by
person admissible in an action for fraud against the party, it   insurer in action for fraudulent overcharging of premiums
must be shown that the other transactions were fraudulent,       was adequately covered by instruction given .
and it must appear that they were so connected in point of       *'325 *578 Waiter D. Adams, for appellant.
time and otherwise with the one in issue as to make it
apparent that all were proposed or carried out in pursuance      Lawrence L. Bennett, Jr ., for appellee .
of a common fraudulent purpose. West's Ga .Code Ann . §
24-2-2 .
                                                                 *573 BARNES, Judge.
(131 Appeal and Error X232(2)
30k232(2) Most Cited Cases                                       Alleging that the verdict in her favor was inadequate,
                                                                 plaintiff Carolyn Vaughn appeals the judgment against
Insured homeowner waived claim on appeal from action             Metropolitan Property & Casualty Insurance Company . The
against insurer for fraud that insurer's billing records were    record shows that Vaughn sued Metropolitan, her
admitted without proper laying of foundation, where              homeowner's insurance carrier, to recover excessive
objection to admission of records at trial was based on          premiums charged her and for fraud . Her complaint also
alleged irrelevancy .                                            sought punitive damages and attorney fees .

(141 Appeal and Error C=756                                      Metropolitan answered denying liability and asserting that it




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58(j S .F=d 323
3 FCllR 1150                         S.E .2d 32 3)
       as : 260 (-.a .App~ r+73, SRS
 (Cite                                                                                                                                                         Vauglu~'s
                                                                                                                                            refusing to give
                                                                                                                    trial court eaed by                 a  material   fact
                                                                                                      (,alleging ~e                                  of
                                                                                                                              mi'~epresentaGon                       court
                                                    to which she                                                                                               trial
                                    any ~~n~unt                                                       requested charge on                  (alleging that the
     already refunded  to  Vaughn          asserted that      any                                                         fraud) ', and 13            misrepresentations
                                   also                                                                constifuung legal                  deliberate
 had             Metropolitan                        Additionally .                                                      « charge on                      Accordingly,
 was entitled .         result of clerical errors .         One of                                     end by refusing        of punitive
                                                                                                                                              damages)
                                                                                                                                                         umeratiorts of
                   the                                    .                                                                                     these en
 overcharges were              requests for admissions         wasMetropolitan
                                                                                                       authorizing recovery
                                                                                                                            wntained within                    has been
                                 several                                                                                                  tation of authen ry Court °f
  64etropulitan servedVaughn to :+dmit than                                                            any issue reasonably
                                                                                                                          argumentorci
                      asked                                        alleged in [herd                    eaor on which
                                                                                                                      no                         abandoned .
  the requests              punitive        damages as                                                                      brie is deemed onn-Dice Slor'es, 21a
           liable for                                                                                   madz  in Vaughds                   v.
                                                                                                                       2l(c)~=) + tif°orc                 (overruled tin
   complaint."                                                                   to strike              Appeal ;Xude           4~7 S .E 2d I?Z (199'11
                                                        moved in Income motion
                         trial,   Metropolitan                            The
    At the stan of                                        damages .                                     other grounds) .
                                   for punitive                 a             asking her                                                                                    erred by granting
    Vaughn's demand                  was    served      with                   entitled      to                                  contends      that   the teal court                  of punitive
                        Vaughn                                            not
    asserted that               matter   of    fact chat she   4c was         it,  and    that           [31 3. Vaughn                        to   exclude the recoverypretrial order
    ~~ admit chat as        a                                                                                                                                                the
                                                     failed to answer Based on                           Metropolrta^' ~°°«°n                                            in
                                                                                                                                            that her allegation wou ld authorize the
                                 that she had                  admissions .                                             . She argues gwlty
     punitive damages,                                  the                                               damages                                              fraud
                        sought to withdra"~                          found that she
                                                                                           had
                                                                                                          that Metropo~~tan
                                                                                                                                        was                °f
                                                                                                                                                              find no error .
     she had not                   answer,     the trial Court           authorized        and                                         damage'         We
                  s  failure  to                          were     not                                    award       of  punitive
     V auglm               punitive damages                                                                                                                                  under OCGA S
      admitted that                                                                                                                               for admissions                       Idings or
      granted the motwn.                                                            increased               ~4]LS][ti)~7] ReQ°`~~s         yruble
                                                                                                                                                       toadmissions in p'
                                                                                                                                                                                      generally         as
                                                               .Metropolitan                                                      come
                                                        that                           .71      in           9-I 1-36 are                     and     courts regard themadmissions of
                                                                                   S1                        sapu~a~i°n5 °f          fact,
       The un4~sPtired charged Vshowsaughn from g5~~ to                                                                                                 than evidentiary answers t° be
                             it                                      her  premiums were                       judicial     admissions rather                                 the
       the P premiums
                              over the next
                                                    four     years
                                                                             and m $4,181                                                       the court allows                                        are
        1995, end that                                               ~9~~~                                    pactics.    Thus . unless                   requests        for admissi ons
                          $~ , ?32    in  i99~    .  ~}  .~99   ~~l                                                                answers        to                                or  explanation         .
        increased to                                                                                           withdrawn,
                                                                                                                                       nut subject to Contra 161, 1 64 165(2), 427
                                                                                                                                 and
        in 1999 .                                                                        general               conclusive                             20 7 iia .App-
                                                              in   her favor for                                fG7~rliter     Cn . r. VY'ntcoia
                        judgment was             entered                       paid, $6,54R,                                                 Consequently .                                9-11 -36
         After ~h                            excess      premiums she                           tna~            S .E .-d S55 (19931admitted under OCGA S
                           ualing     the                                    for    a  new                                    matter                                            court,     on motion,
         damages e 4                        fees,    ~'aughn moved               "general        and               (a]ny                 established         unless the                admission         . ~~
          interest, and attorney     verdict     denying
                                                               recovery for
                                                                                  inadequate        ;'
                                                                                                                   conclusively
                                                                                                                                                    or   amendment of the                         that    the
          asserting that       the                            evidence and                                          permits      withdrawal                         must recognize
                    ~~ 5~~~ ~s on         tray     W    the                          dama6es        ~s                                           issue    .   eve                                    is    the
          suffer                                   recovery for
                                                                        general                                     determining this                      the    Code *_575
                                                                                                                                                                                      section
                                                                                                                                                                                                            an
                              denying       any                                   the    evidence                                                  of                                       ubstancz
           "the verdict                         aKainst the weight
                                                                             of
                                                                                                  and                intended purpose                       tdaL [n form
                                                                                                                                                                                   and s
                                                                                                                                                                                                             an
                                  strongly                              contrary      to   law                                         of              at                          comparable           to
           decidedly and                         the   'verdict is                         Vaughn
                                                                                                                     facilitation           Proof             9  y-~  ~- ;6    i5                         such
                                         and                                    Later.                                                          OCGA                                                 as
            and +s ' inadequate ;'                           and equity                                              admission under                           stipulation of (acts and
                     574  p rinciples of justice                 be,    mot~un      to ass'crt the                    admission
                                                                                                                                                dings or
                                                                                                                                      in pleadings                           admission rather
                                                                                                                                                                                                          than
            the
                                  brief   in   support of                         the    trial   court                                                  as a judicial             Judicial       admission,ion,
            amended the                raised     in   this apPe~~After                Finding       °°               ~s gznerally admission of a parry A                                        conclusive
                                                                                                                                                                                             is'
             other errors nuw                              filed this appeal                                          e~ idenuary                                      by the court,
                        her    motion    . VaugFu~                                                                               ~11o~~'zd    to be withdrawn               is   not  Conclusive but is
             denied                                                                                                    unless
                                                                                                                                         evidentiary admission
                                 or, we affirm                                                                         whereas an                                                      explained . Past
             revers ible                                                              of  this   wurt      .                                     w     be     contradicted or                           effects
                                                                        the rules                                       always subject                                               the binding
                                     has  not    complied with                   in  her   statement                                       this  couA       have rzcognized                   F77     Co        V
              jl] l . Vaulthn                                     sparingly                                             decisions of                                                    <<,
                          on to citing to the record                  ~_7(a1( ~ )~ she has failed                                              under OCGA § 9-1 1-3~'~ 54 ; (19"16) it was
              in                                               Rule                           failzd to                 of                                                  S.E2d
                                   Court of App«Is                  Rule 23(d), she                                                            GaApp-o18 .?31                                       conttove~
               of facts, see                         her   brief,                                       fur              HurnmrtL lad                      was    not      admissible to
                                the   pages     ~R                          was      preserved                               ahelddmissthationsevidence                                       by    failure to
               to nombet                                       of error                                      a                                       to have been
                                                                                                                                                                             admitted
                state how each enumerationand sloe has Failed to provide                                                               deemed                                                   the  substance
                                      Rule    27(a)~~) .                               of  review        for             maters
                                                                                                                                                   for    admission even though denied 1n the                   +'to
                consideration,                         applicable       standards                                        answer ~e9uests                                     had been
                                            of   the                                                                                            deemed         admitted
                 concise statement               Rule 2~~a1131-                                                           of the matter complaint .
                                 presented                                                                                            to  the
                 each issue                                                                            brief              answer                                  ~mitted .l p'~~« y°~"`~ ~`~~r~~,dG                    ~
                                                        sequence      of argument in he'                               (Citation      and punctuation                  .ApPX571         I l. 496 S.F2d
                                                 the                                              of   error                                                   30 Ga
                  ~~~ 2. Additionally .                          of her
                                                                           znumzrations
                                                                                                                        H'oo<!(an<I A'u~se!ti
                                                                                                                                                     &c
                         not    follow     the seq uence lumbered accordingly- Court
                  does                                  is not                                           this,          (1995)
                      d the " '326 argument                                       a result of                                                                                G.N . 8~n's & C°
                                                                                                                                                                                                         "Fultnn
                                                Z7(c)l    l l. Perhaps as enumeratiuns of                                Contrary                           content                          3=7-3281,1)             `~
                                  ls  Rule                           argument                                                          to  Vaughris                                      .
                   of Appsa                  suppuRed with court erred by allowing                                                           U/ Tax Asse'e-c~nzes        , 263 Va
                                                                                                                                                                     loll'                      for aAmissions
                    Vauglin has not                the trial                                                trial        Counrr       Bd                                       requests
                    error 5 (alleging                                             (alleging the                                               (19971, authori
                                             (cad     its   witnesses) ; 10                     charge         on        S .[ : .2d 310
                                                                                          to
                    Metrppolitan W refusing VauShn's request                                   injury);
                       tin erred by              operating «'
                                                                     bring about
                                                                                         a°                     `Z
                     concurrent       causes

                                                                                                                                               . vo"t Works
                                                                                         2004 N°                 Claim to Odg U .S
                                                                            Cupc '~ West
                               Case 1:01-cv-00313-TWT Document 233 Filed 02/02/04 Page 332 of 363
                         sso s .F,2d 323
                         3 FCDR 1
                                   I50
                        (Cite as: 260
                                      Ca..qPP~ 573,
                                                                      580 S.E.2d
                                                                                         323)                                                                                                             Page 4

                       relating to "
                                     'statements
                                                       to fact .,          Further           fact or of the
                                     roped the                                           having failed                        ~~epoetreleva
                    the trial 'courtr,'aW see                        ~~hen n~e~r       st For adrr,fssion to                                     an,~ representative, Mztro puG[an
                    challen Vre.' it is I °° III e no~~ fir q,                    V                                 ;n              relevancy,
                                                                                                                                          ~          and Vaughn
                   based on
                                           IJ . at ;3)
                                                              2)                    aughn      to make t                      settled       ~s'rs "that had to d~responded      Pohded that Objected        cted based
                                                                                                                                                                                                  Metropolitan had
                                                     ad mission
                                                            ~ ~ a~b~S~f'~`i                                                  explain whathaPpened
                   requests           aUsh~'S
                                       she was nut                         y failing to Accordingly[                                                                 here .~ ~ ldiscrimination that could
                   trial) court did                          entitled to punitive               answer        the
                                        not err by                                                                          [I   I][121 ,~lihough
                                                        granting Metropolitan'sdamages, the                                 Jo hn it ; k~~.ir ~ ,Asuch evidence
                                                                                               motion .                                                          ~.so~-. ~., Fy.~f can he admissible
                  «1 4"4lleSing that the info                                                                               S I U, 520                                                                                      , see
                  Vaughn      a~~o                                                                                                        " `~3y    S.L2d                                /8. Cn.. ?It
                                     contends that thedt~~n sought                     was    not relevant                 the parries and                       7400993) , ^(~~he                                     Ga .npp .
                                ;,r, to                            trial Cou rt erred                                                               especially their                        general          .hfetropi
                 theft claim                        Va                                        by allowing                  are Irrelevant matter                               conduct in other character of
                                  she asmadke on ug~ ~f~ ~           it  I ad    Prop Y handled                           such       ell                    unless       the nature op                 transaction s
                entire                                             meow Properly                                ~                        aracte~ and
                                                                                                                                                                  renders                   ~e action iqvol
                                                                                                                                                                                                                              Yes
                Court                                   enumerat^Ppe                                            s                                             conduct
                Metro          ^e         hanestio n;ng of the                               sratec "The                                 from ,
                                                                                                                                                    augI,i,,                        ~eA ~?q~~_2P~i~
                                                                                                                                                                                                                         r ,the
                                    had          dled a claim                   lant~r'cre8ar ding how                   Other cases "could                           8        nt in the trial            5 `~ ` is
               had no relevance                                          many                                                                             explain                                 court-that
                                            and                                    years ago, wh ;c~~                    no   information                               what     happened                                    the
               Prejudice thejury,"                    which
                                           As a general 'as                obviously ;mended                            case . Therefore shown, g the relevance                                here "-_ she
                                                                                                                                                                                                                           had
                      maker resting                               rule, admission                         to                                        what                               of  those    case
              court, and appellatewithin th e sound                                         of~v~dence                  cases has little beating Metropolitan may ha                                                          is
                                                                           discretion                                      In   a                           on this case .                have done in oth
                                               courts                                       op  the                                controversy                                                                               er
             "327                                           will not                                 ~q~~                                              bet N,een two)
                          of that                                           disturb                                       subsect
             117Jisaa~rr ~". S7u~e,discrzNon absent evidence the exercise                                                 of
                                                                                                                                       mater, e~    ev idence
                                                                                                                                                                    as 10 what
                                                                                                                                                                               Persons regarding a
                                         1'N Ga .App, 7q~,                             of its abuse.                           then and a                                                                    given
            l ~yS6). Vaughn                                                                                                                                                          Occurred
                                     has not argued                     ,43( l), 344 S
                                                                                             .E .2d                       though entirel                     Person with reference between one
            discretion in                            bn+ed that tile trial                           536
                                an                                                 court abused                          render such Y            y distinct,
                                                                                                                                                                      transaction is             to a simil
           none . Accordingly,                             n the                                      its                                     evidence ad~russible                          irrelevant     . To'
                                          this enumeration          record       before us shows                         the   other transacdons
           merit,                                                          ~ f error                                                                                            . ~t must be
                                                                                           is without                   that   the  y were                  were       haudulenr                  shown                that
                                                                                                                        with the one so connected in point oft-and it must appear
          ~y~ 5'      Vaughn                                                                                                                  in   issue   as to make                   me    and otherwise
                                   also                                                                               coproposed
         a~~°u"inB Metropolitancontends that the trial coon                                                                                    ~dmed ow In                     it apparent
                                                                                                                                                                                               that all were
         that the                                        her a question                     erred by                   fraudulent        ~r                               Pursuance o~ a
                                                                   q                                                                      Purpose      .   The
         VauShn's entire in                  Iopremium
                                                          were the result
                                                                                   that
                                                                                          suggested
                                                                                                                          llateral evidence                           adm i
                                                                                                                                                                                       or exclusion cOmMon
        'The Court                 argument 576 on                                  of a                              abuse of discretion by the trn                 ia, court is                                       of
                              allowed M                           this                                           (~"~~ations                         standard .                       reviewed
                                                                                mera4on states ,
                                                                          enumeration                                              and Punctuation                                                  under an
        question which                           etropolitan's ~tto                                             Fine Jc~re                                    o,n~ «ed.)
       of the plaintiff as,umed that Metropo~ ;t~n mey to ask a                                                                    lrv, <q~ ~;a                                 577qn,~.~
                               was    a                                      ~s  over                                                                .A PP6~3,                                          ni a's
       there had been                    mistake, which                                   charging                        ~~~ the                                        h84-635, 549
                                no evidence                         was     misleading                        abuse oftha~                  circumstances            of                               d   5p~
       mistake."                                      that the ~«                             since                                  discretion .                        this    appeal, eFf
                                                                             charging ,~'~s a                                                                                                        nd no
                                                                                                                     ]       Vaughn als o
      An argument,                                                                                                                                  alleges that
      an enumerationhowever, which mere) restates
                                                                                                             allowing                                                                                     b},
                                                                                                                                Metrop~~~~~~ ~~~                          the triall
                                                                                                                                                                                       court erred
                              ~p error is                        Y                or   rephr~yet            billing        records with                      introduce in
     appellate                               insufficieOnS G                                                                                    out laying a                         ev;dence
                     review . ~}~r~K 4. .                             present an                           argument she                                                                            certain
     S .E?d 9p~ ~~~9z                          State ~                     ~~.          Issue                                          asserts that                    proper founclat~
                                 , Therefore,                                    S56(1)  ~                 lrtigation                                       this                             ion . to her
    deemed abandoned                                                                                                           and      did not                       exhibit      was
    because it is                   under Coutt'his enumeration of error ~S                              exception of th e                                                              Prepared for
                           not                            if Appeals                                                                      hearsay fall   rule
                                                                                                                                                                 within the business
                                  supported by argument                      kule      27~~~~   `            au~M          first                               .   In  the   trial court          record
    awhority,
                                                         (                  or citation >               >~V did nor objected to introduction of                                               how
                                                                                                                                                                                              however ,
                                                                                               of                               "have                                          this
                                                                                                        objected because any relevancy to the exhibit because
   NO] 5. Vaughn                                                                                                                             "we     ~~n,   ~                      case,"
                            also contends                                                              esiabiished what                                           think that we've and layer
   refusing to allow                                that the trial                                                                     those are. "
  settlement of                   her    to question                       court    erred by                                                                                                    theY ' vc
                              Other                              Metropolitan                          As Vaughn
  discriminaNvn in                       cases                                           about                                failed to
  coon's failure               rate increases against it concerning                                   on the same                           Object to the admissibility
                        to allow the                  .  She                                                                      grounds in                                          ~f the
                                                                  contends                            asserted                                       the trial coon
 ShiftingS
                 cross examination       appellant to have
                                                                      a "~h,~~~ugh
                                                                                   ih e Trial
                                                                                                     waived on
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                                                                                                                                      enumeration of                             as she ha exhibit  ou,
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 representative , since                             of                                     and       failed ~o pose         appealeul   all    Issues of                            brief   S
                                the fact that Aq bqetropoGtan's                                                                                                                          , he
uses where                                                 etroPo~~~ n                 client                             Ga a timely,   ~,i' ~S' ,7('admissibil ;ty 1. w,h~ch as
discr                    rare     increases had                              had                    State     .   1                                specific       ob                               she
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                                                              been based se
                                                                                                                     87                                              jectinZ at trial
       imination had rele                                                                           she ` " 328                 APP                                                        . Ruy~ ,..
                                                                                                                            has                                     -E .2d
                   When ~ 'auehnvance to tt,e case of                                  °P°°         reasonably                       waived all is, ues o                        y f 1986) .
                                               asked          this
                                                                                  Carolyn                                  contained u",thin                             f ndmissibiliryAlso,
                                                                         question of               regardless ~p vhrther                                   the                                    ~
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                                                                                                                        at trial                                          error.
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475(2), 433 S .E .2d 649 (1993) .                                      given . Church's Fried Chicken c . Leivis. 150 Ga .App . 154,
                                                                       161(2), 256 S .G2d 916 (1979), we find no error .
[14] 8 . Vaugfui alleges that the trial court erred by
preventing her from asking Metropolitan's representative               11 . Finally, Vaughn alleges that the trial court erred by
whether it had ever responded to a letter from Vaugho's                denying her motion for a new trial . She contends that "the
counsel . Vaughn's argument simply repeats the enumeration             rulings of the trial court, taken separately, and particularly
of error and states that if was error for the trial court not to       when considered as a whole, mandated that the Superior
allow this questioning . As we stated in Division 6 and for            Court grant [her] a new trial." Because we find that the
the same reasons, this argument is insufficient to preserve            evidence supports the verdict and Vaughris other
the issue for our consideration .                                      enumeraNons of error are without meat, we disagree .

[ 15][1619 . Contending that there was no evidence her injury          Judgment affirmed .
was small nor any evidence of mitigating circumstances,
Vaughn alleges that the trial court erred by instructing the           RUFFIN, P.J ., and ADAMS, I., concur .
jury on nominal damages and on mitigation of damages.
Any error associated with the giving of these charges,                 END OF DOCUMENT
however, has been waived because the record shows that
Vaughn failed w object to the giving of them . OCGA §
 5-5-24(a). The transcript shows that Vaughn's only
objection to the charge after the trial court charged the jury
 was, "Your Honor, we object to the Court having failed to
 give plaintiffs request to charge numbers one, six, eight,
 and nine . And we object to the Court having given the
 instruction to the effect that if the jury finds that the plaintiff
 failed to use reasonable care, then that would affect the
 recovery ." fn civil cases, exceptions or objections to charges
 must be made after the jury is charged and before the
 verdict; objections made at charging conferences before the
 charge is given do not preserve charging issues for appellate
 review . Bruno c. Evan.c 200 Ga .App . 437, 44](4), 408
 S.E2d 458 (1991) ; Sirns v. Johnson. 185 Ga .App . 720-731,
 365 S.E .2d 532 (19SR) . Failing to object to the giving of
 these charges, Vaughn has not preserved these issues for
 appeal . Id .

[17] *578 10 . Vaughn further contends that the trial court
erred by failing to give her requested charge on spoliation of
evidence that "[a] fact that a party has spoiled evidence or
otherwise made it unavailable raises a presumption that this
evidence would be harmful to the party who spoiled such
evidence" because "9t was apparent that Metropolitan had
destroyed or failed to produce evidence which was the
subject of a Notice to Produce."

The transcript shows, however, that the trial court gave the
following charge to the jury on this point :
  Where a party has evidence by which a party may repel a
  claim or charge against him or her and omits to produce it
  or having more certain or satisfactory evidence relies on
  that which is of a weaker or inferior nature, a presumption
  arises that the charge or claim is well-founded bud this
  presumption may be rebutted .
Because it is not error to fail to charge in the exact language
of a requested charge when, as in this case, the principles of
law embodied in the request are included in the charge




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        EXHIBIT / ATTACHMENT

                              50
                    (To be scanned in place of tab)
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p                                                                  televising Boston Marathon without being licensed to do so
                                                                   by Boston Athletic Association, as channel's use of words
              United States Court of Appeals,                      "Boston Marathon" would not likely confuse viewers that it
                       First Circuit.                              bore imprimatur of Association ; those words not only called
                                                                   attention to channel's program, they also described event
              WCVB-TV, Plaintiff, Appellee,                        that channel would broadcast . [anham Trade-Mark Act, §§
                    v.                                             32(l), 43(a), IS U .S .C .A . $§ 11 14(l), 112$(x) .
BOSTON ATHLETIC ASSOCIATION, et al ., Defendants,
                         Appellants .                              ICI Trade Regulation X92.1
                                                                   3R2k92 .1 Most Cited Cases
                        No. 90-1315.                                (Formerly 382k92)

                    Heard Dec. 3, 1990 .                           Trademark statute does not give holders any "property
                   Decided Feb.12,1991 .                           right" in their mark except right to prevent confusion.
                                                                   Lanham Trade-Mark Act, §§ 32(l), 43(a), IS U.S .C .A . §§
Boston Athletic Association sued television channel,                1 1 14( 1 ), 1 125(a) .
seeking to enjoin channel from televising Boston Marathon
without being licensed to do so by Association, contending         [51 Trade Regulation $389
that channel, by broadcasting the words "Boston Marathon"          382k389 Most Cited Cases
in connection wish the event, violated federal trademark
law. The United Sates District Court for the District of           Television channel was not estopped from televising Boston
Massachusetts, David S. Nelson, 1., refused to issue a             Marathon without being licensed to do so by Boston
preliminary injunction, and Association appealed . The Court       Athletic Association, even though channel, in earlier years,
of Appeals, 8reyer, Chief Judge, held that there was               paid Association for license to use mark for its broadcast;
insufficient likelihood of consumer confusion to warrant an        there was no likelihood of confusion, and channel was not
injunction .                                                       challenging validity of mark . Lanham Trade-Mark Act, §§
                                                                   32(l), 43(a), 15 U.S .C ..4 . §§ 1114( I), 1125(x) .
Affirmed .                                                         *43 Thomas X1 .5 . Hcmnes, Robert E. Fast, and George J.
                                                                   Skelly with whom Steven W. Phillips, Bruce R. Parker,
                       West Headnotes                              Tcrzsa .4 . Mmlland, Poley, Hoag & Eliot, H . Reed
                                                                   Witherby, Hale and Dort, Thomas 7. Dougherty, and
I I I Trade Regulation E=334 .1                                    Skadden, Arps, Slate, Meagher & Flom, Boston, Mass .,
3S=k334.1 Most Cited Cases                                         were on brief, for appellants Boston Athletic Assn, ProServ
 (Formerly 382k334)                                                Television, Inc. and WBZ-T6'.
Trademark law prohibits unauthorized use of trademark or           Thomas P. Olson, Stuart P. Green, Wilmer, Cutler &
service mark, but only where that use creates likelihood of        Pickering, Steven A. Weiswasser, Washington, D.C .,
confusion about who produces goods or provides service in          Charles Stanford, Joel Lulla, New York City, and Edwin M.
question . Lanham Trade-Mark Act, §§ 32(l), 43(x), I S             Durso, Washington, D.C, on brief, for amici curiae ABC
U .S .C .A .§y Illd(I),1125(a) .                                   Sports, Inc. and ESPN, Inc.
121 Trade Regulation x.541                                         Steven J. Comen with whom Win. Gordon Prescott,
3fi2k541 Must Cited Cases                                          William R. Moore, Christopher J. Petrini, Hinckley, Allen,
                                                                   Snyder & Comer, Boston, Mass ., and Janine Ann Petit,
Unless plaintiff can convince district court that it will likely   New York City, were on brief, for appellee .
show "likelihood of confusion" on merits of its trademark
claim (or can convince Court of Appeals that district court        Roberta L. Caimey, James M. WagstafFe, Kurtis J. Kearl
abused its discretion), it is not entitled to preliminary          and Cooper, White & Cooper, San Francisco, Cal., on brief
injunction . Lanham Trade-Mark Act, §§ 32(I), 43(x), I?            for amici curiae The Chronicle Pub. Co ., WGBH
U.S .C .A . a§ 11 14(l), 1125(a).                                  Educational Foundation and Post-Newsweek Stations, Inc.
(31 Trade Regulation F~SJI                                         Before BREYER, Chief Judge,          and ALDRICH and
382k5AI Host Cited Cases                                           COFFIN, Senior Circuit Judges .
There was insufficient likelihood of consumer confusion to
warrant injunction prohibiting television channel from             BREYER, Chief Judge.




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 The Boston Athletic Association ("BAA"), its licensing                " to mark his apple juice, defendant (perhaps a big man
 agent (ProSen-), and Channel 4 (WBZ-TV) appeal the                   called Tom) uses the same words (or perhaps similar words,
 district court's refusal to enjoin Channel 5 (WCVB-*44 TV)           e.g., "Large Tommy") on his own apple juice label, and
 from televising the Boston Marathon . They point out I ) that        plaintiff says customers will confuse defendant's apple juice
 the FAA has spent a great deal of money over the years               with his own. See, e.g., Bear .tiuls, Inc. v. Clover Club
promoting the annual Patriot's Day marathon event, 2) that it         Foods Co ., SUS F.2d 920 (10th CirJ9R6) ("Beer Nuts" and
has registered the words "Boston Marathon" as a trade, or             "Brew Nuts" confusingly similar) ; 2 J. McCarthy § 233 at
service mark, in connection with the event, 3) that it has            56 ("Cases where a defendant uses an identical mark on
licensed (for a fee) Channel 4 to broadcast the event on              competitive goods hardly ever find their way into the
television, 4) that it has not licensed Channel 5 to broadcast        appellate reports . .. [and] are 'open and shut'. ..."). No one
the event or to use its mark, 5) that Channel 5 broadcast the         here says that Channel 5 is running its own marathon on
event last year anyway, and intends to do so in 1991 . simply         Patriot's Day, which a viewer might confuse with the BAA's
by placing television cameras in the streets along the                famous Boston Marathon .
marathon route, and 6) that Channel 5 used the words
"Boston Marathon" on the screen in large letters before,               Rather, BAA argues that the confusion here involved is
during, and after the event. They argue that Channel 5, by             somewhat special It points to cases where a defendant uses
broadcasting the words "Boston Marathon" in connection                 a plaintiffs trademark in connection with a different type of
with the event, violated federal trademark law. They asked             good or service and a plaintiff claims that the public will
the district court to issue a preliminary injunction, it refused       wrongly, and confusedly, think that the defendants product
to do so, and they have appealed that refusal.                         somehow has the plaintiffs official "O.K ." or imprimatur .
                                                                      The Eleventh Circuit, for example, found trademark law
 [ 1](2](3] In our view, the district court's refusal to grant the     violated when the defendant, without authorization, used the
 preliminary injunction was lawful . The dispositive legal            plaintiff's football team mark, a bulldog, not in connection
 issue concerns "customer confusion." A trademark, or                 with a different football team, but, rather, on his beer mugs .
 service mark, is an "attention getting symbol" used                  See Unirersilti~ n% Georgia A7hleric Assn c . Laite, 756 F .2d
 basically, and primarily, to make clear to the customer the           1535 (1 I th Cir .1985) . This circuit has found *45 trademark
 origin of the goods or the service. See 1 J. McCarthy,               law violated, when the defendant, without authorization,
 Trademarks and Unfair Competition § 11 .17 at 476 (2d ed .           used this very appellant's foot race mark, "Boston
 1984). Trademark law prohibits the unauthorised use of               Marathon," on his t-shirts, sold during the event, permitting
 such a mark, but only where doing so creates a "likelihood           the customer to wrongly or confusedly think that his t-shins
of confusion" about who produces the goods or provides the            were somehow "official ." See Sullivan, supra . RAA goes on
service in question . See IS U.S.C . $ 1114(1) ; IS U.S .C . §        to say that Channel 5's use of those words will lead viewers,
 II_5(a) ; Bn.clun .dddelic Assn r. Sullivan . 867 F.2d ?2            wrongly, and confusedly, to believe that Channel 5 (like the
 2H-35 & n . 1 I ( I5[ Cir.1989) ; see also Quabaug Rubber           t-shirt seller) has a BAA license or permission or
 r. Fuhiunu .Shoe Cu ., ;fi7 F.2d ISd, 160 (1st Cie19?7) .           authorization to use the words, i.e ., that it broadcasts with
Unless a plaintiff can convince a district court that it will        the BAA's official imprimatur . It also notes that this court,
likely show such a "likelihood of confusion" on the merits           in Sullivan, listed circumstances that create a "rebuttable
of its trademark claim (or can convince a court of appeals           presumption" of confusion . And, it quotes language from
that the district court abused its discretion), it is not entitled   Sullivan, in which this court, citing ln(ernn(inna( Nears
to a preliminary injunction . See Planned Parenthood                 Service v . As .euciated Press, 249 U .S . 215, 39 S .CL 68, 63
League v. Be!lnlG, 641 F.2d 1006 . 1009 (Is[ Cir,1981)               L .Fd . 211 (1919), said that the defendant's t-shirts were
("likelihood of success" on merits one of four requirements          "clearly designed to take advantage of the Boston Marathon
for grant of preliminary injunction ; "abuse of discretion"          and to benefit from the good will associated with its
standard for appellate review); f/tperrherm, lnc . v.                promotion by plaintiffs," and that defendants obtained a
Precision Products . In( .. 832 F.2d 697 . 699 n . 2 (Is[            "free ride" at the plaintiffs' expense ; they "reap where [they
Cic1937) (trademark case). Yet, we cannot find in the                have] not sown ." Sullivan, 867 F .2d at 33 . Appellants say
record before us sufficient evidence of relevant customer            that Channel 5 is doing the same here .
confusion, arising out of Channel 5's use of the words
"Boston Marathon," to require the district court to issue the        (d] In our view, the cases BAA cites, and Sullivan
preliminary injunction that the appellants seek .                                                                              in
                                                                     particular, do not govern the outcome of this case . Nor can
                                                                     we find a likelihood of any relevant confusion hero First,
Obviously, we du nut have before us the common, garden               the Srdlmurr opinion, taken as a whole, makes clear that the
variety type of "confusion" that might arise with typical            court, in using the language appellants cite, referring to a
trademark infringement . This is not a heartland trademark           "free ride," and taking "advantage" of anothers good will,
case, where, for example, plaintiff uses the words "Big              did not intend to depart from ordinary principles of federal




                                    Cops . 0 West 2004 No Claim to Orig . U.S . Govt . Works
                            Case 1:01-cv-00313-TWT Document 233 Filed 02/02/04 Page 337 of 363
                    926 F.2d 42
                   59 USLW 2576,
                                     17II . .P .(l.2d
                   (Cite as : 916 F                   1688, IS Media
                                   .ld 42) '                         L Rep. 1710
                                                                                                                                                                                        Page 3


                   trademark law
                                           that
                  confusion" essential make a finding of a
                                                  to a conclusion                  "likelihood
                  general matter, the law .con,etinees                    of "violation ." qt of        ~
                                                                                                                   buy an official
                                                                                                                                               t-shhy with the
                  the "free riving"                                  pro[ects                                      seam or player)                                      name
                 law, for example,
                                           of others ; and
                                                                rome~imes it does
                                                                                  investors from
                                                                                                                  care about ~~~e
                                                                                                                                             wish     to see the event of a favorite event,
                 cetta)n inventions gives inventors a "property not . The                                                                     relation of station and do not particularly
                                            for a limited                                right" in                `~'L~F-/~i~'~ ~'. .Sleekcrnl~                            to event-pror~oter
                                                             period of time                                      CirJ979)                                    Runts, 599                                 . See
                                                                                  see                                              When
                see II7' U.S .C . ~~ it proveidSe coPYdght protection 35 ~~,g,C,.                                wholly                         deciding ~yhether              F211 341, 3j3 (9th
                                                                                                                                                                           there
                                                                                     for authors ;                            indifferent (consumers]                               is confusion
                trade sec rets . See ~~ ~~~           9~ ; it offers CC ttai n                                  omitted) ; 2 I.                                        may be excluded") "the
                                         generally      z ~.                      protections       to                                  McCarthY          $ 23 .27 at 129 &C                           (cites
               man who clears                                                                                   ~
                                                                                                                law
                                       a Swamp, the McCarthy § 29, , pulthe                                           does not
                                                                                                                                                      those buyers                     . 20 (trademark
               the academic                                developer of a nei                                      to the mark)..                                        who   . ..
                                    scientist, the school                           ghbpr/~~.                                                                                       fare] 'indifferent,
              others, each da                                     Teacher and
                                     Y create 11 value"                             ml«~ons       of
              are paid) that the                             (over andabove                                    Third, and perhaps
              charge. just hou", law PC its others to                                 what they                with                             most
                                                                                                                           excellent reason importantly, the record provides
                                         when and where                      receive without                          an                                for thinking that                                 us
              ~°~estrnems in                                                                                  the
                                    "intangible" benefits the law should protect                                    words "Boston
                                                                                                                                               Marathon" would                  Channel 5's use of
                                                                 or gpod~ ;s a                                              5
                                                                                                              Channel viewer . That                                       not                       typical
                               typically debate, embodyfr,g                        matter that               words do more                            reason consists confuse ~e
                          'Statutes, or that ~~ ~unon                        the results                                                than      call                      of the fact that
             weighing relevant                                     law coons,                    ;n          they also describe                         attention to Channel                         those
                                        competing interests, g                        carefully                                              the event that                              5's Program;
            over time..                                                 radual)Y work                       Common           sense suggests                         Channel      5 w;~~ broadcast'
                               Th e trademark                                                out
            appellants an                                statute does                                      that a viewer                                (consistent
                               Y   "pro  p e,tiy right"                             e~~( ,,the                                    who sees those w~~~ with the record here)
           right to prevent                                 in their                                       will believe                                                  dash upon the
                                                                                                                               simply that Channel
           F'1d at 16U; 2 confusion . " .See QunbouS                                   p the              or     has shown, the                                  5 will show,                      seen
                                 J, McCarth                              ~~ubber ~~,.,      jb                                             marathon,                                or   is  Showing
           suggests the contrary                                                                          special                                            not
                                         .       y ~ 23' ~' And, nothing in 5'u(1~~~¢,i                                 a PPro~~al from                            that
                                                                                                                                                     the Bqq to Channel 5 has some
                                                                                                         ~S                           ,         use of words              do so . In
          Second, the "rebuttable                                                                             celled a ~'~~u        use      ,                       for descriptive technical
         court set forth                      presumption"                                               the words                             and     the law usually permits purposes
                                ;n ,S},~/van does                vfconfusion that this                                     themselves also                                                 it
         that the .57~Ilivan                            nut apply here . We                              ~~ . .S,C'. ~ ! ] lS~b)(4/ (statuton,           constitute a trademark. even if
                                      court said that                               concede                                                                                                   See 15
        presumption" of                                        "there is a                              Inc . v. Oak Genre                                   Fair   use
        sponsorship" arising         confusion "about the                        rebuttable            Cir    .1953   j                 57aokehn+ece . Inc.. 69Rdefense) ; Zn(arairs .r,
                                                                      shirts' source                                      fair use established                             F.2d 786, 796
        the words "Boston from the fact that the                                                       in trademark                                         if mark descriptive,                   (Sih
                                     Marathon"       on the shirts,     defendants      used                                 sense,      and     used                                     not used
        customers more                                                  which use made                 a   1-shirt maker placed                          in  good    faith) . If, for
                                likely to buy the                                                                                              the words                                  example,
           when a                                       shires                                        the words
                      manufacturer inten,;ona~~~, . The court wrote that                                                  "Boston Marathon") "Pure Cotton" (instead of
           a means                                            uses another's                          describe the                                            on his t-shirts
                        ofesiQ~,lishing a fink                                    mark as                                  material from which
          the other' s
                           enterprise, and               in consumers'                               even a shin
                                                                                                                           maker                               the shirts were merely to
                                                   direcqy                   minds with                                                  who      had    a reg ;stered                made, not
          there is an                                         profits from that                      "re Cotton"
                          unmistakable aura of                                         link,         I                             could likely                            trademark called
      .Sullivan, 86 77 F .zd
                                  at 35 (emphasisdeceDcion .                                          .ea[hervnul1 u/
                                                                                                                               ~Lnudoit, L[d. v. .4/l
                                                                                                                                                              enjoin their
                                                                                                                                                                                     sale . C
      words, they mean that the Sr,((;~,., added) . As we read these                               (1st Cir.1782), cerl . ,fenie                               e~~n . 695 F. .d
                                                                                                                                                                                     27, 30-31
     defendant wanted                                     record indicated                          75 L .Ed1d qqq [~Il~~~                       d,   q59   U.S . P209 , 103
                                 to glue the                                     that the                                                      .~es                                S .Ct. (iOi
     an "official"                                impression that his                              many        years ago, " w                           Justice Holmes
                         t-shirt, a fact that,                               t-slutt was
     give a shirt, in
                            the eyes of              in the sports                                 not dePce~vent                                     mark is used in a Pointed out
                                             sports fans, a special      World     might                                                                                      way that does
     makes sense to                                                                               as to
                                                                                                                           is  he   ~~~    We see no such sanctity
                             presume                                       "cachet   ."  l~
    (namely, om
                       cial sponsorship)
                                           confusion about
                                                                  a relevant                      /nc. e (bp ", ~bq I,.g used 1. tell the truth." prin. the word
                                                                                                                                       g
                                                                                 matter                                              . 359,                                        ~s~~~nelre.r .
    in the absence                                 from                                           7;1 (1924) .                                    363, 4q S .Ct
                         of contrary evidence such an intent, at least                                                                                                390, 351, 68 L .Ed
                                                      .                                                                                                                                            .
             however,                                                                            This is not a
    "Ore,                  there is no persuasive                                                                        case where it is
   to use the words                                        evidence of any                       defendant is using                                   difficult to
                                "Boston Marathon"                                intent                                         particular words                       decide whether
   sponsorship of                                             to suggest                         ay an "attention getting                                   p,jmarily as a mark,                 a
                           Channel 5's                                         official                                                                                                     i.e .,
   Channel 5 offered                            broadcasu . To the                              description . C/: Be,, . uts                      symbol,"        or
                               to "broadcast                                contrary .                                                        . Inc, v. Clover primarily as a
                      ;46 want-- °                  whatever disclaimers"                       71 1 F .2d 9341
                                                                                    the                                _ ~17_ 38'                                      Club Fao~l,. Co .,
  minutes,              ten minutes"--~oevery thirty' seconds,                     two         v. G~r~dner !1< "nder (loth Cir . 1983 . )~ II                     c "a 7 Industries
               every
 the channel had                                 make certain no                               Cir.l97y~, err                       Inc   .,    612                                       /nom.
                         any special                                   one thought                                      . denied, 447 (),S .F'Zd 101FI~ 102?-28
 any evidence                              broadcastingstaNS .                                I .,F_d.2d                                                  924, 100 S,Ct                   (7th
                      that Channel 5 might                             Noriseverythere                         1116 (1930 ;                                                      3016, be
 viewers' wrongly                                       somehow                              W /nrpo,y Co .,                     p
                                                                                                                                   l~eneNanai,e ('nrp_ ~~-,~n~e~i~
                           thinking that the Bqq                       profit   from                                     q19       ._d                                            ~-_
broadcasts . Indeed,                                         had authorized                  there is                                      1079     .  1083 (2d Cir.1970)
                                 one    would ordinarily                           its                               in   the   record before us                                    . (sere
television viewers                                                                           ~~~~Y the large ,ize of                                         tosuggESt the
                             (unlike sports fens                    believe that                                                   the    wow                                       former
                                                          who might                         is much to       little
                                                                                                                 show the                                  dye screen)
                                                                           want to                                                                    on                  ; while there
                                                                                            and surrounding latter (tinning, Meaning
                                                                                                                                Circumstances) .                       context,     intent,
                                                                                                                                                               Consequently, the,


                                                 C°pr'(1 West 2004 No
                                                                                    Claim to Orig . U               GOVt. Works
                                                                                                             .S .
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appellants have     shown    no   real    likelihood of relevant      The district coon's denial of the motion for preliminary
confusion .                                                           injunction is

We also note that the only federal court which has decided a          Armed.
case nearly identical to the one before us, a case in which a
station planning to televise a public parade was sued by the          926 F .2d 42, 59 USLW 2576, 17 U .S .P .Q .2d 1688,   18
parade's promoter who had granted "exclusive" rights to               Media L . Rep . 1710
another station, reached a conclusion similar to the one we
draw here. See Production Contractors, Inc. r. lYGA''                 END OF DOCUMENT
Continental Broadcasting Co ., (?2 F.Supp. 1500, 1 504
(ti.D .111 .19R5) . Reviewing the promoter's Canham Act claim
that the "unauthorized" broadcast would create a "false
impression" of sponsorship, the court concluded that it fell
"far short of establishing likelihood of confusion" among
viewers that the defendant station was the "official" or
"authorized" broadcaster of the parade . See id. at 1504-05.
Similarly, we do not see how Channel 5's broadcast could
likely confuse viewers that it bore the imprimatur of the
BAA.

[5] The BAA makes one further argument . It says that,
because Channel 5, in `47 earlier years, paid it for a license
to use the mark for its broadcasts, Channel 5 is "estopped"
from contesting the mark's "validity ." The estoppel cases
that BP.A cites, however, all concern a challenge to the
validity of a mark, a challenge absent here . See, e.g.,
Prn(esriona! coffers Rss it v. Bankers Life & C2cuaky Co . .
514 F .2d 665, 671 (5th Cir .1975) (challenge based on
abandonment) ; Seven-Up Battling Co . v . Seven-Up Co. . 420
F .Supp . 1246, 1?51 (E .D .Mo .1976), aJfd, 561 F .2d 1275
(8th Cir.1977) (challenge based on false registration
statements) ; see also I J . McCarthy § 18 .20 ("trademark
licensee is estopped from challenging the validity of the
licensors mark") . Regardless, we can find no case that
would even prevent a challenge by a prior licensee, based
upon post-license facts, after the license has expired . See
generally 3 Callman, Unfair Competition, Trademarks &
Monopolies § 19 .48 (4th ed . 1989) . We cannot think of any
reason why such a licensee ought to be estopped ; or why, a
grant of a license should permanently immunize a trademark
holder from legal attack . Compare Leur. Inc. a Artkins . 395
U .S . 653, 89 S .Ct . 1902 . 23 L .Ed2d 610 (1969) (estoppel
doctrine does nod apply to patent licensees) with Beer Nubs .
 Inc . ~~ . King Nut Co ., 477 F .2d 326, 328-.9 (6th Cir .), test.
denied, 414 U .S . RSR, 94 S .CI . 66, 38 L .Ed2d IOR (1973)
(estoppel doctrine does apply to trademark licensees).

Finally, we note that amici in support of appellants have
raised various questions of state law. Appellants themselves,
however, have not raised those questions; consequently,
they are not properly before us . See United Parcel Semite.
Inc. v. Mitchell . 451 U.S . 56, 60 n . 3, IOl S.Ct. 1559, 2176
n. 2, 67 L .F :d2d 732 (1931) ; Knelsch v. Unuerd States, 364
U .S . 361, 3'0, SI S.Ct . I?2, 137, 5 L .Ed .2d 128 (1960)-




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        EXHIBIT / ATTACHMENT

                                    54
                    (To be scanned in place of tab)
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p                                                                  because arbitration is only one of the alternative dispute
                                                                   resolution procedures to avoid trial and to resolve a
                Court of Appeals of Georgia.                       controversy . O.C .G .A .§ 13-G-11 .

                         WITTY et a] .                             131 Arbitration ELI
                             v.                                    33k 1 . I Most Cited Cases
              McNEAL AGENCY, INC. et al .
                                                                   Unless made mandatory by state or federal law, arbitration
                       No . A99A0907 .                             is voluntary by agreement of all parties . QCG..4 . §§ 9-9-2,
                                                                   9-9-6, 9-9-32, 9-9- 61 .
                       Aug .10,1999 .
                                                                   141 Costs f52
Former employee of stock brokerage firm brought                    102k= Most Cited Cases
declaratory judgment action against firm and manager to
determine validity of his employment contract with firm .          "Stubborn litigiousness," for purposes of statute permitting
Finn and manager counterclaimed, alleging breach of                recovery of costs of litigation, is not the failure to follow a
contract, tortious interference with contract, and slander,        procedure or the following of a particular procedure in
adding competitor that hired employee as additional                seeking to resolve a legal dispute . QCG.A . § 13-6-11 .
defendant . The Superior Court, Houston County, Nunn, J.,
entered judgment for firm and manager on counterclaims,            151 Costs C~2
and against employee on his claims . Employee and                  I OZk2 Most Cited Cases
competitor appealed . The Court of Appeals, Eldridge, 1.,
held that : (I) exclusion of alleged evidence of firm's and        Within meaning of statute permitting recovery of litigation
manager's stubborn litigiousness was harmless ; (2) award of       costs, "stubborn litigiousness" means forcing the opposite
attorney fees against competitor was warranted ; (3)               party to litigate when there exists no bona fide controversy .
non-disclosure of information provision of employment              O.C .G .A . § 13,6-11 .
contract was relevant ; (4) non-disclosure of information
provision of employment contract was reasonable as to time         161 Appeal and Error X226(2)
and nature of business interest sought to be protected ; (5)       30k226(2) Most Cited Cases
finding that competitor tortiously interfered with employee's
contract was supported by evidence ; and (6) damages award         Whether attorney fees awarded to stock brokerage firm and
of $82,690 to firm and manager for tortious interference           its manager on its counterclaims against former employee
with contract was not excessive.                                  and competitor that hired employee for breach of contract,
                                                                  tonious interference with contract, and slander were not
Affirmed .                                                        authorized and were excessive was not preserved for review,
                                                                  where parties agreed that each side would state in their place
                      West Headnotes                              the amount of attorney fees that each contended was
                                                                  recoverable without testimony, documentary evidence, or
                                 .,
ICI DeclaraloryJudgmen[ C~.392 .1                                 cross-examination, and employee and competitor made no
I I R .Ak;42 .1 Mo;t Cited Cases                                  objection to firm's and manager's statement as to amount of
                                                                  attorney fees contended or method used to arrive at amount .
Even if stock brokerage firm's and managers refusal to
submit to expedited arbitration constituted stubborn               171 Appeal and Error ~1004('n
litigiousness that would warrant recovery of costs of              30k 1004(7) Most Cited Cases
litigation, exclusion of evidence of their refusal was
harmless, in former employee's action for declaratory              171 Costs `6.
                                                                               _ x208
judgment determining validity of employment contract,              102k2D3 Most Cited Cases
where employee did not recover on his claims . O .C .G .:1 . j
13-6-1 1 .                                                        It is for the jury to decide if attorney fees are appropriate
                                                                  under the circumstances for bad faith, and a verdict will be
/21 Costs O~2                                                     upheld if there is any evidence to support it . O.C .G ..4 . §
102k2 Most Cited Casts                                            13-G-I1 .

Absent a mandatory arbitration clause in a contract, refusal      181 Costs &198
to arbitrate is not, in itself, "stubborn litigiousness," for     102k193 Most Cited Ca,es
purposes of stature permitting recovery of litigation costs,




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Award of attorney fees against competitor that hired former      brokerage firm, which provided that firm's customer lists
employee of stock brokerage firm was warranted, though           and related documents were property of firm that were to be
firm and its manager may not have asserted a claim for           used only at their place of employment during term of
attorney fees against competitor in their amended complaint      employment with firm and by no third person, and which
adding competitor as defendant in their counterclaim for         provided that employee was prohibited from using fimi s
breach of contract, tortious interference with contract, and     property after his termination for any purpose, was
slander, where they asked for attorney fees in connection        reasonable as to time and nature of business interest sought
with claim for tortious interference with contract, evidence     to be protected.
at trial and jury verdict forth made plain that they were
seeking litigation expenses from competitor, and competitor      (141 Contracts C=4 18
made no objection. QCG .,A. §§ 9- 11-15(b), 13-6-11 .            95k I I S Most Cited Cases
E91 Brokers F~m38(4)
65k38(4) Most Cited Cases                                        The reasonableness of the non-disclosure provision of an
                                                                 employment contract toms on the factors of lime and the
Non-disclosure of information provision of employment            nature of the business interest sought to be protected.
contract entered into between former employee and stock
brokerage firm was relevant and material to issue of whether     X15/ Appeal and Error ~w863
employee breached his fiduciary duty to firth by soliciting      30kRG3 Most Cited Cases
existing business away from firth prior to his termination of
employment and by taking customer lists with him when he         1151 Appeal and Error X866(3)
left firth, even if portions were unenforceable .                30kR66( ;) Must Cited Cases

I 101 Master and Servant X60                                     Where there is any evidence to support the jury verdict, it is
?55k60 Most Cited Cases                                          proper to affirm the denial of motions for directed verdict or
                                                                 to a judgment notwithstanding the verdict, unless it is
Upon terminating employment, an employee has the right to        demanded as a matter of law, because the jury is the sole
take with him all the knowledge he obtained so long as no        and exclusive judge of the weight and credit to give to the
property of the employer is taken.                               evidence .
                                                                 X16/ Appeal and Error F~237(5)
1111 Contracts F~l 18                                            30k"37(5) Most Cited Cases
95k 118 :blast Cited Case ;
                                                                 1161 Appeal and Error F~238(2)
Non-disclosure of information provision of employment            30k?3R(2) Most Cited Cases
contract entered into between former employee and stock
brokerage firm, which prohibited disclosure by employee of       116/ Appeal and Error E=293
"other information" during period between notice of              30k29 ; Most Cited Casts
termination and actual termination, was not overly broad in
that "other information" referred only to information that a     116/ Appeal and Error 0;~882(1'n
competitor would want to use in obtaining an unfair              301<882(17) Most Cited Cases
competitive edge regarding securities, insurance policies,
                                                                 Whether trial court erred in entering judgment for stock
investments, policy holder lists, customer lists, and services
provided to such clients, and notice period was only two         brokerage firm and its manager based on erroneous jury
weeks.                                                           verdict form was not preserved for review, where
                                                                 competitor agreed to jury verdict form that erroneously
X12/ Contracts X156                                              characterized firth's and manager's claim for tortious
95k156 Most Cited Cases                                          interference with contract against competitor as claim for
                                                                 breach of contract, and competitor did not raise objection in
A general term in contract that follows specific terms is        its post trial motions for directed verdict, judgment
confined to the same kind or category of thing. O.C .G .A .      notwithstanding verdict, and for new trial.
13-2-1, 13-2-2(4).
                                                                 117 Trial X345
 13i Contracts BX118                                             399045 blast Cited Cases
95k1 18 Most Cited Casts
                                                                 If the verdict is illegal and the trial court erroneously
Non-disclosure of information provision of employment            accepts the verdict, then litigants are under a duty to timely
contract entered into between farther employee and stock         object to the irregularity before the jury is excused, end




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failure to do so waives any defects.                               The elements of tortious interference with contractual
                                                                   relations, business relations, or potential business relations
[181 Trial F~345                                                   are: (I)improper action or wrongful conduct by the
3RSA34$ Most Cited Cases                                           defendant without privilege ; (2) the defendant acted
                                                                   purposely and with malice with the intent to injure; (3) the
A timely objection W improper verdict permits the trial            defendant induced a breach contractual obligations or
court to reform or remodel the verdict in the presence of the      caused a party or third parties to discontinue or fail to enter
jury before they are excused and saves precious judicial           into an anticipated business relationship with the plaintiff,
time and resources.                                                and (4) the defendant's tortious conduct proximately caused
                                                                   damage to the plaintiff.
1191 Trial X345
388045 Most Cited Cases                                            1241 Appeal and Error $232(2)
                                                                   30k232(2) Most Cited Cases
Upon hearing an improper verdict rendered, a litigant
should not sit silently by, hoping to gain a retrial by failing    Whether stock brokerage firm claiming lost profits resulting
to object .                                                        from former employee's breach of employment contract and
                                                                   competitor's loRious interference with employment contract
1201 Appeal and Error F ;~223                                      was required to deduct expenses from earnings in order to
30k?23 Most Cited Cases                                            establish lost profits was not preserved for review, where
                                                                   competitor and employee failed to object to firm's damages
1201 Appeal and Error X238(2)                                      evidence on that ground .
30k338(2) Most Cited Cases
                                                                   1251 Damages C~6
/201 Appeal and Error Et~295                                       t 15k6 Most Cited Cases
301:395 Most Cited Cases
                                                                   1251 Damages b163(1)
If the judgment from an illegal verdict based upon improper        I ISkl63( I) Most Cited Cases
damages is objected to for the first time either on motions
for new trial or judgment notwithstanding the verdict, or on       Where a party sues for specific damages, he has the burden
direct appeal without post trial motions, then such is the first   of showing the amount of the loss, and of showing it in such
opportunity that the issue could be raised and such is             a way that the jury may calculate the amount from the
preserved for appellate review .                                   figures furnished, and will not be placed in the position
                                                                   where their allowance of any sum would be mere
1211 Torts X12                                                     guesswork; however, the party does not lose his right of
379k 12 Most Cited Cases                                           action for the damages because he can not furnish exact
                                                                   figures.
Finding that stock brokerage firm's competitor, that was a
stranger to employment contract between former employee            [261 Damages C.:aG
and firm, tortiously interfered with employee's contract was       L 15k6 Most Cited Cases
supported by evidence that employee breached notice
provision and nondisclosure provision of contract with             The rule against the recovery of vague, speculative, or
aiding, abetting, and urging of competitor, and that firm lost     uncertain damages relates more especially to the uncertainty
approximately one-third of its clients as a result .               as to cause, rather than uncertainty as to the measure or
                                                                   extent of the damages; the losses must be directly traceable
1221 Appeal and Error E~1005(2)                                    to the acts of the other party.
30k 1005k2) Most Cited Cases
                                                                   1271 Damages E.~40(1)
Where a jury returns a verdict and it has the approval of the      I 15k40(1) Must Cited Cases
trial fudge, the same must be affirmed on appeal if there is
any evidence to support it as the jurors are the sole and          Generally, when the owner of a business seeks co recover
exclusive judges of the weight and credit given the                lost profits, that recovery can be had only if the business has
evidence .                                                         a proven "track record" of profitability.

 1231 Torts X12                                                    /281 Damages f=176
 3'9k12 dust Cited Cases                                           I I Sk 176 Most Cited Cases
                                                                   Evidence of lost profits without proof of expenses was




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admissible, in stock brokerage firm's action against former        In 1994, Witty decided to leave JFSI . Witty sought
employee for breach of employment contract and competitor          employment with a competitor Interstate Johnson Lane
that hired employee for tortious interference with contract,       ("UL"), plaintiff-appellant. On October 28, 1994, Witty
in light of firms established business record of profits after     gave JFSI written notice of his resignation, effective
deduction of expenses .                                            immediately, and accepted immediate employment with IJL .

/29/ Damages t~137                                                 On October 28, after receiving Witty's resignation, JFSI's
I I 5k137 Most Cited Cases                                         personnel director wrote and called all clients that Witty
                                                                   worked with in an attempt to keep their accounts with JFSI ;
Damages award of $82,690 to stock brokerage firm and its           the staff worked through the weekend contacting clients. Of
manager for tortious interference with firm's contract of          the 334 clients that Witty had serviced, JFSI retained 202
employment with former employee by competitor that hired           and 132 were lost to either In or another brokerage house.
employee was not excessive, where it was within range of
evidence offered at trial.                                         On October 31, 1994, Jansson and JFSI, in written
                                                                   communication to Witty and In, threatened to sue Witty for
(J01 Appeal and Error f~ 1004(13)                                  breach of contract .
30k 1004(13) Most Cited Cases
                                                                  Witty brought a declaratory judgment action against Jansson
Absent a showing that the jury verdict was so flagrantly          and JFSI to declare the validity of the employment contract
excessive as to shock the conscience, creating a clear            and his duties under it .            Defendants answered,
implication of bias, prejudice, or gross mistake on the part      counterclaimed, and sought a TRO. lansson and JFSI added
of the jurors so as to warrant a new trial, the appellate court   IJL as an additional defendant in the counterclaim .
will not disturb a verdict approved by the trial court.
""623 *563 Jones, Cork & Miller, HubeA C Lovein, Jr .,            On July 25, 1997, a jury returned a verdict against all of
Macon, Sutherland, Asbill & Brennan, Louise B . Duffy,            Witty's claims and for the defendants on their counterclaims
Atlanta, for appellants .                                         against Witty and IJL. On the contract claim, the jury found
                                                                  that there had been a breach of contract for violation of the
Gambrel) & Stolz, Irwin W . Stolz, Jr., Robert U . Brazier,       notice provision and non-disclosure provision with no
Ronald C . Melchcr, Szaton D . Purdom, Atlanta, for               damages owed by Witty and $82,690 in damages owed by
appellees .                                                       In . The jury found slander by Witty and UL with damages
                                                                  by each of $2,409 . No punitive damages were awarded. The
                                                                  "555 jury found that the defendants were entitled to attorney
"554 ELDRIDGE,ludge .                                             fees of $45,781 payable by Witty and $91,562 payable by
                                                                  UL . Plaintiffs immediately made an oral motion forj .n .o .v .,
In 1988, Jack Witty, plaintiff-appellant ("Witty"), went to
                                                                  which was denied .
work for defendant-appellee McNeal-Jansson Financial
Services, Inc. ("JFSI") . Eric Jansson, defendant-appellee        On August 4, 1997, judgment was entered as follows :
("Jansson"), was one of the stockholders and manager.             $82,690 for breach of contract by In ; $2,409 each against
                                                                  Witty and In for slander; attorney fees of $45,781 against
Upon being employed as a stockbroker, Witty signed an
                                                                  Witty and attorney fees of $91,562 against IJL.
employment contract that was terminable at will by either
party by delivering written notice of termination two weeks
                                                                  On September 2, 1997, plaintiffs moved for a new trial, and
prior to the termination date . The purpose was to give JFSI      on November 7, 1997, the motion was denied . On
two weeks within which to contact its clients prior to the
                                                                  December 4, 1997, the notice of appeal was filed. On
employee beginning to work for a competitor brokerage
                                                                  January 5, 1999, the appeal was docketed in this Court.
house and soliciting the clients that he had handled. The
contract also contained a non-disclosure provision and a           I . Plaintiffs contend that the trial court erred in : (a)
liquidated damages provision.                                     excluding evidence of defendants' stubborn litigiousness, (b)
                                                                  awarding of attorney fees which were not authorized by
Witty's compensation with IFSI was 40 percent of gross            **624 the evidence and were grossly excessive, and (c)
commissions generated by the brokerage house's clients'           giving a charge under OCGA $ 13-G-11, which was
accounts . The remainder of the commissions were divided,
                                                                  erroneous. We do not agree. While the court for
with 40 percent to JFSI and 20 percent to IM & R and              convenience and clarity has combined three enumerations of
Raymond James, its parent companies. JFSI paid all office
                                                                  error by subject matter, enumeration of error two raised
expenses .                                                        multiple enumerations, which was improper . See w"est v.
                                                                  :\'odvin. 196 Ga .App . 825, 397 S.F2d SG? (1990) .




                                   Copr. 0 West 2004 No Claim to Orig . U.S . Govt . Works
                     521 SCase     1:01-cv-00313-TWT Document 233
                           .E .2d 619                                                                                  Filed 02/02/04 Page 344 of 363
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                    (Cite as : 239 Ca-APP
                                   .554,
                                             521 S.E .2d                                                                                                                                   Page S
                                                         619)


                       (a) f'laintif]s contend
                  excluding evidence                 that the trial
                                                                     court erred i~
                 submit fo expeJi~ed that plai,~~ ;~s had asked                                                       the alleged damages.
                 defendants' alle e arbitration, According to defendants             to
                                                                      the P laintiffs,                                the first rime                         Thus, they cannot
                                              sat constituted                                                                                 on                  . See                    raise
                 Gtigiousness       ~d
                                  on plaintifTs'              evidence of                                            qi,eJ, .«                       appeal                 .5/a,,/,,,,1 (;rrnr the issue to r
                                                 claim and was             stubborn                                            °`',2641 . C~a . G32, 673,                                         . /s.
                plaintit7s' defense
                                       to defendants'             also evidence                                      "jpl2~. X99 , '%'~~rt P~,r/~                          452 S.H .2d 474 (199.4 Cu, ~.
                fees . Since                                                       of                                                                                Joint GenlurFr,                     -
                                plainpFfs did not        counterclaim for                                                              S F .~,1 ~;q1)                                      231 (,,I-App
               OCGA § 19_ G _11                     recover on their       attorney                                                                            (1998)      .                           PP   549 ,
                                                                                                                    error by their agreement                                  To do so would
               there was no harm attomeY fees were nut                claims, then
                                                                                                                    Scrtence ,~. lt;,r~rf~'n,                         with such                     be induced
               even if i~              done to the plain4(~'s    recoverable, and                                                                           I .I I        .Ann_ ,~~I    procedure . pI,IJ
                              were error to                    by Such                                             (1996, In                                         Ga                    q7~"             one
               Transp. v.                      exclude                  admission,                                                    addition plaintiffs                                          S Z .3d
                              Bnrnclt, 199 (ia .q~,r. such
                                                         X17  evidence . See CSY                                   failing to                                                wa ;~ed any
                                                                                                                                                                                                objection by
                                                                                                                                                                                                            20q
                    (((99 1 .                                 612(1, q05 S . ,                                    ,Sfu, ,p~~~rJ~~~. contemporaneously
                                                                                                                                        ~S~ G~-App-                           make it ,tf506
                                                                              F_'._d                              (1980) .                                          5(5,     56~~~~(a),        acDnnald
                                                                                                                                                                                                  S           ,~,
                                                                                                                                                                                           27_      .F.2d 142
                             Absent a mandatory
              contract, refusal                                     arbitration clause                           Further, without
                                          to
              litigiousness, becausearbitrate is not, in itself,                                  in a           trial court to              making an
                                                    arbitration                             stubborn                                charge the juryexception pfaintifis allowed ~C
             a~~ema~ive dispute                                        is only one                               defendants regarding                               on such proffer
             to resolve a                  resolution                                         of                                                          what plaintiffs                  ofproof by
                              controversy .                 procedures to avoid                                 substantial        ertor,                                             now con tend was     the
                                                    Unless ma                               Gj a~ tha~~e                                          of law
                               aarbitration~ ;9`9o1u                                                            Accordingly           the plaintiffs                    under        the
            parties. See             G,q                                                                                                                            waived all such        circumstances
                                                                              agreement
           refusal   l to                                        9-9~6-                      s      all        95                                                                           h exceptions .
                           do         act                                   9~9-321- 9-9-61S                         l9G(?~~, ,15~ Z~~        .E ..~~~     /r °in v. Other,
           constitutes sStubborn that~ is a voluntary exercise                                       If                                               .d 217                              223    Ga . 193 .
                                           fitig               , then arbit               of rights            ~r~~n'i~~' 233 Ga .qp~ . 530_ 53](2).                ~965~~ see also Ore v.
                    bee voluntary ,                                                                                                                                           UsS,E                     CSX
                                           Thus, stubborn                      ration no loner                                                                                         .2da5(t948) .
          failure to follow                                         litig                                     Further,     IJL did got object
                                   a procedure or                         ;0~ness is not the
          Procedure in seeking                              the following                                    before it was sent                                10 the jury verdict fob e
                                          to                                     of a particular                                            out to '625
                                               resolve a legal dispute .                                     was reNmed,                                              t},e Jury or after              ;ther
                                                                                                                                   which verdict                                              the verdict
         '51 Withi                                                                                                 award      of attorney                        form
         forcing the   n               ~                  shibb om                                          counsel announced                         fees against contained              Provision for
                                                                                                                                                                             [,/i  (~ fact
                           opposite party to                            litigious"          m cans                                          to  the
         bona fide controversy                           litigate when                                         ~                                         trial court : "I h                    Plaintiffs.
                                           . liheai F-fe,~,ri                there exists no               this            ~- ( have no objection                                 ave no
        ~3~ Ge .APPRi3                                                 .ces   e                             to                                                          to   this          quarrel   with
                                       . ~S7(1)~                                 Redi-Fl~,Orr,                                                                                      form t}~~5
        7JPo-Repro .S'vcs. r.                               507 S .E .2d                                                                                                                          verdict
        S .ti2d 75g ~~qgK~ . BLrlenp. 18N Ga,A.pp. ;                              30                                "
                                                                             ;C, SRO(2) ,        ~~        Ih) (c) Althoug h
        `556 then the                Since the jury                                           373          not                        he amended counterclaim
                                                              found for the                                      have asserted a claim
       the trial court      defendants         had    a                           defendants,                                                          for attorney                   adding ix
                               did not abusebona file controversy . Thus,                                  OCGq ~ ~3_6_~ ~ by                                                fees against IJL ma
       admission
       admission ofsuch                                    its discretion                                 attorney fees in                      citation,          it asked for                    under
                          such irrelevant and                                    in denying                                         its                                                  he award
                                                          immaterial evidence                             tottious interference Prayer in (k)(iii) as to (;t                                          of
                                                                                       .                                                     with contract,                              Ount 12 for
      i~~~~~ (b~ ~e Jay                                                                                  Prayer under OCGq ~                                               which is an
      contract interferenceawarded damages for                                                           Further, *557 the                            ~ ~,F_~ ~
                                                                                                                                                                       for tiBatio n          implicit
                                     .   Both       are intentional       slander     and    for
     indicates bad faith                                                                                jury verdict form evidence, defendants,'                                           expenses .
     Proje~~                     and would                                    torts, which                                             made plain                               argument, and the
               .rri~nulCi~nrulir~g .5'vc.c. .authorize such damages . See                              OCGq ~ ~3-6-I I
                                                                                                                                    we     re
                                                                                                                                                                 that such
                                                                                                                                                                                    damages under
     G65-666(3), 425 S                                  lbr~rhim, ~06                                  objecpon . Under                        sought        from IJL, and
                                .E?d 376                                     Ga .A pp . C63,                                                                                           !IL ma de
    decide if attorne                                                                                  conformed         to the                              9           5~6                        no
                                       fees ~e      ( t~4aPP~ophate            the -                                                evidence                                    ), pleadings
    circumstances forbad faith                                              r                          7T"unso,,                                      .  See Rorlulule                            ara
   there {y any ev                            , and a verdict                  under the     t~                E               Ga .A           821 . R23(2) . 476                    Bode Shop ,
                                                                      wild he upheld                  The award of                                                             S .E .Zd 22
                            idence to                                                        if                             attorney       fees                                              (1996) .
    13-6-II ; prnfr of,.c,,ic,u                                                                     is some evid222ence                            must be
                                    Co. Support i~ verdict . pCGA ~                                  or stubborn                 to support such a~m,ed, because there
   ~'h~' 666. 426 S .E .2d                  '~r~^X      ~S~'~x . r.  lGra                                             m                                         award
   434 . 43919),                    376 ; 'u.4iybrd ~~ .                          supra al                                 litigiousness                                     on e'~Wer bad
                     40i S.E .2d                             BlVlu(k . Iq<~,                         haf(ei' Rea!
                                                                                                                       B'.   233                    grounds . ~lforris                          faith
                                       698    (1991      .                     ~ Ga   .APP~                                         Ga     .App     .
                                                                                                     259(1998 ).                                         762 764-7 65(3,         ' r. Suvannnh
                                                                                                                                                                                       505 S.E .2d
  Plaintiffs agreed with the
 in their place                          defense that each                                          2.  plaintiffs
                          [he amount                                 side would state                                   contend that the
 contended was                                  of attorney                                         over objection                                      trim court
                        recoverable with out                          fees that each                                                                                       erred
 evidence, or                                                                                      the employmentevidence as to the non-disclo in admitting
                        cross-                           testimony,tqy, documentary                                                                                               sure clause in
                                examinationplaintitFs.                                            such issue. We contract and in not directing
                         d°   So,                                      hey had                                            do not agree.                                             a verdict on
defendants' statement                                   made                             an
contended and the                  of the artiuunt no objection to
                            method that                          of attorney                              a~ The non-
                                                defendants used                      fees        employment                 disclosure of info
                                                                          to arrive at           in litigation contract was relevant                  information            provision of the
                                                                                                                    and was adm ;                          and material
                                                                                                                                          ssible .                                 to the issues



                                                 ~~oPr- C9 West
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            239 Ga .APP~ 554,                                                                                                                                                                               68 (197?1
(Cite  as :                                                                                                                                                                                    S~'2`~
                                                                                                                                                'K7' 798'7~91~)~                      '-1`~                 from this
                                                                                                                CurP     . .  ?3~ Cia .                     tailors            are excludedndisclosule of
                                                                               Witty solicited                                                Such                       limitation on no                            notice
       ,n                                    e~  idence that                        prior       to   his         (~~Z~'°'°°'~              provision         . The
                                                                                                                                                                                 that    period beri~' een
                         introduced                      defendants                                              nondisclosure                             limited          to                              and actual
 ~~p] De Qzndanv                       from th e ~e                                  his leaving,                             infonnatiori' is                             e.,       two weeks
                           awry                                                of                                 "other                                   date,         i                                     head-start
 existing business                                               time beg an 1o use the                his                        termination
                                                                                                                                                               purpose of a
                                                                                                                                                                                              two week                     iLs
                  of   emP~°Y~°~°~Ate,                   ediatelY                                                 of the                            clear                                                     Protect
  termination                    list,  and ~                              Witty       violatad                    termination        . The                        that      the      Cump~Y c~                           can
                 customer                 clients Thus,                                                                                           ee is so
  Witty too k         defendants'                                                   ~ terminating                  over the employ                                clients before the defendsnts
                                                                                                                                                                                               the ex-employee
            solicit                             ' because                                        him     all                                 ~ortacung                                                   defendants ~~
  lists ~                  emploYmz^thas                  ~ghc u~ with
                                                                          to                                        client    base by                                 -start enables                         in acquiring
               duty   ~f                                                            t~peny of the                                                                                                    cost
   fiduciary              emp~~Yee
                                                  th
                                                                            no    p                                 contact       them . Such hear time, effoR, and
   employment, an                              so long as                                                            protect their investment
                                                                                                                                                                  in                                     interest
                         he obtblamed ~,~.~P~,, Systems . ?3a C'~'~~P'                                                                                   reasonable and restric«d
    the  knowledge                                                                                       the                             This      is  a
                                  ti'i>IR s . y i 19qg~ Therefore,                                                   ~e clients-
                                                                                                                                                                                                                      contract
    employer et is taken ." .E2d '~                                                      octions N'eTe                                                                                            by written
                                S                                      even       ~t  P                                                                       and      Witty         aSRed            docum        ents were
     X51 . =?~~ 5~~'                              mlevant                                 overly broad                               vefendants                                   and related
                        provision was                                                                                          ~b~
                                                                                                                      < < ~~ defendants              customer lists                                      be used only at
     nondisclosure Since the m°~~°° '° ~~m~° e then                              `gas it was p«Per
                                                                                                                      that                                 defendants              and were to                          of his
     unenforceable .                legitimate        ob)ection,                             7~   V~~`~'rp'                   propedY         of    the                               during        ~e term                  Was
                            to a                     c~ ~., Blackburn .                                               the                                employment                                 person . Witty
      and ntit tailored mon°~l       .  See   Jones                                                                    their       P lace of                           and     6y      no third               Property      after
      to deny such                                     .                                                                                        with them                                 pT°p~ictary
      ~~~, ~y.~, <14 S.E ._d   o 55(1947)
                                    __                                                                                  emp~~Yment                        from        using this
                                                                                              first    glance                           rohibited
                                                          information" at However,                                      fudher P
                                                                                                                               termination for any
                                                                                                                                                                    Purpose
                           term        any ~~her                                                                         his                                                                                       Of activity,"
               2The                                        and amb~K~°°s'                    categories of                                                                                         "time ...
                   vague,       overly broad,                          designated                                                                p~vision             has  . a limit as to                       ten  n of this
       2Ppea[s             context      with the other                               that     a competitor                 Clearly, this                                   ~s    united to "the                             "ether
        when read in                                                                                                                       the p[ovision                                        two weeks" as to
                                refers    only ~o ~ ~°~ation comP~tidve edge                                               because                             property           and to                           been     upheld
                                                                         unfair
        items, it clear Y use in obtaining an policies, investments,                                                                                    the
                                                                                                                            contract" as toHowever, similar clauses
                                                                                                                                                                                                       have
                                                                                                                                                                                                                    confidential
                          to                                                                                    to                                                                             documented
        would wan'               rities  ,    insurance
                                                          is
                                                                           P
                                                                                services
                                                                                                P~°vided
                                                                                                                             ~~~~~~«°~           ~~                      protecting                              Sang~Se       used
         regarding secu customer zs , and                                 of~o~WCdon, i e.,
                                                                                                              rile
                                                                                                                                  a valid
                                                                                                                                                  means of                              en though theactivity ~ [Cit .)' ~
                            lists,                                                                                           as
         po~;~yholder                         been a rule                                               specific                                               crop q~rpe territory or                                           216
                          . It has long                                   term followingthing cc                                fle`S~~o ~~~a~                                                           q9 >mt) . Svrs .,
          such thents                  that    a   genera                  or  category         of                                                                                              tine '9~                       ~tiunn
                         eneds,                                                                                                                              Inc.                                                    9c°°rd
          ejusdem g ined to the same kind Stnte, 79 Ga. App by~'~                                                             Equil~T Svcs . .                           ~4~3 S .L2S AHg ~ y4 350 S.E .2d 425
                  ~5 co  nf                                    ore         v,                                                                 35,     3R(   I  11     1.                   ?-s                "
          terms                             2-2(,4):                                                                                                                              Ga .           " Sh0(2)
                                  .1 :13-                                                                                     Ga .APP                          Co .. 256                                         was enforceable
           OCGA CS ~3-211949)              .                                                                                   c.  Orkin Ez~crm . non- disclosure provision                                                  Thnrrms
           Sa S .E 2d
                         669                                                                              ,,vision                           Thus, ~e                                   it    does   not sff~t the
                                                                        non-disclosure                                         (19361      .                           because                                            during the
                                              contract , from "property, when the                                               dedespite     ~e breadth,                               }s    owledge ac9vired territory
              ,~ em         loyrtent                                                                         of this                                              subjective                       compete in           any
           The                              information                                                                                       includin8
            differentiates "other zxamined, because "any emPloYmznt                                 ~~'e                                                                     or ability to Nunn v. Orkin Esierm .
                                                                                                                                 course of          emP~°Ym`'nc                                 See
                        ,,vision is                                              not in the                                                                                 emPbyer .                             ti`hultz & a~s°c.
            entire p                 property by persons                                                  an unfair                          559 the former S.E .?~ ~ZS~ H°"~ard
             o ccnauon          or                                              said      persons            rty" and            with                               V;0                                                  S.E?d 265
             into                          N,,old provide
                                                                                          that   "p~~Pe                               . . supra       at 5601                            187-     188f~1), ?36                                8
                                                                                                                                  Cn                                       . 181,                                     at "1R~(~ 6
               ( the Company                         which indicates                            separate things                         Brmuec, 239 Ga                                      .  (~nrp . . supra
             competitive         advantage,                 ~~ ropern'~~               ace                                        v.                               ,~ . Best         ~11(                                           21competiv
             come
                                   ' about
                                                  the P                             Funkier, the ~~m~~»on         about           (19711 ; Tl~omus
              " information -disclosure                    pro~~s~~n              ~       "infonnatiod'                            S.E.2d 68 .                                                                                P~°~~s~°~
              within the non                       ,~i                    tion" or
                                              of nfom~a beyond the "term of
                                                                                                                      the                                                                      the non-disclosure
                   disclosure        *558
                                                           expend                                             the   term                                reasonableness of                          the     naturz      of the bu''~ness
               on                        does not                                         that during                              t1'~1 The                                 of time and                                           Lnt~~r
               the "Prop",   ~~ i,e. , "[tJhe EmploYee w                     agrees                  not emp~~Yed                   turns      on the factors protected . Durh«m v. tan 145 ~~ 973
                contract                                           alto any Person                            however ,                                            to 6e                          ~ . 193 S .F :?d
                                          he w~~~ °~~                                 or property ~ ~ ~ will not                     interest sought SSS, ~fi3-5Fr1(_)                                                         of clients
                of  this   Contra,
                                            access        to     said         files
                                                                                                     .   he                                          ?30      Ga    .
                                                                                                                                                                                           to   keep      the identities                         or
                                     any                                                                                             ~f ~!n. .the wntcacc sought                                                          ~~urance,
                 by ~e Cc mP        termination            of his emF~°~ent
                                                                                          or   apPt°Priate
                                                                                                                   any of            Here,                                    what        pr°duct, secudry~;64, 19A S F :2d                      ~COPY
                 ,~~~
                  a         the                                                                                                                                        as                                           at
                                    indirectly,      use, ~e "                                                                        secret as well                             to    each
                                                                                                                                                                                       ear      of them . Id .             the  p
                                                                                                                                                                                 to
                 directly or                                 the company                  ~~
                                                                                no Way a~2c~5                                          service was
                                                                                                                                                              provided                                   tailored to
                                                                                                                                                                                                                        Of the,  stock and
                  the aforesaid
                       of              Property °t~                                                                                              The      restraint wa                                  volatility
                                                                                                                                                                                                        volatility      of  ~e stuck            an
                                                                                                                                        145   .                                   By     the    very                         premi~ms                  °~~
                                                                            in                               m~ual and                                                         .
                                                                                                                                              such information and the nature of
                                                                                                                                                                                                                renewal
                           on-disclosure                     skillpro°i5i°°, his dexterity, hi'                              he         of                     markets                                               eriod   of value once
                  The n
                                 ~S tirade, his                                                     knowledge as                         commodirysuch information has a short
                                                                                                                                                                                                                   p
                      a man aP .                                      other sub~eciive  J                           t~~hichl                                                                            evidence         showed that the
                                                and      such                                emp~oYment,                                  insurance,                                   Thus,      the
                      mental ability, in the co arse of                              his                                                                               leaves      .                            head-start on formation
                                                                                                                                                                                                                                   w~~. ~°
                      n
                                     while                                    employer,                 1- 626 the tight                  the emp~~Yee                                    a two ~++ezk                          in
                       obtains                                                                   and                                                                        ~uSht                                        their
                                                                    his                                      his Property                  defendants only                               in order <°
                                                                                                                                                                                                            Protect
                                                                                                                                                                                                                             weekend was
                       are not the prop
                                                            °f
                                                              these            powe[s remains         covenant        entered                                  their dents                              evidence, a
                                              expand                                                                                       contacting                                            the
                        w ~~ and                                                    resir~ctive                                                                           lists. From
                                    curtailed      through so me                                                                           and customer
                        unless                                                                                     Best W9
                                               emp~~Y2r .                                       THomus r.
                         into with the unctuauo n omitted.)
                      (C ;tations and P

                                                                                                                                                                         Govt' Works
                                                                                                                 claim to                             Orig . U -S .
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                   Case 1:01-cv-00313-TWT Document 233 Filed 02/02/04 Page 346 of 363
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                                    554, 521 S .E.Id 619)



        enough to salvage approximately
        for the defendants .                two thirds of the
                             Documents,                       clients             Rer"se . supra at 292(l) .
        property were to be protected records, and other papers as                                           231 S .E .2d 808.
                                      indefinitely .
                                                                                   (b) On plaintiffs,
         ~~5] (c) Contrary to the                                                                       motion for new trial
                                     contentions of the Plaintiffs,                failed to raise the                           and j,p,o,v ., they
        non-disclosure provision of the                                the                               issue that the
                                                                                  against UL on a                          judgment was entered
        plaintiffs were not                contract was not invalid, and                               theory of breach of
                            entitled as a matter of law to                        tort ious interference                       contract instead of
                                                                                                         with
        directed verdict or ~o
                                    a judgment notwithstanding  either a          either double recovery, contract . Since this is not a case of
       verdict. ,Yunn v. 01 kin                                       the                                     change of the award
                                    E.r~erm . Co., supra at                       court after dispersal                                  by the trial
       S.E2d 425. Where there                                 560, 350                                   of the jury, or the
                                   is any evidence to support                     damages without actual                        award of punitive
       verdict, it is proper to                                 the jury          improper as a matter        damages so that the
                                  affirm the denial of the                                                 of law," then                "award was
       unless it is demanded                                   motions,         judgment must have                          the objection to the
                               as a mailer of law, because                                                 been
      the sole and exclusive                                 the j ury is
                              judge of the weight                                Plaintiffs, motion for directed raised in the trial court in
      Io the evidence . Genc"~~al                    and credit to give
                                                                      ve        Oth erwise, it is                  verdict, .nn.o"
                                                                                                                                 .v ., or new tr;a~.
                                  buSrcs. v. A9arcola. 231                                          waived . F d ,tf
      144, 145(2),qy7 S.E .2d                                  Ga .APA~         Cia .APP~ ~'8.                              jC . t Tiypurr, 2~ .9
                                 679 '( 1998).                                                   132-l ;3(4), 43 ; S.t .,d
                                                                                Marion, 1R: Ga.App .                         121 (1997) ; Lang v,
        tab] 3. Plaintiffs contend                                              see also 1Vnllr~ ~        361, 3fi5(3), 355 S .E .2d
                                       that the trial court ertzd                                    ,Vathsfdc                         711 (19R7) ;
      submitting to [he j                                              in                                             Gierrolet is
                          jury  an  ertoneousanarid                            Ga .App .IRS, 183(5),450S                           Herring,            215
       verdict form regarding                       aspecial
                                                     mbiguous                                                      .E2d4j2(lyyq) .        -
                                defendants' breach of
       against                                           contract claim
               UL' in accepting the verdict on such form,                       (20] If the judgment
      entering judgment on such
                                    verdict form . We do not
                                                                 and in          improper damages" is from an illegal verdict based upon
                                                              agree.           on motions for new objected to for the Frst time either
      "627 Neither the pleadings                                                                               trial or j.n .o .v .
                                        nor the evidence raised                without post trial                                   or on direct appeal
      issue that defendants                                         the                                  motions, then such is the
                                sued IJL for breach of                         that the issue could                                      first opportunity
     instead, defendants                                      contract .                                      be raised and such
                              tried a rortious interference                    appellate review. See                                    is preserved for
     contract claim . The only reason                             with                                         Ford :ylotor
                                         that the jury can be thought          13Zfg), qg ; S.E1d                             0' . v. 77ppinc, supra at
     to have returned a                                                                                         121 ; Long v. :S~urion,
                            verdict against IM on                             365-366(5, 355 S
    contract count was because                         the breach of                                      .E2d 7H ; p~~fr,.e~ ~,~,~.~ ~~~.rsuPIJ . ~-~ . at
                                       the jury verdict form                  Bovkin, 17q (,~                                                             v,
    plaintiffs expressly agreed                                   that       ~ 1985). Flowever,                269,    276-27
                                    to submit to the jury                                               this is not such a
    only for breach of
                               contract, instead of for provided             issue for the first
                                                                                                       time on appeal and not
                                                                                                                             case . Plaintiffs raised
                                                                                                                                                        the
    interference with contract .                              tortious       directed verdict, j .n .o .v.,                         in their motions for
                                  This was ertor.
                                                                             failure to timely object               or   new   trial, Therefore,
   However, IfL made no timely                                                                                at the first opportunity              UL's
                                        objection about such jury           of the judgment                                               as to the fom,
   verdict form, but expressly                                                                        results in a waiver of
                                  agreed to it After [he                    see        First U~,Inn ,Nae                            such alleged error
   was returned, I7L did                                    verdict         7;5~ ~ j, q~j                    Band~ . Boyk  t, 216                        .
                          not object to the verdict                                            S .E .2d 406 ( ~yysj~                     Gu ..qpp . 73 :,
   could have had the jury       polled                or form aid                                                       see also Furl Afou,r
                          j                                                 TF'P«"', supra at 133, 03 5,L,2d 1=~ .
  understanding regarding                  as to their intent and
                             the
  ~1L for breach of contract verdict *560 returned against
                                 However, IX failed to                      12114- Plaintiffs contend
  Neither in its motions (orj                               do so.                                     that the trial coon
                              .n .o .v, nor for new trial                   UL's *561 motion for                           erred in denying
  objection made .                                        was such                                   directed verdict on
                                                                            counterclaim for                                the defendants'
                                                                            employment contract .10141011.5  interference with Wittys
                                                                                                  We do not agree.
   1»]UHl(191 (a) If the verdict was illegal
   erroneously accepted the                      and the trial court
  a duty to timely object     verdict, then plaintiff's were            [22] "Where a jury returns
                           to the irregularity before          under    of the trial judge, the
                                                                                                         a verdict and it
                                                                                                                             has
  excused . Plaintiffs failure                         the jury was                                same must 6e affirmed the approval
                                to do so waived any                     there is any evidence                                     on appeal if
  timely objection permits                               defects, p                               to support it as the
                             the trial court to                         and exclusive judges                             jurors are the sole
 the verdict in the presence                    reform or remodel                                  of the weight and
                                   of the jury before they             evidence ." (Citations                               credit given the
 excused and saves precious                                      are    136 -a- pp- 412 .         omitted   .) Tn~~lnr v . Gn.
                                                                                                                                   ow" Co .,
 fl'esl Ga. Pidpi~~nod &c .        judicial  time   and  resources.                          Al311) . 221 SF .2d
                             Co. v. Step/~<~iu, 128                    Ce~re~rrlbrs . Svcs, r. ~blrrrcola,             )2? (1975) accord
          193 S .E .:d 4?0 (1973) ;                   Ga.App, 864,'                                         supra m 145, 497 S
                                       see Folds r. Reese, 140                                                                     .P, .?d (79 .
 Ga .App, 291, 292(2), 231 S                                          fin-  was
                               .E2d 808 (1976) . "Upon                            a stranger   to   the
an improper verdict                                        hearing    Witty and the defendants ' " employment contract between
                         rendered, a litigant should
silently by, hoping to gain                                 not sit   While fli, could hire             628 and acted without Privilege
                                a retrial
(Citation Omitted .) Clifton r. ('(,lion, by failing to object."                               Witty away fro,, ~e                            .
                                                                      no privilege to induce                            defendants, it had
S .f:.Zd SIR (1982) ;                     249  Ga . 831, 83?. 294                                  Witty   to terminate his
                      accord LaBmu I,. Bunk                          with the defendants                                        employment
198 Ga .App. 79, 82(l ) . -100 S .[                 Sough ,M~~u,   weeks                      without giving the
                                     ;-2d 357 (199p) ; Folds                  notice as required                           defendants two
                                                                 v.                                     in the contract .
                                                                     legitimate economic                                      IJI, lacked a
                                                                                              interest in       inducing Witty to
                                                                                                                                        terminate


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the contract early and bring his customer lists with him .          right of action fur the damages because he can not furnish
()iaos(er Sccs . v. ERC Partnership, 22H Gn .App . 739,             exact figures ." Id . at ;2G. 72 S .G. 191 . "The rule against the
7d0-741 . 492 S .E .2d 526 (1997) . In fact, I1L had a wrongful     recovery of vague, speculative, or uncertain damages relates
motive in having Witty make the termination immediate               more especially to the uncertainty as to cause, rather than
without the required notice period ; such action gave Witty         uncertainty as to the measure or extent of the damages ."
time to solicit the defendants' clients so soon after the           (Citations and punctuation omitted .) Moll) Pitcher Cunning
termination that the defendants would not have dime to              Co . v. Central of Co . K . CU ., 149 Ga .App . 5, 11(-0), 253
contact their clients first . Witty sought to acquire the clients   S .E.2d 392 (1979) ; see also Second Continental v. efflanta
for UL to the detriment of the defendants during the two            E-Z Builders . 237 Ga .App . 304, 514 S .E .2d 846 11999) . The
weeks . Equi(a.r Srcs . v . Examination :L/gmL Srcs . . Inc .,      losses must be directly traceable to the acts of the other
supra at 37 . 453 S .E .2d 483 . Further, IJL expected Witty to     party . Grossberg v. Judcon Gilnrore Assoc . 196 Ga .App .
bring some or all of the customer lists, even if he had to          107 . 10912), ;95 S .E .2d 592 (1990 . Such was done in this
hand write them (as he did), so that he could solicit them to       case .
move their accounts during the two week period .
                                                                    [27] "9t is the general rule in this state, when the owner of a
Witty breached the notice provision and the nondisclosure           business seeks to recover lost profits, that recovery can be
provision of the employment contract with the aiding,               had only if the business has a proven 'track record' of
abetting, and urging of IJL. The defendants lost                    profitability." Stein's Gallery o% Gifts r. Corp. Property
approximately one third of the clients as a result, either to       /nvesiorc. 176 Ga .App . 9$6, $y2(3). 337 S .E .2d 29 (1985) .
IJL or others, because the defendants did not have adequate         Here, this was a going concern with a history of profits;
time to properly contact them due to lack of notice .               therefore, lost profits can be shown by the evidence of past
                                                                    earnings, expenses, and profits with reasonable certainty to
[23] The elements of rortious interference with contractual         enable ""629 the jury to calculate the damages . Rndfn n/'
relations, business relations, or potential business relations      Gn. v. Little, 129 Cia.App . X30, 534(2) . 199 S.E .2d 835
are : (I) improper action or wrongful conduct by the                (1973) ; accord Tnpralcn, Inc r. Garner, 210 Ga .App . 358.
defendant without privilege; (2) the defendant acted                361(3), 436 S.E .2d 29 (1993) .
purposely and with malice with the intent to injure ; (3) the
defendant induced a breach of contractual obligations or            While plaintiffs repeatedly objected to the defendants'
caused a party or third parties to discontinue or fail to enter     evidence of damages, plaintiffs never made the specific
into an anticipated business relationship with the plaintiff;       objection urged before this Court for the first time that
and (4) the defendants tortious conduct proximately caused          expenses must be deducted from earnings to establish lost
damage to the plaintiff. See Disaster Svcc . v . ERC                profits . Plaintiff's waived its objection to the admission of
Partnership . supra al 740, 492 S .E .2d X26 ; Renden, Inc. v .     evidence of loss profits without proof of expenses for failure
Liherq " Rent Fslale &c., 313 Ga .App. 33), 334-335(2), 919         to assert such reason before the trial court, because the
S .E .2d 814 (1994) . In this case DL intermeddled with             objection at trial must be on the specific ground enumerated
Witty's employment contract to persuade him to come to              as error on appeal and not as a new ground raised for the
work for it without giving the required two weeks notice .          first time on appeal . See Williams v. .Slate . 191 Ga .App .
                                                                    217, 218(2, 331 S.E .2d 399 X19891 ; Rrrnrtz v State. 182
"562 The any evidence standard of review for the denial of          Ga .App . 609, 610(11, 356 S.F2d 698 (1987) ; see also
the motion for directed verdict requires the affirmance of the      Y'elverfon v. State, 199 GaApp. dl . 43-dd(2) . 903 S.E .2d
trial court. X1cCnnnon v. McCannai, 231 Cra .App . 601(1),          R16(1991).[FtiIJ
499 S.E?d 684 (1998) ; Duublelree. Inc. v. Schan(ev, 226
Ga .App . 776, 487 S .E .2d 506 (1997) .                                    FN I . However, the testimony in the transcript was
                                                                            that there were no additional costs related to the
(24][25][261 5 . Plaintiffs contend that the trial court erred in           commissions lost, because the overhead was fixed .
admitting speculative and incompetent evidence of
defendants' damages and lost profits. We do not agree.              [28] '563 In this case, the defendants had an established
  Where a party sues for specific damages, he has the               business with a record of profits after deduction of
  burden of showing the amount of the loss, and of showing          expenses . Therefore, the trial court did not abuse its
  it in such a way that the jury may calculate the amount           discretion in admitting such evidence .
  from the figures famished, and will not be placed in the
  position where their allowance of any sum would be mere           [29] 6. Finally, plaintiffs contend that the award of $82,690
  guesswork .                                                       against IJL was not authorized by the evidence and was
National Ref. &c. Ca c. Pnnnadee. 9 Ga .App . 725, 726(1),          grossly excessive. We do not agree .
72 S.E . 191 (1911) . "However, the party does not lose his
                                                                    The testimony of Jansson, J .C . Armstrong, and Karen Suggs




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showed that Witty's leaving without two weeks prior notice
cost the defendants $165,379 .99 over three years in lost
commissions from clients that they lost to Witty or others
and that (here were no expenses attached to such
commissions, because the overhead was fixed . Such
evidence was sufficient to create a jury question as to
damages, which can be determined with reasonable
accuracy, and to support the verdict for lost profits . Gipsnn
v. Phillips, 232 Ga .App . 235, 236. 501 S .E .2d 570 (19)8 ;
R .T Pa(lersnn Funeral Home v. Head, 215 Ga .App . 578,
584-58514) . 451 S .E .2d 312 (1994) (physical precedent
only) ; Crosbv v. Spencer, 207 Ga .App . 487 . 488(1), 426
S .E .2d 607 (1993) ; Bowdish o. Johns Creek Assoc . . 200
Ga .App . 93, 96(4) . 406 S .E2d 502 (1991) .

[30] The award of $82,690 was within the range of the
evidence before the jury . Absent a showing that the jury
verdict was so flagrantly excessive as to shock the
conscience, creating a clear implication of bias, prejudice, or
gross mistake on the part of the jurors so as to warrant a
new trial, the appellate court will not disturb a verdict
approved by the trial court. Morris r. Savannah Valley
Ren(lv, supra at 765(q)~ $0S S.E .2d 259; [fells r. RnGcris,
2?5 Ga .App . 112. 113(1), 383 S.E .2d 339 (1997) .

Judgment armed.

POPE, P.J ., and SMITH, J., concur .

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END OF DOCUMENT




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        EXHIBIT / ATTACHMENT

                           5'V
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                                                                   possession is lawful is such a conclusion as can properly be
                 Court of Appeals of Georgia.                      pleaded.

                      WOODRUFF et al .                             In neither petition nor answer is an exhaustive statement of
                           v.                                      the exact evidence upon which a party will rely in the
                            HUGHES .                               establishment of his contentions required . On the contrary,
                                                                   so far as matters of inducement and other minor matters are
                             No . 405.                             concerned, a clear, brief statement of immaterial matters
                                                                   (the briefer the better) is to be commended.
                           July 18, 1907
                                                                   [Ed. Note .-For cases in point, see Cent . Dig. vol. 39,
                    Syllabus by the Court.                         Pleading, § 31 .]

Where civil liability for a conspiracy is sought to be             There was no error in overriding the demurrer .
imposed, the conspiracy of itself furnishes no cause of
action . The gist of the action is not the conspiracy alleged,     Error from City Court of Atlanta; H. M . Reid, Judge .
but the tort committed against the plaintiff and the damage
thereby done .                                                     Action by l. A. Hughes against G. W . WoodrufTand others .
                                                                   G. W. Woodruff was dismissed for want of proper service,
[Ed. Note .-For cases in point, see Cent. Dig . vol . 10,          and from a judgment for plaintiff the other defendants bring
Conspiracy, §§ 4, 5.]                                              error. Affirmed .

A conspiracy is the combining of two or more persons for                                 West Headnotes
the purpose of doing something unlawful, oppressive, or
immoral, as a means or an end. The allegation and proof of         Conspiracy $~.2
conspiracy is important to the action only because it will         91 k2 Most Cited Casts
enable the plaintiff to recover his damages in case the
                                                                   A conspiracy is the combining of two or more persons for
conspiracy can be proved, not only from the actual
participants engaged in committing the injury, but also from       the purpose of doing something unlawful, oppressive, or
those defendants who conspired to accomplish it, although          immoral, as a means to an end.
neither present nor participating. An averment that the acts
                                                                   Conspiracy &Mr5
alleged were done in pursuance of a conspiracy does not
                                                                   91 k5 Most Cited Cases
change the nature of the action, but it may be pleaded and
proved as aggravating the wrong of which the plaintiff             Where civil liability for a conspiracy is sought to be
complained, and to enable him to recover against all the           imposed the gist of the action is not the conspiracy alleged,
conspirators as joint tort-feasors, or (in case no conspiracy      but the tort committed against plaintiff and the damage
be shown) that the plaintiff may "552 still recover against        thereby done .
such of the defendants as may be guilty of the tort .
                                                                   Conspiracy &~18
[Ed. Note .-For cases in point, see Cent . Dig. vol. 10,           911<18 Most Cited Casts
Conspiracy, §§ 1, 2.]
                                                                   In an action on the case for conspiracy, the allegation and
In an action on the case for conspiracy, the allegation with       proof of conspiracy is important to the action only because
reference to the combination, conspiring, and concert of           it will enable plaintiff to recover his damages in case the
action are mere matters of inducement leading up to the            conspiracy can be proved, not only from the actual
relation of the acts from which conspiracy may be inferred .       participants engaged in committing the injury, but also from
To show conspiracy, it is not necessary to prove that the          those defendants who conspired to accomplish it, though
parties met together or entered into any specific or formal        neither present nor participating.
agreement, or that by words or writing they formulated their
unlawful objects. Proof that two or more persons, either           Conspiracy F=~19
positively or tacitly, come to an understanding that they will     91k19 Must Cited Cases
accomplish an unlawful design, or a lawful design
unlawfully, is sufficient .                                        In an action on the case for conspiracy, the allegation with
                                                                   reference to the combination, conspiring, and concert of
Possession of realty is presumed to be lawful until the            action are mere matters of inducement, leading up to the
contrary appears, and, where possession is alleged, that such




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relation of the acts from which conspiracy may be inferred,      and that under said warrant the plaintiff was arrested and
and to show conspiracy it is not necessary to prove that the     carried before a magistrate, where, upon securing hi
parties met together or entered into any specific or formal      recognizance bond, he was released from custody. The
agreement, or that by words or writing they formulated their     petition thereupon proceeds to allege that, being released
unlawful objects, but proof that two or more persons, either      from custody, the plaintiff resumed to the said premises,
positively or tacitly came to an understanding to accomplish     unlocked the door, he having the keys of said house in his
an unlawful design, or a lawful design unlawfully, is            custody, and went into the house, and found therein and on
sufficient .                                                     the premises agents and servants of the defendants ; that
                                                                 immediately thereafter and on the same day the defendants,
Pleading "(11)                                                   still further carrying out the conspiracy, caused a warrant to
302k8(11) Most Cited Cases                                       issue charging the plaintiff with the offense of forcible entry
                                                                 and detainer, under which warrant plaintiff was arrested,
Where possession is alleged, that such possession is lawful      incarcerated in jail for four or five hours, and, upon giving
is such a conclusion as can properly be pleaded; possession      his bond, was finally released from custody; that, after being
of realty being presumed to be lawful until the contrary         released the second time, the plaintiff repaired to said
appears.                                                         premises and undertook to repossess himself thereof, but
                                                                 was by force and violence on the part of the defendants
Pleading C=1 l                                                   prevented from repossessing himself of said property, and
302k11 Most Cited Cases                                          that the defendants took possession thereof and retained the
                                                                 same over his objection and protest; That, the warrants
In neither petition nor answer is an exhaustive statement of     coming on to be heard, the magistrate dismissed them, and
the exact evidence on which a party will rely in the             plaintiff was discharged from custody; that both of the
establishment of his contentions required; on [he contrary,
                                                                 warrants were sued out maliciously and without probable
so far as matters of inducement and other minor matters are
                                                                 cause, defendants well knowing that the plaintiff was in
concerned, a clear brief statement of immaterial matters is to   lawful possession of said premises and had not committed
be commended .                                                   the crimes charged in said warrants ; that said prosecutions
Payne, Jones & Tones, for plaintiffs in error.                   were pressed against him maliciously and without probable
                                                                 cause, there being aggravating circumstances both in act and
R. B . Blackburn and Westmoreland Bros ., for defendant in
                                                                 intention in the conduct of proceedings against him; and that
error.
                                                                 the plaintiff, by reason of said conduct on the part of said
RUSSELL, J .                                                     defendants, was greatly wounded in his feelings, held up to
                                                                 contempt and ridicule, and humiliated in the extreme. It is
J. A. Hughes brought suit in the city court of Atlanta against   alleged that both of the prosecutions alleged were a part of
G. W . Woodrvff; E . Woodcuff, J. C. Gentry, Robert P.           one and the same scheme, conspiracy, and confederation of
Jones, and Winfield Jones, to recover damages for an             the defendants to oust the plaintiff from the possession of
alleged conspiracy to oust the plaintiff from the lawful         said property and gain the physical possession thereof. The
possession of certain premises . Some time after the             plaintiff seeks punitive as well as actual damages, and asks
institution of the suit, G. W. Woodruff was dismissed as a       judgment against the defendants in the sum of$10,000.
party defendant, on account of failure to properly serve him
                                                                 We will first consider the general demurrer of the
with copy process. To the original petition, the defendants,
jointly and severally, demurred generally, as well as            defendants alleging that the petition sets forth no cause of
                                                                 action, because, if that contention is well taken, the special
specially. The demurrer, on being heard before his honor,
Judge Reid, was overruled . To the order overruling said         demurrers need not be considered . We think the petition sets
                                                                 forth such a cause of action as will withstand the general
general and special demurrers, the defendants except. The
                                                                 demurrer . It has *553 been frequently said that there is no
petition alleges, in substance, that on the 3d of February,
                                                                 legal term of which it is more difficult to give an exact
1906, the plaintiff was in lawful possession of a certain
house and lot in the city of Atlanta, known as "No. 16           definition than conspiracy, and yet its essentials are easily
                                                                 enumerated . "The elements of a conspiracy are : (a) The
Railroad street" having been in lawful possession thereof
                                                                 confederating: The combining together of two or more
from the 10th of January, 1906, up to and including the 3d
of February, 1906 ; that the defendants, conspiring and          persons. (b) The intent : For the purpose. (c) The object : Of
                                                                 doing something unlawful or oppressive, or immoral, as a
confederating for the purpose of evicting the plaintiff from
said premises, undertook forcibly to eject him therefrom,        means of an end." Eddy on Combinations, § 365, p. 238 .
failing in which, one of the defendants, acting for and on       The law of civil conspiracy is only an extension of the law
                                                                 of criminal conspiracy, and, as far as rights and remedies are
behalf of the others, caused a warrant to issue against the
                                                                 concerned, all criminal conspiracies are embraced within
plaintiff charging him with the offense of criminal trespass ;




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                civil conspiracies
                                        . In a
                together is the essence criminal conspiracy, the conspiring
                an Unlawful act                  of the charge . It                                           in the
                                     or to do a lawful act              must be either W do                           petition to set forth and constitute a
                means, but proof'                                  by   criminal or unlawful                  the  above definition?                                             conspiracy within
                                           of the conspiracy                                                                                     And does it
               au~horiaz a conviction                                     to do either wild                   was damaged by                                           appear that the
                                                 . On the other                                                                        reason        thereof      . If both of these plaintiff
               liability for a                                           hand, where civil                   be answered in the                                                             question,
                                    conspiracy is sought                                                     then there was              affirmative            (as  we think they
               conspiracy of ;t~elf                                    to be imposed, the                                           no  erzor      in overruling the                      should   be),
               the action is the          famishes no cause                                                  The law recognizes                                                 general demurrer
                                                                      of action . The gist                                                     the intrinsic                                           .
                                    damage, and not the                                           of        conspiracy . The                                          difficulty of
              U~°~ns . 1., in Boston v .                           conspiracy, As said by                                            allegations                                          Proving 8   a
                                                  Simmons . X50                                             treated as                                    with    reference to
              211 . (, L. R. A, ti29,                                            qb,;, z~ ,~ . ~,
                                          1 S Am . St . Rep ~ 'Mass .                                                      matters ~~
                                                                                                            Particular description ;nducement leading up to a
                                                                                                                                                                                    conspiracy are
              a conspiracy in                                   -  -30: "The averment                                                          of                                               more
                                    the declaration                                              of         may be inferred .                         the    acts from which
             the nature of the                             does not ordinarily                                                      It has even been                                     Conspiracy
                                     action, nor add to its                              change            necessary ~o prove                                     held   that, when it becomes
             The gist of the action                                  legal force or                                                      a conspiracy
                                            is                                            effect.
             tort Committed against not the conspiracy alleged, but                                        defendant with the
                                                                                                                                       wrong complained
                                                                                                                                                                    in order to
                                                                                                                                                                                       connect the
                                             the Plaintiff and                                the          conspiracy need be                                           of, no avertnen( of
            done wrongfully .                                         the damage thereby                                                made        in the pleadings                             the
            if done 6y one           Where damage results                                                 proved . Parker v.                                                   to entitle it to be
                                alone, would not afford from an act which,                                certainty ~s required        HuntenKtun,             ? (,~~~. fMass
            like act would not be                                  ground of action,                                                      in setting out matters                     .) 124 . Less
                                                                                             the
           several in pursuance rendered actionable because done                                          than in setting
                                                                                                                              out    the gist                                    of inducement
                                          of a conspiracy,                                    by         that paragraph 3                          of the action . We
           when                                                     On the other hand,                                                                                         think, therefore,
                   the tort committed and the damage                                                     forth   a
                                                                                                                                    of the plaintiffs
                                                                                                                                                                  petition sufficiently
          Proceed                                                    resulting                                     conspiracy        between
                       fro' a sexes of connected acts, the                         therefrom             he can, to hold                             the defendants to
                                                                                                                                                                                 enable him, if
                                                                                                                                                                                               sell
          they Fare done by several                                          avem,ent [hat                                    all of them liable
          not so change                         in  pursuance      of a conspiracy                      aggravate     and increase his                        as  joint   tort _feasors, and (o
                             the nature of the                                           does           be entitled to                              damages should he
         acts are s hown to                             action, that, if the                                                   any,                                                 be found to
                                   have been done by                               wrongful            inferred from q,e                The conspiracy
         maintained against him                                one only, it cannot                                               nature                                may sometimes
                                              alone, and the other                          be                                               of    the act, done, the                           be
         exonerated" Whether                                                                           parties, the interests                                                   relation of the
                                         a  conspiracy be civil                  defendants                                            of   the     alleged
        the person who                                                                                circumstances . The
                               is the object of such                      or criminal, if
                                                                                                      out in the                     rule is to allow conspirators, and other
        he has his remedy
                                  in an action on a           conspiracy        is damage,                             complaint the particulargreat                 act latitude in settin g
        rY~~ 645,                                          case. As pointed                           conspiracy is to 6e                                                  upon which the
        cause of actionthe statement that the conspiracy                            out in g         acts of the                     inferred, and even
                                                                                                                                                                       to allow individual
                            has two meanings                            is not itself the                            conspirators to be
                                                       : (1) That the                                it is not necessary                            averred. "To show
       executed to the injury                                              conspiracy is                                        to Prove an                                        conspiracy,
       will not render                of  another    ; and   (2) that the                           to    the  parties thereto. The                  express contract or
                                an act unlawful                               conspiracy                                                      essential                             agreement
      committed by one. But                                which is lawful                          the common                                                 element of the
                                        all parties to a                              when                             design     ;  but   it   need not appear                       charge is
      and severally liable                                   conspiracy are jointly                 met together either                                                     that the parties
                                  for damages                                                       any                            formally        or
      combination and acts                           occasioned b~" the unlawful                           explicit o~ ~o~al agreement,informally, or entered into
                                    done by any one of                                             should appear                                             nor is it essential
      furtherance of a                                            the conspirators ;n                                     that either by
     Conceding, then, common                  object become the                                    formulated their                                   words or by Writingsthat it
                                that an averments                          acts of all,                                    unlawful objects . (t                                           they
     were done in pursuance                                 that the acts alleged                  more persons in                                             is sufficient that
                                        of  a                                                                                 any manner                                                two or
     nature of the action                      conspiracy does nut                                 come to a mutual                                   either      p
                                  or add anything                           cchange the                                             " 554 understanding                        Y or tacitly
    allegation and proof of                                to its legal effect                    accomplish the                                                          that they 4, ;~~
                                      conspiracy is impor~nt                           the                                 unlawful         design       .
    only because it                                                      to the action            conspiracy is formed,                                      And any one,
                             wit!                                                                                                      who ki,ows of                                  aRer a
    damages against such enable the plaintiff' ~o recover                                         purposes and joins
                                                                                                                             therein,                                its existence
                                                                                                                                                                                          and
                                   of the defendants                                   his       as if he had been                         becomes as
    be gU ;~ty o~
                        the ion, even                        as may be shown to                                            an original member much a party thereto
   conspiracy or concerted                        should he fail to                              368. The petition,                                           ." 1 Eddy on
                                       design ; and it may                    prove a                                       then, Sufficiently                                     Comb . §
   proved as                                                        be                           together of two or                                         alleged "the
                    aggravating the wrong                               pleaded and                                         more       persons       ." ft also alleged        combining
   complains and to                                     of which the Plaintiff                  (for the purpose)
                              enable him to                                                                                 of evicting                                          the intent
   defendants as joint                                 recover                                  described      . Then                             Plaintiff        from the
                                                                   against all the                                      was the object of
  proved, the party ton-feasors . !f the conspiracy can                                         the means used                                         their conspiracy, premises
                             wronged may look                                         he                              or in the end sought                                        either in
                                                            beyond the actual                  oppressive, or                                             to be atta ;ned,
  participants in committing ~,e ~~~~n,                                                                             immoral)          According                                 unlawful,
  defendants whoever                                     and join                              petition, the means                                        to the allegations
                               conspired to accomplish with them us                                                        used
                                                                                               unlawful and malicious to accomplish the eviction
                                                                                                                                                                                     of the
 will not lie to, : he                                              it. "qn     action                                              use                                           was    the
                           greatest conspiracy                                                those allegations,                          of     legal prose .
 be put in execution;
                              but, if he party imaginable, if nothing                         sworn out against
                                                                                                                        two warrants
                                                                                                                                               without
                                                                                                                                                                          According
                                                                                                                                                              any foundation
 will lie. " Savile v.                                be caged, the                                                      the                                                            ere
                          Roberts, it Ld. Rayrr,,, 37q.                        action         confined in jail, and plaintiff Hr was
                                                                                                                            subjected         to               twice          sted, was
                                                                                                                                                                         arrested
in passing upon the                                                                          If these allegations                                 humiliation without
                                 general demurrer,                                           right to the                  be true even if                                         cause.
questions need be                                              then,                                             ~ysession of the                       the defendants
                          considered : Were                              only two                                                          premises, they                        had   the
                                                     sufficient facts alleged               and immoral means                                                         used unlawful
                                                                                            pursuance of a                 to  obtain       is   If this action was
                                                                                                                   common intent,                                              taken in
                                                                                                                                              understanding or
                                                                                                                                                                           design, al)


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who participated in the acts alleged would be liable . If the      neither by itself, nor with conjunction with other paragraphs
proof failed to show conspiracy, then any one guilty of            of the petition, alleges any circumstances upon which the
either of the unlawful means by which petitioner was               conspiracy can be based. As we have already stated, the
damaged (if he was damaged as alleged) should respond. In          conspiracy is not the cause of action, and the statement of
view of what has been said above, there was no error in            conspiracy is only for the purpose of aggravating the
overruling the general demurrer . The conspiracy was               damages and of joining defendants who may have
sufficiently alleged. It is immaterial whether the act which it    conspired, and yet have not personally participated in the
is alleged the defendant intended to do was or was not             acts done . This demurrer is settled by the case of Parker v .
unlawful, oppressive, or immoral . "Conspiracy is the              Huntington, above cited. And, for the same reason, the
combination of two or more persons to do (a) something             statement in the petition in regard to defendants causing
that is unlawful, oppressive, or immoral; or (b) something         Winfield Jones to appear before a justice of the peace and
that is nod unlawful, oppressive, or immoral, by unlawful,         make oath that the plaintiff had committed the offense of
oppressive, or immoral means; or (c) something that is             forcible entry and detainer is sufficiently ample.
unlawful, oppressive, or immoral, by unlawful, oppressive,
or immoral means." 1 Eddy on Comb. § 171 . The means               (4, 5) Defendants demur specially to the allegation that
alleged, in either event, were unlawful and oppressive . The       plaintiff "sought to repossess himself thereof, but was by
damages were such as were connected with and would                 force and violence, menace, and threats made by defendants,
naturally flow from the tortious acts alleged. The damages         their agents and servants, prevented from repossessing
being the gravamen of the action, the act or acts causing          himself of said property," on the ground that it is not alleged
such damages are required to be set forth with particularity;      by what authority or title the plaintiff sought to repossess
but no complaint is made upon this score by defendants,            himself, and because it is not alleged how the parties
and, indeed, we think there is no room for such complaint.         seeking to prevent the plaintiff from entering the premises
                                                                   were the agents of the defendants . They also demurred
The defendants demurred specially as follows:                      specially to the allegation that "the defendants, their agents
                                                                   and servants, took possession thereof and retained the
(1) 7o the allegation in paragraph 2 of the petition, that         same," on the ground that the allegation does not show that
plaintiff was in lawful possession of a certain house and lot      the defendants, their agents and servants, had no authority
in the city of Atlanta, etc., on the ground that the allegation    or right to take possession of said premises . We think this
is a mere conclusion of the pleader and not based upon any         special demurrer was properly overruled, not "555 only
alleged facts to substantiate it ; and to the allegation in the    because it fails "to put its finger on the point" by specifically
same paragraph with reference to the length of time which          stating what further allegation should have been made, but
plaintiffs lawful possession is stated to have existed, upon       also because no amendment was necessary . It is impossible
the same ground ; and because it is not shown, by the              and impracticable for a pleader to do more than state the fact
allegation of said paragraph alone or in conjunction with          upon which he relies . He is not required to insert in his
other paragraphs of the petition, by virtue of what authority,     petition or plea a statement of the evidence upon which he
right, interest, or title, or by consent or authority of what      expects to rely any more than to give the names of the
person holding title or right of possession of said premises       witnesses by whom he hopes to establish his contentions .
the plaintiff was in lawful possession of said premises . We       The same ruling applies to the fifth special ground of
think that this demurrer was properly overruled, because, if       demurrer .
it is specific enough to reach the word "lawful" as being the
conclusion of the pleader, it would not be well taken,             (6) The sixth special ground of demurrer complains that the
because possession is presumed to be lawful until the              plaintiff fails to show any facts constituting lawful
contrary appears, and the statement that the possession was        possession on the part of the plaintiff, or how the defendants
lawful would be such a conclusion as naturally followed the        could have known of such alleged lawful possession . As
statement of possession . For the same reason, it is not           already stated in ruling upon the first demurrer, the insertion
necessary for the petitioner to state by what authority or title   of the word "lawful" was a conclusion properly to be
he is in possession . Indeed, from our standpoint, the matter      derived from the other facts stated, and could be averred .
is entirely immaterial, because it is a statement made by the      And, in the absence of proof to the contrary, the defendants
way of inducement leading up to the tort alleged later in the      would be presumed to have notice and knowledge of the
petition .                                                         character and extent of the plaintiffs possession . Defendant
                                                                   also demurs to the statement of the petition contained in
(2, 3) The second ground of demurrer complains specially to        paragraph 11, "there being aggravating circumstances, both
the allegation that "the defendants each and all confederated      in act and intent, """ and said acts were wanton and willful
and conspired together for the purpose of evicting plaintiff       and oppressive in the extreme;" the demurrer being that the
from said premises," on the ground that said allegation            allegation fails to show how the act and intent of defendants




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were wanton and willful, and of what the aggravating
circumstances consisted . We think it clear that the
aggravating circumstances and the wanton, willful, and
oppressive conduct of the defendants can well be derived
from the allegation with reference to the issuance of the
warrant and the arrest thereunder . If those allegations are
proved, the jury would have the right to infer that the act
and conduct of the defendants were willful and wanton and
oppressive in the extreme .

(7) The seventh special ground of demurrer, that the
allegations of the petition failed to show any facts or
circumstances upon which the conspiracy to oust the
plaintiff from possession is based, was without merit; for, as
hereinbefore oiled, no averment is necessary on the subject
of conspiracy further than that one was entered into between
the defendants .

(8, 9, 10) The eighth, ninth, and tenth special grounds of
demurrer were properly overruled, because, although the
petition may have contained the statement of facts which
might have constituted separate and distinct causes of action
and alleged acts done at different times, and differing in
character, still each of these acts, as clearly appears from the
petition, are state to have been done in pursuance of and
with a sole view to effectuate the illegal conspiracy,
unlawfully to deprive the plaintiff of his possession of the
premises .

The allegations of plaintiffs petition are consistent, and will
entitle him, if proved as laid, to a recovery . A conspiracy to
oust him by unlawful means from premises of which he was
in possession is alleged. The unlawful acts used in carrying
out the intent and purpose formed are fully detailed, and his
damages, flowing from these acts, are set forth.

Judgment affirmed .

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        EXHIBIT / ATTACHMENT

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                                                                 who was also president of California corporations at time
                                                                 ,he signed oath, was less than candid with her fellow board
         Woodstock's Enterprises Inc . (California)              members and shareholders, her actions do not taint her
                           v.                                    underlying good faith belief that respondent corporation, as
           Woodstock's Enterprises Inc. (Oregon)                 undisputed senior user of mark, was entitled to unrestricted
                                                                 federal registration .
                  Cancellation No . 21,229
                                                                 TRADEMARKS AND UNFAIR TRADE PRACTICES
   U .S . Patent and Trademark Office Trademark Trial and        141 Acquisition, assignment, and maintenance of marks
                         Appeal Board                            -- Abandonment - In general (Section 305.0701)
                                                                 Maintenance of exclusivity of rights in mark is not required
                  Decided tune 26, 1997                          in order to avoid finding of abandonment, since few
                  Released June 27, 1997                         longstanding trademarks could survive such rigid standard ;
                                                                 rather, so long as at least some purchasers identify
United States Patents Quarterly Headnotes                        respondent with registered mark, it cannot be held that
                                                                 respondent's course of conduct has caused registered mark
TRADEMARKS AND UNFAIR TRADE PRACTICES                            to lose its significance as source indicator.
III Registration and its effects - Federal registration --
Procedure, form, and content - Applications (Section             TRADEMARKS AND UNFAIR TRADE PRACTICES
315.0303.01)                                                     /51 Acquisition, assignment, and maintenance of marks
Practice and procedure in Paten[ and Trademark Office            -- Abandonment - In general (Section 305.0701)
- Fra ud or inequitable conduct (Section 325.07)                 Cancellation petitioner's right to continue to use registered
Trademark application oath is phrased in temps of subjective     mark is not determinative of whether respondent has
belief, thereby making it extremely difficult to prove fraud     abandoned mark, since focus must be on what rights, if any,
so long as signer has honestly held, good faith belief, and      respondent has in registered mark, and since mark becomes
this wording of oath in semis of applicant's "belief"            abandoned only when it loses its significance as indication
precludes definitive statement by affiant that could             of origin, rather than as sole identification of source; thus,
ordinarily be used to support charge of fraud.                   regardless of whether petitioner has right to use
                                                                 "Woodstock's" mark for restaurant services, fact that
 TRADEMARKS AND UNFAIR TRADE PRACTICES                           registered "Woodstock's Pizza Parlor" and design identifies
 (21 Practice and procedure in Patent and Trademark              respondent as one of two sources of restaurant services
 Office - Fraud or inequitable conduct (Section 325.07)          negates any inference of abandonment .
 President of respondent Oregon corporation, at time she
 signed oath in application for registration of "Woodstock's"    TRADEMARKS AND UNFAIR TRADE PRACTICES
 marks for restaurant services, had good faith belief that       161 Acquisition, assignment, and maintenance of marks
 respondent was owner of mark and that "Woodstock's"             - Abandonment - In general (Section 305.0701)
 corporations in California did not have right to use            Rationale behind finding abandonment of mark where
 registered mark without respondent's authorization, since it    licensor has failed to exercise quality control over licensee's
 is undisputed that respondent is senior user of                 operations is that public has right to expect consistent
 "Woodstock's" marks, and since record shows that Oregon         quality of goods or services associated with trademark or
 restaurant and five California restaurants had all              service mark ; in present case, "Woodstock's" mark for
 appearances of being chain of "Woodstock's" pizza parlors       restaurant services retains it source-identifying function so
 with common ownership; respondent's failure to disclose         long as customers can expect consistent level of quality.
 permissive use by California junior users is irrelevant and
 could not have been material to grant of federal registration    TRADEMARKS AND UNFAIR TRADE PRACTICES
 to respondent .                                                  /71 Acquisition, assignment, and maintenance of marks
                                                                  -- Abandonment - In general (Section 305 .0701)
 TRADEMARKS AND UNFAIR TRADE PRACTICES                            Cancellation    respondent     has    not    abandoned     its
 131 Practice and procedure in Patent and Trademark               "Woodstock's" mark for restaurant services by failing to
 Offic e -- Fraud or inequitable conduct (Section 325.07)         exercise quality control over its licensee's operations, even
 Cancellation petitioner has failed to prove that respondent      though there has never been formal system of quality
 Oregon corporation obtained registration for "Woodstock's"       control   over such      operations, since      inference  of
 mark for restaurant services through fraudulent application      abandonment is not drawn if satisfactory quality has been
 oath of its president, who failed to disclose that five          maintained, such that no deception of purchasers has
 independent corporations in California owned and used            occurred, and since registered mark in present case has not
 "Woodstock's" mark, since even if respondent's president,




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ceased to function as indicator of origin, and quality of          related exhibits, taken by each party; and a discovery
services has, by all accounts, remained at acceptable level.       deposition, with related exhibits, and a state of Washington
                                                                   trademark registration introduced by way of petitioner's
" 1441 Service mark cancellation no . 21,229 brought by            notice of reliance . [FN2] Both parties filed briefs on the
Woodstock's      Enterprises   Inc. (California) against           case . Both parties were represented by counsel at an oral
Woodstock's Enterprises Inc. (Oregon), owner of                    hearing held before the Board .
registration no . 1,614,417, issued September 18, 1990
("Woodstock's Pizza Parlor" and design, for restaurant             This case presents a story of a successful business
services). Petition dismissed.                                     relationship gone sour, a situation brought on principally by
                                                                   the untimely deaths of Chuck Woodstock, the founder of the
Kenneth S . Klarquist and James E. Geringer, of Klarquist,         WOODSTOCK'S pizza parlors, and Michael Chew, his
Sparkman, Campbell, Leigh & Whinston, Portland, Ore., for          friend and business partner in the expansion of Mr .
petitioner Woodstock's Enterprises Inc. (California) .             Woodstock's pizza restaurant business . We turn, at the
                                                                   outset, to recount generally the pertinent chronological
Nancy J. Moriarty and J. Peter Staples, of Chemoff,                history that has culminated in the present litigation .
Vilhauer, McClung & Stenzel, Portland, for respondent
Woodstock's Enterprises Inc. (Oregon) .                            The story begins in 1977 when Charles "Chuck" Woodstock
                                                                   formed       respondent     and     opened     the     original
Rice, Cissel, and Quinn, administrative trademark judges .         WOODSTOCK'S pizza restaurant in the college town of
                                                                   Corvallis, Oregon, home of Oregon State University . Mr .
Quinn, administrative trademark judge.                             Woodstock served as the president and 100 percent
                                                                   shareholder of Woodstock's Enterprises, Inc .-Oregon . Mr .
Woodstock's Enterprises, Inc., a California corporation            Woodstock's motto, among others, was "the best pizza for
(hereinafter "petitioner" or "Woodstock's Enterprises,             the best price." Chuck Woodstock followed up his Oregon
Inc .-California"), has petitioned to cancel the registration      endeavor in 1981 when he and Michael Chew formed
issued to Woodstock's Enterprises, Inc., an Oregon                 Woodstock's Enterprises, Inc .-California, and opened the
corporation (hereinafter "respondent" or "Woodstock's              first of five WOODSTOCK'S PIZZA PARLOR restaurants
Enterprises, Inc .- Oregon"), for the mark shown below for         in California . This first restaurant is located in San Luis
"restaurant services ." [FN 1 ]                                    Obispo . Messrs . Woodstock and Chew each owned 50
                                                                   percent of the corporation . They later opened four other
                                 *1442    As    grounds      for
                                                                   restaurants, each time forming a new corporation and taking
                                                                   in additional investors. The second California corporation,
                                                                   Woody, Woodstock, Chew, Inc ., was formed by Michael
                                                                   Chew, Chuck Woodstock and Mr. Woodstock's brother,
                                                                   Larry Woodsrock . This corporation opened a restaurant in
                                                                   Isla Vista, California, near Santa Barbara, in 1982 . The next
   p~                  n . .w~
                                                                   restaurant opened in 1983 in Chico, CaGfomia ; this
 cancellation, petitioner alleges that respondent committed        restaurant was owned by Woodstock's Enterprises Chico,
 fraud on the Office in obtaining its registration . More           Inc ., with Michael Chew, Chuck Woodstock and John
 specifically, petitioner alleges that respondent obtained the      Broadbent as shareholders . Subsequently, Michael Chew,
 involved registration through the fraudulent application oath     Chuck Woodstock and Jeff Ambrose formed Woodstock's
 of its president, Carol Lee Woodstock, who intentionally           Enterprises San Diego, Inc . which opened a restaurant in
 failed to disclose that five independent corporations in           San Diego, California in March 1985 . Lastly, Michael Chew
 California owned and used the mark WOODSTOCK'S in                 and Chuck Woodstock formed Woodstock's Enterprises
 connection with pizza restaurant services in California .          Davis, Inc . (Tammy Rumpel later became an investor)
 Petitioner further alleges, in an amended petition for             which opened a restaurant in Davis, California in December
 cancellation, that the registered mark has been abandoned          1985 .
 due to respondent's failure to exercise control over the
 nature and quality of the services rendered by the restaurants     Chuck Woodstock and Michael Chew were killed in a
 in California .                                                    private plane crash on December 9, 1985 . The ownership
                                                                    interests of Messrs . Woodstuck and Chew passed to their
 Respondent, in its answer, denied the salient allegations of       heirs, leaving Carol Woodstock, Chuck Woodstock's
 the petition for cancellation .                                    widow, as 100 percent owner of Woodstock's Enterprises,
                                                                    Inc .- Oregon, and various individuals, including Ms .
 The record is voluminous, consisting of the pleadings; the         Woodstock, as owners of the California corporations .
 file of Registration No . 1,614,417; trial testimony, with




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As a result of the deaths mentioned above, the shareholders     Petitioner alleges that respondent committed fraud on the
in the Oregon and California corporations held an election      Patent and Trademark Office because respondent's
for a new president. Carol Woodstock was elected, on            president, Carol Woodstock, failed to disclose, when
January 23, 1986, president of each of the Wood-stock's         respondent filed its application for the registration now
corporations, that is, of both petitioner and respondent, as    sought to be canceled, the rights of the respective California
well as of each of the other California corporations .          corporations . Among other things, petitioner places
                                                                importance on the fact that a California state trademark
On May 17, 1989, Carol Woodsrock, as president of               registration of the mark WOODSTOCK'S PIZZA PARLOR
Woodstock's Enterprises, Inc .- Oregon, signed an oath that     was issued in 1983 in the name of petitioner .
she believed respondent to be the owner of the mark
WOODSTOCK'S PIZZA PARLOR and design and that, to                Carol Woodstock, in her capacity as president of
the best of her knowledge, no other person, firm or             respondent, executed the oath supporting the underlying
corporation or association had the right to use the mark in     application on May 17, 1989 . Ms . Woodstock's oath
commerce without authorization by respondent . The oath         included the following statements :
supported the underlying application " 1443 to register
WOODSTOCK'S PIZZA PARLOR and design that was                    . . . she believes the applicant to be the owner of the mark
filed on October 23, 1989 in the name of respondent . It is     sought to be registered ; to the best of her knowledge and
the registration that issued from this application that         belief, no other person, firm, corporation or association has
petitioner now seeks to have canceled .                         the right to use the mark in commerce without authorization
                                                                by the applicant, either in the identical form or in such near
Carol Woodstock's presidency continued until August 14,         resemblance thereto as to be likely, when applied to the
1990, at which time a special meeting of the board of           services of such other person, to cause confusion, or to
directors of Woods[ock's Enterprises, Inc.- California was      cause mistake or to deceive . . . [emphasis added]
held . By a majority vote, the board decided to remove Carol
Woodstock as president of the California corporations . The     The application was filed on October 23, 1989 . At the time
testimony reveals that board members were unhappy with          that the statements were made, and five months later when
her performance, alleging inaccessibility and lack of           the application was filed, Ms . Woodstock was president
direction . The board further resolved to appoint Jeff          (and sole shareholder) of Woodstock's Enterprises, Inc .-
Ambrose, part owner of the San Diego restaurant and             Oregon and president (and part shareholder) of each of the
general manager of the California restaurants, as president     California corporations, including petitioner, as well as a
of the California corporations . At the same meeting, Carol     member of the board of directors of each of the California
Woodstock indicated that she was willing to sell her shares     corporations . No reference to the California corporations
in the California restaurants .                                 was made in the application .

Although the record reveals a number of proposals (from         In considering the charge of fraud here, the following
both those within the corporations and those outside the        principles control :
corporations) relating to the purchase/sale of the California
restaurants, nothing in this regard was ever consummated.       Fraud implies some intentional deceitful practice or ac[
What did take place was an assignment involving trademark       designed w obtain something to which the person practicing
rights between Woodstock's Enterprises, Inc.-California and     such deceit would not otherwise be entitled . Specifically, it
the other California corporations . By way of the assignment    involves a willful withholding from the Patent and
agreement dated October I, 1992, the California                 Trademark Office by an applicant or registrant of material
corporations assigned to Woodstock's Enterprises, Inc.-         information which, if disclosed to the Office, would have
California all of their respective rights to the marks          resulted in disallowance of the registration sought or to be
WOODSTOCK'S            and     WOODSTOCK'S            PIZZA.    maintained. Intent to deceive must be "willful ." IF it can be
Contemporaneously,           Woodstock's         Enterprises,   shown that the statement was a "false misrepresentation"
Inc.-California granted back licenses to each of the other      occasioned by an "honest" misunderstanding, inadvertence,
California corporations to use the aforementioned marks in      negligent omission or the like rather than one made with a
connection with their restaurant services .                     willful intent to deceive, fraud will not be found . Fraud,
                                                                moreover, will not lie if it can be proven that the statement,
Against this general historical background we now turn to       though false, was made with a reasonable and honest belief
consider the two grounds for cancellation, namely fraud and     that it was true or that the false statement is nod material to
abandonment.                                                    take issuance or maintenance of the registration . It does
                                                                appear that the very nature of the fraud requires that it be
                          FRAUD                                 proven "to the hilt" with clear and convincing evidence .
                                                                There is not "1444 room for speculation, inference or




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surmise and, obviously, any doubt must be resolved against       same chain with common ownership . In corporate business
the charging party.                                              records, the restaurants were numbered "I" (the Oregon
                                                                 restaurant) through "6" (the Davis, California restaurant) .
First International Ser~ices Corp . N' . Chuckles Inc, J         The new employees' handbook indicated that the first
USPQ2d       1628,      1634 (TTAB 1988); and Smith              Woodstock's Pizza Parlor opened in Corvallis, Oregon and
International, Inc. v .  Olin Corp ., 209 USPQ 1033 . 1(M3-04    "since then, five more shops have been opened ." After
(TTAB 1981). See also : Tomes v. Candne Torresella S.r .l .,     listing these five locations in California, the handbook reads
808 F .2d 46, I USPQ2d 1483, 1484 (Fed . Cic 1986) . See         " [t]he employees at any one of these six shops are truly
generally: J.T . McCarthy, McCarthy on Trademarks and            dedicated to their work and to their fellow employees ."
 Unfair Competition Sections 31 :76-31 :77 (4th ed . 1996).      There were joint Oregon/CaGfomia promotional efforts like
                                                                 the squeeze bottle in 1989 (listing all six locations), and the
  [l] The first thing that should be noted about the             T-shins which were purchased in bulk by respondent and
  application oath is that it is phrased in terms of a           distributed to the other restaurants . Respondent lent money
  subjective belief, thereby making it extremely difficult to    to the California corporations to cover start-up costs, and
  prove fraud so long as the signer has an honestly held,        some of the employees in California were trained at the
  good faith belief. The Board has noted in the past that the    Oregon restaurant. Until 1990, corporate records for all six
  wording of the oath in teens of a "belief" of applicant        restaurants were kept in Oregon, the corporations used a
   "preclude [s] a definitive statement by the affiant that      joint payroll to pay their employees, the restaurants engaged
   could be ordinarily used to support a charge of fraud."        in some bulk ingredient purchases, similar employment
   Kemin Industries, Inc . v. Watkins Products, Inc., 192        contracts for managers were used for all restaurants, and the
   USPQ 3?7 (TTAB 1976). [FN3] Another noteworthy                 restaurants were covered under the same insurance policy .
   point about the specific oath under consideration here is
   that it contains additional language not usually found in        [2] The above facts, coupled with Carol Woodstock's own
   boilerplate application oaths, namely, that "to the best of      testimony, lead us to conclude that her oath was not
   [Carol Woodstock's] knowledge and belief, no other               fraudulent . Simply put, m view of the totality of
   person, firm, corporation or association has the right to        circumstances surrounding the operations of the Oregon
   use the mark in commerce without authorization by                and California restaurants, we find that Carol Woodsrock,
   [Woods(ock's Enterprises, Inc.- Oregon] . . ." (additional       when she signed the application oath, had a good faith,
   language is highlighted)                                         honest belief that respondent, as the senior user, owned
                                                                    the mark and that no other entity, including any of the
 Upon careful consideration of the record we find that Carol        California corporations, had the right to use the same or
 Woodstock reasonably held, at the time she signed the              similar       mark   without       respondent's   authorization .
 application oath, an honest, good faith belief that her            Respondent's failure to disclose in 1989 the permissive
 corporation, Woodstock's Enterprises . Inc .- Oregon, as the       use by the California junior users is irrelevant and could
 senior user of the registered mark, was the owner of the           not have been material to the grant of a federal
 mark and that the California corporations did not have the         registration to respondent . Respondent, as the senior user,
 right to use the registered mark without respondent's              and in the absence of a coon holding or a concurrent use
 authorization .                                                    proceeding, is entitled to an '1445 unrestricted federal
                                                                    registration in spite of the existence of junior users who
 There is no dispute over the fact that respondent is the           might have common law rights of use in California . That
 senior user of the WOODSTOCK'S marks. Further, while it             is to say, even though, as petitioner alleges, Ms .
 is hue that the subsequent California restaurants were              Woodstock "failed to acknowledge the conflicting rights
 owned by separate entities, the record shows that the               of the Woodstock California corporations", one simple
 Oregon restaurant and the five California restaurants had all       fact remains -- Woodstock's Enterprises, Inc .- Oregon is
 the appearances of being a chain of WOODSTOCK'S pica                the senior user of the WOODSTOCK'S marks . Further,
 parlors. Having said this, we also recognize that there is no       the Oregon/ California operations had the appearances of
 agreement (such as a license or franchise agreement),               being a chain of pizza parlors with common ownership .
 written or oral, which covers trademark rights as between           Thus, there is no fraud . See : Money Store v . Harriscurp
 respondent and petitioner . Nonetheless, witnesses of both          Finance, Inc ., 689 F .2d 666 . 216 USPQ II (71h Cir .
 sides have testified as to their perceptions about the               1982) ; Giant Food . Inc . v . Malune S Hyde, Inc ., 532 F .2d
 restaurants . They assumed that there was some relationship          1386, 147 USPQ 374 (CCPA 1975) ; IlollowComi, [tic . v .
 between the Oregon and California restaurants, some                 Aeh, 515 F .2d 1174, 185 USPQ 790 (CCP.4 1975) ;
  referring to them as a "chain" or "brother-sister ."               American Security Dank v . American Severity & Trust
                                                                     Co ., 571 F .2d 564 . 197 USPQ 65 (CCPA 1978) ; Selfway,
 There are other facts which lend credence to the perception         Inc . % . Travelers Petroleum, Inc . . 579 F .2d 'i . 193 USPQ
 that the Oregon and California restaurants were part of the




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  271 (CCPA 1978) ; Metro Traffic Control Inc . v . Shadow          on the fact that the California state trademark registration of
  Network Inc .,       f'3d _, 41 USPQ?d 1364 (Fed Cir.             WOODSTOCK'S PIZZA PARLOR, issued in 1983, is
  1997); Peimsylv ;uua Fashion Factory . Inc . v . Fashion          owned by petitioner . Petitioner also points to the fact that
  Factory,     Inc ., 215    USPQ     1133      (TTAD     19F2) ;   petitioner removed Carol Woodsrock as president of the
  International   House  of Pancakes, Inc . v . Elca Corp ., 216    California corporations in 1990 due to poor job performance
  USPQ 521 (TTAf3 1982) ; Heaton GnteRvises of Nevada .             and that, since that time, Ms . Woodstock, in her capacity as
  Inc . v . Lang, 7 USPQ2d 1842 ITTAl3 1988) ; and Space            president of respondent, has not even pretended to exercise
  Base, Inc . v . Stadis Cow ., 17 USPQ2d 1216 (TTAU                control over the California operations .
   1990) .
                                                                    Respondent contends, on the other hand, that it has
  [3] In reaching this conclusion, we obviously recognize           exercised sufficient control over the nature and quality of
  Carol Woodstock's less than candid approach with her              the services rendered by the ' California restaurants .
  fellow boards of directors members and shareholders in            Respondent points to its alleged control over recipes and
  not disclosing to them the filing of a trademark                  advertising, as well as its preparation of certain documents
  application in the name of the Oregon corporation ; the           such as cleaning lists, instructional guidelines, managers'
  facts surrounding the dismissal of Carol Woodstock as             reports, job descriptions, and guidelines for interviewing
  president of the California corporations in 1990 ; and the        prospective employees . Respondent further asserts that it
  proposals to purchase the California businesses, with             has been satisfied with the quality maintained by the
  purchasers' placing importance on the unfettered right to         California restaurants, and that it has had no problems with
  continue to use the WOODSTOCK'S marks. Petitioner                 Jeff Ambrose's job performance in tanning the California
  claims that Carol Woodstock "intentionally helped herself         operations ; therefore, according to respondent, it has relied,
  to a corporate opportunity at the direct expense of the           by and large, upon the integrity of petitioner in rendering a
  California corporations which had placed her in a position        quality product in California .
  of trust." (reply brief, p. 8) While it may be that Carol
                                                                    Section 45(2) of the Trademark Act provides, in relevant
   Woodstock rushed to the Office with the thought of
   shoring up her ownership position with respect to the            part, that a mark is deemed *1446 to be abandoned when the
   mark at issue (and, consequently, her leverage and               course of conduct of the owner of the mark causes the mark
   potential financial gain in any sale of the California           to lose ids significance as an indication of origin . [FN4] This
   restaurants), it does not necessarily follow that she lacked     course of conduct includes acts of omission as well as acts
   a good faith belief that respondent, as the senior user, was     of commission The prevailing view is that since
   entitled to the registration then sought . Even assuming         abandonment is in the nature of a complete forfeiture, it
   nrgiendo that petitioner's assertions are true, and that Ms .    carries a strict burden of proof P .A .[3 . Produits et Appareils
   Woodstock may be culpable in some type of shareholder            de Bcaute v . Saunine Societa, 670 F2d 1031, 196 USPQ
   suit involving a breach of fiduciary duties, her actions do      301 (CCI'A 1975) ; Girard Polly-Pig, Inc . v . Polly-Pig by
   not taint her underlying good faith belief that Woodstock's       Knapp, Inc ., 217 USPQ 1338 TTAB 1983) ; and The Nestle
   Enterprises, Inc.- Oregon, as the undisputed senior user,        Company Inc . v . Nash-Finch Co . 4 USPQ2d IORS, 1089
   was entitled to an unrestricted federal trademark                (TTAB 1987) .
   registration .
                                                                       [4] We begin our analysis with the premise that
 In view of the above, the fraud claim must fail .                     maintenance of exclusivity of rights in a mark is not
                                                                       required in order to avoid a finding of abandonment, since
                       ABANDONMENT                                     " (flew longstanding trademarks could survive so rigid a
                                                                       standard ." Wallpaper Manufacturer,, Ltd. v. Crown
 Petitioner alleges that respondent has abandoned the                  Wallcoverin.- Corp ., 680 F2d 755 . 214 USPQ 327, 333
 registered mark as a result of respondent's failure to exercise       (CCPA 1982) . Instead, so long as at least some purchasers
 control over the nature and quality of the restaurant services        identify respondent with the registered mark, it cannot be
 rendered by the California restaurants . Petitioner contends          said that respondent's course of conduct has caused the
 that there never was any trademark license between the                registered mark to lose its significance as a mark . Id.
 parties, and that respondent simply gave the mark away (by            [214 USPQJ at 135 . As in Crown, it is necessary to
 permitting the mark's use without any kind of restriction or          remember the following:
 control) to each California corporation when it was founded.
 Petitioner maintains that it is the only one who is exercising      [There is a] distinction between conduct of a trademark
 control over the quality of the services rendered in                owner which results in a loss of right to enjoin a particular
 California by the California restaurants under the                  use because of an affirmative defense available to that user
 WOODSTOCK'S marks. Petitioner again places importance               and conduct which results in a loss of all rights of protection




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Cutlery Inc_ 67 f .3d 917, 3( USPQ2d I?89 . 1291 (Fed Cir .          [7] While there was never a formal system of quality
1990 ; University Book Store v . University of Wisconsin             control over the California operations, it must be
Board of Regents, supra at 1396 ; and Nestle Co . v .                remembered that "the inference of abandonment is not
Nash-Finch Co ., supra . We find that to be the case here ; that     drawn . . . [where] satisfactory quality was maintained,
is, rather than constituting uncontrolled use by petitioner in       and, hence, no deception of purchasers occurred ."
California which resulted in the registered mark losing all          Stockpol . Inc . v . Stock Pot Restaurant . Inc . . 220 USPQ
source indicating significance, the reality of the situation is      52, 59 (TTAE3 1983), affil, 737 Pfd 1576, 222 USPQ
akin to an informal, implied license from respondent to              665 (Fed . Cir . 1934) . Therefore, even without, essentially,
petitioner to use the registered mark in California . Given the      a formal system of quality control over the restaurant
circumstances that respondent lent money to the California           services rendered by petitioner in California, the
corporations     to   start  their   restaurants   under     the     registered mark was not abandoned by respondent since
WOODSTOCK'S mark, we find, as a result of the games'                 respondent's mark has not ceased to function as an
course of conduct through the years, that respondent                 indicator of origin and the quality of the services has, by
 essentially gave petitioner and the other corporations              all accounts, remained at an acceptable level . Exxon
 permission to use the WOODSTOCK'S mark . [FNS]                      Corporation v . Oxxford Clothes Inc ., supra. In summary,
                                                                     the fraud claim fails and the abandonment claim fails .
We have paid particular attention to the common origins
and history of the Oregon and California restaurant, .             Decision : The petition for cancellation is dismissed .
Although there was a falling out in 1990 when Carol
Woodstock was removed as president, the restaurant                 P .T .O . T.T .A .B .
operations have been conducted, as indicated earlier in this
opinion, much like a chain . The restaurants' and their                       FNI Registration No . 1,614,417, issued September
                                                                              IS, 1990 ; Section 8 affidavit accepted . The words
owners' close association warrant a relaxation of policing
formalities . Some of petitioner's employees who remain to                    "Pizza Parlor" are disclaimed apart from the mark .
this day, including Jeff Ambrose, petitioner's president,
                                                                              FN2 Respondent's notice of reliance on a portion of
received their training from the Oregon restaurant staff.
                                                                              Jeffrey Ambrose's July 7, 1994 deposition is
Thus, it is not surprising that the Oregon and California                     superfluous ; all his testimony is pan of the record
restaurants use significantly similar procedures and
                                                                              under Trademark Rule 2 .123 .
products . Although there are specific differences between
 the Oregon and California restaurants to be sure, the                         FN3 See also : McCarthy, McCarthy on
 operations are, by and large, very similar . The dough recipes                Trademarks grid Unfair Competition, supra at
 are the same, and the same brand of pizza sauce is used,
                                                                               Section 31 :76. This commentator has pointed out
 with the California restaurants using slightly less pepper .                  that " [t]he oath is phrased in terms of a subjective
 The restaurants' decoys, while different, are, in several                     belief, such that it is difficult, if not impossible, to
 respects, very similar . Given the common roots and history
                                                                               prove objective falsity and fraud so long as the
 of the restaurants, it is not surprising that a customer                      affiant or declarant has an honestly held, good faith
 walking into the WOODSTOCK'S restaurant in Oregon and                         belief." (emphasis in original)
 then into a WOODSTOCK'S restaurant in California would
 assume that they were related in some fashion . It is only                    FN4 We are concerned in the present case only
 natural that the two operations would draw on their mutual                    with this portion of the statutory definition of
 experience, which has resulted in success, to maintain the                    "abandonment", and not "abandonment" which
 requisite quality consistency . In point of fact, all the                     results from nonuse as provided in Section 45(1) .
 evidence indicates that there has been no decline in the level
 of `1448 quality at any of the parties' restaurants . In this                 FNS We so find notwithstanding the following
 connection, we note that sales at the California restaurants                  remark in the minutes of respondent's July 20,
  have increased over the years, and that the restaurant in                    1930 meeting of its board of directors:
  Chico has won an award for "best pizza in Chico ." Further,
  Carol Woodstock testified that she is quite satisfied with the   "After a long examination of deciding how to expand to
  performance of Jeff Ambrose in pinning the California            California, it was decided that the new pica parlor to be
  restaurants, and that he is %ery quality conscious . It bears    built in California would be under a new corporation and
  repeating that Mr . Ambrose started as an employee al the        would have nothing to do with the original Oregon
  Oregon restaurant in 1981, receiving training there tin how      corporation ." At the same meeting, the board also resolved
  to make pizzas . Later, Chuck Woodstock had Mr . Ambrose         to lend money, if needed, to the new California corporation .
  set up the San Diego restaurant .                                Suffice it to say that, contrary to the statement in the
                                                                   minutes, subsequent events through the years show a close




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relationship     between   respondent     and   the   California
restaurants .

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